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1    YOUSIF H. HALLOUM
2
     IMAN Y. HALLOUM
     2428 Devotion Ridge Dr.
 3
     Henderson, NV 89052
 4   Telephone: (209) 764-1165
 5   email: noorjoe2428@gmail.com
     In Pro Se
 6

 7                    UNITED STATES DISTRICT COURT
 8                             DISTRICT OF NEVADA
 9

10
                                            Case no. 2:22-cv-01787-JAD-EJY

11   YOUSIF H. HALLOUM and                               )
12   IMAN Y. HALLOUM                                     )
                       Plaintiffs                        )
13
                        vs.                  ) AMENDED
14
     CALIBER HOME LOANS (SPA), FAY SERVICING ) COMPLAINT
15   (SPA), FCI Lender Services (SPA), are Servicers and )
     Debt Collectors for Fannie Mae &U.S. Bank Trust,    )
16
     N.A.; RED ROCK FINANCIAL; ASSESSMENT                )
17   MANAGEMENT SERVICES; CAMCO Homeowners )
     Association Management; LEVEL Community           )
18
     Management; And American Recovery Services; are )
19   all Debt Collectors for HOA "TerraWest Management )
     Servicers; AND DOES I through X and ROE           )
20
     ENTITIES I through X, incl.                       )
21                                                     )
                               Defendants                )
22

23
                  Plaintiffs, YOUSIF H. HALLOUM and IMAN Y. HALLOUM, in
24
     Pro Se, submit this Complaint on behalf of themselves and allege that
25

26
     each of said Defendants is responsible in some manner for the events

27   and happenings proximately caused the injuries and damages herein
28   alleged as follows:
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1
                               INTRODUCTION
2
       1.      Plaintiffs bring this action on behalf of themselves the
 3
     owners of the real property located within Defendants homeowners'
 4
     associations ("Real Property"). Plaintiffs seek a declaration from this
 5
     Court that Defendants HOA and/or their agents Red Rock Financial
 6

 7
     and other debt collectors on behalf of the HOA have demanded and

 8   received from Plaintiffs and "Caliber Home Loans", monies in order to
 9   satisfy Defendants' claimed liens which exceed the Super priority
10   lien amount contained in Nevada Revised Statutes NRS §116.3116,
11
     and, therefore, the Excess Lien Amounts have been unlawfully
12
     demanded and collected and must be returned with interest.
13
       2.      Plaintiffs obtained title to said ("Real Property") through"
14
     Grant, Bargain, Sale Deed", Clark County Instrument #:
15

16
     200608280004424, Date: 08/28/2006, see           APPX0001-APPX0004.

17
     Fannie Mae through Wells Fargo the servicer (SPA) acquired

18   ownership of the Loan including the Note and Deed of Trust, and in
19   that capacity, record beneficiary of the Deed recorded in the Clark
20   County Instrument" #200705250001298 Date: 05/25/2007, see
21
     APPX0005-APPX0042, before the date on which the assessments,
22
     penalties, fees, charges, late charges, fines, and interest sought by
23
     Defendants and comprising said liens, became delinquent.
24
        3.     NRS 116.3116 provides that a homeowners' association lien
25

26
     for assessments are junior to a first deed of trust beneficiary's secured

27   interest in the property, with one limited exception: a homeowners'
28   association lien is senior to a first deed of trust to the extent of the
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1
     assessments for common expenses based on the periodic budget
 2
     adopted by the association pursuant to NRS 116.3115 which would
 3
     have become due in the absence of acceleration during the 9 months (6
 4
     months for Fannie Mae or Freddie Mac) immediately preceding
 5

     institution of an action to enforce the lien[.]
 6

 7
        4.       Nevada Supreme Court's recent decision in SFR Investments

 8   Pool 1, LLC v. U.S. Bank, NA., 334 P.3d 408 (Nev. 2014), concluded
 9   that the bank (in this case Caliber Home Loans and Fay Servicing the
10   servicers to U.S. Bank) could easily have:
11
             • "Paid off the full lien to avert its loss of security and
12             request the HOA pay back the amount exceeding the
13
               Super-priority amount."

14
        5.       Caliber Home Loans made several payments to the "HOA
15
     Liens" claimed by Defendants for a total $28,580.74. Neither Caliber
16
     Home Loans NOR Fay Servicing have requested the HOA to pay back
17
     the amount exceeding Super-priority amount, because in calculating
18

19
     the super-priority amounts allegedly owed included amounts in its

20   supposed super-priority lien — fines, interest, late fees, and costs of

21   collection — that are NOT allowed to be included in its super-priority
22   lien under NRS 116.311(c).
23
        6.       Caliber Home Loans and Fay Servicing intentionally failed
24
     to request the HOA to pay back the excess of the Super-priority,
25
     instead they are attempting to foreclose on the Plaintiffs property.
26
        7.       Further, Plaintiffs assert causes of action against
27
     Defendants for: Civil Rico; Negligence Per Se; Breach of Fiduciary
28
                                                                           4 of 457
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1
     Duty; Breach NRS 116.3116; Negligence; Slander of Title; Unjust
2
     Enrichment.
 3
       8.      Pursuant to NRS 30.130 and FRCP 5.1, Plaintiffs have
 4
     notified the Nevada Attorney General's Office of this constitutional
 5
     challenge to NRS 116.3116, et seq.
 6

 7
                                  JURISDICTION

 8     9.      This Court has subject matter jurisdiction over the matter
 9   pursuant to 28 U.S.C. § 1331 because the claims asserted arise under
10   the laws of the United States.
11
       10.     This Court has subject matter jurisdiction over the matter
12
     pursuant to 28 U.S.C. § 1332 because the Defendants are citizens of
13
     different states and the amount in controversy exceeds S75,000,
14
     exclusive of interest and costs.
15

16
       11.     This Court has supplemental jurisdiction pursuant to 28

17   U.S.C. § 1367(a) over Plaintiffs claims arising under the laws of the

18   State of Nevada, because those claims are related to Plaintiffs claims
19   under federal law, form part of the same case or controversy, and are
20   derived from a common nucleus of operative facts.
21
                                        PARTIES
22
        12.    Plaintiffs, YOUSIF H. HALLOUM and IMAN Y. HALLOUM
23
     ("Plaintiffs"), are natural persons, and residents of this judicial district.
24
        13.    At all times material hereto, Defendant homeowners'
25

26
     associations were and now are corporations organized and existing

27   under the laws of the State of Nevada and have their principal places
28   of business and transact business in Clark County, State of Nevada.
                                                                       5 of 457
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1
      14.     Defendants are organized pursuant to Nevada Revised
    Statutes § 116 and have those powers and obligations and conduct
    those activities as contained in NRS §1163102 et. seq.
      15.     Fannie Mae is a government-sponsored enterprise chartered
    by Congress organized and existing under the laws of the United States
    with its principal office in Washington, D.C. Fannie Mae is deemed a
    citizen of the District of Columbia for jurisdictional purposes in civil
    cases. 12 U.S.C. § 1717(a)(2)(B). Pursuant to its statutory mission,
    Fannie Mae provides stability and liquidity to the United States
    housing and mortgage markets by establishing secondary mortgage
    market facilities for residential mortgages. See 12 U.S.C. § 1716.
      16.     Wells Fargo is a citizen of South Dakota and no other
    domestic state.
      17.     Defendant, US BANK TRUST, N.A., as Trustee for LSF9
    Master Participation Trust, is a "debt collector" as said term is defined
    under the FDCPA, 15 U.S.C. §1692a(6) that regularly collects on notes,
    doing business in Nevada. US BANK TRUST, N.A., AS TRUSTEE FOR
    LSF9 Master Participation Trust is headquartered at 800 Nicollet Mall
    Minneapolis, MN 55402.
      18.     Defendant, CALIBER HOME LOANS, INC. ("CALIBER
    HOME LOANS"), is a "debt collector" as said term is defined under the
    FDCPA, 15 U.S.C. 91692a(6) doing business in Nevada that regularly
    collects on notes, doing business in Nevada. Caliber Home Loans, Inc.
    Headquarters located at 1525 S Belt Line Rd Coppell, TX, 75019-4913.
      19.     Defendant Fay Servicing LLC is a "debt collector" as said
                                                                      6 of 457
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1
    term is defined under the FDCPA, 15 U.S.C. 91692a(6) doing business
    in Nevada that regularly collects on notes, doing business in Nevada.
    Fay Servicing LLC Headquarter Office at 425 S Financial P1 Ste 2000
    Chicago, IL, 60605-1000.
      20.     TERRAWEST Homeowners Association (HOA) is a "debt
    collector" as said term is defined under the FDCPA, 15 U.S.C.
    91692a(6) that regularly collects on notes, doing business in Nevada.
    TERRAWEST (HOA) Corporate Office 5091 Baumgartner Road St.
    Louis, MO 63129 and has an office at 6655 S. Cimarron Road, Suite
    200 Las Vegas, NV 89113
      21.     Assessment Management Services is subsidiary and share
    the same office of the Terra West (HOA) is a "debt collector" as said
    term is defined under the FDCPA, 15 U.S.C. 91692a(6) that regularly
    collects on notes, doing business in Nevada. Assessment Management
    Services at 6655 S. Cimarron Road, Suite 200 Las Vegas, NV 89113.
      22.     Upon information and belief, Defendant RMI Management,
    LLC d/b/a Red Rock Financial Services ("Red Rock") is a Nevada
    limited-liability company, organized in Nevada and doing business in
    Clark County, Nevada. Upon information and belief, RMI
    Management, LLC, is a subsidiary of FirstService Residential, Inc., a
    Delaware corporation with its principal place of business in Florida.
    Red Rock Financial local address: 770 E Warm Springs Rd, Las Vegas.
    NV.
      23.     CAMCO Homeowners Association Management is a "debt
    collector" as said term is defined under the FDCPA, 15 U.S.C.
                                                                         7 of 457
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1
     91692a(6) doing business in Nevada that regularly collects on notes,
 2
     doing business in Nevada. CAMCO Homeowners Association
 3
     Management address 4775 West Teco Avenue, suite 140, Las Vegas,
 4
     NV 89118.
 5
       24.     LEVEL Homeowners Association Management is a "debt
 6

 7
     collector" as said term is defined under the FDCPA, 15 U.S.C.

 8   91692a(6) doing business in Nevada that regularly collects on notes,
 9   doing business in Nevada. LEVEL Homeowners Association
10   Management local address: 8966 Spanish Ridge Ave., Suite 100, Las
11
     Vegas, NV 89148.
12
       25.     Association Recovery Services (ARS) is a Nevada limited-
13
     liability company, organized in Nevada and doing business in Clark
14
     County, Nevada. The ARS ADDRESS: 7432 w. Sahara
15
       26.     FCI Lender Services, Inc. is a Nevada limited-liability
16

17
     company, organized in Nevada and doing business in Clark County,

18   Nevada. Registered Agent: COGENCY GLOBAL INC., 321 W. Winnie
19   Lane #104. Carson City, NV, 89703
20                                    VENUE
21
       27.     Venue is proper in this district because Defendants reside
22
     and conduct business within this district, as provided in 28 U.S.C. §
23
     1391(b)(1). Alternatively, venue is proper in this district because a
24
     substantial part of the events or omissions giving rise to the claim
25

26
     occurred in this judicial district, as provided in 28 U.S.C. § 1391(b)(2).

27     28.     This court has personal jurisdiction over Defendants because
28   Defendants reside and conduct business within this district and the
                                                                         8 of 457
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 1
     State of Nevada.
 2
       29.         This action concerns the real property located at 2428
 3
     Devotion Ridge Dr., Henderson, NV 89052, APN 178-19-312-078 (the
 4
     "Property").
 5

                            GENERAL ALLEGATIONS
 6

 7
              I.    The Property, Deed of Trust, and Assignments
 8     30.         Plaintiffs obtained title to said ("Real Property") through"
 9   Grant, Bargain, Sale Deed" instituted by the first security interest
10   holder recorded in the Clark County on 08/28/2006, Instrument no.
11
     20060828-0004424, APPX0001 - APPX0004 before the date on which
12
     the assessments, penalties, fees, charges, late charges, fines, and
13
     interest sought by Defendants and comprising said liens, became
14
     delinquent.
15

16
        31.        The Property is subject to a declaration of covenants,

17   conditions, and restrictions for the HOA.
18      32.        Defendants are homeowners' associations within the
19   meaning of NRS 116 and are bound by its provisions.
20
        33.        Plaintiffs are or have been "unit owners" within the
21
     definitions contained in NRS 116, said units comprising the Real
22
     Property.
23
        34.        Upon information and belief, the Conditions, Covenants &
24
     Restrictions (CC&Rs) recorded as to the Property contain a mortgage
25

26
     savings clause which states that any lien on the Property is not

27   superior to a deed of trust recorded against the Property.
28      35.        On or about 05/25/2007 Fannie Mae through Wells Fargo the
                                                                       9 of 457
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     servicer (SPA) acquired ownership of the Loan $388,000.00, including
 2
     the Note and Deed of Trust, and in that capacity, record beneficiary of
 3
     the Deed recorded in the Clark County "Security Instrument"
 4
     #200705250001298 Date: 05/25/2007. See APPX0005-APPX0042,
     Borrowers Yousif Halloum and Iman Y. Halloum, husband and wife as
 6

 7
     Joint Tenants as trustors signed to the "Lender" Wells Fargo Bank a

 8   servicer to "Fannie Mae" as the first security interest of a mortgage
 9   lender whose security instrument was recorded before the date on
10   which the HOA assessment or fine sought to be enforced became
11
     delinquent.
12
       36.     The Homeowners Association liens were all in fact recorded
13
     after the fact the mortgage lender through its server recorded its Deed
14
     of Trust. The following earliest liens obtained from Clark County
15

16
     Recorder Office. See APPX0043 - APPX0046

17                 Instrument #: 200708220004900 Date: 08/22/2007
                   Instrument #: 200710230002978 Date: 10/23/2007
18
                   Instrument #: 200711200000346 Date: 11/20/2007
19

20      37.    On 08/26/2015 Plaintiffs received from Wells Fargo Home
21   Mortgage SPA on behalf of Fannie Mae "Trial Period Plan Notice"
22   including the terms of the "Loan Modification". See APPX0047-
23
     APPX0055.
24
        38.    On 08/26/2015 Fannie Mae set the terms of the Loan
25
     Modification addressed to the SPA Wells Fargo Home Mortgage. See
26
     APPX0056 - APPX0059.
27
        39.    Substitution of Trustee and Full Reconveyance Requested by
28
                                                                      10 of 457
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1
     Wells Fargo NATIONAL BANKING ASSOCIATION as Trustee in lieu of
2
     said Deed of Trust Recorded at Clark County dated 10/21/2015 Inst.
 3
     #20151021-0000586. See APPX0060 - APPX0063
 4
       40.    On or about 10/27/2015 Plaintiffs received Letter from Wells
 5
     Fargo Home Mortgage that Fannie Mae changed Servicer SPA from
 6

 7
     Wells Fargo Home Mortgage to Caliber Home Loans Effective

 8   11/17/2015 and assuring that the terms of the Loan Modification will
 9   not be affected. See APPX0064 - APPX0067.
10     41.    Assignment of Deed of Trust from Wells Fargo Bank, N.A., 1
11
     Home Campus, Des Moines, IA 50328-0001 to U.S. Bank Trust, N.A.,
12
     as Trustee for LSF9 Master Participation Trust Recorded on
13
     07/19/2016 Ins. #20160719-0001786. See APPX0068-APPX0070.
14
       42.    On or about 12/18/2015 Plaintiffs (Homeowners) received
15
     from Caliber Home Loans in which the terms of Loan Modification
16

17
     inconsistent with the terms set by Fannie Mae and Wells Fargo

18   Home Mortgage. See APPX0071-APPX0073.
19     43.    On or about 12/24/2015 Plaintiffs (Homeowners) opposition
20   to Caliber Home Loans for changing the terms of the "Loan
21
     Modification" in their letter dated December 18, 2015, already set by
22
     Fannie Mae and Wells Fargo the servicer SPA for Fannie Mae
23
     certified FedEx 782036380267. See APPX0074-APPX0077
24
        44.    Red Rock Financial Recorded a "Notice of Foreclosure Sale"
25

26
     with Clark County Recorder on 12/18/2019 Inst. # 20191218-0002942

27   and served on the Homeowner Yousif Halloum. See APPX0078-
28   AAPPX0082.
                                          10
                                                                          11 of 457
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 1
       45.     With the consent of Caliber Home Loans, Red Rock Financial
 2
     Requested and Recorded Subordination Agreement to Existing Deed of
 3
     Trust and Acknowledgment of Payment of Super Priority Lien included
 4
     Amounts of fines, late fees, interest, dues, and costs of collection
 5

     Recorded at Clark County on 12/23/2019 Inst # 20191223-0002142. See
 6

 7
     APPX0083 - APPX0084.

 8                 II. Fannie Mae's Contract with Servicers
 9     46.     On September 6, 2008, the Director of FHFA, exercising the
10   authority conferred on the Director in HERA, placed Fannie Mae into
11
     conservatorship and appointed FHFA as Conservator. In that capacity,
12
     FHFA has succeeded to "all rights, titles, powers, and privileges
13
     [Fannie Mae]," including, but not limited to, the authority to bring
14
     suits on behalf of and/or for the benefit of Fannie Mae and Freddie Mac.
15
     12 U.S.C. § 4617(b)(2)(A).
16

17
        47.     Fannie Mae and its servicers work with the Mortgage

18   Electronic Registration System ("MERS"), an entity that the Court of
19   appeals has twice discussed in detail. Specifically, the Court noted that
20   while "MERS, as the 'nominee' of the lender and of any assignee of the
21
     lender, is designated. . . as the 'beneficiary'. . .under the deed of trust,"
22
     the "lender owns the home loan borrower's . . . promissory note." In re
23
     Mortg. Elec. Registration Sys., Inc., 754 F.3d 772, 776 (9th Cir. 2014)
24
     (emphasis added). Indeed, MERS remains the beneficiary of the deed
25

26
     of trust even when the note is transferred between MERS members;

27   the "obvious advantage" of the system is that "it allows residential
28   lenders to avoid the bother and expense of recording every change of
                                             11
                                                                       12 of 457
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1   ownership of promissory notes." Id. at 776-77 (emphasis added). The
    owner of the loan remains the lender, its successor, or its assignee—
    not MERS. See Cervantes, 656 F.3d at 1039.
      48.     The relationship between Wells Fargo, and subsequent
    assignment to U.S. Bank trust, N.A., as Trustee for LSF9 Master
    Participation Trust, Caliber Home Loans, and Fay Servicing, as the
    servicer of the Loan, and Fannie Mae, as owner of the Loan, is governed
    by the Fannie Mae's Single-Family Servicing Guide ("Guide"), a central
    document for Fannie Mae's relationship with servicers nationwide.
    Among other things, the Guide provides that Fannie Mae's servicers
    may act as record beneficiaries for the deeds of trust owned by Fannie
    Mae and requires that servicers assign these deeds of trust to Fannie
    Mae upon Fannie Mae's demand. (Guide at A1-1-03, F-1-14). The
    Guide is publicly available on Fannie Mae's website at
    https://www.fanniemae.com/content/guide/servicing /index.html.
      49.     While sections of the Guide have been amended over the
    course of Fannie Mae's ownership of the Loan, none of these
    amendments have changed the Guide in a way material to this case.
    Archived prior versions of the Guide are publicly available at
    https://www.ailregs.com/tpl/Main.aspx.
       50.    The Guide provides that:
             The servicer ordinarily appears in the land records as
             the mortgagee to facilitate performance of the
             servicer's contractual responsibilities, including (but
             not limited to) the receipt of legal notices that may
             impact Fannie Mae's lien, such as notices of
                                          12
                                                                       13 of 457
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             foreclosure, tax, and other liens. However, Fannie
             Mae may take any and all action with respect to the
             mortgage loan it deems necessary to protect its ...
             ownership of the mortgage loan, including
             recordation of a mortgage assignment, or its legal
 5
             equivalent, from servicer to Fannie Mae or its
 6
             designee. In the event that Fannie Mae determines it
 7
             necessary to record such an instrument, the servicer
 8           must assist Fannie Mae by/preparing and recording
 9           any required documentation, such as mortgage
10
             assignments, powers of attorney, or affidavits; and --
             providing recordation information for the affected
11
             mortgage
12
             loans. Guide at A2-103
13

14     51.    The Guide also provides for a temporary transfer of
15   possession of the note when necessary for servicing:
16             In order to ensure that a servicer is able to perform
17             the services and duties incident to the servicing of
18             the mortgage loan, Fannie Mae temporarily gives
19
               the servicer possession of the mortgage note
               whenever the servicer, acting in its own name,
20
               represents the interests of Fannie Mae in
21
               foreclosure actions, bankruptcy cases, probate
22             proceedings, or other legal proceedings.
23

24             This temporary transfer of possession occurs
               automatically and immediately upon the
25
               commencement of the servicer's representation, in
26
               its name, of Fannie Mae's interests in the
27
               foreclosure, bankruptcy, probate, or other legal
28             proceeding.
                                           13
                                                                       14 of 457
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 1
     Guide at A2-1-04.
 2      52.    Pursuant to the Guide, a servicer is required to "maintain in
 3
      the individual mortgage loan file all documents and system records that
 4
      preserve Fannie Mae's ownership interest in the mortgage loan." Guide
 5
      at A2-5.1-02.
 6
        53.    Any servicer retaining documents related to a particular
 7
      loan, such as a deed of trust, has "no right to possession of these
 8

 9
      documents and records except under the conditions specified by Fannie

10    Mae." Guide at A2-5.1-01.
11    III. The HOA Liens and Excess of Super Priority Lien Amount
12
                      Contained in NRS §116.3116"

13
        54.     Under NRS §116.3116(2) - HOA's lien is "prior to all other
14
      liens and encumbrances on a unit" except for "(b) a first security
15
      interest on the unit recorded before the date on which the assessment
16
      sought to be enforced became delinquent ...".
17
         55.    Plaintiffs obtained title to said ("Real Property") through"
18

19
      Grant, Bargain, Sale Deed" instituted by the first security interest

20    holder recorded in the Clark County on 08/28/2006, Instrument no.
21    20060828-0004424 (See APPX0001-APPX0004) and Fannie Mae
22    through Wells Fargo the servicer (SPA) acquired ownership of the
23
      Loan, including the Note and Deed of Trust, recorded in the Clark
24
      County "Security Instrument" #200705250001298 Date: 05/25/2007
25
      APPX0005-APPX0042, before the date on which the assessments,
26
      penalties, fees, charges, late charges, fines, and interest sought by
27
      Defendants and comprising said liens, became delinquent.
28

                                           14
                                                                            15 of 457
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 1
       56.       NRS 116.3116 provides that a homeowners' association lien
 2
     for assessments are junior to a first deed of trust beneficiary's secured
 3
     interest in the property, with one limited exception: a homeowners'
 4
     association lien is senior to a first deed of trust beneficiary's secured
 5

 6
     interest "to the extent of any charges incurred by the association on a

 7   unit pursuant to NRS 116.310312 and to the extent of the assessments
     for common expenses based on the periodic budget adopted by the
 9   association pursuant to NRS 116.3115 which would have become due
10   in the absence of acceleration during the 9 months (6 months for
11
     Fannie Mae or Freddie Mac) immediately preceding institution of
12
     an action to enforce the lien[1" NRS 116.3116(2)(c).
13
       57.       According to the Nevada Supreme Court's recent decision in
14
     SFR Investments Pool 1, LLC v. U.S. Bank, NA., 334 P.3d 408 (Nev.
15

16
     2014), The Supreme Court of Nevada concluded that the bank could

17   easily have:

18            • "Paid off the full lien to avert its loss of security and request
                the HOA pay back the amount exceeding the Super-
19
                priority amount."
20
        58.      "HOA Liens" claimed by Defendants and/or agents including
21
     Red Rock's debt collectors were unreasonable because, in calculating
22

23
     the super-priority amounts allegedly owed apparently included

24   amounts in its supposed super-priority lien — including fines,
25   interest, late fees, and costs of collection — that are NOT allowed to be
26   included in its super-priority lien under NRS 116.311(c).
27
        59.      Defendants currently claim and have claimed liens against
28

                                               15
                                                                                      16 of 457
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1    the Real Property of the Plaintiffs in an amount greater than the
     super priority lien amount in violation of Nevada Revised Statutes
     and the common laws of the State of Nevada.
        60.      Defendants currently demand have demanded or have
     received through their demands in violation of NRS 116, Excess Lien
    Amounts from Plaintiffs, i.e., amounts greater that the Super Priority
     lien amount to satisfy the claimed HOA Liens of Defendants.
        61.      At all times material hereto and continuing up to and
     including the date of filing of this Complaint, Defendants, and each of
     them, have knowingly and unlawfully overcharged Plaintiffs to satisfy
     said HOA Liens.
          IV. Defendants Demand, have Demanded or have Received
              Through their Demands Amounts Greater that the
               Super-Priority Lien in Violation of NRS 116.3102
                              and NRS 116.311(c)

        62.       On September 18, 2014, the Nevada Supreme Court issued
     a controversial decision that decided':
            • The HOA has a true super-priority lien, instead of
              just a payment priority.
     The Supreme concluded that the bank could easily have:
            • Paid off the full lien to avert its loss of security and
              request the HOA pay it back the amount
              exceeding the super-priority amount.

        63.       In re Shadow Wood v. NYCB, 132 Nev., Adv. Op. t, 2016 —
     Nev. Lexis 5, *20. The key legal points in this decision among other
     things:

    I SFR Investments Pool 1 v. U.S. Bank, N.A., 130 Nev. Adv. Op. 75, 334 P.3d 408 (2014)

                                                    16
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 1              • Conflicting lien payoff statements or including fees
 2                and costs not permitted under Statute, rising to
 3
                  "level of misrepresentations and nondisclosures
                  that prevented [lender's] ability to cure the default"
 4

 5      64. The supposed           super-priority     assessment liens and
 6    foreclosure notices claimed by HOA and their agents including Red
 7
      Rock Financial included and continue to include fines, interest, late
 8
      fees, dues, and costs of collection that are NOT permissible under NRS
 9
      116.3102 and NRS 116.311(c).
10
          A.       DIRECT PAYMENTS MADE BY "PLAINTIFFS" TO
11
                            HOA AND THEIR AGENTS
12

13      (i)       On or about 9/23/2021 Red Rock Financial on behalf of
                  HOA demanded and collected from Plaintiffs:
14
                                      $3,385.67
15
         The amount was paid included fines, late fees, interest, dues, and
16

17
     costs of collection — that are NOT allowed to be included in its super-

18   priority lien under NRS 116.311(c). See APPX0124-APPX0133.

19

20
        (ii)       CAMCO Homeowner Association Management on behalf of

21                HOA demanded and collected from Plaintiffs:
22                                    $1,906.93
23
         The amount was paid included fines, late fees, interest, dues, and
24   costs of collection — that are NOT allowed to be included in its super-
25   priority lien under NRS 116.311(c). See APPX0161-APPX0173.
26
        (iii)     On or about 12/7/2021 TERRAVVEST Homeowner
27
                  Association (HOA) demanded and collected from Plaintiffs:
28
                                    $76.88
                                             17
                                                                       18 of 457
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1
         The amount was paid included fines, late fees, interest, dues, and
    costs of collection — that are NOT allowed to be included in its super-
    priority lien under NRS 116.311(c). See APPX0174 - APPX0180.
    Total Amounts Collected from Plaintiffs                $5,369.48


           B.     PAYMENTS MADE BY CALIBER HOME LOANS TO
                      HOA AND THEIR AGENTS


         1. On 04/26/2016 "Assessment Management Services" on
            behalf of HOA demanded and collected from Caliber Home
            Loans:
                                  $ 4,462.34
         The amount was paid included fines, late fees, interest, dues, and
    costs of collection — that are NOT allowed to be included in its super-
    priority lien under NRS 116.311(c). See APPX0085-APPX0095.
          2. On or about 01/03/2020 Defendants Red Rock Financial on
                                       behalf of
             HOA demanded and collected from Caliber Home Loan:

                                  $21,363.99
         The amount was paid included fines, late fees, interest, dues, and
    costs of collection — that are NOT allowed to be included in its super-
    priority lien under NRS 116.311(c). See APPX0096-APPX0114.
         3. On or about 08/08/2020 Green Valley Ranch Community
            Association on behalf of HOA demanded and collected from
            Caliber Home Loans:
                                  $ 2,754.41
                                          18
                                                                           19 of 457
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          The amount was paid included fines, late fees, interest, dues, and
2
     costs of collection — that are NOT allowed to be included in its super-
 3
     priority lien under NRS 116.311(c). See. APPX0115-APPX0123.
 4
         Total Amounts Paid to HOA by Caliber                         $28,580.74
 5

 6
        Total Amounts Demanded and Collected from Plaintiff's and

 7
     Caliber Home Loans are:

 8                   $5,369.48 + $28,580.74 = $33,950.22
 9   Discussion:
10   NRS 116.3116 provides that a homeowners' association lien for
11
     assessments are junior to a first deed of trust beneficiary's secured
12
     interest in the property, with one limited exception: a homeowners'
13
     association lien is senior to a first deed of trust to the extent of the
14
     assessments for common expenses based on the periodic budget adopted
15

16
     by the association pursuant to NRS 116.3115 which would have become

17   due in the absence of acceleration during the 9 months (6 months for
18   Fannie Mae or Freddie Mac) immediately preceding institution of an
19   action to enforce the lien[.]
20   Nevada Supreme Court's recent decision in SFR Investments Pool 1,
21
     LLC v. U.S. Bank, NA., 334 P.3d 408 (Nev. 2014), concluded that the
22
     bank (in this case Caliber Home Loans and Fay Servicing the servicers
23
     to U.S. Bank) could easily have:
24
            • "Paid off the full lien to avert its loss of security and request the
25

26
               HOA pay back the amount exceeding the Super-priority

27             amount."
28   Caliber Home Loans and the Plaintiffs paid the "HOA Liens" claimed by
                                              19
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 1
     Defendants and/or agents including Red Rock's debt collectors were
 2
     unreasonable because, in calculating the super-priority amounts
 3
     allegedly owed included amounts in its supposed super-priority lien
 4
     — including fines, interest, late fees, and costs of collection — that are
 5
     NOT allowed to be included in its super-priority lien under NRS
 6

 7
     116.311(c).

 8   Based on the above Statutes and the decision of the Supreme Court of
 9   Nevada, Plaintiffs believe the super-priority amount to be collected
10   not to exceed $400.00.
11
             Plaintiffs demand that the amounts exceeding the amount of
12
     $400.00 to be refunded the full amount paid by Caliber Home Loans and
13
     the Plaintiffs paid amount $5,369.48 less $400.00 = $4,969,48 plus
14
     interest, cost and legal fees.
15

16
                                V. Escrow Account

17       65.       The terms of the "Loan Modification" as set by Fannie Mae
18    through the SPA Well Fargo as follows:
19     A.      Principal and Interest Rates are fixed $1,027.99 for the
20
             entire life of the loan 40 years with maturity date May 1, 2056.
21
        B.    Escrow Account consist of: (i) Property Tax; and (ii) Property
22
             Insurance.
23
         66.       The Escrow Account can go up or down and was initially
24
      through Wells Fargo set as follows:
25

26
         Escrowed property insurance amount:       $ 70.18
         Escrowed property taxes amount:           $173.10
27
         Escrowed shortage amount:                 $ 3.58
28                        Total amount:            $246.86
                                             20
                                                                         21 of 457
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          The monthly mortgage payments:
 2
          $1,027.99 + $246.86 = $1,274.85 (see APPX0048). This amount
 3
     was paid to Caliber Home loans and Wells Fargo the entire trial period.
 4
        67.     Caliber Home Loans changed the Escrow Account amount
      from 246.86 to 247.27 (see APPX0402) when the loan modification
 6

 7
      signed by the parties. APPX0400 - APPX0405.

 8      68.     The Escrow Account for (i) Property Tax; and (ii) Property
 9    Insurance the total amount of $247.27 was part of the mortgage
10    payments: principal and interest $1,027.99 +$247.27 = $1,275.26
11
      through September 2019.
12
         69.    Caliber Home Loans increased the monthly mortgage
13
      payment from $1,269.15 to 1,395.60 effective October 1, 2019, See
14
      APPX0228-APPX0230 which caused an increase of the Escrow
15
      Account from $247.27 to $367.61.
16

17
         70.    The mortgage payments including the "Trial Period Plan" as

18    of October 1, 2015, through August 31, 2022. The Plaintiffs obtained
19    the property tax from "Clark County Treasurer's Office" and its fiscal
20
      year starts July 1 through June 30 of the following year. APPX0184-
21
      APPX0213; and the records of the insurance on the property from
22
      Farmers Insurance. See APPX0214-APPX0227 and used the same
23
      fiscal year as follows:
24
        (a) Real Property and Special Tax Statement for Fiscal Year 2015-2016
25
           Total assessed Annual Charges $2,126.57
26
                 Over 9 months 10/01/2015 — 06/30/2016          $1,594.93
27
            Farmers Insurance Prorated over 9 months            $ 631.65
28                                       Sub-Total              $2,226.58
                                             21
                                                                   22 of 457
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                                  Plaintiffs paid         $2,231.91
                                  Over Payment            $     5.33
  (b) Real Property and Special Tax Statement for Fiscal Year 2016-2017
                 Total Assessed Annual Charges            $2,131.10
                 Farmers Insurance                        $1,022.21
                                    Sub-Total                 3,153.31
                                    Plaintiffs paid        $2967.24
                                    Under Payment          ($186.07)
   (c) Real Property and Special Tax Statement for Fiscal Year 2017-2018
                  Total Assessed Annual Charges             $2,186.45
                  Farmers Insurance                         $ 753.11
                                    Sub-Total               $2,939.56
                                    Plaintiffs paid         $2,967.24
                                    Over Payment            $    27.60
   (d) Real Property and Special Tax Statement for Fiscal Year 2018-2019
                  Total Assessed Annual Charges             S2,278.19
                  Farmers Insurance                         $ 684.61
                                    Sub-Total               $2,962.80
                                    Plaintiffs paid         $2,967.24
                                    Over Payment            $     4.44
(e)Real Property and Special Tax Statement for Fiscal Year 2019-2020
                  Total Assessed Annual Charges             $2,387.44
                   Farmers Insurance                        $ 711.20
                                    Sub-Total               $3,098.64
                                    Plaintiffs Paid         $4,050.30
                                 Over Payment           $ 951.66
(f) Real Property and Special Tax Statement for Fiscal Year 2020-2021
                 Total Assessed Annual Charges          $2,417.46
                 Farmers Insurance                      $ 698.30
                                  Sub-Total              $3,115.76
                                  Plaintiffs paid        $4,411.32
                                  Over Payment           $1,295.56

                                       22
                                                                         23 of 457
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1
     (g)Real Property and Special Tax Statement for Fiscal Year 2021-2022
 2                   Total Assessed Annual Charges          $2,490.55
 3                   Farmers Insurance                      $ 766.23
 4
                                     Sub-Total              $3,256.78
                                     Plaintiffs paid        $4,411.32
 5
                                     Over Payment           $1,154.54
 6
     (h)Real Property and Special Tax Statement for Fiscal Year 2022-2023
 7
          Total Assessed Annual Charges $2,565.19
 8                Over 2 months July and August                $ 427.53
 9                Farmers 2 months July and August             $ 127.71
10                                     Sub-Total               S 555.24
11
                                       Plaintiffs paid         $ 735.22
                                       Over Payment            $ 179.98
12

13
     The total amounts overpaid in the Escrow Account to both Caliber Home
14
     Loans and Fay Servicing for related above fiscal years:
15
     $5.33 - ($186.07) + $27.60 +$4.44 +$951.66 + $1,295.56 + $1,154.54
16
     + $179.98 = $3,619.11
17

18

19
         71.    The demand of Caliber Home Loans and Fay Servicing from

20    Plaintiffs resulted in excess of the Escrow Account is in violation of the
21    terms of Deed of Trust see APPX0014-APPX0015 and in violation of
22    RESPA - Escrow Analysis Guide and Regulation. See APPX0234 -
23
      APPX0238
24
         72.    The mortgage on the property is a "Fannie Mae" through the
25
      (SPA) Wells Fargo
26

27

28

                                             23
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1
           VI. SEVEN (7) TRIAL PAYMENTS MADE TO CALIBER
2               HOME LOANS AND WELLS FARGO WERE NEVER
                  APPLIED TO PRINCIPAL, INTEREST, AND
3
                  ESCROW ACCOUNT IN VIOLATION OF
 4                 THE TERMS OF TRIAL PERIOD PLAN
5
         73.   On or about 08/26/2015 Plaintiffs received from Wells Fargo
 6
         (SPA) for Fannie Mae, the "Trial Period Plan Notice", see
 7

 8
        APPX0047 - APPX0055, with the following terms:

 9       Principal and interest amount: $1,027.99
10
         Escrowed property insurance amount: $70.18
         Escrowed property taxes amount: $173.10
11
         Escrowed shortage amount: $3.58
12
         Total payment amount: $1,274.85
13

14             Principal & Interest     Escrow Account
15   1st Payment   $1,027.99               246.86 Due by: October 1, 2015
16   2nd Payment $1,027.99               $246.86 Due by: November 1, 2015
17   3rd Payment $1,027.99               $246.86 Due by: December 1, 2015
18   4th Payment $1,027.99               $246.86 Due by: January 1, 2016
19
     5th Payment S1,027.99              $246.86 Due by: February 1, 2016
20
     6th Payment $1,027.99              $246.86 Due by: March 1, 2016
21
     7th Payment $1,027.99              $246.86 Due by: April 1, 2016
22
     TOTALS        $7,195.93            $1,728.02
23

24

25
          Caliber Home Loans NEVER applied these payments to the

26   Modified loan amounts as required by the terms of the Trial Period Plan
27   and the terms set by Fannie Mae. See APPX0057.
28             Plaintiffs demand that these payments to be deducted from the
                                           24
                                                                      25 of 457
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modified loan $237,0072.33 and reset the monthly mortgage payments or
the full amounts to be refunded to the Plaintiffs.
         74.     Wells Fargo Home Mortgage was the servicer of the loan
              through November 16, 2015. Caliber Home Loans became the
              servicer of Fannie Mae Loan on 11/17/2015.
        75.     Caliber Home Loans letter dated 4/19/16 acknowledged
          receiving the above payments. See APPX0231-APPX0233, stated
          on page 1:
(i)      You received a trial period plan notice for a loan modification from
         Wells Fargo Home Mortgage, the servicer of your home loan.
(ii)     You made the first two months payments on time to Wells Fargo.
         On August 26, 2015 an approval letter from Fannie Mae for the
         loan modification with set terms was sent to Wells Fargo and a
         copy was sent
         to you by Wells Fargo.
(iii)
(iv)     You made your third month's payment of the trial period on time
         to Caliber and expected them to complete the loan modification on
         your home loan.
         On page 2 the underlined statement:
         • The last payment was received on April 7, 2016.

         Caliber Home Never applied the Trial Payments to the Principal
amount of the loan ($7,195.93) NOR applied the ESCROW Payments
pal ($1,728.02).


                                          25
                                                                       26 of 457
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1
       VII. MONTHLY MORTGAGE PAYMENTS MADE TIMELY
2            THRU BILLPAY TO CALIBER HOME LOANS IN
 3
             ACCORDANCE WITH THE TERMS OF LOAN
                  MODIFICATION AS OF 6/1/2016
 4

 5   Payment's History 06/01/ 2016, thru 12/ 31/2016. See APPX0239-
     APPX0252:
 6

 7   Bank            Date of Payment        Method of Payment      Amount
 8
     CHASE           06/08/2016                   Wire             $1,274.85
 9
     B of A          07/12/2016             Bill Payment           $1,275.26
10

11
                     08/15/2016             Bill Payment           $1,275.26

12                   09/13/2016             Bill Payment           $1,275.26
13                   10/13/2016             Bill Payment           $1,275.26
14                   11/08/2016             Bill Payment           $1,275.26
15
                     12/15/2016             Bill Payment           $1,275.26
16

17
     Payment's History 01/01/2017 thru 12/31/2017. See APPX0253-
     APPX0277:
18   B of A        01/12/2017          Wire                $1,275.26
19
                     02/06/2017        Bill Payment                $1,275.26
20
                     03/06/2017        Bill Payment                $1,275.26
21
     WELLS FARGO     04/05/2017        Bill Payment                $1,275.26
22
                     05/05/2017        Bill Payment                $1,275.26
23
                     06/06/2017        Bill Payment                $1,275.26
24

25
                     07/06/2017        Bill Payment                $1,275.26
26                   08/07/2017        Bill Payment                $1,275.26
27                   09/06/2017        Bill Payment                $1,275.26
28                   10/05/2017        Bill Payment                $1,275.26
                                            26
                                                                       27 of 457
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1
                     11/07/2017       Bill Payment                 $1,275.26
2
                     12/05/2017       Bill Payment                 $1,275.26
3
     Payments History 01/01/2018, thru 12/31/2018. See APPX0278-
 4   APPX0302:
5
     WELLS FARGO 01/05/2018        Bill Payment            $1,275.26

 6                   02/06/2018        Bill Payment                $1,275.26
 7                   03/06/2018       Bill Payment                 $1,275.26
 8                   04/05/2018       Bill Payment                 $1,275.26
 9                   05/07/2018       Bill Payment                 $1,275.26
10                   06/05/2018       Bill Payment                 $1,275.26
11                   07/06/2018       Bill Payment                 $1,275.26
12
                     08/07/2018       Bill Payment                 $1,275.26
13
                     09/05/2018       Bill Payment                 $1,275.26
14
                     10/05/2018       Bill Payment                 $1,275.26
15
                     11/06/2018       Bill Payment                 $1,275.26
16
                     12/05/2018       Bill Payment                 $1,275.26
17

18   Payments History 01/01/2019, thru 12/31/2019. See APPX0303-
19
     APPX0327:
     WELLS FARGO 01/07/2019        Bill Payment            $1,275.26
20
                     02/05/2019       Bill Payment                 $1,275.26
21
                     03/05/2019       Bill Payment                 $1,275.26
22
                     04/05/2019       Bill Payment                 $1,275.26
23

24
                     05/07/2019       Bill Payment                 $1,275.26

25
                     06/05/2019       Bill Payment                  $1,275.26
26                   07/08/2019        Bill Payment                $1,275.26
27                   08/06/2019        Bill Payment                $1,275.26
28                   09/05/2019        Bill Payment                $1,275.26
                                            27
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                10/08/2019       Bill Payment                 $1,395.60
                11/07/2019       Bill Payment                 $1,395.60
                12/09/2019       Bill Payment                 $1,395.60
Payments History 01/01/2020, thru 12/31/2020. See APPX0328-
APPX0352:
WELLS FARGO 01/07/2020        Bill Payment            $1,395.60
                02/07/2020       Bill Payment                 $1.395.60
                03/09/2020       Bill Payment                 $1.395.60
                04/07/2020       Bill Payment                 $1.395.60
                05/07/2020       Bill Payment                 $1.395.60
                06/09/2020       Bill Payment                 $1.395.60
                07/07/2020       Bill Payment                 $1.395.60
                08/07/2020       Bill Payment                 $1.395.60
                09/09/2020       Bill Payment                 $1.395.60
                10/07/2020       Bill Payment                 $1.395.60
                11/05/2020       Bill Payment                 $1.395.60
                12/07/2020       Bill Payment                 $1.395.60


Payments History 01/01/2021, thru 01/31/2021. See APPX0353-APPX0355:
WELLS FARGO 01/05/2021            Bill Payment               $1,395.60


   VIII. MONTHLY MORTGAGE PAYMENTS MADE TIMELY
           TO FAY SERVICING IN ACCORDANCE
                TO THE LOAN MODIFICATION
               AS OF 01/20/2020 Thru 08/31/2022
76. Fay Servicing started returning the mortgage payments soon after
  they became the servicer of the loan because Caliber Home Loans the
  former servicer paid the HOA liens and:
                                      28
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  "According to the Nevada Supreme Court's recent decision in SFR
  Investments Pool 1, LLC v. U.S. Bank, NA., 334 P.3d 408 (Nev. 2014),
  The Supreme Court of Nevada concluded that the bank could easily
  have:
       • "Paid off the full lien to avert its loss of security and request
         the HOA pay back the amount exceeding the Super-
         priority amount."


  "HOA Liens" in calculating the super-priority amounts allegedly
  owed included amounts in its supposed super-priority lien —
  including fines, interest, late fees, and costs of collection — that are
  NOT allowed to be included in its super-priority lien under NRS
  116.311(c)."


Payments History 02/01/2021, thru 12/31/2021. See APPX0358-
APPX0380:
WELLS FARGO 01/05/2021             Bill Payment                  $1,395.60
                 03/03/2021        Bill Payment                  $1,395.60
                 04/05/2021        Bill Payment                  $1,395.60
                 05/04/2021        Bill Payment                  $1,395.60
                 06/03/2021        Returned                      $1,395.60
                 06/03/2021        Bill Payment                  $1,395.60
                 06/04/2021        Bill Payment                  $1,395.60
                 07/06/2021        Returned                      $1,395.60
                 07/06/2021        Bill Payment                  $1,395.60
                 07/07/2021        Bill Payment                  $1,395.60
                 08/03/2021        Bill Payment                  $1,395.60

                                        29
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                08/04/2021       Returned                     $1,395.60
                08/05/2021       Bill Payment                 $1,395.60
                09/02/2021       Returned                     $1,395.60
                09/03/2021       Returned                     $1,395.60
                09/03/2021       Bill Payment                 $1,395.60
                09/07/2021       Bill Payment                 $1,395.60
                10/04/2021       Returned                     $1,395.60
                10/05/2021       Bill Payment                 $1,395.60
                10/06/2021       Returned                     $1,395.60
                10/07/2021       Bill Payment                 $1,395.60
                11/03/2021       Returned                     $1,395.60
                11/03/2021       Bill Payment                 $1,395.60
                11/04/2021       Returned                     $1,395.60
                11/04/2021       Bill Payment                 $1,395.60
                11/05/2021       Bill Payment                 $1,395.60
                12/03/2021       Returned                     $1395.60
                12/03/2021       Bill Payment                 $1,395.60
                12/06/2021       Returned                     $1,395.60
                12/06/2021       Bill Payment                 $1,395.60
                12/07/2021       Bill Payment                 $1,395.60
Payments History 02/01/2022, thru 08/31/2022. See APPX0381-
APPX0399:
WELLS FARGO 01/04/2022        Bill Payment            $1,395.60
                01/05/2022       Returned                     $1,395.60
                01/06/2022       Returned                     $1,395.60
                01/06/2022       Bill Payment                 $1,395.60

                                      30
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              02/03/2022       Returned                     $1,395.60
              02/03/2022       Returned                     $1,395.60
              02/03/2022       Bill Payment                 $1,395.60
              02/04/2022       Returned                     $1,395.60
              02/08/2022       2 Bill Payments              $2,791.20
              03/03/2022       Bill Payment                 $1,395.60
              03/04/2022       Returned                     $1,395.60
              03/07/2022       Returned                     $1,395.60
              03/07/2022       Bill Payment                 $1,395.60
              03/09/2022       Returned                     $1,395.60
              03/10/2022       2 Bill Payments              $2,791.20
              04/05/2022       Bill Payment                 $1,395.60
              04/06/2022       Returned                     $1,395.60
              04/07/2022       Returned                     $1,395.60
              04/08/2022       Returned                     $1,395.60
              04/11/2022       3 Bill Payments              $4,186.80
              05/03/2022       Bill Payment                 $1,395.60
              05/05/2022       Returned                     $1,395.60
              05/11/2022       2 Returned                   $2,791.20
              05/16/2022       3 Bill Payments              $4,186.85
              06/02/2022       Returned                     $1,395.60
              06/03/2022       Bill Payment                 $1,395.60
              06/06/2022       Retuned                      $1,395.60
              06/09/2022       2 Returned                   $2,791.20
              06/14/2022       2 Bill Payments              $2,791.20
              07/06/2022       Bill Payment                 $1,395.60
                                    31
                                                                         32 of 457
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1
                      07/07/2022        Returned                     $1,395.60
 2
                      07/11/2022        3 Returned                   $4,186.80
 3
                      07/15/2022        3 Bill Payments              $4,186.80
 4
                      08/03/2022        Returned                     $1,395.60
 5
                      08/03/2022        Bill Payment                 $1,395.60
 6
                      08/15/2022        3 Returned                   $4,186.85
 7
                      08/18/2022        3 Bill Payments              $4,186.85
 8

 9
                      08/24/2022         2 Bill Payments             $2,791.20

10                    08/30/2022        Bill Payment                 $1,395.60
11

12                                 First Cause of Action
13
                                         Civil RICO

14
       77. The allegations of paragraphs 1 through 76 above are hereby re-
15
     alleged and incorporated herein by this reference.
16
         78.    Defendants, and each of them, have demanded from
17
     Plaintiffs and from Caliber Home Loans, received and retained monies
18

19
     to satisfy the Excess Lien Amounts, said Excess Lien Amounts and the

20   collection thereof being in violation of the Nevada Revised Statutes and
21   of the common laws of the State of Nevada.
22       79.    Defendants had no legal right to demand, collect and retain
23
     from Plaintiffs and from Caliber Home Loans the Excess Lien Amounts
24
     because, pursuant to Nevada Revised Statutes §116.3116, the Excess
25
     Liens Amounts were extinguished by original owner sales instituted by
26
     the first security interest holders through which Plaintiffs obtained title
27
     to their Real property and were no liens recorded to be collected by
28

                                              32
                                                                        33 of 457
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1
     Defendants to satisfy the HOA,
 2
        80.       On each of the multiple occasions Defendants or their agents,
 3
     and each of them, demanded and received monies from Caliber Home
 4
     Loans on behalf of Plaintiffs, Defendants having obtained the monies
 5
     under false pretenses.
 6

 7
        81.       Each such of these multiple acts constitute crimes related to

 8   racketeering as defined in Nevada Revised Statutes §207.360.
 9      82.       As above described, and at all material times related hereto,
10   Defendants or their agents, and each of them, have conducted
11
     "racketeering activity," meaning each has engaged in at least two crimes
12
     related to racketeering as defined in Nevada Revised Statutes §207.360
13
     said Crimes related to racketeering being:
14
                  a. the demanding and receiving the Excess Lien Amounts,
15

16
                    by falsely claiming such amounts were properly due and

17                  owing by Plaintiffs when, in fact they were not due, and
18                b. the wrongful taking of the monies of Plaintiffs under
19                   circumstances not amounting to robbery.
20
         83.      All Defendants engaged in these crimes related to
21
     racketeering which have the same or similar pattern, intents, results,
22
     accomplices, victims, or methods of commission, or are otherwise
23
     interrelated by distinguishing characteristics and are not isolated
24
     incidents.
25

26
         84.      Through the combination of individuals comprising each of

27   Defendants' respective officers, directors, members, managers,
28   employees, and agents, and each of the HOAs and management
                                             33
                                                                  34 of 457
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companies of the HOAs, who, assisting in each of Defendants' acts as
above described, have acted together, pursuant to a common design and
agreement to engage in racketeering activity, have, therefore,
structured a criminal syndicate as defined in Nevada Revised Statutes
§207.370.
   85.      Defendants, and each of them, have with criminal intent,
received monies derived, directly or indirectly, from racketeering
activities as above described and used said monies to further establish,
operate and control their enterprise.
   86.      Defendants, and each of them, have through their actions
above described, intentionally organized, managed, directed,
supervised, and financed the criminal syndicate.
   87.      Defendants, and each of them, have knowingly incited or
induced others, such as their respective collection agencies and
management companies to engage in intimidation to promote or further
the objectives of their criminal syndicate.
    88.     Acts of intimidation include but are not limited to threats
that unless the unlawful Amounts are paid Defendants will proceed in
foreclosing on the property, such that Plaintiffs' livelihood would be
negatively impacted.
    89.     Defendants, and each of them, by directing their respective
collection agencies and management companies demand the Excess
Lien Amounts of money, furnished advice, assistance or direction in the
conduct, financing, or management of the affairs of the criminal
syndicate with the intent to promote or further the criminal objectives
                                        34
                                                                       35 of 457
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 1
     of the syndicate.
 2
         90.    Plaintiffs, and each of them, have been injured in their
 3
     property by reason of Defendants, and each of their violations of Nevada
 4
     Revised Statutes §207.400 and have a cause of action against
 5
     Defendants for three times the actual damages sustained.
 6

 7
         91.    As a result of Defendants' actions as herein described,

 8   Plaintiffs have suffered damages more than $75,000.00.
 9       92.    As a result of Defendants' actions as herein described,
10
     Plaintiffs have been forced to incur costs and fees in the prosecution of
11
     this action and have been required to incur legal fees and costs to which
12
     Plaintiffs hereby make claim and to which Plaintiffs are entitled.
13
                              Second Cause of Action
14
                                Negligence Per Se
15

16
         93.    The allegations of paragraphs 1 through 92 above are hereby

17   re-alleged. And incorporated herein by this reference.
18       94.    Plaintiffs, having been the recipient of Collection demands
19   by Defendants and having owned the Real Property located within the
20
     HOAs, belong to Plaintiffs that Nevada Revised Statutes §649 and
21
     Nevada Revised Statutes §116, particularly Nevada Revised Statutes
22
     §649.375 and Nevada Revised Statutes §116.3116 was intended to
23
     protect.
24
         95.    Defendants, and each of them have violated Nevada Revised
25

26
     Statutes §116.3116 by their actions as above described.

27       96.    Each such violation by Defendants caused Plaintiffs to pay
28   more money to the Defendants than required by the Nevada Revised
                                            35
                                                                    36 of 457
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Statutes, said overpayment comprising injuries.
    97.    The super priority lien amount limit which is outlined in
Nevada Revised Statutes §116.3116 is intended to protect the very
Excess Lien Amount injuries incurred by Plaintiffs.
    98.    As a result of Defendants' actions of violating Nevada
Revised Statutes §I16.3116 and overcharging Plaintiffs to satisfy the
liens as above described, Plaintiffs have suffered damages in excess of
$75,000.00.
    99.    As a result of Defendants' actions as herein described,
Plaintiffs have been forced to incur costs and fees in the prosecution of
this action to which Plaintiffs hereby make claim and to which Plaintiffs
are entitled.
                         Third Cause of Action
                        Breach of Fiduciary Duty

    100.   The allegations of paragraphs 1 through 99 above are hereby
re-alleged and incorporated herein by this reference.
    101.   In their capacity as homeowners' associations with all the
statutory rights, duties and obligations imposed upon them by law,
Plaintiffs had the right to expect trust and confidence in the integrity
and fidelity of Defendants, such that Defendants owed to Plaintiffs a
fiduciary duty.
    102.   Defendants' actions as described above, including them
multiple and repeated overcharging of Plaintiffs to satisfy the Excess
Lien Amounts, constitute of breach of the Fiduciary Duty Plaintiffs
owed to Defendants.
                                       36
                                                                        37 of 457
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1       103.      As a result of Defendants' actions as herein described,
    Plaintiffs have suffered damage in excess of $75,000.00.
        104.      As a result of Defendants' actions as herein described,
    Plaintiffs have been forced to incur costs and fees in the prosecution of
    this action to which Plaintiffs hereby make claim and to which Plaintiffs
    are entitled.
                               Fourth Cause of Action
               (Breach NRS 116.3113: Plaintiffs Against HOA and their agents)

        105.      The allegations of paragraphs 1 through 104 above are
    hereby re-alleged and incorporated herein by this reference.
        106.      Defendants' actions as described above, including their
    multiple and repeated overcharging of Plaintiffs to satisfy the Excess
    Lien Amounts, constitute of breach of Nevada Revised Statutes
    §116.3116.
        107.      NRS § 116.1113 provides that every contract or duty
    governed by this chapter imposes an obligation of good faith in its
    performance or enforcement.
        108.      HOA's recorded CC&Rs contains a Mortgage Protection
    provision which provides "no lien...nor any lien arising by reason of any
    breach of this Declaration...shall defeat or render invalid the rights of
    the beneficiary under any Recorded Mortgage of the first and senior
    priority.., made in good faith and for value," thereby making Plaintiff a
    direct beneficiary of the protections afforded under the CC&Rs, along
    with all accompanying duties under NRS 116 et seq. and common law.
        109.      NRS Chapter 116 requires HOA and their agents to comply

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                                                                          38 of 457
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1
     with the obligations of the CC&Rs, including the breach of covenants
 2
     clause.
 3
         110.   After making the representation in the CC&Rs that no
 4
     breach of any obligation imposed by the CC&Rs would jeopardize the
 5
     rights of the beneficiary of the senior deed of trust, HOA and their
 6

 7
     agents are charged with a duty to inform Plaintiff HOA's representation

 8   regarding the unequivocal protection of security interests in the CC&Rs
 9   was false, to notify Plaintiff of the Super-priority lien — including fines,
10   interest, late fees, and costs of collection — that are NOT allowed to be
11
     included in its super-priority lien under NRS 116.311(c).
12
         111.   As a result of Defendants' actions as herein described,
13
     Plaintiffs have suffered damage in excess of $75,000.00.
14
         112.   As a result of Defendants' actions as herein described,
15

16
     Plaintiffs have been forced to incur costs and fees in the prosecution of

17   this action to which Plaintiffs hereby make claim and to which Plaintiffs
18   are entitled.
19                           Fifth Cause of Action
20         (Breach NRS 116.3116 Against U.S. Bank, Caliber Home
                          Loans and Fay Servicing)
21
         113.  The allegations of paragraphs 1 through 112 above are
22
     hereby re-alleged and incorporated herein by this reference.
23
         114.    Defendants' actions violation of the Supreme Court of
24
     Nevada as described above, including their multiples and repeated
25

26
     overcharging of Plaintiffs to satisfy the Excess Lien Amounts, constitute

27   of breach of Nevada Revised Statutes §116.3116.
28       115.    Nevada Supreme Court's recent decision in SFR Investments
                                             38
                                                                       39 of 457
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1
     Pool 1, LLC u. U.S. Bank, NA., 334 P.3d 408 (Nev. 2014), concluded that
2
     the bank (in this case Caliber Home Loans and Fay Servicing the
 3
     servicers to U.S. Bank) could easily have:
 4
            • "Paid off the full lien to avert its loss of security and
 5
              request the HOA pay back the amount exceeding the
 6            Super-priority amount."
 7
         116.   NRS 116.3116 provides that a homeowners' association lien
 8
     for assessments are junior to a first deed of trust beneficiary's secured
 9

10
     interest in the property, with one limited exception: a homeowners'

11   association lien is senior to a first deed of trust to the extent of the
12   assessments for common expenses based on the periodic budget adopted
13
     by the association pursuant to NRS 116.3115 which would have become
14
     due in the absence of acceleration during the 9 months (6 months for
15
     Fannie Mae or Freddie Mac) immediately preceding institution of an
16
     action to enforce the lien[.]
17
         117.    Caliber Home Loans made several payments to the "HOA
18

19
     Liens" claimed by Defendants more than two (2) years ago for a total

20   over $28,000. See APPX0085 - APPX0123. Neither Caliber Home Loans

21   NOR Fay Servicing have requested the HOA to pay back the amounts
22   exceeding Super-priority amount, because in calculating the super-
23
     priority amounts allegedly owed included amounts in its supposed
24
     super-priority lien — fines, interest, late fees, and costs of collection
25
     — that are NOT allowed to be included in its super-priority lien under
26
     NRS 116.311(c).
27
         118.    Caliber Home Loans and Fay Servicing intentionally failed
28

                                            39
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      Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 40 of 457


1   to request the HOA to pay back the excess of the Super-priority, instead
    they are attempting to foreclose on the Plaintiffs property.
        119.    As a result of Defendants' actions as herein described;
    Plaintiffs have suffered damage in excess of $75,000:00.
        120.    As a result of Defendants' actions as herein described,
    Plaintiffs have been forced to incur costs and fees in the prosecution of
    this action and have been required to hire an attorney and incur
    attorney fees and costs to which Plaintiffs hereby make claim and to
    which Plaintiffs are entitled.
                               Sixth Cause of Action
                                    (Negligence)
        121.    The allegations of paragraphs 1 through 120 above are
    hereby re-alleged and incorporated herein by this reference.
        122.    In their capacity as homeowners' associations with all the
    statutory rights, duties and obligations imposed upon them by law,
    Defendants had a duty of due care to Plaintiffs when imposing any liens
    against Plaintiffs, to impose such liens in an amount consistent with,
    and not in excess of the amounts permitted by law. Defendants had a
    further duty to take all appropriate actions with would prevent the
    overcharging of Plaintiffs for such liens.
        123.    Defendants' actions as described above, including their
    multiple and repeated overcharging of Plaintiffs to satisfy the Excess
    Lien Amounts, constitute a breach of that duty, said breach being the
    legal cause of Plaintiffs' injuries.
        124.    As a result of Defendants' breaches and actions as herein

                                            40
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1
     described, Plaintiffs have suffered damages in excess of $75,000.00.
 2
         125. As a result of Defendants' actions as herein described,
 3
     Plaintiffs have been forced to incur costs and fees in the prosecution of
 4
     this action to which Plaintiffs hereby make claim and to which Plaintiffs
 5
     are entitled.
 6

 7                            Seventh Cause of Action
                                Slander of Title
 8
         126.   The allegations of paragraphs 1 through 125 above are
 9

10
     hereby re-alleged and incorporated herein by this reference.

11       127.   Pursuant to Nevada Revised Statutes §116.3116,
12   Defendants had a lien against Plaintiffs' Real Property to the extent of
13   the super priority lien amount addressed in the above Fifth Cause of
14
     Action.
15
         128.   However, Defendants intentionally caused to publicly
16
     recorded or transmitted to 3rd parties' false liens and to make false
17
     claims to Plaintiffs and to third parties for amounts in excess of the
18
     amount to which they were entitled by law.
19

20
         129.   Defendant' have, thus, have, thus, made false and malicious

21   communications disparaging to Plaintiffs' title in Plaintiffs' Real
22   Property and have slandered Plaintiffs' title to such Real Property.
23       130.   As a result, of Defendants' breaches and actions as herein
24
     described, Plaintiffs have suffered damages in excess of $75,000.00.
25
         131.   As a result, of Defendants' actions as herein described,
26
     Plaintiffs have been forced to incur costs and fees in the prosecution of
27
     this action to which Plaintiffs hereby make claim and to which Plaintiffs
28

                                            41
                                                                        42 of 457
       Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 42 of 457


1
     are entitled.
2

3
                              Eighth Cause of Action
 4
                               (Unjust Enrichment)
 5       132.   The allegations of paragraphs 1 through 131 above are
 6   hereby re-alleged and incorporated herein by this reference.
 7       133.   Based upon the conduct of Defendants as above described,
 8
     the Defendant have received undeserved monetary benefits from the
 9
     collection of the Excess Lien Amounts from Plaintiffs and from Caliber
10
     Home Loans on behalf of the Plaintiffs.
11
         134.   The Defendants have been, therefore, unjustly enriched at
12

13
     the expense of the Plaintiffs giving rise to a legal and equitable duty to

14   repay he Plaintiffs for all sums.
15       135.    As a result of Defendants' actions as herein described,
16   Plaintiffs have suffered special damages in excess of 75,000.00.
17
         136.    As a result of Defendants' actions as herein described,
18
     Plaintiffs have been forced to incur costs and fees in the prosecution of
19
     this action to which Plaintiffs hereby make claim and to which Plaintiffs
20
     are entitled.
21
                               Nineth Cause of Action
22
                                  Declaratory Relief
23       137.    The allegations of paragraphs 1 through 137 above are
24
     hereby re-alleged and incorporated herein by this reference.
25
         138.    Nevada has adopted the Uniform Declaratory Judgments
26
     Act (the "Act").
27
         139.    The Act permits persons whose rights, status or other legal
28

                                            42
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      Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 43 of 457


1   relations affected by a statute or municipal ordinance to have
    determined by a court of competent jurisdiction any question of
    construction or validity arising under the status or other legal relations
    thereunder.
        140.   Plaintiffs seek a declaration from this Honorable Court that
    declares that Defendants, as statutory homeowners' associations under
    NRS 116.3116 provides that a homeowners' association lien for
    assessments are junior to a first deed of trust beneficiary's secured
    interest in the property, with one limited exception: a homeowners'
    association lien is senior to a first deed of trust to the extent of the
    assessments for common expenses based on the periodic budget adopted
    by the association pursuant to NRS 116.3115 which would have become
    due in the absence of acceleration during the 9 months (6 months for
    Fannie Mae or Freddie Mac) immediately preceding institution of an
    action to enforce the lien[.] And because Plaintiffs obtained title to said
    ("Real Property") through" Grant, Bargain, Sale Deed" and Fannie
    Mae through Wells Fargo the servicer (SPA) acquired ownership of the
    Loan including the Note and Deed of Trust, before the date on which
    the assessments, penalties, fees, charges, late charges, fines, and
    interest sought by Defendants and comprising said liens, became
    delinquent.
        141.   Plaintiffs seek a declaration from this Honorable Court that
    Defendants have demanded and received from Plaintiffs and Caliber
    Home Loans monies in order to satisfy Defendants' claimed liens which
    exceed the super priority lien amount contained in Nevada Revised
                                            43
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       Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 44 of 457


1
     Statutes §116.3116 and, therefore, the Excess Lien Amounts have been
 2
     unlawfully demanded and collected and must be returned with interest.
 3

 4
                             PRAYER FOR RELIEF
 5

          WHEREFORE, Plaintiffs, expressly reserving their right to
 6

 7
      amend this pleading at the time of, or prior to trial, prays for judgment

 8    against Defendants as follows:
 9        1.    For general damages in excess of $75,000.00.
10        2.    For declaratory relief as set forth herein.
11
          3.    For reasonable attorneys' fees and costs of suit of litigation
                thereof as damages and under applicable statutes and/or as
12
                special damages in excess of $10,000.00.
13
          4.    For pre and post judgement interest at the statutory rate as
14
                 maybe applicable.
15        5.    For punitive and trebled damages.
16        6.    For any further legal and equitable relief that this Court
17
                May deem just and equitable.

18
          Dated: November 3, 2022
19

20
                      Plaintiffs in pro se

21

22

23
          IMAN Y. HALLOUM                          YOUSIF H. HALLOUM
24

25

26

27

28

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                                                                                                                                                              45 of 457
JS 44 (Rev. 09/19)                           CIVIL Document
                        Case 2:22-cv-01787-MMD-EJY COVER SHEET
                                                            11 Filed 11/03/22 Page 45 of 457
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                    DEFENDANTS
            YOUSIF H. & IMAN Y. HALLOUM                                                            Caliber Home Loans; Fay Servicing; Red Rock Financial; Assessment
                                                                                                   Management; Camco Homeowners Asso. Management; Level Comm
   (b) County of Residence of First Listed Plaintiff        CLARK COUNTY                            County of Residence of First Listed Defendant CLARK COUNTY
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                           (IN U.S. PLAIN7lEF CASES ONLY)
                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                             THE TRACT OF LAND INVOLVED

   (C) Attorneys (Firm Name, Address, and Telephone Number)                                           Attorneys (I/Known)

                     IN PRO SE


II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box jin Plaintiff
                                                                                                 (For Diversity Cases Only)                               and One Box for Dejimdant)
01    U.S. Government              iX 3 Federal Question                                                                  PTF DEF                                        PTF DEF
        Plaintiff                          (U.S. Government Not a Party)                    Citizen of This State          Dl  0 I Incorporated or Principal Place         04      IX 4
                                                                                                                                        of Business In This State

0 2 U.S. Government                0 4 Diversity                                            Citizen of Another State          CI 2   CI 2 Incorporated and Principal Place         5    CI 5
         Defendant                        (Indicate Citizenship of Parties in hem III)                                                        of Business In Another State

                                                                                            Citizen or Subject of a           03     0 3 Foreign Nation                         0 6 0 6
                                                                                              Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
        . CONTRACT                                         TORTS'.                             FORFEITURE/PENALTY                     BANKRITPTCY                ... OTHER STATUTES
 0 110 Insurance                      PERSONAL INJURY              PERSONAL INJURY       0 625 Drug Related Seizure       0 422 Appeal 28 USC 158              1 375 False Claims Act
 0 120 Marine                      CI 310 Airplane              CI 365 Personal Injury -        of Property 21 USC 881 0 423 Withdrawal                        0 376 Qui Tam (31 USC
 0 130 Miller Act                  0 315 Airplane Product              Product Liability 0 690 Other                                28 USC 157                        3729(a))
 0 140 Negotiable Instrument               Liability            0 367 Health Care/                                                                             CI 400 State Reapportionment
 0 150 Recovery of Overpayment CI 320 Assault, Libel &                 Pharmaceutical                                          PROPERTY RIGHTS                 0 410 Antitrust
         & Enforcement of Judgment         Slander                     Personal Injury                                    0 820 Copyrights                     0 430 Banks and Banking
 0 151 Medicare Act                0 330 Federal Employers'            Product Liability                                  0 830 Patent                         0 450 Commerce
  0 152 Recovery of Defaulted              Liability            0 368 Asbestos Personal                                   0 835 Patent - Abbreviated           0 460 Deportation
         Student Loans             0 340 Marine                         Injury Product                                              New Drug Application       0 470 Racketeer Influenced and
         (Excludes Veterans)       0 345 Marine Product                 Liability                                         0 840 Trademark                             Corrupt Organizations
  0 153 Recovery of Overpayment            Liability              PERSONAL PROPERTY                   LABOR                   SOCIAL SECURITY                  CI 480 Consumer Credit
         of Veteran's Benefits     0 350 Motor Vehicle          0 370 Other Fraud        0 710 Fair Labor Standards       0 861 HIA (1395ff)                          (15 USC 1681 or 1692)
  0 160 Stockholders' Suits        0 355 Motor Vehicle          CI 371 Truth in Lending          Act                      0 862 Black Lung (923)               0 485 Telephone Consumer
  0 190 Other Contract                    Product Liability     0 380 Other Personal     CI 720 Labor/Management          0 863 DIWC/DIWVV (405(g))                   Protection Act
  0 195 Contract Product Liability CI 360 Other Personal               Property Damage           Relations                0 864 SSID Title XVI                 CI 490 Cable/Sat TV
  0 196 Franchise                         Injury                0 385 Property Damage    0 740 Railway Labor Act          0 865 RSI (405(g))                   0 850 Securities/Commodities/
                                   0 362 Personal Injury -             Product Liability 0 751 Family and Medical                                                     Exchange
                                          Medical Malpractice                                    Leave Act                                                     0 890 Other Statutory Actions
I         REAL.PROPERTV •               CIVIL RIGHTS             PRISONER PETITIONS 0 790 Other Labor Litigation           , :':}11EDER4L TAX SUITS            0 891 Agricultural Acts
  CI 210 Land Condemnation         0 440 Other Civil Rights        Habeas Corpus:        CI 791 Employee Retirement       0 870 Taxes (U.S. Plaintiff          0 893 Environmental Matters
  0 220 Foreclosure                0 441 Voting                 0 463 Alien Detainee            Income Security Act                 or Defendant)              0 895 Freedom of Information
  GI 230 Rent Lease & Ejectment    CI 442 Employment            0 510 Motions to Vacate                                   CI 871 IRS—Third Party                      Act
  CI 240 Torts to Land             GI 443 Housing/                     Sentence                                                     26 USC 7609                1 896 Arbitration
  0 245 Tort Product Liability            Accommodations        0 530 General                                                                                  0 899 Administrative Procedure
  CI( 290 All Other Real Property  0 445 Amer. w/Disabilities - CI 535 Death Penalty             IMMIGRATION                                                          Act/Review or Appeal of
                                          Employment               Other:                0 462 Naturalization Application                                             Agency Decision
                                   0 446 Amer. w/Disabilities - 0 540 Mandamus & Other   0 465 Other Immigration                                               0 950 Constitutionality of
                                          Other                 0 550 Civil Rights              Actions                                                                State Statutes
                                   0 448 Education              0 555 Prison Condition
                                                                0 560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an "X" in One Box Only)
X1     Original         El 2 Removed from             CI 3 Remanded from           CI 4 Reinstated or CI 5 Transferred from                  CI 6 Multidistrict         CI 8 Multidistrict
       Proceeding            State Court                    Appellate Court               Reopened                  Another District                 Litigation -            Litigation -
                                                                                                                    (specify)                        Transfer                Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      28 U.S.C. § 2201
VI. CAUSE OF ACTION Brief description of cause:
                      Declaratory relief, violation of NRS 116.3113 et seq., Civil Rico, Slander of Title, Unjust enrichment
VII. REQUESTED IN        CHECK IF THIS IS A CLASS ACTION         DEMAND                          CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                JURY DEMAND:           CI Yes    No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE                                           DOCKET NUMBER
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
 10/26/2022                                                       In Pro Se: /s/ Yousif Halloum
FOR OFFICE USE ONLY

   RECEIPT AI                  AMOUNT                                   APPLYING IFP                                  JUDGE                        MAG. JUDGE
JS 44 Reverse (Rev. 09/19)                                                                                                            46 of 457
                       Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 46 of 457
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
        then the official, giving both name and title.
  (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.     Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
          numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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             APPENDIX
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                       Document                                              Appx. No.
                                                            Initiated
                                                          Party
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                                                                               APPX0001
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Date: 08/28/2006: Conveyed From: Giuseppe Consarino. Clark County                       -
To: Yousif Halloum and Iman Y. Halloum, husband and       Recorder
                                                                               APPX0004
wife as Joint Tenants
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changed Servicer SPA from Wells Fargo Home                                              -
                                                              Mortgage
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not be affected


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                                                              Wells Fargo          APPX0068
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                                                                Home
Moines, IA 50328-0001 to U.S. Bank Trust, N.A., As                                      -
                                                               Mortgage
Trustee for LSF9 Master Participation Trust                                        APPX0070
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782036380267
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                                                               Management
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                                                               Services (HOA)
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                                                                  Financial
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                                                                    HOA
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                                                                                                _
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                                                                                APPX0173


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FORECLOSURE FORBEARANCE AGREEMENT.
FIXED WITH PRINCIPAL DEFERMENT                           Loan                     -
                                                       Modification      APPX0405




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                                           EXHIBIT "1"



                  Clark County Recorder Office
               GRANT, BARGAIN, SALE DEED

                 Instrument #: 200608280004424
                        Date: 08/28/2006

                             Conveyed
               From:       Giuseppe Consarino
               To:         Yousif Halloum and Iman Y. Halloum,
                           husband and wife as Joint Tenants




                            APPX0001
                                                                                                   54 of 457
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       •

                                                                                    1111111111 11111E11111 1111 11 11111113
                                                                                    2006082e-0004424
    RECORDING REQUESTED BY:                                                   Fee: $15,00     RPTT: $24346.00
    Fidelity National Title Agency of Nevada                                  NIC Fee: $13,00
    Escrow No. 06-192236-TH
    Title Order No. 00192236                                                  08/20/219 .                14:51:38
    When Recorded Mall Document                                               121 150414
    and Tax Statement To:                                                     Requester:
     Yousif Hallourn                                                            FIDELITY NATIONAL TITLE
    2428 Devotion Ridge Drive
    Henderson, NV 89052                                                       Frances Deane                         SOL
                                                                              Clark County Recorder                 P95; 3
    RPTP. 2,346.00
    APN: 178-19-312-078
                                     GRANT, BARGAIN, SALE DEED
     THIS INDENTURE WITNESSETH; That Giuseppe Consarine, An Unmarried Man

     FOR A VALUABLE CONSIDERATION, receipt of which is hereby acknowledged, do(es) hereby Grant,
     Bargain, Sell and

     Convey to Yousif Magoon) and iman Y. Mangum, husband and wife as Joint Tenants

     ail that real property situated in the Clark County, State of Nevada, bounded and described as follows:

     SEE EXHIBIT ONE ATTACHED HERETO AND MADE A PART HEREOF


     SUBJECT TD; 1.            Taxes for the fiscal year 2006-07
                        2.     Covenants, Conditions, Reservations, Rights, Rights of Way and Easements
                               now of record.

      Together with all and singular tenements, hereditarnents and appurtenances thereunto belonging or
      in anywise appertaining.


      DATED: August 25, 2006

      STATE OF NEVADA
      COUNTY OF el.44-4

       This I trurne t was acknowledged before._           •...GiusePpe.Consarino

       by LiI                     4. n...C>

                                                                               STATE OF NEVADA
       Signature                                                                Tge
                                                                              App
                                          Notary Public                            06- 76-
                                                                         __VAL EVens.lor.. 19,
       My Commission Expires: JR/I if,




        NV (Rev 6/03)                                 .GRANT DEED




                                          APPX0002
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    Eacrow No. 06-192236-1H
    Title Order No. 00192236


                                            EXHIBIT ONE
    Parcei 1:

    Lot 16 of Final Map of Inspiration at Green Valley Ranch 1, as shown by map thereof on file in Book
    103 of Plats, Page 8, in the Office of the County Recorder, Clark County, Nevada, and as amended by
    Certificate of Amendment recorded February 11, 2002 as Document Numbers, 00600, 00601, 00602
    and 00603, Official Records.

    Parcel 2:

    A non-exclusive easement for access, ingress and egress of Common Elements and Private Streets as
    provided for in and subject to that certain Declaration of Covenants, Conditions and Restrictions for
    Inspiration at Green Valley Ranch recorded April 03, 2002 in Book 20020403 as Document No. 00645,
    Official Records.




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    STATE OF NEVADA
    DECLARATION OF VALUE
     . Assessor Parcel Number(s)
       • a) 178-19-312-070
       • b)
         0)
         d)

    2. Type of Property:
                                                         cf‘. 9
    a) 0 Vacant Land            b)4a Single Fain. Has.
    cl 0 Condo/Twnhse           d) 0 2 -4 Plex           FOR RECORDER'S OPTIONAL USE ONLY
    e) 0 Apt. Bldg.             f) 0 CommliInert
    g) 0 Agricultural           h) EI Mobile Home        Document/Instrument #:
       El Other                                          Book:                 Page:
                                                         Date of Recording:
                                                         Notes:
    3. Total Value/Sales Price of the Property                460,000.00
       Deed in Lieu of Foreclosure Only (Value of Property)
       Transfer Tax Value:                                  $ 460,000.00
       Real Property Transfer Tax Due                       $ 2,346.00

    4. If Exemption Claimed:
            a. Transfer Tax Exemption per NRS 375.090, Section 0
            b. Explain Reason for Exemption:

     5., Partial Interest: Percentage being transferred00%
               The undersigned declares and acknowledges, under penalty of perjury, pursuant to NRS
     375.060 and NRS 375.110, that the information provided Is correct to the best of their
     information and belief, and can be supported by documentation if called upon to substantiate the
     information provided herein. Furthermore, the parties agree that disallowance of any claimed
     exemption, or other determination of additional tax due, may result in a penalty of 10% of the tax
     due plus interest at 1% per month. Pursuant to NRS 375.030, the Buyer and Seller shall be
      jointly and severe ly liable for any additional amount owed.

     Signature                                            Capacity   561/Fre-
     Sign                                                 Capaciti
                                                                 BuYERA NTEE) INFORMATION
                              (REQUIRED)                                (REQUIRED)
      Print Name:           Giuseppe Consarino            Print Name:  Yousif Halloum and Won Y.
                                                                       Hallourn
      Addresst          2428 Devotion Ridge Drive           Address:
      City, State, Zip: Henderson, NV 89052                 City, State, Zip:

      COMPANY/PERSON REQUESTING RECORDING irectuired if not seller or buyer)
      Print Name: FidelitY National Title Agency of Nevada Escrow #: 06-192236-TH
      Address: 5597 W. Swim Mountain Road
      City, State and Zip: Las Vegas, NV 89102
                   (AS A PUBDC RECORD THIS FORM MAY BE RECORDED/MICROFILMED)

      (dedval.wpd)(04-05)




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                                           EXHIBIT "2"



                    Clark County Recorder
                        DEED OF TRUST

              Instrument #: 200705250001298
                     Date: 05/25/2007
    From: HALLOUM. YOUSIF
    To: WELLS FARGO BANK NA (SPA) Servicer of Fannie Mae




                            APPX0005
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                                                                                      MRININNINI11011111
                                                                                     20070525-0001298
     Assessor's Parcel Number:
     178-19-312-078                                                               Fee: $51,00
     Return To: NEM FINAL DOCS X9999-01N                                          N/C Fee: $0,00
     1000 BLUE GENTIAN ROAD                                                       05/25/2007          10;21:55
     EAGAN, MN 55121                                                              T200700' :43

      PreparedBy:NELLS FARGO RANK, N.A.
                                                                                  Requestor
                                                                                    FIDELITY NATION.. TITLE
     :12990 SE 93RD AVE, SUITE 400,                                               Debbie Conway                  DBX
      CLACKAMAS, OR 970150000
      Reeordiag-Raquestaity: WELLS FARGO BANX,
                                                                                  Clark County Recorder          Pgs: 38

      12550 SE 93RD AVE, SUITE 400,
      CLACKAMAS, OR 970150000                        SIGNED IN COUNTERPART

             T96,-",6               [Space Above This Line For Recording Data]
                                          DEED OF TRUST



      DEFINITIONS
      Words used in multiple sections of this docomeut are defined below and. other words are defined in
      Sections 3, 11, 13, 18, 20 and 21 Certain rules regarding the usage of words used in this document are
      also provided in Section 16.

      (A) "Security Instrument"         this document, which is dated NAY 17, 2007
      together with all Riders to    document,
      (11)- "Borrower" is YOU        RALLOUN, zopparfpurriggq AND DIAN T. HALLOtIN,
                                      HUSBAND AND WIPE




       Borrower is the trustor under this Security Instrument.
       (C) mender" is WELLS FARGO BANK, N.A .

       Lender is a NATIONAL ASSOCIATION
       organized and existing under the laws of THE 'UNITED STATES
       0075864801

       NEVADA-Single Family-F e Mae/Freddie Mac UNIFORM INSTRUMENT                          Form 3029 1/01
       NA4FL #3029 INVCD) Rev 9/12 05
       et-6(NV) (0507)
       Page 1 of 15  Initials:
       VMP Mortgage Solutio
       (800)521-7291




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        Assessor's Pucci Number;
        175-19-312-079
        Return To: %Mild FINAL DOCB X9999-0114

        1000 sum GENTIAN ROAD
        AMAX, AIN 55121

        Prepared By; 91/114.13 FARGO RIM, N.A.

        12550 SS 93RD AVE, SUITS 400,
        MAMMAS OR 970150000
        Recording Requested By: 91214149 FARGO BANE,
        N.A.
        12550 SE 93RD AVE, SUITS 400,
        CLACKAMAS, OR 970150000

                                     [Space Above This Line For Recording Data]
                                            DEED OF TRUST



        DEFINITIONS
        Words used in multiple sections of this document are defined below and other words are tte,fined in
        Sections 3, 11, 13. IS, 20 and 21. Certain rules regarding the usage of words used in this document are
        also provided in Section 16.

         (A) "Security Instrtunent" .‘ = : this document, which is dated )SAY 17, 2 007
         together with all Riders to = document.
         (11) "Borrower" is YOU ///tAle1:01EI, ly/lpfipW/IMIN9V                IRAN Y. FIATJOIA,
                                      I t I BEARD AM WYE




         Borrower is the tntstor under this Security Instrument.
         (C) 014endeeli is WALLS FARGO SANE, W.A

         Lender is a BATUMI, ASSOCIATION
         orgunt7111 and existing under the laws of THE ONI=0 STATES
         0075964901

         NEVADA-Sin& Family-         Mae/Freddie Mac UNIFORM INSTRUMENT                        Form 3029 1/01
         NW% #3029 (NYCO/ Rev 911 005
          fat-6414V) (0$07)
         Page I of 15 Initials:
         'IMP Mortgage Soltnio
         (800)521-7291                        11111111111111111


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     Lender's address is P .0 . BOX 11701, NEWARK, NJ 071014701

     Lender is the beneficiary under this Security in.strurnent.
      (1)) "Trustee" is UNITED TITLE OP NEVADA
      4100 W. FLAMINGO ROAD, #1000, LAS VEGAS, NV 89103
      (E) "Note" means the promissory note signed by Borrower and elated NAY 17, 2007
      The Note states that Borrower owes Lender THREE HUNDRED EIGHTY EIGHT THOUSAND AND
      00/100                                                                                          Dollars
      (U.S. $*******388, 000.00 ) plus interest. Borrower has promised to pay this debt in regular Periodic
      Payments and to pay the debt in full not later than JUNE 01, 2037
     •(F) 'Property" means the property that is described below under the heading "Transfer of Rights in the
      Property."
      (G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
      due under the Note, and all sums due under this Security Instrument, plus interest.
      (H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
      Riders are to be executed by Borrower [check box as applicable]:
      7Adjustable Rate Rider I , Condominium Rider               1 Second Home Rider
      LiBalloon Rider            Planned Unit Development Rider LJ 1-4 Family Rider
      El VA Rider                 1 1Biweekly Payment Rider               fl Other(s) [specify]


     (1) "Applicable Law" minas all controlling applicable federal, state and local statutes, regulations,
     ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
     non-appealable judicial opinions.
      (3) "Community Association Dues. Fees, and Assessments" means all dues, fees, assessments and other
     charges that are imposed on Borrower or the Property by a condominium association, homeowners
      association or similar organization.
      (14) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by
      check, draft, or similar Paper instrument, which, is initiated through an electronic terminal, telephonic
      installment, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
     •or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
       machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
       transfers.
       (L) "Escrow Items" Incas/a those items that are described in Section 3.
       (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
       by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
        damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
        Property; (iii) conveyance in lieu a condemnation; or (iv) misrepresentations of, or omissions as to, the
     •value and/or condition of the Property.
      •(N) "Mortgage Insurance" means insure= protecting Lender against the nonpayment of, or default on,
        the Loan.
        (0) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
        Note, plus (ii) any amounts under Section 3 of this Security Instrument.
        (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 a seq.) and its
        implementing regulation, Regulation X (24 C.P .R. Part 3500), as they might be amended from time to
        time, or any additional or successor legislation or regulation that governs the     subject matter. As used
      •in this Security instrument, "RESPA" refers to all requirements and restrictions int are imposed in regard

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        Leadees edatess is P.O. BOX 11701, mom, NJ                    071014701

        Lender is the beneficiary under this Security Instrument.
        (D)"Trustee" is UNIT= Tinle OP NtevADA
        4100 W. FLAMINGO ROAD, *1000, LAS VDUS, NV 89103
        (E)"Note" means the promissory note signed by Borrower and dated NAY 17, 2007
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        00/100                                                                                          Dollars
        (U.S. $*******388, 000.00 ) plua interest. Borrower has promised to pay this debt in regular Periodic
        Payments and to pay the debt in full not later than JUNZ 01, 2037
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        (G)"Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
        due under the Note, =dal! sum due under this Security Instrument, plus interest.
            "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
        Riders are to be executed by Borrower Lebo& box as applicable):

         MAdjustable Rate Rider rl Condominium Rider                   Second Horne Rider
           Balloon Rider            Planned Unit Development Rider     1-4 Family Rider
           VA Rider                 Biweekly Payment Rider         El Other(s) [specify)

        (1) "A.pplIcable Law" means all controlling applicable federal, state and local statates, regulations,
        ortliturnces and administrative rules and orders (that have the effect of law) as well as all applicable final,
        rani-appealable judicial opinions.
        (3) "Community Association Dues, Fees, and Assessments" owns all duns, fees, assessments and ether
        charges that are imposed on Borrower or the Property by a condominium association, homeowners
        association or qhnilar organi7Alion.
        (IQ "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by
        check, draft, or similar paper instrument, which is initiated through an electronic Miming, telephonic
        Instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
         or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
         I:whine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
        transfers.
         (L)"Escrow Items" means those items that are described in Section 3.
         (M)"Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
         by any third party (othes than insurance proceeds paid under The coverages described in Section 5) for: (i)
         damage to, or destruction of, the Pi.uperty; (ii) condemnation or other taking of all or any past of the
         Property; (iii) conveyance in lien of contleumatiorn or (iv) misrepresentations of, or omissions as to, the
         value and/or condition of the Property.
         (N)"Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on,
          the Loan.
         (0) "Periodic Payment" means the regularly scheduled amount due for (I) principal and interest under the
          Note, plus (ii) any amounts under Section 3 of this Security Instrument.
          (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
          implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to
          time, or any additional or SUCCCSSOT legislation or regulation that governs the     subject matter. As used
          in this Security Insumnent, "RBSPA" refers to all requirements and restrictions t are imposed in regard

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     to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage
     loan" under RESPA.
     (Q) "Successor In Interest of Borrerwer" means any party that has taken title to the Property, whether or
     not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.
     TRANSFER OF RIGHTS IN THE PROPERTY
     This Security Instrument secures to Lender: (1) the repayment of the Loan, and all renewals, extensions and
     modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this
     Security Instrument and the Note. For this purpose, Borrower irrevocably giants and conveys to
     Trustee, in trust, with power of sale, the following described property located in the
     COUNTY                                               of CLARK
              [Type of Recording Jurisdiction]                      [Name of Recording Jurisdiction]
     SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART THEREOF




     TAX STATEMENTS SHOULD BE SENT TOt WELLS FARGO HOME MORTGAGE, P.O. BOX
     11701, NEWARK, NJ 071014701




      Parcel ID Number: 178-19-312-078                                        which currently has the address of
      2428 DEVOTION RIDGE DRIVE                                                                         [Street]
      HENDERSON                                                      [City], Nevada 8909 2           [Zip Code]
      ("Property Address"):
            TOGETHER WITH all the improvements now or hereafter erected on the property, and all
       easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
       additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
       Security Instrument as the 'Property,"
             BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
       the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances
       of record. Borrower warrants and will defend generally the title to the Property against all claims and
      •demands, subject to any encumbrances of record.
             THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
       covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
       property.
             UNIFORM COVENANTS. Borrower and Lender covennut and agree as follows:
             1. Payment of Principal, Interest, Escrow Items, Prepayment Ch gas, and Late Charges.
        Borrower shall pay when due the principal of, and interest on, the debt evil ed by the Note and any
       prepayment charges and late charges due under the Note. Borrower shall alsolay funds for Escrow Items
                                                                         Initials.
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       to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage
       loan" under RESPA..
       (Q) "Summer in Interest of Borrower" means any party that has taicen tide to the Property, whether or
       not that party has assumed Borrower's obligations under the Note and/or this Security Instrument
        TRANSFER OF RIGHTS IN TRW. PROPERTY
        This Security Instrument secures to        (1) the repayment of the Loan, and all ninevials, extensions and
        modifications of the Note; and (ii) the perform= of Borrower's covenants and agreements under this
        Security Instrument and the Note. Far this purpose, Borrower irrevocably Pants and conveys to
        Trustee, in mist, with power of sale, the following described property located in the
        COUNTY                                               of MARX
                 [Type of Recording Inns ' diction]                     Mame of Recording Jurisdiction]
        SINZ AXEIBIT mAs ATTACH= RIMITO AND NADA A PANT TRUMP




        TAX STATEMENTS MOULD BE SENT TO t WELLS PARC* HOER MORTGAGE, P.O. BOX
        11701, NEWARE, NJ 071014701




         Parcel lD Number; 178-19-312-078                                           which currently has the address of
         2428 DEVOTION Rum DRIVE                                                                               [Street]
         HENDERSON                                                         [Cityj, Nevada 89052            [Zip Code)
         ("Property Address");
              TOGETHER WITH all the improvements now or hereafter erected on the property, and all
         easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
         additions shall also be covered by this Security Instrument. AU of the foregoing is referred to in this
         Security Instrtmzid as the "Property."
               BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
         the right to grant and convey the Property and that the Pavui.y is unencumbered, except for encumbrances
         of record. Borrower warrants and will defend generally the title to the Property against all eltrOna and
          demands, subject to any encumbrances of record.
               THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
          covenants with limited variations by jurisdiction, to constitute a uniform security instrument covering real
          property.
               UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
               I. Payment or Principal, Interest, Escrow Items, Prepayment                      , and Late Charges.
          Borrower shall pay when due the principal of, and interest on, the debt c               by the Note and any
          prepayment charges and lam charges due under the Note. Borrower shall also                  for Escrow Items

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     pursuant to Section 3. Payments due under the Note and this Secutity Instrument shall be made in U.S.
     currency. However, if any check or other instrument received by Lender as payment under the Note or this
     Security Instrument is returned to Lender unpaid, Lender may requite that any or all subsequent payments
     due under the Note and this Security Instrument be made in one or more of the following forms, as
     selected by Lender: (a) cash; (b) money order; (c) certified check, bark check, treasurer's check or
     cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
     federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
           Payments are deemed received by Lender when received at the location designated in the Note or at
     such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
     Lender may return any payment or partial payment if the payment or partial payments are insufficient to
     bring the Loan current Lender may accept any payment or partial payment insufficient to bring the oan
     current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
     payments in the future, but Lender is not obligated to apply such payments at the time such payments are
     accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
     interest on =applied funds. Lender may hold such =applied funds until Borrower melees payment to bung
     the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
     such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
     principal balanre under the Note immediately prior to foreclosure. No offset or claim which Borrower
      might have now or in the future against Lender shall relieve Borrower from making payments due under
      the Note and this Security Instrument or performing the covenants and agreements secured by this Security

           2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
     payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
     due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
     shall be applied to each Periodic Payment in the order in which it became due, Any remaining amounts
     shall be applied first to late charges, second to any other amounts due under this Security Instrument, and
     then to reduce the principal balance of the Note.
            If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
     sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
     the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received
      from Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be
     paid hi full. To the extent that any excess exists after the payment is applied to the full payment of one or
      more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall
      be applied 1.1.rst to any prepayment charges anti then as described in the Note.
             Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
       the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
             3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
       peeler the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due
       for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as a
       lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
       premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
      •premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
        Insurance premiems in accordance with the provisions of Section 10, These items axe called "Escrow
        Items." At origination or at any time during the term of the Loan, Lender may require that Community
        Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
        assessments shall he an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
        be paid -fleeter this Section. Borrower shall pay Lender the Funds for Escrow I       unless Lender waives
       Borrower's obligation to pay the Funds for any or all Escrow Itprns. Le             may waive Borrower's
       obligation to pay to Lender Funds for any or all Escrow Items at any time.        such waiver may only be
                                                                          Initials'
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       pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
       currency. HOWCYCI, if any check or other instniment received by Lender as payinere under the Note or this
       Security Instrument is returned to Lender =paid, Lender may require that any or all subsequent payments
       due under the Note and this Security Instrument be made in one or more of the following forms, as
       selected by Lender: (a) cash; (h) money order; (c) certified cheek, bank check, treasurer's cheek or
       Cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
       federal agency, instrumentality, or entity; or (d) Electronic Rinds Transfer.
              Paymeors are deemed received by Ii-tvior when received at the location designated in the Note or at
       such other location as rosy be designated by Lender in accordance with the notice provisions in Section 25.
       Lender may return any payment or partial payment if the payment or partial Payments arc thsofficicat to
       bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
       current, without waiver of any rights hereunder or prejudice to its rights to refuse such payrtreat or partial
       payments in the future, but'Prater is not obligated to apply such payments at the time such payments are
       accepted. If each Periodic Payment is applied as of its scheduled due date, then 1 ertrie'r need not pay
       interest on =applied funds. Lender may hold such =applied funds until Borrower makes payment to bring
       the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
       such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
       principal balance- under the Note immediately prior to foreclosure. No offset or claim which Borrower
       might have now or in the future against Lemke shall relieve Borrower from meting payments due under
        the Note and this Security Instrument or perBarming the covenants and agreements secured by this Security
        lostrienent.
               2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
        payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
        due under the Note; (h) principal due wulerahe Note; (c) amounts due under Section 3. Such payments
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        shall he applied first to late charges, second to any other amounts due under this Security Instrument, and
        then to reduce the principal btarnpe of the Note,
                If Lender receives a payment from Borrower for a delinquent Periodic PaTcocui which includes a
        sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
         the late charge. If more than one Periodic Payment is outstanding, Leader may apply any payment received
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         paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or
         more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments Indl
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          the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
                3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments am due
          under the Note, until the Note is paid In full, a sum (the "Funds") to provide for payment of amounts due
          fan (a) taxes and assessments and other items livhich can attain priority over this Security Instrument as a
          lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
          premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
          premiums, if any, or arty sums payable by Borrower to Lender in lieu of the payment of Mortgage
          Insurance premiums in accordance with the provisions of Section 10. These items are called 'Escrow
          Items." At origination or at any time dining the term of the Loan, 1 ender may require that Comnmuity
           Association Dues, Pees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
          assessments shall be an Escrow Item. Borrower shall promptly furnish. to Lender all notices of amounts to
           be paid under this Section. Borrower shall pay Lender the Funds for Escrow I           noteas Lender waives
          13os-rower's obligation to pay the Ponds for any or all Escrow Items.                 may waive Borrower's
           obligation to pay to Lender Funds for any or all Escrow Items at any dme,                waiver may only bc

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     in writing. In the event of such waiver, Burrower shall pay directly, when and where payable, the amounts
     due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requites,
     shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
     Borrower's obligation to make such payments and. to provide receipts shall for all purposes be deemed to
     be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and agreement"
     is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
     Borrower fails to pay the amount due for an Escrow Item, Iender may exercise its rights under Section 9
     and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
     amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
     accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
     such amounts, that are then required under this Section 3.
             Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
      the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
      require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
      reasonable estimates of expenditures of future Escrow Items or otherwise in. accordance with Applicable
      Law.
             The Funds shall be held in an institution whose deposits are insured by a federal agency,
      instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
      any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
      specified under RESPA. Lender shall not charge Borrower for holding and applying the Fonds, annually
       analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
       Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
       or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
       any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
       shall be paid on the Funds. Leader shall give to Borrower, without charge, an annual accounting of the
       Funds as required by RESPA.
              If there is a surplus of Funds held in escrow, as defined ,inner RESPA, Lender shall account to
       Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
       as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
        Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than. 12
        monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
        notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
        up the deficiency in accordance with RESPA, but in no more than. 12 monthly payments.
               Upon payment in full of all sums secured by this Security Instrument, Lender snail promptly refund
        to Borrower any Funds held by Lender.
        •      4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
        attributable to the Property which can attain priority over this Security Instrument, leasehold payments OT
         ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
         the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
               Borrower diall promptly discharge any lien which has priority over this Security Instrument unless
        •Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
         to Lender, but only so long as Borrower is performing such agreement; (b) contests tile lieu in good faith
         by, or defends against enforcement of the lien, in, legal proceedings which in Lender's opinion operate to
         prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
         are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
         the lien to this Security Instrument. If Lender determines that any part of the Property is subject to a lien
         which can attain priority over thic Security Instrument, Lender may give Borrow a notice identifying the


                                                                            Initials
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       In writing. In the event of such waiver, Borrower shell pay directly, when and where payable, the amounts
       due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
       sbil furnish to Lender receipts evidencing such payment within such time period as Lender may require.
       Borrower's obligation to make such payments and to provide receipts 440 for all Purposes be deemed to
       be a covenant and agreement contained in this Security Instrument, as the phrase 'covenant and agreement'
       is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
       Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
       and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
       mourn. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
       accordance with Section 15 and, upon such revocation, Borrower Alan pay to Lender all Funds, and in
       such 83:11011/0, that are then required under this Section 3.
               Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
        the Funds at the time specified wider RESPA, and (b) net to exceed the maxim= amount a lender cart
        require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
        reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
        Law.
               The PIZOLiS shall be held in an institution whose deposits are insured by a federal agency,
        instrumentality, or entity (banding Lender, if Lender is an institution whose deposits are so insured) or in
        any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
        specified under RESPA. T iir shall not Ah4rge Borrower for holding and applying the Funds, annually
        analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
        Fends and Applicable Law penults Lender to make such a charge. Unless an agreement is made in writing
        or Applicable Law requires intense to be paid on the Funds, Lender shall not be required to pay Borrower
         any interest or earnings on the Funds. BOTIONVer and Lender can agree in writing, however, that interest
         shall be paid on the Funds. Lender shall give to Borrower, without charge, an onnuAl accounting of the
         Funds as required by =PA.
               If there is a =plus of Funds held in escrow, as defined under RESPA, Lender shall account to
         Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
         as defined under RESPA, Lender shell notify Borrower as required by RESPA, and Borrower shell pay to
         Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
         monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
          notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to 1132fre
          up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.
                Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
          to Borrower any Funds held by Lender.
                4. Charges; Liens. Borrower shall pay all taxes, assessments, chaxges, fines, and impositions
          attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
          ground rents on the ProPerry, if any, and Cenunnnity Association Dues, Fees, and Assessments, if any. To
          the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
                Borrower shall promptly discharge any lien which has priority over this Security hastmment unless
          Borrower; (a) agrees in writing to the payment of the obligation secured by the lien in a mem= acceptable
          so Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
          by, or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to
          prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
          are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
          the lien to this Security Instrument, If Lender determines that any part of the Pro n is subject to a lien
          which can attain priority over this Security Instrument, I mein may give Borrow./ a notice identifying the


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     lien. Within 10 days of the date on which that notice is given, Borrower eheii satisfy the lien or take one or
     more of the actions set forth above in this Section 4.
             Lender may require Borrower to pay a one-tinie charge for a real estate tax verification and/or
     reporting service used by Lender in connection with this Loan.
             5, Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
     the Property insured against loss by fire, hazards included within the term "extended coverage," and any
     other Inwards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
     This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
      Lender requires. What Lender requires pursuant to the preceding sentences can change during the terra of
      the Loan. The insurance earlier providing the insurance shall be chosen by Borrower subject to lender's
      right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
      requite Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
      determination, certification and traeleing services; or (h) a one-time charge for flood zone determination
      and certification services and subsequent charges each time remappings or similar changes occur which
      reasonably might affect such determination or certification. Borrower shall also be responsible for the
      payment of any fees imposed by the Federal Ernerge,nuy Management Agency in connection with the
      review of any flood zone determination resulting from an objection by Borrower.
              If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
      coverage, at Lender's option and Borrower's expense I ender is under no obligation to purchase any
       particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
       not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
       hazard or liability and might provide greater or lesser coverage than was previously hi effect. Borrower
       acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
       insurance that Borrower could have obtained. Any mounts disbursed by Lender under this Section 5 shall
       become additional debt of Borrower secured by this Security Instrument. These amonnts shall bear interest
       at the Note rate from the date of disbursement and 'hall be payable, with such interest, upon notice from
       Lender to Borrower requesting payment.
               All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
        right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
        mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
        certificates. If Under requires, Borrower shall promptly give to Lender all receipts of paid premiums and
         renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
         for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
         shall name Lender as mortgagee and/or as an additional loss payee.
               In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
         may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
         in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
         be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
         I nneler's security is not lessened. During such repair and restoration period, Lender shall have the right to
         hold such insurance proceeds until Lender has lied an opportunity to inspect such Property to ensure the
          work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
          promptly. Lender may disburse proceeds for the repairs anti restoration in a single payment or in a series
          of progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law
          requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
          interest or earnings on such proceeds. Pees for public adjusters, or other third parties, retained by
          Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If
          the restoration or repair is not economically feasible or I nuder's security would lessened, the insurance
          proceeds 11,411 be applied to the sums secured by this Security Instrument, wh. /Ter or not then due, with

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       lien. Within. 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
       more of the actions set forth above In this Section 4.
              Lender may require Borrower to pay a one-time charge for a real estate tax verifization and/or
       reporting service used by Lender in conneetice with this Loan.
              S. Property Insurance, Borrower shall keep the improvements now existing or hereafter erected on
        the Property insured against loss by fue, hazards included within the term "wended coverage,' and any
       other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
       This insurance shall be reltintinwl in the amounts (Including deductible levels) and for the periods that
       Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
        the Loan The insurance carrier providing the insurance sbAll be chosen by Borrower subject to Lender's
       right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
        require Borrower to Pay, in connection with this Loan, either: (a) a one-time charge for flood zone
        determination, certification and tracking services; or (b) a one-time charge far flood zone deteradvation
        and certification services and subsequent charges each time remappings or similar changes occur which
        reasonably might affect such determination or certification. Borrower shall also be responsible for the
        payment of any fees imposed by the Federal Emergency Management Agency in connection with the
        review of any flood zone determination resulting from an objection by Borrower.
               if Borrower fulls to psaintaht any of the coverages described above, Lender may obtain insurance
         coverage, at I entierie option and Borrower's expense. Leer is under no obligation to purchase any
         particular type or amount of coverage. Theretbre, such coverage shall cover Lender, but might or might
         not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
         bated or liability and might provide greater or lesser coverage than was previously in effect. Borrower
         acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
         insurance that Borrower could have obtained. Any areDULts disbursed by Lender under this Section 5 that'
         become additional debt of Borrower secured by this Security Instrument These amounts shall bear interest
         at the Note rate front the date of disbursement anti shall be payable, with such interest, upon notice from
         Lender to Borrower requesting payment.
               All insurance policies required by Lender and renewals of such policies OA be subject to Lender's
         right to disapprove such policies, ehall include a standard mortgage clause, and vhatt name Lender as
          mortgagee and/or as an additional loss payee. Lender shell have the right to hold the policies and renewal
          certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid preniiiimc anti
          lc al notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
          for damage to, or destruction of, the Property, such policy shell include a standard mortgage clause anti
          shall name ender as mortgagee and/or as an additional loss payee.
                In the event of loss, Borrower Shell give prompt notice to the insurance carrier and Lender. Lender
          may make proof of loss if not made promptly by Borrower. Unless I znriet anti Borrower otherwise agree
          in writing, any insuranee proceeds, whether or not the underlying insurance was requited by Lender, shall
          be applied to restoration or repair of the Property, if the restoration or repair is econornieelly feasible and
           Lender's security is not lessened. During such repair and restoration period, Lender shall have the sight to
           hold such insurance proceeds Inuit Lender has had. an Morten* to inspect such Pm:4=V to ensure the
           work has been completed to Lender's satisfaction, provided that such inspection Olen be undertaken
           promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
           of progress payments IS the work is completed. Unless an agreement is made in writing or Applicable Law
           requires interest to be paid on such Insurance proceeds, Lender 0411 not be requited to pay Borrower any
           interest or earnings on such proceeds. Fees for public adjusters, or other third Forties, retained by
           Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If
           the restoration or -repair is not economkeelly feasible or Lender's security would lessened, the insular=
           proceeds shall be applied to the sums secured by this Security Instrument, whe          or not then due, with

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     the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
     Section 2.
              If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
     claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
     insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim- The 30-day
     period will begin when the notice is given. In either event, or if Lender acquires the Property under
     Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
     proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
     (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
     Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
     coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or
      to pay amounts unpaid -under the Note or this Security Instrument, whether or not then due.
              6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
      residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
      Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
      otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
       circornstances exist which are beyond Borrower's control.
               7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
      destroy, damage or impair the Property, allow the Property Co deteriorate or commit waste on the
       Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
       order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
       determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
       promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
       condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
       alien be responsible for repairing or restoring the Property only if Lender has released proceeds for such
      •purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
        progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
        to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of
        such repair or restoration.
                Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
         reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
         Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.
                8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
         process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
       •knowledge or consent gave materially false, misleading, or inaccurate information or statements to I ender
         (or failed to provide Lender with material information) in connection with the Loan. Material
       •representations include, but are not limited to, representations concerning Borrower's occupancy of the
       •Property as Borrower's principal residence.
                9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If
         (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
          is a legal proceeding that might significantly affect Lender's interest in the Property andfor rights under
          this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
          enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
          regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
          reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
          Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
          the Property. Lender's actions can include, but are not limited to; (a) paying an. sums secured by a lien
          which has priority over this Security Instrument; (h) appearing in court;              (c) paying reasonable

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       the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
       Section 2.
              If Borrower abandons the Property. Lend= may We, negotiate and settle any available insurance
       claim and related matters. If Borrower does not respond within 30 days to a notice from Lemur that the
       insurance carrier has ()fitted to settle a claim, then Lender may negotiate and settle the claim. The 30-day
       period will begin when the notice is given. In either event, or if Lender acquires the Property under
       Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
       proceeds in an amount not to exceed the amounts unpaid ureter the Note or this Security instrument, and
       (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
       Borrower) under all insurance policies covering the Property, insofar as such tights air applicable to the
       coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or
       to pay arson= unpaid under the Note or this Security Instrument, whether or not then doe.
              6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
        residence within 60 days after the execution of this Security Instrument and dealt continue to occupy the
        Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
        otherwise agrees in writing, which consent 0411 not be unreasonably withheld, or unless extenuating
        circumstances exist which are beyond Borrower's control.
               7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
        destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on, the
        Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
        order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it Is
        determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
        promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
        condenmation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
         shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
        purposes. Lender may disburse proceeds for the repairs and restoration in a single. payment or in a series of
         progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
         to repair or rest= the Property, Borrower is not relieved of Borrower's obligation for the completion of
         such repair or restoration.
                Lender or its agent may own* reasonable entries upon and inspections of the Property. If it has
         reasonable cause, I inntnr may inspect the interior of the improvements on the Property. Lender Awl give
         Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.
                8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
         process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
          knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
         (or failed to provide Lender with material inforroadon) in connection with the Loan. Material
          representations include, but are not lisraited to, representations concerning Borrower's occupancy of the
          Property as Borrower's principal residence.
                9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If
          (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (13) there
          is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under
          this Security Instmment (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
          enforcement of a lien which may attain. priority over this Security Instrument or to enforce laws or
          regulations), or (c) Borrower has abandoned the Property, then Iproer may do and pay for volt:toyer is
          reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
          Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
          the Property. Lender's actions can include, but are not limited to: (a) paying -” >, sums secured by a lien
           which has priority over this Security Instrument; (b) appearing in court;             (c) paying reasonable


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     attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument, including
     its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
     entering the property to metre repairs, chere,e locks, replace or board up doors and windows, drain water
     from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
     on or off. Although Lender may take action under this Section 9, lender does not have to do so and is not
     under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all
     actions authorized under this Section 9.
      • Any amounts disbursed by T.ender under this Section 9 shall become additional debt of Borrower
     secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
     disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
     payment.
            If this Security Instrument is on a leasehold. Borrower shall comply with all the provisions of the
     lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
      Lender agrees to the merger in writing.
            10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
      Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
      the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
      previously provided such insurance and Borrower was required to make separately designated payments
      toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
      coverage substantielty equivalent to the Mortgage Insurance previously in effect, at a cost substantially
      equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
      mortgage insurer selected by 1 ender. If substantially equivalent Mortgage Insurance coverage is not
      available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
      were due when the insurance coverage ceased to be in effect Lender will accept, use and retain these
      payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
       nonrefundable, notwithstanding the fact that the Loan is ultimately paid in eat, and Lender abatt net be
      required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss
       reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
       provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
       separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
       Insurance as a condition of making the Loan and Borrower was required to make separately designated
       payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
       maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's
       requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
       Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
       Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
              Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
        may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
        Insurance.
              Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
        enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
        are on terns and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
        these agreements. These agreements may require the mortgage insurer to make payments using any source
        of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
        Insurance premiums).
        •     As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
        any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
        derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
        exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
        provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
        premiums paid to the insurer, the arrangement is often termed "captive reinsurance." Further:
              (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
        Mortgage Insurance, or any other terms of the Loan. Such agreements vtill ot increase the amount
         Borrower will owe for Mortgage Insurance, and they will not entitle Borrow to any refund.


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       attorneys' fees to protect its interest in the Property and/or eights under this Security instrument, including
       its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
       entering the Property to make make, change locks, replace or board up doors and windows, drain water
       from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
       on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not
       under any duty or obligation to do so, It is weed that Lendee inatte no liability for rot taking any or all
       actions authorized under this Section 9.
              Any amounts disbursed by Lender uridot this Section 9 shall become adddtionat debt of BODDIVer
       Secured by this Security Instrument. These =DIMS shall bear interest at the Note rate from the data of
       disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
       payment.
              If this Seemity Instrument is on a leasehold, Burrower shall comply with all the pruvisions of the
       lease. If Borrower acquires fee tide to the Property, the leasehold and the fee title shad not merge unless
        Lender agrees to the merger in writing.
              10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of matting the Lose,
        Borrower shall pay the premiums requited to maintain the Mortgage Insurance in effect. If, for any reason,
        the Mortgage IUSUIVIce coverage required by Lender ceases to be available from the mortgage insurer that
        previously provided such insurance and Borrower was required to make separately designated payments
        toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
        coverage substentietly equivalent to the Mortgage Insurance previously in effect, at a cost substantially
        equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
        mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage is not
        available, Borrower shall contitate to pay to Lender the amount of the separately designated payments that
        were due when the insurance coverage ceased to be in effect 'Lender will accept, use and retain these
        payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
        non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender Alan not be
         requieed to pay Borrower any interest or earnings on such loss reserve Lender can no longer requite loss
         reserve payments if Mortgage Insurance coverage tin the amount and for the period that Lender requires)
         provided by an insurer selected by Lender again becomes available, is obtained, and I ende requires
         separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
         Insurance as a condition of melting the Loan and Borrower was required to make separately designated
         payments toward the premiums for Mortgage IIISUMICO, Borrower shall pay the premiums required to
         mainudn Mortgage htsutance in effect, or to provide a non-refimdable loss =eve, until Lender's
         requirement for Mortgage Insurance ends in accordance with. any written agreement between Borrower and
          Lender providing for such termination or until termination is required by Applicable Law. Nothing ht this
          Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
                Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
          may incur if Borrower does not repay the Loan as agreed. Box-rower is not a party to the Mortgage
          Insurance.
                Mortgage insurers evaluate tbeir total risk on all such insurance in force from time to time, and may
          enter into agreements with other parties that sham or modify their risk, or reduce losses. These agreements
          are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
          these agreements. These agreements may requite the mortgage insurer to raake payments using any source
          of fluids that the mortgage insurer may have available (which may include funds obtained from Mortgage
          Insurance premiums).
                As a result of these agreements, Lender, any purchaser of the Note, =ether insurer, any reinsurre,
          any other entity, or any affiliate of any of the foregoing, may receive (directly or bakectly) amounts that
          derive from (or might be characterieed as) a portion of Borrower's payments for Mortgage Insurance, in
          eecnavge for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
          provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
          premiums paid to the insurer, the arrangement is often termed "captive reinsurance. Further
                (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
          Mortgage Insurance, or any other terms of the Loan. Such agreements will ot increase the amount
           Borrower will owe for Mortgage Insurance, and they will not entitle Borrow r` to any refund.

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    •      (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
    Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
    may include the right to receive certain disclosures, to request and obtain cancellation of the
    Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
    refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or
    termination.
           11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
    assigned to and ahall be paid to Lender.
           If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
    the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
    During such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
    until Lender has had an opportunity to inspect such Property to ensure the work has been completed to
    Lender's satisfaction, provided that such inspection. shall be undertaken promptly. Lender may pay for the
    repairs and restoration in a single disbursement or in a series of progress payments as the work is
    completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
    Miscellaneous Proceeds, Lender shell not be required to pay Borrower any interest or earnings on. such
    Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would
    be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
    whether or not then due, with, the excess, if any, paid to Borrower, Such Miscellaneous Proceeds shall be
     applied in the order provided for in Section 2.
            In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
     Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then. due, with
     the excess, if any, paid to Borrower.
            In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
     value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
     greater than the amount of the sums secured by this Security Instrument immediately before the partial
     taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
     secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
     multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
     partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
     immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
             In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
      value of the Property immediately before the partial taking, destruction, or loss in value is less than the
      amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
      Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
      secured by this Security Instrument whether or not the sums are then due.
             If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
      Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
      Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
      to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
      sures secured by this Security Instrument, whether or not then due. "Opposing Party" means the third party
      that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in
      regard to Miscellaneous Proceeds.
              Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
       Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's
       interest in the Property or rights under this Security Instrument. Borrower can care such a default and, if
      acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
       dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
       impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
       any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
       are hereby assigned and shall be paid to Lender.
              All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
       applied in the order provided for in Section 2.


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            (b) Any such agreements will not affect the rights Borrower has - if any- with respect to the
       Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
       may include the right to receive certain IIISCIONTest to request and obtain cancellation of the
       Mortgage Iosurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
       refund or any Mortgage Insurance premiums that were unearned at the lime of Such Cancellation or
       termination.
            II. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
       assigned to and shall be paid to Lauder.
            If the Property is damaged, such Miscellaneous Proceeds Shall be applied to restoration or =Pair of
       the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
       During such repair and restoration period, Lender shall have the eight to hold such Miscellaneous ProrPMq
       until Lender has had an opportunity to inspect such Property to ensure the work has been completed to
        Lender's satisfaction, provided that such inspection shall be undertaken promptly, Lender may pay for the
        repairs and restoration in a single disbursement or in a series of progress payments as the work is
        completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
        Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or pm-flings on such
        hliscellsueous Proceeds. If the restoration or repair is not economically feasible or I 'miler's security would
        be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
        whether or not then due, with the excess, tinny, paid to Borrower. Such Miscellaneous Proceeds shell be
        applied in the order provided for in Section 2.
              In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
        Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
         the excess, if any, paid to Borrower.
              In the event of a partial taking, destruction, or loss in value of the Property In which the fair market
         value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
         greater than the amount of the sums secured by this Security Instrunrent immediately heft= the partial
         taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
        secured by this Security Instrument ellen be reduced by the anionnt of the Miscellaneous Proceeds
        multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
        partial toring, destruction, or loss in value divided by (b) the fair market value of the Property
        immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
              In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
        value of the Property immediately before the partial Wain, destruction, or loss in value is less than the
        amount of the sums secured immediately before the partial tasting, destruction, or loss in value, unless
        Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
        secured by this Security Instrument whether or not the sums are then due.
              If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
         Opposing Party (as defined in the next sentence) offers to snake an awed to settle a claim for brines,
         Borrower fails to respond to Ieerier within 30 days after the date the notice is given, Lender is authorized
         to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
         sums secured by this Security Instrument, whether or not then due. "Opposing Party" means the thir    ' d party
         that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in
         regent to Miscellaneous Proceeds.
               Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
        • Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's
         interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
         acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
         dismissed with a ruling that, in Lender's judgment, Precludes forfeiture of the Property or other material
         impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
         any award or claim for damages that are attributable to the impainvent oft Emdees interest in the Property
         are hereby assigned and shall be paid to Lender.
               All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
         applied in the order provided for in Section 2.



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           12. Borrower Not Released; Forbearance By Leader Not a Waiver. Extension of the time for
     payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
     to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower
     or any Successors in Interest of Borrower. Lender shall not be requited to commence proceedings against
     any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify
     amortization of the Sums secured by this Security Instrument by reason of any demand made by the original
     Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
     remedy including, without limitation, Lender's acceptance of payments from third persons, entities or
     Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
     preclude the exercise of any right or remedy.
            13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
     and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
     co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this
      Security Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the
      terms of this Security Instrument; (b) is not personally obligated to pay the sonas secured by this Security
      Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
      imire any accoramodations with regard to the terms of this Security Instrument or the Note without the
      co-signer's consent.
             Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
      Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall obtain
      all of Borrower's rights and benefits under this Security Instrument Borrower shall not be released from
      Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release in
       writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
       Section 20) and benefit the successors and assigns of Lender.
             14. Loan Charges. Lender may charge Borrower fees for services performed in coonection with
       Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
       Security Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees.
       In regard to any other fees, the absence of express authority in this Security Instrument to charge a specific
       fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge
       fees that are expressly prohibited by this Security Instrument or by Applicable Law.
             If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
       that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
       permitted limits, them (a) any such loan charge shall he reduced by the amount necessary to reduce the
       charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
       limits will be refunded to Borrower. Lender may choose to ma - this refund by reducing the principal
        owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the
        reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
        prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made by
        direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
        of such overcharge.
              15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
        must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
        have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
        notice address if sent by other means. Notice to any one 13onower shall constitute notice to all Borrowers
        unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
        unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
        notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's
        (*bane of address, then Borrower shall only report a change of address through that specified procedure.
         There may be only one designated notice address under this Security Instrument at any one time. Any
         notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
        stated herein unless Lender has designated another address by notice to Borrower. Any notice in
         connection with this Security Instrument shell not be deemed to have been given to Lender until actually
         received by Lender. If any notice required by this Security Instrument is also 'Ai quired limier Applicable
         Law, the Applicable Law requirement will satisfy the corresponding regal ill :A. Tmi,r      , this Security
         Instrument.

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             12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
       payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
       to Borrower or any Sueceetor in Interest of Borrower shall not operate to release the liability of Borrower
       or any Successors in Interest of Borrower. Lender shall not be required to rilrrttrwtre proceedings against
       any Successor in. Interest of Borrower or to refuse to extend time for payment or otherwise modify
       amortization of the sums secured by this Security Instrument by reason of any demand made by the original
       Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
       remedy including, without limitation, I.ender's acceptance of payments from third persons, entities or
       Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or
       preclude the exercise of any right or remedy.
              13. Joint and Several Liabillty; Co-signers; Successors and Assigns Bound. Borrower covenants
       and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
       co-signs this Security Instrument but does not eer Ire the Note (a "co-signer"): (a) is co-eigning this
       Security Instilment only to mortgage, grant and convey the co-signer's interest in the Property under the
       terms of this Security Instrument; (b) is not personally obligated repay the sums seamed by this Severity
       Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
       make any accommodations with regard to the terms of this Security Instrument or the Note without the
       co-signer's consent.
              Subject to the provisions of Section IS, any Successor in Interest of Borrower who assumes
       Borrower's obligations under this Security Instrument in writing, and is approved by I envier. shall obtain
        all of Borrower's rights and benefits tater this Security Instrument. BollOWIN shall net be released from
        Borrower's obligations and liability under this Security Instrument unless I ender agrees to such release in
        writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
        Section 2) and benefit the successors and assigns of Iontier
              14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
        Borrower's default, for the purpose of protecting Lender's interest in the Property and right* under this
        Security Instrtunent, including, but not limited to, attorneys' fees, property inspection and valuation fees.
        In regard to any other fees, die absence of express authority in this Security Instrument to charge a specific
        fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not rIntrge
        fees that are expressly prohibited by this Security Instrument or by Applicable Law.
               If the Loan is subject to a law which sets maximum loan charges, and that law is finally Interpreted so
        that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
        permitted limits, them (a) any such loan charge sheli be reduced by the amount necessary to reduce the
         charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
         limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
         owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the
         reduction will be treated as a partial prepayment without any prepayment charge (whether or not a
         Prepayment charge is provided for ender the Note). Borrower's acceptance of any such refund made by
         direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
         of such overcharge.
               15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
          must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
         have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
          notice address if sent by other means. Nodes to any One Borrower shall constitute notice to all Borrowers
          unless Applicable Law expressly requites otherwise. The notice address shell be the Property Address
          unless Borrower has designated a substitute notice address by notice to Under. Borrower steel purvey
          notify Leader of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's
          change of address, then Borrower sball only report a change of address through that specified procedure.
          Them may be only one designated notice address under this Security Instrument at any one time. Any
          notice to I "quirt' shall be given by delivering it Or by Dueling it by first class mail to Lender's address
          stated herein unless I ender has designated another address by notice to Borrower. Any notice in
          connection with this Security Instmment shall not be deemed to have been given to Lender until attnally
          received by Lender. If any notice required by this Seetnity Instrument is also              =dm Applicable
          Law, the Applicable Law requitement will satisfy the corresponding req                    under this Seztuity
        IiIntrurdent.


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             16. Governing Law; SeverabifitY; Rules of Construction. This Security Instrument shall be
     governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
     obligations contAined in this Security Instrument are subject to any requirements and limitations of
     Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
     might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In
     the event that any Prevision or clause of this Security Instrument or the Note conflicts with Applicable
     Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
     given effect without the conflicting provision.
              As used in this Security Instrument: (a) words of the masculine gender shall mean and include
     corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
     include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
     take any action.
             17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
              18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
      "Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
      to, those beneficial interests transferred in a bond for deed, contract for deed, installment salos contract or
     escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.
              If all Or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
      is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
      written consent, Lender may require immediate payment in full of all OMR secured by this Security
      Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
      Applicable Law.
              If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shalt
      provide a period of not less than 30 days from the dam the notice is given in accordance with Section 15
       within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
       these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
       Security Instrument without Anther notice or demand on Borrower.
              19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
       Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
       prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
        this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
        Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those
        conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
        Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
        agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not limited
         to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
        purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d)
         takes such action as Lender may reasonably require to assure that Lender's interest in the Property and
         rights under this Security Instrument, and Borrower's obligation to pay the some secured by this Security
         Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and
         expenses in one or more of the following forms, as selected by I nder: (a) cash; (h) money order; (c)
         certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon
          an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
         Funds Transfer, Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby
         shalt remain fully effective as if no acceleration had occurred. However, this right to reinstate shall not
         apply in the case of acceleration under Section 18.
                20, Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
          the Note (together with this Security Instrument) can be sold one or more times without prior notice to
          Borrower. A sale might result in a change in the entity (known as the "Loan Seniner") that collects
          Periodic Payments due under the Note and this Security Instrument and 4 - " ,, other mortgage loan
          servicing obligations under the Note, this Security Instrument, and Applicabli . w. There also might be

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            16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
       governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
       obligations contained in this Security Instmment are subject to any requirements and limitations of
       Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
       might be silent, but Such silence shall not be construed as a prohibition against agreement by contract, In
       the event that any proviqinu or clause of this Security instrument or the Note conflicts with Applicable
       Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
       given effect without the conflicting provision.
              As used in this Security Instrument (a) words of the masculine gender Retail mean and include
       corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
       include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
       take any action.
              17. Borrower's Copy- Borrower Ago be given one copy of the Note and of this Security instrument.
              18. Transfer or the Property or a Beneficial Interest in Borrower. As used in this Section 18,
       "interest in the Property" inonni any legal or beneficial interest in the Property, branding, but not limited
        to, those beneficial interests transferred in a bond for deed, connect for deed, installment sales contract or
       escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.
              If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
        is not a natural person and a beneficial interest in Borrower is sold or transferred) without T Pnesr's prior
        written consent, Lender may require immediate .payanent in full of all sums secured by this Security
        Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
        Applicable Law.
             If Lender exercises this option, Lender shin give Borrower notice of acceleration* The melee sia
        provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
        within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
        these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
        Security Instniment without further notice or demand on Borrower.
             19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
        Borrower shall have the right to have enforcement of this Security Instrument discontintp-d at any time
        prior to the earliest of; (a) five days before sale of the Property pursuant to any power of sale contained in
        this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
        Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security instrument. Those
        conditions are that Borrower: (a) pays Tewler all sums which then would be due under this Security
        Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
        agreements; (c) pays all expenses incanted in enforcing this Security Instrument, including, but not limited
        to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
        purpose of protecting Lender's interest in the Property and rights -mon this Security Instrument; arid (d)
        takes such action as Levan' may reasonably require to assure that Lender's interest in the Property and
        rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this Security
         Instrument, Awl continue I/nem:zed, Lender may require that Borrower pay such reinstatement MMUS and
         expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c)
        certified check, bank cheek, treasurer's cheek or cashier's check, provided any such cheek is drawn upon
        an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
         funds Transfer. Upon zeinstae.fremt by Borrower, this Security immune= and obligations secured hereby
         shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall not
         apply in the case of acceleration under Section 18.
              20. Sale of Note; Change of Loan Service: Notice of Grievance, The Note or a partial interest in
         the Note (together with this Security Instrument) can be sold one or more times without prior notice to
         Borrower, A sale might result in a change in the entity (known as the "Loan Servicern that collects
         Periodic payments due mem the Note and this Security Instrument and • 1..o, • other mortgage loan
         servicing obligations under the Note, this Security Instrument, and Applicabll w. There also might be

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     one or more changes of the Loan Servicer unrelated to a sale of the Noe:. if there is a change of the Loan
     Servicer, Borrower will be given written notice of the change which will state the name and address of the
     new Loan Servicer, the address to which payments should be made and any other information RESPA
     requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
     serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
     to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
     assumed by the Note purchaser unless otherwise provided by the Note purchaser.
            Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
     individual litigant or the member of a class) that arises from the other party's actions pursuant to this
     Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
     reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
     notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
     other party hereto a reasonable period after the giving of such notice to take corrective action. If
      Applicable Law provides a time period which must elapse before certain action can be taken, that time
      period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
      opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
      Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
      action provisions of this Section 20.
             21. Hazardous Substances. As used in. this Section 21: (a) "Hazardous Substances" are those
      substances defined as toxic or hazardous substances, pollutants, or wastes by Enviroorneetal Law and the
      following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
      and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
       (b) "Environmental Lae menne federal laws and laws of the jurisdiction where the Property is located that
       relate to health, safety Or environmental protection; (c) "Environmental Cleanup" includes any response
       action, remedial action, or removal action, as defined hi Environmental Law; and (d) an "Environmental
       Condition" meane a condition that can cause, contribute to, or otherwise trigger an Environmental
       Cleanup.
              Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
       Substances, or threaten to release any fineardous Substances, on or in the Property. Borrower shall not do,
        nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
        Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
        Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
        two sentences 014 not apply to the presence, use, or storage on the Property of small quantities of
        Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
        maintenance of the Property (including, but not limited to, hazardous substances in consumer products).
              Borrower chall promptly give Lender written notice of (a) any investigation, claim, demend, lawsuit
        or other action by any governmental or regulatory agency or private party involving the Property and any
         Hazardous Substance or Environmentei Law of which Borrower has actual knowledge, (b) any
         Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
         release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
         Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
         by any governmental or regulatory authority, or any private party, that any removal or other renaediation
         of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
         remedial actions in accordance with Environmental Law. Nothing herein shall eate any obligation on
         Lender for an Environmental Cleanup.


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       one or VIM eltansts of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
       Servicer, Borrower will be given written notice of the change which will state the name and address of the
       new Loan Servicer, the address to which payments should be made and any otter information PBSPA
       requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
       serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
       to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
       assumed by the Note purchaser unless otherwise provided by the Note purchaser.
             Neither Borrower nor Lender may commence, join, or be joined teeny judicial action (as either an
       individurd litigant or the member of a class) that arises from the other party's actions pursuant to this
       Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
       reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
       notice given in cone:genre with the requirements of Section 15) of such alleged breach and afforded the
       other party hereto a reasonable period after the giving of such notice to take corrective action, If
       Applicable Law provides a time period which must elapse before certain action can be taken, that time
        period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
        opportunity to CM given to Borrower pursuant to Section 22 and the notice of acceleration given to
        Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
        action provisions of this Section 20.
             21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
        substances defined as toxic or hazardous substances, pollutants, or wastes by Environmeutal Law and the
        following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
        and herbicides, volatile solvents, materials containing asbestos or fonealdehyde, and radioactive materials;
        (b) "Environmental Law" means federal laws and laws of the jeeisclietion wirers the Property is located that
        relate to health, safety or environmental protection; (c) "Envirunraental Cleanup" includes any response
        action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
         Condition' neen,s a condition that can cause, contribute to, or otherwise trigger an Erwin:mune/n.31
         Cleanup.
              Borrower shell not cause or permit the presence, use, disposal, storage, or release of any Hazardous
         Substances, or threaten to release any Hazardous Substances, on or In the Property. Borrower shall not do,
         nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
         Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
         Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
         two sentences shall not apply to the gramme, use, or storage on the Property of small quantities of
         Hazardous Substenres that are generally recognized to be appropriate to normal residential uses and to
         maintenance of the Property (incluoieg, but not limited to, bazardous substances in consumer products).
               Borrower shall promptly give Lender written notice of (a) any investigatiott, claim, dementia lawsuit
         or other action by any governmental or regulatory agency or private party involving the Property and any
         Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
         Environmental Condition, hteheling but not limited to, any spilling, leaking, discharge, release or threat of
         release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
         Hazardous Substance which adversely affects the value of the Property, If Borrower learns, or is notified
          by any governmental or regulatory authority, or any private party, that any removal or other rearediation
         of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
          remedial actions in accordance with Environmental Law. Nothing herein shall .' .-te any obligation oil
          Lender for an Environmental Cleanup.

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          NON-IINEPOIM COVENANTS. Borrower and Lender further covenant and agree as follows:

            22. Acceleration; Remedies. Lender shall eve notice to Borrower prior to acceleration following
     Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
     acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
     the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
     the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
     default on or before the date specified in the notice may result in acceleration of the sums secured by
     this Security Instrument and sale of the Property. The notice shall further inform Borrower of the
     right to reinstate after acceleration and the right to bring a court action to assert the non-existence of
     a default or any other defense of Borrower to acceleration and sale. If the default is not cured on or
     before the date specified in the notice, Lender at its option, and without further demand, may invoke
     the power of sale, including the right to accelerate full payment of the Note, and any other remedies
      permitted by Applicable Law. Lender shall be entitled to collect all expenses incurred In pursuing the
      remedies provided In this Section 22, including, but not limited to, reasonable attorneys' fees and
      costs of title evidence.
             If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute written
      notice of the occurrence of an event of default and of Lender's election to cause the Property to be
      sold, and shall cause such notice to be recorded in each county in which any part of the Property is
      located. Lender shall mail copies of the notice as prescribed by Applicable Law to Borrower and to
      the persons prescribed by Applicable Law. Trustee shall give public notice of sale to the persons and
      in the manner prescribed by Applicable Law. After the time required by Applicable Law, Trustee,
      without demand on Borrower, shall sell the Property at public auction to the highest bidder at the
      time and place and under the terms designated in the notice of sale in one or more parcels and in any
      order Trustee determines. Trustee may postpone sale of all or any parcel of the Property by public
       announcement at the time and place of any previously scheduled sale. Lender or its designee may
       purchase the Property at any sale.
              Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any
       covenant or warranty, expressed or implied. The recitals in the Trustee's deed shall be prima fade
       evidence of the truth of the statements made therein. Trustee shall apply the proceeds of the sale in
       the following order: (a) to all expenses of the sale, including, but not limited to, reasonable Trustee's
       and attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the
       person or persons legally entitled to it.
              23. Reconveyance, Upon payment of all sums secured by this Security Instrument, Lender shall
       request Trustee to reconvey the Property and shall surrender this Security Instrument and all notes
        evidencing debt secured by this Security Instrument to Trustee. Trustee shall reconvey the Property
        without warranty to the person or persons legally entitled to it. Such person or persons ellen pay any
        recordation costs. Lender may charge such person or persons a fee for reconveying the Property, but only
        if the fee is paid ton third party (such as the Trustee) for services rendered and the charging of the fee is
        permitted under Applicable Law.
              24. Substitute Trustee. Lender at its option, may from time to time remove Trustee and appoint a
        successor trustee to any Trustee appointed hereunder. Without conveyance of the Property, the successor
         trustee shall succeed to all the title, power and duties conferred upon Trustee herein and by Applicable
         Law.
               25. Assumption Fee. If there is an assumption of this loan, Lender niAy chgrge an assumption fee of
         U.S. $ 900.00




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                                                                                                              83 of 457
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            No144JN1PORN' COVENANTS. Borrower and Lender further covetuen and agree as Mows:

              22. Acceleration; Randle& Lender shall give notice to Borrower prior to afteleration following
       Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
       acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify; fa)
       the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
       the notice given to Borrower, by which the default must be cured; and (d) that failure to core the
       default on or before the date specified in the notice may result in acceleration of the sums secured by
       this Security instrument and sale of the Property. The notice shall further inform Borrower of the
       right to reinstate after acceleration and the right to bring a court action to assert the non-existence of
       a default or any other defense of Borrower to acceleration and sale, if the default is not cured on or
       before the date specified In the notice, Lender at its option, and without further demand, may invoke
       the power of sale, Including the right in accelerate full payment of the Note, and any other remedies
        permitted by Applicable Law. Leader shall be entitled to collect all expenses incurred In pursuing the
        remedies provided In this Section 12, including, but not limited to, reasonable attorneys' fees and
        costs of title evidence.
               if Lender Invokes the power of sale, Lender shall execute or cause Trustee to execute written
        notice of the occurrence of an event of default and of Lender's election to cause the Property to be
       sold, and shall cause such notice to be recorded in each county In which any part of the Property Is
        located. Lender shall mail copies of the notice as prescribed by Applicable Law to Borrower and to
        the persons prescribed by Applicable Law. Trustee shall give public notice of sale to the persons and
        In the mau.ner prescribed by Applicable Law. After the time required by Applicable Law, Trustee,
        without demand on Borrower, shall sell the Property at public auction to the highest bidder at the
        time and place and under the terms designated in the notice of sale in one or more parcels and In any
        order Trustee determines. Trustee may postpone sale of all or any parcel of the Property by public
         announcement at the time and place of any previously scheduled sale. Lender or its designee may
         purchase the Property at any sale.
                Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any
         covenant or warranty, =pressed or Implied. The recitals In the Trustee's deed shall be prima fade
         evidence of the truth of the statements made therein. Trustee shall apply the proceeds of the sale in
         the following orders (a) to all expenses of the sale, including, but not limited to, reasonable Trustee's
         and attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the
         person or persons legally entitled to it.
                13. Reconveyance. Upon payment of all sums secured by this Security bastrument, Lender shall
         request Trustee to reconvey the Property and shall surrender this Security Instrument and all notes
          evidencing debt seemed by this Security Instrument to Trustee. Trustee shall teconvey the Property
          without warranty to the person or persons legally entitled to it. Such person or persons Shalt pay any
          recordation costs. Lender may charge such person or persons a fee for neconveying the Property, but only
          if the the is paid to a third party (such as the Trustee) for services rendered and the charging of the the is
          permitted under Applicable Law.
                24. Substitute Trustee. Lender at its option, may from time to time remove Trustee and appoint a
          successor trustee to any Trustee appointed hereunder, Without conveyance of the Ptoperty, the successor
          trustee dun succeed to all the title, power and duties conferred upon Trustee herein and by Applicable
          Law.
                 25. Assumption Fee. If them is an assumption of this loan, Lender may charge an assumption fee of
          LJ.S.$ 900.00



                                                                              Initials           41'
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          BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
     Security Instrument and in any Rider executed by Borrower and re" ded with it.

     Witnesses:


                                                                                              (Seal)
                                                       YO I /1
                                                             "
                                                              LOUIS                       -Borrower




                                                                                               (Seal)
                                                                                           -Borrower




                                             (Seal)                                           (Seal)
                                         -Borrower                                         -Borrower




                                              (Seal)                                          (Seal)
                                          -Borrower                                        -Borrower




                                              (Seal)                                           (Seal)
                                          -Borrower     114AN Y ITALLOITM                   -Borrower




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                                       APPX0032
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             BY son% BELOW. Borrower accepts and agrees to the terms and covesonts contained in dais
        Security Instrument and in any Rider executed by Borrower and -. with it,

        Witnesses:


                                                                                               (Seal)
                                                                    LOITM                  -Borrower




                                                        c   jirm                               (Seal)
                                                                                           -Borrower




                                              (Seal)                                          (Seal)
                                           -Borrower                                       -Borrower




                                               (sad)                                           (Sent)
                                           -Borrower                                       -Borrower




                                               (Seal)                                          (Seal)
                                           -Borrower     vas Y ithLI.Oust                  -Borrower




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                                       APPX0033
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       STATE OF NEVADA
       COUNTY OF Clam
         This instrument was acknowledged before me on   114411 q 14°7            by
       VDMr KM= 1.111=1101==littiattx
                               ave.




       Mail Tax Statements To:
        NXBIIS MOO HONE NORTGABB, P.O. BOX 11701, MOM, NJ 071014701




         41121-6(Nv) (05n                        Page 15 of 15           Form 3029 1/01




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             -   --PAMIS PI




                          ALL-PURPOSE ACKNOWLEDGEMENT




  State of California   k. ss.
  County of San Joaquin }



  On.4er of 1.4.41 , 20 ra, before me, Lindsey Putnam, Notary Public,
  personally appeared irott..i Y. tiat4..A3u oat


                                               o Personally known to me
                     LINDSEY PUTNAM I          are- Proved to me on the basis of
                       comm.#1541734           satisfactory evidence
                    NOTARY PUBUOCALWORN1A
                     SAN .10AQUiN COUNTY U
                    COMM. EXP. JAN. 4 2009"
                                               to be the person) whose name(s)
                                               subscribed to the within instrument and
                                               acknowledged to me that 44e/silt:Alley
                                               executed the same in -his/herittleix•
                                               authorized eapacity(A, and that by
                                               Ivea        ' signatureVon the instrument
                                                 ' iherAikeer
                                               the personA, or the entity upon behalf of
                                               which the person0 acted, executed the
                                               instrument.



                                                   WITNESS my hand and official seal.




                                                              Title of Document



                                                            Commission Expiration
                                                              6th January 2009




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                                                                                                 88 of 457
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                                          EXHIBIT ONE

     LEGAL DESCRIPTION

     Assessor's Parcel No: 178-19412-078

     Parcel One:

     Lot 16 of Final Map of Inspiration at Green Valley Ranch Unit 1 as shown by map thereof on tile in Book
     103 of Plats, page 8 in the Office of the County Recorder of Clark County, Nevada and amended by that
     certain Certificate of Amended recorded February 11, 2002 as Instrument Nos 00600, 00601, 00602 and
     00603 in Book 20020211 Official Records
     Parcel Two:

     A non-exclusive easement for access, ingress and egress of Common Elements and Private Street as
     provided for in and subject to that certain Declaration of Covenants, Conditions and Restrictions for
     Inspiration at Green Valley Ranch recorded April 3, 2002 as Instrument No. 00645 in Book 2000403
     Official Records.




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                  PLANNED UNIT DEVELOPMENT RIDER
          THIS PLANNED UNIT DEVELOPMENT RIDER is made this yrra                                       day of
     MAY, 2007                                                        , and is inr.knporated into =I shall be
     deemed to amend anti supplement the Mortgage, Deed of Trust, or Security Deed (the "Security
     Instrument") of the same date, given by the undersigned (the "Borrower') to secure Borrower's Note to
     WELLS FARGO BANK, N. A .

                                                                                                          (the
     "LencIPt") of the same date and covering the Property described in the Security Instrument and located at;
     2428 DEVOTION RIDGE DRIVE , HENDERSON, NV 89052


                                                    [Property Address]
      The Property includes, but is not limited to, a parcel of land improved with a dwelling, together with other
      such parcels and certain common areas and facilities, as described in COVENANTS , CONDITIONS AND
      RESTRICTIONS
      (the "Declaration"), The Property is a part of a planned unit development known as
      INSPIRATION AT GREEN VALLEY RANCH

                                            [Name of Planned Unit Development'
      (the "PUD"). The Property also includes Borrower's interest in the homeowners association or equivalent
      entity owning or managing the common areas and facilities of the PUT) (the "Owners Association") and the
      uses, benefits and proceeds of Borrower's interest.
            PUB COVENANTS, In addition to the covertAnts and agreements made in the Security Instrument,
      Borrower and Lender further covenant and agree as follows:
            A. PIM Obligations. Borrower shall perform all of Borrower's obligations nntlf-r the PUD's
      Constituent Documents. The "Constituent Documents" are the (i) Declaration; (ii) articles of
       incorporation, trust instrument or any equivalent document which creates the Owners Association; and (iii)
       any by-laws OT other rules or regulations of the Owners Association. Borrower shall promptly pay, when
       due, all dues and assessments imposed pursuant to the Constituent Documents.
       0075864801
       MULTISTATE PUO RIDER - Single Family - Fannie Maa/Freddle Mae UNIFORM INSTRUMENT              rrn 31501/01
                                                       Page 1 of 3                  Initials:
       00-7R (0008)                    VMP MORTGAGE FORMS - (800)521-7291




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                                                                                                           90 of 457
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                   PLANNED UNIT DEVELOPMENT RIDER
            THIS PLANNED UNIT DEVELOPMENT RIDER. is matte this 17Th                                        day of
       NAY, 2007                                                          , and is incorporated into and slIPIT be
       deemed to amend and supplement the Mortgage, Deed of Trust, or Security Deed (the "Security
       Instrument") of the same rlqre, given by the undersigned (the "Borrower") to secure Borrower's Note to
       NREZE 'ARGO BANN, N.A.

                                                                                                           (the
       "Lender") of the same date and covering the Property described in the Security Instrument and located at:
       2428 DEMOTION RIDGE DRIVE RRNDERSON, NV 89052


                                                     [Pnpety Address]
       The Property includes, but is not limited to, a parcel of land improved with a dwelling, together with other
       such parcels and certain common areas and facilities, as described in COVENANTS, CONDITIONS AND
       RESTRTCTIONS
       (the ")eclaration"). The Property is a part of a planned unit development known as
       INSPIRATION Al ORR= VALLEY RANCH

                                             1Naras of Flunted Unit Devolopmena
        (the "PUD"). The Property also includes Borrower's interest in the homeowners association or equivalent
        entity owning or managing the common areas and facilities of the PUD (the "Owners Association") and the
        uses, benefits and proceeds of Borrower's interest.
              PUD COVENA,NTS. In addition to the covenants and agreements made in the Security Instrument,
        Borrower and Lender further covenant and agree as follows:
              A. PUD Obligations. Borrower shall perform all of Borrower's obligations under the PUD's
        Constituent Documents, The "Constituent Documents" are the (i) Declaradom (ii) articles of
        incorporation, must instrument or any equivalent document which creates the Owners Association; and (iii)
         any by-laws or other rules or regulations of the Owners Association. Borrower shall promptly pay, when
         due, all dues and assessments imposed pursuant to the Constituent Documents.
         0075864801
        MULTISTATE PUD RIDER Single Family - Fannie Mas/Frseldie Men UNIFORM INSTRUMENT                     SO 1101
                                                      Page 1 of a                   Initials:
        lenteR (00081                 VW' MORTDAGE FORMS - (800)521-7291




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             B. Property Insurance. So long as the Owners Association maintains, with a generally accepted
     insurance carrier, a "master" or "blanket" policy insuring the Property which is satisfactory to Lender and
     which provides insurance coverage in the amounts (including rledectible levels), for the periods, and
     against loss by fire, hazards included within the term "extended coverage," and any other hazards,
     including, but not limited to, earthquakes and floods, for which Lender requires insurance, them (1)
     Lender waives the provision in Section 3 for the Periodic Payment to lender of the yearly premium
     installments for property insurance on the Property; and (ii) Borrower's obligation under Section 5 to
     maintain property insurance coverage on the Property is deemed satisfied to the extent that the required
     coverage is provided by the Owners Association policy.
             What Lender requires as a condition of this waiver can change during the terra of the loan.
             Borrower shall give Lewin prompt notice of any lapse in required property insurance coverage
      provided by the master or blanket policy.
             In the event of a distribution of property insurance proceeds in lieu of restoration or repair following
      a loss to the Property, or to common areas and facilities of the PUD, any proceeds payable to Borrower are
      hereby assigned anti shall be paid to Lender. Lender shall apply the proceeds to the sums secured by the
     •Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
              C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to insure that
       the Owners Association maintains a public liability insurance policy acceptable in form, amount, and
       extent of coverage to Lender.
              D. Condemnation. The proceeds of any award or claim for damages, direct or consequential,
       payable to Borrower in connection with any condemnation or other taking of all or any part of the Property
       or the common areas and facilities of the PUD, or for any conveyance in lieu of condemnation, are hereby
       assigned and shall be paid to Lender. Such proceeds shall be applied by Lender to the sums secured by the
      •Security Instrument as provided in Section 11,
              E. Lender's Prior Consent. Borrower shall not, except after notice to Lender and with Lender's
       prior written consent, either partition or subdivide the Property or consent to: (i) the abandonment or
        termination of the PUD, except for abandonment or termination required by law in the case of substantial
        destruction by fire or other casualty or in the case of a taking by condemnation or eminent domain; (ii)
        any amendment to any provision of the "Constituent Documents" if the provision is for the express benefit
        of Lender; (iii) termination of professional management and assumption of self-management of the Owners
        Association; or (iv) any action which would have the effect of rendering the public liability insurance
        coverage maintained by the Owners Association unAreeptabie to Lender.
              F. Rex/IA.41es. If Borrower does not pay PUD dues and assessments when due, then Lender may pay
         them. Any amounts disbursed by Lender under this paragraph fr shall become additional debt of Borrower
         secured by the Security Instrument. Unless Borrower and Lender agree to other terms of payment, these
         amounts shall bear interest from the date of disbursement at the Note rate and shall be payable, with
         interest, upon notice from Lender to Borrower requesting payment.




                                                                              initials:
       40.07R
           (0oos)                                       Page 2 of 3                                  Form 3150 1/01




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             B. Property Insurance. So long as the Owners Association DaltailLS, with a generally accepted
       insurance Cattier, a 'toasters or "blanket" policy insuring the Property whir+ is satisfactory to Lender and
       which provides insurance coverage in the amounts (iodating deductible levels), for the periods, and
       against loss by fire, hazards included within the terns "extended coverage," and any other hazards,
       including, but not limited to, earthquakes and floods, for which Lender requires insurance, then: (1)
       Lender waives the provision in Section 3 for the Periodic Payment to Leader of the yearly premium
       installments for property insurance on the Property; and (ii) Borrower's obf0ation tinder Section 5 to
       maimain property insurance coverage on the Property is deemed satisfied to e extent that the required
       coverage is provided by the Owners -Association policy.
             What Lender requires as a condition of this waiver can change during the term of the loan.
             Borrower choll give Lender prompt notice of any lapse in requited property insurance coverage
       provided by the master or blanket policy.
             In the event of a distribution of property insurance proceeds in lieu of restoration or Ten* following
       a loss to the Property, or to common areas and fortilties of the PUD, any proceeds payable to Borrower are
       hereby assigned and shell be paid to Lender Lender shall apply the proceeds to the sums secured by the
        Security instrument, whether or not then due, with the excess, if any, paid to Borrower.
             C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to insure that
        the Owners Association maintains a public liability insurance policy acceptable in form, amount, and
        extent of coverage to Lender.
              D. Condemnation. The proceeds of any award or claim for damages, &cot or consequential,
        payable to Bonower in connection with any condemnation or other taking of all or any part of the Property
        or the common areas and facilities of the PUD, or for any conveyance in lieu of condemnation, are hereby
        assigned and shall be paid to Lender. Such proceeds shall be applied by Lender to the sums secured by the
        Security 10Strua1ent as provided in Section 11.
              E. Lender's Prior Consent. Borrower shalt not, except after notice to Lender and with Lender's
        prior written consent, either partition or subdivide the Property or consent to: (i) the abandonment or
        termination of the PUD, except for abandonment or termination required by law in the case of substantial
        destruction by fire or other casualty or in the case of a taking by condemnation or eminent domain; (ii)
        any amendment to any provision of the "C.oristituent Documents" if the provision is for the express benefit
         of Lender; (iii) termination of professional management and assumption of self-roanagement of the Owners
         Association; or (iv) any action which would have the effect of rendering the public liability insurance
         coverage maintained by the Owners Association unacceptable to Lender.
               F. Remedies. If Borrower does not pay PUD dues and assessments when due, theta Levier may pay
         them Any amounts disbursed by Lender under this paragraph F shall become additional debt of Borrower
         secured by the Security Instrument. Unless Borrower and Lender agree to other tanns of payment, these
         amounts shall bear interest from the date of disbursement at the Note rate and shall be payable, with
         interest, upon notice from ender to Borrower requesting payment.




        el:tit7R (0008)                                 Page 2 of 3                                 Form 3150 1/01




                                            APPX0040
                                                                                         93 of 457
Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 93 of 457




     BY SIG G BELOW, Borrower accepts and agrees to the terms and provisions contained in this PUD



                                            (Seal)                                           (Seal)
                   LOUM                   -Borrower                                       -Borrower




                                            (Seal)                                           (Seal)
                                          -Borrower                                       -Borrower




                                             (Seal)                                          (Seal)
     IMAN Y HALLOUX                       -Borrower                                        -Borrower




                                             (Seal)                                           (Seal)
                                          -Borrower                                        -Borrower




      4112)-7R (0008)                            Page 3 of 3                         Form 3150 1/01




                                      APPX0041
                                                                                                  94 of 457
Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 94 of 457




        BY SI     G BBLOW, Borrower accepts and agrees to the terms and provisions eordaintvi in this PUT)



                                                (Seal)                                              (Seal)
                    WIN                      -Borrower                                            -Borrower




                                                 (Seal)                                             (Seal)
                                              -15orrovirer                                        -Borrower




                                                  (Seal)                                             (Seal)
                                              -Borrower                                           -Borrower




        412k7R (0003}                                 Page 3 of 3                           Form 3160 1101




                                        APPX0042
                                                                95 of 457
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                                           EXHIBIT "3"



                   Clark County Recorder
                 HOA Earliest Recorded Liens:
        Instrument #: 200708220004900 Date: 08/22/2007
        Instrument #: 200710230002978 Date: 10/23/2007
        Instrument #: 200711200000346 Date: 11/20/2007




                            APPX0043
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                                                                                               20070822--0004900
                                                                                           Fee: $14.00
 Assessor Parcel Number: 178-19-312-078                                                    NIG Fee: $0.00
 File Number: R17170
                                                                                           08/2212007           14:31:08
                                                                                           T20070151551
                                                                                           Requestor:
                                                                                              NORTH AMERICAN TITLE COMPANY
                                                                                           Debbie Conway                                KP
                                                                                           Clark County Recorder                        Posl
                                                                  r
                                 LIEN FOR DELINQUENT ASSESSMENTS

  Red Rock Financial Services is a debt collector and is attempting to collect a debt. Any information obtained will
                                              he used for that purpose.

 NOTICE IS HERBY GIVEN: Red Rock Financial Services, a division of R1v11 Management LLC, officially
 assigned as agent by the Inspiration at Green Valley Ranch Homeowners Association, herein also called the
 Association, in accordance with Nevada Revised Statues and outlined in the Association Covenants, Conditions, and
 Restrictions, herein also called CC&R.'s, recorded on 4/3/2002, in Book Number 20020403, as Instrument Number
 00645 and including any and all Amendments and Annexations et. seq., of Official Records of Clark County,
 Nevada. Which have been supplied to and agreed upon by said owner.

  Said Association imposes a Lien for Delinquent Assessments on the commonly known property:
          2428 Devotion Ridge Drive, Henderson, NV 89052
          INSPIRATION AT GREEN VALLEY- UNIT 1 PLAT BOOK 103 PAGE 8 LOT 16, in the County of
          Clark
  Current Owner(s) of Record:
           YOUSIF HALLOUM, !MAN Y. HALLOUM
  The amount owing as of the date of preparation of this lien is **$1,071.49.
  This amount includes assessments, late fees, interest, tines/violations and collection fees and costs.
  **The said amount will increase as assessments, late fees, interest, fines/violations, collection fees and costs and/or
  decrease as partial payments are applied to the account.

  Dated: August          7


   Prepared By Monique Was ington, Red Rock Financial Services, on behalf of Inspiration at Green Valley Ranch
   Homeowners Association

   STATE OF NEVADA
   COUNTY OF CLARK
   On August 20, 2007, before me, personally appeared Monique Washington, personally known to me (or proved to
   me on the basis of satisfactory evidence) to be the person whose name is subscribed to the within instrument and
   acknowledged to me that they executed the same in their authorized capacity, and that by their signature on the
   instrument the person, or the entity upon behalf of which the person acted, executed the instrument.

   WITNESS m hand and official seal.
                                                                                           ASHLEY REME11KA
                                                                                        Motto*/ PublIc Slots of Novocto
   When Recorded M To: Red Rock Financial Services                                           No. 05-98151-1
                                                                                        My uppf. exp. July 14, 2009
                        6830 West Oquenclo Road, Suite 201
                        Las Vegas, Nevada 89118
                        702-932-6887




                                              APPX0044
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                                                                                                         Fee: $14.00
                                                                                                         MIC Fee'. $0.00
 APNN: 178-I9-312-078                                                                                    1012312007           13:58:38
                                                                                                         T2007018S024
 Green Valley Ranch Homeowners Association                                                               Requester:
 do TERRA WEST PROPERTY MANAGEMENT                                                                          TITLE COURT SERVICE INC
 2655 S. RAINBOW BLVD.. SUITE 200
 LAS VEGAS NV 89146                                                                                      Debbie Conway                           JJF
 (702) 251-4596
 E-mail: kpairicketerrawest.com                                                                          Clark County Recorder                   P9s., 1

  October 19, 2007                                   US FIRST CLASS MAIL &
                                                     CERTIFIED MAIL RETURN RECEIPT REQUESTED
  225
  Yousif & Iman Y Halloum
  2428 Devotion Ridge Drive
  Henderson, NV 89052                        ACCOMODATIO\
  RE:       DELINOUENT BALANCE - $78738
            Account no.: 00150-5203

                                 NOTICE OF CLAIM OF DELINQUENT ASSESSMENT LIEN
  NOTICE IS HEREBY GIVEN, that in accordance with Nevada Revised Statutes Section 1163116 and the Declaration of
  Covenants, Conditions and Restrictions (CC&Rs) of Green Valley Ranch Homeowners Association recorded as official
  records of Clark County, Nevada, and all Amendments and Annexations thereto, et seq.. which have been supplied to and agreed
  to by said and reputed owner, the Association has made demand for payment of the total amount due and said sum has not been
 •paid. Therefore, a lien is hereby claimed by Green Valley Ranch HameownerS Association upon the real property, buildings,
  improvements and structures thereon, described as follows:

  Commonly known as:             2428 Devotion Ridge Drive Henderson, NV 89052
  Legal Description:             INSPIRATION AT GREEN VALLEY
                                 RANCH.UN1T I
                                 PLAT BOOK 103 PAGES
                                 LOT 16


   The Yousif & Irnan Y Hallourn, is/are the owner(s) and the reputed owner(s) of said real property and improvements described
   above.

   THE AMOUNT OWING AND UNPAID TOTAL is $78738 as of October 19,2007. This amount may include assessments,
   late fees, special assessments, fines, collection fees, trustee fee, and interest. Assessments, late fees, and interest will continue to
   accrue pursuant to Green Valley Ranch Homeowners Association CC&Rs, as well as additional fees of the agent for the
   Association incurred in connection with preparation, recording and foreclosure of this lien. All payments submitted must be in
   the form of a Cashier's Check or Money Order, and received no later than November 20, 2007 to avoid enforcement of this lien.

   Dated: October 19,2007                                                STATE OF NEVADA)
                                                                         COUNTY OF CLARK)

   BY:                                                                   This instnnient was acled'' befo me, a Notary Public
         Sharon aylo                                                     On djaf Day of                    2007.
         Terra West Property ana          ent for
         Green Valley Ranch Homeowners Association
                                                                               Patricia      olNotasy Public
                                                                                     -•"" " "                           "
    WHEN RECORDED RETURN TO:                                                                                                   •
    Green Valley Ranch Homeowners Association                                                  PATRICIA ROSSOL
    do TERRA WEST PROPERTY MANAGEMENT                                                       Notary Public, State of Nevada
    26558. RAINBOW BLVD., SUITE 200* LAS VEGAS NV 89146                                  Appointment No. 02-79210-1
    Account No ,t 00150-5203                                                            My Appt. Expires Oee.11, 2010
                                                                               igrwmpqr.w.




                                                     APPX0045
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                                                            1
                                                            2007 1120-0000346
                                                                                                  1111111111111111INININIIIIIIil
                                                       Fee: $14.00
 Assessor Parcel Number: 178-19-312-078                NIC Fee: $0.00
 File Number: R17170                                   11/2012007         09:07:16
                                                        T20070202940
                                                       Requestor:
                                                          ISM KRIM TITLE COMPANY
                                                       Debbie Conway              KGP
                                                                                            Clark County Recorder           P9s: 1

                                 LIEN FOR DELINOUENT ASSESSMENTS
  Red Rock Financial Services is a debt collector and is attempting to collect a debt Any Win-nu:don obtained
                                              be used for that purpose.

 NOTICE IS HERBY GIVEN: Red Rock Financial Services, a division of RM1 Management LLC, officially
 assigned as agent by the Inspiration at Green Valley Ranch Homeowners Association, herein also called the
 Association, in accordance with Nevada Revised Statues and outlined in the Association Covenants, Conditions, and
 Restrictions, herein also called CC&Rls, recorded on 4/3/2002, in Rook Number 20020403, as Instrument Number
 00645 and including any and all Amendments and Annexations et. seq., of Official Records of Clark County,
 Nevada. Which have been supplied to and agreed upon by said owner.

  Said Association imposes a Lien for Delinquent Assessments on the commonly known property:
          2428 Devotion Ridge Drive, Henderson, NV 89052
          INSPIRATION AT GREEN VALLEY RANCH- UNIT 1 PLAT BOOK 103 PAGE 8 LOT 16, in the
          County of Clark
  Current Owner(s) of Record:
           YOUSIF HALLOUM, IMAN Y. HALLOUM
  The amount owing as of the date of preparation of' this lien is **.51,461.46.
  This amount includes assessments, late fees, interest, fines/violations and collection fees and costs.
  **The said amount will increase as assessments, late fees, interest, fines/violations, collection fees and costs and/or
  decrease as partial payments are applied to the account.

  Dated: November 16


   Prepared By vIonkjue Washington, Red Rock Financial Services, on behalf of Inspiration at Green Valley Ranch
   Homeowners Association

  STATE OF NEVADA
  COUNTY OF CLARK
  On November 16, 2007, before me, personally appeared Monique Washington, personally known to me (or proved
  to me on the basis of satisfactory evidence) to be the person whose name is subscribed to the within instrument and
  acknowledged to me that they executed the same in their authorized capacity, and that by their signature on the
  instrument the person, or the entity upon behalf of which the person acted, executed the instrument.

   WITNESS my hand and official sal.
                                                                                             TRISHA L BURT
                                                                                        Notary Putzlic stale of Noveldo
         (7)/tilk 2--                                                                        No. 07-4803-1
   When Recorded Mail To: Red Rock Financial Services                                   My oppt. sap* Sept. 5.2011
                          6830 West Oquendo Road, Suite 201
                          Las Vegas, Nevada 89118
                          702-932-6887




                                              APPX0046
                                                                99 of 457
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                                            EXHIBIT "4"



08/26/2015 Plaintiffs received from Wells Fargo Home Mortgage
   (SPA) on behalf of Fannie Mae "Trial Period Plan Notice"
        including the Terms Of the "Loan Modification"




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                                                       PerInd:Plan ARAI*
                                                     • You may be able to:Malreyour  enis niore affordable
                                                           Call 1-855 -45271W; 1.433520444 for Immediate
                                                                                               Assisthnce


 August ,,201s
 YOUSIF HALLOUM                                                                   ble1/4;0#758_
•2428 DEVOTION RIDGE DX
 HENDERSON, NV 89052
Dear YOUSIP HALLOVIA
'Wells Fargoflome lf,fortvage want:3V continue to or 'w4                40, odifY        InOrtgage and help make YOur
 payments more affordable.
Plesse note: ASnresult:ofirOrhanlctuptcyoase,..this.letteeiSnotanattemptto:collectndcht you.Orht•axty • .
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 October
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.N.OveinatgAi obis
 December 1, 2015
 What yen nee4. to do
 To accept this         please call us at the phone number listed on this letter or send in, yourThal Period payment,
 rather tliali'YQur. normal  91181P. PaY12g2t, 26 later t422.15 calendar days from ti*dateligtOd..at the top of this
 letter Please note, the 1,%. acceptance period could be Orlier.thanthe due 4314e. noted below.
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 Principal and interest amount- $1,o27.99
 Escrowed property insurance amount: $704
 Escrowed property taxes amount: $173.so
 Escrowed shortage amount: $3.58
 Total Trial Period Plan payment amount: $1,274.85
 12!..payment. s 1,*74.85      Due by: Oetnaer I 2015
 Vol. payment 1,x74485         Pga     November 1,- 2015
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             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 101 of 457
       Itoperty value used in. e review decision; $295,o0o,
       Total income used to make this decision: $3,798,00
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     your 'property you maybe required to pay: off the lien.' ToorT490:00,ayotilybo modified after we determine all
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   -clearance reipMernents, as described above.• If you fail to ProvideaSithordinationagreement.froria another lender • •
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      payments Also, failure to make all trial period payments as outhned above, including if yourtrial period •
   . ;payments Viete:e*terided will result in       Trial Period Plan being
       After all trisd period•payments are timely made, your mortgage win be odified. (Your existing loan and. loan
       requirements remain in effect and unchanged during the trial period.) If each payment is not received by Wells
       Fargo Home Mortgage on or before the date it is due, you will no longer be eligible for a loan modification and
       your loan will not be modified.
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           While we reviewed your loan for this program we looked at otherprograms youmay bave been eligible for. Here is
           the result of that review, listed in alphabetical order
           'Program aarae:        Program de.Seriptimri:                  thiatiMe,         tioriot meet the
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                                  mortgage without reqiuringtbem to . 1110/11131Y'iliainie.   Is calculated o
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      Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 102 of 457
                         modified raouthlymortgage
                         payments hyotai;ing three on-tune
                         trial partials, HOwever, =stealers _
                         are encouraged to consider
                         docurCentiugtheirincomeand
                         finnnrielhartiship to **if they:
                         qualify*** different medifiCation
                         that could further lower their
                         monthlymortgage payments. .
  As part tithe review, Wells Few Home Mortgage used a process to determine which option best matched your
  circunntirumes. Once we reviewed and approved you for this program, we stopped reviewing you for other options
.: that were considered less: ofa match to yotir cireinnstancet.
You have the right to appeal this decision
 Carefully read over this letter..34bich states Wells Fargo Home Mortgages decision. If you believe the decision
incorrect and wantto appeal the deelOpu, you may inbinit your APPettl request in writing or by phone:
. If you choose to submit your appeal request in writing, We have enclosed- an Appeal. Request Form for your
    nvenience. Or you Can write a letter of yourown that =plains the reason you *agree with the decision
:You can initintean appeal M one of three wayst:
 x. Fax your appeal request to 1-856-590-8910.
 2.      your appeal request toi
 Wells Fargo Home Mortgage
 woo Blue Guth...mi. Road,
 Suite 300 MAC X9999-03.N,
 Fai9Ino IVIN awl


.3. Cell 1-8r-83,64914 and folio the prompts.
  youebeose to submit your appeal request in-writing, by fax or
'Own — please specify which of these two options applies to you:
Opti.en A. I want to appeal the decision I received. I have =closed. acklitionalinfonnation for your considered
 and/or I have no further information to provide.I understand Wells Fargo Home Mortgage will review the
 decision immediately based on the additional information I have provided (if applicable), or on the information
. they currently have.
 Option I will be a.ppealkg the decision I received. I .wil/ submit additional information fr)r your co
 a later time. I understand that if Wells Fargo Home Mortgage does not receive rnyadditional information by
 September 9, 2015, Wells Fargo Home Mortgage will immediately move forward with a review of the decigdo
 .Appeat **WIC* *Slidell:02Si
  4): ifyou:40.: not sppPify your intention for providing Additional information, by selecting one of the twooptiO
       above, we will follow the process described in Option R..
  r. If you are disputing the value of Your property used in the decision; you must indicatelhe specific value you
      believe is mpresecarate:
       We must receive your appeal -request,: with any additional uthrination (as applicable) byScptember
     H. 2915.
       After an appeal is initiated, if you, selected Option Iland we do not .receive your additional infprmti
       September 9, um& we will review the decision based on the -information we have at that time.
       You may have recently-received a separate communication tegarding another review we completed.;
       decision regarding that review is also appealable, subject to the timpliaes and guidelines here.
       Be sure to:. include your loan number on your appeal request and any additional _Information.

 10P/ALit`Trial Ported Winn Natter




                                                APPX0050
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      If you choose to initiate your request by phone, make sure to have your loan number available and follow the
      phone prompts cuddly.
 ;Please note.: &taw receive your appeal request, you will receive a letter that cOnftrms receipt of your request
  and outlines next steps in the appeal process. As your home preservation specialist, I remain available to assist
  you with any questions you may have about this letter, but you must initiate anapipea request m ane of the ways
  listed above.
  Talk to me about your other. options
  There may be other options avajlable tahelp you Void a-foreclosure sale„ provided YOU meet the requirementsi
  lithe amount you owe on your mortgage is higher. than what you thinkyOu can tell your house for, you may want .
  to consider what is known as a •!`ahert lude.* This. *option could allow you to Ilk your borne for Sale, for an amounti:
  that bless, than you owe.
 Outing the short sale•process, you'll-need to subsoit documentation to us that we win .einst444e. For P•Atnp1P, a
 short sale requires a purchase contract Once we receive a purchase contract Wells -Fargo Rome Mortgage will
 review the terms of the contract and obtain the appraised value of the property, -
 If you are interested ilia short stale, contget: me right awawl can.,Nalp explain the abort sale process, guidelines
 and yew eligt14ity.
 If you are unable to sell your home or find a short sale ia not the right alternative to foreclosure for you, another
.1 option to consider might be deed in lieu of foreclosure, sometimes referred toes atfortgage Release. If you are
  interested in a deed in lieu of foreclosure, phltSP contact me right away so we can determine your eligibatty'. and .
  coordinate an appraisal and inspection of your property.
  Keep in.roind, if you accept a deed in lieu of foreclosure, you rogatagree toncatetheproperty
                                                                                        , „:         vilthin an agreed
  upon time. •
 If you have any questions or if you cannot afford the trial period payments show Afore please call themlume
 timber below.
 tirmeerely,

• 'PAW&
   Home Preservation Specialist
   1-8W-844-462y atA33.5520444
   Was Fargo Home Mortgage
        -firee co-Onnellog o help,:ammagevrpoologannd aivaA4.f0eclosOte:Iteach onttninincal WI>. • •
    appoivOI:nonpthathnuaing counseling agency you're struggling to keep up with monthly expenses, or
   . help .f.O:avOlforeelosurc.: At no cost, a tOtatselettwill *brit closely With you, providing the 4003*i-40:nand: .
    assistance you need              agency nearyOu;:goto                                                 • Or
 .:.56044281:..crpn-1400,0133.9).:you Can also cailltiPMHOtling.at1030,-095.4191.%(4073);
     Be sUreyouavoidanYone*heasks:fOt afeo for *in jOirE ot.ii:Ipo*:xna4i60090:4>or aahsyontosign.over.
 .: deed toyoutheMe, or tOt*ticp. your mortgage payments to anyone other than Wells Fargo Home Mortgage

  Attachments. (1.) Frequently Asked Questions and (4 Additional Trial Period
  (3) Appeal Request Fona




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     What is a Fannie MIAs Izian Modification?
     A Fannie Mae Loan Modification offers you the ability to modify your loan--helping to make your mortgage
     more affordable for the hie of the loan. This modification was created as an additional loan modification
     option, and is available to certain borrowers- who either did not qoalityfor a modification under the Home
     Affordable Modification Program (HAM?), or were unable to successfully make Payments under 1iAMP or
     other modification, With a Fannie Mae Loan Modification, you still have an opportunity to mod* your loan
     provided you successfully complete a nig period.
 Q. Why are you offering me this option?
    Because you were unable to qualify for KAMP or were unable to successfully make payments under RAMP,
    we wantto continue to work with you to determine a long-term solution. We know many homeowners are
    struggling with their mortgage payments and need assistance. That's why we are offering you the opportunity
    to qualify for a Fannie Mae Loan Modification. Our goal is to help orate your mortgage more affordable, and
    most importantly, help you keep your properly and avoid foreclosure.
    . What arellie benefits of a Fannie Mae LoaniViodifieatioxi?
    . A Fannie Mae Loan MedifiCation offers you a joneerm Seantion to make yoor, owe.
 q•.,'• If        qualify for a modification under .13.AW, will I qualify fora Fannie Mae:.
       Modification?
     ..The requirements for a .Fannie Mae :Loan Modification limb= designed apecificaily.to assist borrowers like
       you, who were unable to         for a modification
                                                --        through..11AMP or who were not  to succesafttlly..inake
       paynients On a prior modification.
.Q, . Win.' sin receive incentive compensationlikf, the liAIVIP program• provides?
      No. A Fannie Mae Loan Modification does not offer incentive compensation ' borrowers The borrower.
                                                                                     for


      incentive compensation is.only available to borrowers who were eligible/qualtfied for a modification under
      LUMP; '
 Q. Is there a trial period I have to complete?
     Yes, There is a trial period for the Fannie Mae Loan Modification. You will be required to complete a
     period prior to entering into a Loan Modification Agreement. Your loan will not be modified until you
     successfully complete the Trial Period Plan and you enter into a Loan Modification Agreement.
      Why is there a trial period?
      The trial period offers you immediate payment relief (and could prevent a force
      to make sure you can manage the lower monthly mortgage payment Note: This is o
      Period Plan. Your =lain%loan and loan requirements remain in effect and uncle
      When are my trial period payments due?
      Your payment amount and the day each month that your payment.ts
      Package-
  Q. What happens if Lean't afford.the new payments?                          .
     If you do not make the specified trial period payments in full in the month mhen due, you will net qualify feea
     modification and will not be allowed to enter into a Loan Modification Agreement. Ifyou successfully
     complete the trial period and enter into a Loan Modification Agreement you wfil.no longer be eligible for the
     modified payment terms if you are. 6o days late within the       la months of the modification If that occurs. .
     we will look at other options to resolve your mortgage delinquency (a short Sale, deed‘in-lieu of foreclosure, or
     a foreclosure). If an alternative solution cannot be found, we will Iteeatt› commence or continue foreclosure
     proceedings.




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   tinOVUM V
    -              sT


    What happens if I misstatoormisrepresentroy.informatianidocurnentation?.
    If u have intentionally miarepresented any &egg) in connection with any of the documentation you have
    su fled to demonstrate Your statuss, financial information or hardshiP„. theTrial-PerkidPlin.and any Loan •
    Modification Agreement may cancelled (and we may pursue foreclosure proceedings), Additio
    knowingly sub/hitting false information may violate federal law.
Q. Wliat ejse tithould knOw about this ogee
      To accept this offer, 'all us at the phone number listed above no later thro is calendar days from the date
      listed at the top of this letterer send in your new payment by the due date, as listed above!instead of your.
      normal monthly mortgage payment.
      Your credit score may be affected by. accepting a Trial Period Plan °modification. When you:become-peat
      due on your in           payments, ifs important to understand.that the actions you take to correct the
      situation can affect your credit score. If you choose a loan modification, your credit score could be
      negatively impacted during the Trial Period Plan, but may not be as impacted as an ongoing series of
      late payments or foreclosure. Inning that process, we are required by law to continue to report the
      delinquency status Of your loan to the credit reporting agencies as 'paying under a partial or modified
      payment agreement" When you are approved for a loan modification, the modification process is
      complete and is recorded on your credit report as loan modified'. as long as you make your modified
      payments =time, Keep in mind that the degree of impact to your credit score depends on your overall
      credit circumstances and is different for each individual. The credit score could remain uncilanzed,
      increase or decrease For more informatkm about your credit score, go
      totittp://vomite,tovibcpielht/pUbsiconsunier/crediticre24.shtm.
      You will not be charged any fees for this Trial Period Plan or final MOM
      Ifyour loanisnatidified,wiwaiveall unpaid:late Claatges.
      -After your modification is              if your mortgagelogn,beconsesMiuquenkyouruar.. he eligible:
       for another mortgage loan                           •           •               .•
   • After your 40406004 is dompiete, you have the abOityloprepay yourMOrtgagelean.Velthe..
       reattietienser..penplfies.           •
   :How was my new payment In the .trialpgriod-detersidned?. :
    Yotirtrialperio&Paynientishased Upon a variety of factors ;winding Your verified income, current value of
    your property, unpaid loan balandeandrogtuntsva0t4.40. Fannie Mae uses thtsWOrniStiontoproVidetbe
    most affordable terms for you and wi#04 41011 bespffirterit to pay your modified *inch* and interest due
    onyour ModifieitiOan, •               •
      Willnry :modified month' ylaYrnent ever. change? .
       The principal and interest portion of your monthly payment will not                        However, your monthly,esekO*
      :ankonnt*T.:teMajnthe• sioet4rotighoittlii.04thtiai 11aig iit)WA•itt.ihtiOgy,44:tatigh t40.3ifeia your
   :.•!..ri#S..*)›eesnaayetr
                     4"     • • Real
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                                                            • • •.• • .:••••• • • •    :.  .• .             decrease annually, or :
 . you may                Ok.rir„..yoUrtnsUranepOONteragei.-                      :. •    •     •
      10.0040e.,snay, escrow in*cittiut have m004** aliOrtage/
      .Because Of the thrirepfYottrtax andinsttrancebills, we may be requiredto     one of these bills befere you
      haVeactomidatedeuffiCient funds in your escrow account to cover the full amount, ThisialMownasan :•••• •
   , !•ipsO.tw=a4ortagei Your loan has , eneScroWshortage. of $214.$0. !. •
•Q When will I no ifnay loan am be modified and howsvill the modified loan bahm
   determined?
   Once you make all of your trial period payments on time, we will send youa Loan Modification Agreement
   detailing the terms of the modified loan. The Loan Modification Agreement will become effective once you
   and we have signed it Any difference between the amount of the trial period payments and your regular
   ntortgap payments %41 be added to the htdance of your loan along with a,ny other past due amounts as


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                                                                        * 0 075864801 *                                          -•


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   •permitted tty your loan documents. While this will increase the total arno
    sipiAcantly change the amount of your modified mortgage payment
Q. Will my interest rate and principal and interest payment be fixed after my loan is modified?
   Once your loan is modified, your interest rate and monthly principal and interest payment will be fixed for the
   life of your mortme.
•Additional 'frial Period Plan Information and Legal Notices
 The terms of this offerate accepted and the terms of your Thal Peritai Plan are effective on the day youmake your
 first trial period payment, provided you have paid it on or before October 1, trots.. By accepting this offer, you,
:and we agree that:
    Yott are certifying that all information you previously provided, e.g., regarding your status,
    income and expenses, and hardship, is stilt true and correct.
    • You certify under penalty of perjury that all of the written information you previously provided to Servicer
        in the Request for Modification and Affidavit signed by you in connection with the Making Home
       •Affordable Program (RAMP) continues to be true and correct. This includes, among other things,
        information about your status and the status of the property, your income and expenses, and your
                  You understand that Servieer is relying on your certification in offering you the Thal Period
        Plan and any Loan Modification Agreement If there have been any changes in the information you
        provided, you must contact Servicer at 1,-8557844-4527 Ext. 1335520444 to discuss whether the
        changes affect your Trial Period Plan or eligibility for a loan modification. You must have this diseussi
        before you send in yont first .trial period payment.
    We will not proceed to foreclosure sale during the vial period, provided u are complying
    with the terms of the Trial Period Plan.
    • Any pending foreclosure action or proceeding may be immediately resumed if you fail to comply with the
       terms of the Trial Period Plan or do not qualify for a modification. No new notice of default, intent to
       accelerate, acceleration or similar notic,e will be necessary to continue the foreclosure action, and all these
       notices are waived to the extent permitted by applicable law.
    During ihe trial period, We•May'accept and at your trial period paysnents to your
    and it will not affect foreclosure proceedings that have already been started.
    st You agree that we may hold the trial period payments in an account until sufficient funds are in the
        account to pay each of your monthly trial period payment obligations You also agree That we will not pay
        you interest on the arammts held in the account* Any amounts remaining at the end of the trial period will
        be applied to any outstanding amounts that you owe at the end of the trial period reducing the amount
        that will otherwise be added to the principal balance of your modified loan.
        Our acceptance and posting of your new payment during the trial period will not be deemed a waiver of
        the acceleration of your loan or foreclosure action and related activities, and shalt not constitute a cure of
        your default under your loan unless the payments are sufficient to completely cure,your entire default
       •mid.  .your loan.
     upon acceptance of the        you are required tø.continue* establish an
     real estate taxes and property insurance premiums.
    •your currant loan ‘loannents remain in effect; however, you may make the trial period
     payments instead of the payments required under your loan documents.
     • You agree that all terms and provisions of your current mortgage note and mortgage security instrument
        remain in full force and elleet and you will comply with those terms; and that hethille in the Thal Period
        Plan shall be understood or construed to be a satisfaction or release in whole or in part of the obligations
        contained in the loan documents.



 41.44.1.                                             rage of*

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The Trial Period Phan notice IAD be rescinded if an error is detected.
   You agree that if an error in the terms of the Thal Period Plan or your eliebility is detected after issuance
   of the Trial Period Plan notice, the Trial Period_Plan will be void and of no legal effect upon notice to you
   of such error. You understand that a corrected Trial Period Piwn will be provided to you if it is determined
   that you remain eligible for a loan modification after correction of the error.




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                                            EXHIBIT "5"



  08/26/2015 Fannie Mae set the terms of the Loan Modification
       addressed to the SPA Wells Fargo Home Mortgage




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Theis, Michel le R
                                                                                         •:',"1r7r.,•7

Prom:                            lavonnia_mcgowan@fanniemae.corn
Sent:                            Wednesday, August 26, 2015 113 PM
To: '                            Theis, Michelle R
Auhjact:                         Approval Letter Campaign Modification Workout. rated, Case unknown


,08126/2015

MICHELLE THEIS

WELLS FAR.G0 BANK, NA.                            F.1:::k-•••6_.;f00:7
1 HOME 'CAMPUS, X2303-03C

pts MOINES, IA 50328


Subject:
Fannie Mae Loan No: 1704165804
Your Loan No:       0075864801
city, State:        HENDERSON; NV

Dear MICHELLE THEIS:

 The request and:recommendation to modify the subject loan has been apprcm              .04(ta.:, specific
Ithiz tetter,

 If applicable: The workout terms are subject to any required. tmstee and bankruptcy court approvals, For .
 Chapter 13 eases,the servicer should ensure:

 (a) that the modification agreement takes into account the confmned plain treatment.aprepetitiOnVeara

 (      at the mortification capitalization properly accounts for the current unpaid prepetttioi erreerages, and

 (c) that the trustee receives appropriate notification as to the Modification's treatment of both pre- and post-
 petition debt.

           The Modification approval is contingent upon the receipt of
           $1,274.85. Payments should be updated in FISSN.

           The other costs/fees (advances) capitalized total $8„2.47..99.

           The total delinquent intereat from 05/01/2013 to 12/01/2015 is S18,409.013'. The capitalized delinquent
                                                                     .      -              .      . the modified
           interest and advances must be added to the unpaid principal balance   and amortized  using
           terms. We expect and rely on you, as the servicer, to confirm that the capitalized amount is allowed
           under the individual state and local laws for this loan..




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     e modified loan type will be...axed rate mortgage...,

  „Tha interest rate will be 4.2500% and meludeslhe.:;servicing fee rate of 0.2500%.

   The new term is 480.months. The new matmity date is 12/01/2015.

  • The current unpaid principal balance (UPB) of $365,41.5.26 is modified to a "New Principal Balance
    of $392,072.33.

   A portion of the New Principal Balance ($155,000.00) will be deferred (the "Deferred Principal
   Balance"), and the borrower will not pay interest or make monthly payments on this amount The New
   Principal Balance less the Deferred Principal Balance shall be referred to as the "Interest Beating
   Principal Balance", and this amount is $237,072 33 The following capitalization summary is provided:
    or your approval letter to the borrower:

           The "Before Mod". UPB of $365,415.26 with LPI 405/0112013
   Plus: .Delinquent Interest 05/01/2013- 12/01/201$7                .
   Plus: Attorney fees/costs; $1,476.00
   Plus: Servicer adVances:46,7.71.99
   Less Cash
           leash contribution:
            MI contribution (pre-Claim advance): $0,00
   I..ess; forgiven principal,: $0.00:
 -.1Less;:. Forgiven interest $0.00:
.. 14es; .Fqrsiven advoppe,s: $0.00
    uals; The "After Mod" New Principal Balance of $392,0723, of which 5155,00000 is .Deferred
            Principal Balance:444 $27,672.33 is the Interest Bearing Principal Balance:

        The new principal .and: inter eat payment on the'.4iterett:lkialft Pi
        $1 X27.9% effective 91104/2010.

        The Deferred Principal Balance .and any other amounts still owed. will be &re tlie earliest
        of: (1) the date the borrower sells or transfers ari_intetest in the Property, (2)the date the
        borrower pays the entire Interest Bearing Principal Balance, or (3) the new maturity date

         We expect and rely on you as the servicer to ensure that all federal, state,find local.laws are
         adhered to in this transaction.

         The original executed modification agreement should be sent to the dçCt:Odiafl,
         copy delivered to the borrower, and a copy retained in.the.mortgage file

         We expect and rely on you as the servicer to ensure that all requirpments of Fannie Mae and.:
        •Fannie Nla.eis Servicing.Guide are followed.

         In order to close the modification on our web site, please follow these:instructions andloy
         the information specific to this
                                       ' case.

        Go to the Asset Management Network Main Menu; 140:111e Saver Solutions Menu, then eel
        Enter Trial Period Data Request or Close Approyed Case, 'depending on the ease status,



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      • B. Key the required loan identifiers and click on Get Loan.
        C. Confirm the actual modification terms.


   all of the terms keyed match the approved terms on our,,systein, the case will automatically Close. If the ke
:terms do not match the terms on our system, the case will NOTpluse. Please contact inc if you need assistance
 on closing the case.

When * case closes, Fannie Mae will automatically reimburse yon for the


-SPECIAL INS IRUCTIONS
         •If this is an *sured loan, written approval from
         proceeding.

                changes in the above terms will rkiiialre,00r written

         Irthis loan has been selected by quality control for an underwriting review, any adverse *dings
         could ultimately affect the final disposition of this loan and/or the terms of this letter.

     o   For loans removed from MBS pooled mortgages, continue premium payments on the applicab
         mortgage pool insurance and ensure that the coverage remains in effect for..„.the life of the lo

                roval is subject to any contrachal recourse thd is in effect out* loan.

          Fannie Ivlaes approval of this workout does not waive or release the servicer from representation
          or warranty under Fannie Mae selling/servicing gnidps,or.contract.



 Thank you for your 'assistance in completing this modification. If yOfliaveafly.
 coninct.me.

 ,Sincerely,



   LAVONN1A MCGOWAN
   Famne Mae
   Phone:     n8-326-6435
   Far.
 • Email:     loss mitigation@fanniemae.com


 •Letter 1079


 This message was transmitted from Fannie Mae to you in a secure, encrypted manner. If replying to or
  orwarding this message, it is your responsibility to ensure this message and content is properly protected.



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                                            EXHIBIT "6"




  Substitution of Trustee and Full Reconveyance Requested by
   Wells Fargo NATIONAL BANKING ASSOCIATION as
     Trustee in lieu under said Deed of Trust Recorded at
                 Clark County dated 10/21/2015
                    Inst. #20151021-0000586




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                                                                                                                      Jut* 20151021-0000586
          1




                                                                                                                      Fees: $22.00
                                                                                                                      WC Fee: $0.00
                                                                                                                      10/21/2016 08:67:08 AM
  Assessor's/Tax ID No. 178-19-312-078                                                                                Receipt #: 2685433
                                                                                                                      Requester:
  Recording Requested By:                                                                                             WELLS FARGO BANK
  WELLS FARGO                                                                                                         Recorded By: MAYSM Pge: 3

  When Recorded Return To:
                                                                                                                      DEBBIE CONWAY
                                                                                                                       CLARK COUNTY RECORDER
  LIEN RELEASE DEPT
  WELLS FARGO
  HOME EQUITY SERVICING OPS
  P.O. BOX 31557
  BILLINGS, MT 59107

                                                                             1111111111111 11111111 11111111111111111M111111111 11111111111111111111111111111111111
                 Trierir,,rmw PT,irs,AvAi        ,T1-1 T0,7,1717 A .TIre•              11,         el.* TV MI             1.T !NT,
                       I at., it            lir 1 l'1,.t.h7I LOC.           kJ Lila                                              Jr,
  WFHM - CLIENT WFF 4:83765057815391998 "HALLOUM" Lender ID:ECR Clark, Nevada
  THE UNDERSIGNED DOES HEREBY AFFIRM THAT THIS DOCUMENT SUBMITTED
  FOR RECORDING DOES NOT CONTAIN PERSONAL INFORMATION ABOUT ANY
  PERSON.

  Wells Fargo Bank, N.A. is the present Beneficiary of that certain Deed of Trust Dated:
  05/18/2007, made by YOUSIF HALLOUM AND IMAN Y. HALLOUM, HUSBAND AND
  WIFE AS JOINT TENANTS as Trustor, with WELLS FARGO BANK, N.A. as Trustee, for the
  benefit of WELLS FARGO BANK, N.A. as Original Beneficiary, which said Deed of Trust was
  recorded 05/25/2007 in the Office of the County Recorder of Clark State of Nevada, in Book:
  20070525 Page: N/A as Instrument No.: 0001299 wherein said present Beneficiary hereby
  substitutes WELLS FARGO FINANCIAL NATIONAL BANK, A NATIONAL BANKING
  ASSOCIATION as Trustee in lieu of the above-named Trustee under said Deed of Trust.



   Property Address: 2428 DEVOTION RIDGE DR, HENDERSON, NV 89052

          IN WITNESS WHEREOF, Wells Fargo Bank, N.A. 2324 OVERLAND AVE, MAC
   B6955-014, BILLINGS, MT 59102-6401 as present Beneficiary and WELLS FARGO
   FINANCIAL NATIONAL BANK, A NATIONAL BANKING ASSOCIATION 2324
   OVERLAND AVE, MAC# B6955-0 i 4, BILLINGS, MT 59102-640 i as Substituted Trustee,
   have caused this instrument to be executed, each in its respective interest;




   *KX0*KX0WFMC*10/09/2015 06:43:57 AM* WFMCO3WFIW0000000000000000564999*
   NVCLARK* 83765057815391998 NVCLARK_TRUST_SUB * *N_VVWFMH*




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  SUBSTITUTION OF TRUSTEE AND FULL RECONVEYANCE Page 2 of 3

     IlTag° Bank, N.A.
  On October 9th, 2015



  By:
  NAOMI E. WONDERS, Vice President
  Loan Documentation


  STATE OF Montana
  COUNTY OF Yellowstone

  On October 9th, 2015, before me, MISTY RITTER, a Notary Public, personally appeared NAOMI
  E. WONDERS, Vice President Loan Documentation, personally known to me (or proved to me on
  the basis of satisfactory evidence) to be the person(s) whose name(s) is/are subscribed to the
  within instrument and acknowledged to me that he/she/they executed the same in his/her/their
  authorized capacity, and that by his/her/their signature on the instrument the person(s), or the
  entity upon behalf of which the person(s) acted, executed the instrument.

   WITNESS my hand an           'al seal,
                                                                            MISTY RITTER
   I fit 7)                       1/                                   NOTARY PUBLIC for the
                                                                           State of Montana
            '41dimilft                                               Residing at Billings, Montana
                                                                       My Commission Expires
   MIST RITTE OFF-                                                        January 31, 2018
   Not Expires: I /31/2018
                                                                           (This area for notarial seal)

   WELLS FARGO FINANCIAL NATIONAL BANK, A NATIONAL BANKING
   ASSOCIATION hereby accepts said appointment as Trustee under said Deed of Trust and as
   Successor Trustee pursuant to the request of said present Beneficiary and in accordance with the
   provisions of said Deed of Trust does hereby reconvey without warranty to the person or persons
   legally entitled thereto all estate now held by it under said Deed of Trust.


   By WELLS FARGO FINANCIAL NATIONAL BANK, A NATIONAL BANKING
   ASSOCIATION as Trustee
   On October 9th, 2015




   NAOMI E. WONDERS , TITLE OFFICER


   *KX0*KX0WFMC*10/09/2015 06:43:57 AM* WFMC03WF1W0000000000000000564999*
   NVCLARK* 83765057815391996 NVCLARK_TRUST_SUB* *N_VVVVFMH*




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   SUBSTITUTION OF TRUSTEE AND FULL RECONVEYANCE Page 3 of 3




  STATE OF Montana
  COUNTY OF Yellowstone

  On October. 9th, 2015, before me, MISTY RITTER, a Notary Public, personally appeared NAOMI
  E. WONDERS , TITLE OFFICER, personally known to me (or proved to me on the basis of
  satisfactory evidence) to be the person(s) whose name(s) is/are subscribed to the within instrument
  and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity,
  and that by his/her/their signature on the instrument the person(s), or the entity upon behalf of
  which the person(s) acted, executed the instrument.

   WITNES my hand and official seal,                                        MISTY RITTER
                                                                       NOTARY PUBLIC tor the
                                                                           State of Montana
                                                                     Residing at Billings, Montana
                                                                       My Commission Expires
                                                                           January 31,2018
  MIS
  Notaj Expires: 01/31/2018
                                                                          (This area for notarial seal)

   Mail Tax Statements To: YOUSIF HALLOUM, PO BOX 31557, BILLINGS, MT 59107




   *KX0*KX0WFMC*10/09/2015 06:43:68 AM* WFMCO3WFIW0000000000000000564999*
   NVCLARK* 83765057815391998 NVCLARK_TRUST_SUB * *N_WWFMH*




                                          APPX0063
                                                                116 of 457
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                                            EXHIBIT "7"



10/27/2015 Plaintiffs received Letter from Wells Fargo Home Mortgage that
 Fannie Mae changed Servicer SPA from Wells Fargo Home Mortgage to
   Caliber Home Loans Effective 11/17/2015 and assuring that the terms
               of the Loan Modification will not be affected




                              APPX0064
                                                                                                  117 of 457
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    Wells Fargo Beale Mortgage
     Retunt Mail Operations
     PO Box 10368                                                                                             Page a 014
     Des Moines, IA 50306-0368




  October 27, 2015                                                 Account Information
                                                                   Online;           welisfargo.com
                                                                  I Fan             1-866-278-n79
                                                                   Telephorm        1-8615-234-8271
                                                                   Correspondence; PO Box 10335
                                                                                    Des Moines, IA 50306

                                                                   Hours of operation: Moo- Fri, 6 ant to pan.,
        YOUSIF HALLOUM                                                                 Sat, 8 8..131 - 2 p,m, CT
        2428 DEVOTION RIDGE DR
          1.‘1DEMON, NV 89052                                       non number:         O05864801
                                                                   Prope.rty address;   2428 Devotion Ridge
                                                                                        }fenders° NV 8




  Subject: Transfer of the servicing of your mortgage loan
  Dear Yousif Hallourn :
  Effective November 17, 2o15, the servicing of your mortgage loan is being transferred to Caliber Home
  Loans, Inc. While the transfer of servicing is very common in today's mortgage industry, we recognize it
  often raises a number of questions.
(Since you may have questions about this change to your mortgage servicing, we're providing you with
  information to help make this transition easier for you. Rest assured, this does not affect any terms or
  conditions of your mortgage. This transfer simply affects how your ninrtgage is serviced, like where you
  send your payments.
  Please read the last page of this letter - The Notice of Assignment, Sale or Transfer of Servicing Rights
  provides you with important required Real Estate Settlement Procedures Act (RESPA) information.
  Important payment information
  Beginning on November 17, 2015, Caliber Home Loans, Inc. will begin receiving payments on your
  mortgage loan. As of the same date, Wells Fargo Home Mortgage will no longer be accepting payments
  on such mortgage loan, therefore you must make your loan payments payable to Caliber Home Loans,
  Inc., and send them to the following address:
            Caliber Home Loans, Inc.
            P.O. Box 650856
            Dallas, TX 75265-0856
   Caliber Home Loans, Inc. will be sending you a letter that will include payment instructions. If you do
   not receive payment instructions from Gabler Home Loans, Inc. before your next payment is due,
   please write your loan number on your check or money order and mail it to Caliber Home Loans, Inc. at
   the address listed above.
   About mortgage payment assistance
   If you are currently receiving payment assistance from a third party, you will need to contact that party
   to notify them of the change in servicer.

  A0334 708 0154




                                            APPX0065
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                                                                                                          Pane 2 of 4




                                                                 Account Information
                                                                  14mui zumrbers ows864803.
                                                                  Property' address: 2.428 Devotion DAP
                                                                                     Henderson NV 89u

About RAMP financial counseling
If your mortgage is participating in the federal government's Home Affordable Modification Program
(HAMP) and you were offered financial education and coirrinsiing services, this transfer will not impact
your participation or eligibility. If you have already scheduled counseling appointments, they will
continue uninterrupted. If you would like to start participating in financial counseling, please contact us
prior to the transfer date.
About Wells Fargo checking accounts
If you are a Wens Fargo consumer checking account customer, transfer of your Wells Fargo serviced
mortgage loan may eliminate the ability to utiliw. the mortgage to help meet the criteria needed to waive
the monthly service fee on your account and obtain additional benefits. To discuss the account options
that are available to you, including converting your current consumer checking account to another
Wells Fargo checking account, please visit a Wells Fargo store near you. To meet with a banker at your
convenience, you can go to welisfargo.com and schedule an appointment. As always, you can call
1-80o-869-3337 where experienced Wells Fargo bankers are available 24 hours a day, 7 days a week to
assist you with all your financial needs.
About automatic payments
If your mortgage payments are automatically deducted from your bank account, hire through our
Preferred Payment Ransil service, this service will be discontinued as of the transfer date. Please
contact Caliber Home Loans, Inc. for information about their automatic mortgage payment programs.
About changes to your credit life insurance or other optional products
If you currently have credit life insurance or other optional product(s), these products will not transfer
to Calker Home Loans, Inc. If you want to continue coverage, contact your insurance carrier or optional
product carrier to arrange to pay them directly.
About year-end IRS reporting
You win receive a year-end IRS 1098 statement from us that will show the amount of reportable
mortgage interest mortgage insurance paid Cif applicable) and any real estate taxes paid on your behalf
by Wells Fargo Home Mortgage. We will Moil this statement to you no later than January 31 next year.
Contact information
• Before November 17, 2015 -Wells Fargo HOMO Mortgage
  If you have any questions about your lean Or this transfer before November 17,2015 please call a
  Wells Fargo Home Mortgage customer service representative toll free at the phone number listed in
  the account information section on page one.




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                                           APPX0066
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                                                            Account Information
                                                             tam number: oce;58648m
                                                             Property- oddness soft Devotion Ridge
                                                                                lienderson NV 89052

• On and 1%4" November 17, 2015 - Caliber Home Loans, Inc.
  Any questions you may have about your loan on or after November 17, 2015 should be directed to
  Caliber Home loans, Inc.:

    — Call a Caliber Home Loans, Inc. customer service representative at 1-800-57o-6768, Monday
      through Thursday 8:00 a.m. to 9:00 p.m. and Friday 8:oo a.m. to 7:oo p.m. Central rime.
    — Send all correspondence on and after November 17, 2015 to the following address:
                 Caliber Home Loans, Inc.
                 P.O. Box 24610
                 Oklahoma City, OK 73124-0610

Thank you.

Sincerely,




IR. Russell
Senior Vice President
Wells Fargo Home Mortgage




A0334 70430154




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                                                               120 of 457
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                                            EXHIBIT "8"




Assignment of Deed of Trust from Wells Fargo Bank, NA., 1 Home
Campus, Des Moines, IA 50328-0001 to U.S. Bank Trust, N.A., As
    Trustee for LSF9 Master Participation Trust Recorded on
               07/19/2016 Ins. #20160719-0001786




                             APPX0068
                                                                                                     121 of 457
Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 121 of 457
                                                                                       lust* 20160719-0001786
                                                                                       Fees: $18.00
                                                                                       WC Fee: S0.00
                                                                                       0711912016 02:40:30 PM
 APN # 178-19-312-078
                                                                                       Receipt* 2821686
 Recording Requested By:                                                               Request=
 And When Recorded Mail To: T.D. Service Company 4000 W.                               TD SERVICE COMPANY
 Metropolitan Dr. Suite# 400 Orange, CA 92868                                          Recorded By: CCJAMES Pgs: 2
 41-fr3c2L-73 -10-t1                                                                   DEBBIE CONWAY
 Customer#: 1/1           ASSIGNMENT OF DEED OF TRUST                                  CLARK COUNTY RECORDER
 Service#: 73174AS1
 11111la il!!!11!1111111111111111 -
  3 it        51


 The undersigned does hereby affirm that this document submitted for recording does not contain personal
 information about any person.

 FOR VALUE RECEIVED, WELLS FARGO BANK, N.A., 1 HOME CAMPUS, DES MOINES, IA
 50328-0001, hereby assign and transfer to U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER
 PARTICIPATION TRUST, 13801 WIRELESS WAY, OKLAHOMA CITY, OK 73134-0000 all its right,
 title and interest in and to said Deed of Trust in the amount of $388,000.00, recorded in the State of NEVADA,
 County of CLARK Official Records, dated MAY 17, 2007 and recorded on MAY 25, 2007, as Instrument
 No. 200705250001298, in Book No. at Page No. --.
 Executed by: YOUSIF HALLOUM AND IMAN Y. HALLOUM, HUSBAND AND WIFE (as trustors).
 UNITED IITLe. Of NEVADA, as trustee and, WELLS FARGO ISANK, N.A. as the original beneficiary.
 Legal Description: As more fully described in said Deed of Trust, APN # 178-19-312-078.

  Date: JUNE 20, 2016
  WELLS FARGO BANK, N.A., B ALIBER HOME LOANS, INC., AS ATTORNEY IN FACT



  By.
        Roy Lacey, Authorized Signatory




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                                                                                                            122 of 457
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 Loan#: 9804248517 Srv#: 73174AS1
 Page 2

 State of       OKLAHOMA
 County of      OKLAHOMA

 On JUNE 20, 2016, before me, Dannietle Ewald, a Notary Public, personally appeared Roy Lacey, who
 proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the
 within instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized
 e.7.arnaity(ita) and that by hlenitheir aignatura(s) on the. inatura;:nt thc paranga), c,r thc antity upon behalf cf
 which the person(s) acted, executed the instrument.
 Witness my hand and official seal.

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                                                                         4 1100C171
                                                                        EXP. 01/07/19
  (Notary Name): Dannlelle Ewald
  My commission expires: 01/07/2019

  Prepare By: STEPHANIE L BURDICK
                                                           RECORDER'S NOTE:
                                                       NOTARY STAMP/SEAL IS VISIBLE,
                                                      HOWEVER IT IS FRAGMENTED AND
                                                         MAY NOT BE REPRODUCIBLE




                                                APPX0070
                                                               123 of 457
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                                            EXHIBIT "9"



12/18/2015 Plaintiffs (Homeowners) received from Caliber Home
      Loans Letter in which the terms of Loan Modification
         inconsistent with the terms set by Fannie Mae
                 and Wells Fargo Home Mortgage.




                             APPX0071
                                                                                               124 of 457
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      Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 125 of 457




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                                            EXHIBIT "10"



 12/24/2015 Plaintiffs (Homeowners) opposition to Caliber Home
     Loans for changing the terms of the "Loan Modification"
      in their letter dated December 18, 2015 already set by
        Fannie Mae and Wells Fargo the servicer SPA for
          for Fannie Mae certified FedEx 782036380267




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                                                                                    127 of 457
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                                  Served through certified Fedex



   To: CALIBER HOME LOANS
       1500 Dragon St.        Suite A
       Dallas, D( 75207
   Re. Loan Number 00009804248517
   Property Address: 2428 Devotion Ridge Drive
                      Henderson, NV 89052


   Attention: SPOC Department


   This is t.o advise yott that I am in receipt of your letter dated December 18,2015 which is
   not in consistent with the terms of the "Trial Period Plan Notice' copy of which is attached.
   Please be further advised of the followings:
       The undersigned borrower has successfully completed the "Trial Period Plan Payments"
       for October, November, and December 2015 on a timely manner.
   .2 Wells Fargo Mortgage advised the undersigned borrower that the Modified loan at the
       end of successful trial period would be $237,07233 reduced by the:trial.period paymmts
       and amortized over 480 months fixed.
       Sec page 7 of the attached document under paragraph stating:
       "During the trial period, we may accept and post your trial period payments to your
       account and it will not affect foreclosure proceedings that have already been started.
       You agree that we may hold the trial period payments in an account until sufficient funds
       are in the account to pay each of your monthly trial period payment obligations. You
       also agree that we will not pay you interest on the amounts held in -the account Ay
       amounts remaining at the end of the trial period will be applied to any outstanding
       amounts that you owe at the end of the trial period reducing the amount that will
       otherwise be added to the principal balance of your modified loan.




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  3. According to Wells Fargo they confirmed to me that they have already provided you
      with all of the records including the attached document and the terms of modification
      agreed upon.


   Please note that the undersigned borrower is 71 years old and having health problems and
   does not need any aggravations. CALIBER home loans letter dated December 18, 2015 is in
   violation of Nevada state law and also Federal law for not following the agreed terms with
   Wells Fargo.
   You are kindly requested to proceed immediately with the loan modification on the same
   terms agreed upon with Wells Fargo Mortgage.




   cc. Law Offices of Daniel Weiss




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                                                                                    129 of 457
                                                                         Page 1 of 1
     Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 129 of 457


 Subj:      FedEx Shipment 782036380267 Delivered
 Date:      12/24/2016 7:22:42 A.M. Pacific Standard Time
 From:      trackinguodatesOfedex.com
 Reply-to: trackingmailafedex.corn
 To:        noor1230ao1.com


 This tracking update has been requested by:

• Name:                  Yousif Hailoum
  E-mail:               noor123@aol.com

  Our records indicate that the following shipment has been delivered:

  Ship (PM) date:         Dec 23, 2015
  Delivery date:         Dec 24, 2015 9:16 am
  Sign for by:          K.DUNCAN
  Delivery location:      Dallas, TX
  Delivered to:         Mailroom
  Delivery date:         Thu, 12/24/2015 9:16 am
  Service type:          FedEx Standard Overnight
  Packaging type:          FedEx Envelope
  Number of pieces:         1
  Weight               0.50 lb.
  Special handling/Services: Deliver Weekday

  Tracking number.              782036380267

  Shipper information                  Recipient Information
  Henderson                          Dallas
  NV                            TX
  US                            US

  Please do not respond to this message. This email was sent from an unattended
  mailbox. This report was generated at approximately 9:22 AM CST
  on 12/24/2015.
   To learn more about FedEx Express, please visit our website at fedex.com.

   All weights are estimated.
   To track the status of this shipment online, please use the following:
   https://www.fedex.com/insight/finditinrp.jsp?
   tracknumbers=7820363802678tlanguage=en&opco=FX&clientype=ivpodairt

   This tracking update has been sent to you by FedEx on the behalf of the
   Requestor noted above. FedEx does not validate the authenticity of the
   requestor and does not validate, guarantee or warrant the authenticity of the
   request, the requestor's message, or the accuracy of this tracking update. For
   tracking results and fedex.com's terms of use, go to fedex.com.
   Thank you for your business.




                                      Thursday, December 24, 2015 AOL: N00R123


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                                            EXHIBIT "11"




Red Rock Financial Recorded a "Notice of Foreclosure Sale" with
Clark County Recorder on 12/18/2019 Inst. # 20191218-0002942
        and served on the Homeowner Yousif Halloum




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            ce-rn                        :2619                                                                                       VIA .CERTIF,IEP                                                             ASS: MAIL

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    2428 Devotion.Ridge•Drive.
   :Renderson,'NV
    ...       •   820.-2!
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                        Inspiration at Green Valley Ranch :Homeowners:Association /gf1.116-.

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                                         .obtained will k.e.used for that paTose.

     EncIosed please fitirl a copy of the Notice. of Forecimure Sale. This:. notfekibeing sent ,to any parties
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             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 132 of 457

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                 :•:SERVICES: . -AT, (702) 93276887% .:        . YOU. 'NEED::
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                    sell at jOU.0116 auction to the highest bidder, for caSh,payable..at: the time of sale In 1i6Wft41..•:
                    ipprjoy%.pf the :United . States, . 4.y.oasn.i'a.cashiees-theok.drawn:by..astate or national • Oenfe.•,..1
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                                                          APPX0080
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Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 133 of 457




   .Asessor•Pbreal.NDinheit 178-10412474
     iIeNum1ieiR17l.7O
    Properly.Adcirp; 2428 Devotion Ridge Dr
                      Honderhon.:NV:89052'




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        Igthorizedjq.do busii-re,sin the State of :Nevada; in: the aindliht :Of *ziAtts :90 as :of
             .• , ,i.....
     .12/17/200.       wNch:..'indudes the total amount of the unpaid balance and reasonabV
  : :estimated. :costs, expenses: and ::advances atithe;:,tirne- of the initial publication of thts
      notice. Any subsequent Association assessments, . late .feeS:, interest, expenses or
       edvancements, if any, ..of the )ssociation or its Agent, under the terms 0 the Lien f.O. •
       Delinquent .A'seSsments.shaticontinue to accrue;                               the saJe. ::The prapeity
     :heretofore descrIbed is being Sold "ag.ils?4;
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                     . sale w141 be made .vvithdOt. C.OVengitit,::
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      .rta.t.ditig, but not limited to, title or possession, encumbrances, obligations to satisfy any
   1:SecUiecl: bt...tiriseCo red liens or against all. right, .title and interest of the :Owner, Without...
       equity or right :of redenVtion to satisfy.the:indebtedneSS secured by, salci.. Lien, ,:with
    : Interest thereon, • as : provided in: the Declaration of Covenants,: ; Conditions "ahrt.
       Restrictions,.recorded on. 0712.2/2002,..1n:Bodk Number 200207.22, As :Instrument Number
.      01871 of the Official Records in the Office of the ReclOy401-:: and: any. :Oubsequ.e:0
  . .. Mehdrnent.4...0  ..r. updates that ....;:. .„...   ....        .
      etedl..De6ibet17,14):t9;.

          "E*141r
    lrpared By Sara Trevino, Red- Rock Finarici4e,i7vices, en.lietiON of..intOiratiOn t Green
  : Valley Ranch .Homeowners Association.
            -
    STATE OF NEVADA
    -COUNTY OF CLARK
     06i Dm.clibtr      7.01. before Me,..personally: a ppear4d Sata. Vey.' hof prsorolly:!kttit5w,n
     to 0.*:(b.r.;proved to 'me on the basis of satisfactory evidence) to be the person whose
     6iArne is subscribed to tt.le. within instrument and acknowledged to me that they executed
     the same in their authorized .capaeity, and that by their signature an the instrument the
     peraon,.:or the entity MIPPn tiehalf of which:thg-Orw'ri acted,. executed the instiument.
     WE         'friy hni a d official seal.



         listatgment Informatign: : 02).483-q996. or Sale Information: (949) 960-9155
     When Recorded Mail 1"140,'.
     .Red Rock Financial Services                                                  .4 • ----     db.
      770 E Warm. Springs Road Stiito. 320                             -,L JUEA01QMP$0#4.i
      Las Vegas, Nevada 89119                                                     Stiti.fit 1440' •
                                                          4
     #02) 483-2996 or (702) 32...-680.7.                               .4015OintmetirNo.084024.: :
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                                            APPX0081
                                                                            134 of 457
           Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 134 of 457


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   'Suite120         .„
   !42s Vea,.NV 8911
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"                   -                            Halloym
     1.A.VNas;,11.v, 8011,i9               248 DevptiOn Ridge Pnvp:..
....   :
                                         :iHenderson. NV..89052




                                           APPX0082
                                                               135 of 457
Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 135 of 457




                                            EXHIBIT "12"




 With the consent of Caliber Home Loans, Red Rock Financial
    Requested and Recorded Subordination Agreement to
        Existing Deed of Trust and Acknowledgment of
      Payment of Super Priority Lien included Amounts
         Of fines, late fees, interest, dues, and costs of
            collection Recorded at Clark County on
             12/23/2019 Inst # 20191223-0002142




                             APPX0083
                                                                                                         136 of 457
Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 136 of 457
                                                                                        Inst *0: 20191223-0002142
                                                                                        Fees: 640.00
                                                                                        12/2312019 12:44:29 PM
                                                                                        Receipt*: 3938706
                                                                                        Requestor
 Assessor Parcel Number: 178-19-312-078                                                 RED ROCK FINANCIAL SERVICES
 File Number: R17170                                                                    Recorded By: RYUD Pgs: 1

 WHEN RECORDED MAIL TO:
                                                                                         DEBBIE CONWAY
 Precedent Management                                                                    CLARK COUNTY RECORDER
 7875 NW l2th Street, Suite 108                                                          Src: ERECORD
 Dorai, FL 33126                                                                         Ofc: ERECORD




  SUBORDINATION AGREEMENT TO EXISTING DEED OF TRUST AND ACKNOWLEDGMENT
        OF PAYMENT OF SUPER PRIORITY LIEN AMOUNT UNDER NRS 116.3116(2)
 This is regarding the Notice of Delinquent Assessment Lien recorded 11/20/2007 as Book Number 20071120,
 and Instrument Number 0000346, ("Notice of Delinquent Assessment Lien").
 FOR AND IN CONSIDERATION of the sum of $2,435.12 received from Caliber Home Loans, the servicer /
 beneficiary Of a Deed of Trust (the "Deed of Trust") dated 5/17/2007 and recorded on 5/25/2007 as Book NO,
 20070525 and Instrument No. 0001298 with the Office of the recorder of Clark County, Nevada, against the
 real property described below; the undersigned does hereby acknowledge receipt of the super-priority portion
 of the lien as described in the Notice of Default and Election to Sell Pursuant to the Lien for Delinquent
 Assessments ("Notice of Default") recorded on 06/06/2008, as Book 20080606 and Instrument Number
 0000885 with the Office of the Clark County Recorder in and for Clark County, Nevada, in accordance with
 NRS 116.3116(2). For and in consideration of said payment, and for purposes of any sale relating to the
 above-referenced Notice of Default, the super-priority portion of said lien is hereby deemed satisfied and the
 remainder of the lien is declared to be subordinated to the Deed of Trust.
 The remaining unsatisfied portion of the Delinquent Assessment Lien may be enforced through any available
 means, including the initiation and completion of foreclosure proceedings based thereon, but the remaining
 portion is and shall be subordinate to the Deed of Trust.
 Property Address: 2428 Devotion Ridge Dr, Henderson, NV 89052
 Legal Description: INSPIRATION AT GREEN VALLEY RANCH-UNIT 1 PLAT BOOK 103 PAGE 8 LOT
 16


 Dated December 20, 2019


 B     rriFiVino, Authorized Agent for Inspiration at Green Valley Ranch Homeowners Association
 STATE OF NEVADA
 COUNTY OF CLARK

 On December 20, 2019, before me, personally appeared Sara Trevino, personally known to me (or proved
 to me on the basis of satisfactory evidence) to be the person whose name is subscribed to the within instrument
 and acknowledged to me that they executed the same in their authorized capacity, and that by their signature on
 the instrument the person, or the entity upon behalf of which the person acted, executed the instrument
                           fficial seal.

                                                                          JULIA THOMPSON
                                                          A             Notary Public, State of Nevada
                                                                         Appointment No. 08-79324
                                                                        My Appt. Expires Sept. 4, 2020




                                             APPX0084
                                                               137 of 457
Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 137 of 457




                                            EXHIBIT "13"



 On 04/26/2016 Defendants Assessment Management Services
         on behalf of HOA demanded and collected from
                  Caliber Home Loans $4,462.34.




                             APPX0085
• Filed 05/02/16. ... ........... . ..... ........ .                                             138 of 457
          Case 2:22-cv-01787-MMD-EJY                 ....... Document 11 Filed 11/03/22 Page 138 of 457
                                                                  Can" .21417 ....



                                                  ASSESSMENT
                                                  xAN A0.634 w.:T szRvrans
                                            Assessn2ent Management Services
               6655 S. CIN1ARRON ROAD, SUITE 201 * LAS VEGAS NV 89113 * (702) 856-3808 * FAX (702) 880-4699
                                         E-mail: customerservice@amsresults.com



                                                                                                                         FILED
                                                                  krit26, 2016                                          MAY

                                                                                                              UNITED STATES BANKRUPTCY COUR'
                                                                                                               EASTERN DISTRICT OF CALIFORNIA
                              Creditor (Our Client):        Green Valley Ranch Community Assoc.                                 AS
                              Debtor Name(s).:              YonsifE Eiallourn
                              Unit Address:                 2428 Devotion Ridge Drive, Henderson, NV 89052
                              AMS Acct No.:                 AMS1085-10433
                              BK Case No.:                  CA Case #12-21477 (CH 7)




             To Whom It May Concern,

             Assessment Management Services, on behalf of Green Valley Ranch Community Assod, does'hereby respectfully
             withdrawCialm #5 Orierrily fiIed on February 15,2012 for the amount of $4,462.34.
             Our records indicate that the pre-petition arrearage has been completely tatixfied as of April 26, 2016.
             If you ha;ve any.additional .questions or concerns, please feel free..to. CO. t vs at (702).8,5.80..t.144 etP=a1 at
             bankruptCy@amaesults.com.

             Sincerely



       .      AbbeY R9driguez
              Qualified Manager
      ....    Assessment Management Strikes


              cc: . File




                                                                    Neliee to Consumer
               Pursuant to and in accordance with the Pair Debt Collection Practices Act [15 U.S.C.1692, et seq.] and all applicable sections of
               Nevada Revised Statutes Chapters 116 and 649, AssessmentManagement Services provides the following notirmation(s). This
               communication is from a debt collector. This is an atom:Tito collect a debt. Any intbnaration obtained will be used for the
               purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and does not imply that we are
               attempting to collect a debt that has been discharged under the bankruptcy laws of the United States.




                                                             APPX0086
                                                                                                                                                             139 of 457
           Case
Filed 4741M14.1    2:22-cv-01787-MMD-EJY
                Form 10)
                                              Document 11 Filed 11/03/22 Page 139 of 457
                                 ,* PLEASE NOTE INFIVAel7USalkiFERSE SIDE**                                                                                                   Cl   im 5-1
     i UNITED STA l'ES BANKRUPTCY COURT - Eastern District of California                                                 PROOF OF CLAIM Chapter
      (Sacramento)                                                                                                                                   0 13 011 07 0 Other

      Name of Debtor                                                       Case Number                                  (This space for court use)
                                                                             12 21477
                                                                                                   Ok
        YOUSIF H HALLOUM
      NOTE This form should NOT be used so make a damn for an adinnnstratme twine arising after the commencement of
      The case. A ',meta" for payment atm admmutratwe eapeme may be filed pursuant to fl V SC Sechon 503                                     FILED
      Name of Creditor (The person or other entity to whom                 1111 Check box if you are aware that
      the debtor owes money or property)                                        anyone else has filed a proof of
      GREEN VALLEY RANCH COMMUNITY ASSOC                                        claim relating to your claim                f              FEB 1 5 2012
                                                                                Attach copy of statement giving
      Name & address where notices should be sent
      GREEN VALLEY RANCH CA
                                                                           .....learticulaxs
                                                                           NCheck box if you have never                          UNITED STATES BANKRUPTCY COURT
      do ASSESSMENT MANAGEMENT SERVICES                                                                                                               CALIFORNIA
      6655 S CIMARRON ROAD SUITE 201
                                                                                received any notices from the                   J EASTERN DISTRICT OF
                                                                                bankruptcy court in this case
      LAS VEGAS NV 89113
      Telephone number (702) 856 3808                                      0Check box if the address differs
                                                                                from the address on the enve
                                                                           Imie sent to you by the court

      Account or other number by which creditor identifies                 Cheek here if this claim
      debtor AMS1085 10433                                                    Dreplaces         Damends               a previously filed claim dated

      I BASIS FOR CLAIM                         Ii Retiree benefits as defined in IIUSC I114(a)
          III Goods sold                        D Wages salaries and compensation (FILL OUT BELOW)
          0 Services performed                       Your Social Security #
              Money loaned                           Unpaid compensation for services performed from
         El   Personal injury/wrongful death
          D Taxes                                     (date)                        To               (date)
          )14 Other HOMEOWNERS ASSOCIATION ASSESSMENTS 0) $4700 PER MONTH

      2 Date debt was incurred 4/26107 If court judgment, date obtained

      4 Total amount of claim at time case filed $4,462 34
         11' all or part of your claim is secured or entitled to priority also complete Item 5 or 6 below
         rill Check this box if claim includes interest or other charges in addition to the principal amount of the claim Attach an itemized statement
              of all interest or additional charges

      5 Secured Claim                                                       6 Unsecured Priority Claim
         ISI Check this box if your claim is secured by                       DCheck this box if you have an unsecured pnonty claim
            collateral (including a right of setoff)                             Amount entitled to pnonty $
                                                                                  Specify the priority of the claim
          Brief description of collateral                                         0 Wages salaries or commissions up to $4,650* earned within 99 days
             ZReal Estate         OMotor Vehicle                                    before filing of the bankruptcy petition or cessation of the debtor=s
                                                                                    business whichever is earlier 11USC 507(a)(3)
                  Other                                                           0Contnbutions to an employee benefit plan 11 U S C 507(a)(4)
                                                                                  DUp to $2,100* of deposits toward purchase lease or rental of property
         Value of collateral $190,000 00                                            Or services for personal family or household use 11 U SC 507(a)(6)
       Amount of arrearage and other charges at time case
                                                                                  II Alimony maintenance or support owed to a spouse former spouse or
         filed included in secured claim if any
                                                                                    child 11 U SC 507(a)(7)
                  $4,462 34                                                       0Taxes or penalties owed to governmental units 11 U SC 507(a)(8)
                                                                                  DOTHER Specify applicable paragraph of 11 U SC 507(a)(                    )
                                                                             Amounts are subject to adjustment on 4/1198 and every three years thereafter with respect to cases
                                                                            commenced on or after the date of adjustment

       7 Credits The amount of all payments on this claim has been credited and deducted for the                          (This space for court use)
          purpose of snaking this proof of claim
       8 Supporting documents Attach copies of supporting documents such as promissory notes
          purchase orders invoices itemized statements of running accounts contracts court
          judgments mortgages security agreements and evidence of perfection of lien DO NOT
          SIND ORIGINAL DOCUMENTS lf the documents are not available explain If the
          documents are voluminous attach a summary
       9 Bate Stamped copy To receive an acknowledgment of the filing of your claim enclose a
          stamped self addressed envelope and a copy of this proof of claim
       Date             Sign and print the name and title if any of the creditor or other person
       authorized to file this claim (attach cop f p        attorney if any
                          MICHELLE PET             E            E     IONS MANAGER                                          '
       2/13112
                        L

      , Penalty for presentingfrauduknt claim Fine of up to $500 000 or impnsonment for up to 5 years or both 18 U S C                         152 & 3571




                                                                                  APPX0087
                                                                                                                                 140 of 457
          Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 140 of 457
iled 0211b/12                                                  Case 1271477                                                                       Claim 5-1
                                                                                                                  1111111111111111111111111111II111EE1111
r                                                                                                                 20071023-0002978
                                                                                                                Fee $14 00
                                                                                                                WC Fee $000
           APN# 17849-312-078                                                                                   1012312007             13 58 38
                                                                                                                T20070189024
           Green Valley Ranch Homeowners Association                                                            Requestor
           do TERRA WEST PROPERTY MANAGEMENT                                                                1     TITLE COURT SERVICE INC
           2655 S RAINBOW BLVD surrE 200
           LAS VEGAS NV 89146                                                                                   Debbie Conway                     JJF
           (702) 251-4596
           E mail kpatrick@terrawest.com                                                                        Clark County Recorder             Pgs

           October 19 2007                                   US FIRST CLASS MAIL &
                                                             CER firma) MAIL RETURN RECEIPT REQUES LID
           225
           Yousif & man Y Hallo= sN.
           2428 Devotion Ridge Drive v‘
           Henderson NV 89052                       ACCOMODATION
           RE        DELINQUENT BALANCE - $78738
                     Account no  00150-5203

                                        NOTICE OF CLAIM OF DELINQUENT ASSESSMENT LIEN
           NOTICE IS HEREBY GIVEN that in accordance with Nevada Revised Statutes Section 116 3116 and the Declaration of
           Covenants Conditions and Restrictions (CC&Rs) of Green Valley Ranch Homeowners Association recorded as official
           records of Clark County Nevada, and all Amendments and Annexations thereto at seq which have been supplied to and agreed
           toy said and reputed owner the Association has made demand for payment of the total amount due and said sum has not been
           paid Therefore a hen is hereby claimed by Green Valley Ranch Houseuvmers Association upon the real property buildings,
           improvements and structures thereon described as follows

            Commonly known as            2423 Devotion Ridge Dnve Henderson, NV 89052
            Legal Description            INSPIRATION AT GREEN VALLEY
                                         RANCH UNIT 1
                                         PLAT BOOK 103 PAGE 8
                                         LOT 16


            The Yowl & Iman Y Balloon; is/are the owner(s) and the reputed owner(s) of said real property and improvements described
            above

            THE AMOUNT OWING AND UNPAID TOTAL is $787.38 as of October 19,2007 This amount may include assessments
            late fees special assessments fines, collection fees, trustee fee and mterest Assessments late fees and interest will continue to
            accrue pursuant to Green Valley Ranch Homeowners Association CC&Rs as well as additional fees of the agent for the
            Association incurred in connection with preparation recording and foredosure of this hen All payments submitted must be in
            the form of a Cashier s Check or Money Order and teemed no later than November 20 2007 to avoid enforcement of this lien

            Dated October 19 2007                                             STATE OF NEVADA)
                                                                              COUNTY OF CLARK)

            BY No,—     katm, ilk
                S :77riylo      v .‘tikW
                                           AL    A                            This mstru"eat was ac •
                                                                              On             Day of
                                                                                                                  befo me, a Notary Public
                                                                                                                       2007
                Terra West Property                  for
                Green Valley Ranch Homeowners Association
                                                                                    Patricia Rossol Notary Public

            WHEN RECORDED RETURN TO
            Green Valley Ranch Homeowners Association                                               PATRICIA ROSSOL
            do TERRA wFsT PROPERTY MANAGEMENT                                                   Notary Public, State of Nevada
            2655 S RAINBOW BLVD SUITE 200 * LAS VEGAS NV 89146                                   Appointment No. 02-792104
            Account No 00150-5203                                                               My Apt Expires Dec 11, 201re




                                                                APPX0088
                                                                                                                                  141 of 457
           Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 141 of 457
Filed 02/15/12                                                   Case 12-21471                                                                     Claim 5


                                                                                                          Receipt/Conformed Copy
                                                                                                       Requester
                                                                                                       TITLE COURT SERVICE INC
          APN# 178-19-312-078                                                                                                                ,„„
                                                                                                       02114121128 14 41 31
                                                                                                       Beekilestr 2w0214-0002826
          Green Valley Ranch Homeowners Association
          do TERRA WEST PROPERTY MANAGEMENT                                                            tan           Pep count 1
          2655 S RAINBOW BLVD SUITE 200                                                                Fees $14 00 Nit Fee $0 00
          LAS VEGAS NV 89146
          (702)251-4596
                  nunedrano@terrawesixom
                                                                                                        Debbie Conway
          February 13,2008                                       US FIRST CLASS MAIL &                  Clark Coto* Recorder
                                                           CERTIFIED MAIL RETURN RECEIPs rce.vt.i tS 1W
          225
          Haltom Family Trust
          Yousif N & Iman Y Hallourn Trs
          2428 Devotion Ridge Drive
          Henderson, NV 89052

          RE       DELINQUENT BALANCE - $105628
                   Account no  00150-5203

                                NOTICE OF CLAIM OF AMENDED DELINQUENT ASSESSMENT LIEN
          NOTICE IS HEREBY GIVEN that in accordance with Nevada Revised Statutes Section 116 3116 and the Declaration of
          Covenants, Conditions and Restrictions (CC&Its) of Green Valley Ranch Homeowners Association recorded as official
          records of Clark County. Nevada, and all Amendments and Annexations thereto et sect , winch have been supplied to and agreed
          to by said and reputed owner, the Association has made demand for payment of the total amount due and said sum has not been
          paid Therefore a hen is hereby claimed by Green Valley Ranch Homeowners Association upon the real property buildings,
          improvements and structures thereon, described as follows

          Commonly known as            2428 Devotion Ridge Drive Henderson, NV 89052
          Legal Description            INSPIRATION AT GREEN VALLEY RANCH UNIT 1 PLAT BOOK t03 PAGE 8 LOT 16


          The Ballo= Family Trust & Yousif H & Iman Y Hanoi= Trig, is/are the owner(s) and the reputed owner(a) of said teal
          property and improvements described above

          THE AMOUNT OWING AND UNPAID TOTAL is $1,056 28 as of February 13, 2008 This amount may include
          assessments late fees special assessments, fines collection fees, trustee foe, and interest Assessments, late fees, and interest
          will continue to accrue pursuant to Green Valley Ranch Homeowners Association CC&Rs, as well as additional fees of the agent
          for the Association incurred in connection with preparation, recording and foreclosure of this hen All payments submitted must
          be in the form of a Cashier's Check or Money Order and received no later than March 13 2008 to avoid enforcement of this hen
          Dated February 1.1 2008                                          STATE OF NEVADA)
                                  .__.                                     COUNTY OF CLARK)
                      .136•
                          -v
          BY         _Ate-f." AiftdSlili                                   This liCwasacknenv pH ore in; a Notary Public
                   • Tay or                                                On this     Day of             008
               Terns West                                                                     AL,
                                              agenitatTr
               Green Valley RanehTlomeowners Assoc    on                   By               _
                                                                                Martha :    Notary Public

          WHEN RECORDED RETURN TO
          Green Valley Ranch Homeowners Association
          c/o TERRA WEST PROPERTY MANAGEMENT
          2655 S RAINBOW BLVD SUITE 200 * LAS VEGAS NV 89146
          Account No 00150-5203




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                                                                                                                    142 of 457
           Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 142 of 457
Filed 02/15/12                                            Case 12-21477                                                          Claim 5-1
                                                                                                inst # 201101200000098
                                                                                                Fees $14 00
                                                                                                NM Fee $0 00
                                                                                                01/20/2011 08 14 04 AM
                                                                                                Receipt # 647611
            AM/ 178-19-312-078                                                                I Requestor
            NOTICE Or DEFAULT AND ELECTION TO SELL                                              ASSESSMENT MANAGEMENT
            UNDER NOTICE OF ASSESSMENTS CLAIM                                                   SERVI
            & LIEN IMPORTANT NOTICE
                                                                                                Recorded By SIN Fp
            WARNING! IF YOU FAIL TO PAY THE                                                     DEBBIE CONWAY
            AMOUNT SPECIFIED IN THIS NOTICE,                                                    CLARK COUNTY RECORDER
            YOU COULD LOSE YOUR ROME, EVEN
            IF THE AMOUNT IS IN DISPUTE!
            YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE DELINQUENT IN YOUR GREEN
            VALLEY RANCH COMMUNITY ASSOCIATION INC ASSESSMENTS YOUR PROPERTY MAY BE
            SOLD WrnIOUT ANY COURT ACTION You have the legal ught to bring your =omit cutient by paying all
            of the past due assessments plus permitted costs and expenses, including interest and late fees, within the time
            permitted by Lau for the leinstatement of your account Ninety (90) days fi am the 'molded date of this Notice
            of Default, a sale date will be set
            NOTICE IS HEREBY GIVEN that the GREEN VALLEY RANCH COMMUNITY ASSOCIATION, INC is
            the hen holder and beneficraiy under an Assessment Lien recorder! on 02114/2008, and recorded as Instrument/
            Book Numbei 200802140002826 of Official Recoids, in Claik County, Nevada to mine ceitam obligations
            undo the Declaration of Covenants, Conditions, and Restrictions Assessment Management Services has been
            appointed and designated as the authoi ired agent of the GREEN VALLEY RANCH COMMUNITY
            ASSOCIATION, INC to conduct the foreclosure of this piopeity described as
            Commonly known as            2428 Devotion Ridge Di ive Hendeison NV 89052
            Legal Description            INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                         PLAT BOOK 103 PAGE 8 LOT 16 SEC 19 TWP 22 RNG 62
            Assessoi's Paicel No         178-19 312 078
            Purpoited Owner              Halloum Family Tiust & Yousif IT& Iman Y Hallount TRS
            Amount due as of Janualy 14, 2011, is $3,614 71 This amount may include assessments, late fees, special
            assessments, collection fees, tnistee fee, and interest The beneficial inteiest under such Claim of Lien and the
            obligations smiled thereby are presently held by the undeisigned A bleach of, and default, in the obligations
            for which such hen is seemed has occuned in that payment has not been made By reason thereof, the pi esent
            beneficiary under such Claim of Lien has declared and does heieby declaie all sums secured thereby
            immediately due and payable, and has elected to cause the property to be sold to satisfy the obligations seemed
            thereby
            PURSUAN TO NEVADA REVISED STATUES, CHAPTER 116 a sale will be held if thus obligation is not
            paid in full within ninety (90) from the date of tecorchng of this Notice
            Dated January 14, 2ft11                                   STATE OF NEVADA COUNTY OF CLARK)
                                                                      Tins instrument was acknowledged before me on January
             BY                                                       14, 2011 by "" Arch 0 Nebron ****
                 Arch G Nehron
                 Assessment Management Services as agent for          By (-4(KMAX-Pikix-0-&---
                  GREEN VALLEY RANCH CA, INC                                Marina Medrano, Notary Public

            WHEN RECORDED RLTLTRN TO                                                       M MEDRANO
            GREEN VALLEY RANCH CA, INC                                 6/1
                                                                         4:7
                                                                           1:::: Notary Public Sone of Nevada
                                                                                  Al
                                                                       tfst46r,i,„.•   APPT NO 09 9432 1
            C/0 Assessment Management Services
                                                                                    My Apo Expires March 20 2013
            PO Box 80660
            Las Vegas, NV 89180
            Account No AMS1085-10433




                                                           APPX0090
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       Account Name Halloum Family Trust & Yousif & Irnan Y                                  Assessment Management Services
       Hallo= TRS                                                                                       6655 South Cimarron
       Unit Address 2428 Devotion Ridge Drive                                                                          #201
       Association Green Valley Ranch                                                                  Las Vegas, NV, 89113
       Firm File No AMS1085-10433 Mgmt Co File No 1505203                                               Phone 702-856-3808

       BankruptcyPre-Petition
       Trans Date Type              Description                                    Ongmal      Open Amount          Balance
                                                                                   Amount
       01/06/2012 AMS First Class $2 per mailing piece 2 addresses                   $400             $4 00       $4,462 34
                   Mailing Fee
       01/06/2012 AMS First Class USPS postage cost per mailing piece, 2             $0 88            $0 88       $4,458 34
                   Mailing Cost    addresses
       01/01/2012 Assessment-      Recurring Charges 01/01/2012                    $4700             $4700        $4,457 46
                   Monthly
       12/31/2011 BOA Late         Late Interest 12/31/2011                          $854             $854        ¶4,41046
                   Interest
       12/31/2011 BOA Late Fees Late Fee 12/31/2011                                $1000             $1000        $4 401 92
       12/01/2011 Assessment-      Recurring Charges 12/01/2011                    $41 00            $41 00       $4,391 92
                   Monthly
       11/30/2011 BOA Late         Late Interest 11/30/2011                          ¶836             $836        $4 350 92
                   Interest
       11/30/2011 BOA Late Fees Late Fee 11/30/2011                                 $1000            $1000        $4 342 56
       11/01/2011 Assessment-      Recurring Charges 11/01/2011                     $41 00           $41 00       $4,332 56
                   Monthly
       10/31/2011 II0A Late        Late Interest 10/31/2011                          $818             $818        $4,291 56
                   Interest                        .
       10/31/2011 HOA Late Fees Late Fee 10/31/2011                                 $1000            $1000        ¶4,28338
       10/01/2011 Assessment-      Reeurrmg Charges 10/01/2011                      $41 00           $41 00       $4,273 38
                   Monthly
       09/30/2011 BOA Late         Late Interest 09/30/2011                          $7 99            $799        $4,232 38
                   Interest
       09/30/2011 BOA Late Fees Late Fee 09/30/2011                                 ¶1000            ¶1000        ¶4,22439
       09/01/2011 Assessment-      Recurnng Charges 09/01/2011                      $41 00           $41 00       $4,214 39
                    Monthly
                                                                           _...,
       08/31/2011 'BOA Late         Late Interest 08/31/2011                         $799              $799       $4,173 39
                    Interest
        08/31/2011 HOA Late Fees Late Fee 08/31/2011                                $1000             $1000       $4 165 40
       08/15/2011 AMS First Class $2 per mailing piece-2 addresses                   $400              $400       $4 155 40
                     Mailing Fee
        08/15/2011 AMS First Class USPS postage cost per mailing piece-2             $0 88             $0 88       $4,151 40
                    Mailing Cost    addresses
        08/01/2011 Assessment-      Recurring Charges 08/01/2011                    $41 00            $41 00       $4,150 52
                     Monthly
        07/31/2011 BOA Late         Late Into:est-07/31/2011                         $7 63             $7 63       $4,109 52
                      Interest
        07/31/2011 HOA Late Fees Late Fee 07/31/2011                                $1000             $1000        $4,101 89
        07/01/2011 Assessment      'Recumng Charges 07/01/2011                      $41 00            $41 00       $4,091 89
                     Monthly
        06/30/2011 BOA Late         Late Interest 06/30/2011                         $7 45             $7 45       $4,050 89
                      Interest
                    t
        06/30/2011 BOA Late Fees Late Fee 06/30/2011                                $1000             ¶1000        $4,043 44
        06/01/2011 Assessment-      Recumng Charges 06/01/2011                      $41 00            $41 00       ¶4,03344
                      Monthly
        05/31/2011 140A Late        Late Interest 05/31/2011                         $7 27             $7 27       ¶3,99244
                      Interest




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        05/31/2011 HOA Late Fees        Late Fee 05/31/2011                          $1000     $1000         $3,985 17
        05/01/2011 Assessment-          Recumng Charges 05/01/2011                   $41 00    $41 00        $3,975 17
                   Monthly
        04/30/2011 HOA Late             Late Interest 04/30/2011                      $7 09      $7 09       $3,934 17
                   Interest
        04/30/2011 HOA Late Fees        Late Fee 04/30/2011                          $1000     $1000         $3,927 08
        04/01/2011 Assessment-          Recurring Charges 04/01/2011                 $41 00    $41 00        $3,917 08
                   Monthly
        03/31/2011 HOA Late Fees        Late Fee 03/31/2011                          $1000     $1000         $3,8760&
        03/31/2011 HOA Late             Late Interest 03/31/2011                      $691      $691         $3,866 08
                   Interest
        03/01/2011 Assessment-          Recurring Charges 03/01/2011                 $41 00    $41 00        $3,859 17
                   Monthly
        02/28/2011 HOA   Late           Late Interest 02/28/2011                      $6 73'     $673        $3,818 17
                   Interest
        02/28/2011 HOA Late Fees        Late Fee 02/28/2011                          $1000      $1000        $3,811 44
        02/01/2011 Assessment-          Recurring Charges 02/01/2011                 $41 00     $41 00       $3,801 44
                   Monthly
        01/31/2011 HOA Late Fees        Late Fee 01/31/2011                          $1000      $10 001      $3,76044
        01/31/2011 HOA Late             Late Interest 01/31/2011                      $673       $673        $3,750 44
                   Interest
        01/26/2011 AMS Cert             for the NOD Notice                           $1000      $1000        $3,743 71
                   mailing fee
        01/26/2011 AMS Cert             $10 per notice to 12 vested interested       $12000    $12000        $3,733 71
                   mailing fee          party per TSG 10 day mailings
        01/14/2011 AMS NOD Fee          for the enforcement of the lien recording/   $395 00   $395 oo"      $3,613 71
                                        release fee
         01/14/2011 .J TSG policy fee   for pymt to First Amencan Title              $37800    $37800         $3 218 71
         01/01/2011 Assessment-         Recumng Charges 01/01/2011                    $4100     $4100         $2 840 71
                       Monthly
         12/31/2010 HOA Late            Late Interest 12/31/2010                       $673      $673         $2,799 71
                       Interest
         11/30/2010 HOA Late            Late Interest 11/30/2010                       $6 19     $6 19        $2,792 98
                       Interest
         11/02/2010 AMS Final           unpaid lien                                   $5000     $5000         $2,786 79
                       demand
         11/02/2010 Final Add           for final demand                              $1000     $1000         $2 736 79
                       Postage
         10/31/2010 ' HOA Late.         Late Interest 10/31/2010                       $6 19     $6 19        $2,726 79
                       Interest
         10/31/2010 HOA Late Fees       Late Fee 10/31/2010                           $1000     $1000         $2,720 60
         10/01/2010 Assessment          Recurring Charges 10/01/2010                 $123 00   $12300         $2,710 60
                       Quarterly
         09/30/2010 HOA Late            Late Interest 09/30/2010                       $6 19     $6 19        $2,587 60
                       Interest
         08/31/2010 HOA Late            Late Interest 08/31/2010                       $6 19     $6 19        $2,581 41
                        Interest
          07/31/2010 HOA Late            Late Interest 07/31/2010                      $5 65     $565         $2 575 22
                        Interest
          07/31/2010 HOA Late Fees      Late Fee 07/31/2010                           $1000     $1000         $2 569 57
          07/01/2010 Assessment-        Recurring Charges 07/01/2010                 $123 00   $123 00        $2,559 57
                        Quarterly
          06/30/2010 HOA Late            Late Interest 06/30/2010                      $5 65      $5 65       $2,436 57
                        Interest
          05/31/2010 BOA Late            Late Interest 05/31/2010                      $5 11     $5 11        $2,430 92
                        Interest




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        04/30/2010 110A Late        Late Interest 04/30/2010                     $5 11     $5 11      $2,425 81
                     Interest
        04/30/2010 BOA Late Fees Late Fee 04/30/2010                            $10 00    $10 00      $2,420 70
        04/01/2010 Assessment-      Recumng Charges 04/01/2010                 5123 00   $123 00      $2,410 70
                     Quarterly
        03/31/2010 HOA Late         Late Interest 03/31/2010                     $5 11     $5 11      $2,287 70
                     Interest
        02/28/2010 HOA Late         Late Interest 02/28/2010                     54 57     $4 57      $2 282 59
                     Interest
        01/31/2010 HOA Late         Late Interest 01/31/2010                     $457      $457       $2,278 02
                     Interest
        01/31/2010 HOA Late Fees Late Fee 01/31/2010                            $1000     $1000       $2,273 45
        01/01/2010 Assessment       Recumng Charges 01/01/2010                 $12300    $12300       $2,263 45
                     Quarterly
        12/31/2009 HOA Late         Late Interest 12/31/2009                     $457      $457       $2,140 45
                     Interest
        11/30/2009 HOA Late         Late Interest 11/30/2009                     $408      $4 08      $2,135 88
                     Interest
        10/31/2009 HOA Late       ' Late Interest 10/31/2009                     $408      $408       $2,131 80
                     Interest
        10/31/2009 HOA Late Fees Late Fee 10/31/2009                            $1000     $1000       52,127 72
        10/01/2009 Assessment       Recumng Charges 10/01/2009                 5111 00   $111 00      $2 117 72
                     Quarterly
        09/30/2009 HOA Late         Late Interest 09/30/2009                     $408      $4 08      $2 006 72
                     Interest
        08/31/2009 BOA Late         Late Interest 08/31/2009                     $408      $408       $2,002 64
                     Interest
        07/31/2009 BOA Late         Late Interest 07/31/2009                     $4 08     5408       $1,998 56
                     Interest                                              ,
        07/31/2009 HOA Late Fees Late Fee 07/31/2009                            $1000     $1000       $1,994 48
        07/01/2009 Assessment-      Recurring Charges 07/01/2009               $111 00   $111 00      $1,984 48
                     Quarterly
        06/30/2009 HOA Late         Late Interest 06/3012009                     58 16     $8 16      $1,873 48
                      Interest
        06/23/2009 AMS Final        unpaid assessment hen                       $5000     $50 00      $1,865 32
                      demand
        06/23/2009 AMS Cert         for the final demand letter                 $1000     $10 00       $1,815 32
                      mailing fee
         06/23/2009 TW management prep file 81. follow up on collections        $5000     $50 00       $1 805 32
                      fee
         05/31/2009 HOA Late        Late Interest 05/31/2009                     $8 16     $8 16       $1,755 32
                      Interest
         04/30/2009 BOA Late        Late Interest 04/30/2009                     58 16     $8 16       51 747 16
                      Interest
         04/30/2009 HOA Late Fees Late Fee 04/30/2009                           $1000     $10 00       $1,739 00
         04/01/2009 Assessment-      Recurnng Charges 04/01/2009               5111 00   5111 00       $1,729 00
                      Quarterly
         03/31/2009 HOA Late         Late Interest 03/31/2009                    57 05     $7 05       51,618 00
                      Interest
         02/28/2009 HOA Late •       Late Interest 02/28/2009                    $705      $705        $1,610 95
                       Interest
         01/31/2009 HOA Late         Late Interest 01/31/2009                    $7 05     $7 05       $1,603 90
                       Interest
         01 /31/2009 HOA Late Fees Late Fee 01/31/2009                          $1000     $1000        51,596 85
         01/01/2009 Assessment-      Recumng Charges 01/01/2009                5111 00   $111 00       $1,586 85
                       Quarterly




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       12/31/2008 HOA Late         Late Interest 12/31/2008                    $594      $594        $1,475 85
                   Interest
       10/31/2008 HOA Late         Late Interest 10/31/2008                    $5 94     $5 94       $1,469 91
                   Interest
       10/31/2008 HOA Late Fees    Late Fee 10/31/2008                        $10 00    $1000        $1,463 97
       10/01/2008 Assessment-      Recumng Charges 10/01/2008                 $9900     $99 00       $1,453 97
                   Quarterly
                                                                        1._
       08/30/2008 HOA Late         Late Interest 08/30/2008                    $495      $495        $1,354 97
                   Interest
       07/31/2008 HOA Late         Late Interest 07/31/2008                    $495      $4 95       $1,350 02
                   Interest
       07/31/2008 HOA Late Fees    Late Fee 07/31/2008                        $1000     $1000        $1,345 07
       07/01/2008 Assessment-      Recumng Charges 07/01/2008           1     $9900     $9900        $1,335 07
                   Quarterly
       06/30/2008 HOA Late         Late Interest 06/30/2008                    $3 9e     $3 96       $1,236 07
                   Interest
       05/31/2008 HOA Late         Late Interest 05/31/2008                    $396      $396        $1,232 11
                   Interest
       05/16/2008 TW Final         Next step del-referral                     $50 00    $50 00       $1,228 15
                   Demand
       04/30/2008 HOA Late         Late Interest 04/30/2008                    $495      $495        $1,178 15
                   Interest
       04/30/2008 HOA Late Fees    Late Fee 04/30/2008                         $1000     $1000       $1,173 20
       04/15/2008 TW Mortgage      Of II0A hen per NRS 116                    $10000    $10000       $1,163 20
                   Letter
       04/01/2008 Assessment-      Recurring Charges 04/01/2008                $9900     $99 00      $1 063 20
                   Quarterly
       03/31/2008 HOA Late         Late Interest 03/31/2008                    $396       $3 96        $96420
                   Interest
       02/29/2008 HOA Late         Late Interest 02/29/2008                    $3 96      $3 96        $96024
                   Interest
       02/04/2008 TW Fee PDP/      to trustee service                          $5000     $50 00        $95628
                    DFR
       01/31/2008 HOA Late Fees    Late Fee 01/31/2008                         $1000     $1000         $90628
       01/31/2008 HOA Late         Late Interest 01/31/2008                     $3 96     $3 96        $89628
                    Interest
       01/01/2008 Assessment-      Recurring Charges 01/01/2008                $99 00    599 00        $892 32
                    Quarterly
        12/31/2007 HOA Late        Late Interest 12/31/2007                     $2 97     $2 97        $793 32
                    Interest
        12/14/2007 TW Final        Next step del referral                      $5000     $5000         $790 35
                    Demand
        11/30/2007 HOA Late        Late Interest 11/30/2007                     $2 97     52 97        $740 35
                    Interest
        11/06/2007 TW Mortgage     of HOA hen per NRS 116                      $5000     $5000         $737 38
                    Letter
        10/18/2007 TW Lien Fee     hen/release/recording fee                  5395 00   $395 00        $687 38
                    Assessments
        10/01/2007 Assessment-     Recurring Charges 10/01/2007                $9900     $9900         $292 38
                    Quarterly
        08/26/2007 HOA Late        Late Interest 08/26/2007                     $2 97     52 97        $193 38
                    Interest
        08/26/2007 HOA Late Fees   Late Fee 08/26/2007                         $1000     $1000         $19041
        07/26/2007 HOA Late        Late Interest 07/26/2007                     $2 97     52 97        $18041
                    Interest
        07/26/2007 HOA Late Fees   Late Fee 07/26/2007                         $1000     $1000         $17744




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       07/01/2007 Assessment-       Reeumng Charges 07/01/2007      $9900         $9900        $16744
                  Quarterly
       06/28/2007 Tw Intent to Lien June 60 day delinquent         $35 00         $35 00        $68 44
                  Assessments
       06/26/2007 HOA   Late        Late Interest 06/26/2007         $1 48         $1 48        $33 44
                  Interest
       06/26/2007 HOA Late Fees Late Fee 06/26/2007                 $1000         $1000         $31 96
       05/26/2007 HOA Late          Late Interest 05/26/2007         $I 48         $1 48        $21 96
                  Interest
       05/26/2007 HOA Late Fees Late Fee 05/26/2007                 $10 00        $10 00        $20 48
       04/26/2007 HOA Late          Late Interest 04/26/2007         $1 48         $1 48        $1048
                  Interest
       04/26/2007 HOA   Late Fees   Late Fee 04/26/2007              $900          $9 00          $9 00



       Trans Date   Type            Description                    Onginal   Open Amount        Balance
                                                                   Amount
       02/01/2012 Assessment-       Recurring Charges 02/01/2012    $47 00        $47 00         $65 90
                  Monthly
       01/31/2012 HOA Late          Late Interest 01/31/2012         $890          $890          $1890
                  Interest
       01/31/2012 HOA Late Fees     Late Fee 01/31/2012             $1000         $1000          $1000          c.




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                                            EXHIBIT "14"




  On 01/03/2020 Defendants Red Rock Financial on behalf of
       HOA demanded and collected from Caliber Home
                  Loans the amount $21,363.99.




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                                                      Accounting Ledger
                                                 Information as of: July 12, 2022


Account Number:                 17170
Association:                    Inspiration at Green Valley Ranch Homeowners Association
Property Address:               2428 Devotion Ridge Or, Henderson, NV 89052
Ledger Balance:                 $0.00
Homeowner(s):                   YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                        Amount        Balance      Pmt Ref               Memo
8/28/2006      Balance Transfer from Prior                           $25.93         $25.93                         trsfr del from prior

9/1/2006       Monthly Assessment                                   $102.85       $128.78

10/1/2006      Monthly Assessment                                   $102.85       $231.63

11/1/2006      Monthly Assessment                                   $102.85       $334.48

12/1/2006      Monthly Assessment                                   $102.85       $437.33

1/1/2007       Monthly Assessment                                   $113.14       $550.47

2/1/2007       Monthly Assessment                                   $113.14       $663.61

2/15/2007      Late Fees                                             $10.00       $673.61

3/1/2007       Monthly Assessment                                   $113.14       $786.75

4/1/2007       Monthly Assessment                                    $25.93       $812.68                          "Partially applied item
                                                                                                                   during Sync
4/1/2007       Monthly Assessment                                    $87.21       $899.89                          "Added from partially
                                                                                                                   applied transaction
5/1/2007       Monthly Assessment                                   $113.14     $1,013.03

5/18/2007      Payment                                             ($786.75)      $226.28    1326

6/1/2007       Monthly Assessment                                   $113.14       $339.42

6/15/2007      Late Fees                                             $10.00       $349.42

7/1/2007       Monthly Assessment                                   $113.14       $462.56

7/15/2007      Late Fees                                             $10.00       $472.56

8/1/2007       Monthly Assessment                                   $113.14       $585.70

8/6/2007       Mailing Costs                                          $9.00       $594.70                          Halloum/Yousif

8/6/2007       Intent to Lien Letter                                 $95.00       $689.70

8/6/2007       Mailing Costs                                          $9.00       $698.70                          Halloum/lman Y.

8/20/2007      Lien Release                                          $35.00       $733.70

8/20/2007      Lien Recording Costs                                  $28.00       $761.70

8/20/2007      Mailing Costs                                          $9.00       $770.70                          Halloum/Iman Y.

8/20/2007      Mailing Costs                                          $9.00       $779.70                          Halloum/Yousif

8/20/2007      Lien for Delinquent Assessment                       $275.00     $1,054.70

8/30/2007      Association Interest                                   $8.49     $1,063.19

9/1/2007       Monthly Assessment                                   $113.14     $1,176.33




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                                                     Accounting Ledger
                                                Information as of: July 12, 2022


Account Number:                17170
Association:                   Inspiration at Green Valley Ranch Homeowners Association
Property Address:              2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:                $0.00
Homeowner(s):                  YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                       Amount        Balance      Pmt Ref             Memo
9/24/2007      Intent to NOD                                        $90.00     $1,266.33

9/30/2007      Association Interest                                 $10.18     $1,276.51

10/1/2007      Assessment                                          $113.14     $1,389.65

10/15/2007     Late Fee                                             $10.00     $1,399.65

10/30/2007     Association Interest                                 $11.88     $1,411.53

11/1/2007      Assessment                                          $113.14     $1,524.67

11/16/2007     Red Rock Charge Adjustment                         ($446.00)    $1,078.67

11/16/2007     Mailing Costs                                         $9.00     $1,087.67                        Halloum/Yousif

11/16/2007     Lien for Delinquent Assessment                      $275.00     $1,362.67

11/16/2007     Lien Release                                         $35.00     $1,397.67

11/16/2007     Lien Recording Costs                                 $28.00     $1,425.67

11/16/2007     Mailing Costs                                         $9.00     $1,434.67                        Halloum/lman Y.

11/30/2007     Association Interest                                 $13.58     $1,448.25

12/1/2007      Assessment                                          $113.14     $1,561.39

12/15/2007     Late Fee                                             $10.00     $1,571.39

12/30/2007     Association Interest                                 $15.28     $1,586.67

1/1/2008       Assessment                                          $124.45      $1,711.12

1/15/2008      Late Fee                                             $10.00      $1,721.12

1/30/2008      Association Interest                                 $17.15      $1,738.27

2/1/2008       Assessment                                          $124.45      $1,862.72

2/15/2008      Late Fee                                             $10.00      $1,872.72

2/29/2008      Association Interest                                 $19.02      $1,891.74

3/1/2008       Assessment                                          $124.45      $2,016.19

3/15/2008      Late Fee                                             $10.00      $2,026.19

3/30/2008      Association Interest                                 $20.89      $2,047.08

4/1/2008       Assessment                                          $124.45      $2,171.53

4/15/2008      Late Fee                                             $10.00      $2,181.53

4/30/2008      Association Interest                                 $22.74      $2,204.27




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                                                       Accounting Ledger
                                                  Information as of: July 12, 2022


Account Number:                  17170
Association:                     Inspiration at Green Valley Ranch Homeowners Association
Property Address:                2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:                  $0.00
Homeowner(s):                    YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                         Amount        Balance      Pmt Ref             Memo
5/1/2008       Assessment                                            $124.45     $2,328.72

5/9/2008       Intent to NOD                                          $90.00     $2,418.72

5/15/2008      Late Fee                                               $10.00     $2,428.72

5/30/2008      Association Interest                                   $24.61     $2,453.33

6/1/2008       Assessment                                            $124.45     $2,577.78

6/2/2008       Notice of Default                                     $375.00     $2,952.78

6/2/2008       NOD Mailing Costs                                      $90.00     $3,042.78

6/2/2008       NOD Recording Costs                                    $14.00     $3,056.78

6/2/2008       NOD Release                                            $35.00     $3,091.78

6/2/2008       NOD Release Recording Costs                            $14.00     $3,105.78

6/2/2008       Trustee Sale Guarantee                                $350.00     $3,455.78

6/2/2008       NOD Mailing Charges Adjustment                        ($18.00)    $3,437.78

6/15/2008      Late Fee                                               $10.00     $3,447.78

6/30/2008      Association Interest                                   $26.47     $3,474.25

7/1/2008       Assessment                                            $124.45     $3,598.70

7/15/2008      Late Fee                                               $10.00     $3,608.70

7/30/2008      Association Interest                                   $28.35     $3,637.05

8/1/2008       Assessment                                            $124.45     $3,761.50

8/14/2008      Intent to NOS                                          $90.00     $3,851.50

8/14/2008      Mortgage Letter                                        $60.00     $3,911.50

8/15/2008      Late Fee                                               $10.00     $3,921.50

8/29/2008      Fine/Violation                                         $50.00     $3,971.50

8/30/2008      Association Interest                                   $30.22     $4,001.72

9/1/2008       Assessment                                            $124.45     $4,126.17

9/15/2008      Late Fee                                               $10.00     $4,136.17

9/30/2008      Association Interest                                   $32.09      $4,168.26

10/1/2008      Assessment                                            $124.45      $4,292.71

10/3/2008      Fine/Violation                                        $100.00      $4,392.71                       SY maint - 10/3/08




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                                                 Information as of: July 12, 2022


Account Number:                 17170
Association:                    Inspiration at Green Valley Ranch Homeowners Association
Property Address:               2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:                 $0.00
Homeowner(s):                   YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                        Amount        Balance      Pmt Ref             Memo

10/3/2008      Fine/Violation                                       $100.00     $4,492.71                        SY maint- 9/26/08

10/3/2008      Fine/Violation                                       $100.00     $4,592.71                        SY maint - 9/19/08

10/3/2008      Fine/Violation                                       $100.00     $4,692.71                        SY maint - 9/12/08

10/15/2008     Late Fee                                              $10.00     $4,702.71

10/17/2008     Fine/Violation                                       $100.00     $4,802.71                        SY maint- 10/17/08

10/17/2008     Fine/Violation                                       $100.00     $4,902.71                        SY maint- 10/10/08

10/27/2008     Fine/Violation                                       $100.00     $5,002.71                        SY maint- 10/24/08

10/28/2008     Fine/Violation                                        $50.00      $5,052.71                       Trim shrubs - 10/27/08

10/28/2008     Fine/Violation                                        $50.00      $5,102.71                       Trim palms - 10/27/08

10/30/2008     Fine/Violation                                       $100.00      $5,202.71                       SY maint- 10/31/08

10/30/2008     Association Interest                                  $33.95      $5,236.66

11/1/2008      Assessment                                           $124.45      $5,361.11

11/13/2008     Fine/Violation                                        $50.00      $5,411.11                       s/y maint. 5/11/08

11/13/2008     Fine/Violation                                        $50.00      $5,461.11                       s/y maint. 5/11/08

11/13/2008     Fine Adjustment/Reduction                           ($400.00)     $5,061.11

11/14/2008     Fine/Violation                                        $50.00      $5,111.11                       Trim shrubs - 11/10/08

11/14/2008     Fine/Violation                                        $50.00      $5,161.11                       Trim palms - 11/10/08

11/15/2008     Late Fee                                              $10.00      $5,171.11

11/17/2008     Fine/Violation                                        $50.00      $5,221.11                       Trim shrubs - 11/17/08

11/17/2008     Fine/Violation                                        $50.00      $5,271.11                       Trim palms- 11/17/08

11/21/2008     Fine/Violation                                        $50.00      $5,321.11                       SY maint- 11/21/08

11/24/2008     Fine/Violation                                        $50.00      $5,371.11                       Trim shrubs - 11/24/08

11/24/2008     Fine/Violation                                         $50.00     $5,421.11                       Trim palms - 11/24/08

11/30/2008     Association Interest                                   $35.81     $5,456.92

12/1/2008      Assessment                                            $124.45     $5,581.37

12/4/2008      Fine/Violation                                         $50.00     $5,631.37                       SY maint - 12/5/08

12/4/2008      Fine/Violation                                         $50.00     $5,681.37                       SY maint - 11/28/08

12/4/2008      Fine/Violation                                         $50.00     $5,731.37                       Trim shrubs - 12/1/08




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                                                 Information as of: July 12, 2022


Account Number:                 17170
Association:                    Inspiration at Green Valley Ranch Homeowners Association
Property Address:               2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:                 $0.00
Homeowner(s):                   YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                        Amount        Balance      Pmt Ref             Memo

12/4/2008      Fine/Violation                                        $50.00     $5,781.37                        Trim palms - 12/1/08

12/8/2008      Fine/Violation                                        $50.00     $5,831.37                        Trim shrubs - 12/8/08

12/8/2008      Fine/Violation                                        $50.00     $5,881.37                        Trim palms - 12/8/08

12/11/2008     Fine/Violation                                        $50.00     $5,931.37                        SY maint - 12/12/08

12/15/2008     Late Fee                                              $10.00     $5,941.37

12/16/2008     Fine/Violation                                        $50.00     $5,991.37                        Trim shrubs - 12/15/08

12/16/2008     Fine/Violation                                        $50.00     $6,041.37                        Trim palms - 12/15/08

12/19/2008     Fine/Violation                                        $50.00     $6,091.37                        SY maint - 12/19/08

12/22/2008     Fine/Violation                                        $50.00     $6,141.37                        Trim shrubs - 12/22/08

12/22/2008     Fine/Violation                                        $50.00     $6,191.37                        Trim palms - 12/22/08

12/24/2008     Fine/Violation                                        $50.00     $6,241.37                        SY maint - 12/26/08

12/29/2008     Fine/Violation                                        $50.00      $6,291.37                       Trim shrubs - 12/29/08

12/29/2008     Fine/Violation                                        $50.00      $6,341.37                       Trim palms - 12/29/08

12/30/2008     Association Interest                                  $37.67      $6,379.04

1/1/2009       Assessment                                           $125.00      $6,504.04

1/15/2009      Late Fees                                             $10.00      $6,514.04                       Late Fees

1/15/2009      Fine Adjustment/Reduction                           ($300.00)     $6,214.04                       void FINES per mgr

1/30/2009      Association Interest                                  $39.54      $6,253.58

2/1/2009       Monthly Assessment                                   $125.00      $6,378.58                       Monthly Assessment

2/15/2009      Late Fees                                             $10.00      $6,388.58                       Late Fees

2/20/2009      Intent to NOS                                          $90.00     $6,478.58

2/20/2009      Mortgage Letter                                        $60.00     $6,538.58

2/28/2009      Association Interest                                   $41.41     $6,579.99

3/1/2009       Monthly Assessment                                    $125.00     $6,704.99                       Monthly Assessment

3/15/2009      Late Fees                                              $10.00     $6,714.99                       Late Fees

3/30/2009      Association Interest                                   $43.28     $6,758.27

4/1/2009       Monthly Assessment                                    $125.00     $6,883.27                       Monthly Assessment

4/15/2009      Late Fees                                              $10.00     $6,893.27                       Late Fees




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                                                      Accounting Ledger
                                                 Information as of: July 12, 2022


Account Number:                 17170
Association:                    Inspiration at Green Valley Ranch Homeowners Association
Property Address:               2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:                 $0.00
Homeowner(s):                   YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                        Amount        Balance     Pmt Ref            Memo
4/30/2009      Association Interest                                  $45.15     $6,938.42

5/1/2009       Monthly Assessment                                   $125.00     $7,063.42                      Monthly Assessment
5/15/2009      Late Fees                                             $10.00     $7,073.42                      Late Fees
5/30/2009      Association Interest                                  $47.02     $7,120.44

6/1/2009       Monthly Assessment                                   $125.00     $7,245.44                      Monthly Assessment
6/15/2009      Late Fees                                             $10.00     $7,255.44                      Late Fees
6/30/2009      Association Interest                                  $48.89     $7,304.33

7/1/2009       Monthly Assessment                                   $125.00     $7,429.33                      Monthly Assessment
7/15/2009      Late Fees                                             $10.00     $7,439.33                      Late Fees
7/30/2009      Association Interest                                  $14.35     $7,453.68

8/1/2009       Monthly Assessment                                   $125.00     $7,578.68                      Monthly Assessment
8/15/2009      Late Fees                                             $10.00     $7,588.68                      Late Fees

8/30/2009      Association Interest                                  $14.90     $7,603.58

9/1/2009       Monthly Assessment                                   $125.00     $7,728.58                      Monthly Assessment

9/10/2009      Certified Mail                                        $36.00     $7,764.58                      4 mailings

9/10/2009      New Contact/Final Notice                              $75.00     $7,839.58

9/15/2009      Late Fees                                             $10.00     $7,849.58                      Late Fees

9/30/2009      Association Interest                                  $15.45     $7,865.03

10/1/2009      Monthly Assessment                                   $125.00     $7,990.03                      Monthly Assessment

10/15/2009     Late Fees                                             $10.00     $8,000.03                      Late Fees

10/31/2009     Association Interest                                  $16.00     $8,016.03

11/1/2009      Monthly Assessment                                   $125.00     $8,141.03                      Monthly Assessment

11/15/2009     Late Fees                                             $10.00     $8,151.03                      Late Fees

11/17/2009     Fine                                                  $50.00     $8,201.03                      Fine

11/30/2009     Association Interest                                  $16.55     $8,217.58

12/1/2009      Monthly Assessment                                   $125.00     $8,342.58                      Monthly Assessment

12/1/2009      Fine                                                  $50.00     $8,392.58                      Fine

12/8/2009      Fine                                                  $50.00     $8,442.58                      Trim palm fonds




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                                              Information as of: July 12, 2022


Account Number:              17170
Association:                 Inspiration at Green Valley Ranch Homeowners Association
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $0.00
Homeowner(s):                YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                     Amount        Balance      Pmt Ref             Memo

12/15/2009     Fine                                               $50.00     $8,492.58                        Fine

12/15/2009     Late Fees                                          $10.00     $8,502.58                        Late Fees

1/1/2010       Monthly Assessment                                $125.00     $8,627.58                        Monthly Assessment

1/15/2010      Late Fee                                           $10.00     $8,637.58

2/1/2010       Monthly Assessment                                $125.00     $8,762.58                        Monthly Assessment

2/15/2010      Late Fee                                           $10.00     $8,772.58

3/1/2010       Monthly Assessment                                $125.00     $8,897.58                        Monthly Assessment

3/15/2010      Late Fees                                          $10.00     $8,907.58                        Late Fees

4/1/2010       Monthly Assessment                                $125.00     $9,032.58                        Monthly Assessment

4/15/2010      Late Fees                                          $10.00      $9,042.58                       Late Fees

5/1/2010       Monthly Assessment                                $125.00      $9,167.58                       Monthly Assessment

5/15/2010      Late Fee                                           $10.00      $9,177.58

6/1/2010       Monthly Assessment                                $125.00      $9,302.58                       Monthly Assessment

6/15/2010      Late Fees                                          $10.00      $9,312.58                       Late Fees

7/1/2010       Monthly Assessment                                $125.00      $9,437.58                       Monthly Assessment

7/15/2010      Late Fee                                           $10.00      $9,447.58

8/1/2010       Monthly Assessment                                $125.00      $9,572.58                       Monthly Assessment

8/15/2010      Late Fees                                           $10.00     $9,582.58                       Late Fees

9/1/2010       Monthly Assessment                                 $125.00     $9,707.58                       Monthly Assessment

9/15/2010      Late Fees                                           $10.00     $9,717.58                       Late Fees

10/1/2010      Monthly Assessment                                 $125.00     $9,842.58                       Monthly Assessment

10/15/2010     Late Fee                                            $10.00     $9,852.58

11/1/2010      Monthly Assessment                                 $125.00     $9,977.58                       Monthly Assessment

11/15/2010     Late Fee                                            $10.00     $9,987.58

12/1/2010      Monthly Assessment                                 $125.00    $10,112.58                       Monthly Assessment

12/15/2010     Late Fees                                           $10.00    $10,122.58                       Late Fees

1/1/2011       Monthly Assessment                                 $125.00    $10,247.58                       Monthly Assessment

1/15/2011      Late Fee                                            $10.00    $10,257.58




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                                              Information as of: July 12, 2022


Account Number:              17170
Association:                 Inspiration at Green Valley Ranch Homeowners Association
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $0.00
Homeowner(s):                YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                     Amount        Balance      Pmt Ref             Memo

2/1/2011       Monthly Assessment                                $125.00    $10,382.58                        Monthly Assessment

2/15/2011      Late Fees                                          $10.00    $10,392.58                        Late Fees

3/1/2011       Monthly Assessment                                $125.00    $10,517.58                        Monthly Assessment

3/15/2011      Late Fees                                          $10.00    $10,527.58                        Late Fees

4/1/2011       Monthly Assessment                                $125.00    $10,652.58                        Monthly Assessment

4/15/2011      Late Fees                                          $10.00     $10,662.58                       Late Fees

5/1/2011       Monthly Assessment                                $125.00     $10,787.58                       Monthly Assessment

5/15/2011      Late Fees                                          $10.00     $10,797.58                       Late Fees

6/1/2011       Monthly Assessment                                $125.00     $10,922.58                       Monthly Assessment

6/15/2011      Late Fees                                          $10.00     $10,932.58                       Late Fees

7/1/2011       Monthly Assessment                                $125.00     $11,057.58                       Monthly Assessment

7/15/2011      Late Fees                                          $10.00     $11,067.58                       Late Fees

8/1/2011       Monthly Assessment                                $125.00     $11,192.58                       Monthly Assessment

8/15/2011      Late Fees                                          $10.00     $11,202.58                       Late Fees

9/1/2011       Monthly Assessment                                $125.00     $11,327.58                       Monthly Assessment

9/15/2011      Late Fees                                          $10.00     $11,337.58                       Late Fees

10/1/2011      Monthly Assessment                                $125.00     $11,462.58                       Monthly Assessment

10/15/2011     Late Fees                                          $10.00     $11,472.58                       Late Fees

11/1/2011      Monthly Assessment                                $125.00     $11,597.58                       Monthly Assessment

11/15/2011     Late Fees                                          $10.00     $11,607.58                       Late Fees

12/1/2011      Monthly Assessment                                $125.00     $11,732.58                       Monthly Assessment

12/15/2011     Late Fees                                           $10.00    $11,742.58                       Late Fees

1/1/2012       Monthly Assessment                                 $125.00    $11,867.58                       Monthly Assessment

1/15/2012      Late Fees                                           $10.00    $11,877.58                       Late Fees

1/27/2012      RRFS Monitor Bankruptcy                            $100.00    $11,977.58

2/1/2012       Monthly Assessment                                 $125.00    $12,102.58                       Monthly Assessment

2/15/2012      Late Fee                                            $10.00    $12,112.58

3/1/2012       Monthly Assessment                                 $125.00    $12,237.58                       Monthly Assessment




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                                              Information as of: July 12, 2022


Account Number:              17170
Association:                 Inspiration at Green Valley Ranch Homeowners Association
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $0.00
Homeowner(s):                YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                     Amount        Balance      Pmt Ref             Memo

3/15/2012      Late Fees                                          $10.00    $12,247.58                        Late Fees

4/1/2012       Monthly Assessment                                $125.00    $12,372.58                        Monthly Assessment

4/15/2012      Late Fees                                          $10.00    $12,382.58                        Late Fees

5/1/2012       Monthly Assessment                                $125.00     $12,507.58                       Monthly Assessment

5/15/2012      Late Fees                                          $10.00     $12,517.58                       Late Fees

6/1/2012       Monthly Assessment                                $125.00     $12,642.58                       Monthly Assessment

6/15/2012      Late Fees                                          $10.00     $12,652.58                       Late Fees

7/1/2012       Monthly Assessment                                $125.00     $12,777.58                       Monthly Assessment

7/15/2012      Late Fees                                          $10.00     $12,787.58                       Late Fees

8/1/2012       Monthly Assessment                                $125.00     $12,912.58                       Monthly Assessment

8/15/2012      Late Fees                                          $10.00     $12,922.58                       Late Fees

9/1/2012       Monthly Assessment                                $125.00     $13,047.58                       Monthly Assessment

9/15/2012      Late Fees                                          $10.00     $13,057.58                       Late Fees

10/1/2012      Monthly Assessment                                $125.00     $13,182.58                       Monthly Assessment

10/15/2012     Late Fees                                          $10.00     $13,192.58                       Late Fees

11/1/2012      Monthly Assessment                                $125.00     $13,317.58                       Monthly Assessment

11/15/2012     Late Fees                                           $10.00    $13,327.58                       Late Fees

12/1/2012      Monthly Assessment                                 $125.00    $13,452.58                       Monthly Assessment

12/15/2012     Late Fees                                           $10.00    $13,462.58                       Late Fees

1/1/2013       Monthly Assessment                                 $125.00    $13,587.58                       Monthly Assessment

2/1/2013       Monthly Assessment                                 $125.00    $13,712.58                       Monthly Assessment

3/1/2013       Monthly Assessment                                 $125.00    $13,837.58                       Monthly Assessment

3/15/2013      Late Fees                                           $10.00    $13,847.58                       Late Fees

4/1/2013       Monthly Assessment                                 $125.00    $13,972.58                       Monthly Assessment

4/15/2013      Late Fees                                           $10.00    $13,982.58                       Late Fees

5/1/2013       Monthly Assessment                                 $125.00    $14,107.58                       Monthly Assessment

5/15/2013      Late Fees                                           $10.00    $14,117.58                       Late Fees

6/1/2013       Monthly Assessment                                 $125.00    $14,242.58                       Monthly Assessment




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Account Number:              17170
Association:                 Inspiration at Green Valley Ranch Homeowners Association
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $0.00
Homeowner(s):                YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                     Amount        Balance      Pmt Ref             Memo

6/15/2013      Late Fees                                          $10.00    $14,252.58                        Late Fees

7/1/2013       Monthly Assessment                                $125.00    $14,377.58                        Monthly Assessment

7/15/2013      Late Fees                                          $10.00    $14,387.58                        Late Fees

8/1/2013       Monthly Assessment                                $125.00    $14,512.58                        Monthly Assessment

8/15/2013      Late Fees                                          $10.00     $14,522.58                       Late Fees

9/1/2013       Monthly Assessment                                $125.00     $14,647.58                       Monthly Assessment

9/15/2013      Late Fees                                          $10.00     $14,657.58                       Late Fees

10/1/2013      Monthly Assessment                                $125.00     $14,782.58                       Monthly Assessment

10/15/2013     Late Fees                                          $10.00     $14,792.58                       Late Fees

11/1/2013      Monthly Assessment                                $125.00     $14,917.58                       Monthly Assessment

11/15/2013     Late Fees                                          $10.00     $14,927.58                       Late Fees

12/1/2013      Monthly Assessment                                $125.00     $15,052.58                       Monthly Assessment

12/15/2013     Late Fees                                          $10.00     $15,062.58                       Late Fees

1/1/2014       Monthly Assessment                                $125.00     $15,187.58                       Monthly Assessment

1/15/2014      Late Fees                                          $10.00     $15,197.58                       Late Fees

2/1/2014       Monthly Assessment                                $125.00     $15,322.58                       Monthly Assessment

2/15/2014      Late Fees                                          $10.00     $15,332.58                       Late Fees

3/1/2014       Monthly Assessment                                $125.00     $15,457.58                       Monthly Assessment

3/15/2014      Late Fees                                           $10.00    $15,467.58                       Late Fees

4/1/2014       Monthly Assessment                                $125.00     $15,592.58                       Monthly Assessment

4/15/2014      Late Fees                                           $10.00    $15,602.58                       Late Fees

5/1/2014       Monthly Assessment                                 $125.00    $15,727.58                       Monthly Assessment

5/15/2014      Late Fees                                           $10.00    $15,737.58                       Late Fees

6/1/2014       Monthly Assessment                                 $125.00    $15,862.58                       Monthly Assessment

6/15/2014      Late Fees                                           $10.00    $15,872.58                       Late Fees

7/1/2014       Monthly Assessment                                 $125.00    $15,997.58                       Monthly Assessment

7/15/2014      Late Fees                                           $10.00    $16,007.58                       Late Fees

8/1/2014       Monthly Assessment                                 $125.00    $16,132.58                       Monthly Assessment




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                                              Information as of: July 12, 2022


Account Number:              17170
Association:                 Inspiration at Green Valley Ranch Homeowners Association
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $0.00
Homeowner(s):                YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                     Amount        Balance      Pmt Ref             Memo

8/15/2014      Late Fees                                          $10.00    $16,142.58                        Late Fees

9/1/2014       Monthly Assessment                                $125.00    $16,267.58                        Monthly Assessment

9/15/2014      Late Fees                                          $10.00    $16,277.58                        Late Fees

10/1/2014      Monthly Assessment                                $125.00    $16,402.58                        Monthly Assessment

10/15/2014     Late Fees                                          $10.00     $16,412.58                       Late Fees

11/1/2014      Monthly Assessment                                $125.00     $16,537.58                       Monthly Assessment

11/15/2014     Late Fees                                          $10.00     $16,547.58                       Late Fees

12/1/2014      Monthly Assessment                                $125.00     $16,672.58                       Monthly Assessment

12/15/2014     Late Fees                                          $10.00     $16,682.58                       Late Fees

1/1/2015       Monthly Assessment                                $125.00     $16,807.58                       Monthly Assessment

1/15/2015      Late Fees                                          $10.00     $16,817.58                       Late Fees

2/1/2015       Monthly Assessment                                $125.00     $16,942.58                       Monthly Assessment

2/15/2015      Late Fees                                          $10.00     $16,952.58                       Late Fees

3/1/2015       Monthly Assessment                                $125.00     $17,077.58                       Monthly Assessment

3/15/2015      Late Fees                                          $10.00     $17,087.58                       Late Fees

4/1/2015       Monthly Assessment                                $125.00     $17,212.58                       Monthly Assessment

4/15/2015      Late Fees                                          $10.00     $17,222.58                       Late Fees

5/1/2015       Monthly Assessment                                $125.00     $17,347.58                       Monthly Assessment

5/15/2015      Late Fees                                          $10.00     $17,357.58                       Late Fees

6/1/2015       Monthly Assessment                                $125.00     $17,482.58                       Monthly Assessment

6/18/2015      Late Fees                                           $10.00    $17,492.58                       Late Fees

7/1/2015       Monthly Assessment                                 $125.00    $17,617.58                       Monthly Assessment

7/15/2015      Late Fees                                           $10.00    $17,627.58                       Late Fees

8/1/2015       Monthly Assessment                                 $125.00    $17,752.58                       Monthly Assessment

8/15/2015      Late Fees                                           $10.00    $17,762.58                       Late Fees

9/1/2015       Monthly Assessment                                 $125.00    $17,887.58                       Monthly Assessment

9/15/2015      Late Fees                                           $10.00    $17,897.58                       Late Fees

10/1/2015      Monthly Assessment                                 $125.00    $18,022.58                       Monthly Assessment




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                                                  Accounting Ledger
                                             Information as of: July 12, 2022


Account Number:             17170
Association:                Inspiration at Green Valley Ranch Homeowners Association
Property Address:           2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:             $0.00
Homeowner(s):               YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting       Description                                     Amount        Balance      Pmt Ref             Memo

10/15/2015    Late Fees                                          $10.00    $18,032.58                        Late Fees

11/1/2015     Monthly Assessment                                $125.00    $18,157.58                        Monthly Assessment

11/15/2015    Late Fees                                          $10.00    $18,167.58                        Late Fees

12/1/2015     Monthly Assessment                                $125.00    $18,292.58                        Monthly Assessment

12/15/2015    Late Fees                                          $10.00    $18,302.58                        Late Fees

1/1/2016      Monthly Assessment                                $120.00    $18,422.58                        Monthly Assessment

1/15/2016     Late Fees                                          $10.00     $18,432.58                       Late Fees

2/1/2016      Monthly Assessment                                $120.00     $18,552.58                       Monthly Assessment

2/15/2016     Late Fees                                          $10.00     $18,562.58                       Late Fees

3/1/2016      Monthly Assessment                                $120.00     $18,682.58                       Monthly Assessment

3/15/2016     Late Fees                                          $10.00     $18,692.58                       Late Fees

4/1/2016      Monthly Assessment                                $120.00     $18,812.58                       Monthly Assessment

4/15/2016     Late Fees                                          $10.00     $18,822.58                       Late Fees

5/1/2016      Monthly Assessment                                $120.00     $18,942.58                       Monthly Assessment

5/15/2016     Late Fees                                          $10.00     $18,952.58                       Late Fees

6/1/2016      Monthly Assessment                                $120.00     $19,072.58                       Monthly Assessment

6/15/2016     Late Fees                                          $10.00     $19,082.58                       Late Fees

7/1/2016      Monthly Assessment                                $120.00     $19,202.58                       Monthly Assessment

7/15/2016     Late Fees                                          $10.00     $19,212.58                       Late Fees

8/1/2016      Monthly Assessment                                $120.00     $19,332.58                       Monthly Assessment

8/15/2016     Late Fees                                          $10.00     $19,342.58                       Late Fees

9/1/2016      Monthly Assessment                                $120.00     $19,462.58                       Monthly Assessment

9/15/2016     Late Fees                                           $10.00    $19,472.58                       Late Fees

10/1/2016     Monthly Assessment                                 $120.00    $19,592.58                       Monthly Assessment

10/15/2016    Late Fees                                           $10.00    $19,602.58                       Late Fees

11/1/2016 '   Monthly Assessment                                 $120.00    $19,722.58                       Monthly Assessment

11/15/2016    Late Fees                                           $10.00    $19,732.58                       Late Fees

12/1/2016     Monthly Assessment                                 $120.00    $19,852.58                       Monthly Assessment




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Account Number:              17170
Association:                 Inspiration at Green Valley Ranch Homeowners Association
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $0.00
Homeowner(s):                YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting      Description                                       Amount        Balance      Pmt Ref              Memo
12/15/2016   Late Fees                                             $10.00    $19,862.58                        Late Fees

1/1/2017     Monthly Assessment                                   $122.00    $19,984.58                        Monthly Assessment

1/15/2017    Late Fees                                             $10.00    $19,994.58                        Late Fees

2/1/2017     Monthly Assessment                                   $122.00    $20,116.58                        Monthly Assessment

2/15/2017    Late Fees                                             $10.00    $20,126.58                        Late Fees

3/1/2017     Monthly Assessment                                   $122.00    $20,248.58                        Monthly Assessment

3/15/2017    Late Fees                                             $10.00    $20,258.58                        Late Fees

4/1/2017     Monthly Assessment                                   $122.00    $20,380.58                        Monthly Assessment

4/15/2017    Late Fees                                             $10.00    $20,390.58                        Late Fees

5/1/2017     Monthly Assessment                                   $122.00    $20,512.58                        Monthly Assessment

5/15/2017    Late Fees                                             $10.00    $20,522.58                        Late Fees

6/1/2017     Monthly Assessment                                   $122.00    $20,644.58                        Monthly Assessment

6/15/2017    Late Fees                                             $10.00    $20,654.58                        Late Fees

7/1/2017     Monthly Assessment                                   $122.00    $20,776.58                        Monthly Assessment

7/15/2017    Late Fees                                             $10.00    $20,786.58                        Late Fees

8/1/2017     Monthly Assessment                                   $122.00    $20,908.58                        Monthly Assessment

8/15/2017    Late Fees                                             $10.00    $20,918.58                        Late Fees

8/17/2017    Payoff Demand                                        $150.00    $21,068.58                        Precedent

9/1/2017     Monthly Assessment                                   $122.00    $21,190.58                        Monthly Assessment

9/7/2017     Red Rock Partial Payment                          ($2,435.12)   $18,755.46   30025633             Partial Pmt Super
                                                                                                               Priority
                                                                                                               10/07-6/08
                                                                                                               SB 306
                                                                                                               not foreclosed
10/1/2017    Monthly Assessment                                   $122.00    $18,877.46                        Monthly Assessment

11/1/2017    Monthly Assessment                                   $122.00    $18,999.46                        Monthly Assessment

12/1/2017    Monthly Assessment                                   $122.00    $19,121.46                        Monthly Assessment

1/1/2018     Monthly Assessment                                   $127.00    $19,248.46                        Monthly Assessment

1/15/2018    Late Fees                                             $10.00    $19,258.46                        Late Fees

2/1/2018     Monthly Assessment                                   $127.00    $19,385.46                        Monthly Assessment

2/15/2018    Late Fees                                             $10.00    $19,395.46                        Late Fees



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Account Number:              17170
Association:                 Inspiration at Green Valley Ranch Homeowners Association
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:               $0.00
Homeowner(s):                YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                     Amount         Balance       Pmt Ref             Memo

3/1/2018       Monthly Assessment                                 $127.00     $19,522.46                        Monthly Assessment

3/15/2018      Late Fees                                           $10.00     $19,532.46                        Late Fees

4/1/2018       Monthly Assessment                                 $127.00     $19,659.46                        Monthly Assessment

4/15/2018      Late Fees                                           $10.00     $19,669.46                        Late Fees

5/1/2018       Monthly Assessment                                 $127.00     $19,796.46                        Monthly Assessment

5/15/2018      Late Fees                                           $10.00     $19,806.46                        Late Fees

6/1/2018       Monthly Assessment                                 $127.00     $19,933.46                        Monthly Assessment

6/15/2018      Late Fees                                           $10.00     $19,943.46                        Late Fees

7/1/2018       Monthly Assessment                                 $127.00     $20,070.46                        Monthly Assessment

7/15/2018      Late Fees                                           $10.00     $20,080.46                        Late Fees

8/1/2018       Monthly Assessment                                 $127.00     $20,207.46                        Monthly Assessment

8/15/2018      Late Fees                                           $10.00     $20,217.46                        Late Fees

9/1/2018       Monthly Assessment                                 $127.00     $20,344.46                        Monthly Assessment

9/15/2018      Late Fees                                           $10.00     $20,354.46                        Late Fees

10/1/2018      Monthly Assessment                                 $127.00     $20,481.46                        Monthly Assessment

10/15/2018     Late Fees                                           $10.00     $20,491.46                        Late Fees

11/1/2018      Monthly Assessment                                 $127.00     $20,618.46                        Monthly Assessment

11/15/2018     Late Fees                                           $10.00     $20,628.46                        Late Fees

12/1/2018      Monthly Assessment                                 $127.00     $20,755.46                        Monthly Assessment

12/15/2018     Late Fees                                            $10.00    $20,765.46                        Late Fees

1/1/2019       Monthly Assessment                                 $141.00     $20,906.46                        Monthly Assessment

1/15/2019      Late Fees                                            $10.00    $20,916.46                        Late Fees

2/1/2019       Monthly Assessment                                 $141.00     $21,057.46                        Monthly Assessment

2/1/2019       Payoff Demand                                      $150.00     $21,207.46                        Precedent

2/15/2019      Late Fees                                            $10.00    $21,217.46                        Late Fees

 3/1/2019       Monthly Assessment                                 $141.00    $21,358.46                        Monthly Assessment

 3/1/2019       Association Adjustment                          ($1,450.00)    $19,908.46                        Assessment account
                                                                                                                 only
 3/1/2019       Payoff Demand                                      $150.00     $20,058.46                        Precedent




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                                                 Information as of: July 12, 2022


Account Number:                 17170
Association:                    Inspiration at Green Valley Ranch Homeowners Association
Property Address:               2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:                 $0.00
Homeowner(s):                   YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                        Amount        Balance      Pmt Ref             Memo
3/15/2019      Late Fees                                             $10.00    $20,068.46

3/15/2019      Late Fees                                             $10.00    $20,078.46                        Late Fees

4/1/2019       Monthly Assessment                                   $141.00    $20,219.46                        Monthly Assessment

4/15/2019      Late Fees                                             $10.00    $20,229.46                        Late Fees

5/1/2019       Monthly Assessment                                   $141.00    $20,370.46                        Monthly Assessment

5/15/2019      Late Fees                                             $10.00    $20,380.46                        Late Fees

6/1/2019       Monthly Assessment                                   $141.00    $20,521.46                        Monthly Assessment

6/15/2019      Late Fees                                             $10.00    $20,531.46                        Late Fees

7/1/2019       Monthly Assessment                                   $141.00    $20,672.46                        Monthly Assessment

7/15/2019      Late Fees                                             $10.00    $20,682.46                        Late Fees

8/1/2019       Monthly Assessment                                   $141.00    $20,823.46                        Monthly Assessment

8/15/2019      Late Fees                                             $10.00    $20,833.46                        Late Fees

9/1/2019       Monthly Assessment                                   $141.00    $20,974.46                        Monthly Assessment

10/1/2019      Monthly Assessment                                   $141.00    $21,115.46

11/1/2019      Monthly Assessment                                   $141.00     $21,256.46

11/13/2019     Certified Mail                                         $9.41     $21,265.87

11/13/2019     Certified Mail                                         $9.41     $21,275.28

11/13/2019     Certified Mail                                         $9.41     $21,284.69

11/13/2019     Certified Mail                                         $9.41     $21,294.10

11/13/2019     Certified Mail                                         $9.41     $21,303.51

11/13/2019     Certified Mail                                         $9.41     $21,312.92

11/13/2019     First Class Mailing Costs                              $2.50     $21,315.42

11/13/2019     First Class Mailing Costs                              $2.50     $21,317.92

11/13/2019     First Class Mailing Costs                              $2.50     $21,320.42

11/13/2019     First Class Mailing Costs                              $2.50     $21,322.92

11/13/2019     First Class Mailing Costs                              $2.50     $21,325.42

11/13/2019     First Class Mailing Costs                              $2.50     $21,327.92

11/13/2019     Certified Mail                                         $9.41     $21,337.33




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                                                      Accounting Ledger
                                                Information as of: July 12, 2022


Account Number:                 17170
Association:                    Inspiration at Green Valley Ranch Homeowners Association
Property Address:               2428 Devotion Ridge Or, Henderson, NV 89052
Ledger Balance:                 $0.00
Homeowner(s):                   YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                        Amount        Balance      Pmt Ref             Memo

11/13/2019     Certified Mail                                          $9.41    $21,346.74

11/13/2019     Certified Mail                                          $9.41    $21,356.15

11/13/2019     Certified Mail                                          $9.41    $21,365.56

11/13/2019     Certified Mail                                          $9.41    $21,374.97

11/13/2019     Certified Mail                                          $9.41    $21,384.38

11/13/2019     Certified Mail                                          $9.41    $21,393.79

11/13/2019     Certified Mail                                          $9.41    $21,403.20

11/13/2019     Certified Mail                                          $9.41    $21,412.61

11/13/2019     Intent to Conduct Foreclosure                          $25.00    $21,437.61

11/13/2019     First Class Mailing Costs                               $2.50    $21,440.11

11/13/2019     First Class Mailing Costs                               $2.50    $21,442.61

11/13/2019     First Class Mailing Costs                               $2.50    $21,445.11

11/13/2019     First Class Mailing Costs                               $2.50    $21,447.61

11/13/2019     First Class Mailing Costs                               $2.50    $21,450.11

11/13/2019     First Class Mailing Costs                               $2.50    $21,452.61

11/13/2019     First Class Mailing Costs                               $2.50    $21,455.11

11/13/2019     First Class Mailing Costs                               $2.50    $21,457.61

11/13/2019     First Class Mailing Costs                               $2.50    $21,460.11

12/1/2019      Monthly Assessment                                    $141.00    $21,601.11

12/17/2019     Association Adjustment                               ($200.00)   $21,401.11                       Move to fine account

12/17/2019     Interest Adjustment                                  ($730.92)   $20,670.19                       Not on Association
                                                                                                                 ledger
12/17/2019     NOS Mailing Costs                                      $12.09    $20,682.28

12/17/2019     NOS Mailing Costs                                      $12.09    $20,694.37

12/17/2019     NOS Mailing Costs                                      $12.09    $20,706.46

12/17/2019     NOS Mailing Costs                                      $12.09    $20,718.55

12/17/2019      NOS Mailing Costs                                     $12.09    $20,730.64

12/17/2019      NOS Mailing Costs                                     $12.09    $20,742.73

 12/17/2019     NOS Mailing Costs                                     $12.09    $20,754.82




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                                                 Information as of: July 12, 2022


Account Number:                 17170
Association:                    Inspiration at Green Valley Ranch Homeowners Association
Property Address:               2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:                 $0.00
Homeowner(s):                   YOUSIF HALLOUM, IMAN Y. HALLOUM



Posting        Description                                        Amount        Balance      Pmt Ref              Memo

12/17/2019     NOS Mailing Costs                                     $12.09     $20,766.91

12/17/2019     NOS Mailing Costs                                     $12.09     $20,779.00

12/17/2019     NOS Mailing Costs                                      $12.09    $20,791.09

12/17/2019     NOS Mailing Costs                                      $12.09    $20,803.18

12/17/2019     NOS Mailing Costs                                      $12.09    $20,815.27

12/17/2019     NOS Mailing Costs                                      $12.09    $20,827.36

12/17/2019     NOS Mailing Costs                                      $12.09    $20,839.45

12/17/2019     NOS Mailing Costs                                      $12.09    $20,851.54

12/17/2019     NOS Mailing Costs                                      $12.09    $20,863.63

12/17/2019     NOS Mailing Costs                                      $12.09    $20,875.72

12/17/2019     NOS Mailing Costs                                      $12.09    $20,887.81

12/17/2019     NOS Mailing Costs                                      $12.09    $20,899.90

12/17/2019     Notice of Sale                                        $275.00    $21,174.90

12/17/2019     Publishing and Posting Costs                          $475.00    $21,649.90

12/17/2019     NOS Recording Costs                                    $45.00    $21,694.90

12/17/2019     Conduct Foreclosure Sale                              $125.00    $21,819.90

12/17/2019     Prepare and Record Trustee Deed                       $125.00    $21,944.90

12/17/2019     Affidavit Recording                                    $45.00    $21,989.90

12/17/2019     Record Certificate of Sale                             $45.00    $22,034.90

12/17/2019     Red Rock SP Adjustment                             ($1,019.00)   $21,015.90                        NV-CAP

12/20/2019     Subordination Recording Cost                           $45.00    $21,060.90

12/20/2019     NOS Mailing Costs                                      $12.09    $21,072.99

12/20/2019     Payoff Demand                                         $150.00    $21,222.99                        Precedent

1/1/2020       Monthly Assessment                                    $141.00    $21,363.99

1/6/2020       Red Rock Paid in Full                             ($21,363.99)        $0.00   30027413             PIF thru 1/1/2020




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                                            EXHIBIT "15"




 On 08/08/2020 Defendants Green Valley Ranch Community
    Association on behalf of HOA demanded and collected
       from Caliber Home Loans the amount $2,628.41




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                                  Payoff Demand (Non-resale transactions)
                                   Green Valley Ranch Community Association
                                        Terra West Management Services

Property Information:                                                    Requestor:
2428 Devotion Ridge Dr                                                   PRECEDENT MANAGEMENT
Henderson, NV 89052                                                      Precedent Management
Seller: YOUSIF HALLOUM                                                   786-452-1807
Buyer: N/A                                                               Estimated Closing Date: 08-08-2020

General Information
This information is good through                                                                    07-29-2020
Is this account in collections?                                                                     No
What is the current regular assessment against the unit?                                            63.00
What is the frequency of the assessment charge?                                                     Monthly
   The regular assessment is paid through:                                                          08-31-2016
   The regular assessment is next due:                                                              09-01-2016
What day of the month are regular assessments due?                                                  1st
How many days after the due date is the regular assessment considered delinquent?                   60
Comments: Once assessment considered past due, late fees are assessed after the 30th of
the month.
 The penalty for delinquent assessments is:                                                         $10.00 late fee, plus
                                                                                                    interest at prime rate +
                                                                                                    2%
 Specific Fees Due To Green Valley Ranch Community Association
 Closing agent is required to collect the following number of additional regular assessments at     2
 closing:
 Are there any current special assessments or governing body approved special assessments,          No
 against units within the association? If yes, a comment is provided.
 Owner's current balance due (you may total the owners balance due using the breakdown              $2,628.41
 below):
 Comments: SEE BREAKDOWN BELOW
     August 2017-March 2020 Late Interest          $142.41
     August 2017-March 2020 Late Fees              $340.00
    September 2016-July 2020 Monthly               $2,146.00
 Assessments
 Is the association or the developer (if the project has not been turned over to the homeowners      See Comments
 association) involved in any current or pending litigation? If yes, a comment is required. (Do
 not include neighbor disputes or rights of quiet enjoyment, litigation where the claim amount is
 known and the insurance carrier will provide defense and coverage, or where the HOA is named
 as a plaintiff in a foreclosure action or to collect past due assessments).




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                                Payoff Demand (Non-resale transactions)
                                   Green Valley Ranch Community Association
                                       Terra West Management Services

Property Information:                                                   Requestor:
2428 Devotion Ridge Dr                                                  PRECEDENT MANAGEMENT
Henderson, NV 89052                                                     Precedent Management
Seller: YOUSIF HALLOUM                                                  786-452-1807
Buyer: N/A                                                              Estimated Closing Date: 08-08-2020

Comments: Please see Litigation Statement. Can be obtained through Resale Disclosure
Package.
Insurance broker's or agent's company name:                                                              Kaercher Insurance
Identify the insurance agent's name:                                                                     Jacqui Gibson
Insurance agent's phone number:                                                                          702-304-7801
Insurance agent's fax number:
Insurance agent's email address:




   :44




Cheyanne Fierro, Escrow Coordinator                                                   Date: 07-08-2020

Terra West Management Services

Phone: 702-880-4626




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                         Payoff Demand (Non-resale transactions)
                          Green Valley Ranch Community Association
                               Terra West Management Services

Property Information:                                             Requestor:
2428 Devotion Ridge Dr                                            PRECEDENT MANAGEMENT
Henderson, NV 89052                                               Precedent Management
Seiler: YOUSIF HALLOUM                                            786-452-1807
Buyer: N/A                                                        Estimated Closing Date: 08-08-2020

Fee Summary
Amounts Prepaid
                                                                  Payoff Demand (Non-         $145.00
                                                                  resale transactions)
                                                                   Rush Fee                   $100.00
                                                                   Convenience Fee            $6.00
                                                                   HoineWiseDocs.com           $20.00
                                                                   Service/Delivery Fees
                                                                   Total                       $271.00
Fees Due to Green Valley Ranch Community Association
                                                                   Prepaid Assessments         $126.00
                                                                   Owner Current               $2,628.41
                                                                   Balance
                                                                   Total                       $2,754.41
 *SEE BREAKDOWN BELOW




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                          Payoff Demand (Non-resale transactions)
                            Green Valley Ranch Community Association
                                   Terra West Management Services

Property Information:                                                 Requestor:
2428 Devotion Ridge Dr                                                PRECEDENT MANAGEMENT
Henderson, NV 89052                                                   Precedent Management
Seller: YOUSIF HALLOUM                                                786-452-1807
Buyer: N/A                                                            Estimated Closing Date: 08-08-2020

PLEASE RETURN THIS FORM WITH YOUR CHECK AND CERTIFIED COPIES OF THE CLOSING
DISCLOSURE FORM (FORMERLY THE HUD-1 FORM) AND THE GRANT OR WARRANTY DEED.
PLEASE INDICATE CONFIRMATION NUMBER LJNIPN3QZS ON THE CHECK TO ENSURE PAYMENT IS
CREDITED PROPERLY.
Fees Due to Green Valley Ranch Community Association
                                                                       Prepaid Assessments        $126.00
                                                                       Owner Current              $2,628.41
                                                                       Balance
                                                                       Total                       $2,754.41
*SEE BREAKDOWN BELOW
Include this confirmation number LJVPN3QZS on the check for $2,754.41 payable to and send
to the address below.
Green Valley Ranch Community Association
6655 S. Cimarron Road, Suite 200
Las Vegas, NV 89113




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                         Payoff Demand (Non-resale transactions)
                          Green Valley Ranch Community Association
                                  Terra West Management Services

Property Information:                                                Requestor:
2428 Devotion Ridge Dr                                               PRECEDENT MANAGEMENT
Henderson, NV 89052                                                  Precedent Management
Seller: YOUSIF HALLOUM                                               7875 NW 12TH ST, STE 108
Buyer: N/A                                                           DORAL, FL 33126
                                                                     786-452-1807
                                                                     Estoppels@precedentmgmt.com

                                  Buyer and Seller Contact Information

Seller's New Address:                                                                Buyer's Address:
                                                                                     N/A

Phone:                                                                                Phone:
Email: kimberlydewald@precedentmgmt.com                                               Email:
                                                                                      Is buyer occupant?

                                               Closing Information

File/Escrow Number:                                                                   Sales Price:
Estimated Close Date: 08-08-2020                                                      Closing Date:
Homewise Confirmation Number: LJVPN3QZS                                               Homewise Transaction ID: 5276836

                                                Status Information

Date of Order: 07-08-2020                                                             Order Retrieved Date:
Board Approval Date:                                                                  Inspection Date:
Order Complete Date: 07-08-2020
Date Paid: 07-08-2020

                                    Community Manager Information

Company: Terra West Management Services
Completed By: Cheyanne Fierro
Primary Contact: Cheyanne Fierro
Address:
6655 S. Cimarron Road, Suite 200
Las Vegas, NV 89113
Phone: 702-880-4626
Fax: 702-251-4378
Email: cfierro@terrawest.com



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                                 MANAGEMENT SERVICES
                      6655 South Cimarron Road, Suite 200, Las Vegas, NV 89113
                             Phone (702) 362-6262 • Fax (702) 362-5046
                                   Email: escrow@terrawest.com
                                        www.terrawest.com



                                HOA VIOLATIONS DISCLOSURE



Please be advised that this Statement of Demand or Resale Disclosure Certificate does NOT provide any
information regarding potential or actual Violations (Non-Compliance Issues), it will only provide a Fine
Balance if applicable to the Subject Property. It is the SELLER'S responsibility to disclose any Non-
Compliance Issues to the BUYER in a resale transaction.

By signing this Disclosure the Seller certifies that if they are aware of any such violations which exist,
that same have been disclosed to the Buyer via this Seller Disclosure or other methods.

Furthermore, by signing this Disclosure, the Buyer acknowledges that any such violations may become
the responsibility of the Buyer upon Close of Escrow.

Both Buyer and Seller specifically acknowledge that Terra West Management Services and the
Association are relieved of any liability or responsibility in connection with any potential or actual
Violations.




SELLER

DATE:

BUYER

DATE:




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                                                                                                  174 of 457
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                                                                               6655 S. Cimarron Road, Suite 200
                                                                                          Las Vegas, NV 89113

TERPAWEST   t! :v :1. ;$EflCES .•
                                                                            P (702) 362-62621F (702) 362-5046
                                                                                         escrow@terrawest.com




              REQUEST FOR REFUND OR TRANSFER OF CREDIT BALANCE
                                      (RESALE TRANSACTION)

Close of Escrow Date:

Seller's Name:

Buyer's Name:

Association's Name:

Property Address:



If the Statement of Demand disclosed a credit balance on the seller's account, please select one of the options
below by initialing and completing the requested information:

OPTION A:

         I/We hereby authorize REFUND of the credit balance to the SELLER. Seller's forwarding address is
below (incomplete addresses will result in failure to process credit):

                                                                         (Attention To/Care Of)

                                                                         (Street Number/Name/Unit No.)

                                                                          (City, State, Zip)

OPTION B:

         I/We hereby authorize TRANSFER of the credit balance to the BUYER. The seller has received credit
through the close of escrow.




Signature




 Print Name                                                                       Date




       Terra West does not make any representations to the information above. Both Buyer and Seller
 specifically acknowledge and hold harmless Terra West if funds are disbursed to the incorrect party, due to
                             insufficient information or authorization provided.




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                                                                                                                     175 of 457
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                         Printed 09/09/2020 11:45 AM by (Abbey Rodriguez)

Post Date : 07/29/2020 Association : N/A Member: N/A



    207 tR 5203                                      13ankoffterica.
                                                     64-1278 611 GA
                                                                                        ChockNumber       30027696
             CALIBER         13501 Wireless Way
      mina. HOME 1-0,15 Oklahoma City, OK 73134           3359995357
                                                    DISBURSEMENT CLEARING               Date     JUL 15 20

                                                                                        Amount

    Pay                   2,628 DOLLARS AND 41 CENTS

    To the    GREEN VALLEY COMMUNITY ASSOC INC
    order     C/O TERRA WEST NIGMT SERVICES
    of:       6656 8 CIMMARON RD #200
              LAS VEGAS            NV
                             89113



                       300     69 6111




                                                                '94.1r:es-Id-OK F.:1:1.ctrr.nir:C:ei%*6




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                                                  APPX0123
                                                               176 of 457
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                                           EXHIBIT "16"




   On 9/23/2021 Plaintiffs (Homeowners) received Certified
    Letter from Defendants Red Rock Financial on behalf
       of HOA demanded if the amount $3,385.67 is not
        paid in 10 business days they will proceed with
         foreclosure on the property. Plaintiffs had to
            pay the demanded amount see attached.




                             APPX0124
                                                                                                                       177 of 457
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        'Cl-AL,Srialtrrte
                                                                                                     First CIaS.10011
                                                                          Setif:C eit
   September 23, 2021

   Yoasi111 flat 10 110)
   11 Silver Cloud Place
   Danville CA 94526

  Re:          2428 Devotion Ridge Dr, Henderson, NV 89052
               Green Valley Ranch Community Association, inc / R836102

  Dear Yousiild Hallourn,

        Red Rock Financial Senices is a debt collector and is attempting to collect a debt. Any
                        information obtained will be used for that purpose.

  This letter is being scut as a courtesy as we have attempted several times to contact you. Red
  Rock Financial Services is scheduled to review and prepare the account for foreclosWc tor
 unpaid assessments. You mast contact our office within 10 business days of the date of this letter
 to discuss arrangements for payment. Should the Association elect to proceed with foreelOsta-c,
 Red Rpek,Firiancial Services may prepare the Notice of Sale for recording in approximately 10
' business days.

Regards,

Red Rock Financial Services




                                      770 . . Warm $prin ..14,04.(.-..S01.t.0:320i•Lizi5.:W9as,...P1'ev,a. a .B91.1.


                                                       APPX0125
                                                                                                                               178 of 457
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CHASE 0
 Terms and Conditions (Remitter and Payee):

          * Please keep this copy for your record of the transaction
          * The laws of a specific state will consider these funds to be "abandoned"
            if the Cashier's Check is not cashed by a certain time
                 - Please cash/deposit this Cashier's Check as soon as possible to
                    prevent this from occurring
                 - In most cases, the funds will be considered "abandoned"
                    before the "Void After" Date
          * Placing a Stop Payment on a Cashier's Check
                 - Stop Payment can only be placed if the Cashier's Check
                    is lost, stolen, or destroyed
                 -  We   may not re-issue or refund the funds after the stoppayment has
                    been placed until 90 days after the original check was issued
          * Please visit a Chase branch to report a lost, stolen, or destroyed Cashier's Check
             or for any other information about this item


                                                 FOR YOUR PROTECTION SAVE THIS COPY                       • Customer Copy
                                                      CASHIER'S CHECK                                                      1094126645
                                                                                                    10/15/2021
                                                                                                     Void after 7 years

 Remitter:          YOUSIF H HALLOUM

                                                                                                                          $** 2,717.67 **
 Pay To The         RED ROCK FINANCIAL
 Order Of:
                                                                           Drawer   JPNIORGAN CHASE BANK, N.A.
 Memo:
 Note: For information only. Comment has no effect on bank's payment
                                                                           NON NEGOTIABLE



                   RED ROCK FINANCIAL SERVICES
                    770 E. Warm Springs Road, Suite 320
                            Las Vegas, NV 89119
                                                                                     DATE I —                  2(,-218
                                                                                                               3_      5
     RECEIVED FROM               -1S4 14-
                                 1                    lial1 ORY1
                                                                                          DOLLARS $              17 ii.(1/1
     THE SUM OF

      FOR      2i243 Dcycffion Vt,r ca                                        We are a debt collector and attempting to collect a debt.
      AMOUNT OF ACCOUNT $                                                     Any information obtained will be used for that purpose.
      AMOUNT PAID                                        44       7/   f
      BALANCE DUE                                                      By
        CASH     fi..CHECK            0 M.O.       0 CREDIT CARD




                                                              APPX0126
                                                                                                                                            179 of 457
    0000550
                           Case
                            11-24                      CASHIER'S
                                   2:22-cv-01787-MMD-EJY DocumentCHECK
                                                                  11 Filed 11/03/22 Page 179SERIAL
                                                                                             of 457#: 0055013583
   Office AU #             1210(8)
                                                                                                                                       ACCOUNT#: 4861-511954
 Remitter.          YOUSIF HALLOUM
 Purchaser          YOUSIF HALLOUM
 Purchaser Account:    3819
 Operator I.D.:     reno1589
 Funding Source:    Electronic ttem(s)                                                                                                  October 6, 2021
 PAY TO THE ORDER OF              ***RED ROCK FINANCIAL SERVICES***


  **Six Hundred Sixty-Eight and 00/100 -US Dollars **                                                                                     $668.00**
 Payee Address:
 Memo:          REF: HOA PAYMENT                                                                                                       VOID IF OVER US $ 668,00
 WELLS FARGO BANK, N.A.                               NOTICE TO PURCHASER-IF THIS INSTRUMENT IS LOST,
                                                      STOLEN OR DESTROYED, YOU MAY REQUEST CANCELLATION
 10010 S EASTERN AVE
                                                      AND REISSUANCE. AS A CONDITION TO CANCELLATION AND
                                                                                                                                       NON-NEGOTIABLE
 HENDERSON, NV 89052
 FOR INQUIRIES CALL (480) 394-3122                    REISSUANCE, WELLS FARGO & COMPANY MAY IMPOSE A FEE
                                                      AND REQUIRE AN INDEMNITY AGREEMENT AND BOND.

                                                                   Purchaser Copy
FB004     M4205 90049614




        0eA- 14 Clk))
          RED ROCK FINANCIAL SERVICES                                                         -34376
                           770 E. Warm Springs Road, Suite 320                    DATE 10j0Lo (Z,02.1
                                   Las Vegas, NV 89119

        RECEIVED FROM            yovt5if H. +}attoorn
        THE SUM OF                                                                     DOLLARS $

        FOR 7)4             CO      R9V0+1On             2-1 019-                      rt0 rsci,tW                            05Z
        AMOUNT OF ACCOUNT                                                  We are a debt collector and attempting to collect a debt.

        AMOUNT PAID                      k        ``";74.1104              Any information obtained will be used for that purpose.

        BALANCE DUE
        0 CASH    1VC-FIECK              0 M.O.    0 CREDIT CARD
                                                                               ern)41(AeR-7                      D3b/0'




                                                                     APPX0127
                                                                                                          180 of 457
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                                                    Accounting Ledger
                                               Information as of: October 15, 2021


Account Number:               836102
Association:                  Green Valley Ranch Community Association, Inc
Property Address:             2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:               $2,717.67
Homeowner(s):                 YOUSIF H. HALLOUM AND IMAN Y. HALLOUM



Posting      Description                                        Amount        Balance      Pmt Ref             Memo
8/1/2020     Monthly Assessment                                    $63.00        $63.00

9/1/2020     Monthly Assessment                                    $63.00       $126.00

10/1/2020    Monthly Assessment                                    $63.00       $189.00

11/1/2020    Monthly Assessment                                    $63.00       $252.00

11/30/2020   Association Misc. Charge                             $145.00       $397.00                        Lien Audit Processing
                                                                                                               Fee
12/1/2020    Monthly Assessment                                    $63.00       $460.00

12/1/2020    Intent to Lien Letter                                $150.00       $610.00

12/1/2020    Mailing Costs                                         $12.09       $622.09

12/1/2020    Mailing Costs                                         $12.09       $634.18

1/1/2021     Monthly Assessment                                    $63.00       $697.18

1/5/2021     Lien for Delinquent Assessment                       $325.00     $1,022.18

1/5/2021     Mailing Costs                                         $12.09     $1,034.27

1/5/2021     Mailing Costs                                         $12.09     $1,046.36

1/5/2021     Lien Recording Costs                                  $96.00     $1,142.36

1/5/2021     Lien Release                                          $30.00      $1,172.36

1/14/2021    Payoff Demand                                        $150.00      $1,322.36                       Precedent

2/1/2021     Monthly Assessment                                    $63.00      $1,385.36

2/9/2021     Intent to NOD                                         $90.00      $1,475.36

2/9/2021      First Class Mailing Costs                             $2.50      $1,477.86

2/9/2021      First Class Mailing Costs                             $2.50      $1,480.36

2/23/2021     NOD Mailing Charges Adjustment                      ($12.09)     $1,468.27

2/23/2021     NOD Mailing Costs                                   $120.90      $1,589.17

2/23/2021     Notice of Default                                   $400.00      $1,989.17

2/23/2021     NOD Recording Costs                                  $48.00      $2,037.17
2/23/2021     NOD Release                                          $30.00      $2,067.17
2/23/2021     NOD Release Recording Costs                          $48.00      $2,115.17
2/23/2021     Trustee Sale Guarantee                              $400.00      $2,515.17
3/1/2021      Monthly Assessment                                   $63.00      $2,578.17




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                                                    Accounting Ledger
                                              Information as of: October 15, 2021


Account Number:               836102
Association:                  Green Valley Ranch Community Association, Inc
Property Address:             2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:               $2,717.67
Homeowner(s):                 YOUSIF H. HALLOUM AND IMAN Y. HALLOUM



Posting      Description                                        Amount        Balance      Pmt Ref             Memo

4/1/2021     Monthly Assessment                                    $63.00     $2,641.17

5/1/2021     Monthly Assessment                                    $63.00     $2,704.17

5/6/2021     Intent to NOS                                         $90.00     $2,794.17

5/6/2021     First Class Mailing Costs                              $2.92     $2,797.09

5/6/2021     First Class Mailing Costs                              $2.92     $2,800.01

5/6/2021     First Class Mailing Costs                              $2.92     $2,802.93

5/6/2021     First Class Mailing Costs                              $2.92     $2,805.85

5/6/2021     First Class Mailing Costs                              $2.92     $2,808.77

5/6/2021     First Class Mailing Costs                              $2.92     $2,811.69

5/6/2021     First Class Mailing Costs                              $2.92     $2,814.61

5/6/2021     First Class Mailing Costs                              $2.92     $2,817.53

5/6/2021     First Class Mailing Costs                              $2.92     $2,820.45

6/1/2021     Monthly Assessment                                    $63.00      $2,883.45

7/1/2021     Monthly Assessment                                    $63.00      $2,946.45

8/1/2021     Monthly Assessment                                    $63.00      $3,009.45

8/31/2021    Late Fee                                              $10.00      $3,019.45

8/31/2021    Association Interest                                   $3.33      $3,022.78

9/1/2021      Monthly Assessment                                   $63.00      $3,085.78

9/23/2021     Mailing Costs                                         $8.63      $3,094.41

9/23/2021     Mailing Costs                                         $8.63      $3,103.04

9/23/2021     Mailing Costs                                          $8.63     $3,111.67

9/23/2021     Mailing Costs                                          $8.63     $3,120.30

 9/23/2021    Mailing Costs                                          $8.63     $3,128.93

 9/23/2021    Mailing Costs                                          $8.63     $3,137.56

 9/23/2021    Mailing Costs                                          $8.63     $3,146.19

 9/23/2021    Mailing Fees                                           $4.00     $3,150.19

 9/23/2021    Mailing Fees                                           $4.00     $3,154.19

 9/23/2021    Mailing Fees                                           $4.00     $3,158.19




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                                                    Accounting Ledger
                                              Information as of: October 15, 2021

Account Number:               836102
Association:                  Green Valley Ranch Community Association, Inc
Property Address:             2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:               $2,717.67
Homeowner(s):                 YOUSIF H. HALLOUM AND IMAN Y. HALLOUM



Posting      Description                                        Amount        Balance      Pmt Ref              Memo
9/23/2021    Mailing Fees                                           $4.00     $3,162.19
9/23/2021    Mailing Fees                                           $4.00     $3,166.19
9/23/2021    Mailing Fees                                           $4.00     $3,170.19
9/23/2021    Mailing Fees                                           $4.00     $3,174.19
9/23/2021    Mailing Costs                                          $8.63     $3,182.82
9/23/2021    Mailing Costs                                          $8.63     $3,191.45

9/23/2021    Mailing Costs                                          $8.63     $3,200.08

9/23/2021    Mailing Costs                                          $8.63     $3,208.71

9/23/2021    Mailing Costs                                          $8.63     $3,217.34

9/23/2021    Mailing Costs                                          $8.63     $3,225.97

9/23/2021    Mailing Costs                                          $4.00     $3,229.97

9/23/2021    Mailing Costs                                          $4.00     $3,233.97

9/23/2021    Mailing Costs                                          $4.00     $3,237.97

9/23/2021     Mailing Costs                                         $4.00     $3,241.97

9/23/2021     Mailing Costs                                         $4.00     $3,245.97

9/23/2021     Mailing Costs                                         $4.00     $3,249.97

9/2312021     Intent to Conduct Foreclosure                        $25.00     $3,274.97

10/1/2021     Monthly Assessment                                   $63.00     $3,337.97

10/7/2021     Red Rock Partial Payment                           ($668.00)    $2,669.97    0055013583           Partial Payment
10/7/2021     Payment Plan                                         $30.00      $2,699.97

10/7/2021     First Class Mailing Costs                             $0.95     $2,700.92

10/7/2021     First Class Mailing Costs                             $0.95      $2,701.87

10/7/2021     First Class Mailing Costs                             $0.95      $2,702.82
10/7/2021     First Class Mailing Costs                             $0.95      $2,703.77

10/7/2021     First Class Mailing Costs                             $0.95      $2,704.72

 10/7/2021    First Class Mailing Costs                              $0.95     $2,705.67

 10/7/2021    First Class Mailing Fees                               $2.00     $2,707.67

 10/7/2021    First Class Mailing Fees                               $2.00     $2,709.67




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                                                 Accounting Ledger
                                           Information as of: October 15, 2021


Account Number:            836102
Association:               Green Valley Ranch Community Association, Inc
Property Address:          2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:            $2,717.67
Homeowner(s):              YOUSIF H. HALLOUM AND IMAN Y. HALLOUM



Posting     Description                                      Amount        Balance     Pmt Ref             Memo
10/7/2021   First Class Mailing Fees                            $2.00      $2,711.67

10/7/2021   First Class Mailing Fees                            $2.00      $2,713.67

10/7/2021   First Class Mailing Fees                             $2.00     $2,715.67

10/7/2021   First Class Mailing Fees                             $2.00     $2,717.67




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                                                   Accounting Ledger
                                              Information as of: October 06, 2021


Account Number:              836102
Association:                 Green Valley Ranch Community Association, Inc
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $3,337.97
Homeowner(s):                YOUSIF H. HALLOUM AND IMAN Y. HALLOUM



Posting      Description                                       Amount        Balance      Pmt Ref             Memo

8/1/2020     Monthly Assessment                                   $63.00        $63.00

9/1/2020     Monthly Assessment                                   $63.00       $126.00

10/1/2020    Monthly Assessment                                   $63.00       $189.00

11/1/2020    Monthly Assessment                                   $63.00       $252.00

11/30/2020   Association Misc. Charge                            $145.00       $397.00                        Lien Audit Processing
                                                                                                              Fee
12/1/2020    Monthly Assessment                                   $63.00       $460.00

12/1/2020    Intent to Lien Letter                               $150.00       $610.00

12/1/2020    Mailing Costs                                        $12.09       $622.09

12/1/2020    Mailing Costs                                        $12.09       $634.18

1/1/2021     Monthly Assessment                                   $63.00       $697.18

1/5/2021     Lien for Delinquent Assessment                      $325.00      $1,022.18

1/5/2021     Mailing Costs                                        $12.09      $1,034.27

1/5/2021     Mailing Costs                                        $12.09      $1,046.36

1/5/2021     Lien Recording Costs                                 $96.00      $1,142.36

1/5/2021     Lien Release•                                        $30.00      $1,172.36

1/14/2021    Payoff Demand                                       $150.00      $1,322.36                       Precedent

2/1/2021     Monthly Assessment                                   $63.00      $1,385.36

2/9/2021     Intent to NOD                                        $90.00      $1,475.36

2/9/2021     First Class Mailing Costs                              $2.50     $1,477.86

2/9/2021     First Class Mailing Costs                              $2.50     $1,480.36

2/23/2021    NOD Mailing Charges Adjustment                      ($12.09)     $1,468.27

2/23/2021    NOD Mailing Costs                                   $120.90      $1,589.17

2/23/2021     Notice of Default                                   $400.00     $1,989.17

 2123/2021    NOD Recording Costs                                  $48.00     $2,037.17

 2/23/2021    NOD Release                                          $30.00     $2,067.17

 2/23/2021    NOD Release Recording Costs                          $48.00     $2,115.17

 2/23/2021    Trustee Sale Guarantee                              $400.00     $2,515.17

 3/1/2021     Monthly Assessment                                   $63.00     $2,578.17




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                                                   Accounting Ledger
                                             Information as of: October 06, 2021

Account Number:              836102
Association:                 Green Valley Ranch Community Association, Inc
Property Address:            2428 Devotion Ridge Dr, Henderson, NV 89052
Ledger Balance:              $3,337.97
Homeowner(s):                YOUSIF H. HALLOUM AND IMAN Y. HALLOUM



Posting     Description                                        Amount        Balance     Pmt Ref             Memo
9/23/2021   Mailing Fees                                          $4.00      $3,162.19

9/23/2021   Mailing Fees                                          $4.00      $3,166.19

9/23/2021   Mailing Fees                                          $4.00      $3,170.19

9/23/2021   Mailing Fees                                           $4.00     $3,174.19

9/23/2021   Mailing Costs                                          $8.63     $3,182.82

9/23/2021   Mailing Costs                                          $8.63     $3,191.45

9/23/2021   Mailing Costs                                          $8.63     $3,200.08

9/23/2021   Mailing Costs                                          $8.63     $3,208.71

9/23/2021   Mailing Costs                                          $8.63     $3,217.34

9/23/2021   Mailing Costs                                          $8.63     $3,225.97
9/23/2021   Mailing Costs                                          $4.00     $3,229.97

9/23/2021   Mailing Costs                                          $4.00     $3,233.97

9/23/2021   Mailing Costs                                          $4.00     $3,237.97

9/23/2021    Mailing Costs                                         $4.00     $3,241.97

9/23/2021    Mailing Costs                                         $4.00     $3,245.97

9/23/2021    Mailing Costs                                         $4.00     $3,249.97

9/23/2021    Intent to Conduct Foreclosure                        $25.00     $3,274.97

10/1/2021    Monthly Assessment                                   $63.00     $3,337.97




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                                            EXHIBIT "17"




         NOTICE OF SERVICING TRANSFER from
           Caliber Home Loans to Fay Servicing
                   Effective 01/20/2021




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FAYCase 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 187 of 457
        SERVICING
                                   NOTICE OF SERVICING TRANSFER
The servicing of your mortgage loan is being transferred, effective 01/20/21. This means that
after this date, a new servicer will be collecting your mortgage loan payments from you. Nothing
else about your mortgage loan will change.

Caliber Home Loans, Inc is now collecting your payments. Caliber Home Loans, Inc will stop
accepting payments received from you after 01/19/21.

Fay Servicing, LLC will collect your payments going forward. Your new servicer will start
accepting payments from you on 01/20/21.

Send all payments due on or after 01/20/21 to Fay Servicing, LLC at this address: P.O. Box
814609, Dallas, TX 74381-4609.

If you have any questions for either your present servicer, Caliber Home Loans, Inc or your new
servicer Fay Servicing, LLC, about your mortgage loan or this transfer, please contact them
using the information below:


 Current Servicer:                                                      New Servicer:
 Caliber Home Loans, Inc                                                Fay Servicing, LLC
 1-800-495-7166                                                         Customer Service Dept.
 P.O. Box 814609                                                        1-800-495-7166
 Dallas TX 75381-4609                                                   P.O. Box 814609
                                                                        Dallas, TX 75381-4609


Important note about insurance: If you have mortgage life or disability insurance or any other
type of optional insurance, the transfer of servicing rights may affect your insurance in the
following way: Fay Servicing, LLC does not offer any form of optional insurance. If you have
mortgage, life, disability or any other type of optional insurance you must contact your current
insurance carrier to determine what you must do to retain coverage.

Under Federal Law, during the 60-day period following the effective date of the transfer of the
loan servicing, a loan payment received by your old servicer on or before its due date may not be
treated by the new servicer as late, and a late fee may not be imposed on you.




Fay Servicing, LLC is a debt collector, and information you provide to us will be used for that purpose. To the extent your original obligation was
discharged, or is subject to an automatic stay under the United States Bankruptcy Code, this is being provided for informational purposes only and does
not constitute an attempt to collect a debt or impose personal liability. Our office hours are Monday-Thursday 8 A.M. - 9 P.M. Friday 8:30 A.M. - 5
P.M., and Saturday 10 A.M. - 4 P.M. CST. Call today: 1-800-495-7166. NMLS ID# 88244. NC residents: Fay Servicing, LLC, NC Permit Number
                                                               APPX0135
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                                                                                                                                   188 of 457
        AY
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        SERVICING




                                                  Welcome Kit Check List

          Below is a list of all items included in this Welcome Kit and a brief description of each for
          your review. If you have any questions, please call us!

   •      Notice of Servicing Transfer Letter: This letter verifies the Transfer of Servicing letter
          you should have received from your former servicing company. Keep this letter in your
          files. It contains pertinent information about contacting Fay Servicing, information about
          how to submit your mortgage payments to Fay Servicing, LLC as well as general
          information about the transfer of your loan's servicing to Fay Servicing, LLC.

   •      Mortgage Servicing Fee Schedule: List of mortgage servicing fees and charges, subject
          to the applicable laws and content of your mortgage loan documents, which may be
          imposed in connection with the servicing of your mortgage loan.

   •       Servicemembers Civil Relief Act Notice Disclosure: Servicemembers on "active duty"
           or "active service," or a spouse or dependent of such a Servicemember may be entitled to
           certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act
           (50 USC App.§§ 501-597b) (SCRA).

   •       AUTOMATIC PAYMENT AUTHORIZATION FOR MORTGAGE PAYMENT:
           This enrollment letter offers you the ability to directly debit a checking account to make
           your monthly mortgage payment. Once set up, your payment will be conveniently
           deducted on a specific date each month, which will avoid the time and the hassle of
           mailing us a check each month as well as the delay associated with processing payments
           through the mail. Please note, if you were previously set up with automated payments at
           your prior servicer, your notice of servicing transfer letter will address if servicer will
           transfer to Fay.

    •      Request for Taxpayer Identification Number and Certification (Form W-9): IRS
           regulations require that we issue Form 1098 to our customers each year and that we
           obtain and maintain accurate records for this purpose.




Fay Servicing, LLC is a debt collector, and information you provide to us will be used for that purpose. To the extent your original obligation was
discharged, or is subject to an automatic stay under the United States Bankruptcy Code, this is being provided for informational purposes only and does
not constitute an attempt to collect a debt or impose personal liability. Our office hours are Monday-Thursday 8 A.M. - 9 P.M. Friday 8:30 A.M. - 5
P.M., and Saturday 10 A.M. -4 P.M. CST. Call today: 1-800-495-7166. NMLS ID# 88244. NC residents: Fay Servicing, LLC, NC Permit Number
112302, 425 S. Financial Place, Suite 2000, Chicago, IL 60605.

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                                                                189 of 457
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                                             EXHIBIT "18"




On 01/27/2021 Plaintiffs (Homeowners) Set Up Bill Pay with Wells Fargo
Bank for a Series of Recurring Mortgage Payments to Fay Servicing for the
               amount of $1,395.60 Starting February 2021




                              APPX0137
3/19/22, 6:50 AM                                 Fwd: Wells Fargo Bill Pay: You've set up recurring payments   190 of 457
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  Subject: Fwd: Wells Fargo Bill Pay: You've set up recurring payments
  Date:     3/8/2022 8:07:11 AM Pacific Standard Time
  From:     noor123@ao1.com
  To:       noorjoe2428@gmai1.com




    From: Billpay_@wellsfargo.com
    To: noor123@aol.com
    Sent: 1/27/2021 1:01:43 PM Pacific Standard Time
    Subject: Wells Fargo Bill Pay: You've set up recurring payments

    You've set up a series of recurring payments to Fay Servicing LLC:

      Amount: $1395.6
      From: XXXXXX3819
      Frequency: Once a month
      Starting: 02/02/21
      Ending: When I cancel

    You can make changes to an upcoming payment or to the series. Just sign on at wellsfargo.com or our
    mobile app, go to Bill Pay and select the Scheduled tab. Changes to any upcoming payment must be
    made
    by 7 PM PT on the scheduled send date.

     Payments typically require 2-5 business days to arrive. If a payment falls on a weekend or holiday, it
     will be
     sent on the next available business day.

     If you have questions, we're available 24 hours a day, 7 days a week at 1-800-956-4442. You can also
     sign
     on at wellsfargo.com/questions to send us a secure email.


     Please do not reply to this automated email. To send a secure email, sign on at wellsfargo.conilquestions.




 noor123's mailbox                                                                                                          1/1
                                                        APPX0138
                                                               191 of 457
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                                            EXHIBIT "19"




  02/01/2021 FAY SERVICING (SPA) Servicer on behalf of U.S. Bank
      Trust Changing the Terms of the "Loan Modification" was Set
        by Wells Fargo SPA the Former Servicer for Fannie Mae
            and signed by Caliber Home Loans and Plaintiffs.




                             APPX0139
                                                                                                                                          192 of 457
                  Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 192 of 457
    FAY
     SE vi                     ING P.O.
                                            RETURN SERVICE ONLY
                                        BOX 619063
                                   DALLAS,TX 75261-9063


    2/1/21

    lilt liIhIIIliuuIhuuiIliill1ll ihli ii! tIIlIiiiIfI1llIluII
                6-775-16643-0000394-091-1-000-000-000-000
                YOUSIF .HALLOUM
                2428 DEVOTION RIDGE DR
                HENDERSON NV 89052-5674

                                                                                                                     Account Number: 000273410
                                                                                                                 14E: 2428 DEVOTION RIDGE D
                                                                                                                        HENDERSON NV 89052




                                             Fair Debt CollectiOns Practices Act (FnCPA) Validation-Notice--

                   According to Fay Servicing records, including information that has been received from the prior servicer,
                   Caliber Home Loans, Inc, the amount of your debt as of 1/19/2021 is provided below
                   We are collecting thedebt'on behalf of: U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation
                   Trust.
                    Current Monthly Payment Amount $3,543.05
                    Payment Due Date: 10/01/2020
                    Summary of Total Debt:
                    Principal Balance, Interest. Escrow and Other Debt:
                    Current Principal Balance:                                            $226,308.04
                    Current Deferred Balance:                                             $163,187.19
                    Current Unpaid Accrued Interest:                                      $3,689.12
                    Escrow Balance:                                                       $0.00
                    Escrow Advance Balance:                                               $26,810.60
                    Late Charges:                                                         $0.00
                    Other Charges:                                                        $1,852.10
                    Partial Payments not yet applied:                                     $2,791.20
                    Total Amount of Debt:                                                 $419,055.85

•        (b.)        Ine.totaT amount of your debt is subject to change as a result of interest ifherther chargesTguch as Late
                     Charges, Legal fees and Costs, and other.' charges). Please call Fay Servicing at 1,8004495-7166 for a
                     current payoff at the time of any payment:
                     Pursuant to the Federal Fair Debt Collections Practice Act, if you do not notify us within thirty days after
                     receipt of this notice that you dispute the validity of the debt or any portion thereof, the debt viil be
                     assumed to be valid by Fay Servicing.
                     If you notify Fay Servicing in writing within thirty days after receipt of this notice, that the debt, or any
                     portion thereof, is disputed, Fay Servicing will obtain verifteation of the debt or a copy of a judgment,
                     against you and a copy of-stieb-verification or judgment will be mailed to you.
         (9.)        Upon your written request within thirty days after receipt of this notice, Fay Servicing will provide you with
                     the name and address of the original creditor, if different from the current creditor.




          Fay Servicing LLC is a debt collector, and information you provide to us may be used to collect a debt. However, if you have filed for bankruptcy, we will fully
            respect any applicable automatic stay, modification or discharge. Further, If you filed Chapter 7 bankruptcy, received a discharge, and this loan was not
          reaffirmed in the bankruptcy case, we will exercise only in rem rights as allowed under applicable law and will not attempt.any act to collect, recover or offset
           the discharged debt as your personal liability. Our office hours are Monday-Thursday 8am-9pm, Friday 8:30am-5pm, and Saturday 10amApm, CST. Call
                                                                     today: 1-800-495-7166. NMLS ID# 88244


                                                                         APPX0140
                                                                193 of 457
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                                            EXHIBIT "20"




Fay Servicing "NOTICE OF DEFAULT AND INTENT TO ACCELERATE
      dated 03/03/2021 Paid by Caliber Home to HOA and its
         Agents in Excess of Super-Priority in Violation
              of NRS 116.3116 & 12 U.S.C. § 4617(j)(4)




                              APPX0141
                                                                                                        194 of 457
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        ERVICI NG
        Sent Via First-Class Mail®


        03/03/2021

        Yousif Hallo=
        2428 DEVOTION RIDGE DR
        HENDERSON, NV 89052-5674

        Loan Number:            273410
        Property Address:       2428 Devotion Ridge D
                                Henderson, NV 89052

                               NOTICE OF DEFAULT AND INTENT TO ACCELERATE

        Dear Yousif Halloum:

        This letter is formal notice by Fay Servicing, LLC, the Servicer of the above-referenced loan acting on behalf
        of U.S. Bank Trust National Association not in its individual capacity but solely as Trustee of LSF9 Master
        Participation Trust, that you are in default under the terms of the documents creating and securing your Loan
        described above, including the Note and Deed of Trust/Mortgage/Security Deed ("Security Instrument"), for
        failure to pay the amounts due. As of 03/03/2021, your home loan is 122 days in default.

1/4_ If you have questions about any of the items contained in this notice, or need any additional information about
        the mortgage loan, please contact Ivan Palornares at 1-800-495-7166,                                      Or
        IPALOMARES@FAYSERVICING.COM, whom we have designated as your single point of contact.

        The loan is paid through -10/04/2020, the date. of your last -payment .w.as5021,14/2.02I,

        We have the ability to foreclose because: We are a nonholder in possession of the instrument who has the
        rights of a holder.

        The following is a breakdown of what is due as of the date of this letter. As of the date of this notice, the total
        amount required to cure the default is $15,400.55, which consists of the following:

                 Next Payment Due Date:                                                            11/01/2020
                 Total Monthly Payments Due:                                                       $14,172.20
                     11/01/2020                                at                             $3,543.05
                     12/01/2020                                at                             $3,543.05
                     01/01/2021                                at                             $3,543.05
                     02/01/2021                                at                             $3,543.05
                 Late Charges:
                 Corporate Advance Balance:                                                         $1,872.10
                 Unapplied Balance:                                                                  ($643.75)

                  TOTAL YOU MUST PAY TO CURE DEFAULT:                                               $15,400.55

         The principal amount of the obligation is as follows: $389,268.75.
 371:
         W NV NOI Rev. 02/2021
         Page 1 of 7                                                                                             2359426536



                                                      APPX0142
                                                                                                   195 of 457
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The amount of accrued interest is as follows: $3,922.36.

The current interest rate on your loan is 4.25%.

The date your interest rate will next adjust is: The interest rate does not adjust.

A good faith estimate of all fees imposed in connection with the exercise of the power of sale is as follows:
$2,500.00

You may request from us the following documents:

    •   A copy of the promissory note;
    •   A copy of the deed of trust or mortgage;
    •   A copy of any assignment of the borrower's mortgage or deed of trust;
    •   A copy of your payment history since you were last less than 60 days past due.

Your loan has the following pre-payment fee: There is no pre-payment fee.

You can cure this default, avoid the exercise of the power of sale and reinstate the terms and conditions of the
underlying obligation or debt, as of the date of this notice, by making a payment of $15,400.55 by 04/07/2021.
Please note any additional monthly payments, late charges and other charges that may be due under the Note,
Security Instrument and applicable law after the date of this notice must also be paid to bring your account
current. This letter is in no way intended as a payoff statement for your mortgage, it merely states an amount
necessary to cure the current default. For the exact amount you must pay to bring your loan current, please
contact us at 8004957166. Please include your loan number and property address with your payment and send
to:

         Fay Servicing, LLC
         PO Box 88009
         Chicago, IL 60680-1009

 To the extent your obligation has been discharged or is subject to the automatic stay in a bankruptcy
 case, this notice is for informational purposes only and does not constitute a demand for payment or an
 attempt to collect a debt as your personal obligation. If you are represented by an attorney, please
 provide us with the attorney's name, address, and telephone number.

 IF YOU ARE UNABLE TO BRING YOUR ACCOUNT CURRENT, Fay Servicing, LLC offers consumer
 assistance programs designed to help resolve delinquencies and avoid foreclosure. These services are provided
 without cost to our customers. You may be eligible for a loan workout plan or other similar alternatives to
 foreclosure. If you would like to learn more about these programs, you may contact Ivan Palomares at
 1-800-495-7166 Monday to Thursday 8:00am to 9:00pm CST Friday 8:30am to 5:00pm CST Saturday
 10:00am to 4:00pm CST to discuss possible options. You may also visit our website www.fayservicing.com.
 WE ARE VERY INTERESTED IN ASSISTING YOU.

 To cure the default, you must pay the full amount of the default on this loan by the thirty-fifth (35th) day from
 the date of this letter which is 04/07/2021 (or if said date falls on a Saturday, Sunday, or legal holiday, then on
 the first business day thereafter). Failure to cure the default on or before this date may result in acceleration of
 the sums secured by the Security Instrument and sale of the property.

 You have the right to reinstate the loan after acceleration and the right to bring a court action to assert the
 non-existence of a default or any other defense to acceleration and sale. If foreclosure proceedings are

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        undertaken, we may pursue a deficiency judgment, if permitted by applicable law. Failure to respond to this
        letter may result in the loss of your property.

        Fay Servicing, LLC is a debt collector, this is an attempt to collect a debt and any information obtained
        will be used for that purpose.

        Unless you notify us within thirty (30) days after receiving this notice that you dispute the validity of this
        debt or any portion thereof, we will assume this debt is valid. If you notify us in writing within thirty (30)
        days from receiving this notice that you dispute the validity of this debt or any portion thereof, we will
        obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or
        verification. Upon your written request within thirty (30) days after the receipt of this letter, we will
        provide you with the name and address of the original creditor, if the original creditor is different from
        the current creditor.

        You are notified that this default and any other legal action that may occur as a result thereof may be reported
        to one or more local and national credit reporting agencies by Fay Servicing, LLC.

        Attention Servicemembers and Dependents: Servicemembers on active duty, or a spouse or dependent of such a
        servicemember, may be entitled to certain protections under the Servicemembers Civil Relief Act, 50 U.S.C. §§
        3901 et seq. ("SCRA.") and N.R.S. § 40.439 regarding the servicemember's interest rate and the risk of
        foreclosure. SCRA and certain state laws provide important protections for you, including prohibiting
        foreclosure under most circumstances. If you are currently in the military service, or have been within the last
        twelve (12) months, AND joined after signing the Note and Security Instrument now in default, please notify
        Fay Servicing, LLC immediately. When contacting Fay Servicing, LLC as to your military service, you must
        provide positive proof as to your military status. Servicemembers and dependents with questions about the
        SCRA should contact their unit's Judge Advocate, or their installation's Legal Assistance Officer. Homeowner
        counseling is also available at agencies such as Military OneSource (www.militaryonesource.mil;
        1-800-342-9647) and Armed Forces Legal Assistance (http://legalassistance.law.almil), and through
        HUD-certified housing counselors (http://apps.hucl.gov/offices/hsg/sfh/hcc/hcs.cfm). You can also contact us
         toll-free at 8004957166 if you have questions aboutyour rig,hts-imder-SCRA-,              - -

        If you are a federal worker, tribal worker, state-worker or a householdnaemberor: landlorghof such _a _worker; • •
        you may be entitled to certain protections from foreclosure during a government shutdown and for 90 days
        thereafter under Nevada law. Please contact us immediately if you believe this may apply to you.

        For your benefit and assistance, there are government approved homeownership counseling agencies designed
        to help homeowners avoid losing their homes. To obtain a list of approved counseling agencies, please call
        1-800-569-4287 or visit http://apps.hud.gov/offices/hsg/sfh/hceihcs.cfm. You may also contact the
        Homeownership Preservation Foundation's Hope hotline at 1-888-995-HOPE (4673).

         A list of HUD-approved counseling agencies operating to assist borrowers in Nevada to avoid foreclosure can
         be found at the end of this notice.

         Please contact us directly at 8004957166 and ask to discuss these options.

         Thank you for your prompt attention to this matter.

         Sincerely,

         Fay Servicing, LLC
         425 S. Financial Place, 20th Floor
711":
         W NV NOI Rev. 02/2021
         Page 3 of 7                                                                                          2359426536




                                                     APPX0144
                                                               197 of 457
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                                           EXHIBIT "21"




 03/7/2021 Plaintiffs Objected to FAY SERVICING for Changing the
     Terms of the "Loan Modification" Set by Wells Fargo (SPA)
          Servicer for Fannie Mae and Caliber Home Loans
                       with Attached documents.




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                                                                              198 of 457
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1    FROM:
2    YOUSIF H. HALLOUM
3    IMAN Y. HALLOUM
 4
     2428 Devotion Ridge Dr.
 5
     Henderson, NV 89052
     Telephone: (209) 764-1165
 6
     email: noor123@ao1.com
 7
     In Pro Se
 8
 9
     TO:
10                                               Account Number: 000273410
     FAY SERVICING, LLC
11   425 S. Financial Place, 20th Floor
12   Chicago, IL 60605
13   Tel. (800) 495-7166
14

15   Facts:
16     A. The financing of the above property is a Government financing under
17         Fannie Mae and Wells Fargo Home Mortgage was the Servicer of the
18          loan. The terms of the Modification set by Fannie Mae see attached
19         Exhibit 3 and confirmed by the servicer Wells Fargo under "Trial Period
20         Plan Notice". See attached Exhibit 2.
21
     The terms of the loan as follows:
22
       1. 480 months (40 years)
23
       2. Interest is 4.25 fixed for the entire period.
       3. The deferred amount $155,000 (no interest) to be paid when the loan
24
            maturity 12/01/2055.
25

26
           There was a change in Servicer from Wells Fargo to Caliber Home Loans a
27
           letter received from Wells Fargo Home Mortgage. See attached Exhibit 5.
28
           Stating under paragraph 2:

           Since you may have questions about this change to your mortgage servicing,
           we're providing you with information to help make this transition easier for
           you. Rest assured this does not affect any terms or of your mortzaRe. This
           transfer simply affects how your mortgage is served, like where you send your
           payments.
           Fannie Mae set the mortgage terms (Exhibit 3) on page 2 stating:
             • The modified loan type will be fixed rate mortgage.

                         OBJECTION TO FAY SERVICING LETTER EXHIBIT l ATTACHED
                                                     1




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                                                                                199 of 457
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1
              • The interest rate will be 4.2500% and includes the servicing fee rate
 2              of 0.2500%.
 3            • The new term is 480 months. The new maturity date is 12/01/2055.
 4
 5           Fay Servicing attempting to change the interest under Paragraph (6) of the
 6           letter dated 2/1/21 so they can embezzle more money from the
 7           Homeowners. It is a fraud.
 8
 9     Neither Fay Servicing NOR Caliber Home Loans can change these terms.
10
11        Fay Servicing stated under paragraph (2): We are collecting the debt on behalf
12        of U.S. Bank Trust, N.A. as Trustee for LSF9 Master Participation Trust.
13
14
           Fay Servicing client purchased the loan from Fannie Mae based on the
15
           above terms.
16
        B. As far as the payments made by Caliber Home Loans to:
17
            a. Red Rock Financial and
18
            b. TERRAWEST SERVICES
19
         Their Claims were discharged under the United States Bankruptcy law and
20
     in violation of Fair Debt Collections Practices Act (FDCPA) 15 U.S.C. 1692, et seq.
21
22         A Complaint will be filed this coming week. See attached.
23
24      C. One of the Homeowners is 76 years old and having health problems, Fay
25         Servicing must stop harassing the Homeowner adding more stress on the
26         Homeowner, otherwise we will seek a legal action.
27
28
           Since the Homeowners became aware that Fay Servicing are the new
           servicers on their mortgage as of 01/20/21, the homeowner contacted the
           office at least half a dozen of times requesting the point of contact as
           required by law of the person in charge of their mortgage account. As of
           today, the homeowners were never given a point of contact.

           Yesterday the Homeowners received a harassment letter for refinancing and
           other options. The homeowners are not interested in any offers, the mortgage
           payments have been made on time for the last five (5) years and were never
           delinquent or late.

                         OBJECTION TO FAY SERVICING LETTER EXHIBIT I ATTACHED
                                                    2




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                                                                           200 of 457
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1               Finally, attached please find Exhibit 6 of 24 pages of Fay Servicin
 2         former dissatisfied customers reported to Better Business Bureau. Thi
 3         conduct seems familiar to what is going on with Homeowners mortgag
 4         account.

                 The Homeowners also are serving this objection letter with the
 -7        attachments on the law firm Fay Servicing have been using:

                      Ramir M. Hernandez, Esq.
10
                      Nevada Bar No. 13146
11
 -
                      Wright, Finlay & Zak, LLP
12
                       7785 W. Sahara Avenue, Suite 200
13
                       Las Vegas, Nevada 89117
                       (702) 475-7964
14

      Dated: March 7 ,2021
16
17
           Submitted by the Homeowners.
18
19
20


22
23
24                                                ou f Ha bourn
25
26
27
28




                        OBJECTION TO FAY SERVICING LETTER EXHIBIT I ATTACHED
                                                 3




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                                                               201 of 457
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                                           EXHIBIT "22"




   Fay Servicing Issued "ANNUAL ESCROW DISCLOSURE
STATEMENT" on 07/14/21 Inconsistent with the Terms of the
"Loan Modification" and comingling with Excess Super-Priority




                             APPX0149
                                                                                                                        202 of 457

         F     AY2:22-cv-01787-MMD-EJY Document 11 FiledANNUAL
             Case
               SERVICING
         P.O. Box 111209 Nashville, TN 37222
                                                        11/03/22 ESCROW
                                                                  Page 202ACCOUNT
                                                                           of 457
                                                         DISCLOSURE STATEMENT
                                                                                                                                            '

         Return Service Only - Please do not send mail to this address            gill Online Information: www.fayservicing.com
                                                                                         8am-9pm CST Mon-Thur. and 8:00am-Spm CST Fri. and 9-1pm
   RETURN SERVICE REQUESTED                                                              CST on Sat
                                                                                         Toll Free: (800) 495-7166
                                                                                         Fax: (630) 282-7548
    000286
    YOUSIF HALLOUM                                                                      Correspondence:
    2428 DEVOTION RIDGE DR
    HENDERSON, NV 89052
                                                                                     1 1601 LBJ Freeway Suite 1150
                                                                                       Farmers Branch, TX 75234

                                                                                  Analysis Date:                                 07/14/21
                                                                                  Loan Number:                               0000273410
                                                                                  Borrower Name:                          YOUSIF HALLOUM




Each year Fay Servicing, LLC reviews your escrow account to determine your new monthly escrow payment. As you may know,
we collect funds and hold them in your escrow account to pay property taxes and insurance premiums on your behalf. Below
are answers to the most commonly asked questions we receive about the annual escrow analysis and details related to your
account.
1. What is the amount of my new monthly payment starting September 01, 2021?
                7—
               /   Payment Items                                 Current Payment         New Payment       Difference
               (    Total Payment                                       1,594.21              1,560.75         -33.46
                        :    .:.          .
                    Portion Going to Escrow                               566.2                 532-76
                                               —,...,..-.....—

   • Note: If you currently use a third party bill pay service to make automatic payments, please update the amount
     scheduled to reflect the new payment amount listed above. If you are currently set up on automatic payments with Fay
     Servicing, this new amount will automatically take effect with your September payment.
2. What are the most common reasons that my escrow payment may change from year to year?
  A. Increases or Decreases in Amounts Billed — The amount we collect each month to be held in your escrow account
     may change based on increases or decreases to your property taxes, mortgage insurance premiums, or homeowners
     insurance premiums. The information below compares the amounts Fay Servicing expected to pay for each item this past
     year from your escrow account to the actual amounts that were paid or will be due.The difference column reflects the
     increase or decrease for each escrowed item
                                                                    Anticipated       Actual Amounts
                    Escrowed Item                                  Amounts Due           Paid or Due       Difference
                    COUNTY 1ST                                           $603.76             $603.76            $9.00
                    COUNTY 2ND                                           $603.76             $603.76            $0.00
                    COUNTY 3RD                                           $603.76             $603.76            $0.00
                    COUNTY 4TH                                           $603.76             $603.76            $0.00
                    HOMEOWNERS I                                         $766.23             $766.23            $0.00
                    Total Annual Escrow Payments                       $3,181.27           63,181.27            $0.00
               \      NI:1ntlirscrow Payments                            $265.10             $265.10            $0.00
                   zzzw 2,mw   wasm=matammizamwa                            msEmozamizazilatwa                   ve.r.EFS'

   B. Repayment of Escrow Shortage or Surplus - According to the projections shown in Table 1 on the reverse side,
      your escrow account will fall below the minimum required balance of $0.00 in March. This means you have a shortage
      of $9,635.86 in your escrow account.
                    Projected Low Escrow Balance                 Allowable Low Escrow Balance                   Shortage
             (:,            --$9m5136                                                                          ($9635 86)




                                                                 APPX0150
                                                                                                                       203 of 457
   YOUSIF.HALLOUM •
    Case 2:22-cv-01787-MMD-EJY                         Document 11 Filed 11/03/22 Page 203 ofLoan
                                                                                              457Number: 00002734
                                                                                      NEW PAYMENT EFFECTIVE DATE: September 01, 20;
                                    ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
 Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 1:
 months. This table shows the projected low balance point that is used to calculate an escrow surplus or shortage.
 TABLE 1 - ACCOUNT PROJECTIONS
                                                                                                                             -
                                                    Payments            Disbursements             Total                Minimum
   Month             Description                    Estimate            Estimate                  Balance              Rewired          Difference
                                           .
                   Beginning Balance                                                               -$8,914.05
    09/21           COUNTY 2ND                          265.10               603.76                 -9,252.71               0.00          -9,252.71
    10/21                                               265.10                 0.00                 -8,987.61               0.00          -8,987.61
    11/21                                               265.10                 0.00                 -8,722.51               0.00          -8,722.51
    12/21           COUNTY 3RD                          265.10               603.76                  -9,061.17              0.00          -9,061.17
    01/22                                               265.10                 0.00                  -8,796.07              0.00          -8,796.07
    02/22           COUNTY 4TH                           265.10              603.76                  -9,134.73              0.00          -9,134.73
    03122           HOMEOWNERS I                         265.10              766.23                  -9,635.86              0.00          -9,635.86
    04/22                                                265.10                0.00                  -9,370.76              0.00          -9,370.76
    05/22                                                265.10                0.00                  -9,105.66              0.00          -9,105.66
    06/22                                                265.10                0.00                  -8,840.56              0.00          -8,840.56
    07/22                                                265.10                0.00                  -8,575.46              0.00          -8,575.46
    08/22           COUNTY 1ST                           265.10              603.76                  -8,914.12              0.00          -8,914.12
  _        _                                93,181.20        $3,181.27
  "tow Balance used to determine escrow overage or shortage.
  Federal law (RESPA) allows lenders to Maintain a two month cushion in an escrow account. A lower cushion may be required:under
  state law. The cushion helps minimize the amount your escrow account could be overdrawn if tax or insurance payments :increase.

  Table 2 itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. Last year
  estimates are next to the actual adtiVity. The letter 'E beside an amount Indicates that the payment or disbursement tias notyet
  occurred, but is.estimated to occur as shown. An asterisk (*) indicates a difference from a previous estimate either in the date or
  amount and may be caused.by,any of the following:
        • -The actual amount of inairance.ortakes paid since your last Escrow Analysis Statement was higher or lower than anticipated
        • Additional funds were applied to your escrow account
        • The time elapsed between payments to escrow and disbursement from escrow was shorter or longer than anticipated on your
           last Escrow' Analysis Statement.-
                           : .
   TABLE 2- ESCROW ACTIVIThr HISTORY
                                                              Payments                   Projected Disbursements                 Total
     Month             Description -                      Estimate  Actual                .ESifirnate  . Actual                • Balance
     History           Beginning Balance
     05/2i                                                 285.10            0.00 *             0-00             0.00           46,965.53
     06/21                                                 285.10            000* '             0.00             '0.00        ' -2548553
                                                                                                                                 .
     07/21                                                 265.10       16,789.02 E             0.00            •0.00              -887651
     08/21             COUN-TY 1ST                          265.10         566.22 E           603.76.         .608.76 E            -8,914.05
     Totals                                              $1,060.40     $17,355.24            $603.76         se03.70




                                                                   IMPORTANT NO71OES
ACH Debit Borrowers: You have previously authorized Fay Servicing, LLC to automatically debit your bank account each month for the amount of your
monthly payment of principal; interest and escrow (if applicable). Please notathe.amount of your next ACI-I debit will be changed (increase/decrease) to
reflect the amount of your new monthly payment as reflected herein, Fay Servicing, LLC. is autborizedlo debit your bank account each month until you
provide written or oral notice toston TArtninMirsrt reauasimusLbe received hv Fsw Sevicinatt.LIZatieASLthree_(3)_business_clavs.onoria_voutne)d




                                                         APPX0151
                                                                                                   204 of 457
    Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 204 of 457
                                                   DISCLOSURES

Federal law requires us to advise you that Fay Servicing, LLC (NMLS ID 88244) as the servicer of your loan, is
responsible for collecting your payments; however, in some circumstances we may be acting as a debt collector, in
those circumstances, this communication is from a debt collector attempting to collect a debt and any information
obtained may be used for that purpose.

CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report. As required by law, you are hereby notified that a
negative credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to
fulfill the terms of your credit obligations.

IMPORTANT BANKRUPTCY NOTICE
Bankruptcy (if applicable) - To the extent your original obligation was discharged or is subject to an automatic
stay of bankruptcy under Title 11 of the U.S. Code, this statement is for compliance and/or informational purposes
only and does not constitute an attempt to collect a debt or to impose personal liability for such obligation.
However, Fay Servicing, LLC retains rights under its security instrument, including the right to foreclose its lien.

NOTICE TO CUSTOMERS
To provide us with a Notice of Errorabout the servicing ofvour-i
                                                               -oarr, or mate-a-Request forinformation-aboutthe
servicing of your loan, please contact us at:
                          Fay Servicing, LLC
                          Attn: Customer Service Department
                          3000 Professional Drive, Suite A
                          Springfield, IL 62703

Should you have any questions or concerns regarding your loan, please contact us at (800) 495-7166. Our office is
open 8am-9pm CST Mon-Thur. and 8:00am-5pm CST Fri. and 9-1pm CST on Sat.

MINI MIRANDA
This communication is from a debt collector and it is for the purpose of collecting a debt and any information
obtained will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection
Practices Act and does not imply that we are attempting to collect money from anyone who has discharged the
debt under the bankruptcy laws of the United States.

HUD STATEMENT
Pursuant to Section 169 of the Housing and Community Development Act of 1987, you may have the opportunity
to receive counseling from various local agencies regarding the retention of your home. You may obtain a list of
the HUD-approved housing counseling agencies by calling the HUD nationwide toll-free telephone number at
(800) 569-4287.

EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of
race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant's income derives from any public assistance program; or
because the applicant has in good faith exercised any right under the Customer Credit Protection Act. The federal
agency that administers compliance with this law concerning this creditor is:
                                               Federal Trade Commission
                                                 Equal Credit Opportunity
                                              600 Pennsylvania Avenue, NW
                                                  Washington, DC 20580
                                1-877-FTC-HELP (1-877-382-4357); TTD: 1-866-653-4261
                                                        www.ftc.gov

 SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) - If you or any other person on this mortgage is a servicemember or
 dependent of a servicemember, you may be entitled to certain protections under the Federal Servicemembers
 Civil Relief Act (50 U.S.C. Sec 501) regarding the servicemember's interest rate and the risk of foreclosure.
 Counseling for qualified individuals is available at agencies such as Military OneSource and Armed Forces Legal
 Assistance. To obtain information on counseling assistance, contact the OneSource Center, toll free, at
 (800)-342-9647 or visit their website: http://legalassistance.law.af.mil.contentilocator.ohp.

 PROPERTY INSPECTIONS




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                                                               205 of 457
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                                                 EXHIBIT "23"




Monthly Mortgage Statements Prepared by FAY SERVICING
     08/10/2021 included Unlawful amounts Paid to Home
       Owners Association and their Collection Agents by
              Former Servicer Caliber Home Loans




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                                                                                                                                           206 of 457

      F          Case 2:22-cv-01787-MMD-EJY Document 11 Filed
                  RVICENG
                                                              11/03/22 Page 206 of 457
                                                            MORTGAGE     STATEMENT
               P.O. Box 111209 Nashville, TN 37222      Statement Date: August 10, 2021
               Return Service Only - Please do not send mail to this address

                                                                                                       Online: www.fayservicing.com

         RETURN SERVICE REQUESTED                                                                      8am-9pm CST Mon-Thur. and 8:00am-5pm CST Fri. and
                                                                                                       9-1pm CST on Sat
                                                                                                       Phone: (800) 495-7166
          011166                                                                                       Fax: (630) 282-7548
          YOUSIF HALLOUM                                                                              Payments
          2428 DEVOTION RIDGE DR                                                                      PO Box 88009
          HENDERSON, NV 89052                                                                         Chicago, IL 60680-1009




                                                                                          Loan Number:                                                       0000273410
                                                                                           Payment Date:                                                      09/01/2021
Property Address:
2428_DEVOTION RIDGE D                                                                      Payment Amount:                                                  $30,52.414
HENDERSON,NV 89052                                                                                                                                _
                                                                                                                                                                  _NOkfe;,'32. •
           '
Loan Due Date                                                 -   11/01/2020             Principal,                                                              $235.46
Chitstanding Principal Balancel                                   $226,081.56            Interest                                                                $792.53
Deferred Balance                                                  $163,187.19            Escrow (Taxes and Insurance)                                            $532.76
Interest Rate                                                         4.250%                  Regular Monthly Payment                                          $1,560.75
Prepayment Penalty                                                        No             Overdue Payment(s)                                                   $27,635.14
Escrow Balance                                                    -$26,290.47            Total Fees or Charges                                                     $0.00
Recoverable Corporate Advances                                      $1,972.10            Recoverable Corporate Advance Balance                                 $1,972.10
1Please note, the balance on your billing statement is NOT your payoff amount. If        Suspense (Unapplied Funds)                                             ($643.75)
you want to payoff your loan, you can request a payoff quote via our website                  Total Payment Amount                                            $30,524.24
www.fayservicing.com, fax a request to (630) 282-7548, or contact our Customer
Service Department at (800) 495-7166.



                                                                                                                      Additional    Charges        Partial
   Date                                                                                                                Monthly        and         Payment           Total
   Paid     Description                                             Principal           Interest
                                                                                            _           Escrow         Amount        Fees        (Unapplied)
 07/22/21 COUNTY TAX PAID                                                      $0.00          $0.00      -$624.94           $0.00        $0.00           $0.00      -$624.94
 07/27/21 PROPERTY INSPECTION FEE                                              $0.00          $0.00         $0.00           $0.00      -$20.00           $0.00       -$20.00


                                                                               ,    ......                          ,
       .„---,:--                                           ...Laankruptc8umetisit                                                                                  ..
 Our records show that either you are a debtor in bankruptcy or you discharged personal liability for the mortgage loan in bankruptcy.
 We are sending this statement to you for informational and compliance purposes only. It is not an attempt to collect a debt against you.
 If you want to stop receiving statements, please write to us at 3000 Professional Drive, Suite A, Springfield, IL 62703. If you later want to resume receiving a mortgage
 statement, you must submit a written request to the same address. Please be aware that we must comply with any order entered by the court in your bankruptcy case that
 requires us to cease providing a mortgage statement.

           .Past,Payments Breakdown                                                                                            ritili
                                                                                                                               o T -
                           Paid Since Last Statement               Paid Year to Date
 Principal                                      $0.00                        $226.48
 Interest                                       $0.00                        $801.51
 Escrow (Taxes and Insurance)                   $0.00                      $2,515.06
 Fees and Charges                               $0.00                          $20.00
                                                                                             Recent Account History
 Partial Payment (Unapplied)*                   $0.00                        $643.75        * Payment Due 03/01/21 Unpaid Amount of $3,543.05.
 Total Payment                                  $0.00                      $4,205.80        * Payment Due 04/01/21 Unpaid Amount of $3,543.05.
                                                                                            * Payment Due 05/01/21 Unpaid Amount of $1,594.21.
               Important Information about Partial Payments                                 * Payment Due 06/01/21 Unpaid Amount of $1,594.21.
 * Partial Payments are not applied to your mortgage, but instead are held in               * Payment Due 07/01/21 Unpaid Amount of $1,594.21.
    a separate unapplied account. If you pay the balance of a partial payment,              * Payment Due 08/01/21 Unpaid Amount of $1,594.21.
    the unapplied funds will then be added to your mortgage. Adverse credit                 Current Payment Date 09/01/21: $1,560.75.
    reporting, late charges and property inspections may occur as a result of               Total: $30,524.24 unpaid amount that, if paid, would bring your loan current.
   the delinquency.
                                                                                            If you are experiencing financial difficulty: See back for information about
                                                                                            mortgage counseling or assistance.




                                                                         APPX0154
                                                                             207 of 457
                                                             mortgage matemeru
  1                        P.O. Box 619063
          Case 2:22-cv-01787-MMD-EJY
        SERVICING Dallas, TX 75261-9063  Document 11 Filed 11/03/22 Page Date
                                                              Statement  207 of07/10/2021
                                                                                457

                                                                               If you have questions or concerns about your statement,
                                                                               please contact us at 1-800-495-7166 between the hours of 8
                                                                               a.m. -:9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m
         5-775-19035-0067043-014-1-000-100-000-000                             CT Friday, and 10 a.m. -4 p.m. CT Saturday.
                                                                               www.fayservicing.com
         YOUSIF HALLOUM
         2428 DEVOTION RIDGE DR                                                Account Number                                              273410
         HENDERSON NV 89052-5674
                                                                               Payment Due Date                                         08/01/2021

                                                                               Amount Due                                           $2894349
                                                                                Property Address:

                                                                                2428 DEVOTION RIDGE D
                                                                                HEN1DERSON NV 89052



Bankruptcy Message                                                             Explanation of Amount Due
Our records show that either you are a debtor in                      .        Principal                                                    $234.63
bankruptcy or you discharged personal liability for the                        Interest                                                     $793.36
mortgage loan in bankruptcy.                                                   Escrow (for Taxes and/or Insurance)                          $566.22
                                                                               Regular Monthly Payment                                    $1,594.21
We are sending this statement to you for informational and                     Overdue Payments                                          $26,040.93
compliance purposes only. It is not an attempt to collect a                    Total Fees Charges                                         $1,952.10
debt against you.                                                              Suspense (Unapplied Funds)*                               • ($643.75)
If you want to stop receiving a mortgage statement, you must                    Total Amount Due                                         $28,943.49
submit a written request to the following address:
                 Fay Servicing, LLC
                 901 S. 2nd Street, Suite 201
                 Springfield, IL 62704

If you later want to resume receiving a mortgage statement,                    Account Information
you must submit a written request to the same address.                         Outstanding Principal                                    $389,268.7!
Please be aware that we must comply with any order entered                     Current Interest Rate                                      4.25000°/
by the court in your bankruptcy case that requires us to cease                 Escrow Balance                                           ($25,665.53
providing a mortgage statement.
Past Payments Breakdown
                                      Since Last Statement Paid Year to Date
Principal                                            $0.00      $226.48
Interest                                             $0.00      $801.51         **Account History**
Escrow                                               $0.00     $2,515.06        Recent Account History
Suspense                                             $0.00       $643.75        •   Payment Due: 07/01/21 Unpaid balance of $1,594.21
Fees                                                 $0.00        $20.00        •   Payment Due: 06/01/21 Unpaid balance of $1,594.21
                                                                                •   Payment Due: 05/01/21 Unpaid balance of $1,594.21
Total                                                $0.00     $4,206.80
                                                                                •   Payment Due: 04/01/21 Unpaid balance of $3,543.05
 Important Messages                                                             •   Payment Due: 03/01/21 Unpaid balance of $3,543.05
 *Partial Payments are not applied to your mortgage, but                        •   Payment Due: 02/01/21 Unpaid balance of $3,543.05
 instead are held in a separate unapplied account. If you pay
 the balance of a partial payment, the unapplied funds will then                •   Total:$28,943.49 unpaid amount that, if paid, would
 be added to your mortgage.                                                         bring your loan current.

                                                                                If You Are Experiencing Financial Difficulty: See back for
                                                                                information about mortgage counseling or assistance.




                                                               APPX0155
                                                                                                               208 of 457
                                                                                             • mortgage statement
               Case 2:22-cv-01787-MMD-EJY
                              P.O. Box 619063Document 11 Filed 11/03/22 Page 208 of 457
  1 SERVICING Dallas, TX 75261-9063                                                             Statement Date 04/10/2021
                                                                                 If you have questions or concerns about your statement,
                                                                                 please contact us at 1-800-495-7166 between the hours of 8
                                                                                 a.m. - 9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m.
          3-775-17562-0972327-015-1-000-100-000-000                              CT Friday, and 10 a.m. - 4 p.m. CT Saturday.
  11111"111111111111"1111111111111111111111111"11111111"111111
                                                                                 www.fayservicing.corn
          YOUS1F HALLOUM
      -4 2428 DEVOTION RIDGE DR                                                  Account Number                                           273410
          HENDERSON NV 89052-5674
                                                                                 Payment Due Date                                      05/01/2021
                                                                                 Amount Due                                        $24,100.86
                                                                                  Property Address:

                                                                                  2428 DEVOTION RIDGE D
                                                                                  HENDERSON NV 89052



Bankruptcy Message                                                               Explanation of Amount Due
Our records show that either you are a debtor in                                 Principal                                                $232.16
bankruptcy or you discharged personal liability for the                          Interest                                                 $795.83
mortgage loan in bankruptcy.                                                     Escrow (for Taxes and/or Insurance)                      $566.22
                                                                                 Regular Monthly Payment                                 $1,594.21
We are sending this statement to you for informational and                       Overdue Payments                                       $21,258.30
compliance purposes only. It is not an attempt to collect a                      Total Fees Charges                                      $1,892.10
debt against you.
                                                                                 Suspense (Unapplied Funds)*                             ($643.75)
If you want to stop receiving a mortgage statement, you must                     Total Amount Due                                       $24,100.86
submit a written request to the following address:
                 Fay Servicing, LLC
                 901 S. 2nd Street, Suite 201
                 Springfield, IL 62704

If you later want to resume receiving a mortgage statement,                      Account Information
you must submit a written request to the same address.                           Outstanding Principal                                 $389,268.75
Please be aware that we must comply with any order entered                       Current Interest Rate                                   4.25000%
by the court in your bankruptcy case that requires us to cease                   Escrow Balance                                        ($25,665.53)
providing a mortgage statement.
Past Payments Breakdown
                                        Since Last Statement Paid Year to Date
Principal                                           $0.00           $226.48
Interest                                             $0.00          $801.51      **Account History"
Escrow                                               $0.00        $2,515.06      Recent Account History
Suspense                                             $0.00          $643.75      • Payment Due: 04/01/21 Unpaid balance of $3,543.05
Fees                                                 $0.00             $0.00     • Payment Due: 03/01/21 Unpaid balance of $3,543.05
Total                                                                            • Payment Due: 02/01/21 Unpaid balance of $3,543.05
                                                      $0.00      $4,186.80
                                                                                 • Payment Due: 01/01/21 Unpaid balance of $3,543.05
Important Messages                                                               • Payment Due: 12/01/20 Unpaid balance of $3,543.05
*Partial Payments are not applied to your mortgage, but                          • Payment Due: 11/01/20 Unpaid balance of $2,899.30
instead are held in a separate unapplied account. If you pay
the balance of a partial payment, the unapplied funds will then                   •   Total:$24,100.86 unpaid amount that, if paid, would
be added to your mortgage.                                                            bring your loan current.

                                                                                  If You Are Experiencing Financial Difficulty: See back for
                                                                                  information about mortgage counseling or assistance.




                                                                   APPX0156
         rki                                                                                                               209 of 457
                                                                                             INV( 195:71W v..111.C1101 i ICA H.
                          P.O. Box 619063Document 11 Filed 11/03/22
  1      SERVICING
          Case 2:22-cv-01787-MMD-EJY                                PageDate
                                                             Statement
                                           Dallas, TX 75261-9063
                                                                         209 of 457
                                                                             05/10/2021
                                                                               If you have questions or concerns about your statement,
                                                                               please contact us at 1-800-495-7166 between the hours of 8
                                                                               a.m. - 9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m.
          1-775-18019-0071126-015-1-000-100-000-000                            CT Friday, and 10 a.m. -4 p.m. CT Saturday.
  illildwiiii1011111111111110111.1111111111..111nilmilii
                                                                               www.fayservicIng.com
         YOUSIF HALLOUM
         2428 DEVOTION RIDGE DR                                                Account Number                                              273410
         HENDERSON NV 89052-5674
                                                                               Payment Due Date                                         06/01/2021
                                                                               Amount Due                                           $25,715.07
                                                                                Property Address:

                                                                                2428 DEVOTION RIDGE D
                                                                                HENDERSON NV 89052


      ... .
BanktUptcy-fillessage----- --         ---                   -- Explanation-of Amount-Due--
Our records show that either you are a debtor in               Principal                                                                   $232.98
bankruptcy or you discharged personal liability for the        Interest                                                                    $795.01
mortgage loan in bankruptcy.                                   Escrow (for Taxes and/or Insurance)                                         $566.22
                                                               Regular Monthly. Payment                                                  $1,594.21
We are sending this statement to you for informational and     Overdue Payments                                                         $22,852.51
compliance purposes only. It is not an attempt to collect a    Total Fees Charges                                                        $1,912.10
debt against you.                                              Suspense (Unapplied Funds)*                                               ($643.75)
If you want to stop receiving,a mortgage statement, you must   Total Amount Due                                                         $25,715.07
submit a written request to the following address:
                 Fay Servicing, LLC
                 901 S. 2nd Street, Suite 201
                 Springfield, IL 62704

If you later want to resume receiving a mortgage statement,                    Account Information
you must submit a written request to the same address.                         Outstanding Principal                                    $389,268.75
Please be aware that we must comply with any order entered                     Current Interest Rate                                      4.25000%
by the court in your bankruptcy case that requires us to cease                 Escrow Balance                                           ($25,665.53)
providing a mortgage statement.
Past Payments Breakdown                                                 --
                                      Since Last Statement Paid Year to Date
Principal                                             $0.00     $226.48
Interest                                              $0.00     $801.51        **Account History**
Escrow                                                $0.00    $2,515.06       Recent Account History
Suspense                                              $0.00      $643.75       •    Payment Due: 05/01/21 Unpaid balance of $1,594.21
Fees                                                  $0.00        $0.00       •    Payment Due: 04/01/21 Unpaid balance of $3,543.05
                                                                               •    Payment Due: 03/01/21 Unpaid balance of $3,543.05
Total                                                 $0.00    $4,186.80
                                                                               •    Payment Due: 02/01/21 Unpaid balance of $3,543.05
Important Messages                                                             •    Payment Due: 01/01/21 Unpaid balance of $3,543.05
*Partial Payments are not applied to your mortgage, but                        •    Payment Due: 12/01/20 Unpaid balance of $3,543.05
instead are held in a separate unapplied account. If you pay
the balance of a partial payment, the unapplied funds will then                •    Total:$25,715.07 unpaid amount that, if paid, would
be added to your mortgage.                                                          bring your loan current.

                                                                                If You Are Experiencing Financial Difficulty: See back for
                                                                                information about mortgage counseling or assistance.




                                                                 APPX0157
        MT                                                                                                   210 of 457
                                                                                             mortgage atatement
       Case 2:22-cv-01787-MMD-EJY
  IT SERVICING         P.O. Box 619063Document 11 Filed 11/03/22 PageDate
                                                          Statement   210 of 457
                                                                          06/1 0/2021
                                          Dallas, TX 75261-9063
                                                                              If you have questions or concerns about your statement,
                                                                              please contact us at 1-800-495-7166 between the hours of 8
                                                                              a.m. - 9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m.
         8-775-18499-0069110-014-1-000-100-000-000                            CT Friday, and 10 a.m. -4 p.m. CT Saturday.
                                                                              www.fay.servicing.com
        YOUSIF HALLOUM
        2428 DEVOTION RIDGE DR                                                Account Number                                              273410
        HENDERSON NV 89052-5674
                                                                              Payment Due Date                                         07/01/2021

                                                                              Amount Due                                           $270329.28
                                                                               Property Address:

                                                                               2428 DEVOTION RIDGE D
                                                                               HENDERSON NV 89052



Bankruptcy Message                                                            Explanation of Amount Due
Our records show that either you are a debtor in                              Principal                                                   $233.80
bankruptcy or you discharged personal liability for the                       Interest                                                    $794.19
mortgage loan in bankruptcy.                                                  Escrow (for Taxes and/or insurance)                          $566.22
                                                                              Regular Monthly Payment                                    $1,594.21
We are sending this statement to you for informational and                    Overdue Payments                                          $24,446.72
compliance purposes only. It is not an attempt to collect a                   Total Fees Charges                                         $1,932.10
debt against you.                                                             Suspense (Unapplied Funds)*                                ($643.75)
If you want to stop receiving a mortgage statement, you must                  Total Amount Due                                          $27,329.28
submit a written request to the following address:
                 Fay Servicing, LLC
                 901 S. 2nd Street, Suite 201
                 Springfield, IL 62704

If you later want to resume receiving a mortgage statement,                   Account information
you must submit a written request to the same address.                        Outstanding Principal                                    $389,268.75
Please be aware that we must comply with any order entered                    Current Interest Rate                                      4.25000%
by the court in your bankruptcy case that requires us to cease                Escrow Balance                                           ($25,665.53)
providing a mortgage statement.                             .
Past-Payments-Breakdown                       --
                                     Since Last Statement Paid Year to Date
Principal                                            $0.00      $226.48
Interest                                             $0.00     $801.51        "Account        History**
Escrow                                               $0.00    $2,515.06       Recent Account History
Suspense                                             $0.00     $643.75         •   Payment Due: 06/01/21 Unpaid balance of $1,594.21
Fees                                                 $0.00       $20.00        •   Payment Due: 05/01/21 Unpaid balance of $1,594.21
                                                                              •    Payment Due: 04/01/21 Unpaid balance of $3,543.05
Total                                                $0.00    $4,206.80
                                                                               •   Payment Due: 03/01/21 Unpaid balance of $3,543.05
Important Messages                                                             •   Payment Due: 02/01/21 Unpaid balance of $3,543.05
*Partial Payments are not applied to your mortgage, but                        •   Payment Due: 01/01/21 Unpaid balance of $3,543.05
instead are held in a separate unapplied account. If you pay
the balance of a partial payment, the unapplied funds will then                •   Total:$27,329.28 unpaid amount that, if paid, would
be added to your mortgage.                                                         bring your loan current.

                                                                               If You Are Experiencing Financial Difficulty: See back for
                                                                               information about mortgage counseling or assistance.




                                                                APPX0158
                                                                                                                         211 of 457

  FAY    SERVICING P.O. Box 619063
                     Dallas, TX 75261-9063
                                                          Mortgage
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22  Statement
                                                                  Page 211 of 457
                                                                                                Statement Date 03/10/2021
                                                                                If you have questions or concerns about your statement,
                                                                                please contact us at 1-800-495-7166 between the hours of 8
                                                                                a.m. - 9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m.
          5-775-17159-0074634-015-1-000-100-000-000                             CT Friday, and 10 a.m. - 4 p.m. CT Saturday.
  hIhulIhItuIlllhuI1hIhtIIuIIlhIuluIhhIhh IlhI19lIIIuhhlI
                                                                                www.fayservicing.com
         YOUSIF HALLOUM
  L:41   2428 DEVOTION RIDGE DR                                                 Account Number                                              273410
         HENDERSON NV 89052-5674
                                                                                Payment Due Date                                         04/01/2021
                                                                                Amount Due                                           $22,486.65
                                                                                 Property Address:

                                                                                 2428 DEVOTION RIDGE D
                                                                                 HENDERSON NV 89052



Bankruptcy Message                                                              Explanation of Amount Due
Our records show that either you are a debtor in                                Principal                                                   $231.34
bankruptcy or you discharged personal liability for the                         Interest                                                    $796.65
mortgage loan in bankruptcy.                                                    Escrow (for Taxes and/or Insurance)                        $2,515.06
                                                                                Regular Monthly Payment                                    $3,543.05
We are sending this statement to you for informational and                      Overdue Payments                                          $17,715.25
compliance purposes only. It is not an attempt to collect a                     Total Fees Charges                                         $1,872.10
debt against you.                                                               Suspense (Unapplied Funds)*                                ($643.75)
If you want to stop receiving a mortgage statement, you must                    Total Amount Due                                          $22,486.65
submit a written request to the following address:
                 Fay Servicing, LLC
                 901 S. 2nd Street, Suite 201
                 Springfield, IL 62704

If you later want to resume receiving a mortgage statement,                     Account Information
you must submit a written request to the same address.                          Outstanding Principal                                    $389,268.75
Please be aware that we must comply with any order entered                      Current Interest Rate                                      4.25000%
by the court in your bankruptcy case that requires us to cease                  Escrow Balance                                           ($25,665.53)
providing a mortgage
                _       statement.
Past Payments Breakdown
                                       Since Last Statement Paid Year to Date
Principal                                      $226.48           $226.48
Interest                                       $801.51           $801.51         **Account History
Escrow                                        $2,515.06         $2,515.06        Recent Account History
Suspense                                    ($2,147.45)           $643.75        •   Payment Due: 03/01/21 Unpaid balance of $3,543.05
Fees                                              $0.00             $0.00        •   Payment Due: 02/01/21 Unpaid balance of $3,543.05
                                                                                 •   Payment Due: 01/01/21 Unpaid balance of $3,543.05
 Total                                        $1,395.60         $4,186.80
                                                                                 •   Payment Due: 12/01/20 Unpaid balance of $3,543.05
 Important Messages                                                              •   Payment Due: 11/01/20 Unpaid balance of $2,899.30
 *Partial Payments are not applied to your mortgage, but                         •   Payment Due: 10/01/20 Paid on 02/10/21
 instead are held in a separate unapplied account. If you pay
 the balance of a partial payment, the unapplied funds will then                 •   Total:$22,486.65 unpaid amount that, if paid, would
 be added to your mortgage.                                                          bring your loan current.

                                                                                 If You Are Experiencing Financial Difficulty: See back for
                                                                                 information about mortgage counseling or assistance.




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                                                                                                                              212 of 457

  F       SERVICING P.O.
          AY              Box 619063
                      Dallas, TX 75261-9063
                                                               MortgagePage
                 Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22  Statement
                                                                            212 of 457
                                                                                                    Statement Date 02/10/2021
                                                                                    If you have questions or concerns about your statement,
                                                                                    please contact us at 1-800-495-7166 between the hours of 8
                                                                                    a.m. - 9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m.
              7-775-16767-0076686-016-1-000-100-000-000                             CT Friday, and 10 a.m. -4 p.m. CT Saturday.
  1111111111111111111111111111111191111111111111111111111/11111i1
                                                                                    www.fayservicing.com
              YOUSIF HALLOUM
              2428 DEVOTION RIDGE DR                                                Account Number                                              273410
              HENDERSON NV 89052-5674                                               Payment Due Date                                         03/01/2021

                                                                                    Amount Due                                             $20,319.20
                                                                                     Property Address:

                                                                                     2428 DEVOTION RIDGE D
                                                                                     HENDERSON NV 89052


         :.            .
Bankruptcy Message                                                                  Explanation of Amount Due
Our records show that either you are a debtor in                                    Principal                                                   $230.52
bankruptcy or You discharged Personal liability for the                             Interest                                                    $797.47
mortgage loan in bankruptcy.                                                        Escrow (for Taxes and/or Insurance)                        $2,515.06
                                                                                    Regular Monthly Payment                                   $3,543.05
We are sending. ,this
                 , statement to you for informational and                           Overdue Payments                                         $17,715.25
compliance' purtitiSds Only. It is not an attempt to collect a                      Total Fees Charges                                         $1,852.10
debt against you.                                                                   Suspense (Unapplied Funds)*                              ($2,791.20)
If you want to stop receiving a mortgage statement, you must                        Total Amount Due                                         $20,319.20
submit a written request to the following address:
                 Fay Servicing, LLC
                 901 S. 2nd Street, Suite 201
                 Springfield, IL 62704

If you later want to resume receiving a mortgage statement,                         Account Information
you must submit a written request to the same address.                              Outstanding Principal                                    $389,495.23
Please be aware that we must comply with any order entered                          Current Interest Rate                                      4.25000%
by the court in your bankruptcy case that requires us to cease                      Escrow Balance                                           ($26,810.60)
providing a mortgage statement.
Past. Payments Breakdown
                                           Since Last Statement Paid Year to Date
Principal                                             $0.00             $0.00
Interest                                              $0.00             $0.00       "Account History**
Escrow                                                $0.00             $0.00        Recent Account History
Suspense                                          $2,791.20         $2,791.20        •   Payment Due: 02/01/21 Unpaid balance of $3,543.05
Fees                                                  $0.00             $0.00        •   Payment Due: 01/01/21 Unpaid balance of $3,543.05
                                                                                     •   Payment Due: 12/01/20 Unpaid balance of $3,543.05
Total                                             $2,791.20         $2,791.20
                                                                                     •   Payment Due: 11/01/20 Unpaid balance of $3,543.05
Important Messages                                                                   •   Payment Due: 10/01/20 Unpaid balance of $751.85
*Partial Payments are not applied to your mortgage, but                              •   Total:$20,319.20 unpaid amount that, if paid, would
instead are held in a separate unapplied account. If you pay                             bring your loan current.
the balance of a partial payment, the unapplied funds will then
be added to your mortgage.                                                           If You Are Experiencing Financial Difficulty: See back for
                                                                                     information about mortgage counseling or assistance.




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                                                  EXHIBIT "24"



"CAMCO" on behalf of the "Inspiration at Green Valley Ranch"
   Demanded and Collected from Plaintiffs Bank Account
                        $1,906.93




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                                                                                                                                              214 of 457
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Wells Fargo® Preferred Checking
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day. 7 days a week:
                                                                                                           We accept all relay calls, including 711
miiiii1111111111111111=101111011F
                                                                                                             1-800-TO-WELLS             (1-800-869-3557)

                                                                                                             En espariol: 1-877-727-2932



                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.corn or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           EI Direct Deposit
                                                                                                           Online Bill Pay          Z Auto Transfer/Payment       0
                                                                                                           Online Statements              Overdraft Protection    EI
                                                                                                           Mobile Banking           Z     Debit Card
                                                                                                           My Spending Report       Z Overdraft Service



Statement period activity summary                                                                          Account number: MEM=
         Beginning balance on 2/1                                                  $2,539.20               YOUSIF H HALLOUM
         Deposits/Additions                                                         1,550.01               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 3,711.92               For Direct Deposit use
         Ending balance on 2/28                                                     $377.29                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (825)
      Sheet Seq = 0014709
      Sheet 00001 of 00003

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Interest summary
     Interest paid this statement                                 $0.01
     Average collected balance                                  $913.16
     Annual percentage yield earned                              0.01%
     Interest earned this statement period                        $0.01
     Interest paid this year                                      $0.02
     Total interest paid in 2020                                  $0.14




Transaction history

                        Check                                                                   Deposits/   Withdrawals/    Ending daily
     Date              Number Description                                                       Additions    Subtractions       balance
     2/3                       Bill Pay Fay Servicing LLC Recurring x73410 on 02-03                             1,395.60       1,143.60
                          8124 Check                                                                              426.31         717.29
     2/9                       Recurring Payment authorized on 02/08 Apple.Com/Bill                                15.99         701.30
                               866-712-7753 CA 5461039426304828 Card 0473
     2/10                      Recurring Payment authorized on 02/09 Cloudconvert Grunwald                          8.00         693.30
                               Deu S381041080460144 Card 0473
     2/11                      Non-WF ATM Balance Inquiry Fee 02/11 4949 N Ranch Las Vegas                          2.00
                               NV ATM ID Nvsfsx08 Card 0473
     2/11                      Purchase authorized on 02/09 Apple Cash 877-233-8552 CA                             20.00
                               S461040843531543 Card 0473
     2/11                      Non-WF ATM Withdrawal authorized on 02/11 4949 N Rancho                            303.99         367.31
                               Drive Las Vegas NV 00301042517129492 ATM ID Nvsfsx08 Card
                               0473
     2/16                      ATM Cash Deposit on 02/13 10010 S. Eastern Ave Henderson NV        100.00
                               0001891 ATM ID 5456Y Card 0473
     2/16                      Purchase authorized on 02/13 Apple Cash 877-233-8552 CA                             30.00
                               S381045027592999 Card 0473
     2/16                      Recurring Payment authorized on 02/14 Cloudconvert Grunwald                          8.00         429.31
                               Deu S381045780416000 Card 0473
     2/17                      SSA Trees 310 Xxsoc Sec 021721 xxxxx2986A SSA Yousif H           1,450.00                        1,879.31
                               Halloum
     2/18                      Cty of Henderson Utilities 0002532279 Yousif H Halloum                              88.33        1,790.98
     2/19                      Non-WE ATM Withdrawal authorized on 02/19 9777 S Las Vegas                         503.50
                               B Las Vegas NV 00581 050337945289 ATM ID Cpss3020 Card 0473
     2/19                      Non-Wells Fargo ATM Transaction Fee                                                  2.50        1,284.98
     2/22                      Recurring Payment authorized on 02/20 Vesta *AT&T Prepa                             55.06        1,229.92
                               866-608-3007 OR S461051488677506 Card 0473
     2/23                      Non-WF ATM Balance Inquiry Fee 02/22 3333 Blue Di Las Vegas                          2.00
                               NV ATM ID Nvshcx09 Card 0473
     2/23                      Non-WF ATM Withdrawal authorized on 02/22 3333 Blue                                505.00
                               Diamond Rd Las Vegas NV 00301054233940006 ATM ID
                               Nvshcx09 Card 0473
     2/23                      Non-Wells Fargo ATM Transaction Fee                                                  2.50         720.42
     2/24                      Purchase authorized on 02/24 Costco Gas #1320 Henderson NV                          50.03
                               P00381055778588191 Card 0473
     2/24                      Purchase authorized on 02/24 Costco VVhse #1320 Henderson NV                        27.38         643.01
                               P00461055794852459 Card 0473
     2/25                      Recurring Payment authorized on 02/24 Apple.Com/Bill                                 0.99
                               866-712-7753 CA S381055520410664 Card 0473
     2/25                      Purchase authorized on 02/24 Kaiser Direct Pay 800-464-4000 CA                      16.00
                               S381055810066560 Card 0473
     2/25                      Cox Comm Las Bankdraft 022521 476089320303001 [man                                 203.03         422.99
                               Halloum




                                                               APPX0163
    ••

                                                                                                                                     216 of 457
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                                                                                                  Questions?
YOUSIF H HALLOUM                                                                                  Available by phone 24 hours a day, 7 days a week:
                                                                                                  We accept all relay calls, including 711
                                                                                                   1 -8 00-TO-WE L LS (1-800-869-3557)
                                                                                                   En espanol: 1-877-727-2932




                                                                                                  Online: wellsfargo.com

                                                                                                  Write: Wells Fargo Bank, N.A. (825)
                                                                                                          P.O. Box 6995
                                                                                                          Portland, OR 97228-6995




 You and Wells Fargo                                                                              Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wellsfargo.com or call the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                  Online Banking                Direct Deposit        111
                                                                                                  Online Bill Pay               Auto Transfer/Payment Ei
                                                                                                  Online Statements             Overdraft Protection
                                                                                                  Mobile Banking                Debit Card
                                                                                                  My Spending Report            Overdraft Service




           IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
hearing customers and customers with speech disorders.



Statement period activity summary                                                                 Account number: 81/11111/1.

           Beginning balance on 3/1                                               5377.29         YOUSIF H HALLOUM
           Deposits/Additions                                                     5,150.00        Nevada account terms and conditions apply
           Withdrawals/Subtractions                                          - 3,284.28           For Direct Deposit use
           Ending balance on 3/31                                            $2,243.01            Routing Number (RTN): 321270742




         (825)
         Sheet Seq = 0013610
         Sheet 00001 of 00003
                                                                  APPX0164
                                                                                                                                              217 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.00
       Average collected balance                                        $725.19
       Annual percentage yield earned                                     0.00%
       Interest earned this statement period                               $0.00
       Interest paid this year                                             $0.02
       Total interest paid in 2020                                         $0.14




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       3/1                        Edeposit IN Branch/Store 02/27/21 10:05:33 Am 10010 S Eastern                      1,000.00
                                  Ave Henderson NV 0473
        3/1                       ATM Cash Deposit on 02/28 2658 W Horizon Ridge Park                                  700.00                                   2,077.29
                                  Henderson NV 0004874 ATM ID 1722C Card 0473
        3/2                       Purchase authorized on 03/01 Rei*Payment Center 800-227-9597                                               165.71             1,911.58
                                  OH S301060546015152 Card 0473
        3/3                       Bill Pay Fay Servicing LLC Recurring x73410 on 03-03                                                     1,395.60              515.98
        3/4                       Purchase authorized on 03/04 Smiths Fo 1000 N. Gree                                                         42.25              473.73
                                  Henderson NV P00000000076206168 Card 0473
        3/5                       Recurring Payment authorized on 03104 Apple.Com/Bill                                                        15.99              457.74
                                  866-712-7753 CA S581063427245303 Card 0473
        3/8                       Purchase authorized on 03/07 Lexisnexis Payment 800-227-9597                                               165.71
                                  OH S301066393357172 Card 0473
        3/8                       Purchase authorized on 03/08 Target T- 695 S Green Henderson                                                29.10              262.93
                                  NV P00000000585567758 Card 0473
        3/10                      Purchase authorized on 03/08 Apple Cash 877-233-8552 CA                                                       1.00
                                  S301068108857499 Card 0473
        3/10                      Purchase authorized on 03/08 Apple Cash 877-233-8552 CA                                                       1.00             260.93
                                  S381068111741457 Card 0473
        3/15                      Purchase authorized on 03/12 Lexisnexis Payment 800-227-9597                                               165.71
                                  OH S581071711219543 Card 0473
        3/15                      Recurring Payment authorized on 03/14 Cloudconvert Grunwald                                                   8.00
                                  Deu S381073817393775 Card 0473
        3/15                      Purchase authorized on 03/15 Costco Whse #1320 Henderson NV                                                 21.46               65.76
                                  P00381074813019098 Card 0473
        3/17                      SSA Treas 310 Xxsoc Sec 031721 moom2986A SSA Yousif H                              1,450.00
                                  Halloum
        3/17                      Purchase with Cash Back $ 40.00 authorized on 03/17 Target T-                                               64.84
                                  9725 S Easte Las Vegas NV P00000000736889979 Card 0473
        3/17                      Cty of Henderson Utilities 0002561269 Yousif H Halloum                                                      97.98             1,352.94
        3/18                      Non-WE ATM Balance Inquiry Fee 03/18 4111 Boulder Las Vegas                                                  2.00
                                  NV ATM ID Nvipoux32 Card 0473
        3/18                      Non-WF ATM Balance Inquiry Fee 03/184111 Boulder Las Vegas                                                    2.00
                                  NV ATM ID Nyboux25 Card 0473
        3/18                      ATM Withdrawal authorized on 03/18 900 N Green Valley Parkwa                                               100.00
                                  Henderson NV 0002304 ATM ID 5456W Card 0473
        3/18                      Purchase authorized on 03/18 The Home Depot #3306 Las Vegas                                                 82.30
                                  NV P00301077800674952 Card 0473
        3/18                      Purchase authorized on 03/18 Target T- 9725 S Easte Las Vegas                                               23.82             1,142.82
                                  NV P00000000671106767 Card 0473
        3/19                 8121 Check                                                                                                      426.31              716.51




                                                                       APPX0165
                                                                                                                                     218 of 457
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Wells Fargo® Preferred Checking
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                                                                                                  Questions?
YOUSIF H HALLOUM                                                                                  Available by phone 24 hours a day, 7 days a week:
                                                                                                  We accept all relay calls, including 711
                                                                                                   1-800-TO-WELLS (1-800-869-3557)
1.1111111111111111111.111111IMMIK
                                                                                                   En espariols 1-877-727-2932




                                                                                                  Online: wellsfargo.com

                                                                                                  Write: Wells Fargo Bank, N.A. (825)
                                                                                                         P.O. Box 6995
                                                                                                         Portland, OR 97228-6995




 You and Wells Fargo                                                                              Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wellsfargo.com or call the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                  Online Banking          ▪     Direct Deposit
                                                                                                  Online Bill Pay         El    Auto Transfer/Payment
                                                                                                  Online Statements             Overdraft Protection
                                                                                                  Mobile Banking          [1 Debit Card
                                                                                                  My Spending Report      •     Overdraft Service




       IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
hearing customers and customers with speech disorders.



Statement period activity summary                                                                 Account number: 111..111111111

        Beginning balance on 4/1                                                $2,243.01         YOUSIF H HALLOUM
        Deposits/Additions                                                        3,250.01        Nevada account terms and conditions apply
        Withdrawals/Subtractions                                                - 3,679.50        For Direct Deposit use
        Ending balance on 4/30                                                  $1,813.52         Routing Number (RTN): 321270742




      (825)
      Sheet Seq = 0012939
      Sheet 00001 of 00003
                                                                   APPX0166
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     4/19                  Purchase authorized on 04/15 IN N Out Burger 16 Las Vegas NV                 6.50
                           S381106114182464 Card 0473
     4/19                  Purchase authorized on 04/17 Smiths Food #434 1000 N.                        2.85
                           Henderson NV P00381107614693204 Card 0473
     4/19                  Purchase authorized on 04/18 Smiths Food #434 1000 N.                        8.99          75.71
                           Henderson NV P00581108562563190 Card 0473
     4/20                  Purchase authorized on 04/18 Apple Cash 877-233-8552 CA                     25.00          50.71
                           S461109134529603 Card 0473
     4/21                  SSA Treas 310 Xxsoc Sec 042121 xxxxx2986A SSA Yousif H          1,450.00
                           Halloum
     4/21                  Purchase authorized on 04/21 Costco Gas #1320 Henderson NV                  55.34
                           P00301111709990910 Card 0473
     4/21                  Purchase authorized on 04/21 Smiths Fo 1000 N. Gree                         27.52
                           Henderson NV P00000000875184344 Card 0473
     4/21                  Purchase authorized on 04/21 Costco VVhse #1320 Henderson NV                17.06        1,400.79
                           P00461111795665517 Card 0473
     4/22                  Recurring Payment authorized on 04/21 Vesta *AT&T Prepa                     55.06
                           866-608-3007 OR S581111481309849 Card 0473
     4/22                  Purchase authorized on 04/22 Aladdin International Las Vegas                19.14
                           NV P00000000583959960 Card 0473
     4/22                  Purchase authorized on 04/22 Target T- 9725 S Easte Las Vegas               22.95        1,303.64
                           NV P00000000589701111 Card 0473
     4/23                  Purchase authorized on 04/22 Solutions Specialt Las Vegas NV               169.00
                           S581112616925616 Card 0473
     4/23                  Non-WF ATM Withdrawal authorized on 04/23 7300 N Aliante Par               303.99
                           North Las Veg NV 00461113590084066 ATM ID Cpsa0013 Card
                           0473
     4/23                  Non-Wells Fargo ATM Transaction Fee                                          2.50
     4/23             8122 Check                                                                      426.31         401.84
     4/26                  Recurring Payment authorized on 04/24 Apple.Com/Bill                         0.99
                           866-712-7753 CA S581114485095268 Card 0473
     4/26                  Purchase authorized on 04/24 Costco Gas #1320 Henderson NV                  54.08
                           P00381114702347862 Card 0473
     4/26                  Cox Comm Las Bankdraft 042521 476089320303001 Iman                         199.13         147.64
                           Halloum
     4/27                  ATM Cash Deposit on 04/27 900 N Green Valley Parkwa             1,000.00
                           Henderson NV 0008395 ATM ID 5456W Card 0473
     4/27                  Purchase authorized on 04/26 District Coffee Be Henderson NV                 7.91        1,139.73
                           S581116552180588 Card 0473
     4/28                  ATM Cash Deposit on 04/28 900 N Green Valley Parkwa              800.00
                           Henderson NV 0008613 ATM ID 5456W Card 0473
     4/28                  Purchase authorized on 04/26 Apple Cash 877-233-8552 CA                     50.00
                           S581116836662410 Card 0473
     4/28                  Purchase authorized on 04/26 Apple Cash 877-233-8552 CA                     50.00        1,839.73
                           S301116837018705 Card 0473
     4/29                  Purchase authorized on 04/27 PF Changs #9945 Henderson NV                   26.22        1,813.51
                           S301118103095837 Card 0473
     4/30                  Interest Payment                                                    0.01                 1,813.52
     Ending balance on 4/30                                                                                     1,813.52




                                                            APPX0167
                                                                                                                                         220 of 457
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Wells Fargo® Preferred Checking
June 30, 2021 it Page 1 of 4




                                                                                                     Questions?
YOUSIF H HALLOUM                                                                                     Available by phone 24 hours a day, 7 days a week:
ii11111111111•1•111111111111M2                                                                       We accept all relay calls, including 711

HENDERSON NV 89052-5674                                                                                1-800-TO-WELLS             (1-800-869-3557)

                                                                                                       En espailol: 1-877-727-2932




                                                                                                      Online: wellsfargo.com

                                                                                                     Write: Wells Fargo Bank, N.A. (825)
                                                                                                            P.O. Box 6995
                                                                                                            Portland, OR 97228-6995




 You and Wells Fargo                                                                                 Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                        A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                      convenient services with your account(s). Go to
                                                                                                     wellsfargo.com or call the number above if you have
                                                                                                     questions or if you would like to add new services.

                                                                                                     Online Banking          • Direct Deposit
                                                                                                     Online Bill Pay         • Auto Transfer/Payment
                                                                                                      Online Statements            Overdraft Protection
                                                                                                     Mobile Banking          El Debit Card
                                                                                                      My Spending Report     • Overdraft Service




        IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
hearing customers and customers with speech disorders.



Statement period activity summary                                                                     Account number: 11
                                                                                                                       /11/11/0)
        Beginning balance on 6/1                                                $3,238.34             YOUSIF H HALLOUM
        Deposits/Additions                                                        3,547.41            Nevada account terms and conditions apply
        Withdrawals/Subtractions                                                - 4,071.52            For Direct Deposit use
        Ending balance on 6/30                                                  $2,714.23             Routing Number (RTN): 321270742




     (825)
     Sheet Seq 0014595
     Sheet 00001 of 00002
                                                                    APPX0168
                                                                                                                                              221 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.02
       Average collected balance                                      $2,574.77
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.02
       Interest paid this year                                             $0.06




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions          Subtractions             balance
       6/1                            ATM Cash Deposit on 05/30 2531 Anthem Village Dr Henderson                      400.00
                                      NV 0004392 ATM ID 8481N Card 0473
       6/1                            Edeposit IN Branch/Store 06/01/21 11:52:17 Am 10010 S Eastern                    101.79
                                      Ave Henderson NV 0473
       6/1                            Purchase authorized on 05/28 Pacer800-676-68561 800-676-6856                                           242.90
                                      TX S301148599283757 Card 0473
       6/1                            Recurring Payment authorized on 05/29 Apple.Com/Bill                                                      0.99
                                      408-974-1010 CA S461149753582034 Card 0473
       6/1                            Purchase authorized on 05/30 Apple Cash 877-233-8552 CA                                                   1.00
                                      S461150837388525 Card 0473
       6/1                            Purchase authorized on 06/01 Vons #2511 Henderson NV                                                   203.04             3,292.20
                                      P00301152617194016 Card 0473
       6/3                            Bill Pay Payment Return on 06-03                                               1,395.60
       6/3                            Bill Pay Fay Servicing LLC Recurring x73410 on 06-03                                                 1,395.60             3,292.20
       6/4                            Bill Pay Fay Servicing LLC Mobile x73410 on 06-04                                                    1,395.60             1,896.60
       6/7                            Recurring Payment authorized on 06/04 Apple.Com/Bill                                                    15.99             1,880.61
                                      866-712-7753 CA 5301155389861617 Card 0473
       6/15                           Recurring Payment authorized on 06/14 Cloudconvert Grunwald                                               8.00            1,872.61
                                      Deu S381165817020946 Card 0473
       6/16                           SSA Treas 310 Xxsoc Sec 061621 moco(2986A SSA Yousif H                         1,450.00
                                      Halloum
       6/16                           Cty of Henderson Utilities 0002652914 Yousif H Halloum                                                  83.10             3,239.51
       6/18                           ATM Cash Deposit on 06/18 900 N Green Valley Parkwa                              200.00                                   3,439.51
                                      Henderson NV 0006316 ATM ID 5456W Card 0473
        6/21                          Purchase authorized on 06/17 Apple Cash 877-233-8552 CA                                                 50.00
                                      S581169139382692 Card 0473
       6/21                           Purchase authorized on 06/17 Apple Cash 877-233-8552 CA                                                 50.00
                                      S381169143809847 Card 0473
        6/21                          Recurring Payment authorized on 06/20 Vesta *AT&T Prepa                                                 55.06
                                      866-608-3007 OR S581171470267480 Card 0473
---
  )6/21                               Inspiration at G Assoc Pmt 210621 246282 Yousif H Halloum                                              314.00             2,970.45
    6/23                              Purchase authorized on 06/23 Costco Gas #1320 Henderson NV                                              55.12             2,915.33
                                      P00461174652156617 Card 0473
        6/25                          Cox Comm Las Bankdraft 062521 476089320303001 'man                                                     199.13             2,716.20
                                      Halloum
        6/28                          Recurring Payment authorized on 06/24 Apple.Com/Bill                                                      0.99
                                      866-712-7753 CA S461175484982416 Card 0473




                                                                       APPX0169
                                                                                                                                   222 of 457
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Wells Fargo® Preferred Checking
July 31, 2021 • Page 1 of 5




                                                                                                Questions?

YOUSIF H HALLOUM                                                                                Available by phone 24 hours a day, 7 days a week:
                                                                                                We accept all relay calls, including 711
311.11ININNIMISMINIM
                                                                                                  1-800-TO-WELLS             (1-800-869-3557)

                                                                                                  En espariol: 1-877-727-2932




                                                                                                 Online: wellsfargo.com

                                                                                                Write: Wells Fargo Bank, N.A. (825)
                                                                                                       P.O. Box 6995
                                                                                                       Portland, OR 97228-6995




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                                                                                                welisfargo.com or call the number above if you have
                                                                                                questions or if you would like to add new services.

                                                                                                 Online Banking         El    Direct Deposit
                                                                                                 Online Bill Pay        O     Auto Transfer/Payment 0
                                                                                                 Online Statements      0     Overdraft Protection    0
                                                                                                 Mobile Banking         •     Debit Card
                                                                                                 My Spending Report           Overdraft Service




Other Wells Fargo Benefits

Help take control of your finances with a Wells Fargo Personal Loan.
Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
be able to help. See personalized rates and payments in minutes with no impact to your credit score, before you apply.
Go to wellsfargo.com/personalloan or call 1-855-324-9370, Monday through Friday, from 8:00 a.m. to 7:00 p.m. Central Time.



Statement period activity summary                                                                Account number: 41011/allaa

        Beginning balance on 7/1                                                $2,714.23        YOUSIF H HALLOUM
        Deposits/Additions                                                        4,885.60       Nevada account terms and conditions apply
        Withdrawals/Subtractions                                                - 4,890.51       For Direct Deposit use
        Ending balance on 7/31                                                  $2,709.32        Routing Number (RTN): 321270742




     (8251
     Sheet Seq = 0013344
     Sheet 00001 of 00003
                                                                   APPX0170
                                                                                                                                              223 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.01
       Average collected balance                                      $1,653.02
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.01
       Interest paid this year                                             $0.07




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions          Subtractions             balance
       7/1                            Purchase authorized on 06/29 Apple Cash 877-233-8552 CA                                                 50.00            2,664.23
                                      S461180420479405 Card 0473
                                      Inspiration at G Assoc Pmt 210702 246282 Yousif H Halloum                                              157.00             2,507.23
       7/6                            Bill Pay Payment Return on 07-06                                               1,395.60
       7/6                            Bill Pay Fay Servicing LLC Recurring x73410 on 07-06                                                 1395.60
                                                                                                                                            ,
       7/6                            Recurring Payment authorized on 07/04 Apple.Com/Bill                                                    15.99             2,491.24
                                      866-712-7753 CA S301185389851808 Card 0473
       7/7                            Bill Pay Fay Servicing LLC Mobile x73410 on 07-07                                                    1,395.60             1,095.64
       7/13                           Purchase authorized on 07/13 Costco Gas #1320 Henderson NV                                              50.01
                                      P00461194636654607 Card 0473
       7/13                           Purchase authorized on 07/13 Costco Whse #1320 Henderson NV                                             43.22
                                      P00461194655787969 Card 0473
       7/13                           Purchase authorized on 07/13 Smiths Fo 10616 E. Eas Henderson                                           27.40              975.01
                                      NV P00000000384623473 Card 0473
        7/15                          Recurring Payment authorized on 07/14 Cloudconvert Grunwald                                              8.00
                                      Deu S381195817149986 Card 0473
        7/15                          Cty of Henderson Utilities 0002683226 Yousif H Halloum                                                 112.35              854.66
        7/16                          Purchase authorized on 07/14 Smart N Go Renton WA                                                        2.79
                                      S461195610298405 Card 0473
        7/16                          Purchase authorized on 07/16 Smiths Fo 1000 N. Gree                                                     37.55              814.32
                                      Henderson NV P00000000286963544 Card 0473
        7/19                          Purchase authorized on 07/15 IN N Out Burger 16 Las Vegas NV                                              6.50
                                      S301197091244692 Card 0473
        7/19                          Purchase authorized on 07/16 Petco 531 Las Vegas NV                                                     24.92
                                      P00581198047754295 Card 0473
        7/19                          Purchase authorized on 07/17 Star Nursery 1006 Las Vegas NV                                             21.66
                                      P00301198559759945 Card 0473
        7/19                          Purchase authorized on 07/17 Smiths Food #434 10616 E.                                                    3.59
                                      Henderson NV P00461198802463078 Card 0473
        7/19                          Purchase authorized on 07/17 Costco INhse #1320 Henderson NV                                            29.67              727.98
                                      P00461198826827404 Card 0473
        7/20                          Purchase authorized on 07/18 IN N Out Burger 16 Las Vegas NV                                              6.50
                                      S461199784080274 Card 0473
        7/20                          Non-WF ATM Withdrawal authorized on 07/19 7300 N Aliante Par                                           303.99
                                      North Las Veg NV 00301201120904436 ATM ID Cpsa0008 Card
                                      0473
        7/20                          Purchase authorized on 07/20 Costco Gas #1320 Henderson NV                                              67.3 7
                                      P00461201687504526 Card 0473
        7/20                          Purchase authorized on 07/20 Costco VVhse #1320 Henderson NV                                            73. 00             277.12
                                      P00581201718186270 Card 0473
        7/21                          SSA Treas 310 Xxsoc Sec 072121 xxxxx2986A SSA Yousif H                         1,450.00
                                      Halloum




                                                                       APPX0171
                                                                                                                                224 of 457
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Wells Fargo® Preferred Checking
August 31, 2021 st Page 1 of 5




                                                                                             Questions?
YOUSIF H HALLOUM                                                                             Available by phone 24 hours a day, 7 days a week:
71111111111111111~11111111110111                                                             We accept all relay calls, including 711

111111                                                                                         1-800-TO-WELLS             (1-800-869-3557)

                                                                                               En espanol: 1-877-727-2932




                                                                                             Online: wellsfargo.com

                                                                                             Write: Wells Fargo Bank, N.A. (825)
                                                                                                    P.O. Box 6995
                                                                                                    Portland, OR 97228-6995




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                                                                                             wellsfargo.com or call the number above if you have
                                                                                             questions or if you would like to add new services.

                                                                                             Online Banking          El    Direct Deposit
                                                                                             Online Bill Pay               Auto Transfer/Payment
                                                                                             Online Statements       111 Overdraft Protection
                                                                                             Mobile Banking          El    Debit Card
                                                                                             My Spending Report      El Overdraft Service




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Go to wellsfargo.com/personalloan or call 1-855-324-9370, Monday through Friday, from 8:00 a.m. to 7:00 p.m. Central Time.



Statement period activity summary                                                            Account number: 111Miliglii
        Beginning balance on 8/1                                             $2,709.32        YOUSIF H HALLOUM
        Deposits/Additions                                                    4,845.61        Nevada account terms and conditions apply
        Withdrawals/Subtractions                                             - 5,214.52      For Direct Deposit use
        Ending balance on 8/31                                              $2,340.41        Routing Number (RTN): 321270742




     (B25)
     Sheet Seq = 0014444
     Sheet 00001 of 00003
                                                                  APPX0172
                                                                                                                                              225 of 457
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August 31, 2021 • Page 2 of 5




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.01
       Average collected balance                                      $1,111.95
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.01
       Interest paid this year                                             $0.08




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions          Subtractions             balance
       8/3                       Bill Pay Fay Servicing LLC Recurring x7341D on 08-03                                                     1,395.60             1,313.72
       8/4                       Bill Pay Payment Return on 08-04                                                    1,395.60
       8/4                       Purchase authorized on 08/04 Vons #2511 Henderson NV                                                         10.02
                                 P00461216712871154 Card 2587
•----0)8/4                       Inspiration at G Assoc Pmt 210804 246282 Yousif H Halloum                                                   157.00             2,542.30
        8/5                      Purchase authorized on 08/04 Smiths Fo 1000 N. Gree                                                          26.28
                                 Henderson NV P00000000239833521 Card 2587
       8/5                       Bill Pay Fay Servicing LLC Mobile x73410 on 08-05                                                         1,395.60             1,120.42
       8/9                       Purchase authorized on 08/06 Apple.Com/Bill 866-712-7753 CA                                                  15.99
                                 S301218662580553 Card 2587
       8/9                       Recurring Payment authorized on 08/06 Apple.Com/Bill                                                          0.99
                                 408-974-1010 CA S301218665597497 Card 2587
       8/9                       Purchase authorized on 08/07 Lexisnexis Payment 800-227-9597                                                170.69              932.75
                                 OH S381219374919052 Card 2587
       8/10                 8152 Check                                                                                                       505.00              427.75
       8/12                           Purchase authorized on 08/10 Pacer800-676-68561 800-676-6856                                           289.40
                                      TX S461223214103230 Card 2587
       8/12                           Purchase authorized on 08/12 Smiths Fo 1000 N. Gree                                                     23.82              114.53
                                      Henderson NV P00000000880974589 Card 2587
       8/17                           Purchase authorized on 08/17 Smiths Fo 1000 N. Gree                                                     24.77               89.76
                                      Henderson NV P00000000571484688 Card 2587
       8/18                           SSA Trees 310 Xxsoc Sec 081821 xxxxx2986A SSA Yousif H                         1,450.00
                                      Halloum
       8/18                           Purchase authorized on 08/18 WM Superc Wal-Mart Sup Las                                                 63.77
                                      Vegas NV P00000000335066686 Card 2587
       8/18                           Purchase authorized on 08/18 Wal-Mart Super Center Las Vegas                                            20.00
                                      NV P00000000876303035 Card 2587
       8/18                           Purchase authorized on 08/18 Costco Gas #1320 Henderson NV                                              59.49
                                      P00301230571237756 Card 2587
       8/18                           Purchase authorized on 08/18 Costco Gas #1010 Victorville CA                                            45.91
                                      P00301230721839802 Card 2587
       8/18                           Purchase authorized on 08/18 Costco 1Nhse #1010 Victorville CA                                            1.63
                                      P00301230733431022 Card 2587
       8/18                           Cty of Henderson Utilities 0002716508 Yousif H Halloum                                                  94.59             1,254.37
       8/19                           Purchase authorized on 08/17 Adobe 408-536-6000 CA                                                      14.99
                                      S301230055833734 Card 2587
       8/19                           Purchase authorized on 08/18 Kp Rx01239 Victorville CA                                                  25.80
                                      S301230682152416 Card 2587
       8/19                           Purchase authorized on 08/19 Smiths Fo 1000 N. Gree                                                     30.50             1,183.08
                                      Henderson NV P00000000885159645 Card 2587
       8/20                           Recurring Payment authorized on 08/19 Vesta *AT&T Prepa                                                 55.07
                                      866-608-3007 OR 8381231806907916 Card 2587




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                                                               226 of 457
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                                                 EXHIBIT "25"



 "TERRAWEST" Demanded and Collected from Plaintiffs
                    76.88




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                                                                                                            227 of 457
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                                                                                                     Date

TERRAWEST
        MANAGEMENT SERVICES
                                                                                                 12/7/2021 1

            www.terrawest.com



 -1Received From •

2428 Devotion Ridge Drive
225 - Green Valley Ranch Community




*3Payrrient Method                Check No.
 . .'       .                                     ,;
        Check                       8160                                  Halloum                             00150-5203
           Item.                                                                    ;Qty     Rate       Class

        Assessments                Association Payment-December 2021                 1       76.88          He...




KF                                                                                                   Total          $76.88


                   To pay online or review your account details, please visit our website at www.terrawest.com.



                                                         APPX0175
                                                                                                                                    228 of 457
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Wells Fargo® Preferred Checking
December 31, 2021 • Page 1 of 5




                                                                                                 Questions?
YOUSIF H HALLOUM                                                                                 Available by phone 24 hours a day, 7 clays a week:
                                                                                                 We accept all relay calls, including 711

HENDERSON NV 89052-5674                                                                           1-800-TO-WELLS              (1-800-869-3557)

                                                                                                  En espanol: 1-877-727-2932



                                                                                                 Online: wellsfargo.com

                                                                                                 Write: Wells Fargo Bank, N.A. (825)
                                                                                                        P.O. Box 6995
                                                                                                        Portland, OR 97228-6995




 You and Wells Fargo                                                                             Account options
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                                                                                                 wellsfargo.com or call the number above if you have
                                                                                                 questions or if you would like to add new services.

                                                                                                 Online Banking                Direct Deposit
                                                                                                 Online Bill Pay         EI Auto Transfer/Payment El
                                                                                                 Online Statements             Overdraft Protection    0
                                                                                                 Mobile Banking          111 Debit Card
                                                                                                 My Spending Report            Overdraft Service




Other Wells Fargo Benefits

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Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
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Get started at wellsfargo.cornipersonalloan.



Statement period activity summary                                                                Account number: .11111111.1111111116
        Beginning balance on 12/1                                               $1,831.79        YOUSIF II HALLOUM
        Deposits/Additions                                                        6,741.21
                                                                                                 Nevada account terms and conditions apply
        Withdrawals/Subtractions                                                - 6,441.85
                                                                                                 For Direct Deposit use
        Ending balance on 12/31                                                 $2,131.15
                                                                                                 Routing Number (RTN): 321270742




     (825)
     Sheet Seq = 0061008
     Sheet 00001 of 00003
                                                                   APPX0176
                                                                                                                                               229 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.01
       Average collected balance                                      $1,035.61
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                              $0.01
       Interest paid this year                                            $0.13




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number DescnOtion                                                                          Additions          Subtractions             balance
       12/3                      Bill Pay Payment Return on 12-03                                                    1,395.60
       12/3                      Purchase authorized on 12/02 Apple.Com/Bill 866-712-7753 CA                                                   3.99
                                 S381336780095835 Card 2587
       12/3                      Bill Pay Fay Servicing LLC Recurring x73410 on 12-03                                                      1,395.60             1,827.80
       12/6                      Bill Pay Payment Return on 12-06                                                    1,395.60
       12/6                      Purchase authorized on 12/02 Dmi* Dell Bus Onli 800-456-3355                                                  9.99
                                 TX S381336530061065 Card 2587
       12/6                      Bill Pay Fay Servicing LLC Mobile x73410 on 12-06                                                         1,395.60             1,817.81
       12/7                      Bill Pay Fay Servicing LLC Mobile x73410 on 12-07                                                         1,395.60               422.21
       12/8                      Purchase authorized on 12/07 Lexisnexis Payment 800-227-9597                                                170.69               251.52
                                 OH S381341408681108 Card 2587
       12/13                     Recurring Payment authorized on 12/10 Apple.Com/Bill                                                         15.99
                                 866-712-7753 CA S581344411661487 Card 2587
       12/13                     Purchase authorized on 12/11 Amzn Mktp US"P0681                                                              27.06
                                 Amzn.Com/Bill WA S301346206151546 Card 2587
      12/13                1506 Check                                                                                                        115.00               93.47
 --1?12/14                 8160 Check                                                                                                         76.88               16.59
      12/15                      SSA Trees 310 Xxsoc Sec 121521 xxxxx2986A SSA Yousif H                              1,450.00
                                 Halloum
       12/15                     Purchase authorized on 12/15 Costco Gas #1320 Henderson NV                                                   71.37
                                 P301349784794685 Card 2587
       12/15                     Non-WF ATM Withdrawal authorized on 12115 2300 Paseo Verde                                                  304.99             1,090.23
                                 Parkwa Henderson NV 381350017524614 ATM ID Nvgvrx02 Card
                                 2587
       12/16                     Purchase authorized on 12/16 Costco Whse #1320 Henderson NV                                                  97.53
                                 P301350763845239 Card 2587
       12/16                     Cty of Henderson Utilities 0002841265 Yousif H Halloum                                                      109.55              883.15
       12/17                     Recurring Payment authorized on 12/16 Vesta *AT&T Prepa                                                      55.07
                                 866-608-3007 OR S301350524655076 Card 2587
       12/17                     Purchase authorized on 12/17 Vons #1795 Henderson NV                                                         18.99              809.09
                                 P581351855528862 Card 2587
       12/20                     Purchase authorized on 12/16 IN N Out Burger 36 Henderson NV                                                   6.94
                                 S381350772799147 Card 2587
       12/20                     Recurring Payment authorized on 12/17 Adobe Acropro Subs                                                     14.99
                                 408-536-6000 CA 5581351707258029 Card 2587
       12/20                     ATM Withdrawal authorized on 12/18 900 N Green Valley Pkwy                                                  100.00
                                 Henderson NV 0001930 ATM ID 5456P Card 2587
       12/20                     ATM Withdrawal authorized on 12/20 900 N Green Valley Pkwy                                                  100.00
                                 Henderson NV 0002416 ATM ID 5456P Card 2587
        12/20                    Purchase authorized on 12/20 Smiths Fo 1000 N. Gree Henderson                                                14.89              572.27
                                 NV P000000881873790 Card 2587




                                                                        APPX0177
                                                                                                                                               230 of 457
             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 230 of 457
December 31, 2021 MI Page 3 of 5




Transaction history (continued)

                            Check                                                                                   Deposits/         Withdrawals/          Ending daily
       Date                Number Description                                                                       Additions          Subtractions             balance
       12/22                      Purchase authorized on 12/22 Costco VVhse #1320 Henderson NV                                               65.01               507.26
                                  P301356828100616 Card 2587
       12/23                      Purchase authorized on 12/23 Smiths Fo 1000 N. Gree Henderson                                               19.93                 487.33
                                  NV P000000980573019 Card 2587
       12/27                       Edeposit IN Branch/Store 12/27/21 09:39:15 Am 900 N Green                         1,500.00
                                  Valley Pkwy Henderson NV 2587
       12/27                      Recurring Payment authorized on 12/24 Apple.Com/Bill                                                         0.99
                                  866-712-7753 CA S461358520004473 Card 2587
       12/27                      Purchase authorized on 12/26 Costco Whse #1320 Henderson NV                                                 56.81
                                  P581360807119913 Card 2587
       12/27                       Cox Comm Las Bankdraft 122521 476089320303001 !man                                                        228.90             1700.63
                                   Halloum
       12/28                       Edeposit IN Branch/Store 12/28/21 12:49:17 Pm 900 N Green                         1,000.00
                                  Valley Pkwy Henderson NV 2587
       12/28                       Stop Payment Fee                                                                                           31.00
       12/28                      Stop Payment Fee                                                                                            31.00             2,638.63
       12/29                       ATM Withdrawal authorized on 12/28 900 N Green Valley Pkwy                                                200.00             2,438.63
                                   Henderson NV 0004424 ATM ID 5456P Card 2587
       12/31                       Non-WF ATM Withdrawal authorized on 12/31 2300 Paseo Verde                                                304.99
                                   Parkwa Henderson NV 301365809363013 ATM ID Nvgyrx02 Card
                                   2587
       12/31                       Non-Wells Fargo ATM Transaction Fee                                                                          2.50
       12/31                      Interest Payment                                                                        0.01                                  2,131.15
       Ending balance on 12/31                                                                                                                                 2,131.15

       Totals                                                                                                      $6,741.21             $6,441.85

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




Summary of checks written           (checks fisted are also displayed in the preceding Transaction history)

      Number              Date                Amount          Number             Date                 Amount
      1506                12/13                115.00         8160'              12/14                  76.88

      * Gap in check sequence.



Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for
a link to these documents, and answers to common monthly service fee questions.


        Fee period 12/01/2021 - 12/31/2021                                                  Standard monthly service fee $15.00                   You paid $0.00

       How to avoid the monthly service fee                                                                     Minimum required                  This fee period
       Have any ONE of the following account requirements
         • Total amount of qualifying direct deposits                                                                   $1,000.00                      $1,450.00    El
           • A linked Wells Fargo home mortgage                                                                                                                 0
           - Combined balance in linked accounts, which may include                                                    $10,000.00                        $106.59
                - Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
                   FDIC-insured Retirement accounts
        JDIJD




      Sheet Seq = 0061009


                                                                        APPX0178
      Sheet 00002 of 00003
                                                                                                                                              231 of 457
          Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 231 of 457
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IN IMPORTANT ACCOUNT INFORMATION

Periodically, it is necessary to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.

We are updating the Deposit Account Agreement ("Account Agreement") dated October 15, 2021. Effective February 15, 2022, the
following applies to wire transfers transactions: the section titled "Funds Transfer Services" has revisions to the introductory paragraph,
we added subsections titled "Funds Transfer Security Procedure" and "Rejecting a Funds Transfer Request", and the subsection titled
"Your duty to report unauthorized or erroneous funds transfers" has been revised.

If you are enrolled in Wells Fargo Online", Wells Fargo Business Online', Wells Fargo Mobile', or Wells Fargo Advisors' online services,
you reviewed and accepted our Online Access Agreement ("OAA") when you enrolled in those services. We have added a new section
15(c) Transfers Security Procedures (Business Customers and Online Wire Transfers) to the OAA to provide more clarity regarding the
security procedures that apply to certain online transactions and the various addenda agreements. The updated version of the OAA
will go into effect on February 15, 2022.


No, you don't need to take any action. This notice is simply to let you know that certain terms in the Account Agreement and the OAA
have been updated. Your continued use of your account and, if enrolled, in the above online services will be your acceptance to these
updated terms. Please review the Account Agreement and OAA, and only continue to use the above online services if you agree to all
terms.

For more details, please access the Consumer Account Addenda at www.wellsfargo.comionline-banking/consumer-account-fees/ or
the complete OAA at www.wellsfargo.com/online-bankingionline-access-agreement/upcoming.




Good News! The daily purchase limit for each debit/ATM card linked to your checking/prepaid account is being increased to $5,000
effective between December 1 and December 13, 2021. To view your card's daily dollar limits at anytime, sign on at
wellsfargo.comicardcontrol and click on Card details. Note: your card and account must be in open status for the increase to be
applied. If you recently updated your card's daily purchase limit above or below $5,000 before this change noted above occurs, the
change will not be applied.




Can we reach you when its really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:
- Signing on to wellsfargo.com or the Wells Fargo Mobile' app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement
- Visiting a branch




                                                                      APPX0179
                                                                                                                                                 232 of 457
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December 31, 2021 • Page 5 of 5




Worksheet to balance your account                                         General statement policies for Wells Fargo Bank
Follow the steps below to reconcile your statement balance with your      •   To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest       Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or         dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your account during this statement            furnished to a consumer reporting agency by writing to us at Overdraft
period.                                                                       Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
    Enter the ending balance on this statement.                               describe the specific information that is inaccurate or in dispute and the
                                                                              basis for the dispute along with supporting documentation. If you believe
Ei List outstanding deposits and other                                        the information furnished is the result of identity theft, please provide us
credits to your account that do not appear on                                 with an identity theft report.
this statement. Enter the total in the column
                                                                          •    If your account has a negative balance: Please note that an account
to the right.
                                                                               overdraft that is not resolved 60 days from the date the account first
                                                                               became overdrawn will result in closure and charge off of your account. In
 Description                    Amount
                                                                               this event, it is important that you make arrangements to redirect any
                                                                               automatic payments you receive. The closure will be reported to Early
                                                                               Warning Services. We reserve the right to close and/or charge-off your
                                                                               account at an earlier date, as permitted by law. The laws of some states
                                                                               require us to inform you that this communication is an attempt to collect a
                                                                               debt and that any information obtained will be used for that purpose.
                                                                          •    In case of errors or questions about your electronic transfers,
                    Total                              +$
                                                                               telephone us at the number printed on the front of this statement or write
                                                                               us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
Ei Add El and E to calculate the subtotal.                $
                                                                               you can, if you think your statement or receipt is wrong or if you need more
El List outstanding checks, withdrawals, and                                   information about a transfer on the statement or receipt. We must hear
                                                                               from you no later than 60 days after we sent you the FIRST statement on
other debits to your account that do not appear
                                                                               which the error or problem appeared.
on this statement. Enter the total in the column
to the right.                                                                  1. Tell us your name and account number (if any).
                                                                               2. Describe the error or the transfer you are unsure about, and explain as
 Number/Description             Amount                                            clearly as you can why you believe ills an error or why you need more
                                                                                  information.
                                                                               3. Tell us the dollar amount of the suspected error.
                                                                               We will investigate your complaint and will correct any error promptly. If
                                                                               we take more than 10 business days to do this, we will credit your account
                                                                               for the amount you think is in error, so that you will have the use of the
                                                                               money during the time it takes us to complete our investigation.




                    Total

     Subtract J from       to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              =$                     C2010 Wells Fargo Bank, NA. All rights reserved NIALSR ID 399801       Member FDIC.   ErNwEll




      Sheet Seq = 0061010
      Sheet 00003 of 00003

                                                                      APPX0180
                                                               233 of 457
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                                                 EXHIBIT "26"




   "Level Community Management" Notice of Delinquent

Assessment Lien on Behalf of the Inspiration at Green Valley

         Ranch Homeowners Recorded on 02/08/2022

                    Inst. #20220208-0000564




                             APPX0181
                                                                                       234 of 457
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                                                      Inst #: 20220208-0000564
                                                      Fees: $42.00
                                                      02108/2022 09:24:55 AM
                                                      Receipt #: 4881322
                                                                           Requestor:
                                                                           LEVEL PROPERTY MANAGEMENT
                                                                           Recorded By: KVHO Pgs: 2
  WHEN RECORDED RETURN TO:                                                 Debbie Conway
  Inspiration At Green Valley Ranch Homeowners Assoc,                      CLARK COUNTY RECORDER
                                                                           Src: FRONT COUNTER
  do Level Community Management
                                                                           Ofc: MAIN OFFICE
  8966 Spanish Ridge Avenue Suite 100
  Las Vegas, Nevada 89148
  APN: 178-19-312-078



               NOTICE OF DELINQUENT ASSESSMENT LIEN

  NOTICE IS HEREBY GIVEN that, pursuant to the provisions of Nevada Revised
  Statutes and the Declaration of Covenants, Conditions and Restrictions for Inspiration At
  Green Valley Ranch Homeowners Association, hereinafter called "the Association",
  formed to provide the maintenance, preservation, and architectural control of the
  residence lots and common area of the Association homeowners in the County of Clark,
  State of Nevada, entitled N.R.S.116.3116 for the services performed which were to be
  and were actually furnished, used and performed on the said premises, located in the
  county of Clark, State of Nevada, more particularly described as follows:

       Commonly Known As: 2428 Devotion Ridge Dr, Henderson, NV, 89052
   Legal Description: INSPIRATION AT GREEN VALLEY RANCH-UNIT 1 PLAT
                            BOOK 103 PAGE 8 LOT 16
                      Owner of Record: Yousif & Iman Halloum

  And that the whole of said real estate upon which the buildings are situated is reasonably
  necessary for the convenient use and occupancy of said building(s).

  That homeowner own(s) and reputedly own(s) said real property and improvements
  herein above described. That the amount owing and unpaid of Assessment dues, special
  assessments, late fees, and interest charges is $818.00 together with lien fees and costs of
  $485.00, for a total due of $1303.00, owed as of February 7,2022. Additional monies
  will accrue under this claim at the rate of the claimant's regular assessments or special
  assessments, plus permissible late charges, costs of collection and interest, accruing after
  the date of the notice.

                                                         Date:

     Agent for Inspiration At Green Valley Ranch Homeowners Association




                                       APPX0182
                                                                                   235 of 457
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   STATE OF NEVADA)

   COUNTY-OFCLARIE)


  '41iil Nimori, bei4 d       first

   That I am an Ag*t In.spiratimf At Gree                                    Association; I
   have read the forego Noce of Delinquent Assesiikent Lien an4 know the contents
   thereof, and that the 4ame true of my own knowledge, except as to those matters therein
   stated on informatica and *lief, incias to those matters, I believe them to be true.

   By:         PPL
         Jill Nimori


   This instrument was acknowledged before me on this                day of


           iljEa ey           ,2O- by /11.1/             PM kj
              feAr,t           i*ite.P4Ard-)
               Printed Name of o Public Officer


                                                                 NOTARY PUBLIC
               Signature of Notary
                               ,,, Public OffiCer
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                                          fffffff
                                                                 Exp: =17/IPAY
                              S4r-
                                      NorAR ss
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                              OA' 05482024
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                                                APPX0183
                                                               236 of 457
Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 236 of 457



                                                 EXHIBIT "27"




                        "Escrow Account"
                          Property Tax:
           Fiscal Years: 2015-2016 thru 2022-2023




                             APPX0184
                                                                                                                              237 of 457
                Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 237 of 457
                    Clark County Treasurer's Office
                    Laura B. Fitzpatrick, Treasurer
                    500 S Grand Central Pky
                    PO Box 551220
                    Las Vegas NV 89155-1220
                    (702) 455-4323
                    www.clarkcountynv.gov/treasurer

                     Real Property and Special Tax Statement for Fiscal Year 2015-2016
         HALLOUM FAMILY TRUST                                        Parcel Number:       178-19-312-078
         2428 DEVOTION RIDGE DR
         HENDERSON NV 89052-5674                                     Tax District: 505     Tax Rate: 2.8977              Tax Cap %3.2
                                                                     Location:      2428 DEVOTION RIDGE DR


                                                                     Assessor       INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                     Description:   PLAT BOOK 103 PAGE 8 LOT 16



 Assessed Valuation for 2015-2016                                    Summary
 Land                                                      14,350   • Taxes as Assessed                                                   $2,482.37          ,
 Building & Improvement                                    71,317     Cap Reduction (if applicable)                                         $357.33
 Personal Property                                            _ 0     Net Taxes                                                           $2,125.04
 Assessed Value Subject to Cap                             85,667
 New Land Value**                                               0
 New Improvement Value"*                                        0
 Personal Property Value*"                                      0
                                                                      Other Charges
 Less Exemption                                                       Las Vegas Artesian Basin                                                  $1.53
 Net Assessed Value                                        85,667
 New Construction Supplemental**                                0

                      **Not Subject to Cap
  Payment
*Installments
                                         Original        Amount
  Description             Due Date       AmountDue

   Installment 1             (PAID)          $532.79       $0.00
   Installment 2             (PAID)          $531.26       $0.00
 ' Installment 3             (PAID)          $531.26       $0.00
 •Installment 4              (PAID)          $531.26       $0.00
                                                                     ! Total Annual Charges                                                $2,126.57




                                             PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
                   Make checks payable to:                Fiscal Year 2015-2016
                   Clark County Treasurer's Office                       Parcel Number: 178-19-312-078
                   Mail to:                                                 Location:         2428 DEVOTION RIDGE DR
                   500 S Grand Central Pky
                   PO Box 551220
                   Las Vegas NV 89155-1220
                                                                                         11111111111111111111111111111111111111111111111111111111111111111
  Comment:             July 1 to June 30

  Minimum Due:                        $0.00                                                    Enter Payment Amount
  To Pay In Full:                     $0.00

  1781931207816100000000001




                                                           APPX0185
                                                                                                              238 of 457
             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 238 of 457
                   CLARK COUNTY




RECEIPT NUMBER: 32612274                                              Amount Tendered:
Page 1 of 1                                                           Less Change:
Entered:          8/8/2015 12:00 AM                                   Amount Applied:                      $632.79
Interest Date: 8/812015
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference       Year District                   Amount Description

178-19-312-078                        2016 505                         $531.26  Property Tax Principal
                                      2016 WATLV                         $1.53 Las Vegas Artesian Basin

                                                   TOTAL:              $532.79

Form of Payment                            Amount Reference          Payer

Wire Transfer                         $532.79                        WELLS FARGO HOME MORTGAGE

                         TOTAL:       $532.79


Thank you for your payment.

                                               End of Receipt Number 32612274: 1 Page




           WELLS FARGO HOME MORTGAGE
           1 HOME CAMPUS MAC # X2301-029
           DES MOINES IA 50328
                                                                                   RECEIPT NUMBER: 32612274
                                                                                                                            [PROD]
                                                                                                          Run: 11/12/2019 9:08:40 AM




                                                         APPX0186
                                                                                                           239 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 239 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 33440030                                              Amount Tendered:                   $531.26
Page 1 of 1                                                           Less Change:                         $0.00
Entered:         9/30/2015 12:00 AM                                   Amount Applied:                    $531.26
Interest Date: 9/30/2015
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. I Reference      Year District                    Amount Description

178-19-312-078                        2016 505                         $531.26 Property Tax Principal

                                                   TOTAL:              $531.26


Form of Payment                            Amount Reference          Payer

Wire Transfer                         $531.26                        WELLS FARGO HOME MORTGAGE

                         TOTAL:       $531.26


Thank you for your payment.

                                               End of Receipt Number 33440030: 1 Page




           WELLS FARGO HOME MORTGAGE
           1 HOME CAMPUS MAC # X2301-029
           DES MOINES IA 50328
                                                                                   RECEIPT NUMBER: 33440030
                                                                                                                           [PROD]
                                                                                                        Run: 11/1212019 9:08:38 AM




                                                         APPX0187
                                                                                                         240 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 240 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 33879012                                            Amount Tendered:                  $531,26
Page 1 of 1                                                         Less Change:                         $0.00
Entered:         11/12/2015 12:00 AM                                Amount Applied:                   $531.26
Interest Date: 11/12/2015
Cashier:         mdm
Drawer:           1093

Receipt Applied To:
Property Account No. I Reference       Year District                 Amount Description

178-19-312-078                         2016 505                      $531.26 Property Tax Principal
                                                  TOTAL:             $531.26


Form of Payment                         Amount Reference           Payer

Check                                  $531.26                     WELLS FARGO HOME MORTGAGE

                         TOTAL:        $531.26


Thank you for your payment.

                                             End of Receipt Number 33879012: 1 Page




           WELLS FARGO HOME MORTGAGE
           1 HOME CAMPUS MAC # X2301-029
           DES MOINES IA 50328
                                                                                 RECEIPT NUMBER: 33879012
                                                                                                                         [PROD]
                                                                                                      Run: 11/12/2019 9:08:35 AM




                                                       APPX0188
                                                                                                         241 of 457
              Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 241 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 34789942                                           Amount Tendered:                  $531.26
Page 1 of 1                                                        Less Change:                         $0.00
Entered:          3/3/2016 12:00 AM                                Amount Applied:                   $531.26
Interest Date 3/3/2016
Cashier:         yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference      Year District                 Amount Description

178-19-312-078                        2016 505                      $531.26 Property Tax Principal

                                                 TOTAL:             $631.26

Form of Payment                        Amount Reference           Payer

Wire Transfer                         $531.26                     CORELOGIC RESIDENTIAL

                         TOTAL:       $531.26


Thank you for your payment.

                                            End of Receipt Number 34789942: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT
           1 CORELOGIC WAY
           WESTLAKE TX 76262                                                     RECEIPT NUMBER: 34789942
                                                                                                                       [PROD]
                                                                                                     Run: 11/12/2019 9:08:33 AM




                                                      APPX0189
                                                                                                                              242 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 242 of 457
                 Clark County Treasurer's Office
                   Laura B. Fitzpatrick, Treasurer
                   500 S Grand Central Pky
                   PO Box 551220
                   Las Vegas NV 89155-1220
                   (702) 455-4323
                   www.clarkcountynv.gov/treasurer

                    Real Property and Special Tax Statement for Fiscal Year 2016-2017
        HALLOUM YOUSIF H & IMAN Y                                    Parcel Number: 178-19-312-078
        2428 DEVOTION RIDGE DR
        HENDERSON NV 89052-5674                                      Tax District: 505       Tax Rate: 2.8985              Tax Cap %0.2
                                                                     Location:          2428 DEVOTION RIDGE DR


                                                                     Assessor           INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                     Description:       PLAT BOOK 103 PAGE 8 LOT 16



Assessed Valuation for 2016-2017                                     Summary
Land                                                       15,050        Taxes as Assessed                                                   $2,526.48
Building & Improvement                                     72,115        Cap Reduction (if applicable)                                         $397.19
Personal Property                                               °        Net Taxes                                                           $2,129.29
Assessed Value Subject to Cap                              87,165
New Land Value**                                                0
New Improvement Value**                                         0
Personal Property Value**                                       0
                                                                         Other Charges
Less Exemption                                                  0        Las Vegas Artesian Basin                                                 $1.81
Net Assessed Value                                         87,165
New Construction Supplemental**                                 0    i

                     **Not Subject to Cap
Payment
Installments
                                             Original    Amount
 Description               Due Date          Amount        Due

; Installment 1               (PAID)         $534.14       $0.00
  Installment 2               (PAID)         $532.32       $0.00
  Installment 3               (PAID)         $532.32       $0.00
; Installment 4               (PAID)         $532.32       $0.00
                                                                         Total Annual Charges                                                $2,131.10




                                             PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
                  Make checks payable to:                 Fiscal Year 2016-2017
                  Clark County Treasurer's Office                           Parcel Number: 178-19-312-078
                  Mail to:                                                     Location:        2428 DEVOTION RIDGE DR
                  500 S Grand Central Pky
                  PO Box 551220
                  Las Vegas NV 89155-1220
                                                                                           11111111111111111111111111111111111111111111111111111111111111111
Comment:                 July 1 to June 30

Minimum Due:                           $0.00                                                     Enter Payment Amount
To Pay In Full:                        $0.00

 1 8 1 9 3 1 2 0 7 81 1 0 0 0 0 0 0 0 0 0 0 0




                                                          APPX0190
                                                                                                            243 of 457
             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 243 of 457
                   CLARK COUNTY




RECEIPT NUMBER: 35550838                                            Amount Tendered:                     $534.14
Page 1 of 1                                                         Less Change:                            $0.00 _
Entered:          8/16/2016 12:00 AM                                Amount Applied:                      $534.14
Interest Date: 8/16/2016
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference       Year District                 Amount Description

178-19-312-078                         2017 505                      $532.33 Property Tax Principal
                                       2017 WATLV                      $1.81 Las Vegas Artesian Basin
                                                  TOTAL:             $534.14

Form of Payment                         Amount Reference           Payer

Wire Transfer                          $534.14                     CORELOGIC RESIDENTIAL

                         TOTAL:        $534.14


Thank you for your payment.

                                             End of Receipt Number 35550838: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT
           1 CORELOGIC WAY
           WESTLAKE TX 76262                                                     RECEIPT NUMBER: 35550838
                                                                                                                           [PROD]
                                                                                                        Run: 11/12/2019 9:08:31 AM




                                                       APPX0191
                                                                                                          244 of 457
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                   CLARK COUNTY




RECEIPT NUMBER: 36183353                                            Amount Tendered:
Page 1 of 1                                                         Less Change:
Entered:          9/30/2016 12:00 AM                                Amount Applied:                    $532.32
Interest Date: 9/30/2016
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. i Reference       Year District                 Amount Description

178-19-312-078                         2017 505                      $532.32 Property Tax Principal

                                                  TOTAL:             $532.32

Form of Payment                         Amount Reference           Payer

Wire Transfer                          $532.32                     CORELOGIC RESIDENTIAL

                         TOTAL:        $532.32


Thank you for your payment.

                                             End of Receipt Number 36183353: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT
           1 CORELOGIC WAY
           WESTLAKE TX 76262                                                     RECEIPT NUMBER: 36183353
                                                                                                                        [PROD]
                                                                                                      Run: 11/12/20199:08:29 AM




                                                       APPX0192
                                                                                                         245 of 457
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                   CLARK COUNTY




RECEIPT NUMBER: 36801616                                           Amount Tendered:                   $532.32
Page 1 of 1                                                        Less Change:                         $0.00
Entered:          1/4/2017 12:00 AM                                Amount Applied:                    $532.32
Interest Date:    1/412017
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference      Year District                 Amount Description
178-19-312-078                        2017 505                      $532.32 Property Tax Principal
                                                 TOTAL:


Form of Payment                        Amount Reference           Payer
Wire Transfer                         $532.32                     CORELOGIC RESIDENTIAL

                         TOTAL:       $532.32


Thank you for your payment.

                                            End of Receipt Number 36801616: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT
           1 CORELOGIC WAY
           WESTLAKE TX 76262                                                    RECEIPT NUMBER: 36801616
                                                                                                                        [PROD]
                                                                                                     Run: 11/12/2019 9:08:27 AM




                                                      APPX0193
                                                                                                        246 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 246 of 457
                   CLARK COUNTY




RECEIPT NUMBER: 37389844                                           Amount Tendered:                  $532.32
Page 1 of 1                                                        Less Change:                         $0.00
Entered.          3/6/2017 12:00 AM                                Amount Applied:                   $532.32
Interest Date: 3/6/2017
Cashier:          gbt
Drawer:           1094

Receipt Applied To:
Property Account No. / Reference      Year District                 Amount Description

178-19-312-078                        2017 505                      $532.32 Property Tax Principal
                                                 TOTAL:             $532.32


Form of Payment                        Amount Reference           Payer

Wire Transfer                         $532.32                     CORELOGIC RESIDENTIAL

                         TOTAL:       $532.32


Thank you for your payment.

                                            End of Receipt Number 37389844: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT
           1 CORELOGIC WAY
           WESTLAKE TX 76262                                                    RECEIPT NUMBER: 37389844
                                                                                                                       [PROD]
                                                                                                     Run: 11/12/2019 9:08:25 AM




                                                      APPX0194
                                                                                                                           247 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 247 of 457
                 Clark County Treasurer's Office
                   Laura B. Fitzpatrick, Treasurer
                   500 S Grand Central Pky
                   PO Box 551220
                   Las Vegas NV 89155-1220
                   (702) 455-4323
                   wwvv.clarkcountynv.gov/treasurer

                    Real Property and Special Tax Statement for Fiscal Year 2017-2018
        HALLOUM YOUSIF H & NAN Y                                    Parcel Number:       178-19-312-078
        2428 DEVOTION RIDGE DR
        HENDERSON NV 89052-5674                                     Tax District: 505     Tax Rate: 2.8987              Tax Cap %2.6
                                                                    Location:       2428 DEVOTION RIDGE DR


                                                                    Assessor        INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                    Description:    PLAT BOOK 103 PAGE 8 LOT 16



Assessed Valuation for 2017-2018                                    Summary
Land                                                      17,150      Taxes as Assessed                                                   $2,535.81
Building & Improvement                                    70,331    . Cap Reduction (if applicable)                                         $351.16
Personal Property                                              0    i Net Taxes                                                           $2,184.65
Assessed Value Subject to Cap                             87,481
New Land Value**                                               0
New Improvement Value**                                        0
Personal Property Value**                                      0
Less Exemption
                                                                     Other Charges
                                                               0
                                                                     Las Vegas Artesian Basin                                                  $1.80
Net Assessed Value                                        87,481
New Construction Supplemental**                                0

                     **Not Subject to Cap
Payment
Installments
                                            Original    Amount
 Description             Due Date           Amount        Due

 Installment 1              (PAID)          $547.97        $0.00
  Installment 2             (PAID)          $546.16       Mao
! Installment 3             (PAID)          $546.16        $0.00
: Installment 4             (PAID)          $546.16        $0.00
                                                                     Total Annual Charges                                                 $2,186.45




                                            PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
                  Make checks payable to:                Fiscal Year 2017-2018
                  Clark County Treasurer's Office                        Parcel Number: 178-19-312-078
                  Mail to:                                                 Location:         2428 DEVOTION RIDGE DR
                  500 S Grand Central Pky
                  PO Box 551220
                  Las Vegas NV 89155-1220
                                                                                        11111111111111111111111111111111111111111111111111111111111111111
Comment:              July 1 to June 30

Minimum Due:                         $0,00                                                    Enter Payment Amount
To Pay In Full:                      $0.00

 1781931207818100000000009




                                                         APPX0195
                                                                                                            248 of 457
             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 248 of 457
                   CLARK COUNTY




RECEIPT NUMBER: 38052889                                            Amount Tendered:                     $547.97
Page 1 of 1                                                         Less Change:                           $0.00
Entered:          8/22/2017 12:00 AM                                Amount Applied:                      $547.97
Interest Date: 8/22/2017
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference       Year District                 Amount Description

178-19-312-078                         2018 505                      $546.17 Property Tax Principal
                                       2018 WATLV                      $1.80 Las Vegas Artesian Basin
                                                  TOTAL:             $547.97


Form of Payment                         Amount Reference           Payer

Wire Transfer                          $547.97                     CORELOGIC RESIDENTIAL

                         TOTAL:        $547.97


Thank you for your payment,

                                             End of Receipt Number 38052889: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P.O. BOX 9202
           COPPELL TX 75019-9208                                                 RECEIPT NUMBER: 38052889
                                                                                                                           [PROD]
                                                                                                        Run: 11/12/2019 9:08:23 AM




                                                       APPX0196
                                                                                                         249 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 249 of 457




RECEIPT NUMBER: 38744942                                            Amount Tendered:                  $546.16
Page 1 of 1                                                         Less Change:                         $0.00
Entered:         10/3/2017 12:00 AM                                 Amount Applied:                   $546.16
Interest Date: 10/3/2017
Cashier:          yxp
Drawer:          1098

Receipt Applied To:
Property Account No. i Reference      Year District                  Amount Description

178-19-312-078                        2018 505                       $546.16 Property Tax Principal
                                                                             _
                                                 TOTAL:              $546.16
                                                               7


Form of Payment                        Amount Reference            Payer

Wire Transfer                         $546.16                      CORELOGIC RESIDENTIAL

                        TOTAL:        $546.16


Thank you for your payment.

                                            End of Receipt Number 38744942: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P.O. BOX 9202
           COPPELL TX 75019-9208                                                  RECEIPT NUMBER: 38744942
                                                                                                                        [PROD]
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                                                      APPX0197
                                                                                                       250 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 250 of 457




RECEIPT NUMBER: 39443564                                          Amount Tendered:                  $546.16
Page 1 of 1                                                       Less Change:                         $0.00
Entered:         1/8/2018 12:00 AM                                Amount Applied:                   $546.16
Interest Date 1/8/2018
Cashier:         yxp
Drawer:          1098

Receipt Applied To:
Property Account No. i Reference     Year District                 Amount Description

178-19-312-078                       2018 505                      $546.16 Property Tax Principal

                                                TOTAL:             $546.16


Form of Payment                       Amount Reference           Payer

Wire Transfer                        $546.16                     CORELOG1C RESIDENTIAL

                        TOTAL:       $546,16


Thank you for your payment.

                                           End of Receipt Number 39443564: I Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P.O. 80X9202
           COPPELL TX 75019-9208                                                RECEIPT NUMBER: 39443564
                                                                                                                       [PROD]
                                                                                                    Run: 11/12/2019 9:08:19 AM




                                                     APPX0198
                                                                                                         251 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 251 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 39892798                                           Amount Tendered:                   $546.16
Page lot 1                                                         Less Change:                          $0.00
Entered:          3/2/2018 12:00 AM                                Amount Applied:                    $546.16
Interest Date: 2/28/2018
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. I Reference      Year District                 Amount Description

178-19-312-078                        2018 505                               Property Tax Principal
                                                  TOTAL:


Form of Payment                        Amount Reference          Payer

Wire Transfer                         $546.16                     CORELOGIC RESIDENTIAL

                         TOTAL:       $546.16


Interest Date equals Received Date

                                            End of Receipt Number 39892798: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN- REFUND DEPT.
           P.O. BOX 9202
           COPPELL TX 75019-9208                                                RECEIPT NUMBER: 39892798
                                                                                                                        [PROD]
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                                                      APPX0199
                                                                                                                            252 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 252 of 457
                   Clark County Treasurer's Office
                   Laura B. Fitzpatrick, Treasurer
                   500 S Grand Central Pky
                   PO Box 551220
                   Las Vegas NV 89155-1220
                   (702) 455-4323
                   www.clarkcountynv.gov/treasurer

                     Real Property and Special Tax Statement for Fiscal Year 2018-2019
       HALLOUM YOUSIF H & NAN Y                                     Parcel Number:        178-19-312-078
       2428 DEVOTION RIDGE DR
       HENDERSON NV 89052-5674                                       Tax District: 505     Tax Rate: 2.8989             Tax Cap %4.2
                                                                     Location:      2428 DEVOTION RIDGE DR


                                                                     Assessor       INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                     Description:   PLAT BOOK 103 PAGE 8 LOT 16



Assessed Valuation for 2018-2019                                     Summary
Land                                                       19,250    Taxes as Assessed                                                    $2,593.50          •
Building & Improvement                                     70,215    Cap Reduction (if applicable)                                          $317.09
Personal Property                                               0    Net Taxes                                                            $2,276.41
Assessed Value Subject to Cap                              89,465
New Land Value*                                                 0
New Improvement Value**                                         0
Personal Property Value**                                       0
                                                                      Other Charges
Less Exemption                                                  0     Las Vegas Artesian Basin                                                  $1.78
Net Assessed Value                                         89,465
New Construction Supplemental*"                                 0

                     **Not Subject to Cap
Payment
Installments
                                             Original    Amount 1
 Description                Due Date         Amount        Due

 Installment 1                (PAID)         $570.89       $0.00
 Installment 2                (PAID)         $569.10       $0.00
 Installment 3                (PAID)         $569.10       $0.00
 Installment 4                (PAID)         $569.10       $0.00
                                                                      Total Annual Charges                                                 $2,278.19




                                             PLEASE RETURN THIS PORTION WITH YOUR PAYMENT

                  Make checks payable to:                 Fiscal Year 2018-2019
                  Clark County Treasurer's Office                        Parcel Number: 178-19-312-078
                  Mail to:                                                  Location:         2428 DEVOTION RIDGE DR
                  500 S Grand Central Pky
                  PO Box 551220
                  Las Vegas NV 89155-1220
                                                                                         11111111111111111111111111111111111111111111111111111111111111111
Comment:                 July 1 to June 30

Minimum Due:                           $0.00                                                   Enter Payment Amount
To Pay In Full:                        $0.00

 1781931207819100000000008




                                                          APPX0200
                                                                                                          253 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 253 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 40869384                                           Amount Tendered:                    $570.89
Page 1 of 1                                                        Less Change:                          $0.00
Entered:         8/17/2018 12:00 AM                                Amount Applied:                     $570.89
Interest Date: 8/17/2018
Cashier:         yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference      Year District                 Amount Description

178-19-312-078                        2019 505                      $569.11 Property Tax Principal
                                      2019 WATLV                      $1.78 Las Vegas Artesian Basin

                                                 TOTAL:             $570.89


Form of Payment                        Amount Reference           Payer

Wire Transfer                         $570.89                     CORELOGIC RESIDENTIAL

                         TOTAL:       $570.89


Thank you for your payment.

                                            End of Receipt Number 40869384: 1 Page




           CORE LOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P.O. BOX 9202
           COPPELL TX 75019-9208
                                                                                  RECEIPT NUMBER: 40869384
                                                                                                                          [PROD]
                                                                                                       Run: 11/12/2019 9:08:15 AM




                                                      APPX0201
                                                                                                        254 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 254 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 41448719                                           Amount Tendered:                  $569.10
Page 1 of 1                                                        Less Change:                        $0.00
Entered:         10/2/2018 12:00 AM                                Amount Applied:                   $569.10
Interest Date: 10/1/2018
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference      Year District                 Amount Description

178-19-312-078                        2019 505                      $569.10 Property Tax Principal
                                                 TOTAL:             $569.10


Form of Payment                        Amount Reference          Payer

Wire Transfer                         $569.10                     CORELOGIC RESIDENTIAL

                         TOTAL:       $569.10


Thank you for your payment.

                                            End of Receipt Number 41448719: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P O. BOX 9202
           COPPELL TX 75019-9208
                                                                                  RECEIPT NUMBER. 41448719
                                                                                                                       [PROD]
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                                                      APPX0202
                                                                                                        255 of 457
           Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 255 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 42047864                                          Amount Tendered:                    $569.10
Page 1 of 1                                                       Less Change:                           $0.00
Entered:         1/3/2019 12:00 AM                                Amount Applied:                     $569.10
Interest Date: 1/3/2019
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. I Reference     Year District                 Amount Description

178-19-312-078                       2019 505                      $569.10   Property Tax Principal

                                                TOTAL:             $569.10

Form of Payment                       Amount Reference           Payer

Wire Transfer                        $569.10                     CORELOGIC RESIDENTIAL
                         TOTAL:      $569.10


Interest Date equals Received Date

                                           End of Receipt Number 42047864: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P.O. BOX 9202
           COPPELL TX 75019-9208                                                RECEIPT NUMBER: 42047864
                                                                                                                        [PROD]
                                                                                                      Run: 11/12/2019 9:12:29 AM




                                                     APPX0203
                                                                                                      256 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 256 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 42866294                                         Amount Tendered:                  $569.10
Page 1 of 1                                                      Less Change:                        $0.00
Entered:         3/7/2019 12:00 AM                               Amount Applied:                   $569.10
Interest Date: 3/7/2019
Cashier.         suys
Drawer:          1084

Receipt Applied To:
Property Account No. / Reference     Year District                Amount Description

178-19-312-078                       2019 505                     $569.10 Property Tax Principal

                                                TOTAL:            $569.10


Form of Payment                       Amount Reference          Payer

Wire Transfer                        $569.10                    CORELOGIC RESIDENTIAL

                        TOTAL:       $669.10


Thank you for your payment

                                           End ofReceipt Number 42866294: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P.O. 80X9202
           COPPELL TX 75019-9208                                                RECEIPT NUMBER: 42866294
                                                                                                                     [PROD]
                                                                                                   Run: 11/12/2019 9:12:27 AM




                                                     APPX0204
                                                                                                                                 257 of 457
             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 257 of 457
                   Clark County Treasurer's Office
                   Laura B. Fitzpatrick, Treasurer
                   500 S Grand Central Pky
                   PO Box 551220
                   Las Vegas NV 89155-1220
                   (702) 455-4323
                   www.clarkcountynv.gov/treasurer

                    Real Property and Special Tax Statement for Fiscal Year 2019-2020
        HALLOUM YOUSIF H & IMAN Y                                    Parcel Number: 178-19-312-078
        2428 DEVOTION RIDGE DR
        HENDERSON NV 89052-5674                                      Tax District: 505 Tax Rate: 2.8990                     Tax Cap %4.8
                                                                     Location:     2428 DEVOTION RIDGE DR


                                                                     Assessor       INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                     Description: PLAT BOOK 103 PAGE 8 LOT 16



Assessed Valuation for 2019-2020                                     Summary
Land                                                      22,050     Taxes as Assessed                                                            $2,764.98
Building & Improvement                                    73,327     Cap Reduction (if applicable)                                                  $379.30
Personal Property                                              0..   Net Taxes                                                                    $2,385.68
Assessed Value Subject to Cap                             95,377
New Land Value**                                               0
New Improvement Value**
Personal Property Value""                                      0
                                                                      Other Charges
Less Exemption                                                 o
                                                                      Las Vegas Artesian Basin                                                          $1.76
Net Assessed Value                                        95,377
New Construction Supplemental**                                0

                     **Not Subject to Cap
Payment
Installments
                                         Original       Amount
 Description             Due Date        Amount           Due

; Installment 1             (PAID)          $598.18        $0.00
  Installment 2             (PAID)          $596.42        $0.00
  Installment 3           1/6/2020          $596.42      $596.42
  Installment 4           3/2/2020          $596.42      $596.42
                                                                      Total Annual Charges                                                        52.38144




                                            PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
                  Make checks payable to:                Fiscal Year 2019-2020
                  Clark County Treasurer's Office                        Parcel Number: 178-19-312-078
                  Mail to:                                                  Location:         2428 DEVOTION RIDGE DR
                  500 S Grand Central Pky
                  PO Box 551220
                  Las Vegas NV 89155-1220
                                                                                        1111111 11111 11111 11111 11111 11111 11111 11111 11111 11111 11111 11111111
Comment:              July 1 to June 30

Minimum Due:                        $596.42                                                    Enter Payment Amount
To Pay In Full:                   $1,192.84

   7 8 1 9 3 12 0 7 8 2 0 1 00 0 0 0 5 9 6 42 4




                                                          APPX0205
                                                                                                          258 of 457
            Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 258 of 457
                   CLARK COUNTY




RECEIPT NUMBER: 43606272                                           Amount Tendered:                    $598.18
Page 1 of 1                                                        Less Change:                           $0.00
Entered:         8/26/2019 12:00 AM                                Amount Applied:                     $598.18
Interest Date: 8/26/2019
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No. / Reference      Year District                 Amount Description

178-19-312-078                        2020 505                      $596.42 Property Tax Principal
                                      2020 WATLV                      $1.76 Las Vegas Artesian Basin

                                                 TOTAL:             $598,18


Form of Payment                        Amount Reference           Payer

Wire Transfer                         $598.18                     CORELOGIC RESIDENTIAL

                         TOTAL:       $598.18


Thank you for your payment.

                                            End of Receipt Number 43606272: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT,
           P.C. BOX 9202
           COPPELL TX 75019-9208                                                RECEIPT NUMBER: 43606272
                                                                                                                          [PROD]
                                                                                                       Run: 11/12/2019 9:12:25 AM




                                                      APPX0206
                                                                                                         259 of 457
           Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 259 of 457
                  CLARK COUNTY




RECEIPT NUMBER: 44090040                  i                          Amount Tendered:                  $596.42
Page 1 of 1                                                          Less Change:                         $0.00
Entered:         10/8/2019 12:00 AM                                  Amount Applied:                   $596.42
Interest Date: 10/7/2019
Cashier:          yxp
Drawer:           1098

Receipt Applied To:
Property Account No / Reference       Year District                   Amount Description

178-19-312-078                        2020 505                        $596.42 Property Tax Principal

                                                  TOTAL:              $596.42


Form of Payment                        Amount Reference             Payer

Wire Transfer                         $596.42                       CORELOGIC RESIDENTIAL
                                           ,
                         TOTAL:       $596.42


Thank you for your payment.

                                              End of Receipt Number 44090040: 1 Page




           CORELOGIC RESIDENTIAL
           ATTN: REFUND DEPT.
           P.O. BOX 9202
           COPPELL TX 75019-9208                                                   RECEIPT NUMBER: 44090040
                                                                                                                          [PROD]
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                                                       APPX0207
                                                                                                                                  260 of 457
                Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 260 of 457
                   Clark County Treasurer's Office
                      Laura B. Fitzpatrick, Treasurer
                      500 S Grand Central Pky
                      PO Box 551220
                      Las Vegas NV 89155-1220
                      (702) 455-4323
                      www.clarkcountyny.gov/treasurer

                       Real Property and Special Tax Statement for Fiscal Year 2020 -2021
        HALLOUM YOUSIF H & IMAN Y                                            Parcel Number: 178-19-312-078
        2428 DEVOTION RIDGE DR
        HENDERSON NV 89052-5674                                              Tax District: 505 Tax Rate: 2.9291              Tax Cap %3
                                                                             Location:      2428 DEVOTION RIDGE DR


                                                                             Assessor       INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                             Description: PLAT BOOK 103 PAGE 8 LOT 16



Assessed Valuation for 2020-2021                                             Summary
Land                                                         24,150      I Taxes as Assessed                                                  $2,877.52
Building & Improvement                                       74,089          Cap Reduction (if applicable)                                      $462.48
Personal Property                                                    0       Net Taxes                                                        $2,415.04
Assessed Value Subject to Cap                                98,239      I
New Land Value**                                                     0
New Improvement Value**                                              0
Personal Property Value**                                            0
                                                                             Other Charges
Less Exemption                                                       0
                                                                             Las Vegas Artesian Basin                                              $2.42
Net Assessed Value                                           98,239
New Construction Supplemental**                                      0

                        **Not Subject to Cap
Payment
Installments
                                              Original     Amount
Description                 Due Date          Amount         Due

Installment 1                 (PAID)          $606.18        $0.00
Installment 2                 (PAID)          $603.76        $0.00
Installment 3                 (PAID)          $603.76        $0.00 1
Installment 4                 (PAID)          $603.76        $0.00 I
                                                                             Total Annual Charges                                             $2,417.46




                                              PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
                    Make checks payable to:                Fiscal Year 2020-2021
                    Clark County Treasurer's Office                             Parcel Number: 178-19-312-078
                    Mail to:
                                                                                  Location:        2428 DEVOTION RIDGE DR
                    500 S Grand Central Pky
                    PO Box 551220
                    Las Vegas NV 89155-1220
                                                                                              IIIIII10101111111111111111111111111111111111111111111111101111
Comment:


Minimum Due:                           $0.00                                                        Enter Payment Amount
To Pay In Full:                        $0.00

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                                                             APPX0208
                                                                                            261 of 457
 Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 261 of 457
    Clark County Treasurer's Office
      Laura B. Fitzpatrick, Treasurer
      500 S Grand Central Pky
      PO Box 551220
      Las Vegas NV 89155-1220
      (702) 455-4323
      www.clarkcountynv.gov/treasurer

 Real Property and Special Tax Statement for Fiscal Year 2020-2021--Con't.

Parcel Number:         178-19-312-078


                              Distribution of Fiscal Year 2020-2021 Taxes

                                                          Tax       Taxes as        Cap
Distribution of Tax Dollars                              Rate      Assessed    Reduction   Net Taxes

COUNTY SCHOOL MAINTENANCE & OPERATION                  0.7500        736.78       110.39      626.39
HENDERSON CITY                                         0.6208        609.86       116.43      493.43
COUNTY SCHOOL DEBT (BONDS)                             0.5534        543.65        81.46      462.19
CLARK COUNTY GENERAL OPERATING                         0.4599        451.80        67.69      384.11
STATE OF NEVADA                                        0.1700        167.00        25.02      141.98
HENDERSON CITY DEBT                                    0.1200        117.88        17.66      100.22
ASSISTANCE TO INDIGENT PERSONS                         0.1000         98.24        14.72       83.52
HENDERSON CITY LIBRARY                                 0.0608         59.76        15.24       44.52
CLARK COUNTY CAPITAL                                   0.0500         49.12         7.36       41.76
CLARK COUNTY FAMILY COURT                              0.0192         18.87         2.83       16.04
INDIGENT ACCIDENT FUND                                 0.0150         14.74         2.21       12.53
STATE COOPERATIVE EXTENSION                            0.0100          9.82         1.47        8.35
CLARK COUNTY DEBT                                      0.0000          0.00         0.00        0.00

TAX DISTRIBUTION                                       2.9291       2,877.52      462.48     2,415.04



Detail of Amount Due
Year Description                  Total Tax Amt.     Balance Due

2021 Property Tax Principal            $2,415.04           $0.00
2021 Las Vegas Artesian                    $2.42           $0.00
     Basin

Total for Fiscal Tax Year 2021:        $2,417.46           $0.00

                         Total:        $2,417.46           $0.00




                                                   APPX0209
                                                                                                                               262 of 457
                Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 262 of 457
                      Clark County Treasurer's Office
                      Laura B. Fitzpatrick, Treasurer
                      500 S Grand Central Pky
                      PO Box 551220
                      Las Vegas NV 89155-1220
                      (702) 455-4323
                      www.clarkcountynv.gov/treasurer

                       Real Property and Special Tax Statement for Fiscal Year 2021-2022
        HALLOUM YOUSIF H & IMAN Y                                        Parcel Number: 178-19-312-078
        2428 DEVOTION RIDGE DR
        HENDERSON NV 89052-5674                                          Tax District: 505 Tax Rate: 2.9603                Tax Cap %3
                                                                         Location:      2428 DEVOTION RIDGE DR


                                                                         Assessor       INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                         Description: PLAT BOOK 103 PAGE 8 LOT 16



Assessed Valuation for 2021-2022                                         Summary
Land                                                         28,000      Taxes as Assessed                                                  $2,941.62
Building & Improvement                                       71,369      Cap Reduction (if applicable)                                         $454.13
Personal Property                                                    0   Net Taxes                                                          $2,487.49
Assessed Value Subject to Cap                                99,369
New Land Value**                                                     0
New Improvement Value**                                              0
Personal Property Value"*                                            0
Less Exemption
                                                                         Other Charges
                                                                     0
                                                                         Las Vegas Artesian Basin                                                $3.06
Net Assessed Value                                           99,369
New Construction Supplemental"*                                      0

                        **Not Subject to Cap
Payment
Installments
                                              Original     Amount
Description                 Due Date          Amount         Due

Installment 1                 (PAID)          $624.94        $0.00
Installment 2                 (PAID)          $621.87        $0.00
Installment 3                 (PAID)          $621.87        $0.00
Installment 4                 (PAID)          $621.87        $0.00
                                                                         Total Annual Charges                                               $2,490.55




                                              PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
                    Make checks payable to:                Fiscal Year 2021-2022
                    Clark County Treasurers Office                          Parcel Number: 178-19-312-078
                    Mail to:
                                                                              Location:        2428 DEVOTION RIDGE DR
                    500 S Grand Central Pky
                    PO Box 551220
                    Las Vegas NV 89155-1220
                                                                                          1111111111111111111111111111111111111111111111111111111111111111
Comment:


Minimum Due:                           $0.00                                                    Enter Payment Amount
To Pay In Full:                        $0.00

1781931207822100000000003



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                                                                                              263 of 457
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   Clark County Treasurer's Office
      Laura B. Fitzpatrick, Treasurer
      500 S Grand Central Pky
      PO Box 551220
      Las Vegas NV 89155-1220
      (702) 455-4323
      www.clarkcountynv.gov/treasurer

 Real Property and Special Tax Statement for Fiscal Year 2021-2022--Con't.

Parcel Number:         178-19-312-078


                                  Distribution of Fiscal Year 2021-2022 Taxes

                                                            Tax       Taxes as        Cap
Distribution of Tax Dollars                                Rate      Assessed    Reduction   Net Taxes

COUNTY SCHOOL MAINTENANCE & OPERATION                    0.7500        745.29       100.10      645.19
HENDERSON CITY                                           0.6508        646.71       138.47      508.24
COUNTY SCHOOL DEBT (BONDS)                               0.5534        549.92        73.86      476.06
CLARK COUNTY GENERAL OPERATING                           0.4599        457.00        61.37      395.63
STATE OF NEVADA                                          0.1700        168.92        22.68      146.24
HENDERSON CITY DEBT                                      0.1200        119.24        16.01      103.23
ASSISTANCE TO INDIGENT PERSONS                           0.1000         99.36        13.34       86.02
HENDERSON CITY LIBRARY                                   0.0620         61.59        15.74       45.85
CLARK COUNTY CAPITAL                                     0.0500         49.68         6.67       43.01
CLARK COUNTY FAMILY COURT                                0.0192         19.08         2.56       16.52
INDIGENT ACCIDENT FUND                                   0.0150         14.90         2.00       12.90
STATE COOPERATIVE EXTENSION                              0.0100          9.93         1.33        8.60
CLARK COUNTY DEBT                                        0.0000          0.00         0.00        0.00
TAX DISTRIBUTION                                          2.9603      2,941.62      454.13    2,487.49


Detail of Amount Due
Year Description                    Total Tax Amt.     Balance Due
2022 Property Tax Principal              $2,487.49           $0.00
2022 Las Vegas Artesian                      $3.06           $0.00
     Basin

Total for Fiscal Tax Year 2022:          $2,490.55           $0.00

                         Total:          $2,490.55           $0.00




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                                                                                                                                   264 of 457
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                   Clark County Treasurer's Office
                      Laura B. Fitzpatrick, Treasurer
                      500 S Grand Central Pky
                      PO Box 551220
                      Las Vegas NV 89155-1220
                      (702) 455-4323
                      www.clarkcountynv.gov/treasurer

                       Real Property and Special Tax Statement for Fiscal Year 2022-2023
        HALLOUM YOUSIF H & IMAN Y                                            Parcel Number: 178-19-312-078
        2428 DEVOTION RIDGE DR
        HENDERSON NV 89052-5674                                              Tax District: 505 Tax Rate: 2.9590                Tax Cap %3
                                                                             Location:      2428 DEVOTION RIDGE DR


                                                                             Assessor       INSPIRATION AT GREEN VALLEY RANCH-UNIT 1
                                                                             Description: PLAT BOOK 103 PAGE 8 LOT 16



Assessed Valuation for 2022-2023                                             Summary
Land                                                         28,000          Taxes as Assessed                                                   $3,385.87
Building & Improvement                                       86,426          Cap Reduction (if applicable)                                         $823.76
Personal Property                                                    0       Net Taxes                                                           $2,562.11
Assessed Value Subject to Cap                               114,426
New Land Value""                                                     0
New Improvement Value**                                              0
Personal Property Value*"                                            0
                                                                             Other Charges
Less Exemption                                                       0
                                                                             Las Vegas Artesian Basin                                                 $3.08
Net Assessed Value                                          114,426      ,
New Construction Supplemental**                                      0

                        **Not Subject to Cap
Payment
Installments
                                              Original     Amount
Description                 Due Date          Amount         Due

Installment 1                 (PAID)          $643.60        $0.00
Installment 2               10/3/2022         $640.53      $640.53
Installment 3                1/2/2023         $640.53      $640.53
Installment 4                3/6/2023         $640.53      $640.53
                                                                             Total Annual Charges                                                $2,565.19




                                              PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
                    Make checks payable to:                Fiscal Year 2022-2023
                    Clark County Treasurer's Office                             Parcel Number: 178-19-312-078
                    Mail to:
                                                                                  Location:        2428 DEVOTION RIDGE DR
                    500 S Grand Central Pky
                    PO Box 551220
                    Las Vegas NV 89155-1220
                                                                                              11111111111111111111111111111111111111111111111111111111111111111
Comment:


Minimum Due:                        $640.53                                                         Enter Payment Amount
To Pay In Full:                   $1,921.59

1781931207823100000640534



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                                                                                            265 of 457
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    Clark County Treasurer's Office
      Laura B. Fitzpatrick, Treasurer
      500 S Grand Central Pky
      PO Box 551220
      Las Vegas NV 89155-1220
      (702) 455-4323
      www.clarkcountynv.gov/treasurer

 Real Property and Special Tax Statement for Fiscal Year 2022-2023--Con't.

Parcel Number:         178-19-312-078


                              Distribution of Fiscal Year 2022-2023 Taxes

                                                          Tax       Taxes as        Cap
Distribution of Tax Dollars                              Rate      Assessed    Reduction   Net Taxes

COUNTY SCHOOL MAINTENANCE & OPERATION                  0.7500         858.19      193.66      664.53
HENDERSON CITY                                         0.6508         744.69      221.21      523.48
COUNTY SCHOOL DEBT (BONDS)                             0.5534         633.23      142.89      490.34
CLARK COUNTY GENERAL OPERATING                         0.4599         526.25      118.75      407.50
STATE OF NEVADA                                        0.1700         194.53       43.90      150.63
HENDERSON CITY DEBT                                    0.1200         137.31       30.98      106.33
ASSISTANCE TO INDIGENT PERSONS                         0.1000         114.43       25.82       88.61
HENDERSON CITY LIBRARY                                 0.0607          69.46       22.23       47.23
CLARK COUNTY CAPITAL                                   0.0500          57.21       12.91       44.30
CLARK COUNTY FAMILY COURT                              0.0192          21.97        4.96       17.01
INDIGENT ACCIDENT FUND                                 0.0150          17.16        3.87       13.29
STATE COOPERATIVE EXTENSION                            0.0100          11.44        2.58        8.86
CLARK COUNTY DEBT                                      0.0000           0.00        0.00        0.00
TAX DISTRIBUTION                                        2.9590      3,385.87      823.76     2,562.11


Detail of Amount Due
Year Description                  Total Tax Amt.     Balance Due

2023 Property Tax Principal            $2,562.11       $1,921.59
2023 Las Vegas Artesian                    $3.08           $0.00
     Basin

Total for Fiscal Tax Year 2023:        $2,565.19       $1,921.59

                         Total:        $2,565.19       $1,921.59




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                                                EXHIBIT "28"




                        "Escrow Account"
                            Insurance:
                           Fiscal Years:
         5/18/2015-5/18/2016 thru 3/28/2022-3/28/2023.




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        LAURIE A YAKUBIK
        122 IN DSTRL PRK RD210
        HENDERSON, NV 89015
                                                                                                    FARM ERs
                                                                                                         INSURANCE

Home Insurance Renewal Offer

                                                                                               Your Farmers Policy
                                                                                               Policy Number: 93032-33-46
        YOUS1F HALLOUM
                                                                                               Effective: 5/18/2015 12:01 AM
        UNITED STATES TRUSTEE EASTERN DIST
        501 "I" STREET STE#7-500                                                               Expiration: 5/18/201612:01 AM
        SACRAMENTO CA 95814-7304

                                                                                               Property insured
                                                                                               2428 Devotion Ridge
3/25/2015                                                                                      Henderson, NV 89052-5674

Dear Yousif Halloum,
                                                                                               Your Farmers Agent
Thank you for choosing Farmers for your homeowners insurance needs. We appreciate the
opportunity to provide continued coverage for you and your family.                             Laurie A Yakubik
                                                                                               122 Indstrl Prk Rd210
Congratulations! As a loyal customer who has not recently had a claim with Farmers, you        Henderson, NV 89015
have earned a Claim Forgiveness benefit for your upcoming policy term. This means if you       (702)456-8119
have one claim during the upcoming policy term, we will waive the surcharge that would         lyakubik©farmersagent.com
have increased your premium on your next renewal. This reward remains in place as long as
you remain claim free, and is our way of saying 'thank you for being an excellent, long-term   To file a claim call
customer.                                                                                      1-800-435-7764

Please review the renewal documents that have been enclosed:
•   Declaration page - a summary of your insurance coverages, limits, and deductibles
                                                                                               Did you know?
•   Reconstruction cost estimate of your home
                                                                                               10/F Design Change
Asummary of your premium and changes information is shown below.
                                                                                               Our customer documents are now in
                                                                                               an easier to read style. They have
Premium at-a-glance                                                                            been redesigned to refresh the look
    Policy Premium                                                             $842.20         and feel and deliver customer
                                                                                               information in a consistent format.

Summary of changes

Coverage Dwelling
                                                        Previous
                                                       $225,000           $237,000                        3c-- ± L
Coverage: Loss of Use                                   $112,500          $118,500
Coverage: Personal Property                             $168,750          $177,750
Coverage: Separate Structures                           $22,500           $23,700


Ask me for a Farmers Friendly Review to be certain you are receiving the coverage you need
and all of the discounts you qualify for.




     farmers.com



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        LAURIE YAKUBIK
        122 iNDSTRL PRK RD210
        HENDERSON, NV 89015                                                                         tfrit
                                                                                                  FARMERS
                                                                                                       INSURANCE

Home Insurance Renewal Offer

                                                                                             Your Farmers Policy
                                                                                             Policy Number: 93032-33-46
        YOUSIF HALLOUM                                                                       Effective: 5/18/201612:01 AM
        UNITED STATES TRUSTEE EASTERN DIST
                                                                                             Expiration: 5/18/2017 12:01 AM
        501"I" STREET STE#7-500
        SACRAMENTO CA 95814-7304

                                                                                             Property Insured
                                                                                             2428 Devotion Ridge
3/25/2016                                                                                    Henderson, NV 89052-5674

Dear Yousif Halloum,
                                                                                             Your Farmers Agent
Thank you for choosing Farmers for your homeowners insurance needs. We appreciate the
                                                                                             Laurie Yakubik
opportunity to provide continued coverage for you and your family.
                                                                                             122 Indstrl Prk Rd210
Please review the renewal documents that have been enclosed:                                 Henderson, NV 89015
•   Declaration page — a summary of your insurance coverages, limits, and deductibles        (702) 456-8119
•   Detailed reconstruction cost estimate of your home                                       lyakubik@farmersagent.com

A summary of your premium and changes information is shown below.                            Tofile a claim call
                                                                                             1-800-435-7764
Premium at-a-glance
1010" Policy Premium                                                                         Did you know?

Summary of changes                                                                           likE Design Change
                                                      Previous           Renewal
                                                                                             Our customer documents are now in
Coverage: Dwelling                                     $237,000          $249,000            an easier to read style. They have
Coverage: Loss of Use                                  $118,500          $124,500            been redesigned to refresh the look
                                                                                             and feel and deliver customer
Coverage: Personal Property                            $177,750          $186,750            information in a consistent format.
Coverage: Separate Structures                          $23,700           $24,900


Ask me for a Farmers Friendly Review to be certain you are receiving the coverage you need
and all of the discounts you qualify for.




     farrners.com




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           LAURIE YAKUBIK
           183 N GIBSON RD#150
           HENDERSON, NV 89014
                                                                                                  FA RMER
                                                                                                       INSURANCE

Home Insurance New Policy

                                                                                            Your Farmers Policy
                                                                                            Policy Number: 30187-54-93
           YOUSIF HALLOUM                                                                   Effective: 3/23/2017 12:01 AM
           UNITED STATES TRUSTEE EASTERN DIST                                               Expiration. 3/28/2018 12:01 AM
           501"I" STREET STE#7-500
           SACRAMENTO CA 95814-7304
                                                                                            Property insured
                                                                                            2428 Devotion Ridge Dr
                                                                                            Henderson, NV 89052-5674
4/28/2017

Dear Yousif Halloum,
                                                                                            Your Forme s Agent
                                                                                            Laurie Yakubik
Thank you for choosing Farmers Insurance for your home insurance needs.                     183 N Gibson Rd#150
                                                                                            Henderson, NV 89014
Enclosed are some important documents for your new policy. Please take some time and
                                                                                            (702) 456-8119
carefully review this information, which includes:
                                                                                            lyakubik@farmersagent.com
•   Declaration page — a summary of your insurance coverages, limits, and deductibles
•   Your insurance policy form and endorsements                                             To file a claim call
•   Detailed reconstruction cost estimate of your home
                                                                                            1-800-435-7764
Please review the features of your home that were used to calculate the assessment in the
reconstruction cost estimate. If you find any incorrect or incomplete information, please   Did you know?
contact your agent.

A summary of your premium information is shown below.                                           rJ Manage Your Policy Online
                                                                                            Log on to farmers.com to pay your
Premium at-a-glance                                                                         bill, get insurance ID cards, view
                                                                                            policy documents, and more! Plus,
Policy Premium                                                                  $728.11     access your account anytime using
                                                                                            the Farmers Mobile Apo!
Fees                                                                             $25.00

0100- Premium and Fees                                                         $753.1

This is not a bill.
Your bill with the amount due will be mailed separately to your mortgagee company.

We appreciate your business.

Sincerely,

Farmers Insurance Group®




       fir4rmers.com



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         LAURIE YAKUBIK
         183 N GIBSON RD#150
         HENDERSON, NV 89014
                                                                                                         FARMERS
                                                                                                             INSURANCE

Home Insurance Renewal Offer

                                                                                                  Your Farmers Policy
                                                                                                  Policy Number: 30187-54-93
         YOUSIF HALLOUM                                                                           Effective: 3/28/201812:01 AM
         UNITED STATES TRUSTEE EASTERN DIST                                                       Expiration: 3/28/2019 12:01 AM
         501 t STREET STE#7-500
         SACRAMENTO CA 95814-7304
                                                                                                  Property insured
                                                                                                  2428 Devotion Ridge Dr
                                                                                                  Henderson, NV 89052-5674
2/2/2018

Dear Yousif Halloum,
                                                                                                  Your Farmers Agent
                                                                                                  Laurie Yakubik
Thank you for choosing Farmers for your homeowners insurance needs. We appreciate the             183 N Gibson Rd#150
opportunity to provide continued coverage for you and your family.                                Henderson, NV 89014
                                                                                                  (702) 456-8119
Please review the renewal documents that have been enclosed:
                                                                                                  lyakubik@farmersagent com
•   Declaration page— a summary of your insurance coverages, limits, and deductibles
•   Detailed reconstruction cost estimate of your home                                            To file a claim call
As a way to thank you for your continued business, we are adding the Declining Deductibles        1-800-435-7764
benefit to your policy. This benefit reduces your deductible in the event of a covered loss.
Your initial Declining Deductibles balance is $50 and will grow by $50 each year that you         Did you know?
renew with Farmers. Please refer to the DecIrn,ng Deductibles endorsement in this renewal
package for additional program details.
                                                                                                   fa Farmers Friendly Review
A summary of your premium and policy change information is shown below. With this              Contact your agent to learn more
                                                                                               about the policy discounts, coverage
renewal, you'll see an increase in your home coverage limits. This change reflects the rising
                                                                                               options, and other product offerings
cost to replace homes in your area, including labor and construction materials,               mthat may be available to you.

                                                                                                       it\Go Paperless
Premium at-a-glance                                                                                   I 1
                                                                                                    Save,,kamps, time and trees....Go
    Policy Premium                                                              $684.61              P eriessl You can choose to
                                                                                               ..,-- eceive your Farmers policy
                                                                                                     documents and/or billing statement
Summary of changes                                                                                   electronically. Enroll at farmers.com
                                                        Previous            enewal                   and choose the paperless options!
Coverage: Dwelling                                      $235,000           $241,000
Discount: Claim Free                                    Not Included       Included
Discount: Epolicy Discount                              Included           Not Included




     farmers.com



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        LAURIE YAKUBIK
        183 N GIBSON RD#150
        HENDERSON, NV 89014
                                                                                                      FARM ER
                                                                                                           INSURANCE

Home Insurance Renewal

                                                                                                Your Farmers Policy
                                                                                                Policy Number 30187-54-93
        YOUSIF HALLGUM                                                                          Effective: 3/28/2019 12:01 AM
        UNITED STATES TRUSTEE EASTERN DIST                                                      Expiration: 3/28/2020 12:01AM
        501 !STREET STE#7-500
        SACRAMENTO CA 95814-7304
                                                                                                Property Insured
                                                                                                2428 Devotion Ridge Dr
                                                                                                Henderson, NV89052-5674
2/4/2019

Dear Yousif Halloum,
                                                                                                Your Farmers Agent
                                                                                                Laurie Yakubik
Thank you for choosing Farmers for your homeowners insurance needs. We appreciate the           183 N Gibson Rd#150
opportunity to offer continued coverage for you and your family contingent upon payment         Henderson, NV 89014
toward the premium as stated below.                                                             (702) 456-8119
                                                                                                lyaku bik@farmersag ent.com
Please review the renewal offer documents that have been enclosed:
•   Declaration page — a summary of your insurance coverages, limits, and deductibles           To file a claim call
•   Detailed reconstruction cost estimate of your home                                          1-800-435-7764
As a way to thank you for your continued business, we have added $50 to your Declining
Deductibles* balance Your accumulated balance appears on your Policy Declaration in the         Did you know?
Deductible section.
                                                                                                        Farmers Friendly Review
A summary of your premium and policy change information is shown below. With this
renewal, you'll see an increase in your home coverage limits. This change reflects the rising   Contact your agent to learn more
                                                                                                about the policy discounts, coverage
cost to replace homes in your area, including labor arid construction
                                                                                                options, and other product offerings
                                                                                                that may be available to you.
Premium at-a-glance
                                                                                                      Go Paperless
MI* Policy Premium                                                                              Save stamps, time and trees... .Go
                                                                                                Paperlessi You can choose to
                                                                                                receive your Farmers policy
Summary of changes                                                                              documents and/or billing statement
                                                       Previous           Renewal               electronically. Enroll at farmers.corn
                                                                                                and choose the paperless options!
Coverage: Dwelling                                     $241,000           $258,000
                                                                                                    Go Mobile
                                                                                                The Farmers° Mobile App gives you
                                                                                                24/7 account access on the go. Text
                                                                                                GETAPP to 29141 to download it
                                                                                                today!




     farmers.com



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                                                                                                                    FARMERS
 Farmers Smart Plan Townhouse® Declarations                                                                              INSURANCE




  Policy Number: 30187-54-93                                                 Premiums
. Effective:        3/28/2020 12:01 AM
  Expiration: .     3/28/2021 1201 AM                                              Policy Premium                                          $698.30
  Named Insured(s): Vousif Halloum
                    2428 Devotion Ridge Dr                                    Your policy premium includes a Total Discount Savings of $323.35
                    Henderson, NV 89052-5674
                    noor I 23@aol.com                                         'also see Information on Additional Fees below
  Property Insured: 2428 Devotion Ridge Dr
                                                                              This is not a bill.
                    Henderson, NV 89052-5674
                                                                              Your bill with the amount due will be mailed separately.
  Underwritten By: Farmers Insurance Exchange
                    6301 Owensmouth Ave.
                    Woodland Hills, CA 91367




 Description of Property
 Year of Construction                                            2004         Age of Roof                                                          16
 Construction Type                          Frame W/ 0%-33% Masonry           Occupancy                            Owner Occupied (Primary Res.)
                                                             Veneer
 Roof Type                                                        Tile        Number of Units
 Roof Surface Material Type                                       Tile

 Note: Roof Surface Material Type is a grouping of similar roof types for the purpose of claim settlement. Roof Surface Material Type will
 be verified at the time of claim investigation and corresponds to the schedule outlined in the "Definitions' section of your policy.


 Property Coverage
 Coverage                                                        Limit        Coverage                                                           Limit
 Coverage A - Dwelling                                     $265,000           Coverage C - Personal Property                               $106,000
   Extended Replacement Cost                           10% ($26,500)            Contents Replacement Coverage                            Not Covered
  (In Addition to Coverage A Limit)
 Coverage B - Separate Structures                             $13,250         Coverage - Loss of Use                                        $26,500
                                                                               Additional Living Expense Term                             24 Months


 Liability Coverage
 Coverage                                                        Limit        Coverage                                                           Limit
 Coverage E - Personal Liability                             $100,000         Coverage F - Medical Payments To Others                         $1,000
   Personal Injury                                         Not Covered
 Association Loss Assessment                               Not Covered




      farmers.com                 Policy No, 30187-54-93            Questions?                                 Manage your account:
                                                                    Call yOur agent Laurie Yak ubik at (702)   Go to www.farmers.com to access
                                                                    456-81 19 or email                         your account any time!
                                                                    lyakubikirarmersagent.com
      56-6177 2nd Edition 10-17      2 /4 /2020
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Declarations (continued)



Additional Coverage Options
Coverage                                                     Limit       Coverage                                                      Limit
Identity Fraud Expense Coverage                          $15,000          Roof Materials Loss Settlement                       Replacement
                                                                                                                                 Cost Value
Building Ordinance or Law                                                 Fence Replacement Cost                                    Covered
(10% of Coverage A or B)
  Coverage A                                             $26,500
  Coverage B                                              $1,325
Limited Matching Coverage for Siding and                  $10,000         Coverage for Marring to Metal Roof Materials See endorsement
Roof Materials                                                                                                                    j7016
Access Coverage - Limited Water Coverage        See endorsement
                                                          17020

Deductible
                                                                                                                                  Deductible

Applicable to each covered loss                                                                                                       $1,000



00. You have accumulated $150 of Declining Deductibles benefit to be used toward the deductible on your next covered
    loss.


How We Settle a Covered Loss for Property Claims
All loss settlement options, including replacement cost options, are subject to the terms, conditions and limitations stated in the policy,
which includes its endorsements. Certain optional endorsements may contain their own loss settlement provisions not reflected here.
Property Losses                                                                                                      Loss Settlement Terms
         _ .
Dwelling & Separate Structures (Pays up to the limits for Coverage A or B)                                                Replacement Cost
 Roof Materials                                                                                                           Replacement Cost
 Wall-to-Wall Carpet                                                                                                      Replacement Cost
 Fence                                                                                                                    Replacement Cost

Personal Property Contents (Pays up to the limit for Coverage C)                                                           Actual Cash Value


Discounts Applied to Policy
Discount Type                                                             Discount Type
Preferred Payment Plan                                                    Claim Free
Non Smoker                                                                HOA Gated
Good Payer

     Total Discount Savings                                                                                                        $323.35




     farmers.com             Policy No, 30187-54-93              Questions?                              Manage your account:
                                                                 Call your agent Laurie Yakubik at(702) Go to www.farrners.com to access
                                                                 456-8119 or email                      your account any time!
                                                                 lyakubik(tilfarmersagent.com
     56-6177 2nd Edition   10-17
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 Declarations (continued)



• Other Policy Features and Benefits
 •   Claim Forgiveness - this benefit prevents your premium from increasing as a result of your next claim after your policy has been in
     force for five years without a claim.
 •   Declining Deductibles4"- This benefit reduces the amount of the deductible you will have to pay on a future loss. Refer to the
     Deductible section to see your earned benefit amount.


 Mortgagee / Other Interest
 1st Mortgagee                                       Loan Number          2nd Mortgagee                                          Loon Number
 Caliber Home Loans, Inc                               9804248517         Wells Fargo Bank NA ISAOA                           200771144900368
 I SAOA ATI MA                                                            PO Box 621530
 PO Box 7731                                                              Atlanta, GA 30362-3030
 Springfield, OH 45501-7731


 Policy and Endorsements
 This section lists the policy form number and any applicable endorsements that make up your insurance contract. Any endorsements
 that you have purchased to extend coverage on your policy are also listed in the coverages section of this declarations document:
 56-5640 1st ed.; J7016 1st ed.; J7017 1st ed.; J7020 1st ed.; 17023 1st ed.; NV037 1st ed.; 25-2480 6-12; 31-2275 5-17


 Other Information
 •   Please contact your Farmers agent for a free Farmers Friendly Review so that you can ensure that your family is properly protected.
     Your agent can explain all of the policy discounts/credits, coverage options and our various other product offerings that may be
     available to you.
 •   Mortgagee pays premium for this policy.
 •   The attorney-in-fact (AlF) or management fee for your renewed policy will never exceed 20% of the policy's premiums and will be
     paid out of the premiums. You may wish to consider this information in deciding whether to accept or decline this offer to renew
     your policy.




      farmers.com             Policy No. 30187-54-93             Questions?                                Manage your account
                                                                 Call your agent Laurie Yakubik at (702)   Go to www.fai mers.com to access
                                                                 456-8119 or email                         your account any time!
                                                                 lyakubik@farmersagent.com
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Declarations (continued)



*information on Additional Fees
The "Fees" stated in the "Premium/Fees' section on the front apply on a per-policy, not an account basis. The following additional fees
also apply:
1. Service Charge per installment (In consideration of our                2. Late Fee: $10.00 (applied per account)
   agreement to allow you to pay in installments):                        3. Returned Payment Charge: $25.00 (applied per check,
   - For Recurring Electronic Funds Transfer (EFT)                            electronic transaction, or other remittance which is not
      and fully enrolled online billing (paperless): $0.00                    honored by your financial institution for any reason including
      (applied per account)                                                   but not limited to insufficient funds or a closed account)
      For other Recurring EFT plans: $2.00 (applied per account)          4. Reinstatement Fee: $25.00 (applied per policy)
      For all other payment plans: $5.00 (applied per account)
                                                                          One or more of the fees or charges described above may be
If this account is for more than one policy, changes in these fees        deemed a part of premium under applicable state law.
are not effective until the revised fee information is provided for
each policy.


Countersignature



                      74ret..,te„
Authorized Representative




     farmers.com             Policy No. 30187-54-93               Questions?                              Manage your account:
                                                                  Call your agent Laurie Yakubile. at (707) Gc: wvvvv.fartners.com to access
                                                                  456-8119 or email                        your account any time!
                                                                  lyakubik@larmersagent.com
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                                                                                                                           401,4„,
                                                                                                                     vp A
                                                                                                                  FARMERS
Farmers Smart Plan Townhouse® Declarations                                                                            INSURANCE




Policy Number 30187-54-93                                                   Premiums
Effective:        3/280021 12:01 AM
Expiration' : .   32V2Ci221.2 :01 AM                                        Full-term Premium (excluding fees)                            $766.23
Named Insured(s): Yousif Halloum
                                                                            Prorated Premium
                  2428 Devotion Ridge Dr
                                                                              Prior Period (3/13/2021 - 3/28/2021)                           $0.00
                  Henderson, NV 89052-5674
                                                                              Next Period (3/28/2021 - 3/28/2022)                            $0.00
                  noor123@aol.corn
Property Insured: 2428 Devotion Ridge Dr                                    MP' Total for this Transaction                                  $0.00
                  Henderson, NV 89052-5674
Underwritten By: Farmers Insurance Exchange                                 Your policy premium indudes a Total Discount Savings of $355.50
                  6301 Owensmouth Ave.
                  Woodland Hills, CA 91367                                  'also see Information on Additional Fees below

                                                                            This is not a bill.
                                                                            Your bill with the amount due will be mailed separately.



                                                                            Information on this declaration is effective 3/13/2021.

Description of Property
Year ofConstruction                                             2004        Age of Roof                                                          17
Construction Type                         Frame WI 0%-33% Masonry            Occupancy                            Owner Occupied (Primary Res.)
                                                           Veneer

Roof Type                                                         Tile      Number of Units
Roof Surface Material Type                                        Tile

Note: Roof Surface Material Type is a grouping of similar roof types for the purpose of claim settlement. Roof Surface Material Type will
be verified at the time of claim investigation and corresponds to the schedule outlined in the "Definitions' section of your policy.

Property Coverage
Coverage                _                                       Limit       Coverage                                                          Limit
Coverage A - Dwelling                                    $276,000           Coverage C - Personal Property                                $110,400
  Extended Replacement Cost                          10% ($27,600)            Contents Replacement Coverage                            Not Covered
 (In Addition to Coverage A Limit)
Coverage B - Separate Structures                             $13,800        Coverage D - Loss of Use                                      $27,600
                                                                              Additional Living Expense Term                            24 Months


Liability Coverage
Coverage                                                        Limit       Coverage                                                          Limit
Coverage E - Personal Liability                             $100,000        Coverage F - Medical Payments to Others                         $1,000
  Personal Injury                                         Not Covered
Association Loss Assessment                               Not Covered




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                                                                   Call your agent Wurie.YakUbikat.(702)    Go to www.farmers.com to access
                                                                   456-8119 or email                        your account any time!
                                                                   Iyakubik@farrnefsagent.con)
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Declarations (continued)



Additional Coverage Options
Coverage                                                      Limit       Coverage                                                        Limit
Identity Fraud Expense Coverage                           $15,000         Roof Materials Loss Settlement                       Replacement
                                                                                                                                 Cost Value
Building Ordinance or Law                                                 Fence Replacement Cost                                    Covered
(10% of Coverage A or (3)
  Coverage A                                              $27,600
  Coverage B                                               $1,380
Limited Matching Coverage for Siding and                  $10,000         Coverage for Marring to Metal Roof Materials See endorsement
Roof Materials                                                                                                                    J7016
                                                      • • •
Access Coverage - Limited Water Coverage        See endorsement
                                                           J7020


Deductible
Type of Loss                                                                                                                      Deductible
Applicable to each covered loss                                                                                                       $1,000


pow You have accumulated $200 of Declining Deductibles benefit to be used toward the deductible on your next covered
    loss.


How We Settle a Covered Loss for Property Claims
All loss settlement options, including replacement cost options, are subject to the terms, conditions and limitations stated in the policy,
which includes its endorsements. Certain optional endorsements may contain their own loss settlement provisions not reflected here.
Property tosses                                                                                                      Loss Settlement Terms
Dwelling &Separate Structures (Pays up to the limits for Coverage A or B)                                                 Replacement Cost
 Roof Materials                                                                                                           Replacement Cost
 Wall-to-Wall Carpet                                                                                                      Replacement Cost
 Fence                                                                                                                    Replacement Cost
Personal Property Contents (Pays up to the limit for Coverage C)                                                          Actual Cash Value


Discounts Applied to Policy
Discount Type                                                             Discount Type
Preferred Payment Plan                                                    Claim Free
Non Smoker                                                                HOA Gated
Good Payer

No' Total Discount Savings                                                                                                         $355.50




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Declarations (continued)



Other Policy Features and Benefits
•   Claim Forgiveness - this benefit prevents your premium from increasing as a result of your next claim after your policy has been in
    force for five years without a claim.
•   Declining Deductibles' - This benefit reduces the amount of the deductible you will have to pay on a future loss. Refer to the
    Deductible section to see your earned benefit amount.

Mortgagee / Other Interest
2nd Mortgagee                                       Loan Number
Wells Fargo Bank NA ISAOA                        200771144900368
PO Box 621530
Atlanta, GA 30362-3030


Policy and Endorsements
This section lists the policy form number and any applicable endorsements that make up your insurance contract. Any endorsements
that you have purchased to extend coverage on your policy are also listed in the coverages section of this declarations document:
56-5640 1st ed.; J7016 1st ed.; J7017 1st ed.; J7020 1st ed.; 17023 1st ed.; NV037 1st ed.; 31-2275 5-1 7; 25-2480 6-12; 31-2275 7-20


Other Information
•   Please contact your Farmer? agent for a free Farmers Friendly Review' so that you can ensure that your family is properly protected.
    Your agent can explain all of the policy discounts/credits, coverage options and our various other product offerings that may be
    available to you.
•   If you remain claim free during this policy term, you will earn a Claim Forgiveness benefit at renewal in recognition of your loyalty
    and excellent claim history with Farmers.
•   Ask your Farmers" agent about flood insurance.




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Declarations (continued)



*Information on Additional Fees
The "Fees" stated in the "Premium/Fees" section on the front apply on a per-policy, not an account basis. The following additional fees
also apply:•
1. Service Charge per installment (In consideration of our                 2. Late Fee: $10.00 (applied per account)
    agreement to allow you to pay in installments):                        3. Returned Payment Charge: $25.00 (applied per check,
       For Recurring Electronic Funds Transfer (EFT)                           electronic transaction, or other remittance which is not
       and fully enrolled online billing (paperless): $0.00                    honored by your financial institution for any reason including
       (applied per account)                                                   but not limited to insufficient funds or a closed account)
    - For other Recurring EFT plans: $2.00 (applied per account)           4. Reinstatement Fee: $25.00 (applied per policy)
    - For all other payment plans: $5.00 (applied per account)
                                                                           One or more of the fees or charges described above may be
If this account is for more than one policy, changes in these fees         deemed a part of premium under applicable state law.
are not effective until the revised fee information is provided for
each policy.


Countersignature




Authorized Representative




     farmers.com              Policy No. 30187-54-93              Questions?                                Manage your account:
                                                                  Cali your agent Laurie Yakubik at (702)   Go to www.farrners.com to access
                                                                  456-8119 or email                         your account any time!
                                                                  lyakubik@farmersagent.com
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                                           EXHIBIT "29"




                Increase of Escrow Account
     Caliber Home Loans letter dated August 19, 2019,
    on page 2, the 3rd paragraph increases of the Escrow
    Account resulted in increased the mortgage payment
     from $1,269.15 to $1,395.60 as of October 1, 2019.




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            CALIBER
            HOME LOANS


August 19, 2019

Yousif Halloum
c/o Michael J. Harker
2901 El Camino Ave., #200
Las Vegas, NV 89102

Sent via electronic upload to the CFPB portal

                                                                Re: Caliber Loan Number: 9804248517

 CFPB Case Number: 190808-4292396
 Property Address: 2428 Devotion Ridge Dr., Henderson, NV 89052

 Dear Mr. Halloum:

 Caliber Home Loans, Inc., hereafter known as Caliber, servicer of the above-referenced loan, provides
 this response to an inquiry received on August 8, 2019, from the Consumer Financial Protection
 Bureau ("CFPB"), wherein you state that you have remitted all required payments since the execution
 of a loan modification in 2016, yet Caliber is attempting to foreclose on the property.

 Loan Background and Status

     • The loan originated on May 17, 2007 with a principal balance of $388,000.00 with Wells
       Fargo Bank, NA.
     • The previous loan servicer was Wells Fargo Home Mortgage.
     • Caliber became the servicer of the loan on November 17, 2015.
     • The loan is contractually due for the June 1, 2019 and subsequent monthly installments.
     • A Chapter 7 Bankruptcy (Case Number 16-16815) was filed on July 8, 2019.

 Requested Clarification

 The loan modification executed effective June 6, 2016 (copy enclosed) established a total monthly
 payment of $1,275.26, which included principal and interest ("P&I") of $1,027.99 and escrow of
 $247.27. The agreement further advised that the escrow payment amount may adjust periodically
 based on the amount of annual taxes and insurance owed. Please be advised that escrow analyses are
 conducted annually or as otherwise required to ensure sufficient funds are retained in the escrow
 account to satisfy all required tax and insurance disbursements, as applicable. In addition, the
 analyses ensure the required minimum escrow account balance known as a "cushion" is retained in
 the account throughout the 12-month period.

 The first escrow analysis following the loan modification execution was conducted on January 26,
 2017 (copy enclosed). The analysis anticipated total annual disbursements of $5,251.49 would be
 issued over the subsequent 12-month period, and,thus determined a base monthly escrow payment
   General Correspondence address:                                           Notice Of Error, Request for
   PO Box 24610                                                              Information, or QWR address:
   Oklahoma City, OK 73124                                                   PO Box 270415
                                         www.Ca        [ oans.com            Oklahoma City, OK 73137




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-AIM& HOME LOANS
Yousif Halloum
CFPB Case Number: 190808-4292396
8/19/19
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of $437.62. As a result, the total monthly payment adjusted from $1,275.26 to $1,465.61, effective
January 1, 2017. A subsequent analysis conducted on February 10, 2017 (copy enclosed), anticipated
total annual disbursements of $9,451.49 would be issued over the subsequent 12-month period, and
thus determined a base monthly escrow payment of $787.62. In addition, the analysis projected the
base monthly payment would be insufficient to maintain the required escrow cushion; therefore, the
analysis disclosed a shortage of (-) $1,575.24, which was spread over 12 months for a monthly
shortage payment of $199.85. The total monthly payment adjusted from $1,465.61 to $2,015.46,
effective February 1, 2017.

Despite the changes in the monthly payment amount, Caliber continued to receive payments of
$1,275.21 throughout 2017. Since this amount was insufficient to satisfy the total monthly
installments owed, the partial payments received were retained in a suspense/unapplied funds
account until sufficient funds were obtained to satisfy the total monthly installment(s). Due to this,
the payments due January 1, April 1, July 1, and September 1, 2017 were delinquent, and the loan has
remained contractually delinquent since that time; however, it should be noted that Caliber has not
referred the property to foreclosure at this time, nor do our records reflect that a demand letter has
been issued as of the date of this correspondence. A copy of the loan's payment history while serviced
by Caliber is enclosed for reference.

Please note that additional escrow analyses were conducted on July 31, 2017, July 17, 2018, and July
15, 2019 (copies enclosed). The total monthly payment is currently $1,269.15 and is scheduled to
adjust to $1,395.60 as of October 1, 2019. As a reminder, Caliber does not accept partial payments,
and if the total monthly installment is not received, the funds will be retained in a
suspense/unapplied funds account until sufficient funds are received to satisfy the full contractual
installment. The loan is contractually due for the June 1, 2019 and subsequent monthly installments,
and there is currently a suspense/unapplied balance of $939.09. We encourage you to contact our
Customer Service Department at 1-800-401-6587 to discuss payment arrangements as well as any
additional questions or concerns you may have regarding the loan.

 Sincerely,
 Fete,z4 q4,44,te
 Felicia Gamble
 Vice President
 Customer Advocacy and Response Team

 Enclosure(s)




  General Correspondence address:                                           Notice Of Error, Request for
  PO Box 24610                                                              Information, or QWR address:
  Oklahoma City, OK 73124                                                   PO Box 270415
                                        www.Cel :      .,9.ns.com           Oklahoma City, OK 73137




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                                           EXHIBIT "30"



           Caliber Home Loans Acknowledged
 Seven (7) Trial Payments were made: two (2) received by
 Wells Fargo and five (5) received by Caliber Home Loans




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nCALIBER    HOME LOANS


April 19, 2016

Yousif Halloum
2428 Devotion Ridge D
Henderson, NV 89052

Sent via UPS: 1Z08506X0292342263

Re:         Loan Number: .    9804248517
            CFPB Case Number: 160404-001769

Dear Mr. Halloum:

Caliber Home Loans, Inc., hereafter known as Caliber, servicer of the above-referenced loan, provides
this response to an inquiry received April 4, 2016 from the Consumer Financial Protection Bureau
("CFPB"), wherein you expressed the following concerns:

      (I)  You received a trial period plan notice for a loan modification from Wells Fargo Home
           Mortgage, the servicer of your home loan.
  f(ii)    You made the first two_months Payments on time to Wells Fargo. On August 26, 2015 an
           approval letter from Fannie Mae for the loan modification with set terms was sent to
           Wells Fargo and a copy was sent to you by Wells Fargo.
    (iii) On October 27, 2015 you received a letter from Wells Fargo stating that Fannie Mae, the
           investor on your home loan, had changed the servicer to Caliber. This letter also stated in
           paragraph 2, "rest assured, this does not affect any terms or conditions of your mortgage",
           and advised you to keep making the payments to Caliber.
    (iv)   You made your third month's payment of the trial period on time to Caliber and expected
           them to complete the loan moditication on your home loan.
    (v)    Caliber changed the terms of the loan modification, which was approved by Fannie Mae,
           to unfavorable terms.
    (vi)   You rejected the terms of the loan modification ,because of the deviation from the
           approved and committed terms of Fannie Mae, and because you were assured by Wells
           Fargo there would be no change in the terms or conditions ofyour approved modification.
           You urged Caliber to stick to the approved terms.
    (vii) You received a letter from Caliber dated January 11, 2016 stating the loan is delinquent
           in the amount of $59,919.80.
    (viii) You would like to confirm that the same monthly payment continued to be made current
           as of the date of your submission to the CFPB.
    (ix)   You filed a fraud mortgage complaint with the State of Nevada Office of the Attorney
           General on March 16, 2016. You forwarded a copy of this complaint to Caliber and urged
           them to honor the committed and apploved loan modification terms.
    (x)    You received a mail from Caliber dated March 24, 2016 denying the loan modification.




                13801 WIRELESS WAY OKLAHOMA CiTY, OK 73134 (SOO) 401.6587   WWW,CALISERHOMELOANS.COM




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•ri     CALIBER
 V07-$1 HOME LOANS
411111b


Yousif Halloum
Re: CFPB Case # 160404-001769
4/19/16
Page 2

Loan Background and Status

Our records reflect the following key events related to the loan:

   • May 17, 2007: The loan originated with a principal balance of $388,000.00 with Wells Fargo
       Bank, NA.
   • The previous servicer of the loan was Wells Fargo Home Mortgage.
   • Caliber began servicing the loan on November 17, 2015.
   • The loan is due for the January 1, 2014 and subsequent payments.
 ?lc• The last p yment was received on April 7, 2016.,
   • A loan maification was approved on April 11,2016.

Investor Clarification

Please be advised the current investor of your loan is LSF9 Master Participation Trust, by its Trustee
U.S. Bank Trust, NA, through Caliber Home Loans, Inc. as attorney in fact for the Trustee. The
investor of the loan is not Fannie Mae as you state in your CFPB inquiry.

AssiStance

Our records indicate that the prior servicer approved a trial period plan ("TPP") on August 26, 2015
which required three (3) monthly payments to be made in the amount of $1,274.85 due on October
1, 2015, November 1, 2015, and December 1, 2015. Please note a letter was sent to you from the prior
servicer on September 8, 2015 advising a title issue needed to be resolved before final modification
documents could be completed (copy enclosed).

Caliber has further reviewed our loan modification efforts put forth on the loan. Below is a timeline
of events surrounding all modification efforts by Caliber:

    > November 17, 2015- Caliber began servicing the loan.
    > November 23, 2015 — Caliber updated the loan to reflect the prior servicer's agreement
      wherein you had a trial payment plan which was approved.
          o 3 payments were made under this agreement
    > December 18, 2015 — A final loan modification was approved honoring the prior servicer's
      terms:
          o 100% Fixed Interest rate
          o New Principal and Interest payment: $1,206.66
          o New Escrow Payment: $247.39
          o New Total Monthly Payment: $1,350.34


             13801 WIRELESS WAY OKLAHOMA CITY, OX 73134 I (SOW 401-6587 j WwW,CAUBERHOMELOANS.COM




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                                                 EXHIBIT "31"




Caliber Home Loans and Fay Servicing disregarding RESPA
       requirements of proper escrow analysis guide.




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   Over 35 years have passed since HUD established statutes under the Real Estate Settlements Procedures
   Act (RESPA) protecting consumers from predatory practices during the home buying process. These
   regulations detail proper methods for communicating crucial loan and settlement information as well as
   appropriate lender partnerships.

   Of particular importance are RESPA disclosure requirements concerning proper escrow account analysis,
   financing, and reporting. The purpose of this memorandum is to revisit these specific escrow regulations
   and provide affiliates with the tools necessary for compliance.

   Although establishing an escrow account is not required by law, Habitat for Humanity International
   strongly encourages affiliates to create escrow accounts as best practice for asset protection. All escrow
   accounts must conform to RESPA regulations.




   The following outlines lenders' responsibilities for escrow accounts under RESPA:




       o   RESPA mandates that escrow account funds be used for the payment of taxes and insurance
           premiums.

       o   Escrow account funds must be kept separate from any other funds, e.g. personal, or business.
           Escrow deposits are not the property the lender. These funds cannot compliment or substitute
           the lender's operations.

       o   It is not necessary to keep a separate bank account for each borrower but the accounting
           records must segregate balances and activity by borrower.

       o   Lenders must make timely payments from the escrow account. If the lender makes a late
           payment, any penalties must be paid by the lender and cannot be charged against the
           homeowner's account.

       o   Negligence on the part of the lender is a prosecutable offense.

       o   Lenders are required to make disbursements from the escrow account in installments if the tax
           and insurance entities offer that option. Incremental payments reduce the possibility of
           deficiencies in the account created by a large lump sum disbursement.




           RESPA requires that lenders analyze the escrow accounts of each borrower at least once a year
           to determine the appropriate target balance; to evaluate whether surpluses, shortages, or
           deficiencies exist; and to forecast the following year's monthly payments.

           A written statement of the analysis detailing prior account activity and any future adjustments
           must be provided to the borrower.

           Escrow analysis ensures that accounts are properly funded and that borrowers have accurate
           information about tax and insurance expenses for budgeting purposes.


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           RESPA set limits on the amount of money a lender can require a borrower to deposit into an
           escrow account for the payment of taxes and insurance premiums.
                                                                 1112th
           Monthly deposits into the account shall not exceed             of the estimated total expenses.

           A cushion can be added to cover potential increases but it cannot be greater than 116th of the
           estimated total expenses.




   The following details the steps for analyzing an escrow account to establish accurate and appropriate
   payment and balance information. See Exhibit A at the end of this document.

   The yellow cells indicate data entry areas; the affiliate must supply figures for these spaces. All other
   cells contain formulas and will automatically display results once the yellow cells are filled in.



              Escrow analysis begins with itemizing taxes and insurance premiums.
              o List each expense paid out of the account by type and payee, including the estimated
                amount and due date. Estimates should be based on the latest tax and insurance
                information.

              o "Annual Escrow" and "Monthly Escrow" will be computed automatically.

              o List the start date of the escrow year.



             The "Deposits" column lists the monthly deposits into the account.


             Detail the monthly payouts from the account.
             Disbursements for taxes and insurance should be listed by the estimated amount in the month
             the expense is due.



             The "Base Bal." column determines the minimum initial balance needed
             for the account to never go below zero.



             The "Req. Bal" column determines the required monthly balances for
             the account to never be negative.




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          Calculate a cushion. Determine if a surplus or shortage exists.
          0 List the amount of the homeowner's previous balance at the start of the new escrow year. If
           a new escrow account is being established there will be no previous balance.

          o The "Required Funding" figure, the balance needed at the beginning of the year for the
            account to never be negative, will automatically be calculated.

          o Enter a cushion of 2 or less months. (RESPA requires that a lender's escrow cushion cannot
            exceed 2 monthly escrow deposits.)



          The "Adjusted Req. Bal" column adjusts the required balance to reflect
          the cushion.



                Surplus / (Shortage) Assessment
          Evaluating surpluses and shortages is a crucial part of escrow analysis as it establishes the
          foundation for proper account funding and general compliance.

          Section 6 of the worksheet will automatically compute the surplus or shortage; it is here that
          the lender must take proper actions to ensure RESPA guidelines are being observed.

          RESPA mandates the following guidelines for surpluses and shortages:

          o Surpluses can be handled by one of the following options:

                • Any excess of $50 or more must be returned to the borrower
                • Any excess less than $50 can be used to reduce the following year's monthly escrow
                  payments*
          o Shortages can be handled by one of the following options:

                • Repaid in equal monthly installments over the next year*
                • If the shortage is less than one month's escrow payment, the lender can require a
                  lump sum payment due within 30 days
                • The lender can choose to take no action. If the shortage is allowed to exist, the
                  lender must advance any necessary funds.



          *The "Monthly option given shortage/surplus" cell in section 6 will adjust the amount of the
          "New Escrow Payments" by the shortage or surplus (less than $50). This will be the borrower's
          new monthly contribution into the account.




                                                                                                 Page 3 of 4




                                        APPX0237
                                                                                                                                                                                290 of 457
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     Exhibit A



                                                                                                           Yellow field are data entry fields. All   Pr-Lugar-an', lculated.

 ...--".---

      Expense Type                        Payee
                                                 TAXES AND INSURANCE

                                                     Estimate                         Due Month
                                                                                                                              7-        SURPLUS/ (SHORTAGE) CALCULATOR

                                                                                                                               Y/E Homeowner Balance 12/31/10                    500,6L.
        Insurance:                        State Farm    maw i-A-H--,ii                                                         Required Funding                                  391 67
        City Taxes:                       City           E..,i.MM, ,C.4.1arzariv in ":.,
                                                                                       ,.-t, Del.„ Far... -
      County Taxes:                       County        5.5.1.1 Jitaluar:v                                                    Months                                                  2l
       School Taxes                       School         55o.33. Se.-..tiffrter                                               Affiliate cushion                           l      316.67
      Annual Escrow                                    1,900.00
      Monthly Escrow                                     158.33 (rounded)                                                     Surplus/(Shortage)*                         effelatligPO

 '`--0.1eyy Escrow Starts                                  0.110.11„.l,12.-                                                    New Escrow Payment                                 158.
                                                                                                                                 thly option given shortage
                                                                                                                                          E balance - (required funding 4- cu    n)


                                                                                         RES , ESCR*:     CALCU T
                                             Deposits             .youts             I       Base bal.           Req. Bal    Ad sted Req. ..
                    initial                                                                           "a.          3 31 '67           7DS
                                                158.33                                             (391.6             0.00 ,          316.6 Lowest Bal
                                                158.33                   0: ci-.,                  (233.33.        158.33 1           475.01
                    P,13-cri                    158.33                    .                        (225.00         166.67             483.34
              .e k:rl                           158.33 d                                           (266.67         125.00             441.67
              ›-                                158.33 .1                arr..'                    (108.34          283.33            600.00
                  -Ali e.                       158.33)                                            (100.00         291.67             608.34
              w ,.ilitatv
              o                                 158.33 1                                             58.33         450.00             765.67
              )j) ,,,,--....ct
                   .                  ,         158.33 'l                0:0C                       216.66         608.33             925.00
                   .ta-;.i....-.^...e.,         158.33 il            7,-.." '1:.                   (325.00           66.66 A          383.33
                                                158.33                   ....!,ECL                 (166.67          225.00            541.67
                   lt1z,..i41..:                158.33                                               (8.3.         383.33             700.0'
                   -, -
                   ,...7-1"7.,..,....
                                  .!".          158.33                                                   as,       391.66             708.3

                    Total                      1900.$i              1900.$ a




                                                                                            APPX0238
                                                               291 of 457
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                                           EXHIBIT "E"




BANK STATEMENTS OF PAYMENT HISTORY IMMEDIATELY
  AFTER THE APPROVAL OF THE LOAN MODIFICATION
         June 1, 2016 through December 31, 2016




                             APPX0239
                                                                                                                      292 of 457
           Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 292 of 457
        CHASE 0                                                                    June 08, 2016through July 08, 2016
       JPMorgan Chase Bank, N.A.
       P 0 Box 659754                                                            Account Number: talleillIMINIS
       San Antonio, TX 78265-9754

                                                                              CUSTOMER SERVICE INFORMATION
                                                                              Web site:                           Chase.com
     111.181.1.16,1,611111,1111h.h.A.h.h.hlhih.hill                           Service Center:                 1-800-935-9935
    00001524 DRE 703 141 19116 YNYNNNNNNNN T 1 000000000 05 0000              Deaf and Hard of Hearing:       1-800-242-7383
    YOUSIF H HALLOUM                                                          Para Espanol:                   1-877-312-4273
    2428 DEVOTION RIDGE DR                                                    International Calls:            1-713-262-1679
    HENDERSON NV 89052-5674




                                            Chase Total Checking
 CHECKING SUMMARY
                                                                             AMOUNT
 Beginning Balance                                                         $1,724.09
 Deposits and Additions                                                      5,398.28
 Checks Paid                                                                   -69.00
 ATM & Debit Card Withdrawals                                              - 3,245.45
 Electronic Withdrawals                                                    - 1,658.41
 Other Withdrawals                                                           - 512.48
 Fees                                                                          -55.00
 Ending Balance                                                            $1,582.03

 Interest Paid Year-to-Date                                                    $0.06

CHECKS PAID
CHECK NUMBER                        DATE                                  AMOUNT
                                    PAID
1197 A                              06/13                                  $69.00
Total Checks Paid                                                          $69.00
If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.
A An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL
DATE        DESCRIPTION                                                                            AMOUNT                   BALANCE
              Beginning Balance                                                                                        $1,724.09
06/08       Service Fee Reversal                                                                     25.00                  1,749.09
06/08       Katzakian Proper Ownerfunds             PPD ID: 1680453648                            1,743.40                  3,492.49
06/08       Card Purchase         06/08 Cox*Las Vegas Comm Sv 702-383-4000 NV                     - 208.73                  3,283.76
            Card 2924
06/08       06/08 Wire Transfer Via: Bk Amer Nyc./026009593 A/C: Caliber Home Loans             - 1,274.85
            Ref: For Further Credit To Yousif Halloum Loan# 9804248517 !mad:
            0608B1C)gc01C012602 Tm: 4309800160Es
06/08       Domestic Wire Fee                                                                       - 35.00                 1,973.91



                                                                                                              Page 1 of 4




                                                           APPX0240
                                                                                                                             293 of 457
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       PD. Box BM
       NYBmingtoa, DE IMO                                                                         Customer service information

                                                                                              II Customer service 1.800432.1000
                                                                                                  TDD/TIY users only: 1 J300.2138.4408
        YOUSIF H HALLOUM                                                                        . En Espaliol: 1.800688.6085
        2428 DEVOTION RIDGE DR
        HENDERSON, RV 89052:6674                                                              • bankoramerIcacom
                                                                                              NI Bark of America, NA
                                                                                                   P.O. Box 25118
                                                                                                  Tampa, FL 33522-5118



       • Please see the Account Changes section of yaw statement for details regardIrg Important changes to your account.

      Your BofA Core Checking
      fp** 11, 2016 to July 18, 2016                                                         Account number:1111111111111M.
      YOUSIF H HALLOUM

      Account summary
      Beginning balance on Ju4r 11, 2016                                        SOD°
      Deposits and other additions                                           1,500.00
      ATM and debit card subtractions                                            r0.00
      Other subtractions                                                     r3,275.26
      Checks                                                                     ADO
      Service fees                                                               4100
       Ending balance on July 18,2015                                        $22434




                                                                   What is your credit score and
                                                                   how does it work?
                                                                          uur easy                 vit1,11 A BetterMoneyHabits.com
                                                                   to learn mpot tam taa.:, about .,;our credit score


               Better Money Habits-,
                      tlanAolAmerIca   •.;:.   • zp   011HAN, .




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https://iv.bankofamerica.com/iv5/resources/print.html                                                                           11/14/2019

                                                                  APPX0241
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                                                                                                                                  Your checking account

      YOUSIF H HALLOW I Account trill..11111. I July 11,2016 to July18,21316




      Deposits and other additions
      Date                 Description                                                                                                                                      Amount
      07/11/16             Counter Credit                                                                                                                                 1,500D3

      Total deposits and other additions                                                                                                                                $1,500.00


      Withdrawals and other subtractions

      Other subtractions
       Date                Description                                                                                                                                      Amount
      07/12/16             CALIBER HOME LOA DES:DRAFT PIAT 11)9804248517 INDN:HALLOUM Y428                                             CO                                 r1,275.26 <-------..
                           ID:3136131491 WEB

      Total other subtractions                                                                                                                                          41,275.26




       111    To help you BALANCE YOUR CHECKING ACCOUNT, visit banIcofamerfcacom/statementbalance °rite Statements and Documents tab
              in Online Banking fora printable version of the Haw to Balm Your Acr_ount Worksheet




                     Here's a tip

                  Traveling soon? Help avoid possible interruptions to your card.
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                  Set your travel notice In Mobile Banking or at bankofamerica.com/trip.
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      P.O. Bos15284                                                                                              Customer service information
      SW/mimeo; DE IMO


                                                                                                             II Customer service: 1800.432.1000
                                                                                                                 TDD1M'users only ].&)D.28&4408
       YOUSIF H HALLOUM                                                                                          En Espanol: 3.800.688.6085
       2.428 DEVOTION RIDGE DR
       HENDERSON, RV 89052,5674                                                                              •   bankofamerIcacom
                                                                                                             IN Bank of America, NA
                                                                                                                 P.O. Box 25138
                                                                                                                 Tampa, FL 33622-5118




      Your BofA Core Checking
      for July 19, 2016 to August 18, 2016                                                                   Account number:.11111111111111.111.
                            1111181.1111111111.1
      YOUSIF H HALLOUM

      Account summary
      Beginning balance on July 19, 2016                                                          $22474
      Deposits and other additions                                                                3,3003)0
      ATM and debit card subtractions                                                              •r0.00
      Other subtractions                                                                         r],275.26

      flecks                                                                                         r0.00
      Service fees                                                                                   400
      Ending balance on August IS, 2016                                                         $2,249.48




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                                                                                            Your checking account
      YOUSIF H HALLOW I Account 511111.1111.1M I July 19, 2015 to Augustle, 2015



      Deposits and other additions
      Data         Desalption                                                                                          Amount
      D7/25/36      Counter Credit                                                                                   1 ,0013.00
      07/25/16      Counter Credit                                                                                     30100
      0B/16/1 6     Counter Credit                                                                                   2,000.00
      Total deposits and other additions                                                                      $3,300.00


      Withdrawals and other subtractions

       Other subtractions
      Date          Description                                                                                        Amain
      D8/15/16      CALIBER HOME WA DES:DRAFT PMT ID98042.48517 INDN:HALLOUM Y4213              Cr)              r:1,27526
                    ID:136:13149:1 WM%
      Total other subtractions                                                                                r$1,27526




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       PD. Box 1528t
       Wftmtngton, DE NEED                                                                       Customer service Infonnation


                                                                                             I Customer service 1.)O.432.]0

                                                                                                 IDD/Trf users en1y:11100.288.4408
        YOUSIF H HALLOUM                                                                         En Esparlel:1.1300.688.6086
        2428 DEVOTION RIDGE DR
        HENDERSON, RV 89052-5674                                                             111 baricofamerica.com
                                                                                             MI Bank of America, NA
                                                                                                 P.O. Box 2511 B
                                                                                                Tampa, FL 33622,5118




      Your BofA Core Checking
      :for August 19, 2016 to September 19, 2016                                             Account number: iliata111111111
      YOUSIF H HALLOUM

      Account summary
       Beginning balance on August 19, 2016                                    $2249A8

       Deposits and other additions                                             3,000.0D
      ATM and debit card subtractions                                                 400

      Other subtractions                                                        r1,275.26

       Checks                                                                         rODO
       Service fees                                                                   rODO
       Ending balance on September 19,2016                                     $1,97422




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                                                                                                            Your checking account
      YOUSIFH HAU.OUM I Atmount #11111111111116I August 19,2015 to Septernbor 19,2016




      Deposits and other additions
      Date          Desatotkat                                                                                                     Amount
      09/16/16      Courdzr Credit                                                                                                1,000.00

      Total deposits and other additions                                                                                       $1.000.00


      Withdrawals and other subtractions

      Other subtractions
      Date          Dosaiptlon                                                                                                     Amount

      09/13/16      CALIBER HOME LOA DES:DRAFT PMT IDS8042.48517 INDN:HALLOUM Y428                                 CO            r1,27526
                    ID:31 36131491 WEB

      Total other subtractions                                                                                                r$1.275.26




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                 To switch in minutes, go to Statements 8t Documents anti click lin Manage Paperless Settings




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      P.O. B=1524
      !Wilmington, DE 19E60                                                                                     Customer service Information


                                                                                                                Customer service 1800.432.1000
                                                                                                                TDDPITY users on I.800.28&4408
        YOUSIF H HALLOUM                                                                                        En Espanol: 1.830.688.6086
        2428 DEVOTION RIDGE DR
        HENDERSON, RV 89052-5674                                                                            •   bankofamerlcacom
                                                                                                            IN Bark of America, NA
                                                                                                                P.O. Box 25118
                                                                                                                Tampa, FL 33621-5118




      Your BofA Core Checking
      for September 20, 2016 to October 18,2016                                                             Account number:
      YOUS1F H HALLOUM

      Account summary
      Beginning balance on September 20,2016                                            $1,974.22
      Deposits and other addttlons                                                          1,706.10
      ATM and debit card subtractions                                                       r503.75
      Other subtractions                                                                r1,275.26
      Checks                                                                                   rODO
      Service fees                                                                             r2.50
      Ending balance on October 18,, 2016                                              $1,898.81




                 Wherever you are in life, we're here
                 Meet one on one "uvrtli d frpecialist ft cart make a big differ ence in pursuing your ,rAualr--,


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                                 homp                          $    `.1-i•inv,s plan           %ill          futuro              long-tom giak


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       PULL: B CLLil S?E0 DELIVEM P 'TYPM MOE: A BC: NV                                                                                 Pegs 1 of 4




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                                                                                              Your checking account
       YOUSIF H HALLOW I Account #1.1111111111. I September 20, 2016 to October 18, 2016


       Deposits and other additions
       Data        Deal:IVO=                                                                                          Arrount
       09/20/16    Counter Credit                                                                                     206.10
       10/11/16    Counter Credit                                                                                  1.501100

       Total deposits and other additions                                                                        $1,706.10


       Withdrawals and other subtractions
        ATM and debit card subtractions
        Data       Description                                                                                        Amount

        10/05/16 50031 IWEVRSTAT 10/04 #003009669 WITHDRWL 2300 PASEO VERDE HENDERSON itLV                          r503.75

        Total ATM and debit card subtractions                                                                     r.$503.75


        Other subtractions
        Data       Desolation                                                                                         Amount

        10/13116   CALIBER HOME LOA DES:DRAFT PMT D.960.4246517 INDN:HALUJUM Y 428                 CO              ri 27526 44  — ..••••
                   103136131491 WEB

        Total other subtractions                                                                                41,275.26




               Show your #troopthanks
                      'I; •         '                                             ,‘,11 1--1 - 1


               I   1..:, ' Th.; 1                       #troopthanks (.1        t bankofamerica.com/militarysupport

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      P.O. Bo:1152E14                                                                          Customer service Information
      WIImingtoa, DE NOW


                                                                                       •       Customer service 1.800432.1000
                                                                                               TDD/rIY users only:1.800.2E18.44M
       YOUSIF H HALLDUM                                                                        En Espaifol: 11300.688.6086
       2428 DEVO:T1DN RIME DR
       HENDERSON, RV 89052r5674                                                        110 bankofarnerica.com
                                                                                       III Bark of America, NA
                                                                                            P.O. Box 25118
                                                                                            Tampa, FL 33622,5118




      Your BofA Core Checking
      for October 19, 2016 to November 16, 2016                                       Account number: 111.111/111111110
      YOUSIF H HALLOUM
                                      ausimme
      Account summary
      Beginning baiance on October 19, 2016                            $1,898.81
      Deposits and other additions                                       1,000.00
      ATM and debit card subtractions                                       r0.00
      Other subtractions                                                :1,275.26
      Checics                                                               rODO
      Service fees                                                          r0.00
      Ending balance on November 16, 2016                              $1,623.55




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                 To 5witch in minutes, f.',0 to Statements 484 Documents and click on Manage Paperless Settings
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                                                                                                  Your checking account
       YOUSIF H HALLOUM I Accowit Ni1.1111111111111 I October 19,2016 to Navomber 16, 2016



       Deposits and other additions
       Date         Desolption                                                                                                                   • Amount
       11/0E46      Counter Credit                                                                                                                1,000.00

       Total deposits and other additions                                                                                                    $1.000.130


       Withdrawals and other subtractions

       Other subtractions
       Data         DescrIptkm                                                                                                                      Amount

   111109/16 CALIBER HOME LOA DES:DRAFT PMT W80424E51 7 INDN:HALLOUM Y 428                              CO                                        r1,27526
                  1D:3136131491 WEB

       Total other subtractions                                                                                                             r$1,27526




                 Wherever you are in life, we're here
                 tvleet one on one kNith a speLialist. It call make a big di ffei time in purbuing your godb,

                                                                                                                ob.
                                 Buy a                     Create a                    SavE, for your                 41,   Plan
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                                                             APPX0250
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      P.O.Box152134
      Wilangtoa, DE 29850
                                                                                                                              Customer service Infommtion


                                                                                                                       •      Customer service 1.800.432.1000
                                                                                                                              TDD/TTY users only:1200.288.44W
       YOUSIF H HALLOUM                                                                                                       En Espanol:1600.6MM%
       2428 DEVOTION RIDGE DR
       HENDERSON, NV 89052-5674                                                                                        •      barkofarnericacom
                                                                                                                       •      Bark of America, NA
                                                                                                                              P.O. Box 25118
                                                                                                                              Tampa, FL 33622-5118



      •     Please see the Account Changes section of yaw statement far details regarding Important changes to your account



      Your BofA Core Checking
      for November 17,2016 to December 1 6, 201 5                                                                      Account number:       wierfarip
      YOUSIF H HALLOUM

      Account summary
      Beginning balance on November 17, 2016                                                     $1,623.55
      Deposits and other additions                                                                          ODD
      ATM and debit card subixactions                                                                   rD-00
      Other subtractions                                                                          1,275.26
      Checics                                                                                           ACID
      Service fees                                                                                     r12.00
      Ending balance on December 16,2016                                                           $33629




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                You're on your way to                                                                                          Ret iring        .,
                Better Money Habits
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                                                                                                   Your checking account
      YOUSIFH HALLOW I Account                              Novembir 17,2016 to Deurnber16, 2016




      Withdrawals and other subtractions

      Other subtractions
      Date          Description                                                                                                      Amount

      12/15/16      CALIBER HOME LOA DES:DRAFT PUT ID-98O.4248517 IN DNMALLOUM Y428                   CO                        :1,27525
                    1D3136]31491 WEB
                                 WEB

      Total other subtractions                                                                                                r$1,275.26




      Service fees
      Data          Transaction description                                                                                          Amount

      12/16/1 6     Monthly MaIntenance Fee                                                                                          r:12.00

      Total service fees                                                                                                         r$12.00
      Note your Ending Balance already reflects the subtraction of Service Fees.




                                                                      Join the Bank of America Advisory Panel You'll help
                                                                      us learn what we're doing right and what we can do better.
                                                                      And, Jim for joining, you'll he entered into a drawing for a
                  Tell us what                                        chance to win a 53,000 Visa' gift card.
                  you're thinking                                     To learn more and join, enter code CADD at
                                                                      bankofamerica.com/advisorypanel.
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https://iv.bankofamerica.com/iv5/resources/print.html                                                                         11/14/2019


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                                           EXHIBIT "F"




  BANK STATEMENTS OF PAYMENT HISTORY AFTER THE
        APPROVAL OF THE LOAN MODIFICATION
         January 1, 2017 through December 31, 2017




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                                                                                                            306 of 457
  Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 306 of 457




      P.D.Braltatli •
      Vfibthgtray ER MED                                                           Customer service !aneroon


                                          ,)               va-' 2017           •   • Customer service 3.800_432.1000

                                                                                   IDD/1.1Y users only: L&028&4408
        YOUSIF H HALLOUM                                                           En Espana] M688.6086
        2428 DEV/XDON RIDGE DR
        HENDERSON, NV 89052.-5674                                              •   barkofamerIca.a3m
                                                                               •   Bank of AMerIca,.NA
                                                                                   Ra Box 25]]8
                                                                                   Tampa, FL 33622-53 18




     , Your litofA Core Checking
                                          7178,:1Z037.1
                                          ry                                   Account number: 11111111111111111111111
      YOU5IF H HALLOLAA

      Account summary
      BeginnIng balance on December 37, 2036                      $33629
     • Deposits and other additiors                               1,500.00
      ATM and debit card scbtractias                                   ADO
      Other sibtactions                                          :1,27626
      CheCICS                                                          4100
      Service fe.es                                                   r12.00
       Ending balance on January 18,2017                          $548.03




       PULL: CV= U. WE= PELNERY: P TiPM lidAtift A BO NV                                                     Page 1 c14




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                                                                                Your checking account
      YOUSIF H HALLOUPA Amax* IIMINIMID I Docorrhor 37.2016 to Janina 3% 2017




    • Deposits and other additions
      Data         DesaiptIon                                                                              kneirt
     131/09/17     Counter Credit                                                                         ,soaco
      Total deposits and other additions                                                               $1,500.00



      Withdrawals and other subtractions

      Other subtractions
      Date          Desalgon                                                                               Amor=

 ' 01/12117villiElrgro39,15_147,1*.1741,7011PRRAVArgr.110424111141#030,103218,ATEDY.
                                              t4OW,03ANSMCIDIEd
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   .        . mf
               .......:_..,—.. ' " :;,gett$4853.L.i.,:d
      Totel Mbar subtractions                                                                         41,276.26
                                                                                                      o
                                             ...I,. ••• %kVA, To*




      Sentice fees
      Date          Thinsiction desolptkol                                                                  knourit

      01/18/3 7     Monthly Maintenance Fee                                                                      2.00

      Total ursine fags                                                                                   r$12-1X)
       Neftyour &dig pctiance alreadyreflects the subinzetfon of Soria Fees _




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      P.O. &x154
      :WIttningran, DBMS°                                                                              Customer service Information


                                                                                                 111   Customer service 3.800..432.3000
                                                                                                       TDD/Irf users only: 3200288.4408
        YOUSIF H HALLOUM                                                                               En Espanol: 1.800.688.6086
        2.428 DEVOTION RIDGE DR
        HENDERSON, MV 89052.-5674                                                                      barko




      Your BofA Core Checking
      for January 39, 2017 to February 34, 2017                                                 Account number: ININE111.11.
                              111111111.111.111110
      YOUSIF H HALLOIJM

      Account summary
      Beginning balance on January 19, 2017                                   $54&03
      Deposits and oilier additions                                           1,000.00
      ATM and debit card subtractions                                             rODO
      Other subtractions                                                     :1,275.26
      Checks                                                                      r0.00
      Service fees                                                              r12110
      Ending balance on February 14, 2017                                     $260.77




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               PICK UP HOPE.                                  and hulk] d more jut lu,,ivo wni Id I vdin wurv at
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                                                                                                        Your checking account
          YOUSIF H HAILOLIM I Account /1111111111111111 JolatorY 19.2017 to FolmorY 14, 2017



          Deposits and other additions
          Data           Description                                                                                                       Amount
          0:1/30/17      Counter Credit                                                                                                   1.000.00
          Total deposits and other additions                                                                                           $1,000.00


          Withdrawals and other subtractions

          Other subtractions
          Data           Descripthin                                                                                                       Amount
          02/0ex 7       Callber Home Loans Bill Payment                                                                                 r1,2752S
     `•
          Total other subtractions                                                                                                     r$1,275.26




          Service fees
          Data            Mans:action description
          02/141:17       Monthly Maintenance Fee                                                                                              r:12.00

          Total service fees                                                                                                              r$12.00
          Note your Ending Balance already reflects the subtraction of Seivice Fees




                      Read our article online:                                                                                  MERRILL
                                                                                                                                       M
                      "How much do I really need to save for retirement?"
                      Find out if you're saving enough at merrilledge.com/howmuch

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       Ea HozIRK
       WIImingtnIZO                                                                          Customer service Information


                                                                                       111   Customer service 1.800A321000
                                                                                             TDD/1T( users only: 11100.28E14408
        YOUSIF H HALLOUM                                                                      En Espailol: 3.800.688.6086
        MS DEVOTION RIDGE DR
        HENDERSON, NV 89052r5674                                                       •     bankofarnerica.com
                                                                                       MI Bank of America, NA.
                                                                                           P.O. Box 2511 8
                                                                                                              Fl




      Your BofA Core Checking
      for February 15, 201 7 to March 20, 201 7                                       Account numberelIMMI.
      YOUS1F H HALLOUM
                                   1111111/10

      Account summary
       Beginning balance on February 15,2017                            $260.77
       Deposits and other additions                                    3,000.00
      ATM and debit card subtractions                                      0.00
       Other subtractions                                              r3,260.77
       Checks                                                              0.00
       Service fees                                                        0.00
       Ending balance on March 20, 2017                                  $0.00




                                                                               Use Mobile or Online Banking to send or
                                                                               Uansfer money:
                 Sending money is quick and easy                               •
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                 For more information, including step-by-step videos, go to bankofamerIca.com/transfers. .
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                                                                                                                       311 of 457
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                                                                                              Your checking account
      YOLISIF H HALLOUM I Account    411111111.11111, February 15, 2017 to March 2D, 2017


      Deposits and other additions
      Date         Desalption                                                                                                    Amount
      02/21 /17     Counter Credit                                                                                              1,500SX)
      03/13417      Counter Credit                                                                                              1,500.00

      Total deposits and other additions                                                                                     $3.000.00


      Withdrawals and other subtractions

      Other subtractions
      Date          Description

      .03M6117      Caliber Home Loans Bill Payment                                                                            -1.27526

      03/15/17      Customer Withdrawal Image                                                                                  A ,985.51

      Total other subtractions                                                                                               r$3,260.77
                                     t        e*.Y. ::•




                                                                                  Use Mobile or Online Banking to send or
                                                                                  transfer money:
                                                                                                             I in'   41111
                  Sending money is quick and easy                                 •       •   i
                                                                                                       r 2-        •
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                  For more Information, including step-by-step videos, go to bankofamerica am/transfers.




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                                                                                                                                                  312 of 457
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Wells Fargo Everyday Checking                                                                                                                        WELLS
Account number: 111111.111111. • March:14, 2017 - April 13 2017 to Page 1 of 4                                                                       FARGO




                                                                                                          Questions?               •
YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espallot 1-877-727-2932

                                                                                                            Cri 1-800:288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, NA. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking              ▪   Direct Deposit           a
                                                                                                           Online Bill Pay             g    Auto Transfer/Payment
                                                                                                           Online Statements           a Overdraft Protection
                                                                                                           Mobile Banking              •    Debit Card
                                                                                                           My Spending Report          •    Overdraft Service



Activity summary                                                                                           Account number: 11111...

       Beginning balance on 3/14                                           $0.00                           YOUSIF H HALLOUM
       Deposits/Additions                                               5,283.02                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 2,379.08
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 4/13                                         $2,903.94
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)




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Account number: 11111111.111 • March 14, 2017- April 13, 2017 • Page 2 of 4
                                                                            WELLS
                                                                            FARGO
                                                                      *45'   !
                                                                             .141%,




Transaction history

                        Check                                                                                     Deposits/        Withdrawals/          Ending daily
       Date           Number Description                                                                          Additions         Subtractions             balance
       3/14                      Deposit                                          •                                  100.00                                   100.00
       3/15                      eDeposit IN Branch/Store 03/15/17 1117:40 Am 10010 S Eastern                      3,513.22                                 3,613.22
                                 Ave Henderson NV 5346
       3/20                      Bill Pay NV Energy -South on-Line Xxxmcoc0000c(15620 on 03-20                                             83.82            3,529.40
       3/21                      Harland Clarke Check/Acc. 032017 00005507575488 Yousif H                                                  20.00            3,509.40
                                 Halloum
       4/5                '3(.. Bill Pay Caliber Home Loa on-Line ›c000(48517 on 04-05                                                  1,275.26 <
       4/6                       Katzakian Proper Ownerfunds 170405 8 Yousif Hallou Yousif                         1,669.80                                 3,903.94
                                 Halloum
       4/10              2002 Check                                                                                                     1,000.00                2,903.94
       Ending balance on 4/13                                                                                                                               2,903.94
       Totals                                                                                                   $5,283.02             $2,379.08

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited furids that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.



Summary of checks written        (checks fisted are also displayed in the preceding Transaction history)

       Number            Date                 Amount
       2002              4/10                1,000.00


Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 03/14/2017 -04/1312017                                                  Standard monthly service fee $10.00                  You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. Your fee waiver is about to expire. You will
       need to meet the requirement(s) to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                  Minimum required                  This fee period
       Have any ONE of the following account requirements
         • Minimuni daily balance                                 V                                                   $1,500.00                      $100.00
          • Total amount of qualifying direct deposits                                                                  $500.00                     $1,669.80 0
          • Total number of posted Wells Fargo Debit Card purchases and/or payments                                          10                            0 0
          • The fee is waived when the account is linked to a Wells Fargo Campus ATM or
            Campus Debit Card

       Monthly service fee discount(s) (applied when box is checked)
       Age of primary account owner is 17- 24 ($5.00 discount)
       RC/RC




IN       IMPORTANT ACCOUNT INFORMATION

Periodically, it Is necessary to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.




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                                                                                                                                                 314 of 457
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 Wells Fargo Everyday Checking                                             WELLS
 Account number: 11.1111110 • May 1, 2017 - May 31, 2017 • Page 1 of 4 •    FARGO




                                                                                                           Questions?
                                                                                                           Available by phone 24 hours a day, 7 days a week:
  YOUSIF H HALLOUM
                                                                                                           Telecommunications Relay Services calls accepted
  DEBTOR IN POSSESSION
                                                                                                             1-800-TO-WELLS (1-800-869-3557)
- CH 11 CASE #16-16815(NV)
  2428 DEVOTION RIDGE DR                                                                                     TTY: 1-800-877-4833
  HENDERSON NV 89052-5674                                                                                    En espanol: 1-877-727-2932

                                                                                                                a 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, NA. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




  You and Wells Fargo                                                                                      Account options
  Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
  company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                            Online Banking          Z      Direct Deposit
                                                                                                            Online Bill Pay               Auto Transfer/Payment   fl
                                                                                                            Online Statements        Z     Overdraft Protection   I=1
                                                                                                            Mobile Banking                 Debit Card
                                                                                                            My Spending Report             Overdraft Service



                                                                                                            Account number: 11111111111
 Activity summary
        Beginning balance on 5/1                                       $3,073.27                            YOUSIF H HALLOUM
                                                                         3,055.10                           DEBTOR IN POSSESSION
        Deposits/Additions
                                                                                                            CH 11 CASE #16-16815(NV)
        VVithdrawals/Subtractions                                      - 3,265.93
                                                                                                            Nevada account terms and conditions apply
        Ending balance on 5/31                                         $2,862.44
                                                                                                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 321270742



 Overdraft Protection
 This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
 please call the number listed on your statement or visit your Wells Fargo store.




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                                                                          APPX0262
                                                                                                                                            315 of 457
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Account number: 1111111111111.111 i May 1, 2017 - May 31, 2017 • Page 2 of 4
                                                                                                                                                  WELLS
                                                                                                                                                  F.ARGO




Transaction history

                        Check                                                                                   Deposits/        Withdrawals/         Ending daily
      Date             Number Description                                                                       Additions         Subtractions            balance
      5/1                     Purchase authorized on 04/27 City of Lv Parking Las Vegas NV                                                6.00           3,067.27
                              S387117662778240 Card 5346
       5/5                 41‘,. Bill Pay Caliber Home Loa Recurring>occoc48517 on 05-05                                              1,275.26 <--4113€04-•
       5/8                       Purchase authorized on 05/08 Sams Club Sam's Club Las Vegas                                             49.39            1,742.62
                                 NV P00000000371832458 Card 5346
       5/9                       Katzakian Proper Ownerfunds 170508 9 Yousif Hallou Yousif                       1,743.40                                 3,486.02
                                 Halloum
       5/11                      Recurring Payment authorized on 05/11 AOL*Fs Support.Com                                                 3.99
                                 866-485-9217 VA S307130652526708 Card 5346
       5/11                      Recurring Payment authorized on 05/11 AOL*Fs Systemmech                                                  4.99
                                 866-485-9217 VA S587130652528744 Card 5346
       5/11                      Purchase authorized on 05/11 AOL*Fs Aoltechfort 866-485-9217                                             3.99
                                 TX S627131548743549 Card 5346
       5/11                      Recurring Payment authorized on 05/11 AOL*Fs Computerche                                                 4.99
                                 866-485-9225 VA S307130652537095 Card 5346
       5/11                      Recurring Payment authorized on 05/11 AOL*Fs Assist By A                                               . 19.99
                                 866-485-9217 VA S587130652539492 Card 5346
       5/11                2006 Check                                                                                                 1,000.00              2448.07
       5/12                      Purchase authorized on 05/11 Safeco insurance C 800-332-3226                                           650.06              1,798.01
                                 MA S387131795997757 Card 5346
       5/17                      SSA Trees 310 Xxsoc Sec 051717 )ccocx2986A SSA Yousif H                         1,311.70
                                 Halloum
       5/17                      Recurring Payment authorized on 05/17 AOL'' Service                                                     14.95
                                 800-827-6364 VA S307136049964650 Card 5346
       5/17                      Recurring Payment authorized on 05/17 AOL*Fs Systemmech                                                   1.51
                                 866-485-9217 VA S307136050749067 Card 5346
       5/17                      Recurring Payment authorized on 05/17 AOL*Voice Svcs                                                     4.95              3,088.30
                                 866-265-4415 VA S387136051066649 Card 5346
       5/25                      Cox Comm Las Bankdraft 052517 476089320303001 !man                                                     225.86              2,862.44
                                 Halloum
       Ending balance on 5/31                                                                                                                             2,862.44
       Totals                                                                                                  $3,055.10            $3,265.93

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.



Summary of checks written        (checks listed are also displayed in the preceding Transaction history)

       Number            Date                Amount
       2006              5/11                1,000.00


Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 05/01/2017 - 05/31/2017                                                Standard monthly service fee $10.00                 You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                  This fee period
       Have any ONE of the following account requirements
         • Minimum daily balance                                                                                    $1,500.00                      $1,742.62
         • Total amount of qualifying direct deposits                                                                $500.00                       $3,055.10 LZI
         • Total number of posted Wells Fargo Debit Card purchases and/or payments                                         10                             11 E]
                                                                                                                                                                   .
         • The fee is waived when the account is linked to a Wells Fargo Campus ATM or
           Campus Debit Card




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Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: 111111111111.6 • June 1, 2017- June 30, 2017                             Page 1 of 4                                                FARGO




                                                                                                           Questions?

YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espanol: 1-877-727-2932
                                                                                                            ct 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the pox indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           weffsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking                 Direct Deposit
                                                                                                           Online Bill Pay  LI Auto Transfer/Payment LI
                                                                                                           Online Statements    Overdraft Protection LI
                                                                                                           Mobile Banking   LI  Debit Card
                                                                                                           My Spending Report Z Overdraft Service    LI

Activity summary                                                                                           Account number: .111.11.
       Beginning balance on 6/1                                       $2,862.44                            YOUSIF H HALLOUM
       Deposits/Additions                                               2,811.74                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       VVithdrawals/Subtractions                                      - 2,985.53'
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 6/30                                         $2,688.65
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



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Account number:          • June 1, 2017 June 30, 2017 Page 2 of 4
                                                                           WELLS
                                                                            FARGO




Transaction history

                        Check                                                                                   Deposits/        Withdrawals/           Ending daily
      Date             Number Description                                                                       Additions         Subtractions              balance
      6/2                     Bank Originated Credit                                                                 0.04                                  2,862.48
      6/6                     eDeposit IN Branch/Store 06/06/17 03:18:01 Pm 10010 S Eastern                      1,500.00
                              Ave Henderson NV 5346
       6/6                    Bill Pay Caliber Home Loa Recurringxxoc<48517 on 06-06                                                     1,275.26    ( S7C1=2.1
       6/8               2O05 Check                                                                                                      1,000.00      2,087.22
       6/9                    Purchase authorized on 06/09 AOL*Fs Aoltechfort 866-485-9217                                                   3.99
                               TX S587160086499252 Card 5346
       6/9                     Purchase authorized on 06/09 AOL•Fs Assist By A 866-485-9217                                                19.99
                               VA S387160086498573 Card 5346
       6/9                     Recurring Payment authorized on 06/09 AOL*Fs Computerche                                                     4.99            2,058.25
                               866-485-9225 VA S307160090874738 Card 5346
       6/15                    Recurring Payment authorized on 06/15 AOL" Service                                                          14.95            2,043.30
                               800-827-6364 VA S587166088183057 Card 5346
       6/16                    Recurring Payment authorized on 06/15 Polar Air & Heatin                                              "     14.95            2,028.35
                               702-458-8895 NV S387166156570931 Card 5346
       6/21                    SSA Tress 310 Xxsoc Sec 062117 >c000t2986A SSA Yousif H                           1,311.70                                   3,340.05
                               Halloum
       6/23                    NV Energy South Npc Pymt 023487491951562 Yousif Halloum                                                    409.00            2,931.05
       6/26                    Cox Comm Las Bankdraft 062517 476089320303001 !man                                                         242.40            2,688.65
                               Halloum
       Ending balance on 6/30                                                                                                                               2,688.65
       Totals                                                                                                  $2,811.74            $2,985.53

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.



Summary of checks written        (checks listed are also displayed in the preceding Transaction history)

       Number           Date                 Amount
       2005              6/8                 1,000.00


Monthly service fee summary

Fora complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 06/01/2017 - 06/30/2017                                                Standard monthly service fee $10.00                   You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                    This fee period
       Have any ONE of the following account requirements
         • Minimum daily balance                                                                                    $1,500.00                       $2,028.35 P
         • Total amount of qualifying direct deposits                                                                $500.00                        $1,311.70 El
         • Total number of posted Wells Fargo Debit Card purchases and/or payments                                         10                                5 0
         • The fee is waived when the account is linked to a Wells Fargo Campus ATM or
           Campus Debit Card

       Monthly service fee discount(s) (applied when box is checked)
       Age of primary account owner is 17 - 24 ($5.00 discount)             0
       RC/RC




01 IMPORTANT ACCOUNT INFORMATION

                                                                       APPX0265
                                                                                                                                                318 of 457
              Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 318 of 457
Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: 111.1.1. • July 1, 2017 - July 31, 2017 • Page of 4                                                                                 FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-T0-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlot 1-877-727-2932

                                                                                                            Cfi 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          I=1 Direct Deposit
                                                                                                           Online Bill Pay          2 Auto Transfer/Payment
                                                                                                           Online Statements       '2 Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                          •My Spending Report             Overdraft Service      0
Activity summary                                                                                           Account number:
       Beginning balance on 7/1                                       $2,688.65                            YOUSIF H HALLOUM
       Deposits/Additions                                               3,611.70                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 4,059.09
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 7/31                                         $2,241.26
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by•Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



                                                                          APPX0266
                                                                                                                                             319 of 457
               Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 319 of 457
Account number: 111.111111. • July 1, 2017 July 31,2017 s Page 2 of 4
                                                                                                                                                  WELLS
                                                                                                                                                  FARGO




Transaction history

                         Check                                                                                  Deposits/        Withdrawals/         Ending daily
       Date             Number Description                                                                      Additions         Subtractions            balance
       7/3                        eDeposit IN Branch/Store 07/03/17 09:14:33 Am 10010 S Eastern               . 2,300.00                                 4,988.65
                                  Ave Henderson NV 5346
       7/5                        Purchase authorized on 07/03 Aprla-Medical Equi 949-639-4217                                           48.27              4,940.38
                                                                                                                                                      .
                                  CA S467184726491002 Card 5346
       7/6                  hlic Bill Pay Caliber Home Loa Recurrinw000c48517 on 07-06                                                1,275.26
       7/10                       Purchase authorized on 07/09 AOL"Fs Assist By A 866-485-9217                                           19.99
                                  VA S307190086475607 Card 5346
       7/10                       Purchase authorized on 07/09 AOL"Fs Aoltechfort 866-485-9217                                             3.99
                                  TX S387190086498825 Card 5346
       7/10                       Recurring Payment authorized on 07/09 AOL"Fs Computerche                                                4.99              3,636.15
                                  866-485-9225 VA S307190091224501 Card 5346
       7/12                8193 Check                                                                                                   144.00              3,492.15
       7/14                8145 Check                                                                                                 1,300.00              2,192.15
       7/17                 .     Recurring Payment authorized on 07/15 AOL.Service                                                      14.95
                                  800-827-6364 VA S307196088868626 Card 5346 •
       7/17                       Recurring Payment authorized on 07/15 Polar Air & Heatin                                               14.95              2,162.25
                                  702-458-8895 NV S387196147354335 Card 5346
       7/19                       SSA Treas 310 Xxsoc Sec 071917 )occo<2986A SSA Yousif H                        1,311.70                                   3,473.95
                                  Halloum
       7/21                8194 Check                                                                                                 1,000.00              2,473.95
       7/25                       Cox Comm Las Bankdraft 072517 476089320303001 !man                                                    232.69              2,241.26
                                  Halloum
       Ending balance on 7/31                                                                                                                             2,241.26
       Totals                                                                                                  $3,611.70 .          $4,059.09

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.



Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number            Date                  Amount         Number            Date                Amount          Number            Date                  Amount
       8145              7/14                 1,300.00        8193              7/12                 144.00         8194              7/21                  1,000.00

        '6 Gap in check sequence.


Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 07/01/2017- 07/31/2017                                                 Standard monthly service fee $10.00                 You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                  This fee period
       Have any ONE of the following account requirements
         • Minimum daily balance                                                                                    $1,500.00                     $2,162.25 El
         • Total amount of qualifying direct deposits                                                                 $500.00                     $1,311.70 El •
         • Total number of posted Wells Fargo Debit Card purchases and/or payments                                         10                             6 LI
         : The fee is waived when the account is linked to a Wells Fargo Campus ATM or
           Campus Debit Card

       Monthly service fee discount(s) (applied when box /s checked)
       Age of primary account owner is 17 - 24 ($5.00 discount),            0
       RC/RC




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                                                                                                                                                  320 of 457
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 Wells Fargo Everyday Checking                                                                                                                       WELLS
 Account number:                            • August 1, 2017 - August 31, 2017 • Page 1 of 3                                                         FARGO




                                                                                                            Questions?

  YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
  DEBTOR IN POSSESSION                                                                                     .Telecommunications Relay Services calls accepted
' CH. 11 CASE #16-16815(NV)                                                                                  1-800-TO-WELLS (1-800-869-3557)
  2428 DEVOTION RIDGE DR                                                                                     TTY: 1-800-877-4833
  HENDERSON NV 89052-5674                                                                                    En espeol: 1-877-727-2932

                                                                                                             tig 1-800-288-2288 (6 am to 7 pm PT, M-F)•

                                                                                                            Online: wellsfargo.com

                                                                                                            Write: Wells Fargo Bank, NA. (825)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




  You and Wells Fargo                                                                                       Account options
  Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
  company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                            wellsfargo.com or call the number above if you have
                                                                                                            questions or if you would like to add new services.

                                                                                                            Online Banking          El Direct Deposit          C1
                                                                                                            Online Bill Pay,               Auto Transfer/Payment El
                                                                                                            Online Statements              Overdraft Protection
                                                                                                            Mobile Banking                 Debit Card
                                                                                                            My Spending Report             Overdraft Service



 Activity summary                                                                                           Account number: 111.11111.

        Beginning balance on 8/1                                       $2,241.26                            YOUSIF H HALLOUM
        Deposits/Additions                                               2,811.70                           DEBTOR IN POSSESSION
                                                                                                            CH 11 CASE #1.6-16815(NV)
        Withdrawals/Subtractions                                       - 3,437.03
                                                                                                            Nevada account terms and conditions apply
        Ending balance on 8/31                                         $1,615.93
                                                                                                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 321270742



 Overdraft Protection
 This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
 please call the number listed on your statement or visit your Wells Fargo store.




       (825)



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                                                                                                                                              321 of 457
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Account number:                          a August 1, 2017- August 31, 2017 • . Page 2 of 3
                                                                                                                                                    WELLS
                                                                                                                                                    FARGO




Transaction history

                         Check                                                                                  Deposits/           Withdrawals/       Ending daily
       Date             Number Description                                                                      Additions            Subtractions          balance
       817                  1(.4 Bill Pay Caliber Home Loa Recumngxxoc<48517 on 08-07                                                   1,275.26     <--6661.46
       8/9                       eDeposit IN Branch/Store 08/09/17 10:21:51 Am 10010 S Eastern                   1,000.00
                                 Ave Henderson NV 4194
       8/9      •         2004 Check                                                                                                    1,000.00              966.00
       8/14                      Deposit                                                                           500.00                                   1,466.00
       8/16                      SSA Treas 310 Xxsoc Sec 081617 moc<x2986A SSA Yousif H                          1,311.70
                                 Halloum
       8/16                      Purchase authorized on 08/15 Lex*Lexis Nexis 800-897-3183 OH                                             156.20            2,621.50
                                 S387227293812012 Card 4194
       8/21                      Purchase authorized on 08/19 AOL"fs Aoltechfort 866-485-9217                                               3.99
                                 TX S387231087913316 Card 4194
       8/21                      Purchase authorized on 08/19 AOL*Fs Assist By A 866-485-9217                                              19.99
                                 VA S307231087913374 Card 4194
       8/21                      Recurring Payment authorized on 08/19 AOL*Fs Computerche                                                   4.99
                                 866-485-9225 VA S387231089612513 Card 4194
       8/21                      Recurring Payment authorized on 08/19 AOL* Service                                                        14.95            2,577.58
                                 800-827-6364 VA S387231090587817 Card 4194
       8/23                      Non-WF ATM Balance Inquiry Fee 08/22 129 E Fremon Las Vegas -                                              2.00     .      2,575..58
                                 NV ATM ID P285468 Card 4194
       8/25                      NV Energy South Npc Pymt 023487491951562 Yousif Halloum                                                  683.42
       8/25                      Cox Comm Las Bankdraft 082517 476089320303001 'man                                                       232.69            1,659.47
                                 Halloum
       8/28                   • Purchase authorized on 08/27 VVM Superc Wal-Mart Sup Las                                                   43.54            1,615.93
                                 Vegas NV P00000000682626281 Card 4194
       Ending balance on 8/31                                                                                                                              1,615.93
       Totals                                                                                                  $2,811.70        .     $3,437.03
       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


                                               •

Summary of checks written (checks listed are also displayed in the preceding Transaction history)
                                               •
       Number            Date                Amount
       2004              8/9                 1,000.00


Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 08/01/2017 - 08/31/2017                                            - Standard monthly service fee $10.00                    You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                   This fee period
       Have any ONE of the following account requirements
         • Minimum daily balance                                                                                    $1,500.00                        $966.00 0
         • Total amount of qualifying direct deposits •                                                               $500.00                       $1,311.70 IZI
          • Total number of posted Wells Fargo Debit Card purchases and/or payments                                        10                              6 0
          • .The fee is waived when the account is linked to a Wells Fargo Campus ATM or
             Campus Debit Card

       Monthly service fee discount(s) (applied when box is checked)
       Age of primary account owner is 17 -24 ($5.00 discount)
       RC/RC




                                                                       APPX0269
                                                                                                                                                   322 of 457
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  Wells Fargo Everyday Checking                                                                                                                        WELLS
  Account number:                             is September 1, 2017 - September 30 2017                   • Page 1 of 4                                 FARGO




                                                                                                             Questions?
  YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
  DEBTOR IN POSSESSION                                                                                       Telecommunications Relay Services calls accepted

  CH 11 CASE #16-16815(NV)                                                                                     1-800-TO-WELLS (1-800-869-3557)
  2428 DEVOTION RIDGE DR                                                                                       TTY: 1-800-877-4833
  HENDERSON NV 89052-5674                                                                                      En espanol: 1-877-727-2932

                                                                                                              C-11-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                             Online: wellsfargO.com

                                                                                                             Write: Wells Fargo Bank, N.A. (825)
                                                                                                                    P.O. Box 6995
                                                                                                                    Portland, OR 97228-6995




    You and V1/ells Fargo                                                                                    Account options
    Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
   •company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                             wells fargo.com or call the number above if you have
                                                                                                             questions or if you would like to add new services.

                                                                                                             Online Banking                 Direct Deposit          IZ
                                                                                                             Online Bill Pay          El Auto Transfer/Payment
                                                                                                             Online Statements           Overdraft Protection
                                                                                                                                                             .
                                                                                                             Mobile Banking              Debit Card
                                                                                                             My Spending Report             Overdraft Service'



   Activity summary                                                                                           Account number: 111111111111.

           Beginning balance on 9/1                                      61,615.93                            YOUSIF H HALLO=
                                                                          5,775.54                            DEBTOR IN POSSESSION
           Deposits/Additions
                                                                                                              CH 11 CASE #16-16815(NV)
           Withdrawals/Subtractions                                      - 4,557.67
                                                                                                              Nevada account terms and conditions apply
           Ending balance on 9/30                                       $2,833.80
                                                                                                              For Direct Deposit use
                                                                                                              Routing Number (RTN): 321270742



  Overdraft Protection
  This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
• please call the number listed on your statement or visit your Wells Fargo store.




         (825)



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Account number: 111111=1.1 • September 1, 2017 - September 30, 2017 • Page 2 of 4
                                                                                  WELLS
                                                                                  FARGO




Transaction history

                         Check                                                                                  Deposits/        Withdrawals/        Ending daily
       Date             Number Description                                                                      Additions        Subtractions            balance
       9/6                     Bill Pay Caliber Home Loa Recurringmcoo(48517 on 09-06                                                1,275.26       < 4140.Cr7
       9/8                     eDeposit IN Branch/Store 09/08/17 11:29:54 Am 10010 S Eastern                     1,000.00                               1,340.67
                               Ave Henderson NV 4194
       9/11                    Purchase authorized on 09/09 AOL*Fs Aoltechfort 866-485-9217                                               3.99
                               TX S467252087017271 Card 4194
       9/11                    Purchase authorized on 09/09 AOLTS Assist By A 866-485-9217                                               19.99
                               VA S587252087015610 Card 4194
       9/11                    Recurring Payment authorized on 09/09 AOL*Fs Computerche                                                   4.99 •          1,311.70
                                866-485-9225 VA S467252092362509 Card 4194
       9/12                    Katzakian Proper Ownerfunds 170911 3 Yousif Hallou Yousif                         3,463.84
                                Halloum
       9/12                     Purchase authorized on 09/11 Sams Club Sam's Club Las Vegas                                              52.82
                                NV P00000000133592141 Card 4194
       9/12               8150 Check                                                                                                  1,300.00
   •   9/12               8196 Check                                                                                                  1,000.00            2,422.72
       9/15                    Recurring Payment authorized on 09/15 A01: Service                                                        14.95            2,407.77
                                800-827-6364 VA S307258088643813 Card 4194
       9/18                     Purchase authorized on 09/15 Lex-Lexis Nexis 800-897-3183 OH                                            156.20
                                S387258301812396 Card 4194
       9/18                     Purchase authorized on 09/16 Sams Club' Sam's Club Las Vegas                                             41.97
                                NV P00000000670928254 Card 4194
       9/18                     Purchase authorized on 09/18 Sams Club Sam's Club Las Vegas                                              49.15            2,160.45
                                NV P00000000954361141 Card 4194
       9/20                     SSA Treas 310 Xxsoc Sec 092017 :cooc<2986A SSA Yousif H                          1,311.70                                 3,472.15
                                Halloum
       9/25                     Recurring Payment authorized on 09/22 PolarAir & Heatin                                                  44.85
                                702-458-8895 NV S307264737949315 Card 4194
       9/25                     Cox Comm Las Bankdraft 092517 476089320303001 !man                                                      235.40            3,191.90
                                Halloum
       9/28                     Purchase authorized on 09/27 Cothenderson/Utili 702-267-5900                                            358.10            2,833.80
                                NV 5467270804384810 Card 4194
       Ending balance on 9/30                                                                                                                             2,833.80
       Totals                                                                                                  $5,775.54            $4,557.67

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.



Summary of checks written         (checks listed are also displayed in the preceding Transa. ction history)

       Number            Date                 Amount          Number           Date                 Amount
       8150              9/12                1,300.00         8196              9/12               1,000.00

       * Gap in check sequence.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to abanker. Go to welisfargo.c,om/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 09/01/2017 -09/3012017                                                 Standard monthly service fee $10.00                 You paid $0.00

        How to avoid the monthly service fee                                                               Minimum required                  This fee period
        Have any ONE of the following account requirements
          • Minimum daily balance                                                                                   $1,500.00                       $340.67 0
          • Total amount of qualifying direct deposits                                                               $500.00                       $4,775.54 ljg




                                                                       APPX0271
                                                                                                                                                    324 of 457
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 Wells Fargo Everyday Checking                                                                                                                          WELLS
 Account number:                            • October 1, 2017 - October 31, 2017                E Page 1 of 4                                           FARGO




                                                                                                            Questions?
 YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
 DEBTOR IN POSSESSION                                                                                       Telecommunications Relay Services calls accepted
 CH 11 CASE #16-16815(NV)                                                                                     1-800-TO-WELLS               (1-800-869-3557)
 2428 DEVOTION RIDGE DR                                                                                       TTY: 1-800-877-4833
 HENDERSON NV 89052-5674                                                                                      En esparlok 1-877-727-2932

                                                                                                                     •1-800-288-2288 '(6 am to 7 pm PT, M-F)

                                                                                                            Online: wellsfargo.com

                                                                                                            Write: Wells Fargo Bank, N.A. (825)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




  You and Wells Fargo                                                                                       Account options
  Thank you for being a loyal Wells Fargo customer. We value your trust in our                               A check mark in the box indicates you have these
  company and look forward to continuing to serve you with your financial needs.                             convenient services with your account(s). Go to
                                                                                                            wells fargo.com or call the number above if you have
                                                                                                             questions or if you would like to add new services. '
                                                                                                            .                     •
                                                                                                             Online Banking            Z Direct Deposit     Z
                                                                                                            Online Bill Pay           Z Auto Transfer/Payment 0
                                                                                                            Online Statements         Z Overdraft Protection         0
                                                                                                            Mobile Banking            Z Debit Card
                                                                                                            My Spending Report Z Overdraft Service                   0



 Activity summary                                                                                           Account number 1.1.1111110
         Beginning balance on 10/1                                      $2,833.80 •                         YOUSIF H HALLOUM      •
         Deposits/Additions                                              2,772.37                           DEBTOR IN POSSESSION
                                                                                                            CH 11 CASE #16:16815(NV)
         Withdrawals/Subtractions                                      - 4,478.04
                                                                                                            Nevada account terms and conditions apply
        Ending balance on 10/31                                        $1,128.13
                                                                                                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 321270742


 Overdraft Protection
 This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
•please call the number listed on your statement or visit your Wells Fargo store.




       (825)



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                                                                                                                                                WELLS
                                                                                                                                                FARGO



Transaction history

                       Check                                                                                  Deposits/         Withdrawals/         Ending daily
     Date             Number Description                                                                      Additions          Subtractions            balance
     10/3                      Purchase authorized on 10/02 Apria-Medical Equi 949.639-4217                                            38.21            2,795.59
                               CA S467275804976618 Card 4194
     10/5                      Bill Pay Caliber Home Loa Recurring>cooc<48517 on 10-05                                              1,275.26
     10/6                      Katzakian Proper Ownerfunds 171005 8 Yousif Hallou Yousif                       1,460.67                                 2,981.00
                               Halloum
     10/10                     Purchase authorized on 10/09 AOL*Fs Aoltechfort 866-485-9217                                              3.99
                               TX S467282087393738 Card 4194
     10/10                     Purchase authorized on 10/09 AOL*Fs Assist By A 866-485-9217                                            19.99
                               VA S307282087397832 Card 4194
     10/10                     Recurring Payment authorized on 10/09 AOL*Fs Computerche                                                  4.99           2,952.03
                               866-485-9225 VA S587282092055968 Card 4194         •
    • 10/11                    Non-VVF ATM Withdrawal authorized on 10/11129 E Fremont                                                305.99
                               Street Las Vegas NV 00307284767058878 ATM ID P285468 Card
                               4194
     10/11                     Non-Wells Fargo ATM Transaction Fee                                                             •        2.50
     10/11               8148 Check                                                                                                 1,000.00            1,643.54
     10/16                     Recurring Payment authorized on 10/15 AOL* Service                                                      14.95
                               800-827-6364 VA S307288088803388 Card 4194
     10/16                     Purchase authorized on 10/15 Lex*Lexis Nexis 800-897-3183 OH                                           156.20            1,472.39
                               S387288564035882 Card 4194
     10/17                     Recurring Payment authorized on 10/16 Polar Air & Heatin                                                 14.95           1,457.44
                               702-458-8895 NV S387288195035752 Card 4194
     10/18                     SSA Treas 310 Xxsoc Sec 101817 >oocc<2986A SSA Yousif H                         1,311.70                                 2,769.14
                             - Halloum
     10/24                     Non-VVF ATM Balance Inquiry Fee 10/23 2300 Paseo V Henderson                                              2.00
                               NV ATM ID Nvgvra03 Card 4194
     10/24                     Non-VVF ATM Balance Inquiry Fee 10/23 2300 Paseo V Henderson                                              2.00
                               NV ATM ID Nvgvrx10 Card 4194
     10/24                     Purchase authorized on 10/24 NV Energy/Speedpay                                                        386.20
                               800-331-3103 NV S307296639412627 Card 4194
     10/24                     Non-VVF ATM Withdrawal authorized on 10/23 2300 Paseo Verde                                            303.95
                               Parlcwa Henderson NV 00587297212306328 ATM ID Nvgvnc10
                               Card 4194
     10/24                     Non-Wells Fargo ATM Transaction Fee                                                                      2.50             2,072.49
     10/25                     Cox Comm Las Bankdraft 102517 476089320303001 !man                                                     232.85             1,839.64
                               Halloum
     10/30                     Non-WF ATM Balance Inquiry Fee 10/272300 Paseo V Henderson                                                2.00
                               NV ATM ID Nvgvra03 Card 4194
     10/30                     Non-INF ATM Balance Inquiry Fee 10/29 2300 Paseo V Henderson                                              2.00
                               NV ATM ID Nvgvra03 Card 4194
     10/30                     Non-VVF ATM Balance Inquiry Fee 10/29 2300 Paseo V Henderson                                              2.00
                               NV ATM ID Nvgvra03 Card 4194
     10/30                     Recurring Payment authorized on 10/28 AOL*Fs Support.Com                                                  3.99
                               866-485-9217 VA S307300011457011 Card 4194
     10/30                     Non-VVF ATM Withdrawal authorized on 10/27 2300 Paseo Verde                                            303.95
                               Parkwa Henderson NV 00387301114076309 ATM ID Nvgvra03
                               Card 4194
     10/30                     Non-Wells Fargo ATM Transaction Fee                                                                      2.50
     10/30               6197 Check                                                                                                   326.07            1,197.13
     10/31               8198 Check                                                                                                    69.00            1,128.13
     Ending balance on 10/31                                                                                                                            1,128.13
     Totals                                                                                                  $2,772.37             $4,478.04
     The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
     transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




                                                                     APPX0273
                                                                                                                                             326 of 457
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Wells Fargo Everyday Checking                                                                                                                    WELLS
Account number: 111111111.11 • November 1, 2017 November 30. 2017                                   Page 1 of 5                                  FARGO




                                                                                                      Questions?
YOUSIF H HALLOUM                                                                                      Available by phone 24 hours a day, 7 days a week:
DEBTOR IN POSSESSION                                                                                  Telecommunications Relay Services calls accepted
CH 11 CASE #16-16815(NV)                                                                               1-800-TO-WELLS                 (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                 TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                En esparlol: 1-877-727-2932

                                                                                                       *Pi 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                      Online: wellsfargo.com

                                                                                                      Write: Wells Fargo Bank, N.A. (825)
                                                                                                             P.O. Box 6995
                                                                                                             Portland, OR 97228-6995




 You and Wells Fargo                                                                                  Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                         A check mark in the box indicates you have these
 company and look fonivard to continuing to serve you with your financial needs.                      convenient services with your account(s). Go to
                                                                                                      wefisfargo.com or call the number above if you have
                                                                                                      questions or if you would like to add new services.

                                                                                                      Online Banking          0 Direct Deposit                0
                                                                                                      Online Bill Pay         0 Auto Transfer/Payment         0
                                                                                                      Online Statements       Z        Overdraft Protection   CI
                                                                                                      Mobile Banking:         117:1    Debit Card
                                                                                                      My Spending Report      Z        Overdraft Service      0




        IMPORTANT ACCOUNT INFORMATION

Introducing Overdraft Rewind Starting November 7, 2017

With this free account feature, the Bank will reevaluate transactions from the previous business day that resulted in an overdraft or
returned item (non-sufficient funds/NSF) if we receive an electronic direct deposit to your account by 9:00 a.m. local time where your
account is located (which is noted on your account statement). Direct deposits include your salary, pension, Social Security, or other
regular monthly income electronically deposited through the Automated Clearing House (ACI-I) network by your employer or an
outside agency. The Bank will calculate a new balance, including your pending electronic direct deposit (less any pending debits), and
may reverse the overdraft or returned item decisions and waive the associated fees from the previous business day if your electronic
direct deposit will cover them. Overdraft Protection transfers/advances and the associated fees from the prior business day are not
reversed with Overdraft Rewind. Other deposits, such as check(s), cash, or account transfers are not included in Overdraft Rewind.

Set up direct deposit for a safe and easy way to have your payroll or benefit checks automatically deposited into your account.

Go to wellsfargo.com/checking/overdraft-rewind for more details.




      (825)



                                                                      APPX0274
                                                                                                                                                 327 of 457
               Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 327 of 457
Account number:                            • November 1, 2017- November 30, 2017 • Page 2 of 5
                                                                                                                                                      WELLS
                                                                                                                                                      F.ARGO




Activity summary                                                                                           Account number 8997373819
       Beginning balance on 11/1                                      $1,128.13                            YOUSIF II HALLOUM
       Deposits/Additions                                               4,241.70                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,859.24
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 11/30                                        $1,510.59
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would !ike more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/           Ending daily
       Date              Number Description                                                                         Additions          Subtractions              balance
       11/1                     Edeposit IN Branch/Store 11/01/17 11:02:18 Am 2658W Horizon                          1,300.00                                   2,428.13
                                Ridge Pkwy Henderson NV 4194          ,
       11/6                     Katzakian Proper Ownerfunds SD1300 1 Yousif Hallou Yousif                            1,630.00
                                Halloum
       11/6                     Recurring Payment authorized on 11/06 AOL*Fs Support.Com                                                       3.99             4,054.14
                                 866-485-9217 VA S467310183635376 Card 4194
       11/7                     Purchase authorized on 11/07 Sams Club Sam's Club Las Vegas                                                   49.28
                                NV P00000000382002471 Card 4194
        11l7               4t-- Bill Pay Caliber Home Loa Recurringxx>ooc48517 on 11-07                                                    1,275.26    sr(
        11/9                    Purchase authorized on 11/09 A012Fs Aoltechfort 866-485-9217                                                   3.99
                                 TX $387313193898582 Card 4194
        11/9                    Purchase authorized on 11/09 AOL*Fs Assist By A 866-485-9217                                                  19.99
                                 VA S387313193898511 Card 4194
        11/9                    Recurring Payment authorized on 11/09 AOL*Fs Computerche                                                       4.99             2,700.63
                                 866-485-9225 VA S387313198184005 Card 4194
        11/10              8200 Check                                                                                                      1,000.00             1,700.63
        11/13                    Purchase authorized on 11/12 Sams Club Sam's Club Las Vegas                                                  55.64
                                 NV P00000000534480264 Card 4194
        11/13                    Purchase authorized on 11/12 Wal-Mart Super Center Las Vegas                                                 45.68             1,599.31
                                 NV P00000000239531679 Card 4194
        11/15                    SSA Tress 310 Xxsoc Sec 111517 >0000<2986A SSA Yousif H                             1,311.70
                                 Halloum
        11/15                    Purchase authorized on 11/14 Cofnenderson/Utili 702-267-5900                                                120.89
                                 NV S467318599345465 Card 4194
        11/15                    Recurring Payment authorized on 11/15 AOL* Service                                                           14.95
                                 800-827-6364 VA S467319124360400 Card 4194
        11/15                    Purchase authorized on 11/15 Sams Club Sam's Club Las Vegas                                                  49.77             2,725.40
                                 NV P00000000673099730 Card 4194
        11/16                    Recurring Payment authorized on 11/15 Polar Air & Heatin                                                     14.95
                                 702-458-8895 NV 5587319192796820 Card 4194
        11/16                    Purchase authorized on 11/15 Lex*Lexis Nexis 800-897-3183 OH                                                156.20             2,554.25
                                 S587319329623018 Card 4194
        11/20                    Purchase authorized on 11/20 Sams Club Sam's Club Las Vegas                                                  50.98             2,503.27
                                 NV P00000000833338150 Card 4194
        11/24                    Purchase authorized on 11/24 NV Energy/Speedpay                                                             611.75
                                 800-331-3103 NV S387328105913435 Card 4194
        11/24                    Purchase authorized on 11/24 Sams Club Sam's Club Las Vegas                                                  39.32             1,852.20
                                 NV P00000000231669437 Card 4194
        11/27                    Cox Comm Las Bankdraft 112517 476089320303001 !man                                                          232.99             1,619.21
                                Halloum




                                                                          APPX0275
                                                                                                                                                328 of 457
              Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 328 of 457
Wells Fargo Everyday. Checking                                                                                                                      WELLS
Account number: 411111111111110 w December 1,2017 • December 31, 2017                                • . Page l of 4                                FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      77Y: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlok 1-877-727-2932

                                                                                                            ta 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




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 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          2 Direct Deposit               I=1
                                                                                                           Online Bill Pay                Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection    fl
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: MM.
        Beginning balance on 12/1                                     $1,510.59                            YOUSIF H HALLOUM
       Deposits/Additions                                               4,666.70                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 4,310.80
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 12131                                       $1,866.49
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



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Account number:                   • December 1, 2017- December 31, 2017 • Page 2 of 4
                                                                                                                         WELLS
                                                                                                                         FARGO




Transaction history

                   Check                                                                     Deposits/   Withdrawals/      Ending daily
     Date         Number Description                                                         Additions    Subtractions         balance
     12/4                Non-VVF ATM Balance Inquiry Fee 12/04 129 E Fremon Las Vegas                             2.00        1,508.59
                         NV ATM ID P285470 Card 4194
     12/5                Purchase authorized on 12/05 VVM Superc Wal-Mart Sup Las                               11.05
                         Vegas NV P00000000433845264 Card 4194            .
     12/5                Bill Pay Caliber Home Loa Recurring>cootx48517 on 12-05                             1,275.26
     12/6                Katzakian Proper Ownerfunds 171205 10 Yousif Hallo Yousif           1,755.00
                         Halloum
     12/6                Recurring Payment authorized on 12/06 AOL*Fs Support.Com                                3.99
                          866-485-9217 VA $587340127704355 Card 4194
     12/6                Purchase authorized on 12/05 Smiths 1000 N Green Valle                                 43.19         1,930.10
                         Henderson NV P00307340284565868 Card 4194
     12/7                Non-VVF ATM Withdrawal authorized on 12/07 129 E Fremont                              305.99
                          Street Las Vegas NV 00467341639834791 ATM ID P285472 Card
                          4194
     12/7                 Non-Wells Fargo ATM Transaction Fee                                                    2.50
     1217                 Purchase authorized on 12/07 VVM Superc Wal-Mart Sup Las                              35.72
                          Vegas NV P00000000783872507 Card 4194
     12/7                 Purchase authorized on 12/07 Partell Special 5835 S Ea Las Vegas                      45.00         1,540.89
                          NV P00307342038022667 Card 4194
     12/8                 Purchase authorized on 12/06 Sears Roebuck-48 800-469-4663 IL                        125.68
                          8587340725846913 Card 4194
     12/8                 Purchase authorized on 12/08 WM Superc Wal-Mart Sup Las                               17.66         1,397.55
                          Vegas NV P00000000833999612 Card 4194
     12/11                Purchase authorized on 12/09 AOL"Fs Aoltechfort 866-485-9217                           3.99
                          TX S587343123159076 Card 4194
     12/11                Purchase authorized on 12/09 AOL*Fs Assist By A 866-485-9217                          19.99
                          VA S467343123154258 Card 4194
     12/11                Recurring Payment authorized on 12109 AOL*Fs Computerche                               4.99
                          866-485-9225 VA S587343128201207 Card 4194
     12/11          8199 Cashed Check                                                                          133.91         1,234.67
     12/14                Edeposit IN Branch/Store 12/14/17 09:25:34 Am 900 N Green            500.00
                          Valley Pkwy Henderson NV 4194
     12/14                Purchase authorized on 12/13 Cofhenderson/Utili 702-267-5900                         109.80         1,624.87
                          NV S387347598636663 Card 4194
     12/15                Recurring Payment authorized on 12/15 AOL* Service                                    14.95
                          800-827-6364 VA S307349124580761 Card 4194
     12/15 •        8149 Check                                                                               1,000.00           609.92
     12/18                Recurring Payment authorized on 12/16 Polar Air & Heatin                              14.95
                          702-458-8895 NV S587349233548045 Card 4194
     12/18                Purchase authorized on 12/15 Lex•Lexis Nexis 800-897-3183 OH                         156.20           438.77
                          S387349340413001 Card 4194
     12/20                SSA Trees 310 Xxsoc Sec 122017 )occo(2986A SSA Yousif H             1,311.70                        1,750.47
                          Halloum
     12/21                ATM Wthdrawal authorized on 12/20 900 N Green Valley Par                             200.00         1,550.47
                          Henderson NV 0008934 ATM ID 5456P Card 4194
     12/22                Purchase authorized on 12/21 Samsclub #6261 Las Vegas NV                              46.69         1,503.78
                          S467355845512472 Card 4194
     12/26                Non-1NF ATM Balance Inquiry Fee 12/22 3333 Blue Di Las Vegas                           2.00
                          NV ATM ID Nvshcx05 Card 4194
     12/26                Non-VVF ATM Withdrawal authorized on 12/22 3333 Blue                                 304.00
                          Diamond Rd Las Vegas NV 00587357146677114 ATM ID
                          Nvshcx05 Card 4194
     12/26                Non-Wells Fargo ATM Transaction Fee                                                    2.50
     12/26                Purchase authorized on 12/26 Costco Whse #0673 Henderson NV                           43.29
                          P00387361016502156 Card 4194.
     12/26                Purchase authorized on 12/26 Wal-Mart Super Center Las Vegas                          69.99
                          NV P00000000589842291 Card 4194
     12/26                Cox Comm Las Bankdraft 122517 476089320303001 :man                                   233.01           848.99
                          Halloum




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                                           EXHIBIT "G"




  BANK STATEMENTS OF PAYMENT HISTORY AFTER THE
        APPROVAL OF THE LOAN MODIFICATION
         January 1, 2018 through December 31, 2018




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                                                                                                                                                331 of 457
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Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: 11111111111M• January 1, 2018 - January 31, 2018 • Page 1 of 4                                                                      FARGO




                                                                                                           Questions?

YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlol: 1-877-727-2932

                                                                                                               g 1-800-288-2288 (6 am to 7 p.m PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)•
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland. OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking          Z Direct Deposit
                                                                                                           Online Bill Pay          Z     Auto Transfer/Payment   LI
                                                                                                           Online Statements              Overdraft Protection    Li
                                                                                                           Mobile Banking          Z      Debit Card.
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number 61111111111.
       Beginning balance on 1/1                                       $1,866.49                            YOUSIF H HALLOUM
       Deposits/Additions                                               4,312.00                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 4,103.52
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 1/31                                         $2,074.97
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. if you would like more information regarding Overdraft Protection and eligibility requirements .
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



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Account number:         .• January 1, 2018 - January 31, 2018 • Page 2 of 4
                                                                            WELLS
                                                                            FARGO




Transaction history

                Check                                                                      Deposits/   Withdrawals/    Ending daily
    Date       Number Description                                                          Additions    Subtractions       balance
    1/2                Purchase authorized on 12/30 Sams Club Sam's Club Las Vegas                            44.97
                       NV P00000000977319827 Card 41.94               •
    1/2               ATM Withdrawal authorized on 12/30 900 N Green Valley Par                              200.00
                       Henderson NV 0002022 ATM ID 5456P Card 4194
    1/2                Purchase authorized on 12/30 Smiths 10616 E. Eas Henderson NV                          42.03
                       P00000000575936189 Card 4194
    1/2                Purchase authorized on 12/31 WM Superc Wal-Mart Sup Las                                69.89       1,509.60
                       Vegas NV P00000000334500925 Card 4194
    1/4                Edeposit IN Branch/Store 01/04/18 11:50:03 Am 10010 S Eastern         500.00                       2,009.60
                       Ave Henderson NV 4194
    1/5          /FG Bill Pay Caliber Home Loa Recurring>occoc48517 on 01-05                               1,275.26
    1/8                Recurring Payment authorized on 01/06 AOLTs Support.Com                                 3.99
                       866-485-9217 VA S588006127332104 Card 4194
    1/8                Recurring Payment authorized on 01/06 Sears Protection A                              125.67          604.68
                       210-523-3500 TX S588006226846109 Card 4194
    1/9                Katzakian Proper Ownerfunds 180108 13 Yousif Hallo Yousif           1,755.00
                       Halloum
     1/9               Purchase authorized on 01/09 AOLTs Aoltechfort 866-485-9217                             3.99
                       TX S588009123033972 Card 4194
     1/9               Purchase authorized on 01/09 AOL*Fs Assist By A 866-485-9217                           19.99
                       VA S588009123033982 Card 4194
     1/9               Recurring Payment authorized on 01/09 AOL*Fs Computerche                                4.99       2,330.71
                       866-485-9225 VA S308009128164767 Card 4194
     1/11              Purchase authorized on 01/10 Apria-Medical Equi 949-639-4217                           48.27       2,282.44
                       CA S588010833119526 Card 4194
     1/12              Purchase authorized on 01/11 Cofhenderson/Utili 702-267-5900                          107.21
                       NV S308011611052869 Card 4194
     1/12              Purchase authorized on 01/12 Vesta *AT&T 866-608-3007 OR                               30.0/
                       6308011781336579 Card 4194
     1/12        8201 Check                                                                                1,000.00        1,145.16
     1/16              Recurring Payment authorized on 01/15 AOL* Service                                     14.95
                        800-827-6364 VA S468015124555691 Card 4194
     1/16              Purchase authorized on 01/15 Lex*Lexis Nexis 800-897-3183 OH                          156.20
                        S588015318216239 Card 4194
     1/16              Purchase authorized on 01/16 Sams Club Sam's Club Las Vegas                            40.93          933.08
                        NV P00000000080587830 Card 4194
     1/17               SSA Tress 310 Xxsoc Sec 011718 moc<2986A SSA Yousif H               1,357.00
                        Halloum
     1/17              Recurring Payment authorized on 01/16 Polar Air & Heatin                                14.95       2,275.13
                        702-458-8895 NV S308015233965528 Card 4194
     1/22               Purchase authorized on 01/21 Wet-Mart Super Center Las Vegas                           78.05       2,197.08
                        NV P00000000376976437 Card 4194
     1/25               Purchase authorized on 01/25 Partell Special 5835 S Ea Las Vegas                      45.00
                        NV P00468025714306944 Card 4194
     1/25               NV Energy South Npc Pymt 023487491951562 Yousif Halloum                              252.14
     1/25               Cox Comm Las Bankdraft 012518 476089320303001 !man                                   233.15        1,666.79
                        Halloum
     1/29               Purchase authorized on 01/27 Samsclub #6261 Las Vegas NV                              48.70
                        P00000000979087786 Card 4194
     1/29 .             ATM Withdrawal authorized on 01/27 2658 W Horizon Ridge P                            200.00
                        Henderson NV 0009270 ATM ID 1722E Card 4194




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                                                                                                                                                333 of 457
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Wells Fargo Everyday Checking                                                                                                                        WELLS
Account number: 11.111111.1111 • February 1, 2018- February 28, 2016 el Page 1 of 5                                                                  FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
DEBTOR IN POSSESSION                                                                                       Telecommunications Relay Services calls accepted

CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlol: 1-877-727-2932

                                                                                                            WA 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
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                                                                                                           wells fargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           111 Direct Deposit            CD
                                                                                                           Online Bill Pay                Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number. IMMO
       Beginning balance on 2/1                                       $2,074.97                            YOUSIF H HALLOUM
       Deposits/Additions                                               4,412.00                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 4,751.83
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 2/28                                         $1,735.14
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



                                                                         APPX0281
                                                                                                                334 of 457
              Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 334 of 457
Account number: 111111111111.111 al February 1, 2018 February 28, 2018 • Page 2 of 5
                                                                                                                       WELLS
                                                                                                                       FARGO



Transaction history

                     Check                                                                 Deposits/   Withdrawals/      Ending daily
       Date         Number Description                                                     Additions    Subtractions         balance
       2/2                  Purchase authorized on 02/02 WM Superc Wal-Mart Sup Las                           22.40         2,052.57
                            Vegas NV P00000000874453499 Card 4194
       2/5                  Purchase authorized on 02/04 Samsdub #6261 Las Vegas NV                           54.05
                            P00000000335935310 Card 4194
       2/5                  Purchase authorized on 02/05 Wal-Mart #2593 Las Vegas NV                          98.96
                            P00000000173918945 Card 4194
   •   2/5                  ATM Withdrawal authorized on 02/05 900 N Green Valley Par                        300.00         1,599.56
                            Henderson NV 0003873 ATM ID 5456P Card 4194
       2/6                  Katzakian Proper Ownerfunds 180205 6 Yousif Hallou Yousif      1,755.00
                            Halloum
       2/6                  Recurring Payment authorized on 02/06 AOL*Fs Support.Com                           3.99
                            866-485-9217 VA S468037126273968 Card 4194
       2/6                  Recurring Payment authorized on 02/06 Sears Protection A                         125.67
                            2105233500 TX S588037220429953 Card 4194
       2/6                  Purchase authorized on 02/06 VVM Superc Wal-Mart Sup Las                          28.87
                            Vegas NV P00000000179063649 Card 4194
       2/6             OC-- Bill Pay Caliber Home Loa Recurringxrcc<48517 on 02-06                         1,275.26
       2/8                  Non-WF ATM Balance Inquiry Fee 02/07 2300 Paseo V Henderson                        2.00
                            NV ATM ID Nvgvrx03 Card 4194
       2/8                  Non-WF ATM WithdrawaF authorized on 02/07 2300 Paseo Verde                       303.95
                            Parkwa Henderson NV 00468039154383699 ATM ID, Nvgvrx03
                            Card 4194
       2/8                  Non-Wells Fargo ATM Transaction Fee •                                              2.50         1,612.32
       2/9                  Non-1NF ATM Balance Inquiry Fee 02/08 129 E Fremon Las Vegas                       2.00
                            NV ATM ID P285468 Card 4194
       2/9                  Recurring Payment authorized on 02/08 Vesta *AT&T -                               30.07
                            866-608-3007 OR S388039456750506 Card 4194
       2/9                  Purchase authorized on 02/08 AOL*Fs Aoltechfort 866-485-9217                       3.99
                            TX S468040123348429 Card 4194
       2/9                  Purchase authorized on 02/08 AOL*Fs Assist By A 866-485-9217                      19.99
                            VA S588040123349224 Card 4194
       2/9                  Recurring Payment authorized on 02/08 AOL*Fs Computerche                           4.99         1,551.28
                            866-485-9225 VA S388040127541440 Card 4194
       2/12                 Recurring Payment authorized on 02/09 AOL*Fs Safecentral                           2.95
                            866-485-9217 VA S588041127359864 Card 4194
                                                                                                                              •
       2/12                 Recurring Payment authorized on 02/09 AOL*Fs Search&Reco                           3.99
                            866-485-9217 VA S308041127356249 Card 4194
       2/12           8166 Check                                                                           1,000.00           544.34
       2/13                 Edeposit IN Branch/Store 02113(1802:10:27 Pm 900 N Green         3Q0.00                           844.34
                            Valley Pkwy Henderson NV 4194
       2/14                 Purchase authorized on 02/14 Sams Club Sam's Club Las Vegas                       54.81           789.53
                            NV P00000000279806802 Card 4194
       2/15                 Purchase authorized on 02/13 Cartridge World Las Vegas NV                         55.00
                            S308045030561451 Card 4194
       2/15                 Purchase authorized on 02/14 Cofhenderson/Utili 702-267-5900                     135.48
                            NV S588045598181101 Card 4194
       2/15                 Recurring Payment authorized on 02/14 AOL* Service                                14.95           584.10
                            800-827-6364 VA 5388046124378139 Card 4194
       2/16                 Recurring Payment authorized on 02/14 Polar Air & Heatin                          14.95
                            702-458-8895 NV S588046188431761 Card 4194
       2/16                 Purchase authorized on 02/15 Lex*Lexis Nazis 800-897-3183 OH                     156.20
                            S588046335209962 Card 4194 •
       2/16                 Purchase authorized on 02/16 Walgreens Store 2389 E WI Las                         7.15           405.80
                            Vegas NV P00308047830258797 Card 4194
       2/20                 Purchase authorized on 02/15 IN N Out Burger 16 Las Vegas NV                       5.52
                            S388047214221050 Card 4194
       2/20                 Purchase authorized on 02/15 IN N Out Burger 16 Las Vegas NV                       1.89           398.39
                            S308047216011691 Card 4194
       2/21                 SSA Treas 310 Xxsoc Sec 022118 xxxxx2986A SSA Yousif H         1,357.00
                            Halloum




                                                             APPX0282
                                                                                                                                                335 of 457
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Wells Fargo Everyday Checking                                                WELLS
Account number: 1111111111.11. • March 1, 2018 - March 31 2018 • Page 1 of 5 FARGO




                                                                                                          Questions?

YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espanol: 1-877-727-2932

                                                                                                            MI 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, N.A. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking          0 Direct Deposit               z
                                                                                                           Online Bill Pay         O      Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking          ▪      Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: 1111111.111.

       Beginning balance on 3/1                                       61,735.14                            YOUSIF H HALLOUM
                                                                                                           DEBTOR IN POSSESSION
       Deposits/Additions                                               3,630.15
                                                                                                           CH 11 CASE #16-16815(NV)
       Infithdrawals/Subtractions                                     - 4,935.84
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 3/31                                           $429.45
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (525)




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Account number:          • March 1, 2018.- March 31,2.018 • Page 2 of 5
                                                                           WELLS
                                                                            FARGO




Transaction history

                 Check •                                                                  Deposits/   Withdrawals/    Ending daily
    Date        Number Description                                                        Additions    Subtractions       balance
    3/1                  Purchase authorized on 02/27 City of Lv Parking Las Vegas NV                          2.00
                         S308058679957439 Card 4194
    3/1                  Purchase authorized on 02/27 IN *Access Transcr 855-8732223 IN                      60.50       1,672.64
                         S308059053244094 Card 4194
    3/5                  Purchase authorized on 03/03 Sams Club Sam's Club Las Vegas                         49.14
                         NV P00000000384671543 Card 4194
    3/5                  Purchase authorized on 03/04 WM Superc Wal-Mart Sup Las                             22.69       1,600.81
                         Vegas NV P00000000987599286 Card 4194
    3/6                  Katzakian Proper Ownerfunds 180305 7 Yousif HaRau Yousif         1,755.00
                         Halloum
    3/6                  Cash eVVithdrawal in Branch/Store 03/06/2018 1:20 Pm 900 N                         500.00
                         Green Valley Pkwy Henderson NV 4194
    3/6           3It Bill Pay Caliber Home Loa Recurringx=0<48517 on 03-06                               1,275.26
    3/7                  Recurring Payment authorized on 03/06 AOL*Fs Support.Com                             3.99
                         866-485-9217 VA S308065524364162 Card 4194
    3/7                  Purchase authorized on 03/07 Samsclub #6261 Las Vegas NV                            48.79       1,527.77
                         P00000000334551970 Card 4194
    3/9                  Purchase authorized on 03/07 City of Lv Parking Las Vegas NV                         4.00
                      iS388066752840556 Card 4194
    3/9                  Purchase authorized on 03/08 Apria-Medical qui 949-639-4217                        184.79
                         CA S308067852441681 Card 4194
    3/9                  Purchase authorized on 03/08 VVM Superc Wal-Mart Sup Las                            19.38
                         Vegas NV P00000000177634117 Card 4194
     3/9                 Purchase authorized on 03/08 AOL*Fs Aoltechfort 866-485-9217                          3.99
                         TX S388068123469089 Card 4194
     3/9                 Purchase authorized on 03/08 AOL*Fs Assist By A 866-485-9217                        19.99
                         VA S588068123455388 Card 4194
     3/9                 Recurring Payment authorized on 03/08 AOL"Fs Computerche                              4.99
                         866-485-9225 VA S308068128318954 Card 4194
     3/9    •            Purchase with Cash Back $ 40.00 authorized on 03/09 Vons Store                      46.97       1,243.66
                          1795 Henderson NV P00588068745950988 Card 4194
     3/12                 Recurring Payment authorized on 03/09 AOL*Fs Safecentral                             2.95
    .
                          866-485-9217 VA S468069128405385 Card 4194
     3/12                 Recurring Payment authorized on 03/09 AOL*Fs Search&Reco                             3.99
                          866-485-9217 VA S468069128405245 Card 4194
     3/12                 Recurring Payment authorized on 03/10 Vesta *AT&T                                  30.07        1,206.65
                          866-608-3007 OR S588069449343280 Card 4194
     3/14                 Purchase authorized on 03/12 Fedex 780007588530 Memphis TN                           9.89
                          S388071747179340 Card 4194
     3/14                 Purchase authorized on 03/12 Fedex 910254110657 Memphis TN                           1.08
                          S588071747382092 Card 4194
     3/14                 Purchase authorized on 03/14 VVM Superc Wal-Mart Sup Las                           19.50
                          Vegas NV P00000000582584707 Card 4194
     3/14                 Purchase authorized on 03/14 Sams Club Sam's Club Las Vegas                        51.82        1,124.36
                          NV P0.0000000336187047 Card 4194
     3/15                 Purchase Return authorized on 03/14 IN *Access Transcr             18.15
                          855-8732223 IN 5628074544810849 Card 4194
     3/15                 Purchase authorized on 03/13 U-Haul Moving & St Henderson NV                       18.52
                          S588072776605700 Card 4194
     3/15                 Recurring Payment authorized on 03/14 AOL* Service                                 14.95        1,109.04
                          800-827-6364 VA S308074088748961 Card 4194
     3/16                 Recuning Payment authorized on 03/14 Polar Air & Heatin                            14.95
                          702-458-8895 NV S588074154707643 Card 4194
     3/16                 Purchase authorized on 03/15 Lex*Lexis Nexis 800-897-3183 OH                      156.20
                          S308074310074625 Card 4194
     3/16                 Purchase authorized on 03/15 Coffienderson/Utili 702-267-5900                     112.23
                          NV S388074562437812 Card 4194
     3/16                 Purchase authorized on 03/15 Lvac Southeast Las Vegas NV                           98.00
                          S468074853882775 Card 4194
     3/16         8205 Check                                                                                 97.00           630.66




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                                                                                                                                                337 of 457
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Wells Fargo Everyday Checking                                                                                                                        WELLS
Account number: 1/11111111111 st April 1,2018 - April 30, 2018 i Page 1 of 6                                                                         FARGO




                                                                                                           Questions?

YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
DEBTOR IN POSSESSION                                                                                       Telecommunications Relay Services calls accepted

CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR .                                                                                    TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espanol: 1-877-727-2932
                                                                                                               g 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                           •      P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wells fargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           0 Direct Deposit
                                                                                                           Online Bill Pay          Z     Auto Transfer/Payment 0
                                                                                                           Online Statements              Overdraft Protection    0
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service       0



Activity summary                                                                                           Account number: 011111.1111
       Beginning balance on 4/1                                         $429.45                            YOUSIF H HALLOUM
       Deposits/Additions                                               4,910.06                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
        Withdrawals/Subtractions                                      - 5,173.28
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 4/30                                           $166.23
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



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Account number:           April 1, 2018 - April 30, 2018 Page 2 of 6
                                                                           WELLS
                                                                           FARGO




Transaction history

                 Check                                                                 Deposits/   Withdrawals/    Ending daily
    Date        Number Description                                                     Additions    Subtractions       balance
    4/2                Edeposit IN Branch/Store 04/02/18 12:47:53 Pm 900 N Green        1,500.00
                       Valley Pkwy Henderson NV 4194
    4/2                Purchase authorized on 03/31 China A Gogo Henderson NV                             10.77
                       S468091066951668 Card 4194
    4/2                Purchase authorized on 04/01 VVM Superc Wal-Mart Sup Las                           32.22        1,886.46
                       Vegas NV P00000000636939033 Card 4194
    4/4                Katzakian Proper Ownerfunds 180403 6 Yousif Hallou Yousif       1,755.00
                       Halloum
    4/4                Purchase authorized on 04/04 Sams Club Sam's Club Las Vegas                        58.05
                        NV P00000000175702545 Card 4194
    4/4                 Purchase authorized on 04/04 Wet-Mart Super Center Las Vegas                        9.76       3,573.65
                        NV P00000000971276377 Card 4194
    4/5                 Purchase authorized on 04/04 VVM Superc Wal-Mart Sup Las                          10.70
                        Vegas NV P00000000676061505 Card 4194
    4/5                 Purchase authorized on 04/05 VVM Superc Wal-Mart Sup Las                          47.03
            -     * Vegas NV P00000000839724761 Card 4194
    4/5                 Bill Pay Caliber Home Loa Recurring>occc<48517 on 04-05                        1,275.26
    4/6                 Purchase authorized on 04/04 City of Lv Parking Las Vegas NV                       4.00    •
                        S468094724965078 Card 4194
     4/6                Recurring Payment authorized on 04/05 AOL*Fs Support.Com                            3.99
                        866-485-9217 VA S468096089911459 Card 4194
    4/6                 Purchase authorized on 04/05 Zaytoon Mediterran Las Vegas NV                      15.47        2,217.20
                        S588096104153877 Card 4194                     •
    4/9                 Purchase authorized on 04/05 Shell Oil 12527184 Las Vegas NV                      10.01
                        S38809290740411 Card 4194
    4/9                 Purchase authorized on 04/07 Samsclub #6261 Las Vegas NV                          46.95
                        P00000000786566679 Card 4194
     4/9                Purchase authorized on 04/08 AOL*Fs Aoltechfort 866-485-9217                        3.99
                        TX S388099086971114 Card 4194
     4/9                Purchase authorized on 04/08 AOL*Fs Assist By A 866-485-9217                       19.99
                        VA S588099086973295 Card 4194
     4/9                Recurring Payment authorized on 04/08 AOL*Fs Computerche                            4.99       2,131.27
                        866-485-9225 VA 6308099092126531 Card 4194
     4/10               Recurring Payment authorized on 04/09 Vesta *AT&T                                  30.07
                        866-608-3007 OR 6308099397330592 Card 4194
     4/10               Purchase authorized on 04/09 Apria Healthcare L 949-639-2000                       37.88
                        CA S388099862226337 Card 4194
     4/10               Recurring Payment authorized on 04/09 AOL*Fs Safecentral                            2.95
                        866-485-9217 VA S588100090387859 Card 4194
     4/10               Recurring Payment authorized on 04/09 AOL*Fs Search&Reco                            3.99
                        866-485-9217 VA S308100090387635 Card 4194
     4/10               Purchase authorized on 04/09 VVM Superc Wal-Mart Sup Las                           26.49       2,029.89
                        Vegas NV P00000000174458814 Card 4194
     4/11               Purchase authorized on 04/10 Apria-Medical Equi 949-639-4217                       42.40
                        CA S388100582317073 Card 4194
     4/11               Purchase authorized on 04/10 Wal-Mart #2593 Las Vegas NV                           24.47
                        P00000000383245771 Card 4194
     4/11               Purchase authorized on 04/11 Sams Club Sam's Club Las Vegas                       61.69        1,901-.33
                        NV P00000000285994070 Card 4194
     4/13               Purchase authorized on 04/12 China A Gogo Henderson NV                             11,96       1,889.37
                        S308103083812615 Card 4194
     4/16               Purchase authorized on 04/14 Sams Club Sam's Club Las Vegas                        45.00
                        NV P00000000732939255 Card 4194
     4/16               Purchase authorized on 04/14 Samsclub #6261 Las Vegas NV                         298.06
                        P00000000889308743 Card 4194
     4/16               Purchase authorized on 04/14 Wal-Mart Super Center Las Vegas                       18.54
                        NV P00000000972085708 Card 4194
     4/16               Purchase authorized on 04/14 Samsclub #6261 Las Vegas NV                         114.03
                        P00000000183426653 Card 4194




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Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: 111111111111111111. • May 1, 2018 - May 31,2018 mu Page 1 of 5                                                                      FARGO




                                                                                                          Questions?

YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlot 1-877-727-2932

                                                                                                            *P.    14300-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, NA. (825)
                        5                                                                                        P.O. Box 699
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options .
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking                 Direct Deposit
                                                                                                           Online Bill Pay                Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection    a
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity Summary                                                                                           Account number: UMW
       Beginning balance on 5/1                                         $166.23                            YOUSIF H HALLOUM
                                                                        5,612.00                           DEBTOR IN POSSESSION
       Deposits/Additions
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,981.31
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 5/31                                         $1,796.92
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)




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Account number: MIMI • May 1, 2018- May 31, 2018 • Page 2 of 5
                                                                                                                           WELLS
                                                                                                                           F.ARGO




Transaction history

                .    Check                                                                      Deposits/   Withdrawals/     Ending daily
    Date            Number Description                                                          Additions   Subtractions         balance
    5/1                      Edeposit IN Branch/Store 05/01/18 04:21:50 Pm 900 N Green           1,500.00                       1,666.23
                             Valley Pkwy Henderson NV 4194 •
    5/4                      Purchase authorized on 05/04 Lowe's #1719 Las Vegas NV                                18.38
                             P00308124723451600 Card 4194         ,
    5/4                      Purchase authorized on 05/04 Lowe's #1719 Las Vegas NV                                10.45
                             P00388124733941218 Card 4194
    5/4                      Purchase authorized on 05/04 Sams Club Sam's Club Las Vegas                           63.21
                             NV P00000000136989395 Card 4194
    5/4                      Purchase authorized on 05/041NM Superc Wal-Mart Sup Las                               22.34        1,551.85
                             Vegas NV P00000000880205481 Card 4194
    5/7                      Purchase authorized on 05/05 Republic Srvcs-Hen 702-735-5151                          45.30
                             NV S468125751944234 Card 4194
    5/7                      Recurring Payment authorized on 05/06 AOL*Fs Support.Com                               3.99
                             866-485-9217 VA S388126509721204 Card 4194
     5/7              -4fc• Bill Pay Caliber Home Loa Recurringxx>=48517 on 05-07                               1,275.26
     5/8                     Katzakian Proper Ownerfunds May 08 14 Yousif Hallo Yousif           1.755.00
                             Halloum
     5/8                     Purchase authorized on 05/08 Wal-Mart #2593 Las Vegas NV                               9.31        1,972.99
                             P00000000071717299 Card 4194
     5/9                     Purchase authorized on 05/08 AOL*Fs Aoltechfort 866-485-9217                           3.99
                             TX S588129087415987 Card 4194
     5/9,                    Purchase authorized on 05/08 AOL*Fs Assist By A 866-485-9217                          19.99
                             VA S468129087411216 Card 4194          •
     5/9                     Recurring Payment authorized on 05/08 AOL*Fs Computerche                               4.99
                             866-485-9225 VA S588129091220378 Card 4194
     5/9                     ATM Withdrawal authorized on 05/08 255,8 W Horizon Ridge P                           100.00
                             Henderson NV 0009054 ATM ID 1722E Card 4194
     5/9                     Purchase authorized on 05/09 IN *Malincho Las Vegas NV                                16.42        1,827.60
                             P00308129688728600 Card 4194
     5/10                    Recurring Payment authorized on 05/09 Vesta *AT&T                                     30.07
                             866-608-3007 OR S588129543689597 Card 4194
     5/10                    Purchase authorized on 05/10 Lowe's #1719 Las Vegas NV                                14.12        1,783.41
                             P00468130738011257 Card 4194
     5/11                    Recurring Payment authorized on 05/10 AOL*Fs Safecentral                               2.95
                             866-485-9217 VA S308130507677002 Card 4194
     5/11                    Recurring Payment authorized on 05/10 AOL*Fs Search&Reco                               3.99
                             866-485-9217 VA S468130507672228 Card 4194
     5/11                    Purchase authorized on 05/10 Kfc 0212103 Las Vegas NV                                 22.72         1,753.75
                             S388130636595395 Card 4194
     5/14                    Purchase authorized on 05/12 IN *Malincho Las Vegas NV                                13.75
                             P00308132787857793 Card 4194
     5/14                    Purchase authorized on 05/12 Sams Club Sam's Club Las Vegas                           67.19
                             NV P00000000280905535 Card 4194                            • -
     5/14                    Purchase authorized on 05/12 The Habit Burger 5 Henderson NV                          12.18
                             S588132846427905 Card 4194
     5/14                    Purchase with Cash Back $ 40.00 authorized on 05/12 Wal-Mart                          76.41
                             Super Center Las Vegas NV P00000000182244766 Card 4194
     5/14                    Purchase with Cash Back $ 40.00 authorized on 05/13 Wal-Mart                          70.27         1,513.95
                             Super Center Las Vegas NV P00000000077325132 Card 4194
     5/15                    Purchase authorized on 05/14 Cofhenderson/Utili 702-267-5900                         105.78
                             NV S308134562447702 Card 4194
     5/15                    Recurring Payment authorized on 05/14 AOL* Service                                    14.95         1,393.22
                             800-827-6364 VA S588135140123389 Card 4194
     5/16                    SSA Trees 310 Xxsoc Sec 051618 x:oco:2986A SSA Yousif H          • 1,357.00
                             Halloum
     5/16                    Recurring Payment authorized on 05/14 Polar Air & Heatin                              14.95
                             702-458-8895 NV S588135164871115 Card 4194
     5/16                    Purchase authorized on 05/14 Lex*Lexis Nexis 800-897-3183 OH •                       156.20
                             S588135250355153 Card 4194




                                                              APPX0288
                                                                                                                                                341 of 457
             Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 341 of 457
Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number; 1111111M. • June 1, 2018 June 30, 2018 n Page 1 of 4                                                                                FARGO




                                                                                                           Questions? •

YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557) •
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espanol: 1-877-727-2932

                                                                                                                   1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking                 Direct Deposit        1=1
                                                                                                           Online Bill Pay                Auto Transfer/Payment 111
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: 11.1111111110
        Beginning balance on 6/1                                      61,796.92                            YOUSIF H HALLOUM
       Deposits/Additions                                               3,145.99                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 4,169.51
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 6/30                                           $773.40
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825) Ins



                                                                         APPX0289
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         Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 342 of 457
Account number: 0111.11110 June 1, 2018 - June 30, 2018 Page 2 Of 4
                                                                           WELLS
                                                                           FARGO




Transaction history

                Check                                                                    Deposits/   Withdrawals/    Ending daily
    Date       Number Description                                                        Additions    Subtractions       balance
    6/1                Edeposit IN Branch/Store 06/01/18 11:15:56 Am 10010 S Eastern       500.00                       2296.92
                       Ave Henderson NV 4194
    6/4                Purchase authorized on 05/31 City of Lv Parking Las Vegas NV                          1.00
                       S388151631600445 Card 4194
    6/4                Purchase authorized on 05/31 City of Lv Parking Las Vegas NV                          1.00
                        5588151806411671 Card 4194
    6/4                Purchase with Cash Back $ 40.00 authorized on 06/03 Wal-Mart                         88.06
                        Super Center Las Vegas NV P00000000376839281 Card 4194
    6/4                Purchase authorized on 06/03 Sams Club Sam's Club Las Vegas                          49.22
                        NV P00000000973043113 Card 4194
    6/4                ATM Withdrawal authorized on 06/04 900 N Green Valley Par                           200.00        . 1,957.64
                        Henderson NV 0002873 ATM ID 5456P Card 4194
    6/5          -7%. Bill Pay Caliber Home Loa Recurringmoo(48517 on 06-05                              1.275.26    <
    6/6                 Recurring Payment authorized on 06/05 AOL*Fs Support•Com                             3.99           678.39
                        866-485-9217 VA S308157091554872 Card 4194
    6/7                 Purchase authorized on 06/06 My Binding Corn 503-2070394 OR                         81.28           597.11
                        S388157583752573 Card 4194
    6/11                Recurring Payment authorized on 06/08 Vesta *AT&T                                   30.07
                        866-608-3007 OR S468159375171092 Card 4194
    6/11                Purchase authorized on 06/08 AOL*Fs Aoltechfort 866-485-9217                          3.99
                        TX 5468160088619016 Card 4194
     6/11          . Purchase authorized on 06/08 AOL*Fs Assist By A 866-485-9217                           19.99
                        VA S388160088619960 Card 4194
     6/11               Recurring Payment authorized on 06/08 AOL*Fs Computerche                              4.99
                        866-485-9225 VA S468160093206393 Card 4194
     6/11               Recurring Payment authorized on 06/09 AOL*Fs Safecentral                              2.95
                        866-485-9217 VA S388161092414354 Card 4194
     6/11               Recurring Payment authorized on 06/09 AOL*Fs Search&Reco                              3.99          531.13
                        866-485-9217 VA S588161092414516 Card 4194
     6/13               Edeposit IN Branch/Store 06/13/18 04:39:09 Pm 900 N Green          500.00                         1,031.13
                        Valley Pkwy Henderson NV 4194
     6/14               Purchase Return authorized on 06/13 Walmart•Com 800966             288.99
                        Bentonville AR S628165544078409 Card 4194
     6/14               Purchase authorized on 06/13 Cothenderson/Utili 702-267-5900                       195.90          1,124.22
                        NV S468164561992929 Card 4194
     6/15               Recurring Payment authorized on 06/14 AOL* Service                                   14.95         1,109.27 •
                        800-827-6364 VA S588166089720148 Card 4194
     6/18               Recurring Payment authorized on 06/14 Polar Air & Heatin                             14.95
                        702-458-8895 NV S388166202148433 Card 4194
     6/18 .             Purchase authorized on 06/15 LeeLexis Nexis 800-897-3183 OH                        156.20
                        S308166253042332 Card 4194
     6/18               ATM Withdrawal authorized on 06/18 900 N Green Valley Par                          200.00
                        Henderson NV 0007664 ATM ID 5456P Card 4194
     6/18        8214 Check                                                                                 326.07           412.05
     6/20               SSA Treas 310 Xxsoc Sec 062018 >Popo(2986A SSA Yousif H           1,357.00                         1,769.05
                        Halloum
     6/21               Purchase with Cash Back $ 40.00 authorized on 06/21 VVM Superc                       50.16         1,718.89
                        Wal-Mart Sup Las Vegas NV P00000000885221171 Card 4194
     6/22               Purchase authorized on 06/21 Aseem Chawla Dmd, Las Vegas NV                          59.25
                        S468172614288196 Card 4194
     6/22               Cash eWithdrawal in Branch/Store 06/22/2018 5:55 Pm 900 N                          500.00          1,159.64
                        Green Valley Pkwy Henderson NV 4194
     6/25               Edeposit IN Branch/Store 06/25/18 11:45:25 Am 900N Green           500.00
                        Valley Pkwy Henderson NV 4194
     6/25               Purchase authorized on 06/23 Samsclub #6261 Las Vegas NV                             17.42
                       •P00000000283916947 Card 4194
     6/25               Purchase authorized on 06/25 Samsclub #6261 Las Vegas NV                             14.56
                        P00000000171697329 Card 4194
     6/25               Cox Comm Las Bankdraft 062518 476089320303001 Iman                                  214.69         1,412.97
                        Haltom




                                                          APPX0290
                                                                                                                                                343 of 457
              Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 343 of 457
Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: 111111111111110 • July 1,2018 -July 31, 2018 • Page 1 of 5                                                                          FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV) •                                                                                  1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TN: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espanol: 1-877-727-2932

                                                                                                            Vgi 1-800-288-2288 (6 am to 7 pm PT, M-, )

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          11 Direct Deposit
                                                                                                           Online Bill Pay          O     Auto Transfer/Payment
                                                                                                           Online Statements        •     Overdraft Protection
                                                                                                           Mobile Banking           ▪     Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: 1111.11111181

       Beginning balance on 7/1                                         $773.40                            YOUSIF H HALLOUM
       Deposits/Additions                                               3,927.85                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,194.79
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 7/31                                         $1,506.46
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



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Account number: 11111111111111. • July 1, 2018 - July 31, 2018 1 Page 2 of 5
                                                                             WELLS
                                                                             F.ARGO




Transaction history

            Check                                                                   Deposits/   Withdrawals/    Ending daily
    Date   Number Description                                                       Additions    Subtractions       balance
    7/2            Purchase authorized on 06/28 Apl* Itunes.Com/Bi 866-712-7753                          1.99        771.41
                   CA S468180212256575 Card 4194
    7/3            Edeposit IN Branch/Store 07/03/18 12:04:56 Pm 900 N Green        1,200.00                       1,971.41
                   Valley Pkwy Henderson NV 4194 .
    7/6            Purchase authorized on 07/05 IN *Access Transcr 855-8732223 IN                     272.50
                   S588186751943827 Card 4194
    7/6            Recurring Payment authorized on 07/05 AOL*Fs Support.Com                             3.99
                   866-485-9217 VA S388187093214261 Card 4194
    ---------41k Bill Pay Caliber Home Loans Recurring x0xxx48517 on 07-06                          1,275.26
    7/9            Recurring Payment authorized on 07/08 Vesta *AT&T                                   30.06
                   866-608-3007 OR S588189365662902 Card 4194
    7/9            Purchase authorized on 07/08 AOL*Fs Aoltechfort 866-485-9217                         3.99
                   TX S588190088758391 Card 4194
    7/9 •          Purchase authorized on 07/08 AOL*Fs Assist By A 866-485-9217                        19.99
                   VA S388190088759704 Card 4194
    7/9            Recurring Payment authorized on 07/08 AOL*Fs Computerche                             4.99          360.63
                   866-485-9225 VA S308190093056784 Card 4194
    7/10           Recurring Payment authorized on 07/09 AOL*Fs Safecentral                             2.95
                   866-485-9217 VA S588191093158291 Card 4194
    7/10           Recurring Payment authorized on 07/09 AOL*Fs Search&Reco                             3.99          353.69
                    866-485-9217 VA S468191093151285 Card 4194
    7/11           Edeposit IN Branch/Store 07/11/18 04:52:56 Pm 900 N Green          500.00                          853.69
                   Valley Pkwy Henderson NV 4194
    7/16           Purchase Return authorized on 07/15 IN *Access Transcr              70.85
                    855-8732223 IN S628197543849656 Card 4194
    7/16           Edeposit IN Branch/Store 07/10/18 04:49:24 Pm 1160 Grant Ave       400.00
                   San Francisco CA 4194      •
    7/16            Recurring Payment authorized on 07/14 AOL* Service                                 14.95
                    800-827-6364 VA S588196090390532 Card 4194
    7/16            Recurring Payment authorized on 07/14 Polar Air & Heatin                           14.95
                    702-458-8895 NV S468196166820173 Card 4194 •
    7/16            Purchase authorized on 07/15 Lex*Lexis Nexis 800-897-3183 OH                      156.20
                    S468196530983516 Card 4194 .
    7/16            NV Energy South Npc Pymt 023487491951562 Yousif Halloum                           258.00          880.44
    7/17            Purchase authorized on 07/16 Cofhenderson/Utili 702:267-5900                       92.04          788.40
                    NV S308197562351822 Card 4194
    7/18            SSA Treas 310 Xxsoc Sec 071818 xxx"xx9986A SSA Yousif H          1,357.00                      2,145.40
                    Halloum                                                                -•
    7/20     8151 Check                                                                               400.00       1,745.40
    7/23            Purchase authorized on 07/20 Apria-Medicat Equi 949-639-4217                       46.20
                    CA S468201608920154 Card 4194
    7/23            Purchase authorized on 07/20 Fedex 772779360380 Memphis TN                           9.89
                    S468201849695306 Card 4194
    7/23            Purchase authorized on 07/20 Fedex 910288282558 Memphis TN                           1.40
                    S468201849847039 Card 4194         •
    7/23            Purchase authorized on 07/21 Samsclub #6261 Las Vegas NV                           59.21
                    P00000000737692739 Card 4194
    7/23            Purchase authorized on 07/22 Wal-Mart Super Center Las Vegas                       23.93       1,604.77
                    NV P00000000773900906 Card 4194
    7/25            Purchase authorized on 07/24 Apr Itunes.Com/Bi 866-712-7753                          0.99
                    CA S308205555966253 Card 4194
    7/25            Cox Comm Las Bankdraft 072518 476089320303001 Iman                                255.07       1,348.71
                    Halloum
    7/26            Purchase authorized on 07/25 Zaytoon Mediterran Las Vegas NV                       28.20
                    S588207067199516 Card 4194
    7/26 ,          Purchase authorized on 07/26 Sam's Club Las Vegas NV                               14.05       1,306.46
                    P00000000281746935 Card 4194




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• Wells Fargo Everyday Checking                                                                                                               WELLS
                                                                                                                                              FARGO
 Account number: 11111111.11112111          August 1, 2018 - August 61, 2018 a Page 1 of 5




                                                                                                      Questions?

 YOUSIF H HALLOUM                                                                                     Available by phone 24 hours a day, 7 days a week:
                                                                                                      Telecommunications Relay Services calls accepted
 DEBTOR IN POSSESSION
 CH 11 CASE #16-16815(NV)                                                                              1-800-TO-WELLS               (1-800-869-3557)

 2428 DEVOTION RIDGE DR                                                                                TTY: 1-800-877-4833
 HENDERSON NV 89052-5674                                                                               En espanol: 1-877-727-2932

                                                                                                       *a 1-800-288-2288 (6 am to 7 pm PT, M-P)
                                                                                                      Online: wellsfargo.com

                                                                                                      Write: Wells Fargo Bank, N.A. (825)
                                                                                                             P.O. Box 6995
                                                                                                             Portland, OR 97228-6995




  You and Wells Fargo                                                                                 Account options
  Thank you for being a loyal Wells Fargo customer. We value your trust in our                        A check mark in the box indicates you have these
  company and look forward to continuing to serve you with your financial needs.                      convenient services with your account(s). Go to
                                                                                                      wellsfargo.com or call the number above if you have
                                                                                                      questions or if you would like to add new services.

                                                                                                      Online Banking                 Direct Deposit
                                                                                                      Online Bill Pay         0 Auto Transfer/Payment 0
                                                                                                      Online Statements       Z      Overdraft Protection   0
                                                                                                      Mobile Banking          111    Debit Card
                                                                                                      My Spending Report             Overdraft Service




 IN IMPORTANT ACCOUNT INFORMATION
 In the "Available balance, posting order, and overdrafts" section of the Deposit Account Agreement under the question "How do we
 process (post) transactions to your account?", we are replacing the paragraph beginning with "Your available balance will be reduced
 by pending withdrawals" to include a new fee waiver, as follows:

 Your available balance will be reduced by pending withdrawals, such as debit card transactions we have authorized and must pay
 when they are sent to us for payment. If your account has insufficient funds as reflected by your available balance, the bank may assess
 overdraft and/or non-sufficient funds (NSF) fees on transactions we pay or return during nightly processing. A pending transaction will
 typically remain pending until we receive it for payment from your account., but we must release the pending transaction hold after
 three business days for most transactions. These pending transactions may be sent to us for payment after they have dropped from
 your account, but we must pay them when we receive them for payment.

 In some circumstances, previously-authorized transactions may be paid into overdraft if other transactions or fees have reduced your
 balance before the pending transactions are sent to us for payment. To minimize the number of overdraft fees in these circumstances,
 we track transactions that reduced your available balance while pending and caused overdraft fees on other transactions. If these




       (625)



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 Account number: 8997373819 a August 1, 2018 - August 31,2018 • Page 2 of 5 •
                                                                              WELLS
                                                                              FARGO




 transactions are presented for payment within 10 business days after they first appeared as pending, we will waive any overdraft fees
 on those transactions. In rare circumstances, the merchant presents transactions for payment with a different identification code than
 was used when the transaction was sent for authorization and we are unable to match them. In those cases, you may be charged an
 overdraft fee If the transaction is paid into overdraft.

 In addition, in the "Available balance, posting order, and overdrafts" section of the Deposit Account Agreement under the heading
 "IMPORTANT INFORMATION ABOUT FEES," we added the following:

 We track transactions that reduced your available balance while pending and caused overdraft fees on other transactions. If these
 transactions are presented for payment within 10 business days after they first appeared as pending, we will waive any overdraft fees
 on those transactions. In rare circumstances, the merchant presents transactions for payment with a different identification code than
 was used when the transaction was sent for authorization and we are unable to match them.


- Activity summary                                                                                           Account number: 111111111111110
         Beginning balance on 8/1                                       $1,506.46                            YOUS1F H HALLOUM
        'Deposits/Additions                                               2,386.89                           DEBTOR IN POSSESSION
                                                                                                             CH 11 CASE #16-16815(NV)
       • Withdrawals/Subtractions                                       - 3,623.34
                                                                                                             Nevada account terms and conditions apply
         Ending balance on 8/31                                          • $270.01
                                                                                                             For Direct Deposit use
                                                                                                             Routing Number (RTN): 321270742



  Overdraft Protection
  This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
  please call the number listed on your statement or visit your Wells Fargo store.




  Transaction hjstory

                          • Check                                                                                     Deposits/         Withdrawals/          Ending daily
         Date              Number Description                                                                         Additions          Subtractions             balance
         8/1                      Edeposit IN Branch/Store 08/01/18 02:49:59 Pm 900 N Green                             400.00                                   1,906.46
                                  Valley Pkwy Henderson NV 4194
          8/2                     Purchase authorized on 07/31 Apr Itunes.Com/Bi 866-712-7753                                                     0.99            1,905.47
                                  CA S388213186270857 Card 4194
          8/6                     Recurring Payment authorized on 08/04 AOL*Fs Systemmech                                                         4.99
                                   866-485-9217 VA S308217093429666 Card 4194
          8/6                     Recurring Payment authorized on 08/05 AOL*Fs Support.Com                                                        3.99            1,896.49
                                   866-485-9217 VA S388218093382585 Card 4194
          8/7                      Bill Pay Caliber Home Loans Recurring moocx48517 on 08-07                                                 1,275.26
          8/8
                            4V- Recurring     Payment authorized on 08/07 Vesta *AT&T                                                           30.06              591.17
                                   866-608-3007 OR S388219357645086 Card 4194
          8/9                      Edeposit IN Branch/Store 08/09/18 06:14:51 Pm 1700 E                                  500.00
                                   Charleston Blvd Las Vegas NV 4194
          8/9                     Purchase authorized on 08/07 Legal process Serv 702-471-7255                                                 165.00
                                  NV S588219672224336 Card 4194
          8/9                     Purchase authorized on 08/07 Rei*Payment Center 800-227-9597                                                 156.20
                                   OH S388220126950276 Card 4194
          8/9                      Purchase authorized on 08/08 AOL*Fs Aoltechfort 866-485-9217                                                   3.99
                                   TX S388221089279386 Card 4194        .
          8/9                      Purchase authorized on 08/08 AOL*Fs Assist By A 866-485-9217                                                 19.99
                                   VA S588221089271730 Card 4194
          8/9                      Recurring Payment authorized on 08/08 AOL*Fs Computerche                                                       4.99             741.00
                                   866-485-9225 VA S388221093896611 Card 4194
          8/10                     Recurring Payment authorized on 08/09 AOL*Fs Safecentral                                                       2.95
                                   866-485-9217 VA S388222092980174 Card 4194
          8/10                     Recurring Payment authorized on 08/09 AOL*Fs Search&Reco •                                                     3.99             734.06
                                   866-485-9217 VA S388222092980139 Card 4194




                                                                            APPX0294
                                                                                                                                                347 of 457
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Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: mom • September 1, 2018 - September 30, 2018                                              Page' 1 of 6                              FARGO




                                                                                                           Questions?

YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-T0-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlot 1-877-727-2932

                                                                                                               Pi 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, NA. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wells fargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           •     Direct Deposit          z
                                                                                                           Online Bill Pay                Auto Transfer/Payment
                                                                                                           Online Statements        •     Overdraft Protection
                                                                                                           Mobile Banking           •     Debit Card
                                                                                                           My Spending Report             Overdraft.Service



Activity summary                                                                                           Account number. 111111111.110

       Beginning balance on 9/1                                         $270.01                            YOUSIF H HALLOUM
                                                                        4,057.00                           DEBTOR IN POSSESSION
       Deposits/Additions
                                                                                                           CH 11 CASE #16-16815(NV)
        Withdrawals/Subtractions                                      - 3,827.20
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 9/30                                           $499.81
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection, If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



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Account number:    11111111111111111. s September 1, 2018 - September 30, 2018 a Page 2 of 6                             WELLS
                                                                                                                         FA_RGO




Transaction history

                     Check                                                                   Deposits/   Withdrawals/      Ending daily
       Date         Number Description                                                       Additions    Subtractions         balance
       9/4                  Edeposit IN Branch/Store 09/04/18 10:21:18 Am 10010 S Eastern      500.00
                            Ave Henderson NV 6017
       9/4                  Edeposit IN Branch/Store 09/04/18 03:02:37 Pm 1160 Grant Ave     1,800.00
                            San Francisco CA 3819
       9/4                  Purchase authorized on 09/01 Successfulmatch.00 416-628-1072                        90.00
                            CA S588245191754755 Card 4194
       9/4                  Purchase authorized on 09/021NM Superc Wal-Mart Sup Las                              5.66
                            Vegas NV P00000000177412620 Card 4194
       9/4                  Purchase authorized on 09/03 VVM Superc Wal-Mart Sup Las                            11.68
                            Vegas NV P00000000335445493 Card 4194
       9/4                  Purchase authorized on 09/04 Wal-Mart #2593 Las Vegas NV                            17.42         2,445.25
                            P00000000879614483 Card 6017
       9/5             AIL- Bill Pay Caliber Home Loans Recurring >c000r48517 on 09-05                       1,275.26
   ,   9/6                  Purchase authorized on 09/06 Star Nursery 1006 Las Vegas NV                         47.36         1,122.63
                            P00468249588439153 Card 6017
       9/7                  Purchase with Cash Back $ 40.00 authorized on 09/07 1NM Superc                      52.46         1,070.17
                            Wal-Mart Sup Las Vegas NV P00000000371332771 Card 6017
       9/10                 Purchase authorized on 09/06 Claudia K Vogel MD Henderson NV                        50.00
                            S388249717697948 Card 6017
       9/10                 Purchase authorized on 09/06 IN N Out Burger.16 Las Vegas NV                          8.06
                            S308249775706351 Card 6017
       9/10                 Purchase authorized on 09/07 McDonald's F24975 Henderson NV                           4.33
                            S308250649995718 Card 6017
       9/10                 Purchase authorized on 09/08 Vesta *AT&T 866-608-3007 OR                            35.06
                            S308251589512385 Card 6017
       9/10                 Purchase authorized on 09/10 Wal-Mart Super Center Las Vegas                        38.68
                            NV P00000000733499524 Card 6017
       9/10                 Purchase authorized on 09/10 Wal-Mart Super Center Las Vegas                        15.35           918.69
                            NV P00000000884490751 Card 6017
       9/11                 Recurring Payment authorized on 09/09 AOL*Fs Assist By A                             19.99          898.70
                            866-485-9217 VA S388252753144528 Card 6017
       9/12                 Purchase authorized on 09/11 Wal-Mart Super Center Las Vegas                        20.82
                            NV P00000000136478500 Card 6017
       9/12                 Purchase authorized on 09/12 Solutions Specialty Ph Las Vegas                      127.00
                            NV P00000000080604890 Card 6017
       9/12                 Purchase with Cash Back $ 40.00 authorized on 09/12 Wal-Mart                         55.53          695.35
                            Super Center Las Vegas NV P00000000283452833 Card 6017
       9/14                 Edeposit IN Branch/Store 09/14/18 09:44:41 Am 900 N Green          400.00
                            Valley Pkwy Henderson NV 7650.
       9/14                 Purchase authorized on 09/12 New Eyes Las Vegas NV                                   40.00
                            S388255549649738 Card 6017
       9/14                 Purchase authorized on 09/13 IN *Access Transcr 855-8732223 IN                       72.75
                            S468256725974112 Card 7650
       9/14                 Purchase authorized on 09/13 Office Max/Offi 6980 Arro Las                         133.14
                            Vegas NV P00388257081687198 Card 7650
       9/14                 Purchase authorized on 09/14 Smiths Fo 10616 E. Eas Henderson                         4.58           844.88
                            NV P00000000732040326 Card 7650
       9/17                 Purchase authorized on 09/14 McDonald's F24975 Henderson NV                           4.33
                            S388257645770591 Card 7650
       9/17                 Purchase authorized on 09/14 Claudia K Vogel MD Henderson NV                         50.00
                            S388257683736837 Card 7650
       9/17                 Purchase authorized on 09/15 McDonald's F24975 Henderson NV                           4.33
                            S308258664766270 Card 7650
       9/17                 Purchase authorized on 09/15 Fedex 782800171350 Memphis TN                           26.20
                            S468258743549559 Card 7650
       9/17                 Purchase authorized on 09/15 WM Superc Wal-Mart Sup Las                              12.23
                            Vegas NV P00000000270684262 Card 7650
       9/17                 Purchase authorized on 09/16 WM Superc Wal-Mart Sup Las                              13.51
                            Vegas NV P00000000233635596 Card 7650




                                                               APPX0296
                                                                                                                                                 349 of 457
              Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 349 of 457
Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: 1.111=11 • October 1, 2018 - October 3 2018                                   • Page 1 of 5                                         FARGO




                                                                                                          Questions?

YOUS1F H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557) .

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espaliol: 1-877-727-2932
                                                                                                            *Pi 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                          Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, N.A. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                      Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking          •     Direct Deposit
                                                                                                           Online Bill Pay         ▪     Auto Transfer/Payment
                                                                                                           Online Statemdnts              Overdraft Protection   0
                                                                                                           Mobile Banking          •      Debit Card
                                                                                                           My Spending Report      •      Overdraft Service



Activity summary                                                                                           Account number: MM.

       Beginning balance on 10/1                                        $499.81                            YOUSIF H HALLOUM                  •
       Deposits/Additions                                              4,676.40                            DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 4,734.73
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 10/31                                         $441.48
                                                                                                           For Direct Deposit use        .
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdrait Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



                                                                         APPX0297
                                                                                                               350 of 457
         Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 350 of 457
Account number:          ea October 1, 2018 October 31, 2018 • Page 2 of 5
                                                                           WELLS
                                                                           FARGO




Transaction history

                Check                                                                  Deposits/     Withdrawals/    Ending daily
    Date       Number Description                                                      Additions      Subtractions       balance
    10/1                Edeposit IN Branch/Store 10/01/18 04:0443 Pm 1160 Grant Ave     1,500.00 •
                        San Francisco CA 3819
    10/1                Purchase authorized on 09/27 Claudia K Vogel MD Henderson NV                        50.00
                        S308270688896550 Card 7650
    10/1                Recurring Payment authorized on 09/28 Aplitunes.Com/Bil                              0.99
                        800-275-2273 CA S468271369694033 Card 7650
    10/1                Purchase authorized on 09/30 Wal-Mart Super Center Las Vegas                        28.55
                        NV P00000000833323864 Card 7650
    10/1                Purchase authorized on 09/30 VVal-Mart #2593 Las Vegas NV                             8.54      1,911.73
                        P00000000886848393 Card 7650
    10/3                Edeposit IN Branch/Store 10/03/18 04:46:06 Pm 900 N Green        300.00
                        Valley Pkwy Henderson NV 7650
    10/3            1 Deposited OR Cashed Check                                                            300.00       1,911.73
    10/5                Purchasemith Cash Back $ 40.00 authorized on 10/04 Wal-Mart                         54.63
                        Super Center Las Vegas NV P00000000270215262 Card 7650
    10/5                Bill Pay Caliber Home Loans Recurring )ccoot48517 on 10-05                       1,275.26
    10/9                Purchase Return authorized on 10/07 IN *Access Transcr            19.40
                        855-8732223 IN S628281849444178 Card 7650
    10/9                Edeposit IN Branch/Store 10/09/18 12:10:44 Pm 2658 W Horizon     700.00
                        Ridge Pkwy Henderson NV 7650 -
    10/9                Recurring Payment authorized on 10/06 Vesta *AT&T                                   30.06
                        866-608-3007 OR S388279455242854 Card 7650
    10/9                Purchase authorized on 10/06 Sams Club Sam's Club Las Vegas                         63.26
                        NV P00000000383924820 Card 7650           .
    10/9                Purchase authorized on 10/06 Wal-Mart Super Center Las Vegas                        16.95
                        NV P00000000184050692 Card 7650
    10/9                Purchase authorized on 10/07 Rei*Payment Center 800-227-9597                       312.40
                        OH S468280599725555 Card 7650
     10/9               Purchase authorized on 10/09 VVM Superc Wal-Mart Sup Las                             34.27          844.30
                        Vegas NV P00000000781376862 Card 7650
     10/10              Recurring Payment authorized on 10/09 AOL*Fs Safecentral                              2.95
                        866-485-9217 VA S588283093782739 Card 7650
     10/10            • Recurring Payment authorized on 10/09 AOL*Fs Search&Reco                              3.99
                        866-485-9217 VA S388283093782013 Card 7650
     10/10              Purchase authorized on 10/10 The Home Depot #3306 Las Vegas                          16.72          820.64
                        NV P00308283708592327 Card 7650
     10/11              Purchase authorized on 10/09 Claudia K Vogel MD Henderson NV                         50.00
                        S468282699189356 Card 7650
     10/11              Recurring Payment authorized on 10/10 Fedex 451509152                                27.60
                        800-4633339 TN S308283515576809 Card 7650
     10/11              Purchase with Cash Back $ 40.00 authorized on 10/10 Wal-Mart                         66.78
                        #2593 Las Vegas NV P00000000581290627 Card 7650
     10/11              Purchase authorized on 10/11 Wal-Mart Super Center Las Vegas                         19.38          656.88
                        NV P00000000481658006 Card 7650
     10/12              Recurring Payment authorized on 10/11 AOL*Fs Assist By A                            19.99           636.89
                        866-485-9217 VA S308284507152297 Card 7650
    10/15               Purchase authorized on 10/12 WM Superc Wal-Mart Sup Las                              34.49
                        Vegas NV P00000000575624604 Card 7650
    10/15               Recurring Payment authorized on 10/14 AOL* Service                                  14.95           587.45
                        800-827-6364 VA S4682880913163'56 Card 7650
     10/16              Purchase authorized on 10/13 Fedexoffice 0001 Las Vegas NV                          10.83
                        S588286665398262 Card 7650
    10/16               Recurring Payment authorized on 10/15 Fedex 452020739                                 9.23
                        800-4633339 TN S388288517325993 Card 7650
     10/16              Purchase authorized on 10/15 Sam's Club Las Vegas NV                                 31.96
                        P00000000987565679 Card 7650
     10/16              Purchase authorized on 10/16 Sams Club Sam's Club Las Vegas                         60.71           474.72
                        NV P00000000571531953 Card 7650
     10/17              SSA Treas 310 Xxsoc Sec 101718 woo:2986A SSA Yousif H          1,357.00
                        Halloum




                                                         APPX0298
                                                                                                                                                351 of 457
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Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: 11111/1111111111. • November 1, 2018 - November :30, 2018                            • Page 1 of 4                                  FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlol: 1-877-727-2932

                                                                                                            CI§ 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, NA. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs..                           convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           •     Direct Deposit
                                                                                                           Online Bill Pay          •     Auto Transfer/Payment
                                                                                                           Online Statements        111 Overdraft Protection
                                                                                                           Mobile Banking           •     Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: 11111111111110
        Beginning balance on 11/1                                       $441.48                            YOUSIp H HALLOUM
        Deposits/Additions                                              3,228.84                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
        VVithdrawals/Subtractions                                     - 3,144.84
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 11/30                                          $525.48
                                                                                                           For Direct Deposit use
                                                  •                                                        Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)



                                                                         APPX0299
                                                                                                              352 of 457
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Account number:                  if   November 1, 2018- November 30, 2018 • Page 2 of 4
                                                                                                                     WELLS
                                                                                                                     F.ARGO




Transaction history

                   Check                                                                 Deposits/   Withdrawals/       Ending daily
     Date         Number Description                                                     Additions    Subtractions          balance
     11/5                Edeposit IN Branch/Store 11/03/1804:21:07 Pm 1160 Grant Ave      1,280.00
                         San Francisco CA 3819
     11/5                Purchase authorized on 11/04 Vesta *AT&T 866-608-3007 OR                           55.06
                         S588308767286275 Card 7650
     11/5                Purchase authorized on 11/04 VVM Superc Wal-Mart Sup Las                           31.64          1,634.78
                         Vegas NV P00000000183770270 Card 7650
     11/6            A   Bill Pay Caliber Home Loans Recurring m000:48517 on 11-06                       1,275.26    -<------00;118--
     11/7                Edeposit IN Branch/Store 11/07/18 09:23:15 Am 2658 W Horizon      500.00                            859.52 ,
                          Ridge Pkwy Henderson NV 7650
     11/8                 Purchase authorized on 11/07 Rei"Payment Center 800-227-9597                     156.20            703.32
                          OH S388311401924477 Card 7650
     11/9                 Purchase authorized on 11/08 AOL*Fs Assist By A 866-485-9217                      19.99            683.33
                          VA S588313126016844 Card 7650
     11/13                Recurring Payment authorized on 11/09 AOL*Fs Safecentral                            2.95
                          866-485-9217 VA S588314130006516 Card 7650
     11/13                Recurring Payment authorized on 11/09 AOL*Fs Search&Reco                            3.99           676.39
                          866-485-9217 VA S388314130008764 Card 7650
     11/15                Recurring Payment authorized on 11/14 AOL* Service                                14.95            661.44
                          800-827-6364 VA S308319128194507 Card 7650 •
     11/20                Purchase authorized on 11/20 Centennial Toyota. Las Vegas NV                     210.00            451.44
                          P00000000571123677 Card 7650
     11/21                SSA Tress 310 Xxsoc Sec 112118 >c000(2986A SSA Yousif H        1,357.00
                          Halloum
     11/21                ATM Withdrawal authorized on 11/21 10010 S. Eastern Ave                          300.00
                          Henderson NV 0003028 ATM ID 5456Y Card 7650
     11/21                Purchase authorized on 11/21 V.Valgreens Store 2389 E WI Las                      52.00,
                          Vegas NV P00588325671997358 Card 7650
     11/21                Purchase authorized on 11/21 Sams Club Sam's Club Las Vegas                       60.94          1,395.50
                          NV P00000000989084427 Card 7650
     11/23                Non-VVF ATM Balance Inquiry Fee 11/22 2300 Paseo V Henderson                        2.00
                          NV ATM ID Nvgvra03 Card 7650
     11/23                Non-WF ATM Withdrawal authorized on 11/222300 Paseo Verde                        303.95
                          Parkwa Henderson NV 00588327112633524 ATM ID Nvgvra03
                          Card 7650
     11/23                Non-Wells Fargo ATM Transaction Fee                                                2.50
     11/23                Purchase authorized on 11/23 Wal-Mart #4356 Las Vegas NV                         114.66
                          P00000000980369332 Card 7650
     11/23                Purchase Return authorized on 11/23 Wal-Mart #4356 Las Vegas      91.84                          1,064,23
                          NV P00000000085551956 Card 7650
     11/26                Recurring Payment authorized on 11/23 Wmv*Match.Com                               78.96
                          800-326-5161 TX S468328243918185 Card 7650
     11/26                Recurring Payment authorized on 11/24 Aplitunes.Com/Bil                             0:99
                          800-275-2273 CA S468328592148149 Card 7650
     11/26                Purchase authorized on 11/25 Wal-Mart #2593 Las Vegas NV                           25.70
                          P00000000870412925 Card 7650
     11/26                Cox Comm Las Bankdraft 112518 476089320303001 !man                               262.13            696.45
                          Halloum
     11/27                Purchase authorized on 11/27 Lowe's #1719 Las Vegas NV                             37.88           658.57
                          P00588332044159066 Card 7650
     11/28                Purchase authorized on 11/28 Samsclub #6261 Las Vegas NV                         • 5.19
                          P00000000236597714 Card 7650




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                                                                                                                                                 353 of 457
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Wells Fargo Everyday Checking                                                                                                                       WELLS
Account number: MUM • December 1, 2018 - December 31, 2018 • Page 1 of 5                                                                            FARGO




                                                                                                          Questions?

YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espaiiol: 1-877-727-2932

                                                                                                                   1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, NA (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                      Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
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                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          O     Direct Deposit
                                                                                                           Online Bill Pay         0 Auto Transfer/Payment 0
                                                                                                           Online Statements       • Overdraft Protection 111
                                                                                                           Mobile Banking          •     Debit Card
                                                                                                           My Spending Report      O      Overdraft Service



Activity summary                                                                                           Account number:     eigius
       Beginning balance on 12/1                                        $525.48                            YOUSIF H HALLOUM
       Deposits/Additions                                               3,590.95                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,781.32
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 12/31                                          $335.11
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)
      Sheet Seq. 0012266
      Sheet 00001 of 00003



                                                                       APPX0301
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Account number: allIMINIS • December 1, 2018 - Oecember 31, 2018 • Page 2 of 5
                                                                                                                      WELLS
                                                                                                                      FARGO




Transaction history

                 Check                                                                     Deposits/   Withdrawals/       Ending daily
     Date       Number Description                                                         Additions   Subtractions           balance
     12/3                Non-WF ATM Balance Inquiry Fee 12/01 2300 Paseo V Henderson                           2.00
                         NV ATM ID Nvgvra03 Card 7650
     12/3                Purchase authorized on 12/01 Sams Club Sam's Club Las Vegas                         58.70
                         NV P000001100476085659 Card 7650
     12/3                Purchase authorized on 12/01 WM Superc Wal-Mart Sup Las                             17.00
                         Vegas NV P00000000230391386 Card 7650
     12/3                ATM Withdrawal authorized on 12/0110010 S. Eastern Ave                             160.00
                         Henderson NV 0003884 ATM ID 5456Y Card 7650
     1213                Recurring Payment authorized on 12/02 Vesta *AT&T                                    55.06            292.72
                          866-608-3007 OR 8588336459000145 Card 7650
     12/4                Edeposit IN Branch/Store 12/04/18 09:34:40 Am 2658W Horizon       2,0130.00
                          Ridge Pkwy Henderson NV 7650
     12/4                Purchase authorized on 12/04 Solutions Specialty Ph Las Vegas                      127.00            2,165.72
                          NV P00000000830848090 Card 7650
     12/5                Recurring Payment authorized on 12/04 AprItunes.Com/Bil                              15.99
                          800-275-2273 CA S468338498083167 Card 7650
     12/5        .0c* Bill Pay Caliber Home Loans Recurring x)oax48517 on 12-05                            1,275.26   ' 4‘"    0     7
     12/10                Purchase authorized on 12/07 Rei*Payment Center 800-227-9597                       156.20
                          OH S308341404751995 Card 7650
     12/10                Purchase authorized on 12/08 AOL*Fs Assist By A 866-485-9217                        19.99
                          VA S388343127846135 Card 7650 ,
     12/10                Recurring Payment authorized on 12/09 AOL•Fs Safecentral                             2.95
                          866-485-9217 VA S588344132115191 Card 7650
     12/10                Recurring Payment authorized on 12/09 AOL*Fs Search&Reco                             3.99            691.34
                          866-485-9217 VA 5468344132111582 Card 7650
     12/14                Purchase authorized on 12/14 Sams Club Sam's Club Las Vegas                         58.06            633.28
                          NV P000013000086971541 Card 7650
     12/17                Recurring Payment authorized on 12/14 AOL* Service                                  14.95
                          800-827-6364 VA S308349128589306 Card 7650
     12/17                Purchase authorized on 12/15 Lowe's #1719 Las Vegas NV                              70.37
                          P00588349726166191 Card 7650
     12/17                Recurring Payment authorized on 12/16 Vesta *AT&T                                   26.06
                          866-6083007 OR S308350460028138 Card 7650
     12/17                Purchase authorized on 12/17 Wal-Mart Super Center Las Vegas                        26.27
                          NV P00000000784555695 Card 7650
     12/17        8209 Check                                                                                 325.50            170.13
     12/18                Purchase authorized on 12/18 Wal-Mart #2593 Las Vegas NV                            15.38            154.75
                          P00000000683558526 Card 7650
     12/19                SSA Treas 310 Xxsoc Sec 121918 xxxxx2986A SSA Yousif H            1,357.00
                          Halloum
     12/19                Purchase authorized on 12/18 IN *Access Transcr 855-8732223 IN                     116.40
                          S588352614934860 Card 7650
     12/19                Non-WF ATM Withdrawal authorized on 12/19 2300 Paseo Verde                         203.95
                          Parkwa Henderson NV 00308354071782426 ATM ID Nvgvra03
                          Card 7650
     12/19                Non-Wells Fargo ATM Transaction Fee                                                  2.50
     12/19                Cty of Henderson Utilities 0001402164 Yousif H Halloum                              88.27           1,100.63
     12/20                Non-WF ATM Balance Inquiry Fee 12/192300 Paseo V Henderson                           2.00
                          NV ATM ID Nvgvra03 Card 7650
     12/20                Purchase authorized on 12/20 Walgreens Store 2389 E WI Las                          12.76           1,085.87
                          Vegas NV P00468354675562944 Card 7650
     12/21                Non-WF ATM Balance Inquiry Fee 121202300 Paseo V Henderson                           2.00
                          NV ATM ID Nvgvra03 Card 7650
     12/21                Non-WF ATM Withdrawal authorized on 12/20 2300 Paseo Verde                         203.95
                           Parkwa Henderson NV 00388355114852275 ATM ID Nvgvra03
                           Card 7650
     12/21                 Non-Wells Fargo ATM Transaction Fee                                                 2.50             877.42
     12/24                 Purchase authorized on 12/22 WM Superc Wal-Mart Sup Las                            43.40             834.02
                           Vegas NV P00000000083131850 Card 7650




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                                                               355 of 457
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                                           EXHIBIT "H"




  BANK STATEMENTS OF PAYMENT HISTORY AFTER THE
        APPROVAL OF THE LOAN MODIFICATION
         January 1, 2019 through November 30, 2019




                             APPX0303
                                                                                                                                                 356 of 457
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Wells Fargog Preferred Checking                                                                                                                     WELLS
Account number: 0111111111.1 • January 1,2019 January 31, 2019                                   Page 1 of 5                                        FARGO




                                                                                                          Questions?

YOUS1F H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlok 1-877-727-2932

                                                                                                            eg 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, NA. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          Z     Direct Deposit
                                                                                                           Online Bill Pay               Auto Transfer/Payment D
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking          El Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number:     giffilas
       Beginning balance on 1/1                                         $335.11                            YOUSIF H HALLOUM
       Deposits/Additions                                              4,033.00                            DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 4,151.56
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 1/31                                           $216.55
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)
      Sheet Sect = 0008320
      Sheet 00001 of 00003




                                                                       APPX0304
                                                                                                                     357 of 457
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Account number: ileniffilb                   January 1, 2019- Januar 31, 2019 • Page 2 of 5
                                                                                                                          WELLS
                                                                                                                          FARGO



Interest summary
     Interest paid this statement                                $0.00
     Average collected balance                                 $495.71
     Annual percentage yield earned                             0.00%
     Interest earned this statement period                       $0.00
     Interest paid this year                                     $0.00
     Total interest paid in 2018                                 $0.00




Transaction history

                        Check                                                                 Deposits/   Withdrawals/      Ending daily
     Date              Number Description                                                     Additions    Subtractions         balance
     1/2                      Edeposit IN Branch/Store 01/02/19 01:05:35 Pm 900 N Green       1,000.00
                               Valley Pkwy Henderson NV 7650
     1/2                      Recuning Payment authorized on 01/01 Vesta *AT&T                                   55.06         1,280.05
                               866-608-3007 OR 5589001442572298 Card 7650
     1/3                       Edeposit IN Branch/Store 01/03/19 02:52:35 Pm 900 N Green      1,000.00
                               Valley Pkwy Henderson NV 7650
     1/3                      Purchase Bank Check OR Draft                                                      298.00         1,982.05
     1/4                       Purchase authorized on 01/03 NV Energy/Paysite Las Vegas NV                      261.00
                               6309004012967660 Card 7650
     1/4                       Purchase authorized on 01/04 Sams Club Sam's Club Las Vegas                       44.51
                               NV P00000000671557374 Card 7650
     1/4                       Purchase authorized on 01/04 Bedbath&Beyond# 7175 Arro                            43.29
                               Rainbow & Arr NV P00589004769277539 Card 7650
     1/4                       Purchase authorized on 01/04 WM Superc Wal-Mart Sup Las                             8.77        1,624.48
                               Vegas NV P00000000276533597 Card 7650
     1/7                       Recurring Payment authorized on 01/04 Aplitunes.Corn/Bil                          15.99
                               800-275-2273 CA S469004498385725 Card 7650
     1/7                       Bill Pay Caliber Home Loans Recurring xxxxx48517 on 01-07                      1,275.26
     1/7                       Purchase authorized on 01/06 WM Superc Wal-Mart Sup Las                           25.84
                               Vegas NV P00000000179369708 Card 7650
     1/7                       Purchase authorized on 01/07 Samsclub #6261 Las Vegas NV                          81.07           226.32
                               P00000000031392471 Card 7650
     1/8                       Purchase authorized on 01/07 Rei*Payment Center 800-227-9597                     156.20             70.12
                               OH S589007374321151 Card 7650
     1/9                       Edeposit IN Branch/Store 01/09/19 01:14:53 Pm 2658W Horizon      300.00
                               Ridge Pkwy Henderson NV 7650
     1/9                       Purchase authorized on 01/08 AOL*Fs Assist By A 866-485-9217                       19.99          350.13
                               VA S389009128882752 Card 7650
     1/10                      Recurring Payment authorized on 01/09 AOL-Fs Safecentral                            2.95
                               866-485-9217 VA S469010132288999 Card 7650
     1/10                      Recurring Payment authorized on 01/09 AOL*Fs Search&Reco                            3.99           343.19
                               866-485-9217 VA S389010132283596 Card 7650
     1/11                      Cty of Henderson Utilities 0001433758 Yousif H Halloum                             83.38          259.81
     1/14                      Purchase authorized on 01/13 Walgreens Store 2389 E WI Las                         12.98
                               Vegas NV P00309013303345812 Card 7650
     1/14                      Purchase with Cash Back $ 20.00 authorized on 01/13 Wal-Mart                       27.08           219.75
                               #2593 Las Vegas NV P00000000483181186 Card 7650
     1/15                      Recurring Payment authorized on 01/14 AOL* Service                                 14.95
                               800-827-6364 VA S309015128942867 Card 7650
     1/15                      Purchase authorized on 01/15 WM Superc Wal-Mart Sup Las                             7.41           197.39
                               Vegas NV P00000000633529489 Card 7650
     1/16                      Non-WF ATM Balance Inquiry Fee 01/15 2300 Paseo V Henderson                         2.00
                               NV ATM ID Nvgvra03 Card 7650
     1/16                      SSA Treas 310 Xxsoc Sec 011619 xxxxx2986A SSA Yousif H          1,433.00
                               Halloum
     1/16                      Recurring Payment authorized on 01/15 Vesta *AT&T Prepa                            30.06         1,598.33
                               866-608-3007 OR 5889015446500441 Card 7650




                                                               APPX0305
                                                                                                                                                 358 of 457
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Wells Fargo® Preferred Checking                                                                                                                     WELLS
Account number: 1111111111111111.6 • February 1, 2019 - February 28, 2019 • Page 1 of 4                                                             FARGO




                                                                                                          Questions?
YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En esparlol: 1-877-727-2932

                                                                                                            tit 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                          Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, N.A. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                      Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking          1=1 Direct Deposit           z
                                                                                                           Online Bill Pay             Auto Transfer/Payment
                                                                                                           Online Statements             Overdraft Protection
                                                                                                           Mobile Banking   1=1          Debit Card       ,
                                                                                                           My Spending Report Z          Overdraft Service



Activity summary                                                                                           Account number: MS
                                                                                                                           MI
       Beginning balance on 2/1                                         $216.55                            YOUS1F H HALLOUM
       Deposits/Additions                                               3,933.00                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,684.05
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 2/28                                          8465.50
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)
      Sheet Seq = 0009022
      Sheet 00001 of 00002



                                                                       APPX0306
                                                                                                                     359 of 457
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Account number: 1111.111119 is February 1, 2019 - February 28,2019 • Page 2 of 4
                                                                                                                           WELLS
                                                                                                                           FARGO



Interest summary
     Interest paid this statement                                 $0.00
     Average collected balance                                  $552.49
     Annual percentage yield earned                               0.00%
     Interest earned this statement period                        $0.00
     Interest paid this year                                      $0.00
     Total interest paid in 2018                                  60.00




Transaction history

                        Check                                                                   Deposits/   Withdrawals/     Ending daily
     Date              Number Description                                                       Additions   Subtractions         balance
     2/1                         Recurring Payment authorized on 01/31 Vesta *AT&T Prepa                           55.06          161.49
                                 866-608-3007 OR S309031477254967 Card 7650
     2/4                         Edeposit IN Branch/Store 02/04/19 10:01:50 Am 2658W Horizon    1,300.00                        1,461.49
                                 Ridge Pkwy Henderson NV 7650
     2/5                         Recurring Payment authorized on 02/04 Aplitunes.Corn/Bil                         15.99
                                 800-275-2273 CA S309035497759432 Card 7650
     2/5                   4. Bill Pay Caliber Home Loans Recurring xxxxx48517 on 02-05                         1,275.26 .<-----11=4--
     2/6                  ' ' - Edeposit IN Branch/Store 02/06/19 10:41:58 Am 900 N Green         500.00                        670.24
                                 Valley Pkwy Henderson NV 7650             -
     2/8                         Deposit Made In A Branch/Store                                   300.00
     2/8                         Purchase authorized on 02/07 Rei*Payment Center 800-227-9597                    156.20
                                 OH 6589038387099740 Card 7650
     2/8                         Purchase authorized on 02/07 NV Energy/Paysite Las Vegas NV                     258.30
                                 6589038814515859 Card 7650
     2/8                         Purchase authorized on 02/08 Sams Club Sam's Club Las Vegas                       54.93          500.81
                                 NV P00000000570352769 Card 7650 ,
     2/11                        Purchase authorized on 02/08 AOL*Fs Assist By A 866-485-9217                      19.99
                                 VA 6469040128502721 Card 7650
     2/11                        Recurring Payment authorized on 02/09 AOL*Fs Safecentral                           2.95
                                 866-485-9217 VA 6389041133535593 Card 7650
     2/11                        Recurring Payment authorized on 02/09 AOL*Fs Search&Reco                           3.99          473.88
                                  866-485-9217 VA S589041133533755 Card 7650
     2/12                        Edeposit IN Branch/Store 02/12/1909:30:46 Am 900 N Green         400.00                          873.88
                                 Valley Pkwy Henderson NV 7650
     2/13                        Purchase authorized on 02/12 Pacer800-676-68561 800-676-6856                     211.40          662.48
                                  TX S309043614300249 Card 7650
     2/14                        Purchase with Cash Back $ 40.00 authorized on 02/13 Wal-Mart                      56.96          605.52
                                  Super Center Las Vegas NV P00000000933630984 Card 7650
      2/15                        Recurring Payment authorized on 02/14 Vesta *AT&T Prepa                          30.06
                                  866-608-3007 OR S309045438878673 Card 7650
      2/15                        Recurring Payment authorized on 02/14 AOL* Service                               14.95
                                  800-827-6364 VA 6389046131130612 Card 7650
      2/15                        ATM Withdrawal authorized on 02/154182 Blue Diamond Rd Las                      200.00          360.51
                                  Vegas NV 0005012 ATM ID 9911x Card 7650
      2/19                        Non-WF ATM Balance Inquiry Fee 02/182300 Paseo V Henderson                        2.00
                                  NV ATM ID Nvgvra03 Card 7650
      2/19                        Purchase authorized on 02/16 Sams Club Sam's Club Las Vegas                      56.40
                                  NV P00000000677784576 Card 7650
      2/19                        Non-WF ATM Withdrawal authorized on 02/182300 Passe Verde                       103.95
                                  Parkwa Henderson NV 00589050123841639 ATM ID Nvgvra03
                                  Card 7650
      2/19                        Cty of Henderson Utilities 0001474473 Yousif H Halloum                          112.63            85.53
      2/20                        SSA Tress 310 Xxsoc Sec 022019 xxx)oc2986A SSA Yousif H        1,433.00
                                  Halloum
      2/20                        Purchase with Cash Back $ 60.00 authorized on 02120 Costco                       87.68
                                  1Nhse #0673 Henderson NV P00589051759513321 Card 7650




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                                                                                                                                                 360 of 457
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Wells Fargo® Preferred Checking                                                                                                                     WELLS
Account number: WillOgia • March 1, 2019 - March 31. 2019 • Page 1 of 4                                                                             FARGO




                                                                                                          Questions?
YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION•
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS              (1-800-869-3557)

2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En aspen of: 1-877-727-2932

                                                                                                            ta 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, NA. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995 /




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                             A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                           convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking          Z     Direct Deposit
                                                                                                           Online Bill Pay         0 Auto Transfer/Payment 0
                                                                                                           Online Statements       El    Overdraft Protection   0
                                                                                                           Mobile Banking                Debit Card
                                                                                                           My Spending Report             Overdraft Service     fl

Activity summary                                                                                           Account number: 1111.111111110
       Beginning balance on 3/1                                         $465.50                            YOUSIF H HALLOUM
       Deposits/Additions                                               3,333.00                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,411.25
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 3/31                                           $387.25
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)
      Sheet Seq = 0010833
      Sheet 00001 of 00002



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                                                                                                                     361 of 457
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Account number: MaIMO                       March 1, 2019- March 31, 2019 E Page 2 of 4
                                                                                                                           WELLS
                                                                                                                           FARGO




Interest summary
    Interest paid this statement                                  $0.00
    Average collected balance                                  $570.96
    Annual percentage yield earned                               0.00%
    Interest earned this statement period                         $0.00
    Interest paid this year                                       $0.00
    Total interest paid in 2018                                   $0.00




Transaction history

                       Check                                                                   Deposits/   Withdrawals/      Ending daily
    Date              Number Description                                                       Additions    Subtractions         balance
    3/4                        Edeposit IN Branch/Store 03/04/19 02:59:01 Pm 900 N Green        1,300.00
                               Valley Pkwy Henderson NV 7650
    3/4                        Recurring Payment authorized on 03/02 Vesta *AT&T Prepa                            55.06
                               866-608-3007 OR S309061419972836 Card 7650
     3/4                       Purchase authorized on 03/02 Lvac Southeast Las Vegas NV                           98.00
                               S389061760199592 Card 7650
    3/4                        Purchase authorized on 03/02 Wal-Mart Super Center Las Vegas                       27.64
                               NV P00000000781545862 Card 7650
     3/4                       Purchase authorized on 03/02 Sams Club Sam's Club Las Vegas                        51.01
                               NV P00000000032509970 Card 7650
    3/4                        Purchase authorized on 03/04 WM Superc Wal-Mart Sup Las                            37.41         1,496.38
                               Vegas NV P00000000073478881 Card 7650
     3/5                       Edeposit IN Branch/Store 03/05/19 03:14:57 Pm 2658W Horizon       30100
                               Ridge Pkwy Henderson NV 7650
     3/5                ey4-- Bill Pay Caliber Home Loans Recurring m000:48517 on 03-05                        1,275.26
     3/6                       Purchase authorized on 03/06 Solutions Specialty Ph Las Vegas                     140.00           381.12
                               NV P00000000375282502 Card 7650
     3/7                       Purchase authorized on 03/07 Wal-Mart #4356 Las Vegas NV                           23.32           357.80
                               P00000000536934184 Card 7653
     3/8                       Purchase authorized on 03/07 Rei*Payment Center 800-227-9597                      156.20           201.60
                               OH S589066428568702 Card 7650
     3/11                      Purchase authorized on 03/08 Aplitunes.Com/Bil 866-712-7753                         15.99
                               CA S589067498972899 Card 7650
     3/11                      Purchase authorized on 03/08 AOL"Fs Assist By A 866-485-9217                        19.99
                               VA S589068130480033 Card 7650
     3/11                      Recurring Payment authorized on 03/09 AOLTs Safecentral                              2.95
                               866-485-9217 VA S469069134665290 Card 7650
     3/11                      Recurring Payment authorized on 03/09 A012Fs Search&Reco                             3.99          158.68
                               866-485-9217 VA 8469069134665322 Card 7650
     3/12                      Edeposit IN Branch/Store 03/12/19 02:38:06 Pm 2658W Horizon       300.00                            458.68
                               Ridge Pkwy Henderson NV 7650
     3/15                      Recurring Payment authorized on 03/14 A012 Service                                  14.95           443.73
                               800-827-6364 VA S389074094739420 Card 7650
     3/18                      Recurring Payment authorized on 03/16 Vesta *AT&T Prepa                             30.06           413.67
                               866-608-3007 OR S389075391703671 Card 7650
     3/20                      SSA Treas 310 Xxsoc Sec 032019 )0(xxx2986A SSA Yousif H          1,43300
                               Halloum
     3/20                      Cty of Henderson Utilities 0001515044 Yousif H Halloum                            108.04          1,738.63
     3/21                      Purchase authorized on 03/20 NV Energy/Paysite Las Vegas NV                       265.02
                               S469079785984375 Card 7650
     3/21                       Non-WF ATM Withdrawal authorized on 03/21 129 E Fremont                           507.99           965.62
                               Street Las Vegas NV 00389050311188365 ATM ID P285468 Card
                                7650
     3/25                      Recurring Payment authorized on 03/24 AprItunes.Com/Bil                              0.99
                                866-712-7753 CA 5469083556073826 Card 7650
     3/25                      Purchase authorized on 03/25 Costco Gas #1320 Henderson NV                          54.84
                               P00309084746325818 Card 7650




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Wells Fargo® Preferred Checking                                                                                                                     WELLS
Account number: 40.11111111. • April 1, 2019 - April 30, 2019 is Page 1 of 5                                                                        FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espariol: 1-877-727-2932
                                                                                                                   1-800-288-2288 (6 am to 7pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                          Write: Wells Fargo Bank, NA. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          Z Direct Deposit              a
                                                                                                           Online Bill Pay               Auto Transfer/Payment   LI
                                                                                                           Online Statements       CI Overdraft Protection       LI
                                                                                                           Mobile Banking          111 Debit Card
                                                                                                           My Spending Report      El Overdraft Service          LI

Activity summary                                                                                           Account number: WM.
       Beginning balance on 4/1                                          $387.25                           YOUSIF H HALLOUM
       Deposits/Additions                                               3,904.01                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,908.36
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 4/30                                           $382.90
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)
      Sheet Sect = 0009401
      Sheet 00001 of 00003



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Account number: 111.111.111111• April 1, 2019 - April 30, 2019 • Page 2 of 5
                                                                                                                           WELLS
                                                                                                                           FARGO
                 • '•




Interest summary
     Interest paid this statement                                  $0.01
     Average collected balance                                   $550.18
     Annual percentage yield earned                                0.02%
     Interest earned this statement period                         $0.01
     Interest paid this year                                       $0.01




Transaction history

                         Check                                                                  Deposits/   Withdrawals/     Ending daily
     Date               Number Description                                                      Additions   Subtractions         balance
     4/1                       Non-WF ATM Balance Inquiry Fee 03/30 3333 Blue Di Las Vegas                          2.00
                               NV ATM ID Nvshcx04 Card 7650
     4/1                       Edeposit IN Branch/Store 04/01/19 02:19:08 Pm 10010 S Eastern    1,000.00
                               Ave Henderson NV 7650
     4/1                       Purchase authorized on 03/28 Japan Creek Market Las Vegas NV                         5.04
                                6309088013432575 Card 7650
     4/1                       Non-WF ATM Withdrawal authorized on 03/30 3333 Blue                               204.25
                                Diamond Rd Las Vegas NV 00389090196167114 ATM ID
                                Nvshcx04 Card 7650
     4/1                        Purchase authorized on 04/01 WM Superc Wal-Mart Sup Las                            18.08        1,157.88
                                Vegas NV P00000000683871309 Card 7650
     4/2                        Edeposit IN Branch/Store 04/02/19 11:16:54 Am 900 N Green         660.00
                                Valley Pkwy Henderson NV 7650
      4/2                       Recurring Payment authorized on 04/01 Vesta *AT&T Prepa                            55.06        1,702.82
                                866-608-3007 OR S309091397247322 Card 7650
      4/5                       Bill Pay Caliber Home Loans Recurring x)000c48517 on 04-05                      1,275.26 "*°---
                                                                                                                              . 1"s----
      4/8                       Purchase authorized on 04/07 Rei*Payment Center 800-227-9597                     156.20
                                OH 6309097618728174 Card 7650
      4/8                       Purchase authorized on 04/07 WM Superc Wal-Mart Sup Las                            38.24
                                Vegas NV P00000000830907741 Card 7650
      4/8                       Purchase with Cash Back $ 50.00 authorized on 04/08 The Home                       84.62
                                Depot #3306 Las Vegas NV P00309098675752657 Card 7650
      4/8                       Purchase with Cash Back $ 40.00 authorized on 04/08 Wal-Mart                       59.64            88.86
                                Super Center Las Vegas NV P00000000730655264 Card 7650
      4/9                       Edeposit IN Branch/Store 04/09/19 03:24:28 Pm 2658W Horizon       300.00
                                Ridge Pkwy Henderson NV 7650
      4/9                       Purchase authorized on 04/08 AprItunes.CorniBil 866-712-7753                       15.99
                                CA 6309098461978565 Card 7650
      4/9                       Purchase authorized on 04/08 WM Superc Wal-Mart Sup Las                            30.18
                                Vegas NV P00000000676935931 Card 7650
      4/9                       Purchase authorized on 04/08 AOL*Fs Assist By A 866-485-9217                       19.99          322.70
                                VA 6389099088677050 Card 7650
      4110                      Recurring Payment authorized on 04/09 AOL*Fs Safecentral                            2.95
                                866-485-9217 VA 6589100093089732 Card 7650
      4/10                      Recurring Payment authorized on 04/09 AOL*Fs Search&Reco                            3.99          315.76
                                866-485-9217 VA 6309100093087055 Card 7650
      4/12                      Purchase authorized on 04/11 Wal-Mart Super Center Las Vegas                       28.02           287.74
                                NV P00000000182368461 Card 7650
      4/15                      Purchase authorized on 04/13 Costco Gas #1320 Henderson NV                         15.87
                                P00469103603279693 Card 7650
      4/15                      Purchase with Cash Back $ 20.00 authorized on 04/13 Walgreens                      28.50
                                Store 2389 E WI Las Vegas NV PO0589103676750866 Card 7650
      4/15                      Recurring Payment authorized on 04/14 AOL* Service                                 17.95           225.42
                                 800-827-6364 VA 6469105090329103 Card 7650
      4/16                      Purchase authorized on 04/14 Arabiandate.Com 800-6041574 NY                        96.00
                                 6309105181237853 Card 7650
      4/16                       Purchase authorized on 04/15 Enterprise Rent-A- Las Vegas NV                      50.00
                                 S309105691750143 Card 5629




                                                                APPX0311
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Wells Fargo® Preferred Checking                                                                                                                     WELLS
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
DEBTOR IN POSSESSION                                                                                       Telecommunications Relay Services calls accepted

CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espanol: 1-877-727-2932
                                                                                                            *tg 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box Indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Co to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          D Direct Deposit
                                                                                                           Online Bill Pay         ▪     Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection   0
                                                                                                           Mobile Banking                Debit Card
                                                                                                           My Spending Report      •      Overdraft Service



Activity summary                                                                                           Account number 011111.11111.
       Beginning balance on 5/1                                          $382.90                           YOUSIF H HALLOUM
       Deposits/Additions                                               4,083.00                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16515(NV)
       Withdrawals/Subtractions                                       - 4,134.87
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 5/31                                           $331.03
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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                                                                                                                           WELLS
                                                                                                                           FARGO


                                                          ..nsameac




Interest summary
     Interest paid this statement                                      $0.00
     Average collected balance                                        $69680
     Annual percentage yield earned                                    0.00%
     Interest earned this statement period                             $0.00
     Interest paid this year                                           $0.01




Transaction history

                        Check                                                                  Deposits/   Withdrawals/      Ending daily
     Date              Number Description                                                      Additions    Subtractions         balance
     5/2                       Edeposit IN Branch/Store 05102/19 11:23:43 Am 2658W Horizon      1,000.00
                               Ridge Pkwy Henderson NV 2819
     5/2                       Recurring Payment authorized on 05/01 Vesta *AT&T Prepa                            55.06         1,327.84
                              866-6083007 OR S589121394396296 Card 2819
     5/3                       Non-WF ATM Balance Inquiry Fee 05/02 3333 Blue DI Las Vegas                         2.00
                               NV ATM ID Nvshcx04 Card 2819
     5/3                       Edeposit IN Branch/Store 05/03/19 12:12:38 Pm 2658W Horizon       700.00
                               Ridge Pkwy Henderson NV 2819
     5/3                      Non-WF ATM Withdrawal authorized on 05/02 3333 Blue                                204.25         1,821.59
                              Diamond Rd Las Vegas NV 00589123062709865 ATM ID
                              Nvshcx04 Card 2819
     5/6                      Purchase Return authorized on 05/03 Enterprise Rent-A- Las          50.00
                              Vegas NV S309105691750143 Card 5629
     5/6                       Purchase authorized on 05/03 Rei*Payment Center 800-227-9597                      156.20
                               OH S469123612656997 Card 2819
     5/6                       Recurring Payment authorized _91165/04 Aplitunes.Com/Bil                           15.99         1,699.40
                               866-712-7753 CA S309124390433995 Card 2819
     5/7                       Bill Pay Caliber Home Loans Recurring xxxxx48517 on 05-07                       1,275.26
     5/8                       Purchase authorized on 05/07 Solutions SpecieIt Las Vegas NV                      143.00           281.14
                               S389127697904980 Card 2819
     5/9                       SSA Treas 310 Xcsoc Sec 050919 )c000(2986A SSA Yousif H            25.00                           306.14
                               Halloum
     5/10                      Edeposit IN Branch/Store 05/10/19 1045:50 Am 2658W Horizon        300.00
                               Ridge Pkwy Henderson NV 2819
     5/10                      Purchase authorized on 05/09 Apria Direct 949-639-4217 CA                          75.75
                               S389129638353140 Card 2819
     5/10                      Purchase authorized on 05/10 Big 5 Sporting Goods 3 Henderson                      21.64           508.75
                               NV P00000000173381463 Card 2819
     5/13                      Recurring Payment authorized on 05/10 AOL*Fs Search&Reco                             3.99
                               866-485-9217 VA S589131134475502 Card 2819
     5/13                      Recurring Payment authorized on 05/10 AOL*Fs Assist By A                            19.99
                               866-485-9217 VA S589131134485708 Card 2819
     5/13                      Purchase authorized on 05/10 AOL'Fs Aoltechfort 866-485-9217                         3.99
                               TX S629132544207273 Card 2819
     5/13                      Recurring Payment authorized on 05/10 AOL-Fs Safecentral                             2.95
                               866-485-9217 VA S589131134563635 Card 2819
     5/13                      ATM Withdrawal authorized on 05/11 900 N Green Valley Parkwa                      200.00           277.83
                               Henderson NV 0000726 ATM ID 5456P Card 2819
     5/15                      SSA Trees 310 Xxsoc Sec 051519 xxxxx2986A SSA Yousif H           1,408.00
                               Halloum
     5/15                      Purchase authorized on 05/15 Costco Whse #1320 Henderson NV                         83.93
                               P00389135730348426 Card 2819
     5/15                      ATM Withdrawal authorized on 05/15 4182 Blue Diamond Rd Las                       500.00          1,101.90
                               Vegas NV 0008402 ATM ID 9911x Card 2819
     5/16                      Cty of Henderson Utilities 6001595273 Yousif H Halloum                              62.68         1,039.22
     5/17                      Non-WF ATM Withdrawal authorized on 05/17 3600 Las Vegas                           307.99
                               Blvd So Las Vegas NV 00589137813075486 ATM ID Nvbgox02
                               Card 2819
     5/17                      Non-Wells Fargo ATM Transaction Fee                                                  2.50           728.73




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Wells Fargo® Preferred Checking                                                                                                                     WELLS
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH 11 CASE #16-16815(NV)                                                                                    1-800-TO-WELLS (1-800-869-3557)
2428 DEVOTION RIDGE DR                                                                                      TTY: 1-800-877-4833
HENDERSON NV 89052-5674                                                                                     En espaliol: 1-877-727-2932

                                                                                                            Vel 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                          Online: wellsfargo.com

                                                                                                          Wtite: Wells Fargo Bank, N.A. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




You and Wells Fargo                                                                                       Account options
Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                          wellsfargo.com or call the number above if you have
                                                                                                          questions or if you would like to add new services.

                                                                                                           Online Banking          z Direct Deposit
                                                                                                           Online Bill Pay               Auto Transfer/Payment El
                                                                                                           Online Statements             Overdraft Protection
                                                                                                           Mobile Banking                Debit Card
                                                                                                           My Spending Report      z Overdraft Service          LI

Activity summary                                                                                           Account number: 11011.10
       Beginning balance on 6/1                                         $331.03                            YOUSIF H HALLOUM
       Deposits/Additions                                               3,963.00                           DEBTOR IN POSSESSION
                                                                                                           CH 11 CASE #16-16815(NV)
       Withdrawals/Subtractions                                       - 3,922.75
                                                                                                           Nevada account terms and conditions apply
       Ending balance on 6/30                                           $371.28
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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                                                                                                                               FARGO



Interest summary
     Interest paid this statement                                    $0.00
     Average collected balance                                     $715.02
     Annual percentage yield earned                                 0.00%
     Interest earned this statement period                           $0.00
     Interest paid this year                                         $0.01




Transaction history

                        Check                                                                      Deposits/   Withdrawals/      Ending daily
     Date              Number Description                                                          Additions    Subtractions         balance
     6/3                           Non-WF ATM Balance Inquiry Fee 05/31 3333 Blue Di Las Vegas                          2.00
                                   NV ATM ID Nvshcx04 Card 2819
     6/3                           Non-WF ATM Balance Inquiry Fee 06/02 3333 Blue Di Las Vegas                         2.00
                                   NV ATM ID Nvshcx04 Card 2819
     6/3                           Non-WF ATM Balance Inquiry Fee 06/02 3333 Blue Di Las Vegas                         2.00
                                   NV ATM ID Nvshcx04 Card 2819
     6/3                           Edeposit IN Branch/Store 06/03/19 03:09:22 Pm 440 E Silverado     100.00
                                   Ranch Blvd Las Vegas NV 2819
     6/3                           Recurring Payment authorized on 05/31 Vesta *AT&T Prepa                            55.06
                                   866-608-3007 OR 6469151383250481 Card 2819
     6/3                           Non-WF ATM Withdrawal authorized on 05/31 3333 Blue                               104.25
                                   Diamond Rd Las Vegas NV 00389152234587000 ATM ID
                                   Nvshcx04 Card 2819
     6/3                           Purchase authorized on 06/02 Costco Gas #1320 Henderson NV                         20.01
                                   P00469153623741824 Card 2819
     6/3                           Purchase authorized on 06/02 Wal-Mart Super Center Las Vegas                       32.68
                                   NV P00000000289376493 Card 2819
     6/3                           Non-WF ATM Withdrawal authorized on 06/02 3333 Blue                                64.25
                                   Diamond Rd Las Vegas NV 00469154244799752 ATM ID
                                   Nvshcx04 Card 2819
     6/3                           Non-Wells Fargo ATM Transaction Fee                                                 2.50
     6/3                           Purchase authorized on 06/03 Costco Gas #1320 Henderson NV                         19.83           126.45
                                   P00589154806466786 Card 2819
     6/4                           Edeposit IN Branch/Store 06/04/19 11:37:19 Am 2658W Horizon     1,600.00
                                   Ridge Pkwy Henderson NV 2819
     6/4                           ATM Withdrawal authorized on 06/04 4182 Blue Diamond Rd Las                       100.00         1,626.45
                                   Vegas NV 0003591 ATM ID 9915W Card 2819
     6/5                           Recurring Payment authorized on 06/04 Aplitunes.Com/Bil                            15.99
                                   866-712-7753 CA S389155389849821 Card 2819
      6/5               ;1('' Bill Pay Caliber Home Loans Recurring mco(48517 on 06-05                             1,275.26      — =6:231
      6/6                          Purchase Return authorized on 06/05 Courtcall *#981 Los             30.00                        365.20
                                   Angeles CA S629157547514635 Card 2819
      6/7                          Recurring Payment authorized on 06/06 AOL*Fs Support.Com                             3.99
                                   866-485-9217 VA S389157645185280 Card 2819
     6/7                           Recurring Payment authorized on 06/06 AOL*Fs Systemmech                              4.99          356.22
                                   866-485-9217 VA S469157645183517 Card 2819
      6/10                         Edeposit IN Branch/Store 06/08/19 10:35:29 Am 10010 S Eastern      500.00
                                   Ave Henderson NV 2819
      6/10                         Purchase authorized on 06/07 Rei*Payment Center 800-227-9597                      156.20
                                   OH 6309158346059250 Card 2819
      6/10                         Purchase authorized on 06/08 AOL*Fs Aoltechfort 866-485-9217                         3.99
                                   TX $309160096437906 Card 2819
      6/10                         Purchase authorized on 06/08 AOL*Fs Assist By A 866-485-9217                        19.99
                                   VA 6389160096430373 Card 2819
      6/10                         Recurring Payment authorized on 06/09 AOL*Fs Computerche                             4.99
                                   866-485-9225 VA 5389160472620494 Card 2819
      6/10                         Recurring Payment authorized on 06/09 AOL*Fs Safecentral                             2.95
                                   866-485-9217 VA S309161099860598 Card 2819




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Wells Fargo® Preferred Checking                                                                                                                     WELLS
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
2428 DEVOTION RIDGE DR                                                                                     Telecommunications Relay Services calls accepted
HENDERSON NV 89052-5674                                                                                     1 -800-TO-WE L LS (1-800-869-3557)
                                                                                                            TTY: 1-800-877-4833
                                                                                                            En espariol: 1-877-727-2932
                                                                                                                   1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: welisfargo.com

                                                                                                           Write: Wells Fargo Bank, NA. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          El Direct Deposit
                                                                                                           Online Bill Pay         Z Auto Transfer/Payment Z
                                                                                                           Online Statements             Overdraft Protection    0
                                                                                                           Mobile Banking                Debit Card
                                                                                                           My Spending Report      El Overdraft Service          a
Activity summary                                                                                           Account number: 1111.1.111
       Beginning balance on 7/1                                          $371.28                           YOUSIF H HALLOUM
       Deposits/Additions                                               4,619.36                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 4,280.48                           For Direct Deposit use
       Ending balance on 7/31                                           $710.16                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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                                                                                                                         FARGO




Interest summary
     Interest paid this statement                              • $0.01
     Average collected balance                                  $739.50
     Annual percentage yield earned                              0.02%
     Interest earned this statement period                        $0.01
     Interest paid this year                                      $0.02




Transaction history

                        Check                                                                 Deposits/   Withdrawals/     Ending daily
     Date              Number Description                                                     Additions   Subtractions         balance
     711                       ATM Withdrawal authorized on 06/29 10010 S. Eastern Ave                          250.00
                               Henderson NV 0001944 ATM ID 5456Y Card 2819
     7/1                       Purchase authorized on 66/29 Polar Air & Heatin 702-458-8895                     14.95
                               NV S389181165053189 Card 2819
     7/1                       Recurring Payment authorized on 06/30 Vesta *AT&T Prepa                          55.06
                               866-608-3007 OR S589181386761122 Card 2819
     7/1                       Purchase authorized on 06/30 Wal-Mart Super Center Las Vegas                     27.00            24.27
                               NV P00000000573721553 Card 2819
      7/2                      Edeposit IN Branch/Store 07/02/19 11:26:06 Am 2658 W Horizon   1,000.00                        1,024.27
                               Ridge Pkwy Henderson NV 2819
      7/3                      Non-WF ATM Balance Inquiry Fee 07/02 3333 Blue Di Las Vegas                        2.00
                               NV ATM ID Nvshcx04 Card 2819
      7/3                      Edeposit IN Branch/Store 07/03/19 02:12:01 Pm 2658W Horizon      700.00
                               Ridge Pkwy Henderson NV 2819
      7/3                      Non-WF ATM Withdrawal authorized on 07/02 3333 Blue                             204.75         1,517.52
                               Diamond Rd Las Vegas NV 00589184155839544 ATM ID
                               Nvshcx04 Card 2819
      7/5                      Recurring Payment authorized on 07/04 AOL*Fs Systemmech                            4.99        1,512.53
                               866-485-9217 VA S309186099501876 Card 2819
      7/8                      Edeposit IN Branch/Store 07/06119 12:37:20 Pm 7255 S Rainbow     200.00
                               Blvd Las Vegas NV 2819
      718                      Purchase authorized on 07/05 Apria-Medical Equi 949-639-4217                      42.40
                               CA S469186553554633 Card 2819
      7/8                      Recurring Payment authorized on 07/05 AOL'F's SupporLCom                           3.99
                               866-485-9217 VA S469187100308431 Card 2819
      7/8                 -X< Bill Pay Caliber Home Loans Recurring xxxxx48517 on 07-08                       1,275.26
      7/8                      Purchase authorized on 07/07 Rei*Payment Center 800-227-9597                     156.20          231. 8
                               OH S389188617798103 Card 2819                       •
      7/9                      Edeposit IN Branch/Store 07/09/19 09:14:42 Am 2658W Horizon      140.00
                               Ridge Pkwy Henderson NV 2819
      7/9                      Purchase authorized on 07/08 Apr Itunes.Com/Bi 866-712-7753                       15.99
                               CA S589189390244939 Card 2819
      7/9                      Purchase with Cash Back $ 60.00 authorized on 07/08 Wal-Mart                      70.48
                               #4356 Las Vegas NV P00000000284522005 Card 2819
      7/9                      Purchase authorized on 07/08 AOL*Fs Aoltechfort 866-485-9217                       3.99
                               TX S309190096147138 Card 2819
      7/9                      Purchase authorized on 07/08 AOL*Fs Assist By A 866-485-9217                      19.99
                               VA 8469190096149046 Card 2819
      7/9                      Recurring Payment authorized on 07/08 AOLTs Computerche                            4.99           259.24
                               866-485-9225 VA S589190099208715 Card 2819
      7/10                      Edeposit IN Branch/Store 07/10/19 10:48:25 Am 2658W Horizon      300.00
                                Ridge Pkwy Henderson NV 2819
      7/10                      Recurring Payment authorized on 07/09 AOL`Fs Safecentral                          2.95
                               866-485-9217 VA S309191099262217 Card 2819
      7/10                     Recurring Payment authorized on 07/09 AOL*Fs Search&Reco                           3.99           552.30
                               866-485-9217 VA 8469191099265866 Card 2819
      7/15                      Non-WF ATM Balance Inquiry Fee 07/13 3333 Blue Di Las Vegas                       2.00
                                NV ATM ID Nvshcx05 Card 2819




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Wells Fargo® Preferred Checking                                                                                                                     WELLS
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
2428 DEVOTION RIDGE DR
HENDERSON NV 89052-5674                                                                                     1-800-TO-WELLS (1-800-869-3557)
                                                                                                            TTY: 1-800-877-4833
                                                                                                            En espanol: 1-877-727-2932

                                                                                                            ta 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking                Direct Deposit
                                                                                                           Online Bill Pay         El     Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                Debit Card
                                                                                                           My Spending Report             Overdraft Service       o
Activity summary                                                                                           Account number
       Beginning balance on 8/1                                         $710.16                            YOUSIF H HALLOUM
       Deposits/Additions                                               3,733.00                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 4,040.66                           For Direct Deposit use
       Ending balance on 8/31                                           $402.50                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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                                                                                                                          WELLS
                                                                                                                          FARGO




Interest summary
     Interest paid this statement                                 $0.00
     Average collected balance                                  $517.90
     Annual percentage yield earned                              0.00%
     Interest earned this statement period                        $0.00
     Interest paid this year                                      $0.02




Transaction history

                        Check                                                                 Deposits/   Withdrawals/      Ending daily
     Date              Number Description                                                     Additions    Subtractions         balance
     8/1                      Purchase authorized on 07/31 Vesta *AT&T Prepa 866-608-3007                        30.06
                               OR 5309212727859331 Card 2819
     8/1                      Purchase authorized on 07/31 Apple Cash 877-233-8552 CA                            15.00           665.10
                               S589212732654055 Card 2819
     8/2                      Edeposit IN Branch/Store 08/02/19 04:45:22 Pm 900 N Green       1,000.00                         1,665.10
                              Valley Pkwy Henderson NV 2819
     8/5                      Non-WF ATM Balance Inquiry Fee 08/02 3333 Blue Di Las Vegas                         2.00
                               NV ATM 1D Nvshcx04 Card 2819
     8/5                       Edeposit IN Branch/Store 08/03/19 10:38:33 Am 900 N Green        200.00
                              Valley Pkwy Henderson NV 2819
     8/5                       Purchase authorized on 08/02 NV Energy/Speedpay                                  170.81
                               800-331-3103 NV S309215007471136 Card 2819
     8/5                       Non-WF ATM Withdrawal authorized on 08/02 3333 Blue                              164.75
                               Diamond Rd Las Vegas NV 00469215112250441 ATM ID
                               Nvshcx04 Card 2819
     8/5                       Purchase authorized on 08/04 Aplitunes.Com/Bil 866-712-7753                       15.99
                               CA 6389216389765876 Card 2819
     8/5                       Recurring Payment authorized on 08/04 AOL*Fs Systemmech                            4.99
                               866-485-9217 VA 5389217116856342 Card 2819
     8/5                       Purchase authorized on 08/05 Costco Gas #1320 Henderson NV                        25.25         1,481.31
                               P00589217844978389 Card 2819
     8/6                       Edeposit IN Branch/Store 08/06/19 04:47:58 Pm 900 N Green        300.00
                               Valley Pkwy Henderson NV 2819
     8/6                       Recurring Payment authorized on 08/05 AOL*Fs SupporLCom                            3.99
                               866-485-9217 VA 6469218115256421 Card 2819
     8/6                       Bill Pay Caliber Home Loans Recurring K000(48517 on 08-06                      1,275.26
     8/6                  802 Check                                                                              47.52           454.54
     8/7                       Purchase authorized on 08/04 U-Haul Moving & St Henderson NV                      23.45           431.09
                               S469216679286459 Card 2819
     8/8                       Purchase authorized on 08/07 Rei*Payment Center 800-227-9597                     160.88
                               OH S469219335119271 Card 2819
     8/8                       Purchase authorized on 08/07 Apple Cash 877-233-8552 CA                           30.00
                               5469219361105928 Card 2819
     8/8                       Purchase authorized on 08/08 Wal-Mart Super Center Las Vegas                      25.21           215.00
                               NV P00000000476830360 Card 2819
     8/9                       Purchase authorized on 08/08 AOL*Fs Aoltechfort 866-485-9217                        3.99
                               TX 8309221113875972 Card 2819
     8/9                       Purchase authorized on 08/08 AOL*Fs Assist By A 866-485-9217                      19.99
                               VA 5309221113875969 Card 2819
     8/9                       Recurring Payment authorized on 08/08 AOL*Fs Computerche                            4.99          186.03
                               866-485-9225 VA 8469221117540651 Card 2819
     8/12                      Edeposit IN Branch/Store 08/12/19 02:23:18 Pm 2658 W Horizon     300.00
                               Ridge Pkwy Henderson NV 2819
     8/12                      Purchase authorized on 08/08 Apple Cash 877-233-8552 CA                          100.00
                               6309221226903038 Card 2819
     8/12                      Recurring Payment authorized on 08/09 AOL*Fs Safecentrat                            2.95
                               866-485-9217 VA 5469222116599464 Card 2819
     8/12                      Recurring Payment authorized on 08/09 AOL*Fs Search&Reco                            3.99
                               866-485-9217 VA 8589222116599137 Card 2819




                                                               APPX0319
                                                                                                                                                 372 of 457
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Wells Fargo® Preferred Checking                                                                                                                     WELLS
September 30, 2019 • Page 1 of 6                                                                                                                    FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
2428 DEVOTION RIDGE DR
HENDERSON NV 89052-5674                                                                                     1-800-TO-WELLS (1-800-869-3557)
                                                                                                            TTY: 1-800-877-4833
                                                                                                            En espanot 1-877-727-2932
                                                                                                               ta 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, NA. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
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                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          Z Direct Deposit
                                                                                                           Online Bill Pay         Z     Auto Transfer/Payment 0
                                                                                                           Online Statements       Z     Overdraft Protection    El
                                                                                                           Mobile Banking                Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: WM,
       Beginning balance on 9/1                                          $402.50                           YOUSIF H HALLOUM
       Deposits/Additions                                               4,173.01                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 4,409.46                           For Direct Deposit use
       Ending balance on 9/30                                           $166.05                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store,




      (825)
      Sheet Seq = 0011067
      Sheet 00001 of 00003



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                                                                                                                           WELLS
                                                                                                                           FARGO



Interest summary
     Interest paid this statement                                  $0.01
     Average collected balance                                  $459.84
     Annual percentage yield earned                               0.03%
     Interest earned this statement period                         $0.01
     Interest paid this year                                       $0.03




Transaction history

                        Check                                                                  Deposits/   Withdrawals/      Ending daily
     Date              Number Description                                                      Additions    Subtractions         balance
     9/3                      Non-WF ATM Balance Inquiry Fee 09/02 3333 Blue Di Las Vegas                           2.00
                              NV ATM ID Nyshcx03 Card 2819
     9/3                      Edeposit IN Branch/Store 09/03/19 03:33:11 Pm 2658W Horizon      1,500.00
                              Ridge Pkwy Henderson NV 2819
     9/3                      Purchase authorized on 08/29 Apple Cash 877-233-8552 CA                             25.00
                              S469241646768365 Card 2819
     9/3                      Purchase authorized on 08/29 Polar Air & Heatin 702-458-8895                        14.95
                               NV S469242158833197 Card 2819
     9/3                      Purchase authorized on 08/31 Apple Cash 877-233-8552 CA                            101.00
                              S469243261212142 Card 2819
     9/3                      Purchase authorized on 08/31 WM Superc Wal-Mart Sup Las                             37.94
                               Vegas NV P00000000283547323 Card 2819
     9/3                      Purchase authorized on 09/01 Costco Gas #1320 Henderson NV                          56.61
                               P00309244497402151 Card 2819
     9/3                       Purchase authorized on 09/01 WM Superc Wal-Mart Sup Las                            10.40
                               Vegas NV P00000000673925082 Card 2819
     9/3                       Purchase authorized on 09/01 Vons Store 1795 Henderson NV                           7.77
                               P00309244727535961 Card 2819
     9/3                       Purchase authorized on 09/01 Wal-Mart Super Center Las Vegas                       19.45         1,627.38
                               NV M000000330705616 Card 2819
     9/4                       Non-WF ATM Balance Inquiry Fee 09/03 3333 Blue Di Las Vegas                         2.00
                               NV ATM ID Ishrshcx02 Card 2819
     9/4                       Non-WF ATM Withdrawal authorized on 09/03 3333 Blue                               104.75         1,520.63
                               Diamond Rd Las Vegas NV 00589247049807337 ATM ID
                               Nvshcx02 Card 2819
     9/5                       Edeposit IN Branch/Store 09/05/19 04:17:51 Pm 2658W Horizon       590.00
                               Ridge Pkwy Henderson NV 2819
     9/5                       Purchase authorized on 09/03 Apple Cash 877-233-8552 CA                            26.00
                               S389246620727889 Card 2819
     9/5                       Recurring Payment authorized on 09/04 AOL*Fs Systemmech                              4.99
                               866-485-9217 VA S309248108614444 Card 2819
  *9/5                         Bill Pa Caliber Home Loans Recurrin ricooc48517 on 09-05                        1,275.26
   ' 9/5                       Purchase authorized on 09/05 Wal-Mart #2593 Las Vegas NV                            7.37           707.01
                               P00000000071781768 Card 2819
     9/6                       ATM Withdrawal authorized on 09/06 900 N Green Valley Parkwa                      300.00
                               Henderson NV 0005867 ATM ID 5456P Card 2819
     9/6                       Purchase authorized on 09/06 WM Superc Wal-Mart Sup Las                            42.63           364.38
                               Vegas NV P00060000377571009 Card 2819
     9/9                       Purchase authorized on 09/07 Rei*Payrnent Center 800-227-9597                     160.88
                               OH S309250349262232 Card 2819
     9/9                       Purchase authorized on 09/07 WM Superc Wal-Mart Sup Las                             15.23
                               Vegas NV P00000000930308754 Card 2819
     9/9                       Purchase authorized on 09/08 Apritunes,Com/Bil 866-712-7753                         15.99
                               CA S589251390584079 Card 2819
     9/9                       Purchase authorized on 09/08 AOL*Fs Aoltechfort 866-485-9217                         3.99
                               IX S589252102085869 Card 2819
     9/9                       Purchase authorized on 09/08 AOL*Fs Assist By A 866-485-9217                        19.99           148.30
                               VA S589252102085849 Card 2819




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                                                                                                                                                 374 of 457
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Wells Fargo® Preferred Checking                                                                                                                     WELLS
October 31, 2019 • Page 1 of 5                                                                                                                      FARGO




                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay Services calls accepted
2428 DEVOTION RIDGE DR
HENDERSON NV 89052-5674                                                                                     1-800-TO-WELLS (1-800-869-3557)
                                                                                                            TTY: 1-800-877-4833
                                                                                                            En espanol: 1-877-727-2932

                                                                                                            tit 1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




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                                                                                                          questions or /f you would like to add new services.

                                                                                                           Online Banking          Z     Direct Deposit          I=1
                                                                                                           Online Bill Pay         Z     Auto Transfer/Payment   111
                                                                                                           Online Statements             Overdraft Protection    El
                                                                                                           Mobile Banking                Debit Card
                                                                                                           My Spending Report             Overdraft Service      LI

Activity summary                                                                                           Account number:
       Beginning balance on 10/1                                        $166.05                            YOUSIF H HALLOUM
       Deposits/Additions                                               4,105.10                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 4,219.01                           For Direct Deposit use
       Ending balance on 10/31                                           $52.14                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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      Sheet Seq = 0009406
      Sheet 00001 of 00003




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                                                                                                                               WELLS
                                                                                                                               FARGO




Interest summary
     Interest paid this statement                                  $0.00
     Average collected balance                                  $524.70
     Annual percentage yield earned                               0.00%
     Interest earned this statement period                         $0.60
     Interest paid this year                                       $0.03




Transaction history

                        Check                                                                   Deposits/       Withdrawals/     Ending daily
     Date              Number Description                                                       Additions       Subtractions         balance
     10/1                     Purchase authorized on 09/29 Polar Air & Heatin 702-458-8895                             14.95          151.10
                               NV 6469273168026635 Card 2819
     10/2                      Purchase authorized on 10/02 Vons #2511 Henderson NV                                     6.56          144.54
                               P00589275804306453 Card 2819
     10/3                      Edeposit IN Branch/Store 10/03/19 09:27:48 Am 2658W Horizon      1,000.00                            1,144.54
                               Ridge Pkwy Henderson NV 2819
     10/4                      Edeposit IN Branch/Store 10/04/19 11:46:28 Am 2658W Horizon        800.00
                               Ridge Pkwy Henderson NV 2819
     10/4                      Purchase authorized on 10/02 Apple Cash 877-233-8552 CA                                 31.00
                               S469275492876632 Card 2819
     10/4                      Purchase authorized on 10/02 Apple Cash 877-233-8552 CA                                 20.00        1,893.54
                               S589275552847475 Card 2819
     10f7                      Purchase Return authorized on 10/05 IN 'Access Transcr                6.05
                               855-8732223 IN S629279544475558 Card 2819
     10/7                      Purchase Return authorized on 10/05 IN 'Access Transcr                6.05
                               855-8732223 IN S629279544475564 Card 2819
     10/7.                     Purchase authorized on 10/03 Apple Cash 877-233-8552 CA                                 20.00
                               S589276663485462 Card 2819         -
     10/7                      Purchase authorized on 10/04 IN *Access Transcr 855-8732223 IN                          90.75
                               S389277612992470 Card 2819
     10/7                      Recurring Payment authorized on 10/04 AOL*Fs Systemmech                                  4.99
                               866-485-9217 VA S589278110192660 Card 2819
     10T7                      Purchase authorized on 10/05 SamsClub #4983 Las Vegas NV                                32.14
                               P00006000574302895 Card 2819
     10/7                      Purchase authorized on 10/05 Wal-Mart Super Center Las Vegas                            11.71
                               NV P00000060787251075 Card 2819                                              •   IVA'S
      10/7                     Purchase authorized on 10/05 WM Superc Wal-Mart Sup Las                                 25.64         1,720.41
                               Vegas NV P00000000277594045 Card 2819
      10/8                     Edeposit IN Branch/Store 10/08/19 01:11:51 Pm 2658W Horizon        400.00
                               Ridge Pkwy Henderson NV 2819
      10/8                     Purchase authorized on 10/06 Apple Cash 877-233-8552 CA                                 26.00
                               5389279442442311 Card 2819
      10/8                     Purchase authorized on 10/06 Apple Cash 877-233-8552 CA                                 20.00
                               S389279451403051 Card 2819
      10/8                     Purchase authorized on 10/07 Rei*Payment Center 800-227-9597                           160.88
                               OH S469280343316024 Card 2819
      10/8                     Bill Pay Caliber Home Loans on,Line mcm48517 on 10-08 10010                          1,395.60
                               S Eastern Henderson NV KIOSK Bc8310
      10/8                     Purchase authorized on 10/08 Costco Gas #1320 Henderson NV                              68.07          449.86
                               P00469281739370891 Card 2819
      1019                     Purchase authorized on 10/08 AprItunes.Com/Bil 866-712-7753                             15.99
                               CA 6469281389965153 Card 2819
      10/9                     Purchase authorized on 10/08 AOL*Fs Aoltechfort 866-485-9217                             3.99
                               TX S589282107307186 Card 2819
      10/9                     Purchase authorized on 10/08 AOL*Fs Assist By A 866-485-9217                            19.99          409.89
                               VA S469282107304259 Card 2819
      10/10                    Purchase authorized on 10/09 Lashes Poolmart Henderson NV                               10.81
                               S389282734408392 Card 2819




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 WELLS FARGO

PREFERRED
CHECKING                                     $97.45
...3819                               Available balance

                                 A/                               2- 0
Activity Summary
Current posted balance                                                        $115.45
Pending withdrawals/debits                                                    -$18.00
Pending deposits/credits                                                      $0.00

Available balance                                                             $97.45

Monthly Service Fee Summary

Routing numbers


Activity
First
Previous
Next

  Date       Description                                  Deposits/Credits Withdrawals/Debits

Authorized Transactions
 Note: Debit card transaction amounts may change.

             PURCHASE Wal-Mart Sup LAS VEGAS NV
  11/14/19                                                                                  $18.00
             CARD2819

Posted Transactions

            PURCHASE AUTHORIZED ON 11/13
  11/13/19 COSTCO GAS #1320 HENDERSON NV                                                    $21.32
            P00589317840595841 CARD 2819

            NON-WF ATM WITHDRAWAL
            AUTHORIZED ON 11/12 115 E.
  11/12/19 TROPICANA AVE LAS VEGAS NV                                                      $106.50
            00589316447159530 ATM ID
            NVH00A02 CARD 2819

            PURCHASE AUTHORIZED ON 11/11 WM
  11/12/19 SUPERC Wal-Mart Sup LAS VEGAS NV                                                 $19.79
            P00000000079257111 CARD 2819
            PURCHASE AUTHORIZED ON 11/10
  11/12/19 VONS #2511 HENDERSON NV                                                            $5.75
            P00589314774078307 CARD 2819

  Totals                                                  $12,111.11                    $12,160.81



https://connect. secure.wellsfargo.com/accounts/e)dt/saraidentifier=accounts?_bkn=true... 11/14/2019

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  Date       Description                                Deposits/Credits     Withdrawals/Debits
  11/12/19 PURCHASE AUTHORIZED ON 11/10 W&-                                                  $19.03
           Mart Super
                Super Center LAS VEGAS NV
           P00000000177658792 CARD 2819

           RECURRING PAYMENT AUTHORIZED ON
           11/09 AOL*FS Search&Reco 866-485-
  11/12/19                                                                                    $3.99
           9217 VA S309314138877865 CARD
           2819

           RECURRING PAYMENT AUTHORIZED ON
           11/09 AOL*FS SafeCentral 866-485-
  11/12/19                                                                                    $2.95
           9217 VA S469314138875969 CARD
           2819

           PURCHASE AUTHORIZED ON 11/08
  11/12/19 AOL*FS Assist By A 866-485-9217 VA                                                $19.99
           S309313135383577 CARD 2819

           PURCHASE AUTHORIZED ON 11/08
  11/12/19 AOL*FS AOLTechFort 866-485-9217 TX                                                 $3.99
           5589313135382454 CARD 2819

           NON-WF ATM BALANCE INQUIRY FEE
  11/12/19 11/12 115 E. TROPI LAS VEGAS NV ATM                                                $2.00
           ID NVH00A02 CARD 2819

             NON-WF ATM BALANCE INQUIRY FEE
  11/12/19   11/12 115 E. TROPI LAS VEGAS NV ATM                                              $2.00
             ID NVHOOX02 CARD 2819

             NON-WF ATM BALANCE INQUIRY FEE
  11/12/19   11/12 115 E. TROPI LAS VEGAS NV ATM                                              $2.00
             ID NVHOOX02 CARD 2819

             PURCHASE AUTHORIZED ON 11/08
  11/08/19   WAL-MART #2593 LAS VEGAS NV                                                     $17.57
             P00000000384345280 CARD 2819

           PURCHASE AUTHORIZED ON 11/07
  11/08/19 REI*PAYMENT CENTER 800-227-9597                                                  $160.88
           OH S469311381215939 CARD 2819

          BILL PAY CALIBER HOME LOANS
          RECURRING xxxxx48517 ON 11-07
*11/07/19                                                                                 $1,395.60
          10010 S EASTERN HENDERSON NV
          KIOSK BC8310

           RECURRING PAYMENT AUTHORIZED ON
           11/04 AOL*FS SystemMech 866-485-
  11/05/19                                                                                     $4.99
           9217 VA S469309138532471 CARD
           2819
           PURCHASE AUTHORIZED ON 11/04
  11/05/19 APPLE.COM/BILL 866-712-7753 CA                                                    $15.99
           S589308425901387 CARD 2819
  11/05/19                                                                                   $20.00
  Totals                                                 $12,111.11                     $12,160.81



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Wells Fargo® Preferred Checking
December 31, 2019 • Page 1 of 5




                                                                                                     Questions?
YOUSIF H HALLOUM                                                                                     Available by phone 24 hours a day, 7 days a week:
                                                                                                     Telecommunications Relay Services calls accepted
OMMIIIMMINgnioft
                                                                                                      1-800-TO-WELLS (1-800-869-3557)
                                                                                                      TTY: 1-800-877-4833
                                                                                                      En espanol: 1-877-727-2932

                                                                                                             1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                     Online: wellsfargo.com

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                                                                                                            P.O. Box 6995
                                                                                                            Portland, OR 97228-6995




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                                                                                                     wellsfargo.com or call the number above if you have
                                                                                                     questions or if you would like to add new services.

                                                                                                     Online Banking          Z Direct Deposit
                                                                                                     Online Bill Pay         Z     Auto Transfer/Payment
                                                                                                     Online Statements       Z Overdraft Protection
                                                                                                     Mobile Banking          Z Debit Card
                                                                                                     My Spending Report      ID    Overdraft Service




        IMPORTANT ACCOUNT INFORMATION

We may change the statement period and monthly fee period assigned to your account without advance notification. If your account
earns interest, these changes will not affect interest calculations, but they may affect the date we post interest to your account.

For all accounts except business analyzed checking, if the first new fee period created by our change is fewer than 25 days, the bank
will automatically waive the monthly service fee for that period.



Activity summary                                                                                      Account number: GIMMIIIIp
       Beginning balance on 12/1                                    $151.81                           YOUSIF H HALLOUM
       Deposits/Additions                                          10,928.70                          Nevada account terms and conditions apply
       Withdrawals/Subtractions                                   - 8,293.17                          For Direct Deposit use
                                                                                                      Routing Number (RTN): 321270742
       Ending balance on 12/31                                    $2,787.34




      (825)
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      Sheet 00001 of 00003
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Interest summary
       Interest paid this statement                                        $0.02
        Average collected balance                                     $2,076.08
        Annual percentage yield earned                                    0.01%
       Interest earned this statement period                               $0.02
        Interest paid this year                                            $0.05




Transaction history

                           Check                                                                                    Deposits/         Withdrawals/          Ending daily
        Date              Number Description                                                                        Additions         Subtractions              balance
        12/2                      Edeposit IN Branch/Store 11/30/19 11:24:02 Am 10010 S Eastern                       475.93
                                  Ave Henderson NV 3819
        12/2                      Edeposit IN Branch/Store 12/02/19 04:05:02 Pm 2658W Horizon                        2,000.00
                                  Ridge Pkwy Henderson NV 2819
        12/2                      Purchase authorized on 11/29 Polar Air & Heatin 702-458-8895                                                14.95
                                  NV S589334181293656 Card 2819
        12/2                      Purchase authorized on 11/30 The Home Depot #3306 Las Vegas                                                   4.57
                                  NV P00309334661311662 Card 2819
        12/2                      Purchase authorized on 11/30 WM Superc Wal-Mart Sup Las                                                     11.49
                                  Vegas NV P00000000877347340 Card 2819
        12/2                      ATM Withdrawal authorized on 11/30 10010 S. Eastern Ave                                                    100.00
                                  Henderson NV 0004314 ATM ID 5456Y Card 2819
        12/2                      ATM Withdrawal authorized on 12/01 900 N Green Valley Parkwa                                               200.00
                                  Henderson NV 0004361 ATM ID 5456W Card 2819
        12/2                      Purchase authorized on 12/01 Wal-Mart #4356 Las Vegas NV                                                    11.60
                                  P00000000184370623 Card 2819
        12/2                      Purchase authorized on 12/01 The Home Depot #3306 Las Vegas                                                  71.45            2,213.68
                                  NV P00589335685157748 Card 2819
        12/3                      Money Transfer authorized on 12/03 From Halloum Yousif NV                              19.75                                  2,233.43
                                  S00389337629711436 Card 2819
        12/5                      Purchase authorized on 12/03 Apple Cash 877-233-8552 CA                                                      20.00
                                  S469337564395142 Card 2819
        12/5                      Purchase authorized on 12/03 Apple Cash 877-233-8552 CA                                                      20.00
                                  8589337569331446 Card 2819
        12/5                      Purchase authorized on 12/04 Wal-Mart #2593 Las Vegas NV                                                     26.74
                                  P00000000776070778 Card 2819
        12/5                      Recurring Payment authorized on 12/04 AOL*Fs Systemmech                                                       4.99            2,161.70
                                  866-485-9217 VA S389339138894634 Card 2819
        12/9                      Purchase authorized on 12/06 Apple Cash 877-233-8552 CA                                                       1.00
                                  3589340858089616 Card 2819
        12/9                      Purchase authorized on 12/06 Apple Cash 877-233-8552 CA                                                      25.00
                                  S469341005611712 Card 2819
        12/9                      Purchase authorized on 12/07 Rei*Payment Center 800-227-9597                                               160.88
                                  OH S469341382928353 Card 2819
       e
       . ,12/9                    Bill Pay Caliber Home Loans Recurring xxxxx48517 on 12-09                                                 1,395.60
      -fi-
     *" 12/9                      Recurring Payment authorized on 12/08 Apple.Com/Bill                                                         15.99
                                  866-712-7753 CA S389342425876224 Card 2819
        12/9                      Purchase authorized on 12/08 AOL*Fs Aoltechfort 866-485-9217                                                  3.99
                                  TX S589343135936820 Card 2819
        12/9                      Purchase authorized on 12/08 AOL*Fs Assist By A 866-485-9217                                                 19.99              539.25
                                  VA S589343135936826 Card 2819




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                                                  EXHIBIT "I"




BANK STATEMENTS OF PAYMENT HISTORY AFTER THE
        APPROVAL OF THE LOAN MODIFICATION
       January 1, 2020 through December 31, 2020




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Wells Fargo® Preferred Checking
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
11•1111•1111111=1.111111.                                                                                  Telecommunications Relay Services calls accepted

4111.1111111110111.1MMMI                                                                                     1-800-TO-WELLS (1-800-869-3557)
                                                                                                             TTY: 1-800-877-4833
                                                                                                            En espariol: 1-877-727-2932

                                                                                                            C-.4 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

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                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




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                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          El     Direct Deposit
                                                                                                           Online Bill Pay         EI     Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: 4111.11.1.
       Beginning balance on 1/1                                       $2,787.34                            YOUSIF H HALLOUM
       Deposits/Additions                                               1,516.10                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 3,782.50                           For Direct Deposit use
       Ending balance on 1/31                                           $520.94                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)

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Interest summary
     Interest paid this statement                                 $0.01
     Average collected balance                                $1,439.41
     Annual percentage yield earned                              0.01%
     Interest earned this statement period                        $0.01
     Interest paid this year                                      $0.01
     Total interest paid in 2019                                  $0.05




Transaction history

                        Check                                                                 Deposits/   Withdrawals/    Ending daily
     Date              Number Description                                                     Additions    Subtractions       balance
     1/3                       SSA Treas 310 Xxsoc Sec 010320 xxxxx2986A SSA Yousif H            52.10                       2,839.44
                               Halloum
     1/6                      Recurring Payment authorized on 01/04 AOL*Fs Systemmech                             4.99       2,834.45
                               866-485-9217 VA S580005136778210 Card 2819
     1/7                       Bill Pay Caliber Home Loans Recurring xxxxx48517 on 01-07                      1,395.60       1,438.85
     1/8                       Purchase authorized on 01/07 Rei*Payment Center 800-227-9597                     160.88
                               OH S460007384811824 Card 2819
     1/8                       Purchase authorized on 01/07 Lv Justice CT Traf Las Vegas NV                     115.00       1,162.97
                               S460007668555327 Card 2819
     1/9                       Recurring Payment authorized on 01/08 Apple.Com/Bill                              15.99
                               866-712-7753 CA S380008426253189 Card 2819
     1/9                       Purchase authorized on 01/08 AOL*Fs Aoltechfort 866-485-9217                        3.99
                               TX S580009135855788 Card 2819
     1/9                       Purchase authorized on 01/08 AOL*Fs Assist By A 866-485-9217                      19.99
                               VA S580009135855764 Card 2819
     1/9                       Purchase authorized on 01/09 Centennial Toyota. Las Vegas NV                     161.24         961.76
                               P00000000782544738 Card 2819
     1/10                      Recurring Payment authorized on 01/09 AOL*Fs Safecentral                            2.95
                               866-485-9217 VA S460010136953110 Card 2819
     1/10                      Recurring Payment authorized on 01/09 AOL*Fs Search&Reco                            3.99
                               866-485-9217 VA S380010136956059 Card 2819
     1/10                      Recurring Payment authorized on 01/09 Microsoft*Store                             80.00
                               Redmond WA S460010186321278 Card 2819
     1/10                      Purchase authorized on 01/10 Costco Gas #1320 Henderson NV                        51.62
                               P00580010857662179 Card 2819
     1/10                      Purchase authorized on 01/10 Costco Whse #1320 Henderson NV                       49.64         773.56
                               P00580011033866317 Card 2819
     1/13                      Non-WF ATM Balance Inquiry Fee 01/10 3333 Blue Di Las Vegas                         2.00
                               NV ATM ID Nvshcx02 Card 2819
     1/13                      Non-WF ATM Withdrawal authorized on 01/10 3333 Blue                              304.75
                               Diamond Rd Las Vegas NV 00380011220259914 ATM ID
                               Nvshcx02 Card 2819
     1/13                      Cty of Henderson Utilities 0001946792 Yousif H Halloum                            62.49         404.32
     1/15                      SSA Treas 310 Xxsoc Sec 011520 xxxxx2986A SSA Yousif H          1,449.00
                               Halloum
     1/15                      Recurring Payment authorized on 01/14 AOL* Service                                17.95       1,835,37
                               800-827-6364 VA S460015135990579 Card 2819
     1/16                      Purchase authorized on 01/16 Wal-Mart Super Center Las Vegas                      18.73       1,816.64
                               NV P00000000674538903 Card 2819
     1/17                      Purchase authorized on 01/17 Costco Gas #1320 Henderson NV                         55.26      1,761.38
                               P00580017795968166 Card 2819
     1/21                      Purchase authorized on 01/17 Apple Cash 877-233-8552 CA                            25.00
                               S460018053503499 Card 2819
     1/21                      Recurring Payment authorized on 01/18 Vesta *AT&T Prepa                            40.06
                               866-608-3007 OR S300018461875994 Card 2819
     1/21                      Purchase authorized on 01/19 Apple Cash 877-233-8552 CA                          100.00
                               S300019344683872 Card 2819




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                                                                                                           Questions?
 YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
  Ll
                                                                                                             1-800-TO-WELLS             (1-800-869-3557)
INIMMINIMIMMEM
                                                                                                             TTY: 1-800-877-4833
                                                                                                             En espatiok 1-877-727-2932

                                                                                                            4a 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




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 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
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                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           El Direct Deposit
                                                                                                           Online Bill Pay          El Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: 11.11111110
       Beginning balance on 2/1                                         $520.94                            YOUSIF H HALLOUM
       Deposits/Additions                                               4,396.91                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 4,196.04                           For Direct Deposit use
       Ending balance on 2/29                                           $721.81                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)

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      Interest summary
           Interest paid this statement                                 $0.01
           Average collected balance                                $1,408.54
           Annual percentage yield earned                              0.01%
           Interest earned this statement period                        $0.01
           Interest paid this year                                      $0.02
           Total interest paid in 2019                                  $0.05




      Transaction history

                              Check                                                                 Deposits/   Withdrawals/   Ending daily
           Date              Number Description                                                     Additions   Subtractions       balance
           2/3                       Purchase authorized on 02/03 Costco Gas #1320 Henderson NV                        53.54        467.40
                                     P00580034641600433 Card 2819
           2/4                       Edeposit IN Branch/Store 02/04/20 02:55:01 Pm 2658 W Horizon   2,000.00                      2,467.40
                                     Ridge Pkwy Henderson NV 2819
           2/5                       Purchase authorized on 02/04 Apple.Com/Bill 866-712-7753 CA                      15.99
                                     S580035425861703 Card 2819
           2/5                       Recurring Payment authorized on 02/04 AOL*Fs Systemmech                            4.99      2,446.42
                                     866-485-9217 VA S300036136461578 Card 2819
.----3111p2/7                        Bill Pay Caliber Home Loans Recurring xxxxx48517 on 02-07                      1,395.60      1,050.82
           2/10                      Purchase authorized on 02/07 Rei*Payment Center 800-227-9597                     160.88
                                     OH S580038388501474 Card 2819
           2/10                      Purchase authorized on 02/07 Apple Cash 877-233-8552 CA                            1.00
                                     S380039150405803 Card 2819
           2/10                      Purchase authorized on 02/08 AOL*Fs Aoltechfort 866-485-9217                       3.99
                                     TX S460040133215844 Card 2819
           2/10                      Purchase authorized on 02/08 AOL*Fs Assist By A 866-485-9217                      19.99
                                     VA S580040133216275 Card 2819
           2/10                      Recurring Payment authorized on 02/09 AOL*Fs Safecentral                           2.95
                                     866-485-9217 VA S300041136717658 Card 2819
           2/10                      Recurring Payment authorized on 02/09 AOL*Fs Search&Reco                           3.99
                                     866-485-9217 VA S460041136713134 Card 2819
           2/10                      Purchase authorized on 02/09 Costco Gas #0673 Henderson NV                        53.59        804.43
                                     P00380041143285589 Card 2819
           2/13                      Purchase authorized on 02/13 Costco Gas #1320 Henderson NV                        51.60        752.83
                                     P00380044781422268 Card 2819
           2/18                      Recurring Payment authorized on 02/14 AOL* Service                                17.95
                                     800-827-6364 VA S460046135347343 Card 2819
           2/18                      Recurring Payment authorized on 02/17 Vesta *AT&T Prepa                           40.06
                                     866-608-3007 OR S380048456027952 Card 2819
           2/18                      Cty of Henderson Utilities 0001998575 Yousif H Halloum                            77.32        617.50
           2/19                      SSA Tress 310 Xxsoc Sec 021920 xxxxx2986A SSA Yousif H         1,396.90                      2,014.40
                                     Halloum
           2/20                      Edeposit IN Branch/Store 02/20/20 01:46:42 Pm 900 N Green      1,000.00                      3,014.40
                                     Valley Pkwy Henderson NV 2819
           2/21                      Recurring Payment authorized on 02/20 Republic Services                           47.85
                                     866-576-5548 AZ S580051387084603 Card 2819
           2/21                      Purchase authorized on 02/20 VVWW Costco Corn 800-955-2292                        79.99      2,886.56
                                     WA S460051659599463 Card 2819
            2/24                     Purchase authorized on 02/20 Fedex 390542547580 Memphis TN                        42.15
                                     S380052045698809 Card 2819
            2/24                     Purchase authorized on 02/20 Fedex 940451468963 Memphis TN                         1.40
                                     S580052045883503 Card 2819
            2/24                     Purchase authorized on 02/21 Apple Cash 877-233-8552 CA                           20.00
                                     S300052749792816 Card 2819
            2/24                     Purchase authorized on 02/21 Solutions Specialt Las Vegas NV                     169.00
                                     S580053007928902 Card 2819
            2/24               8125 Check                                                                             130.80      2,523.21




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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted

                             IlL                                                                            1 -800-TO-WE L LS (1-800-869-3557)
                                                                                                             TTY: 1-800-877-4833
                                                                                                            En espariol: 1-877-727-2932

                                                                                                            C-1 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

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                                                                                                                  Portland, OR 97228-6995




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                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking          111    Direct Deposit
                                                                                                           Online Bill Pay          El Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Activity summary                                                                                           Account number: 4111111111111,
       Beginning balance on 3/1                                         $721.81                            YOUSIF H HALLOUM
       Deposits/Additions                                               4,789.02                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 2,855.69                           For Direct Deposit use
       Ending balance on 3/31                                         $2,655.14                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)

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      Interest summary
             Interest paid this statement                                 $0.02
             Average collected balance                                $1,728.44
             Annual percentage yield earned                              0.01%
             Interest earned this statement period                        $0.02
             Interest paid this year                                      $0.04
             Total interest paid in 2019                                  $0.05




      Transaction history

                                Check                                                                 Deposits/   Withdrawals/    Ending daily
             Date              Number Description                                                     Additions    Subtractions       balance
             3/2                      Edeposit IN Branch/Store 03/02/20 04:52:55 Pm 900 N Green        2,000.00
                                      Valley Pkwy Henderson NV 2819
             3/2                      Purchase authorized on 02/28 Polar Air & Heatin 702-458-8895                       14.95
                                      NV S300060216274126 Card 2819
             3/2                      Purchase authorized on 03/01 Costco Whse #1320 Henderson NV                        56.97       2,649.89
                                       P00580062042755776 Card 2819
             3/3                       Purchase authorized on 03/02 Lv Justice CT Traf Las Vegas NV                     248.00       2,401.89
                                       S300062686797428 Card 2819
             3/5                      Recurring Payment authorized on 03/04 AOL*Fs Systemmech                              4.99      2,396.90
                                       866-485-9217 VA S460065137307973 Card 2819
             3/9                       ATM Cash Deposit on 03/09 10010 S. Eastern Ave Henderson NV      340.00
                                       0002235 ATM ID 5456Y Card 2819
             3/9                       Purchase authorized on 03/07 Rei*Payment Center 800-227-9597                     160.88
                                       OH S460067428670244 Card 2819
.
"----••••,
         --/t 3/9                      Bill Pay Caliber Home Loans Recurring xxxxx48517 on 03-09                      1,395.60
              3/9                      Purchase authorized on 03/08 Apple.Com/Bill 866-712-7753 CA                       15.99
                                       S300068425799189 Card 2819
             3/9                       Purchase authorized on 03/08 AOL*Fs Aoltechfort 866-485-9217                        3.99
                                       TX S300069099320414 Card 2819
             3/9                       Purchase authorized on 03/08 AOL*Fs Assist By A 866-485-9217                      19.99       1,140.45
                                      VA S300069099320507 Card 2819
             3/10                      Purchase authorized on 03/09 Pacer800-676-68561 800-676-6856                     339.20
                                       TX S300069610283298 Card 2819
             3/10                      Recurring Payment authorized on 03/09 AOL*Fs Safecentral                            2.95
                                       866-485-9217 VA S460070100625253 Card 2819
             3/10                      Recurring Payment authorized on 03/09 AOL*Fs Search&Reco                            3.99        794.31
                                       866-485-9217 VA S580070100628976 Card 2819
             3/13                      Purchase authorized on 03/11 Apple Cash 877-233-8552 CA                           20.00         774.31
                                       S300071819510860 Card 2819
             3/16                      Recurring Payment authorized on 03/14 AOL* Service                                17.95
                                       800-827-6364 VA S380075098894864 Card 2819
             3/16                      Cty of Henderson Utilities 0002045144 Yousif H Halloum                            60.68         695.68
             3/18                      SSA Tress 310 Xxsoc Sec 031820 xxxxx2986A SSA Yousif H         1,449.00                       2,144.68
                                       Halloum
             3/19                      Recurring Payment authorized on 03/18 Vesta *AT&T Prepa                           40.06       2,104.62
                                       866-608-3007 OR S300078497303727 Card 2819
             3/20                      Purchase authorized on 03/18 Apple Cash 877-233-8552 CA                           20.00       2,084.62
                                       S300079080039441 Card 2819
             3/23                      Recurring Payment authorized on 03/20 Republic Services                             4.03      2,080.59
                                       866-576-5548 AZ S460080312625022 Card 2819
             3/25                      Purchase authorized on 03/24 Apple.Com/Bill 866-712-7753 CA                         0.99
                                       S300084484169044 Card 2819
             3/25                      Cox Comm Las Bankdraft 032520 476089320303001 'man                               303.41       1,776.19
                                       Halloum
              3/26                     Purchase authorized on 03/24 Apple Cash 877-233-8552 CA                             1.00
                                       S580085012003282 Card 2819




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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted

111111NMEIIIINIMINS                                                                                         1-800-TO-WELLS (1-800-869-3557)
                                                                                                             TTY: 1-800-877-4833
                                                                                                            En espahol: 1-877-727-2932

                                                                                                            trz 1-800-288-2288 (6 am to 7 pm PT, M-F)
                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z     Direct Deposit
                                                                                                           Online Bill Pay          •     Auto Transfer/Payment
                                                                                                           Online Statements        •     Overdraft Protection
                                                                                                           Mobile Banking           •     Debit Card
                                                                                                           My Spending Report       •     Overdraft Service



Activity summary                                                                                           Account number: 11011MIS
       Beginning balance on 4/1                                       $2,655.14                            YOUSIF H HALLOUM
       Deposits/Additions                                               5,700.25                           Nevada account terms and conditions apply
       Withdrawals/Subtractions                                       - 4,304.66                           For Direct Deposit use
       Ending balance on 4/30                                         $4,050.73                            Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (825)

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   Interest summary
         Interest paid this statement                                  $0.01
         Average collected balance                                 $2,177.80
         Annual percentage yield earned                               0.01%
         Interest earned this statement period                         $0.01
         Interest paid this year                                       $0.05




   Transaction history

                            Check                                                                   Deposits/   Withdrawals/    Ending daily
         Date              Number Description                                                       Additions    Subtractions       balance
         4/2                      ATM Cash Deposit on 04/02 2658 W Horizon Ridge Park                 400.00
                                   Henderson NV 0003102 ATM ID 1722C Card 2819
         4/2                       Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                             20.00       3,035.14
                                   S580091201563700 Card 2819
         4/3                       Purchase authorized on 04/01 Apple Cash 877-233-8552 CA                             20.00       3,015.14
                                   S380093015996538 Card 2819
         4/6                       Purchase authorized on 04/02 Apple Cash 877-233-8552 CA                             50.00
                                   S380093391618381 Card 2819
         4/6                       Purchase authorized on 04/02 Apple Cash 877-233-8552 CA                             50.00
                                   S380093391908396 Card 2819
         4/6                       Purchase authorized on 04/04 Apple.Com/Bill 866-712-7753 CA                         15.99
                                   S580095390082198 Card 2819
         4/6                       Recurring Payment authorized on 04/04 AOL*Fs Systemmech                               4.99      2,894.16
                                   866-485-9217 VA S580096100304321 Card 2819
4,----> 4/7                        Bill Pay Caliber Home Loans Recurring xxxxx48517 on 04-07                        1,395.60       1,498.56
         4/8                       Purchase authorized on 04/07 Rei*Payment Center 800-227-9597                       160.88       1,337.68
                                   OH S580098329627940 Card 2819
         4/9                       Purchase authorized on 04/08 AOL*Fs Aoltechfort 866-485-9217                          3.99
                                   TX S300100099285225 Card 2819
         4/9                       Purchase authorized on 04/08 AOL*Fs Assist By A 866-485-9217                        19.99       1,313.70
                                   VA S580100099287024 Card 2819
         4/10                      Final Credit for Claim-Ref 2004100000012                            25.62
         4/10                      Recurring Payment authorized on 04/09 AOL*Fs Safecentral                              2.95
                                   866-485-9217 VA S300101102454250 Card 2819
         4/10                      Recurring Payment authorized on 04/09 AOL*Fs Search&Reco                              3.99       1,332.38
                                   866-485-9217 VA S460101102455605 Card 2819
         4/13                      Purchase authorized on 04/09 Dmi* Dell Sales & 800-624-9897 TX                      25.62        1,306.76
                                   3460101201938616 Card 2819
         4/15                      SSA Treas 310 Xxsoc Sec 041520 xxxxx2986A SSA Yousif H           1,449.00
                                   Halloum
         4/15                      Purchase authorized on 04/15 Smiths Fo 10616 E. Eas Henderson                        91.93
                                   NV P00000000381861968 Card 1200
         4/15                      Purchase authorized on 04/15 Smiths Fo 10616 E. Eas Henderson                      159.80
                                   NV P00000000882566476 Card 1200
         4/15                      Cty of Henderson Utilities 0002088848 Yousif H Halloum                              60.68        2,443.35
         4/17                      Purchase authorized on 04/15 Apple Cash 877-233-8552 CA                              1.00
                                   S460106717858094 Card 1200
         4/17                      Purchase authorized on 04/15 Apple Cash 877-233-8552 CA                             50.00        2,392.35
                                   S460106728712322 Card 1200
         4/20                      ATM Cash Deposit on 04/18 900 N Green Valley Parkwa                600.00
                                   Henderson NV 0005005 ATM ID 5456W Card 1200
         4/20                      Purchase authorized on 04/17 Amber Hills Dental Henderson NV                       700.34
                                   S460108705379556 Card 1200
         4/20                      Purchase authorized on 04/18 Apple Cash 877-233-8552 CA                               1.00       2,291.01
                                   S380110069545140 Card 1200
         4/21                      Purchase authorized on 04/21 Costco Whse #1320 Henderson NV                        127.32        2,163.69
                                   P00300112682927030 Card 1200
         4/27                      Purchase authorized on 04/24 Dyers RV 623-266-3022 AZ                              832.53
                                   S300115567102828 Card 1200




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                                                                                                            Questions?
 YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                            Telecommunications Relay Services calls accepted
11111111111MINIMMIlli
4111011namis1111111111111146                                                                                 1-800-TO-WELLS              (1-800-869-3557)
                                                                                                             TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-727-2932



                                                                                                            Online: wellsfargo.com

                                                                                                            Write: Wells Fargo Bank, N.A. (825)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




  You and Wells Fargo                                                                                       Account options
  Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
  company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                            wellsfargo.com or ca// the number above if you have
                                                                                                            questions or if you would like to add new services.

                                                                                                            Online Banking           •     Direct Deposit
                                                                                                            Online Bill Pay          •     Auto Transfer/Payment
                                                                                                            Online Statements              Overdraft Protection
                                                                                                            Mobile Banking           •     Debit Card
                                                                                                            My Spending Report       •     Overdraft Service



 Statement period activity summary                                                                          Account number: 4111.11111111
          Beginning balance on 5/1                                                  $4,050.73               YOUSIF H HALLOUM
          Deposits/Additions                                                         2,649.02               Nevada account terms and conditions apply
          Withdrawals/Subtractions                                                 - 4,431.62               For Direct Deposit use
          Ending balance on 5/31                                                   $2,268.13                Routing Number (RTN): 321270742



 Overdraft Protection
 This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
 please call the number listed on your statement or visit your Wells Fargo branch.




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      Interest summary
              Interest paid this statement                                 $0.02
              Average collected balance                                $1,916.15
              Annual percentage yield earned                               0.01%
              Interest earned this statement period                        $0.02
              Interest paid this year                                      $0.07




      Transaction history

                                 Check                                                                  Deposits/   Withdrawals/    Ending daily
              Date              Number Description                                                      Additions    Subtractions       balance
              5/1                      ATM Withdrawal authorized on 05/01 900 N Green Valley Parkwa                       700.00       3,350.73
                                        Henderson NV 0006433 ATM ID 5456W Card 1200
              5/4                       ATM Withdrawal authorized on 05/02 Warm Spring & Rainbow                          600.00       2,750.73
                                        Las Vegas NV 0007730 ATM ID 0880G Card 1200
              5/5                      Recurring Payment authorized on 05/04 Apple.Com/Bill                                15.99       2,734.74
                                        866-712-7753 CA S380125389951518 Card 1200
"----"•••••)10.5/7                      Bill Pay Caliber Home Loans Recurring xxxxx48517 on 05-07                       1,395.60       1,339.14
               5/8                      Purchase authorized on 05/07 Rei"Payment Center 800-227-9597                      160.88       1,178.26
                                        OH S300128328167056 Card 1200
              5/11                      ATM Cash Deposit on 05/09 900 N Green Valley Parkwa               300.00
                                        Henderson NV 0007401 ATM ID 5456W Card 1200
              5/11                      Purchase authorized on 05/08 Pacer800-676-68561 800-676-6856                      473.30
                                        TX S460129450580386 Card 1200
              5/11                      Purchase authorized on 05/08 AOL*Fs Aoltechfort 866-485-9217                        3.99
                                        TX S580130097788543 Card 1200
              5/11                      Purchase authorized on 05/08 AOL*Fs Assist By A 866-485-9217                       19.99
                                        VA S460130097773929 Card 1200
              5/11                      Recurring Payment authorized on 05/09 AOL*Fs Safecentral                            2.95
                                        866-485-9217 VA S300131098973516 Card 1200
              5/11                      Recurring Payment authorized on 05/09 AOL*Fs Search&Reco                             3.99        974.04
                                        866-485-9217 VA S580131098975529 Card 1200
              5/12                      ATM Cash Deposit on 05/12 10010 S. Eastern Ave Henderson NV       300.00                       1,274.04
                                        0005407 ATM ID 5456Y Card 1200
              5/15                      Recurring Payment authorized on 05/14 AOL* Service                                 17.95
                                        800-827-6364 VA S580136099943168 Card 1200
              5/15                      Cty of Henderson Utilities 0002136860 Yousif H Halloum                             70.63       1,185.46
              5/18                      Purchase with Cash Back $ 40.00 authorized on 05/18 Smiths Fo                     219.16
                                        10616 E. Eas Henderson NV P00000000034034673 Card 1200
              5/18                      Purchase authorized on 05/18 Walgreens Store 601 S Gre                             32.50         933.80
                                        Henderson NV P00300140020861008 Card 1200
               5/20                     SSA Treas 310 Xxsoc Sec 052020 xxxxx2986A SSA Yousif H           1,449.00                      2,382.80
                                        Halloum
               5/21                     Purchase authorized on 05/20 Leslies Pool SpIy# Las Vegas NV                       22.75
                                        S300141524458164 Card 1200
               5/21                     Purchase authorized on 05/20 Costco Whse #1320 Henderson NV                        18.41
                                        P00460142058242649 Card 1200
               5/21                     Purchase with Cash Back $ 40.00 authorized on 05/21 Lowe's                        103.94       2,237.70
                                        #1719 Las Vegas NV P00460142713675101 Card 1200
               5/26                     Purchase authorized on 05/23 Costco Whse #1320 Henderson NV                        33.96
                                        P00580144679591911 Card 1200
               5/26                     Purchase authorized on 05/23 WM Superc Wal-Mart Sup Las                            82.37
                                        Vegas NV P00000000871560189 Card 1200
               5/26                     Recurring Payment authorized on 05/24 Apple.Com/Bill                                 0.99
                                        866-712-7753 CA S580145484458381 Card 1200
               5/26                     Purchase authorized on 05/24 Costco Gas #1320 Henderson NV                         39.83
                                        P00300145793634280 Card 1200
               5/26                     Recurring Payment authorized on 05/25 Vesta *AT&T Prepa                            55.06
                                        866-608-3007 OR S380146590689420 Card 1200




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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
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                                                                                                             TTY: 1-800-877-4833
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                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z Direct Deposit
                                                                                                           Online Bill Pay          •     Auto Transfer/Payment
                                                                                                           Online Statements        •     Overdraft Protection
                                                                                                           Mobile Banking           •     Debit Card
                                                                                                           My Spending Report       •     Overdraft Service



Statement period activity summary                                                                          Account number: 41111111111.
         Beginning balance on 6/1                                                  $2,268.13               YOUSIF H HALLOUM
         Deposits/Additions                                                         4,649.01               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 5,075.73               For Direct Deposit use
         Ending balance on 6/30                                                   $1,841.41                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (825)

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Interest summary
     Interest paid this statement                                 $0.01
     Average collected balance                                $1,449.09
     Annual percentage yield earned                              0.01%
     Interest earned this statement period                        $0.01
     Interest paid this year                                      $0.08




Transaction history

                        Check                                                                 Deposits/   Withdrawals/    Ending daily
     Date              Number Description                                                     Additions    Subtractions       balance
     6/1                      Purchase authorized on 05/30 AT&T S354 5800 Henderson NV                           50.06       2,218.07
                              S380151745124502 Card 1200
     6/5                      ATM Cash Deposit on 06/05 10010 S. Eastern Ave Henderson NV       300.00
                               0006612 ATM ID 5456Y Card 1200
     6/5                       Recurring Payment authorized on 06/04 Apple.Com/Bill                              15.99       2,502.08
                               866-712-7753 CA S580156390208143 Card 1200
     6/8                       Purchase authorized on 06/07 Rei*Payment Center 800-227-9597                     160.88       2,341.20
                               OH S460159628815027 Card 1200
     6/9                       Purchase authorized on 06/08 AOL*Fs Aoltechfort 866-485-9217                       3.99
                               TX S580161096459532 Card 1200
     6/9                       Purchase authorized on 06/08 AOL*Fs Assist By A 866-485-9217                      19.99
                               VA S460161096459926 Card 1200
     6/9                      Bill Pay Caliber Home Loans Recurring xxxxx48517 on 06-09                       1,395.60         921.62
     6/10                      Recurring Payment authorized on 06/09 AOL*Fs Safecentral                           2.95
                               866-485-9217 VA S580162091932549 Card 1200
     6/10                      Recurring Payment authorized on 06/09 AOL*Fs Search&Reco                           3.99         914.68
                               866-485-9217 VA S380162091937665 Card 1200
     6/15                      Non-WF ATM Withdrawal authorized on 06/14 129 E Fremont                          508.99
                               Street Las Vegas NV 00580167042282977 ATM ID P285469 Card
                               1200
     6/15                      Recurring Payment authorized on 06/14 AOL* Service                                17.95
                               800-827-6364 VA S300167094576758 Card 1200
     6/15                      Cty of Henderson Utilities 0002183666 Yousif H Halloum                            85.19         302.55
     6/16                      ATM Cash Deposit on 06/16 Warm Spring & Rainbow Las Vegas        500.00                         802.55
                               NV 0008407 ATM ID 0880G Card 1200
     6/17                      SSA Tress 310 Xxsoc Sec 061720 xxxxx2986A SSA Yousif H         1,449.00
                               Halloum
     6/17                      Purchase authorized on 06/15 Apple Cash 877-233-8552 CA                            1.00
                               S580168137377623 Card 1200
     6/17                      Purchase authorized on 06/15 Apple Cash 877-233-8552 CA                           50.00       2,200.55
                               S300168149427508 Card 1200
     6/19                      Purchase authorized on 06/17 Bestbuycom80615311                                  628.56       1,571.99
                               888-Bestbuy MN S580170088285347 Card 1200
     6/22                      Purchase authorized on 06/21 Best Buy #358 Henderson NV                          199.98       1,372.01
                               P00000000779585449 Card 1200
     6/23                      ATM Cash Deposit on 06/23 900 N Green Valley Parkwa              700.00
                               Henderson NV 0003741 ATM ID 5456W Card 1200
     6/23                      Purchase authorized on 06/22 Solutions Specialt Las Vegas NV                     169.00
                               5580174769107697 Card 1200
     6/23                      Purchase authorized on 06/23 The Home Depot #3306 Las Vegas                      499.52
                               NV P00300175724677303 Card 1200
     6/23                      Purchase authorized on 06/23 Best Buy #542 Las Vegas NV                          487.63         915.86
                               P00000000272730693 Card 1200
     6/24                      Cox Comm Las Bankdraft 062420 476089320303001 'man                               313.55         602.31
                               Halloum
     6/25                      Recurring Payment authorized on 06/24 Apple.Com/Bill                               0.99
                               866-712-7753 CA S300176484109581 Card 1200
     6/25                      Recurring Payment authorized on 06/24 Vesta *AT&T Prepa                           55.06         546.26
                               866-608-3007 OR S460176505504944 Card 1200




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Wells Fargo® Preferred Checking
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                                                                                                           Questions?
 YOUSIF H HALLOUM                                                                                          Available by phone 24 hours a day, 7 days a week:

11.111.1MINNIMINMID                                                                                        Telecommunications Relay Services calls accepted

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                                                                                                           Online Bill Pay          •     Auto Transfer/Payment
                                                                                                           Online Statements        •     Overdraft Protection
                                                                                                           Mobile Banking           •     Debit Card
                                                                                                           My Spending Report       •     Overdraft Service




Statement period activity summary                                                                          Account number:
         Beginning balance on 7/1                                                  $1,841.41               YOUSIF H HALLOUM
         Deposits/Additions                                                         4,697.89               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 3,935.61               For Direct Deposit use
         Ending balance on 7/31                                                   $2,603.69                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




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Interest summary
     Interest paid this statement                                 $0.02
     Average collected balance                                $1,957.27
     Annual percentage yield earned                               0.01%
     Interest earned this statement period                        $0.02
     Interest paid this year                                      $0.10




Transaction history

                        Check                                                                  Deposits/   Withdrawals/    Ending daily
     Date              Number Description                                                      Additions    Subtractions       balance
     7/1                       ATM Cash Deposit on 07/01 900 N Green Valley Parkwa               600.00
                               Henderson NV 0004940 ATM ID 5456W Card 1200
     7/1                 8127 Check                                                                              604.67       1,836.74
     7/6                      Recurring Payment authorized on 07/04 Apple.Com/Bill                                15.99       1,820.75
                              408-974-1010 CA S380186389967771 Card 1200
     7/7                       ATM Cash Deposit on 07/07 900 N Green Valley Parkwa               500.00
                               Henderson NV 0005894 ATM ID 5456W Card 1200
     7/7                       Bill Pay Caliber Home Loans Recurring xxxxx48517 on 07-07                       1,395.60         925.15
     7/8                       Purchase authorized on 07/07 Rei*Payment Center 800-227-9597                      160.88         764.27
                               OH S300189329203625 Card 1200
     7/9                       Recurring Payment authorized on 07/08 AOL*Fs Assist By A                           19.99
                               866-485-9217 VA S380191087201625 Card 1200
     7/9                       Recurring Payment authorized on 07/08 AOL*Fs Aoltechfort                             3.99        740.29
                               866-485-9217 TX S460191090078291 Card 1200
     7/10                      Recurring Payment authorized on 07/09 AOL*Fs Safecentral                             2.95
                               866-485-9217 VA S300192089928521 Card 1200
     7/10                      Recurring Payment authorized on 07/09 AOL*Fs Search&Reco                             3.99        733.35
                               866-485-9217 VA S460192089929300 Card 1200
     7/13                      ATM Cash Deposit on 07/11 5960 Centennial Center BI Las Vegas     300.00
                               NV 0003574 ATM ID 9981E Card 1200
     7/13                      ATM Cash Deposit on 07/11 5960 Centennial Center BI Las Vegas     400.00                       1,433.35
                               NV 0003575 ATM ID 9981E Card 1200
     7/15                      SSA Treas 310 Xxsoc Sec 071520 xxxxx2986A SSA Yousif H          1,449.00
                               Halloum
     7/15                      Recurring Payment authorized on 07/14 AOL* Service                                 17.95
                               800-827-6364 VA S580197088933562 Card 1200
     7/15                      Cty of Henderson Utilities 0002232768 Yousif H Halloum                             72.69       2,791.71
     7/16                      ATM Cash Deposit on 07/16 2658 W Horizon Ridge Park               300.00
                               Henderson NV 0009828 ATM ID 1722C Card 1200
     7/16                      Purchase authorized on 07/16 Smiths Fo 10616 E. Eas Henderson                     305.07       2,786.64
                               NV P00000000089520976 Card 1200
     7/17                      Purchase Return authorized on 07/17 AOL* Service 800-827-6364      16.79                       2,803.43
                               VA S620199550234807 Card 1200
     7/20                      Card Final Credit 10715209770                                      32.08
     7/20                      Purchase authorized on 07/17 Apple Cash 877-233-8552 CA                            50.00
                               S300200031083115 Card 1200
     7/20                      Purchase authorized on 07/17 Apple Cash 877-233-8552 CA                            50.00       2,735.51
                               S300200031369790 Card 1200
     7/21                      Purchase authorized on 07/19 Apple Cash 877-233-8552 CA                            25.00       2,710.51
                               S380202058865444 Card 1200
     7/22                      Purchase authorized on 07/20 Homedepot.Com 800-430-3376                           355.47
                               GA S380202528964746 Card 1200
     7/22                      Purchase authorized on 07/20 Apple.Com/Bill 866-712-7753 CA                        39.99       2,315.05
                               S300203150293508 Card 1200
     7/23                      Purchase authorized on 07/21 Apple Cash 877-233-8552 CA                            25.00       2,290.05
                               S580203842181366 Card 1200
     7/24                      Purchase authorized on 07/22 Homedepot.Com 800-430-3376                           355.47       1,934.58
                               GA S580204646870563 Card 1200




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                                                                                                           Questions?
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                                                                                                           Telecommunications Relay Services calls accepted
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                                                                                                             TTY: 1-800-877-4833
                                                                                                             En espaliol: 1-877-727-2932



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                                                                                                                  Portland, OR 97228-6995




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                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z Direct Deposit
                                                                                                           Online Bill Pay          Z Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Statement period activity summary                                                                          Account number: 1111111111.
         Beginning balance on 8/1                                                  $2,603.69               YOUSIF H HALLOUM
         Deposits/Additions                                                         3,404.48               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 4,032.62               For Direct Deposit use
         Ending balance on 8/31                                                   $1,975.55                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (825)

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          Interest summary
                    Interest paid this statement                                 $0.01
                    Average collected balance                                $1,196.35
                    Annual percentage yield earned                              0.01%
                    Interest earned this statement period                        $0.01
                    Interest paid this year                                      $0.11




          Transaction history

                                       Check                                                                 Deposits/   Withdrawals/    Ending daily
                       Date           Number Description                                                     Additions    Subtractions       balance
.........--..........› 8/7                    Bill Pay Caliber Home Loans Recurring xxxxx48517 on 08-07                      1,395.60       1,208.09
                       8/10                   Non-WF ATM Balance Inquiry Fee 08/07 3333 Blue Di Las Vegas                         2.00
                                              NV ATM ID Nvshcx02 Card 1200
                    8/10                     Purchase authorized on 08/07 Rei*Payment Center 800-227-9597                      165.71
                                              OH S580220324581314 Card 1200
                    8/10                     Purchase authorized on 08/07 Pacer800-676-68561 800-676-6856                      267.40
                                             TX S460220449823546 Card 1200
                    8/10                      Non-WF ATM Withdrawal authorized on 08/07 3333 Blue                              205.00
                                              Diamond Rd Las Vegas NV 00300221179854662 ATM ID
                                              Nvshcx02 Card 1200
                    8/10                      Recurring Payment authorized on 08/08 Apple.Com/Bill                              15.99         551.99
                                              866-712-7753 CA S460221391234743 Card 1200
                    8/13                      Purchase authorized on 08/10 Apple Cash 877-233-8552 CA                           20.00         531.99
                                              S580224229976871 Card 1200
                    8/14                      Purchase authorized on 08/13 Apple.Com/Bill 866-712-7753 CA                        4.99
                                              S580226439669652 Card 1200
                    8/14                      Cty of Henderson Utilities 0002278917 Yousif H Halloum                           203.80         323.20
                    8/17                      Non-WF ATM Balance Inquiry Fee 08/14 4178 Koval L Las Vegas                        2.00
                                              NV ATM ID Cpse0101 Card 8663
                    8/17                      Non-WF ATM Withdrawal authorized on 08/14 4178 Koval Lane                        102.50
                                              Las Vegas NV 00460228133055993 ATM ID Cpse0101 Card 8663
                     8/17                     Non-Wells Fargo ATM Transaction Fee                                                2.50         216.20
                     8/19                     SSA Treas 310 Xxsoc Sec 081920 xxxxx2986A SSA Yousif H         1,449.00
                                              Halloum
                     8/19                     Purchase authorized on 08/19 The Home Depot #3306 Las Vegas                      274.67
                                              NV P00300232558344607 Card 8663
                     8/19                     Purchase authorized on 08/19 Costco Whse #1320 Henderson NV                       72.64       1,317.89
                                              P00460232746573700 Card 8663
                     8/21                     Purchase authorized on 08/21 Costco Whse #0685 Las Vegas NV                      101.02
                                              P00380234735448077 Card 8663
                     8/21                     NV Energy South Npc Pymt 023487491951562 Yousif Halloum                          313.82         903.05
                     8/24                     Purchase authorized on 08/22 Walgreens #6615 Henderson NV                         44.55
                                              S580235619883194 Card 8663
                     8/24                     Purchase authorized on 08/22 Sams Club Sam's Club Las Vegas                       42.96
                                              NV P00000000287749615 Card 8663
                     8/24                     Purchase authorized on 08/22 WM Superc Wal-Mart Sup Las                           67.39
                                              Vegas NV P00000000781263131 Card 8663
                     8/24                     Recurring Payment authorized on 08/23 Vesta *AT&T Prepa                           55.06
                                              866-608-3007 OR S300236854622701 Card 8663
                     8/24                     Purchase authorized on 08/24 Costco Whse #1320 Henderson NV                       17.17         675.92
                                              P00460237633555116 Card 8663
                     8/25                     Recurring Payment authorized on 08/24 Apple.Com/Bill                               0.99
                                              866-712-7753 CA S460237485125259 Card 1251
                     8/25                     Purchase authorized on 08/24 Urology SPC of NV Las Vegas NV                       16.00
                                              S460237563493456 Card 8663
                     8/25                     ATM Withdrawal authorized on 08/25 900 N Green Valley Parkwa                     100.00
                                              Henderson NV 0003017 ATM ID 5456W Card 8663
                     8/25                     Purchase authorized on 08/25 Walgreens Store 3150 N Te Las                        11.99
                                              Vegas NV P00460238689864324 Card 8663




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Wells Fargo® Preferred Checking
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
 1111110.11.1.1....1110                                                                                    Telecommunications Relay Services calls accepted

.01111111.111M01011111116                                                                                    1-800-TO-WELLS (1-800-869-3557)
                                                                                                             TTY: 1-800-877-4833
                                                                                                             En espahol: 1-877-727-2932



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                                                                                                                  Portland, OR 97228-6995




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                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z Direct Deposit
                                                                                                           Online Bill Pay          Z Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking           Z     Debit Card
                                                                                                           My Spending Report             Overdraft Service



Statement period activity summary                                                                          Account number: 11111111111.111
         Beginning balance on 9/1                                                  $1,975.55               YOUSIF H HALLOUM
         Deposits/Additions                                                         3,449.01               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 3,658.47               For Direct Deposit use
         Ending balance on 9/30                                                   $1,766.09                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




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      Interest summary
           Interest paid this statement                                      $0.01
           Average collected balance                                    $1,002.48
           Annual percentage yield earned                                   0.01%
           Interest earned this statement period                             $0.01
           Interest paid this year                                           $0.12




      Transaction history

                              Check                                                                                  Deposits/        Withdrawals/          Ending daily
           Date              Number Description                                                                      Additions         Subtractions             balance
           9/8                      Recurring Payment authorized on 09/04 Apple.Com/Bill                                                     15.99             1,959.56
                                    866-712-7753 CA S300249043067309 Card 0473
r,_______1•9/9                      Bill Pay Caliber Home Loans Recurring xxxxx48517 on 09-09                                              1,395.60              563.96
           9/14                     Purchase authorized on 09/11 Rei*Payment Center 800-227-9597                                             165.71              398.25
                                    OH S580255550944134 Card 0473
           9/16                     SSA Treas 310 Xxsoc Sec 091620 xxxxx2986A SSA Yousif H                            1,449.00
                                    Halloum
           9/16                     Non-WE ATM Withdrawal authorized on 09/15 4178 Koval Lane                                                102.50
                                    Las Vegas NV 00300260085189766 ATM ID Cpse0101 Card 0473
           9/16                      Purchase with Cash Back $ 20.00 authorized on 09/16 Smiths Fo                                            34.61
                                    10616 E. Eas Henderson NV P00000000834219661 Card 0473
           9/16                      Cty of Henderson Utilities 0002330136 Yousif H Halloum                                                  168.62            1,541.52
           9/17                      Non-WE ATM Withdrawal authorized on 09/16 4178 Koval Lane                                               202.50
                                    Las Vegas NV 00580261193188080 ATM ID Cpse0100 Card 0473
           9/17                      Non-Wells Fargo ATM Transaction Fee                                                                       2.50            1,336.52
           9/18                      Purchase authorized on 09/17 Leslies Poo!mart Henderson NV                                               12.99
                                     S380261587240493 Card 0473
           9/18                      Purchase authorized on 09/18 The Home Depot #3306 Las Vegas                                             161.57
                                     NV P00460262587411369 Card 0473
           9/18                      Purchase authorized on 09/18 Walgreens Store 601 S Gre                                                   44.55
                                     Henderson NV P00580262851474250 Card 0473
           9/18                      NV Energy South Npc Pymt 023487491951562 Yousif Halloum                                                 323.34              794.07
           9/21                      Purchase authorized on 09/18 Solutions Specialt Las Vegas NV                                            148.00
                                     S580263012385441 Card 0473
           9/21                      ATM Withdrawal authorized on 09/19 2658 W Horizon Ridge Park                                            300.00
                                     Henderson NV 0000453 ATM ID 1722C Card 0473
           9/21                      Purchase authorized on 09/20 Costco Whse #1320 Henderson NV                                              29.35              316.72
                                     P00580264858345827 Card 0473
           9/24                      Purchase authorized on 09/24 The Home Depot #3306 Las Vegas                                              25.41
                                     NV P00580268628412051 Card 0473
           9/24                      Purchase authorized on 09/24 Costco Whse #0673 Henderson NV                                             129.98              161.33
                                     P00460268675238538 Card 0473
           9/25                     Recurring Payment authorized on 09/24 Apple.Com/Bill                                                        0.99
                                     866-712-7753 CA S580268483961776 Card 0473
           9/25                      Cox Comm Las Bankdraft 092520 476089320303001 lman                                                      339.20             -178.86
                                     Halloum
           9/28                      Edeposit IN Branch/Store 09/28/20 09:36:23 Am 900 N Green                        1,500.00
                                    Valley Pkwy Henderson NV 3819
           9/28                      Purchase authorized on 09/24 Vesta *AT&T Prepa 866-6083007                                               55.06            1,266.08
                                     OR S460269065107237 Card 0473
           9/30                      ATM Cash Deposit on 09/30 900 N Green Valley Parkwa                                500.00
                                     Henderson NV 0008315 ATM ID 5456W Card 0473
           9/30                      Interest Payment                                                                     0.01                                 1,766.09
           Ending balance on 9/30                                                                                                                              1,766.09
           Totals                                                                                                   $3,449.01            $3,658.47
            The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
           transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




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Wells Fargo® Preferred Checking
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:

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mile111.10149MIND                                                                                            1-800-TO-WELLS             (1-800-869-3557)

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                                                                                                            En espanol: 1-877-727-2932




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                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                   P.O. Box 6995
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                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z     Direct Deposit
                                                                                                           Online Bill Pay                Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report       Z     Overdraft Service




Statement period activity summary                                                                          Account number: allinallb
         Beginning balance on 10/1                                                 $1,766.09               YOUSIF H HALLOUM
         Deposits/Additions                                                         3,709.00               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 3,347.44               For Direct Deposit use
         Ending balance on 10/31                                                  $2,127.65                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
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      (825)

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Interest summary
     Interest paid this statement                                     $0.00
     Average collected balance                                      $982.17
     Annual percentage yield earned                                   0.00%
     Interest earned this statement period                            $0.00
     Interest paid this year                                          $0.12




Transaction history

                        Check                                                                      Deposits/   Withdrawals/   Ending daily
     Date              Number Description                                                          Additions   Subtractions       balance
     10/5                           Recurring Payment authorized on 10/04 Apple.Com/Bill                              15.99      1,750.10
                                    866-712-7753 CA S300278389819774 Card 0473
     10/7                           ATM Cash Deposit on 10/07 900 N Green Valley Parkwa              160.00
                                    Henderson NV 0009451 ATM ID 5456W Card 0473
     10/7                           Recurring Payment authorized on 10/06 McAfee.Com Cs26102                         44.99
                                    866-6223911 CA S300280342967466 Card 0473
     10/7                           Bill Pay Caliber Home Loans Recurring xxxxx48517 on 10-07                      1,395.60        469.51
     10/8                           Purchase authorized on 10/07 Rei*Payment Center 800-227-9597                     165.71        303.80
                                    OH S300281356530905 Card 0473
     10/13                          ATM Cash Deposit on 10/12 2658 W Horizon Ridge Park              100.00
                                    Henderson NV 0003017 ATM ID 1722E Card 0473
     10/13                          Non-WF ATM Withdrawal authorized on 10/094178 Koval Lane                        102.50
                                    Las Vegas NV 00460284149279008 ATM ID Cpse0100 Card 0473
     10/13                          Purchase authorized on 10/12 Smart and Final Henderson NV                          9.75
                                    P00000000189326250 Card 0473
     10/13                          Purchase authorized on 10/12 Wholefds Hen 102 100 S Gr                             5.47        286.08
                                    Henderson NV P00380286856388403 Card 0473
     10/14                          Purchase authorized on 10/13 Clark8J*DC Payment                                    1.00
                                    877-687-7870 TX S300287644175495 Card 0473
     10/14                          Purchase authorized on 10/13 Clark8Judcrt*NV E- 702-671-0530                       4.50        280.58
                                    NV S460287644161951 Card 0473
     10/15                          Purchase authorized on 10/13 Clark8Judcrt*NV E- 702-671-0530                       6.50
                                    NV S460288043120768 Card 0473
     10/15                          Purchase authorized on 10/13 Clark8J*DC Payment                                    1.00        273.08
                                    877-687-7870 TX S580288043138070 Card 0473
     10/16                          ATM Cash Deposit on 10/16 900 N Green Valley Parkwa              200.00
                                    Henderson NV 0000766 ATM ID 5456W Card 0473
     10/16                          Cty of Henderson Utilities 0002378317 Yousif H Halloum                          170.50         302.58
     10/19                          Non-WF ATM Balance Inquiry Fee 10/18 4949 N Ranch Las Vegas                       2.00
                                    NV ATM ID Nysfsx01 Card 0473
     10/19                          Purchase authorized on 10/15 Applebees Anth1621 Henderson                        22.10
                                    NV S580289755748324 Card 0473
     10/19                          ATM Withdrawal authorized on 10/18 900 N Green Valley Parkwa                    100.00
                                    Henderson NV 0005366 ATM ID 5456P Card 0473
     10/19                          Non-WE ATM Withdrawal authorized on 10/18 4949 N Rancho                         103.99
                                    Drive Las Vegas NV 00380292700001768 ATM ID Nvsfsx01 Card
                                    0473
     10/19                          Non-Wells Fargo ATM Transaction Fee                                                2.50         71.99
     10/21                          SSA Tress 310 Xxsoc Sec 102120 xxxxx2986A SSA Yousif H         1,449.00
                                    Halloum
     10/21                          Purchase authorized on 10/20 Clark8Judcrt*NV E- 702-671-0530                       1.50
                                    NV S300294620475795 Card 0473
     10/21                          Purchase authorized on 10/20 Clark8J*DC Payment                                    1.00
                                    877-687-7870 TX S380294620497433 Card 0473
     10/21                          Purchase authorized on 10/20 Clark8Judcrt*NV E- 702-671-0530                       1.50
                                    NV S460294629877820 Card 0473
     10/21                          Purchase authorized on 10/20 Clark8J*DC Payment                                    1.00
                                    877-687-7870 TX S300294629883340 Card 0473




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                                                                                                           Questions?
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                                                                                                             TTY: 1-800-877-4833
                                                                                                             En espatiol: 1-877-727-2932




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                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z     Direct Deposit
                                                                                                           Online Bill Pay          Z Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service




Statement period activity summary                                                                          Account number: 111111111111110
         Beginning balance on 11/1                                                 $2,127.65               YOUSIF H HALLOUM
         Deposits/Additions                                                         2,749.01               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 2,753.52               For Direct Deposit use
         Ending balance on 11/30                                                  $2,123.14                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




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Interest summary
     Interest paid this statement                                      $0.01
     Average collected balance                                     $1,066.92
     Annual percentage yield earned                                   0.01%
     Interest earned this statement period                             $0.01
     Interest paid this year                                           $0.13




Transaction history

                        Check                                                                                 Deposits/         Withdrawals/         Ending daily
     Date              Number Description                                                                     Additions         Subtractions             balance
                                    Bill Pay Caliber Home Loans Recurring xxxxx48517 on 11-05                                       1,395.60              732.05
     11/9                           Purchase authorized on 11/07 Rei*Payment Center 800-227-9597                                      165.71
                                    OH S460312375263191 Card 0473
     11/9                           Recurring Payment authorized on 11/08 Apple.Com/Bill                                               15.99              550.35
                                    866-712-7753 CA S460313426491648 Card 0473
     11/10                          Purchase authorized on 11/10 Costco Gas #1320 Henderson NV                                         45.07              505.28
                                    P00380315584870728 Card 0473
     11/16                          Purchase authorized on 11/13 Walgreens #6615 Henderson NV                                          44.55
                                    S460319034801972 Card 0473
     11/16                          Purchase authorized on 11/14 Costco Whse #1320 Henderson NV                                        85.53
                                    P00580319835222724 Card 0473
     11/16                          Cty of Henderson Utilities 0002426881 Yousif H Halloum                                            186.02              189.18
     11/18                          SSA Treas 310 Xxsoc Sec 111820 xxxxx2986A SSA Yousif H                     1,449.00                                 1,638.18
                                    Halloum
     11/23                          Purchase with Cash Back $ 40.00 authorized on 11/21 Smiths Fo                                      52.43
                                    1000 N. Gree Henderson NV P00000000882751003 Card 0473
     11/23                          Purchase authorized on 11/21 Costco Whse #1320 Henderson NV                                       109.95
                                    P00380326829297599 Card 0473
     11/23                          Recurring Payment authorized on 11/22 Vesta *AT&T Prepa                                            55.06
                                    866-608-3007 OR S300327524613253 Card 0473
     11/23                          Purchase with Cash Back $ 40.00 authorized on 11/22 Smiths Fo                                      48.48
                                    1000 N. Gree Henderson NV P00000000670368025 Card 0473
     11/23                          Non-WF ATM Withdrawal authorized on 11/22 4178 Koval Lane                                         202.50            1,169.76
                                    Las Vegas NV 00580328252403385 ATM ID Cpse0101 Card 0473
     11/24                          Purchase authorized on 11/24 Vons #2511 Henderson NV                                              111.59
                                    P00580329828765984 Card 0473
     11/24                          Purchase authorized on 11/24 Costco Gas #1320 Henderson NV                                         41.37
                                    P00300329845579887 Card 0473
     11/24                          Purchase authorized on 11/24 Costco Whse #1320 Henderson NV                                          7.58           1,009.22
                                    P00300329861259910 Card 0473
     11/25                          Recurring Payment authorized on 11/24 Apple.Com/Bill                                                 0.99
                                    866-712-7753 CA S580329520064170 Card 0473
     11/25                          Cox Comm Las Bankdraft 112520 476089320303001 Iman                                                185.10              823.13
                                    Halloum
     11/30                          ATM Cash Deposit on 11/28 900 N Green Valley Parkwa                          800.00
                                    Henderson NV 0006686 ATM ID 5456W Card 0473
     11/30                          ATM Cash Deposit on 11/30 900 N Green Valley Parkwa                          500.00
                                    Henderson NV 0006986 ATM ID 5456W Card 0473
     11/30                          Interest Payment                                                               0.01                                 2,123.14
     Ending balance on 11/30                                                                                                                            2,123.14
     Totals                                                                                                  $2,749.01            $2,753.52
     The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
     transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




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                                                                                                            Questions?
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            —r                                                                                              Telecommunications Relay Services calls accepted
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                                                                                                              TTY: 1-800-877-4833
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                                                                                                            questions or if you would like to add new services.

                                                                                                            Online Banking           Z Direct Deposit
                                                                                                            Online Bill Pay          Z     Auto Transfer/Payment
                                                                                                            Online Statements              Overdraft Protection
                                                                                                            Mobile Banking           •     Debit Card
                                                                                                            My Spending Report       •     Overdraft Service



 Statement period activity summary                                                                          Account number: all111.
          Beginning balance on 12/1                                                 $2,123.14               YOUSIF H HALLOUM
          Deposits/Additions                                                         3,549.01               Nevada account terms and conditions apply
          Withdrawals/Subtractions                                                 - 3,660.23               For Direct Deposit use
          Ending balance on 12/31                                                  $2,011.92                Routing Number (RTN): 321270742



 Overdraft Protection
 This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
 please call the number listed on your statement or visit your Wells Fargo branch.




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Interest summary
     Interest paid this statement                                     $0.01
     Average collected balance                                    $1,171.40
     Annual percentage yield earned                                   0.01%
     Interest earned this statement period                            $0.01
     Interest paid this year                                          $0.14




Transaction history

                        Check                                                                      Deposits/   Withdrawals/    Ending daily
     Date              Number Description                                                          Additions    Subtractions       balance
     12/3                           Non-WE ATM Balance Inquiry Fee 12/02 11011 W Char Las Vegas                         2.00
                                    NV ATM ID Nvrrsx24 Card 0473
     12/3                           Non-WE ATM Withdrawal authorized on 12/02 11011 W                                204.99       1,916.15
                                    Charleston Blvd Las Vegas NV 00580338090639850 ATM ID
                                    Nvrrsx24 Card 0473
                                    Bill Pay Caliber Home Loans Recurring xxxxx48517 on 12-07                      1,395.60         520.55
     12/8                           Purchase authorized on 12/07 Rei*Payment Center 800-227-9597                     165.71         354.84
                                    OH S580342600220565 Card 0473
     12/9                           Recurring Payment authorized on 12/08 Apple.Com/Bill                              15.99         338.85
                                    866-712-7753 CA S460343426297152 Card 0473
     12/10                          Recurring Payment authorized on 12/09 Cloudconvert Grunwald                        8.00         330.85
                                    Deu S380345043962943 Card 0473
     12/16                          SSA Treas 310 Xxsoc Sec 121620 xxxxx2986A SSA Yousif H         1,449.00
                                    Halloum
     12/16                          Cty of Henderson Utilities 0002471955 Yousif H Halloum                           117.55       1,662.30
     12/17                          Purchase authorized on 12/17 Vons #2511 Henderson NV                             229.24
                                    P00300352699347348 Card 0473
     12/17                          Purchase authorized on 12/17 Smiths Fo 1000 N. Gree                               23.84
                                    Henderson NV P00000000931089353 Card 0473
     12/17                          Purchase authorized on 12/17 Smiths Food #434 1000 N.                              2.49       1,406.73
                                    Henderson NV P00300352837793590 Card 0473
     12/18                          Purchase authorized on 12/18 Costco Whse #1320 Henderson NV                       44.71       1,362.02
                                    P00300354033677349 Card 0473
     12/21                          Non-WF ATM Withdrawal authorized on 12/19 4178 Koval Lane                        302.50
                                    Las Vegas NV 00300355232832320 ATM ID Cpse0100 Card 0473
     12/21                          Non-Wells Fargo ATM Transaction Fee                                                2.50       1,057.02
     12/23                          Recurring Payment authorized on 12/22 Vesta *AT&T Prepa                           55.06       1,001.96
                                    866-608-3007 OR S300357516858757 Card 0473
     12/24                          Purchase authorized on 12/24 Walgreens Store 601 S Gre                            44.55
                                    Henderson NV P00300359664553466 Card 0473
     12/24                          Purchase authorized on 12/24 Smiths Food #4341000 N.                              11.27         946.14
                                    Henderson NV P00300359735186682 Card 0473
     12/28                          ATM Cash Deposit on 12/28 900 N Green Valley Parkwa            1,000.00
                                    Henderson NV 0000840 ATM ID 5456W Card 0473
     12/28                          ATM Cash Deposit on 12/28 Green Valley & Horizon Henderson       800.00
                                    NV 0002155 ATM ID 9909Y Card 0473
     12/28                          Recurring Payment authorized on 12/24 Apple.Com/Bill                               0.99
                                    866-712-7753 CA S380359521110516 Card 0473
     12/28                          Non-WF ATM Withdrawal authorized on 12/24 4178 Koval Lane                        202.50
                                    Las Vegas NV 00580360158294897 ATM ID Cpse0100 Card 0473
     12/28                          Non-Wells Fargo ATM Transaction Fee                                                2.50
     12/28                          Non-WF ATM Withdrawal authorized on 12/25 4178 Koval Lane                        302.50
                                    Las Vegas NV 00300361262315412 ATM ID Cpse0100 Card 0473
     12/28                          Non-Wells Fargo ATM Transaction Fee                                                2.50
     12/28                          Non-WE ATM Withdrawal authorized on 12/27 4178 Koval Lane                        302.50
                                    Las Vegas NV 00300363093676407 ATM ID Cpse0100 Card 0473
     12/28                          Non-Wells Fargo ATM Transaction Fee                                                2.50
     12/28                          Cox Comm Las Bankdraft 122520 476089320303001 'man                               218.24       1,711.91
                                    Halloum




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                                                  EXHIBIT "J"




BANK STATEMENTS OF PAYMENT HISTORY AFTER THE
        APPROVAL OF THE LOAN MODIFICATION
                         January 1, 2021




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                                                                                                            En espatiol: 1-877-727-2932



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                                                                                                                  Portland, OR 97228-6995




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                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z     Direct Deposit
                                                                                                           Online Bill Pay          Z Auto Transfer/Payment
                                                                                                           Online Statements              Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Statement period activity summary                                                                          Account number: 111.111.10
         Beginning balance on 1/1                                                  $2,011.92               YOUSIF H HALLOUM
         Deposits/Additions                                                         3,566.01               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 3,038.73               For Direct Deposit use
         Ending balance on 1/31                                                   $2,539.20                Routing Number (RTN): 321270742



Overdraft Protection
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      (825)

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Interest summary
     Interest paid this statement                                  $0.01
     Average collected balance                                 $1,453.34
     Annual percentage yield earned                               0.01%
     Interest earned this statement period                         $0.01
     Interest paid this year                                       $0.01
     Total interest paid in 2020                                   $0.14




Transaction history

                        Check                                                                  Deposits/   Withdrawals/   Ending daily
     Date              Number Description                                                      Additions   Subtractions       balance
     1/4                      IRS Treas 310 Xxtaxeip2 010421 xxxxxxxxxx00989 Halloum,            600.00
                               Yousif
     1/4                       Purchase authorized on 01/02 Costco Gas #1320 Henderson NV                         48.36
                               PO0461002834234631 Card 0473
     1/4                       Purchase authorized on 01/02 Costco Whse #1320 Henderson NV                      180.15
                               P00381003001216649 Card 0473
     1/4                       Purchase authorized on 01/03 Smiths Fo 1000 N. Gree                                27.17       2,356.24
                               Henderson NV P00000000439746244 Card 0473
     1/5                      Recurring Payment authorized on 01/04 Apple.Com/Bill                                15.99
                               866-712-7753 CA S301004426179587 Card 0473
     1/5                       Purchase authorized on 01/04 Solutions Specialt Las Vegas NV                     169.00
                               S381004860464556 Card 0473
     1/5                       Bill Pay Caliber Home Loans Recurring xxxxx48517 on 01-05                       1,395.60        775.65
     1/8                       Purchase authorized on 01/08 Costco Whse #1320 Henderson NV                       102.96        672.69
                               P00381008745606540 Card 0473
                               ATM Cash Deposit on 01/10 10010 S. Eastern Ave Henderson NV       500.00
                               0009984 ATM ID 5456Y Card 0473
                               Recurring Payment authorized on 01/09 Cloudconvert Grunwald                         8.00
                               Deu S381010080444552 Card 0473
                               Purchase authorized on 01/10 Target T- 9725 S Easte Las Vegas                      21.66
                               NV P00000000737022991 Card 0473
                               Purchase authorized on 01/10 Target T- 9725 S Easte Las Vegas                      11.65
                               NV P00000000773813320 Card 0473
                               Purchase authorized on 01/10 Costco Gas #1320 Henderson NV                         45.30
                               P00381011015266635 Card 0473
     1/11                      Purchase authorized on 01/11 Target T- 8750 W Charl Las Vegas                      33.92       1,052.16
                               NV P00000000487148638 Card 0473
     1/14                      Cty of Henderson Utilities 0002500232 Yousif H Halloum                            103.97        948.19
     1/15                      Purchase authorized on 01/14 University Compoun                                   217.95
                               800-985-8065 CA S581014617125593 Card 0473
     1/15                      Purchase authorized on 01/15 Costco Gas #1320 Henderson NV                         48.76
                               P00381015823432750 Card 0473
     1/15                      Purchase authorized on 01/15 Costco Whse #1320 Henderson NV                        48.54        632.94
                               P00461015844638640 Card 0473
     1/19                      Purchase authorized on 01/18 Target T- 695 S Green Henderson                       93.12        539.82
                               NV P00000000374185998 Card 0473
     1/20                      SSA Treas 310 Xxsoc Sec 012021 xxxxx2986A SSA Yousif H          1,466.00
                               Halloum
     1/20                      Purchase authorized on 01/20 Costco Gas #1320 Henderson NV                         45.99       1,959.83
                               P00581021045821901 Card 0473
     1/22                      Recurring Payment authorized on 01/21 Vesta *AT&T Prepa                            55.06
                               866-608-3007 OR S301021497500210 Card 0473
     1/22                      Purchase authorized on 01/21 Target T- 9725 S Easte Las Vegas                      22.63       1,882.14
                               NV P00000000533290120 Card 0473
     1/25                      Purchase authorized on 01/20 Apple Cash 877-233-8552 CA                            30.00
                               S301021265315713 Card 0473




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                                            EXHIBIT "K"




 Two (2) Mortgage payments were made in error to Caliber Home
Loans Under "Payment History Details" for a total of $2791.20 and
    was transferred to Fay Servicing by Caliber Home Loans




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                                              Payment History Details

Loan Number: 9804248517
From Date: 11/01/2020
To Date: 03/25/2021



  Trans    Trans Eft Trans                                                               Atnt To        ._            t To
           .,                  Ttans Name     Trans      Amt To    Amt to     Amt TO '            -        Q                  Prm 13a1 After
 : Date              Code                       pit       ' Prin   1,1ter                 Late                :". n plied
                                                                              Escro,           -.     e                          Trans
                                                                                    -   _ChaOge                    1.11145
01/18/202101/20/2021    FWV   Fee Waived     $(750.00)     $0.00     $0.00        $0.00      $0.00 $(750.00)             $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived     $(181.00)     $0.00     $0.00        $0.00      $0.00, $(181.00)            $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived      $(28.60)     $0.00     $0.00        $0.00      $0.00 $(28.60)              $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived      $(15.00)     $0.00     $0.00        $0.00      $0.00 $(15.00)              $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived     $(600.00)     $0.00     $0.00        $0.00      $0.00 $(600.00)             $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived      $(15.00)     $0.00     $0.00        $0.00      $0.00 $(15.00)              $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived      $(15.00)     $0.00     $0.00        $0.00      $0.00 $(15.00)              $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived       $(4.50)     $0.00     $0.00        $0.00      $0.00    $(4.50)            $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived      $(60.00)     $0.00     $0.00        $0.00      $0.00 $(60.00)              $0.00 $226,308.04
01/18/202101/20/2021    FWV   Fee Waived       $(4.50)     $0.00     $0.00        $0.00      $0.00    $(4.50)            $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived      $(60.00)     $0.00     $0.00        $0.00      $0.00 $(60.00)              $0.00 $226,308.04
01/18/2021 01/20/2021   FWV   Fee Waived     $(118.50)     $0.00     $0.00        $0.00      $0.00 $(118.501             $0.00 $226,308.04
                              Amount to
01/18/2021 01/20/2021   UFU                     $0.00      $0.00      $0.00       $0.00      $0.00      $0.00       $(2,791.20) fe$226-,308.04
                              Unapplied
01/06/202101/06/2021    SRA   Cash Receipt   $1,395.60     $0.00      $0.00       $0.00       $0.00     $0.00            $0.00    $226,308.04
01/06/2021 01/06/2021 UFU     Amount to
                                                 $0.00     $0.00      $0.00       $0.00       $0.00     $0.00 .--/: $1,395.60     $226,308.04
                              Unapplied                                                                        . .
12/30/2020 12/30/2020 FVVV    Fee Waived       $(4.50)     $0.00      $0.00       $0.00       $0.00    $(4.50) ./:1\    $0.00     $226,308.04
                              Tax                                                                                II
12/18/202012/17/2020    E90                  $(603.76)     $0.00      $0.00   $(603.76)       $0.00     $0.00           $0.00     $226,308.04
                              Disbursement
12/08/2020 12/08/2020   SRA   Cash Receipt   $1,395.60     $0.00      $0.00       $0.00       $0.00     $0.00            $0.00    $226,308.04
                              Amount to
12/08/202012/08/2020    UFU                      $0.00     $0.00      $0.00       $0.00       $0.00     $0.00       - $1,395.60   $226,308.04
                              Unapplied                                                                       ,
11124/202011/24/2020    FB    Fee Billed         $4.50   $0.00        $0.00       $0.00       $0.00     $4.50 A          $0.00    $226,308.04
11/06/202011106/2020    AP    Payment        $1,395.60 $225.68      $802.31     $367.61       $0.00     $0.00 11*        $0.00    $226,308.04




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                                                               410 of 457
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                                     EXHIBIT "L"




           Mortgage Payments Made to Fay Servicing
                    02/1/2021 — 12/31/2021




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                                                                                                                                             411 of 457
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                                                                                                           Questions?
YOUSIF H HALLOUM                                                                                           Available by phone 24 hours a day, 7 days a week:
afgalIMMIMMM                                                                                               We accept all relay calls, including 711
                                                                                                             1-800-TO-WELLS             (1-800-869-3557)
                                                                                                            En espatiol: 1-877-727-2932



                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (825)
                                                                                                                  P.O. Box 6995
                                                                                                                  Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wells fargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           Z Direct Deposit
                                                                                                           Online Bill Pay          Z     Auto Transfer/Payment
                                                                                                           Online Statements        Z Overdraft Protection
                                                                                                           Mobile Banking                 Debit Card
                                                                                                           My Spending Report             Overdraft Service



Statement period activity summary                                                                          Account number: 0.1111111.
         Beginning balance on 2/1                                                  $2,539.20               YOUSIF H HALLOUM
         Deposits/Additions                                                         1,550.01               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                 - 3,711.92               For Direct Deposit use
         Ending balance on 2/28                                                     $377.29                Routing Number (RTN): 321270742



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (825)

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     Interest summary
              Interest paid this statement                                 $0.01
              Average collected balance                                 $913.16
              Annual percentage yield earned                              0.01%
              Interest earned this statement period                        $0.01
              Interest paid this year                                      $0.02
              Total interest paid in 2020                                  $0.14




     Transaction history

                                 Check                                                                   Deposits/   Withdrawals/    Ending daily
               Date             Number Description                                                       Additions    Subtractions       balance
.._...„.......›E/3                     Bill Pay Fay Servicing LLC Recurring x73410 on 02-03                              1,395.60       1,143.60
                2/5               8124 Check                                                                               426.31         717.29
                2/9                     Recurring Payment authorized on 02/08 Apple.Com/Bill                                15.99         701.30
                                        866-712-7753 CA S461039426304828 Card 0473
              2/10                      Recurring Payment authorized on 02/09 Cloudconvert Grunwald                          8.00         693.30
                                        Deu S381041080460144 Card 0473
              2/11                      Non-WF ATM Balance Inquiry Fee 02/11 4949 N Ranch Las Vegas                          2.00
                                        NV ATM ID Nvsfsx08 Card 0473
              2/11                      Purchase authorized on 02/09 Apple Cash 877-233-8552 CA                             20.00
                                        S461040843531543 Card 0473
              2/11                      Non-WF ATM Withdrawal authorized on 02/11 4949 N Rancho                            303.99         367.31
                                        Drive Las Vegas NV 00301042517129492 ATM ID Nvsfsx08 Card
                                        0473
              2/16                      ATM Cash Deposit on 02/13 10010 S. Eastern Ave Henderson NV        100.00
                                        0001891 ATM ID 5456Y Card 0473
              2/16                      Purchase authorized on 02/13 Apple Cash 877-233-8552 CA                             30.00
                                        S381045027592999 Card 0473
              2/16                      Recurring Payment authorized on 02/14 Cloudconvert Grunwald                          8.00         429.31
                                        Deu S381045780416000 Card 0473
              2/17                      SSA Tress 310 Xxsoc Sec 021721 xxxxx2986A SSA Yousif H           1,450.00                       1,879.31
                                        Halloum
              2/18                      Cty of Henderson Utilities 0002532279 Yousif H Halloum                              88.33       1,790.98
              2/19                      Non-WF ATM Withdrawal authorized on 02/19 9777 S Las Vegas                         503.50
                                        B Las Vegas NV 00581050337945289 ATM ID Cpss3020 Card 0473
              2/19                      Non-Wells Fargo ATM Transaction Fee                                                  2.50       1,284.98
              2/22                      Recurring Payment authorized on 02/20 Vesta *AT&T Prepa                             55.06       1,229.92
                                        866-608-3007 OR S461051488677506 Card 0473
              2/23                      Non-WF ATM Balance Inquiry Fee 02/22 3333 Blue Di Las Vegas                          2.00
                                        NV ATM ID Nvshcx09 Card 0473
              2/23                      Non-WF ATM Withdrawal authorized on 02/22 3333 Blue                                505.00
                                        Diamond Rd Las Vegas NV 00301054233940006 ATM ID
                                        Nvshcx09 Card 0473
              2/23                      Non-Wells Fargo ATM Transaction Fee                                                  2.50         720.42
              2/24                      Purchase authorized on 02/24 Costco Gas #1320 Henderson NV                          50.03
                                        P00381055778588191 Card 0473
              2/24                      Purchase authorized on 02/24 Costco Whse #1320 Henderson NV                         27.38         643.01
                                        P00461055794852459 Card 0473
              2/25                      Recurring Payment authorized on 02/24 Apple.Com/Bill                                  0.99
                                        866-712-7753 CA S381055520410664 Card 0473
              2/25                      Purchase authorized on 02/24 Kaiser Direct Pay 800-464-4000 CA                      16.00
                                        S381055810066560 Card 0473
              2/25                      Cox Comm Las Bankdraft 022521 476089320303001 !man                                 203.03         422.99
                                        Halloum




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                                                                                                                                   413 of 457
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                                                                                                  Questions?
YOUSIF H HALLOUM                                                                                  Available by phone 24 hours a day, 7 days a week:
                                                                                                  We accept all relay calls, including 711
inummesimmillia
                                                                                                   1-800-TO-WELLS (1-800-869-3557)
                                                                                                   En °spatial: 1-877-727-2932



                                                                                                  Online: wellsfargo.com

                                                                                                  Write: Wells Fargo Bank, N.A. (825)
                                                                                                         P.O. Box 6995
                                                                                                         Portland, OR 97228-6995




 You and Wells Fargo                                                                              Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wellsfargo.com or call the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                  Online Banking          Z Direct Deposit              a
                                                                                                  Online Bill Pay         Z     Auto Transfer/Payment   a
                                                                                                  Online Statements             Overdraft Protection
                                                                                                  Mobile Banking                Debit Card
                                                                                                  My Spending Report            Overdraft Service




II IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
hearing customers and customers with speech disorders.



Statement period activity summary                                                                 Account number: 4111111M
         Beginning balance on 3/1                                                 $377.29         YOUSIF H HALLOUM
         Deposits/Additions                                                       5,150.00        Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 3,284.28           For Direct Deposit use
         Ending balance on 3/31                                              $2,243.01            Routing Number (RTN): 321270742




      (825)

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                                                                                                                                             414 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.00
       Average collected balance                                        $725.19
       Annual percentage yield earned                                     0.00%
       Interest earned this statement period                               $0.00
       Interest paid this year                                             $0.02
       Total interest paid in 2020                                         $0.14




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
        Date             Number Description                                                                         Additions          Subtractions             balance
        3/1                      Edeposit IN Branch/Store 02/27/21 10:05:33 Am 10010 S Eastern                       1,000.00
                                 Ave Henderson NV 0473
        3/1                      ATM Cash Deposit on 02/28 2658W Horizon Ridge Park                                    700.00                                   2,077.29
                                 Henderson NV 0004874 ATM ID 1722C Card 0473
        3/2                      Purchase authorized on 03/01 Rei*Payment Center 800-227-9597                                                165.71             1,911.58
                                 OH S301060546015152 Card 0473
        3/3                      Bill Pay Fay Servicing LLC Recurring x73410 on 03-03                                                      1,395.60              515.98
        3/4                      Purchase authorized on 03/04 Smiths Fo 1000 N. Gree                                                          42.25              473.73
                                 Henderson NV P00000000076206168 Card 0473
        3/5                      Recurring Payment authorized on 03/04 Apple.Com/Bill                                                         15.99              457.74
                                 866-712-7753 CA S581063427245303 Card 0473
        3/8                      Purchase authorized on 03/07 Lexisnexis Payment 800-227-9597                                                165.71
                                 OH S301066393357172 Card 0473
        3/8                      Purchase authorized on 03/08 Target T- 695 S Green Henderson                                                 29.10              262.93
                                 NV P00000000585567758 Card 0473
        3/10                     Purchase authorized on 03/08 Apple Cash 877-233-8552 CA                                                        1.00
                                 S301068108857499 Card 0473
        3/10                     Purchase authorized on 03/08 Apple Cash 877-233-8552 CA                                                        1.00             260.93
                                 S381068111741457 Card 0473
        3/15                     Purchase authorized on 03/12 Lexisnexis Payment 800-227-9597                                                165.71
                                 OH S581071711219543 Card 0473
        3/15                     Recurring Payment authorized on 03/14 Cloudconvert Grunwald                                                    8.00
                                 Deu S381073817393775 Card 0473
        3/15                     Purchase authorized on 03/15 Costco Whse #1320 Henderson NV                                                   21.46               65.76
                                 P00381074813019098 Card 0473
        3/17                     SSA Tress 310 Xxsoc Sec 031721 xxxxx2986A SSA Yousif H                               1,450.00
                                 Halloum
        3/17                     Purchase with Cash Back $ 40.00 authorized on 03/17 Target T-                                                 64.84
                                 9725 S Easte Las Vegas NV P00000000736889979 Card 0473
        3/17                     Cty of Henderson Utilities 0002561269 Yousif H Halloum                                                        97.98            1,352.94
        3/18                     Non-WE ATM Balance Inquiry Fee 03/18 4111 Boulder Las Vegas                                                    2.00
                                 NV ATM ID NvIdoux32 Card 0473
        3/18                     Non-WE ATM Balance Inquiry Fee 03/184111 Boulder Las Vegas                                                     2.00
                                 NV ATM ID Nyboux25 Card 0473
        3/18                     ATM Withdrawal authorized on 03/18 900 N Green Valley Parkwa                                                100.00
                                 Henderson NV 0002304 ATM ID 5456W Card 0473
        3/18                     Purchase authorized on 03/18 The Home Depot #3306 Las Vegas                                                   82.30
                                 NV P00301077800674952 Card 0473
        3/18                     Purchase authorized on 03/18 Target T- 9725 S Easte Las Vegas                                                 23.82            1,142.82
                                 NV P00000000671106767 Card 0473
        3/19               8121 Check                                                                                                        426.31               716.51




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                                                                                                   Questions?

YOUSIF H HALLOUM                                                                                   Available by phone 24 hours a day, 7 days a week:
                                                                                                   We accept all relay calls, including 711
                                                                                                    1-800-TO-WELLS               (1-800-869-3557)
MMIIIIMPOPINIMMINE
                                                                                                    En espatiol: 1-877-727-2932



                                                                                                   Online: wellsfargo.com

                                                                                                   Write: Wells Fargo Bank, N.A. (825)
                                                                                                          P.O. Box 6995
                                                                                                          Portland, OR 97228-6995




 You and Wells Fargo                                                                               Account options
  Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
  company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                   wellsfargo.com or call the number above if you have
                                                                                                   questions or if you would like to add new services.

                                                                                                   Online Banking          111    Direct Deposit
                                                                                                   Online Bill Pay                Auto Transfer/Payment
                                                                                                   Online Statements              Overdraft Protection
                                                                                                   Mobile Banking                 Debit Card
                                                                                                   My Spending Report             Overdraft Service




 El      IMPORTANT ACCOUNT INFORMATION

 The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
 800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
 any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
 hearing customers and customers with speech disorders.



 Statement period activity summary                                                                 Account number: .1111111=
          Beginning balance on 4/1                                            $2,243.01            YOUSIF H HALLOUM
          Deposits/Additions                                                       3,250.01        Nevada account terms and conditions apply
          Withdrawals/Subtractions                                            - 3,679.50           For Direct Deposit use
          Ending balance on 4/30                                              $1,813.52            Routing Number (RTN): 321270742




       (825)

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                                                                                                                                             416 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.01
       Average collected balance                                        $770.41
       Annual percentage yield earned                                     0.02%
       Interest earned this statement period                               $0.01
       Interest paid this year                                             $0.03




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       4/1                       Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                                                     30.00
                                 S581090048361915 Card 0473
       4/1                       Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                                                       1.00
                                 S381090135751442 Card 0473
       4/1                       Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                                                      30.00
                                 S301090197052921 Card 0473
       4/1                       Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                                                       1.00             2,181.01
                                 S461090200408847 Card 0473
       4/2                       Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                                                      50.00
                                 S301090233777919 Card 0473
        4/2                      Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                                                      50.00
                                 S581090234134246 Card 0473
        4/2                      Purchase authorized on 03/30 Apple Cash 877-233-8552 CA                                                      50.00             2,031.01
                                 S581090234784695 Card 0473
        4/5                      Bill Pay Fay Servicing LLC Recurring x73410 on 04-05                                                      1,395.60              635.41
        4/7                      Purchase authorized on 04/06 Costco Gas #1320 Henderson NV                                                   60.23
                                 P00581097041303703 Card 0473
        4/7                      Non-WE ATM Withdrawal authorized on 04/06 2300 Paseo Verde                                                  104.99              470.19
                                 Parkwa Henderson NV 00581097159234867 ATM ID Nvgvrx03
                                 Card 0473
        4/8                      Purchase authorized on 04/06 Apple Cash 877-233-8552 CA                                                        1.00             469.19
                                 S381097082591376 Card 0473
        4/9                      Purchase authorized on 04/07 Lexisnexis Payment 800-227-9597                                                165.71
                                 OH S301097342516719 Card 0473
        4/9                      Purchase authorized on 04/07 Las Parking 900109 Las Vegas NV                                                 14.00
                                 S461097595266609 Card 0473
        4/9                      Recurring Payment authorized on 04/08 Apple.Com/Bill                                                         15.99
                                 866-712-7753 CA S301098389947184 Card 0473
        4/9                      Purchase authorized on 04/09 Smiths Food #434 1000 N.                                                        10.46              263.03
                                 Henderson NV P00381099740525243 Card 0473
        4/12                     Purchase authorized on 04/11 Costco Whse #1320 Henderson NV                                                  11.28              251.75
                                 P00461101679025006 Card 0473
        4/14                     Purchase authorized on 04/14 Smiths Fo 1000 N. Gree                                                          18.45
                                 Henderson NV P00000000373937117 Card 0473
        4/14                     Cty of Henderson Utilities 0002590945 Yousif H Halloum                                                       77.88              155.42
        4/15                     Purchase authorized on 04/13 Apple Cash 877-233-8552 CA                                                       1.00
                                 S381103854774250 Card 0473
        4/15                     Purchase authorized on 04/14 FD *CA Dmv 582 Barstow CA                                                       38.00
                                 S461104655846186 Card 0473
        4/15                     Purchase authorized on 04/14 FD *CA Dmv 582 *Sv                                                                0.88
                                 800-777-0133 CA S581104655890528 Card 0473




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                                                                                                  Questions?
YOUSIF H HALLOUM                                                                                  Available by phone 24 hours a day, 7 days a week:
                                                                                                  We accept all relay calls, including 711
                                                                                                   1-800-TO-WELLS (1-800-869-3557)
                                                                                                   En espanot 1-877-727-2932



                                                                                                  Online: wellsfargo.com

                                                                                                  Write: Wells Fargo Bank, N.A. (825)
                                                                                                         P.O. Box 6995
                                                                                                         Portland, OR 97228-6995




 You and Wells Fargo                                                                              Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wellsfargo.com or cal/ the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                  Online Banking          Z     Direct Deposit
                                                                                                  Online Bill Pay         Z Auto Transfer/Payment Z
                                                                                                  Online Statements             Overdraft Protection
                                                                                                  Mobile Banking          Z     Debit Card
                                                                                                  My Spending Report            Overdraft Service




        IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
hearing customers and customers with speech disorders.



Statement period activity summary                                                                 Account number: all.11111.
         Beginning balance on 5/1                                            $1,813.52            YOUSIF H HALLOUM
         Deposits/Additions                                                       4,650.01        Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 3,225.19           For Direct Deposit use
         Ending balance on 5/31                                              $3,238.34            Routing Number (RTN): 321270742




      (825)

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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.01
       Average collected balance                                        $942.90
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.01
       Interest paid this year                                             $0.04




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
        Date             Number Description                                                                         Additions         Subtractions              balance
        5/3                     ATM Withdrawal authorized on 05/02 900 N Green Valley Parkwa                                                100.00             1,713.52
                                 Henderson NV 0008563 ATM ID 5456P Card 0473
        5/4                     Bill Pay Fay Servicing LLC Recurring x73410 on 05-04                                                       1,395.60              317.92
        5/6                     Recurring Payment authorized on 05/04 Apple.Com/Bill                                                          15.99              301.93
                                 866-712-7753 CA S301124389951691 Card 0473
        5/12                     Purchase authorized on 05/12 Smiths Fo 10616 E. Eas Henderson                                                45.18
                                 NV P00000000030897434 Card 0473
        5/12                     ATM Withdrawal authorized on 05/12 900 N Green Valley Parkwa                                                100.00              156.75
                                 Henderson NV 0001561 ATM ID 5456P Card 0473
        5/14                     Purchase authorized on 05/14 Vons #2511 Henderson NV                                                         13.01              143.74
                                 P00461135029966453 Card 0473
        5/17                     Recurring Payment authorized on 05/14 Cloudconvert Grunwald                                                    8.00
                                 Deu S381134817005378 Card 0473
        5/17                     Purchase authorized on 05/15 Costco Gas #1320 Henderson NV                                                   31.31
                                 P00581135768423376 Card 0473
        5/17                     Cty of Henderson Utilities 0002621680 Yousif H Halloum                                                       95.14                 9.29
        5/19                     SSA Treas 310 Xxsoc Sec 051921 xxxxx2986A SSA Yousif H                              1,450.00
                                 Halloum
        5/19                     Purchase authorized on 05/19 Costco Gas #1320 Henderson NV                                                   60.71
                                 P00461139613595505 Card 0473
        5/19                     Purchase authorized on 05/19 Costco Whse #1320 Henderson NV                                                   88.13            1,310.45
                                 P00581139633988092 Card 0473
        5/20                     Purchase authorized on 05/20 Smiths Fo 1000 N. Gree                                                          15.16             1,295.29
                                 Henderson NV P00000000980220000 Card 0473
        5/21                     Purchase authorized on 05/19 Omega #680 Las Vegas NV                                                          32.51
                                 S301139785495735 Card 0473
        5/21                     Purchase authorized on 05/20 Clark Cty Recorder Las Vegas NV                                                  64.49
                                 S381140659888973 Card 0473
        5/21                     Purchase with Cash Back $ 50.00 authorized on 05/21 The Home                                                  61.90
                                 Depot #3306 Las Vegas NV P00381141538101516 Card 0473
        5/21                     Purchase with Cash Back $ 50.00 authorized on 05/21 Smart and                                                 62.99
                                 Final Henderson NV P00000000085367905 Card 0473
        5/21                     Purchase authorized on 05/21 WM Superc Wal-Mart Sup Las                                                       10.70
                                 Vegas NV P00000000484203112 Card 0473
        5/21                     Purchase authorized on 05/21 The Home Depot #3306 Las Vegas                                                   33.47            1,029.23
                                 NV P00461141860378529 Card 0473
        5/24                     ATM Cash Deposit on 05/23 Green Valley & Horizon Henderson                            200.00
                                 NV 0003735 ATM ID 9909Y Card 0473
        5/24                     Recurring Payment authorized on 05/21 Vesta *AT&T Prepa                                                       55.06
                                 866-6083007 OR S301141424902671 Card 0473




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                                                                                                    Questions?

  YOUSIF H HALLOUM                                                                                  Available by phone 24 hours a day, 7 days a week:
                                                                                                    We accept all relay calls, including 711
0/111111MINIMMIlla                                                                                   1-800-TO-WELLS (1-800-869-3557)
111110111
                                                                                                     En espahol: 1-877-727-2932



                                                                                                    Online: wellsfargo.com

                                                                                                    Write: Wells Fargo Bank, N.A. (825)
                                                                                                           P.O. Box 6995
                                                                                                           Portland, OR 97228-6995




    You and Wells Fargo                                                                             Account options
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    company and look forward to continuing to serve you with your financial needs.                  convenient services with your account(s). Go to
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                                                                                                    questions or if you would like to add new services.

                                                                                                    Online Banking          ▪     Direct Deposit
                                                                                                    Online Bill Pay         Z Auto Transfer/Payment
                                                                                                    Online Statements       •     Overdraft Protection
                                                                                                    Mobile Banking          •     Debit Card
                                                                                                    My Spending Report      •     Overdraft Service




  151 IMPORTANT ACCOUNT INFORMATION

  The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
  800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
  any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of
  hearing customers and customers with speech disorders.



  Statement period activity summary                                                                 Account number: 1101111.11111

               Beginning balance on 6/1                                         $3,238.34           YOUSIF H HALLOUM
               Deposits/Additions                                                    3,547.41       Nevada account terms and conditions apply
               Withdrawals/Subtractions                                         - 4,071.52          For Direct Deposit use
               Ending balance on 6/30                                           $2,714.23           Routing Number (RTN): 321270742




            (825)

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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.02
        Average collected balance                                      $2,574.77
        Annual percentage yield earned                                    0.01%
        Interest earned this statement period                              $0.02
        Interest paid this year                                            $0.06




Transaction history

                           Check                                                                                    Deposits/         Withdrawals/          Ending daily
        Date              Number Description                                                                        Additions          Subtractions             balance
        6/1                       ATM Cash Deposit on 05/30 2531 Anthem Village Dr Henderson                          400.00
                                  NV 0004392 ATM ID 8481N Card 0473
        6/1                       Edeposit IN Branch/Store 06/01/21 11:52:17 Am 10010 S Eastern                        101.79
                                  Ave Henderson NV 0473
        6/1                       Purchase authorized on 05/28 Pacer800-676-68561 800-676-6856                                               242.90
                                  TX S301148599283757 Card 0473
        6/1                       Recurring Payment authorized on 05/29 Apple.Com/Bill                                                          0.99
                                  408-974-1010 CA S461149753582034 Card 0473
        6/1                       Purchase authorized on 05/30 Apple Cash 877-233-8552 CA                                                       1.00
                                  S461150837388525 Card 0473
        6/1                       Purchase authorized on 06/01 Vons #2511 Henderson NV                                                       203.04             3,292.20
                                  P00301152617194016 Card 0473                                                                                                        _.,Re,4
        6/3                       Bill Pay Payment Return on 06-03                                                   1,395.60
„BO/ 3                            Bill Pay Fay Servicing LLC Recurring x73410 on 06-03                                                     1,395.60             3,292.20
                                  Bill Pay Fay Servicin9 LLC Mobile x73410 on 06-04                                                        1,395.60             1,896.60
        6/7                       Recurring Payment authorized on 06/04 Apple.Com/Bill                                                        15.99             1,880.61
                                  866-712-7753 CA S301155389861617 Card 0473
        6/15                      Recurring Payment authorized on 06/14 Cloudconvert Grunwald                                                   8.00            1,872.61
                                  Deu S381165817020946 Card 0473
        6/16                      SSA Tress 310 Xxsoc Sec 061621 xxxxx2986A SSA Yousif H                             1,450.00
                                  Halloum
        6/16                      Cty of Henderson Utilities 0002652914 Yousif H Halloum                                                       83.10            3,239.51
        6/18                      ATM Cash Deposit on 06/18 900 N Green Valley Parkwa                                  200.00                                   3,439.51
                                  Henderson NV 0006316 ATM ID 5456W Card 0473
        6/21                      Purchase authorized on 06/17 Apple Cash 877-233-8552 CA                                                      50.00
                                  S581169139382692 Card 0473
        6/21                      Purchase authorized on 06/17 Apple Cash 877-233-8552 CA                                                      50.00
                                  S381169143809847 Card 0473
        6/21                      Recurring Payment authorized on 06/20 Vesta *AT&T Prepa                                                      55.06
                                  866-608-3007 OR S581171470267480 Card 0473
        6/21                      Inspiration at G Assoc Pmt 210621 246282 Yousif H Halloum                                                   314.00            2,970.45
        6/23                      Purchase authorized on 06/23 Costco Gas #1320 Henderson NV                                                   55.12            2,915.33
                                  P00461174652156617 Card 0473
        6/25                      Cox Comm Las Bankdraft 062521 476089320303001 'man                                                          199.13            2,716.20
                                  Halloum
        6/28                      Recurring Payment authorized on 06/24 Apple.Com/Bill                                                          0.99
                                  866-712-7753 CA S461175484982416 Card 0473




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                                                                                                Questions?

YOUSIF H HALLOUM                                                                                Available by phone 24 hours a day, 7 days a week:
                                                                                                We accept all relay calls, including 711
                                                                                                  1-800-TO-WELLS             (1-800-869-3557)

                                                                                                  En espanol: 1-877-727-2932



                                                                                                Online: wellsfargo.com

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                                                                                                       Portland, OR 97228-6995




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                                                                                                wellsfargo.com or call the number above if you have
                                                                                                questions or if you would like to add new services.

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                                                                                                 Online Bill Pay        Z Auto Transfer/Payment
                                                                                                 Online Statements      •     Overdraft Protection
                                                                                                 Mobile Banking         •     Debit Card
                                                                                                 My Spending Report     •     Overdraft Service




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Go to wellsfargo.com/personalloan or call 1-855-324-9370, Monday through Friday, from 8:00 a.m. to 7:00 p.m. Central Time.



Statement period activity summary                                                                Account number: £1.11111.1.0
         Beginning balance on 7/1                                            $2,714.23           YOUSIF H HALLOUM
         Deposits/Additions                                                       4,885.60       Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 4,890.51          For Direct Deposit use
         Ending balance on 7/31                                              $2,709.32           Routing Number (RTN): 321270742




      (825)

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 Overdraft Protection
 This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
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 Interest summary
         Interest paid this statement                                       $0.01
        Average collected balance                                      $1,653.02
        Annual percentage yield earned                                     0.01%
         Interest earned this statement period                              $0.01
         Interest paid this year                                            $0.07




 Transaction history

                            Check                                                                                    Deposits/         Withdrawals/          Ending daily
         Date              Number Description                                                                        Additions         Subtractions              balance
         7/1                      Purchase authorized on 06/29 Apple Cash 877-233-8552 CA                                                     50.00             2,664.23
                                   S461180420479405 Card 0473
       7/2                         Inspiration at G Assoc Pmt 210702 246282 Yousif H Halloum                                                  157.00             2,:713_1
       7/6                         Bill Pay Payment Return on 07-06                                                   1,395.60                                   ...        vr
...,_7•7/6                         Bill Pay Fay Servicing LLC Recurring x73410 on 07-06                                                     1,395.60
       7/6                         Recurring Payment authorized on 07/04 Apple.Com/Bill                                                        15.99             2,491.24
                                   866-712-7753 CA S301185389851808 Card 0473
         7/7                       Bill Pay Fay Servicing LLC Mobile x73410 on 07-07                                                        1,395.60             1,095.64
         7/13                      Ptirchase authorized on 07/13 Costco Gas #1320 Henderson NV                                                 50.01
                                   P00461194636654607 Card 0473
         7/13                      Purchase authorized on 07/13 Costco Whse #1320 Henderson NV                                                 43.22
                                   P00461194655787969 Card 0473
         7/13                      Purchase authorized on 07/13 Smiths Fo 10616 E. Eas Henderson                                               27.40              975.01
                                   NV P00000000384623473 Card 0473
         7/15                      Recurring Payment authorized on 07/14 Cloudconvert Grunwald                                                   8.00
                                   Deu S381195817149986 Card 0473
         7/15                      Cty of Henderson Utilities 0002683226 Yousif H Halloum                                                     112.35              854.66
         7/16                      Purchase authorized on 07/14 Smart N Go Renton WA                                                            2.79
                                   S461195610298405 Card 0473
         7/16                      Purchase authorized on 07/16 Smiths Fo 1000 N. Gree                                                          37.55             814.32
                                   Henderson NV P00000000286963544 Card 0473
         7/19                       Purchase authorized on 07/15 IN N Out Burger 16 Las Vegas NV                                                 6.50
                                    S301197091244692 Card 0473
         7/19                       Purchase authorized on 07/16 Petco 531 Las Vegas NV                                                         24.92
                                    P00581198047754295 Card 0473
         7/19                       Purchase authorized on 07/17 Star Nursery 1006 Las Vegas NV                                                 21.66
                                    P00301198559759945 Card 0473
         7/19                       Purchase authorized on 07/17 Smiths Food #434 10616 E.                                                       3.59
                                    Henderson NV P00461198802463078 Card 0473
         7/19                       Purchase authorized on 07/17 Costco Whse #1320 Henderson NV                                                 29.67             727.98
                                    P00461198826827404 Card 0473
         7/20                       Purchase authorized on 07/18 IN N Out Burger 16 Las Vegas NV                                                 6.50
                                    S461199784080274 Card 0473
         7/20                       Non-WF ATM Withdrawal authorized on 07/19 7300 N Aliante Par                                              303.99
                                    North Las Veg NV 00301201120904436 ATM ID Cpsa0008 Card
                                    0473
         7/20                       Purchase authorized on 07/20 Costco Gas #1320 Henderson NV                                                  67.37
                                    P00461201687504526 Card 0473
         7/20                       Purchase authorized on 07/20 Costco Whse #1320 Henderson NV                                                 73.00              277.12
                                    P00581201718186270 Card 0473
         7/21                       SSA Treas 310 Xxsoc Sec 072121 xxxxx2986A SSA Yousif H                             1,450.00
                                    Halloum




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August 31, 2021 • Page 1 of 5




                                                                                             Questions?
YOUSIF H HALLOUM                                                                             Available by phone 24 hours a day, 7 days a week:
                                                                                             We accept all relay calls, including 711

4111111.1=111111111.11.11111111                                                               1-800-TO-WELLS (1-800-869-3557)
                                                                                              En espanol: 1-877-727-2932



                                                                                             Online: wellsfargo.com

                                                                                             Write: Wells Fargo Bank, N.A. (825)
                                                                                                    P.O. Box 6995
                                                                                                    Portland, OR 97228-6995




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 company and look forward to continuing to serve you with your financial needs.              convenient services with your account(s). Go to
                                                                                             wells fargo.com or call the number above if you have
                                                                                             questions or if you would like to add new services.

                                                                                             Online Banking           Z Direct Deposit
                                                                                             Online Bill Pay          Z     Auto Transfer/Payment
                                                                                             Online Statements        •     Overdraft Protection
                                                                                             Mobile Banking           •     Debit Card
                                                                                             My Spending Report       •     Overdraft Service




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Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
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Go to wellsfargo.com/personalloan or call 1-855-324-9370, Monday through Friday, from 8:00 a.m. to 7:00 p.m. Central Time.



 Statement period activity summary                                                           Account number: iralline
         Beginning balance on 8/1                                            $2,709.32       YOUSIF H HALLOUM
         Deposits/Additions                                                       4,845.61   Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 5,214.52      For Direct Deposit use
         Ending balance on 8/31                                              $2,340.41       Routing Number (RTN): 321270742




      1825)
                                                                    APPX0371
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.01
       Average collected balance                                      $1,111.95
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.01
       Interest paid this year                                             $0.08




Transaction history

                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions          Subtractions             balance
                                 Bill Pay Fay Servicing LLC Recurring x73410 on 08-03                                                     1,395.60             1,313.72
        8/4                      Bill Pay Payment Return on 08-04                                                    1,395.60
        8/4                      Purchase authorized on 08/04 Vons #2511 Henderson NV                                                         10.02
                                 P00461216712871154 Card 2587
        8/4                      Inspiration at G Assoc Pmt 210804 246282 Yousif H Halloum                                                   157.00             2,542.30
        8/5                      Purchase authorized on 08/04 Smiths Fo 1000 N. Gree                                                          26.28
                                 Henderson NV P00000000239833521 Card 2587
                                 Bill Pay Fay Servicing LLC Mobile x73410 on 08-05                                                         1,395.60             1,120.42
        8/9                      Purchase authorized on 08/06 Apple.Com/Bill 866-712-7753 CA                                                  15.99
                                 S301218662580553 Card 2587
        8/9                      Recurring Payment authorized on 08/06 Apple.Com/Bill                                                           0.99
                                 408-974-1010 CA S301218665597497 Card 2587
        8/9                      Purchase authorized on 08/07 Lexisnexis Payment 800-227-9597                                                170.69              932.75
                                 OH S381219374919052 Card 2587
        8/10               8152 Check                                                                                                        505.00              427.75
        8/12                     Purchase authorized on 08/10 Pacer800-676-68561800-676-6856                                                 289.40
                                 TX S461223214103230 Card 2587
        8/12                     Purchase authorized on 08/12 Smiths Fo 1000 N. Gree                                                          23.82              114.53
                                 Henderson NV P00000000880974589 Card 2587
        8/17                     Purchase authorized on 08/17 Smiths Fo 1000 N. Gree                                                          24.77               89.76
                                 Henderson NV P00000000571484688 Card 2587
        8/18                     SSA Treas 310 Xxsoc Sec 081821 xxxxx2986A SSA Yousif H                              1,450.00
                                 Halloum
        8/18                     Purchase authorized on 08/18 WM Superc Wal-Mart Sup Las                                                      63.77
                                 Vegas NV P00000000335066686 Card 2587
        8/18                     Purchase authorized on 08/18 Wal-Mart Super Center Las Vegas                                                 20.00
                                 NV P00000000876303035 Card 2587
        8/18                     Purchase authorized on 08/18 Costco Gas #1320 Henderson NV                                                    59.49
                                 P00301230571237756 Card 2587
        8/18                     Purchase authorized on 08/18 Costco Gas #1010 Victorville CA                                                  45.91
                                 P00301230721839802 Card 2587
        8/18                     Purchase authorized on 08/18 Costco Whse #1010 Victorville CA                                                  1.63
                                  P00301230733431022 Card 2587
        8/18                      Cty of Henderson Utilities 0002716508 Yousif H Halloum                                                       94.59            1,254.37
        8/19                      Purchase authorized on 08/17 Adobe 408-536-6000 CA                                                           14.99
                                  S301230055833734 Card 2587
        8/19                      Purchase authorized on 08/18 Kp Rx01239 Victorville CA                                                       25.80
                                  S301230682152416 Card 2587
        8/19                      Purchase authorized on 08/19 Smiths Fo 1000 N. Gree                                                          30.50            1,183.08
                                  Henderson NV P00000000885159645 Card 2587
        8/20                      Recurring Payment authorized on 08/19 Vesta *AT&T Prepa                                                      55.07
                                  866-608-3007 OR S381231806907916 Card 2587




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 Wells Fargo® Preferred Checking
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                                                                                                        Questions?
                                                                                                        Available by phone 24 hours a day, 7 days a week:
 YOUSIF H HALLOUM
                                                                                                        We accept all relay calls, including 711
111                            1111iii
                                                                                                          1-800-TO-WELLS               (1-800-869-3557)

                                                                                                          En espahol: 1-877-727-2932




                                                                                                         Online: wellsfargo.com

                                                                                                        Write: Wells Fargo Bank, N.A. (825)
                                                                                                                 P.O. Box 6995
                                                                                                                 Portland, OR 97228-6995




      You and Wells Fargo                                                                               Account options
      Thank you for being a loyal Wells Fargo customer. We value your trust in our                      A check mark in the box indicates you have these
      company and look forward to continuing to serve you with your financial needs.                    convenient services with your account(s). Go to
                                                                                                        wells fargo.com or call the number above if you have
                                                                                                        questions or if you would like to add new services.

                                                                                                         Online Banking          Z Direct Deposit
                                                                                                         Online Bill Pay         1] Auto Transfer/Payment
                                                                                                         Online Statements              Overdraft Protection
                                                                                                         Mobile Banking                 Debit Card
                                                                                                         My Spending Report      I=1    Overdraft Service




 IN IMPORTANT ACCOUNT INFORMATION

 Revised USPS service standards effective 10/1/21

 Effective October 1, 2021, the United States Postal Service (USPS) has revised its service standards for certain First-Class Mail items,
 resulting in a delivery window of up to five days. Please note this may delay your receipt of mail from us and our receipt of mail from
 you. Please take this change into account when mailing items to us via USPS.


 Consider signing into Wells Fargo Online for quicker access to your account information.




 Other Wells Fargo Benefits

  Help take control of your finances with a Wells Fargo Personal Loan.
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Statement period activity summary                                                                          Account number: 0111111116

         Beginning balance on 9/1                                                  $2,340.41               YOUSIF H HALLOUM

         Deposits/Additions                                                         6,741.22               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                  - 6,207.98              For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742
         Ending balance on 9/30                                                    $2,873.65



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.02
       Average collected balance                                       $1,936.18
        Annual percentage yield earned                                    0.01%
       Interest earned this statement period                               $0.02
        Interest paid this year                                            $0.10




Transaction history

                           Check                                                                                    Deposits/         Withdrawals/          Ending daily
        Date              Number Description                                                                        Additions          Subtractions             balance FlaRI
        9/2                       Bill Pay Payment Return on 09-02                                                   1,395.60                                  3,736.01<-
        9/3                       Bill Pay Payment Return on 09-03                                                   1,395.60                                        4 jra,Li
        9/3                       Bill Pay Fay Servicing LLC Recurring x73410 on 09-03                                                     1,395.60            3,736.0t.
        9/7                       Bill Pay Fay Servicing LLC Mobile x73410 on 09-07                                                        1,395.60
        9/7                       Non-WF ATM Withdrawal authorized on 09/04 7300 N Aliante Par                                               303.99
                                  North Las Veg NV 00461248108037446 ATM ID Cpsa0008 Card
                                  2587
        9/7                       Non-WF ATM Withdrawal authorized on 09/04 7300 N Aliante Par                                               203.99
                                  North Las Veg NV 00381248147122835 ATM ID Cpsa0017 Card
                                  2587
        9/7                       Non-Wells Fargo ATM Transaction Fee                                                                          2.50
        9/7                       Non-WF ATM Withdrawal authorized on 09/05 3600 Las Vegas                                                   508.99
                                  Blvd So Las Vegas NV 00581248761404444 ATM ID Nvbgox14
                                  Card 2587
        9/7                       Non-Wells Fargo ATM Transaction Fee                                                                          2.50
        9/7                       Recurring Payment authorized on 09/06 Mfe*VVWW.McAfee.Com                                                  119.99
                                  866-6223911 CA S461249304164684 Card 2587
        9/7                       Recurring Payment authorized on 09/06 Apple.Com/Bill                                                         15.99            1,182.46
                                  866-712-7753 CA 3581249374683753 Card 2587
        9/8                       Purchase authorized on 09/07 Lexisnexis Payment 800-227-9597                                               170.69             1,011.77
                                  OH S301250341558585 Card 2587
        9/13                      Purchase authorized on 09/11 Smiths Fo 1000 N. Gree                                                          36.43
                                  Henderson NV P00000000233896041 Card 2587
        9/13                      Purchase authorized on 09/12 Costco Gas #1320 Henderson NV                                                   71.56
                                  P00381255833781673 Card 2587
        9/13                      Non-WF ATM Withdrawal authorized on 09/12 3333 Blue                                                         205.00
                                  Diamond Rd Las Vegas NV 00461255856563926 ATM ID
                                  Nvshcx02 Card 2587
        9/13                      Non-Wells Fargo ATM Transaction Fee                                                                           2.50             696.28




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                                                                                                        Questions?
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41111111.1.01.11111111111111111                                                                         We accept all relay calls, including 711
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                                                                                                                Portland, OR 97228-6995




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                                                                                                        questions or if you would like to add new services.

                                                                                                        Online Banking           Z     Direct Deposit
                                                                                                        Online Bill Pay                Auto Transfer/Payment
                                                                                                        Online Statements        ▪     Overdraft Protection
                                                                                                        Mobile Banking           •     Debit Card
                                                                                                        My Spending Report             Overdraft Service




51 IMPORTANT ACCOUNT INFORMATION

Revised USPS service standards effective 10/1/21

Effective October 1, 2021, the United States Postal Service (USPS) has revised its service standards for certain First-Class Mail items,
resulting in a delivery window of up to five days. Please note this may delay your receipt of mail from us and our receipt of mail from
you. Please take this change into account when mailing items to us via USPS.


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Statement period activity summary                                                                          Account number: 411111111111.

         Beginning balance on 10/1                                                 $2,873.65               YOUSIF H HALLOUM
         Deposits/Additions                                                         4,541.22               Nevada account terms and conditions apply
         Withdrawals/Subtractions                                                  - 4,822.82              For Direct Deposit use
                                                                                                           Routing Number (RTN): 321270742
         Ending balance on 10/31                                                   $2,592.05



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.02
       Average collected balance                                      $2,216.14
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.02
        Interest paid this year                                            $0.12




Transaction history

                           Check                                                                                    Deposits/         Withdrawals/          Ending daily
        Date              Number Description                                                                        Additions          Subtractions             balance     &
        10/4                     Bill Pay Payment Return on 10-04                                                    1,395.60                                  4,269.25
                                                                                                                                                                         it
         0/5                     Bill Pay Fay Servicing LLC Recurring x73410 on 10-05                                                      1,395.60            2,873.65 g
        10/6                      Bill Pay Payment Return on 10-06                                                   1,395.60                                               o_
        10/6                      Purchase Bank Check OR Draft                                                                               668.00
        10/6                      Purchase authorized on 10/06 Costco Whse #1320 Henderson NV                                                 64.54
                                  P00301279757699560 Card 2587
        10/6                      ATM Withdrawal authorized on 10/06 900 N Green Valley Parkwa                                               500.00             3,036.71
                                  Henderson NV 0002010 ATM ID 5456W Card 2587
        10/7                      Recurring Payment authorized on 10/06 Apple.Com/Bill                                                        15.99
                                  408-974-1010 CA S581279374852337 Card 2587
        10/7                      Bill Pay Fay Servicing LLC Mobile x73410 on 10-07                                                        1,395.60             1,625.12
        10/8                      Purchase authorized on 10/07 Lexisnexis Payment 800-227-9597                                               170.69             1,454.43
                                  OH S301280394359126 Card 2587
        10/18                     Recurring Payment authorized on 10/17 Vesta *AT&T Prepa                                                      55.07
                                  866-608-3007 OR S581290518916294 Card 2587
        10/18                     Cty of Henderson Utilities 0002778061 Yousif Halloum                                                         90.97            1,308.39
        10/19                     Recurring Payment authorized on 10/17 Adobe Acropro Subs                                                     14.99            1,293.40
                                  408-536-6000 CA S461290672951913 Card 2587
        10/20                     SSA Treas 310 Xxsoc Sec 102021 xxxxx2986A SSA Yousif H                             1,450.00                                   2,743.40
                                  Halloum
        10/25                     Recurring Payment authorized on 10/24 Apple.Com/Bill                                                          0.99
                                  866-712-7753 CA S301297484427003 Card 2587
        10/25                     Cox Comm Las Bankdraft 102521 476089320303001 'man                                                         221.54             2,520.87
                                  Halloum
        10/26                     Purchase authorized on 10/26 Target T- 695 S Green Henderson                                                 31.21
                                  NV P000000736830827 Card 2587
        10/26                     Purchase authorized on 10/26 Costco Whse #1320 Henderson NV                                                  84.95            2,404.71
                                  P461299769632944 Card 2587
        10/27                     Purchase authorized on 10/25 The Cleaners & Alt Henderson NV                                                 49.68            2,355.03
                                  S461298560346896 Card 2587




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                                                                                                Questions?

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efigiNINIIIMINOM
                                                                                                  1-800-TO-WELLS             (1-800-869-3557)

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                                                                                                wellsfargo.com or call the number above if you have
                                                                                                questions or if you would like to add new services.

                                                                                                 Online Banking         Z Direct Deposit
                                                                                                 Online Bill Pay        El    Auto Transfer/Payment
                                                                                                 Online Statements            Overdraft Protection
                                                                                                 Mobile Banking               Debit Card
                                                                                                 My Spending Report           Overdraft Service




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Statement period activity summary                                                                Account number: 4111.111111.

        Beginning balance on 11/1                                            $2,592.05           YOUSIF H HALLOUM
         Deposits/Additions                                                       6,941.20       Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 7,701.46
                                                                                                 For Direct Deposit use
        Ending balance on 11/30                                              $1,831.79           Routing Number (RTN): 321270742




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Overdraft Protection
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Interest summary
       Interest paid this statement                                        $0.00
       Average collected balance                                      $1,112.64
       Annual percentage yield earned                                     0.00%
       Interest earned this statement period                               $0.00
       Interest paid this year                                             $0.12




Transaction history


                          Check                                                                                      Deposits/        Withdrawals/          Ending daily
       Date              Number Description                                                                          Additions         Subtractions             balance
       11/1                      ATM Cash Deposit on 10/30 10010 S Eastern Ave Henderson NV                            300.00
                                 0005261 ATM ID 5456Y Card 2587
                                 ATM Cash Deposit on 10/31 10010 S Eastern Ave Henderson NV                            900.00
                                 0005333 ATM ID 5456Y Card 2587
                                 Purchase authorized on 10/31 Costco Whse #1320 Henderson NV                                               1,656.05             2,136.00
                                 P461304711750948 Card 2587
        11/3                     Bill Pay Payment Return on 11-03                                                    1,395.60
        11/3                     ATM Cash Deposit on 11/03 900 N Green Valley Pkwy Henderson                           500.00
                                 NV 0005714 ATM ID 5456W Card 2587
        11/3                     Bill Pay Fay Servicing LLC Recurring x73410 on 11-03                                                      1,395.60             2,636.00 k
        11/4                     Bill Pa Pa ment Return on 11-04                                                     1,395.60
                                 Bill Pay Fay Servicing LLC Mobile x73410 on 11-04                                                         1,395.60
        11/4                     Purchase authorized on 11/04 Leslie's Poo!mart Henderson NV                                                  23.83             2,612.17
                                 P581308826761093 Card 2587
        11/5                     Bill Pay Fay Servicing LLC Mobile x73410 on 11-05                                                         1,395.60
        11/5               1501 Deposited OR Cashed Check                                                                                    250.00              966.57
        11/8                     Purchase authorized on 11/07 Lexisnexis Payment 800-227-9597                                                170.69              795.88
                                 OH S461311437444926 Card 2587
        11/10                    Purchase authorized on 11/09 Pacer800-676-68561 800-676-6856                                                546.60              249.28
                                 TX S301314054268671 Card 2587
        11/12                    Recurring Payment authorized on 11/10 Apple.Com/Bill                                                          15.99             233.29
                                 866-712-7753 CA S461314374985680 Card 2587
        11/17                    SSA Treas 310 Xxsoc Sec 111721 xxxxx2986A SSA Yousif H                               1,450.00
                                 Halloum
        11/17                    Recurring Payment authorized on 11/16 Vesta *AT&T Prepa                                                       55.07
                                 866-608-3007 OR S581320532295468 Card 2587
        11/17                    Cty of Henderson Utilities 0002810072 Yousif H Halloum                                                        87.27            1,540.95
        11/19                    Recurring Payment authorized on 11/17 Adobe Acropro Subs                                                      14.99
                                 408-536-6000 CA S581321722007115 Card 2587
        11/19                    Purchase authorized on 11/19 R.C. Willey Summerlin NV                                                        238.42            1,287.54
                                 P301323808973063 Card 2587
        11/22                    Purchase authorized on 11/22 Costco Gas #1320 Henderson NV                                                    72.75            1,214.79
                                 P381326767450293 Card 2587
        11/23                    Purchase authorized on 11/23 Costco Whse #0685 Las Vegas NV                                                   86.69            1,128.10
                                 P581327820806170 Card 2587
        11/26                    Recurring Payment authorized on 11/24 Apple.Com/Bill                                                           0.99
                                 866-712-7753 CA S581328522251674 Card 2587
        11/26                    Purchase authorized on 11/26 Costco Gas #0685 Las Vegas NV                                                    66.42
                                 P301330654903471 Card 2587




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                                                                                                Questions?

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                                                                                                questions or if you would like to add new services.

                                                                                                 Online Banking         El    Direct Deposit
                                                                                                 Online Bill Pay        El Auto Transfer/Payment
                                                                                                 Online Statements            Overdraft Protection
                                                                                                 Mobile Banking               Debit Card
                                                                                                 My Spending Report           Overdraft Service




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Statement period activity summary                                                                Account number: 4111M111.
         Beginning balance on 12/1                                           $1,831.79           YOUSIF H HALLOUM
         Deposits/Additions                                                       6,741.21       Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 6,441.85
                                                                                                 For Direct Deposit use
         Ending balance on 12/31                                             $2,131.15           Routing Number (RTN): 321270742




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  Overdraft Protection
  This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
  please call the number listed on your statement or visit your Wells Fargo branch.




  Interest summary
         Interest paid this statement                                        $0.01
         Average collected balance                                      $1,035.61
         Annual percentage yield earned                                     0.01%
         Interest earned this statement period                               $0.01
         Interest paid this year                                             $0.13




  Transaction history


                            Check                                                                                      Deposits/        Withdrawals/          Ending daily
         Date              Number Description                                                                          Additions         Subtractions             balance
         12/3                     Bill Pay Payment Return on 12-03                                                      1,395.60                                             L.
                                                                                                                                                                  le
         12/3                      Purchase authorized on 12/02 Apple.Com/Bill 866-712-7753 CA                                                    3.99
                                   S381336780095835 Card 2587
.....—i-12/3                       Bill Pay Fay Servicing LLC Recurring x73410 on 12-03                                                      1,395.60             1,827.80
         12/6                      Bill Pay Payment Return on 12-06                                                    1,395.60
         12/6                      Purchase authorized on 12/02 Dmi* Dell Bus Onli 800-456-3355                                                   9.99
                                   TX S381336530061065 Card 2587
                                   Bill Pay Fay Servicing LLC Mobile x73410 on 12-06                                                         1,395.60             1,817.81
                                   Bill Pay Fay Servicing LLC Mobile x73410 on 12-07                                                         1,395.60               422.21
          12/8                     Purchase authorized on 12/07 Lexisnexis Payment 800-227-9597                                                170.69               251.52
                                   OH S381341408681108 Card 2587
          12/13                    Recurring Payment authorized on 12/10 Apple.Com/Bill                                                          15.99
                                   866-712-7753 CA S581344411661487 Card 2587
          12/13                    Purchase authorized on 12/11 Amzn Mktp US*P0681                                                               27.06
                                   Amzn.Com/Bill WA S301346206151546 Card 2587
          12/13              1506 Check                                                                                                        115.00               93.47
          12/14              8160 Check                                                                                                         76.88               16.59
          12/15                    SSA Treas 310 Xxsoc Sec 121521 xxxxx2986A SSA Yousif H                              1,450.00
                                   Halloum
          12/15                    Purchase authorized on 12/15 Costco Gas #1320 Henderson NV                                                    71.37
                                   P301349784794685 Card 2587
          12/15                    Non-WF ATM Withdrawal authorized on 12/15 2300 Paseo Verde                                                  304.99             1,090.23
                                   Parkwa Henderson NV 381350017524614 ATM ID Nvgvrx02 Card
                                   2587
          12/16                    Purchase authorized on 12/16 Costco Whse #1320 Henderson NV                                                   97.53
                                   P301350763845239 Card 2587
          12/16                    Cty of Henderson Utilities 0002841265 Yousif H Halloum                                                      109.55              883.15
          12/17                    Recurring Payment authorized on 12/16 Vesta *AT&T Prepa                                                      55.07
                                   866-608-3007 OR S301350524655076 Card 2587
          12/17                    Purchase authorized on 12/17 Vons #1795 Henderson NV                                                          18.99             809.09
                                   P581351855528862 Card 2587
          12/20                    Purchase authorized on 12/16 IN N Out Burger 36 Henderson NV                                                   6.94
                                   S381350772799147 Card 2587
          12/20                    Recurring Payment authorized on 12/17 Adobe Acropro Subs                                                      14.99
                                   408-536-6000 CA S581351707258029 Card 2587
          12/20                    ATM Withdrawal authorized on 12/18 900 N Green Valley Pkwy                                                  100.00
                                   Henderson NV 0001930 ATM ID 5456P Card 2587
          12/20                    ATM Withdrawal authorized on 12/20 900 N Green Valley Pkwy                                                  100.00
                                   Henderson NV 0002416 ATM ID 5456P Card 2587
          12/20                    Purchase authorized on 12/20 Smiths Fo 1000 N. Gree Henderson                                                 14.89             572.27
                                   NV P000000881873790 Card 2587




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                                     EXHIBIT "M"




          Mortgage Payments Made to Fay Servicing
                  01/01/2022 — 08/31/2022




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Wells Fargo® Preferred Checking
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                                                                                                 Questions?

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                                                                                                         Portland, OR 97228-6995




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                                                                                                wellsfargo.com or call the number above if you have
                                                                                                questions or if you would like to add new services.

                                                                                                 Online Banking                Direct Deposit
                                                                                                 Online Bill Pay         2    Auto Transfer/Payment
                                                                                                 Online Statements             Overdraft Protection   0
                                                                                                 Mobile Banking          Z     Debit Card
                                                                                                 My Spending Report            Overdraft Service




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Get started at wellsfargo.com/personalloan.



Statement period activity summary                                                                Account number: alliffalla

        Beginning balance on 1/1                                                $2,131.15        YOUSIF H HALLOUM
        Deposits/Additions                                                        7,115.21       Nevada account terms and conditions apply
        Withdrawals/Subtractions                                                - 7,059.60
                                                                                                 For Direct Deposit use
        Ending balance on 1/31                                                  $2,186.76
                                                                                                 Routing Number (RTN): 321270742




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Overdraft Protection
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please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.01
       Average collected balance                                      $1,057.52
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.01
       Interest paid this year                                             $0.01
       Total interest paid in 2021                                         $0.13




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions          Subtractions             balance
       1/3                      Recurring Payment authorized on 01/02 Apple.Com/Bill                                                           3.99            2,127.16
                                 866-712-7753 CA S582002492467674 Card 2587
                                Bill Pay Fay Servicing LLC Recurring x73410 on 01-04                                                       1,395.60
                                Bill Pa Pa ment Return on 01-05                                                      1,395.60
                                 Bill Pay Payment Return on 01-06                                                    1,395.60
                                 Bill Pay Fay Servicing LLC Mobile x73410 on 01-06                                                         1,395.60             2,127.16
                                Recurring Payment authorized on 01/06 Apple.Com/Bill                                                          15.99
                                 866-712-7753 CA S462006411573873 Card 2587
       1/7                       Bill Pay Fay Servicing LLC Mobile x73410 on 01-07                                                         1,395.60
       1/7                       Purchase authorized on 01/07 Smiths Fo 10616 E. Eas Henderson                                                29.16              686.41
                                 NV P000000570924529 Card 2587
       1/10                      Purchase authorized on 01/07 Lexisnexis Payment 800-227-9597                                                170.69
                                 OH S302007402648887 Card 2587
       1/10                      Purchase authorized on 01/07 Costco Whse#1320 Henderson NV                                                   63.40
                                 S382007770115449 Card 2587
        1/10                     Purchase authorized on 01/07 Solutions Specialt Las Vegas NV                                                218.99
                                 S302007857475243 Card 2587
       1/10                      Purchase authorized on 01/10 Costco Whse #1320 Henderson NV                                                  12.98              220.35
                                 P302010712067506 Card 2587
        1/12                     Purchase authorized on 01/11 Target T- 9725 S Easte Las Vegas                                                11.39              208.96
                                 NV P000000689860151 Card 2587
        1/13                     Purchase authorized on 01/11 IN N Out Burger 16 Las Vegas NV                                                   6.94             202.02
                                 S462012136967095 Card 2587
        1/14                     Cty of Henderson Utilities 0002872361 Yousif H Halloum                                                       85.19              116.83
        1/18                     Recurring Payment authorized on 01/15 Vesta *AT&T Prepa                                                      55.07
                                 866-608-3007 OR S462015515153296 Card 2587
        1/18                     Purchase authorized on 01/17 Smiths Food #434 1000 N.                                                          8.51              53.25
                                 Henderson NV P382017782631416 Card 2587
        1/19                     SSA Treas 310 Xxsoc Sec 011922 xxxxx2986A SSA Yousif H                              1,524.00
                                 Halloum
        1/19                     Recurring Payment authorized on 01/17 Adobe Acropro Subs                                                      14.99
                                 408-536-6000 CA S382017717394030 Card 2587
        1/19                     Purchase authorized on 01/17 Apple Cash 877-233-8552 CA                                                       10.00
                                 S462018231825067 Card 2587
        1/19                     ATM Withdrawal authorized on 01/19 900 N Green Valley Pkwy                                                    40.00
                                 Henderson NV 0009576 ATM ID 5456P Card 2587
        1/19                     ATM Withdrawal authorized on 01/19 900 N Green Valley Pkwy                                                  300.00             1,212.26
                                 Henderson NV 0009577 ATM ID 5456P Card 2587
        1/20                     Purchase authorized on 01/17 Apple Cash 877-233-8552 CA                                                       10.00
                                 S462018261656482 Card 2587




                                                                         APPX0383
                                                                                                                                   436 of 457
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Wells Fargo® Preferred Checking
February 28, 2022 MI Page 1 of 5




                                                                                                 Questions?
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                                                                                                 Online Banking         Z Direct Deposit
                                                                                                 Online Bill Pay        2 Auto Transfer/Payment
                                                                                                 Online Statements            Overdraft Protection
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Statement period activity summary                                                                Account number: alM111.
        Beginning balance on 2/1                                             $2,186.76           YOUSIF H HALLOUM
         Deposits/Additions                                                       8,442.06       Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 8,277.35
                                                                                                 For Direct Deposit use
         Ending balance on 2/28                                              $2,351.47           Routing Number (RTN): 321270742




      (825)

                                                                    APPX0384
                                                                                                                                                437 of 457
                   Case 2:22-cv-01787-MMD-EJY Document 11 Filed 11/03/22 Page 437 of 457
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   Overdraft Protection
   This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
   please call the number listed on your statement or visit your Wells Fargo branch.




   Interest summary
            Interest paid this statement                                      $0.01
            Average collected balance                                    $1,548.62
            Annual percentage yield earned                                   0.01%
            Interest earned this statement period                             $0.01
            Interest paid this year                                           $0.02
            Total interest paid in 2021                                       $0.13




   Transaction history


                               Check                                                                                   Deposits/         Withdrawals/          Ending daily
            Date              Number Description                                                                       Additions         Subtractions              balance
            2/1                      Purchase authorized on 01/29 Apple Cash 877-233-8552 CA                                                    20.00             2,166.76
                                     S462030269267073 Card 2587
            2/2                       Non-WF ATM Transaction Fee Reversal                                                    2.50
            2/2                       Non-WF ATM Transaction Fee Reversal                                                    2.50
            2/2                       Partial Reversal of Overdraft Fee for a Transaction Posted on                         26.25
                                      01/25 $242.38 Cox Comm Las Bankdraft 012522 476089320303
                                      001 !man Halloum
            2/2                       Purchase authorized on 01/30 Apple Cash 877-233-8552 CA                                                     25.00
                                      S462031257665554 Card 2587
            2/2                       Purchase authorized on 01/31 Bellagio - Noodles Las Vegas NV                                                49.09
                                      S302031788756529 Card 2587
            2/2                       Purchase authorized on 01/31 Bellagio - Noodles Las Vegas NV                                              127.35             1,996.57
                                      S382032247346105 Card 2587
            2/3                       Bill Pa Pa ment Return on 02-03                                                   1,395.60
            2/3                       Bill Pay Payment Return on 02-03                                                  1,395.60
            2/3                       Recurring Payment authorized on 02/02 Apple.Com/Bill                                                         3.99
                                      866-712-7753 CA S302033492689145 Card 2587
                                      Bill Pay Fay Servicing LLC Recurring xx3410 on 02-03                                                    1,395.60             3,388.18
            2/4                       Bill Pay Payment Return on 02-04                                                   1,395.60
            2/4                       Non-WF ATM Withdrawal authorized on 02/04 2300 Paseo Verde                                                504.99             4,278.79
                                      Parkwa Henderson NV 462036050824144 ATM ID Nvgvra03 Card
                                      2587
            2/8                       Purchase authorized on 02/07 Lexisnexis Payment 800-227-9597                                              170.69
                                      OH S582038406477412 Card 2587
%?41        2/8                       Bill Pay Fay Servicing LLC Mobile xx3410 on 02-08                                                        2,791.20            1,316.90
        ,
            2/9                       Purchase authorized on 02/08 Kaiser 02090116 Oakland CA                                                     25.00
                                      S582039593700770 Card 2587
            2/9                       Purchase authorized on 02/08 Kaiser 02090116 Oakland CA                                                     25.00
                                      S582039816787434 Card 2587
            2/9                       Purchase authorized on 02/08 Kaiser Pharm 105 Oakland CA                                                    44.05            1,222.85
                                      S582040002831993 Card 2587
            2/10                      Purchase authorized on 02/07 Sheraton Four Poin Emeryville CA                                             161.56
                                      S462039052321082 Card 2587
            2/10                      Purchase authorized on 02/08 Las Airport Las Vegas NV                                                       72.00
                                      S582040164411153 Card 2587
            2/10                      Purchase authorized on 02/08 Pacer800-676-68561800-676-6856                                                268.60
                                      TX S302040287353653 Card 2587
            2/10                      Purchase authorized on 02/09 Dental Insurance A 877-2804204                                                 69.63
                                      CA S462040643492948 Card 2587




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                                                                                                                                    438 of 457
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                                                                                                  Questions?
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                                                                                                  Online Bill Pay         111 Auto Transfer/Payment
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 be able to help. See personalized rates and payments in minutes with no impact to your credit score.
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 Statement period activity summary                                                                Account number: din.
         Beginning balance on 3/1                                             $2,351.47           YOUSIF H HALLOUM
         Deposits/Additions                                                   18,637.83           Nevada account terms and conditions apply
         Withdrawals/Subtractions                                           - 18,630.63
                                                                                                  For Direct Deposit use
         Ending balance on 3/31                                               $2,358.67
                                                                                                  Routing Number (RTN): 321270742




      (825)

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   Overdraft Protection
   This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
   please call the number listed on your statement or visit your Wells Fargo branch.




   Interest summary
          Interest paid this statement                                        $0.03
          Average collected balance                                      $3,343.29
          Annual percentage yield earned                                     0.01%
          Interest earned this statement period                               $0.03
          Interest paid this year                                             $0.05
          Total interest paid in 2021                                         $0.13




   Transaction history


                             Check                                                                                     Deposits/         Withdrawals/          Ending daily
          Date              Number Description                                                                         Additions          Subtractions             balance
          3/2                      SSA Treas 310 Xxsoc Sec 030222 xxxxx2986A SSA Yousif H                               9,227.00                                 11,578.47
                                   Halloum
           3/3                     Recurring Payment authorized on 03/02 Apple.Com/Bill                                                            3.99
                                   866-712-7753 CA S382061492434113 Card 2587
           3/3                     Non-WF ATM Withdrawal authorized on 03/02 2300 Paseo Verde                                                   504.99
                                   Parkwa Henderson NV 302062137729966 ATM ID Nvgvra03 Card
                                   2587
           3/3                     Bill Pay Fay Servicing LLC Recurring xx3410 on 03-03                                                       1,395.60              9,673.89
        f 3/4                      Bill Pay Payment Return on 03-04                                                     1,395.60                                   11,069.4 F
           3/7                     Bill Pay Payment Return on 03-07                                                     1,395.60                                             .
                                                                                                                                                                       <
"----"--"73/7                      Bill Pay Fay Servicing LLC Mobile xx3410 on 03-07                                                          1,395.60
           3/7                     Withdrawal Made In A Branch/Store                                                                          7,000.00             4,069.49
           3/8                     Purchase authorized on 03/06 Apria-Medical Equi 949-639-4217                                                  65.90
                                   CA S382065662071509 Card 2587
           3/8                     Purchase authorized on 03/07 Lexisnexis Payment 800-227-9597                                                 170.69
                                   OH S582066406846768 Card 2587
           3/8                     Purchase authorized on 03/08 Costco Gas #1320 Henderson NV                                                     76.54            3,756.36
                                   P382068011380129 Card 2587
           3/9                     Bill Pa Pa ment Return on 03-09                                                       1,395.60
           3/9                     Non-WF ATM Withdrawal authorized on 03/08 2300 Paseo Verde                                                   504.99
                                   Parkwa Henderson NV 462068081229943 ATM ID Nvgvra03 Card
                                   2587
           3/9                     Non-Wells Fargo ATM Transaction Fee                                                                            2.50
           3/9                     Non-WF ATM Withdrawal authorized on 03/09 3333 Blue                                                          305.00
                                   Diamond Rd Las Vegas NV 382068840835427 ATM ID Nvshcx02
                                   Card 2587
       3/9                         Non-Wells Fargo ATM Transaction Fee                                                                             2.50            4,336.97
?Ifh.4<
       3/10                        Bill Pay Fay Servicing LLC Mobile xx3410 on 03-10                                                           2,791.20            1,545.77
       3/11                        Recurring Payment authorized on 03/10 Apple.Com/Bill                                                           15.99
                                   866-712-7753 CA S302069411806867 Card 2587
           3/11                    Purchase authorized on 03/11 Costco Whse #1320 Henderson NV                                                    15.47            1,514.31
                                   P582070819452109 Card 2587
           3/14                    Purchase authorized on 03/12 Smiths Fo 1000 N. Gree Henderson                                                  15.12
                                   NV P000000886462299 Card 2587
           3/14                    Non-WF ATM Withdrawal authorized on 03/12 2300 Paseo Verde                                                    504.99
                                   Parkwa Henderson NV 462072205587700 ATM ID Nvgvra03 Card
                                   2587
           3/14                    Non-Wells Fargo ATM Transaction Fee                                                                             2.50
           3/14                    Purchase authorized on 03/13 Costco Whse #0673 Henderson NV                                                   257.13
                                   P582072643057203 Card 2587




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 Wells Fargo® Preferred Checking
 April 30, 2022 • Page 1 of 6




                                                                                                  Questions?
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 Statement period activity summary                                                                Account number: 1111.111111
         Beginning balance on 4/1                                             $2,358.67           YOUSIF H HALLOUM
         Deposits/Additions                                                        9,738.16       Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 10,337.25
                                                                                                  For Direct Deposit use
         Ending balance on 4/30                                               $1,759.58
                                                                                                  Routing Number (RTN): 321270742




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   Overdraft Protection
   This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
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   Interest summary
          Interest paid this statement                                        $0.02
          Average collected balance                                      $1,915.29
          Annual percentage yield earned                                     0.01%
          Interest earned this statement period                               $0.02
          Interest paid this year                                             $0.07




   Transaction history


                             Check                                                                                     Deposits/         Withdrawals/          Ending daily
          Date              Number Description                                                                         Additions         Subtractions              balance
          4/4                      ATM Cash Deposit on 04/03 900 N Green Valley Pkwy Henderson                           500.00
                                   NV 0008023 ATM ID 5456P Card 2587
          4/4                      Recurring Payment authorized on 04/02 Apple.Com/Bill                                                            3.99
                                   866-712-7753 CA S382092458166275 Card 2587
           4/4                     Purchase authorized on 04/03 Lowe's #1719 Las Vegas NV                                                       485.52             2,369.16
                                   P462094065424935 Card 2587
           4/5                     Purchase Return authorized on 04/04 Amzn Mktp US                                       151.71
                                   Amzn.Com/Bill WA S622095475286511 Card 2587
           4/5                     Bill Pa Fa Servicin LLC Recurrin xx3410 on 04-05                                                           1,395.60             1,125.27    IQ
           4/6                     Bill Pay Payment Return on 04-06                                                     1,395.60
           4/6                     Purchase authorized on 04/04 Engineers Bd 916-5747111 CA                                                     180.00             2,340.87
                                   S582095010549638 Card 2587
           4/7                     Purchase Return authorized on 04/07 Amzn Mktp US                                       616.65
                                   Amzn.Com/Bill WA S622097478145014 Card 2587
           4/7                     Bill Pay Payment Return on 04-07                                                     1,395.60                                         _.... 12
                                                                                                                                                                        1'
           4/7                     Purchase authorized on 04/07 Costco Whse #1320 Henderson NV                                                   19.36             4,333.76'
                                   P462097743983768 Card 2587
           4/8                     Bill Pay Payment Return on 04-08                                                     1,395.60
           4/8                     Purchase authorized on 04/07 Lexisnexis Payment 800-227-9597                                                 170.69             5,558.67'
                                   OH S462097431796281 Card 2587
        46
         4/11                      Purchase Return authorized on 04/09 Best Buy 0001 Las Vegas NV                         640.98
?ilr"      4/11
                                   S582099780764160 Card 2587
                                   Bill Pay Fay Servicing LLC Mobile xx3410 on 04-11                                                          4,186.80
           4/11                    Purchase authorized on 04/09 Best Buy 00010447 Las Vegas NV                                                  665.98
                                   P382099716331594 Card 2587
           4/11                    Recurring Payment authorized on 04/10 Apple.Com/Bill                                                           15.99
                                   866-712-7753 CA S302100374813577 Card 2587
           4/11                    Purchase authorized on 04/10 Office DE 9701 S Easte Las Vegas                                                135.47             1,195.41
                                   NV P000000077703098 Card 2587
           4/14                    Purchase authorized on 04/13 Ncourt *Nvlasvegas 844-4008880                                                  235.50
                                   NV S582103543221523 Card 2587
           4/14                    Purchase authorized on 04/14 Smiths Fo 1000 N. Gree Henderson                                                  31.16
                                   NV P000000032217397 Card 2587
           4/14                    Purchase authorized on 04/14 Costco Gas #1320 Henderson NV                                                     85.77             842.98
                                   P462104755968171 Card 2587
           4/15                    Purchase authorized on 04/15 Smiths Fo 1000 N. Gree Henderson                                                  34.81
                                   NV P000000774934725 Card 2587
           4/15                    Cty of Henderson Utilities 0002979313 Yousif H Halloum                                                       102.01              706.16
           4/18                    Recurring Payment authorized on 04/14 Microsoft*Microsof                                                      99.99
                                   Msbill.Info WA S582105176235718 Card 2587




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                                                                                                                                         442 of 457
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 Statement period activity summary                                                                      Account number: 11111111Milib

         Beginning balance on 5/1                                                $1,759.58              YOUSIF H HALLOUM
          Deposits/Additions                                                       8,328.82             Nevada account terms and conditions apply
          Withdrawals/Subtractions                                               - 7,941.04
                                                                                                        For Direct Deposit use
          Ending balance on 5/31                                                 $2,147.36
                                                                                                        Routing Number (RTN): 321270742




       (825)

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    please call the number listed on your statement or visit your Wells Fargo branch.




    Interest summary
            Interest paid this statement                                       $0.02
            Average collected balance                                     $2,597.76
            Annual percentage yield earned                                    0.01%
            Interest earned this statement period                              $0.02
            Interest paid this year                                            $0.09




    Transaction history


                               Check                                                                                    Deposits/         Withdrawals/          Ending daily
            Date              Number Description                                                                        Additions         Subtractions              balance
            5/2                       ATM Cash Deposit on 04/30 900 N Green Valley Pkwy Henderson                        1,000.00                                  2,759.58
                                      NV 0004550 ATM ID 5456P Card 2587
            5/3                       Purchase authorized on 05/01 IN N Out Burger 16 Las Vegas NV                                                  6.94
                                      S462121790783586 Card 2587
            5/3                      Recurring Payment authorized on 05/02 Apple.Com/Bill                                                           3.99
                                      866-712-7753 CA S382122456178923 Card 2587
                                      Bill Pay Fay Servicing LLC Recurring xx3410 on 05-03                                                     1,395.60             1,353.05
            5/5                       Bill Pa Pa ment Return on 05-05                                                    1,395.60
            5/9                       Purchase authorized on 05/06 Amzn Mktp US*1394G                                                             30.32
                                      Amzn.Com/Bill WA S582126812893516 Card 2587
            5/9                       Purchase authorized on 05/07 Lexisnexis Payment 800-227-9597                                               170.69
                                      OH S582127369875447 Card 2587
            5/9                       Purchase authorized on 05/09 Costco Whse #1320 Henderson NV                                                 69.49
                                      P302129774412296 Card 2587
            5/9                       Non-WF ATM Withdrawal authorized on 05/09 2300 Paseo Verde                                                 504.99             1,973.16
                                      Parkwa Henderson NV 382129831741311 ATM ID Nvgvra03 Card
                                      2587
            5/10                      Purchase authorized on 05/08 Pacer800-676-68561 800-676-6856                                               218.40             1,754.76
                                      TX S462129250215518 Card 2587
            5/11                      Bill Pay Payment Return on 05-11                                                   2,791.20
            5/11                      Purchase authorized on 05/10 Apple.Com/Bill 800-275-2273 CA                                                  15.99            4,5277
                                      S382130374885735 Card 2587
            5/13                      ATM Cash Deposit on 05/13 900 N Green Valley Pkwy Henderson                          500.00
                                      NV 0007862 ATM ID 5456P Card 2587
            5/13                      Recurring Payment authorized on 05/12 Microsoft*Store                                                        99.99            4,929.98
                                      Msbill.Info WA S462133065287239 Card 2587
           1,5/16                     ATM Cash Deposit on 05/15 900 N Green Valley Pkwy Henderson                          500.00
....IA.-cow L..
                                      NV 0008530 ATM ID 5456P Card 2587
            5/16                      Bill Pay Fay Servicing LLC Mobile xx3410 on 05-16                                                        4,186.85
            5/16                      Recurring Payment authorized on 05/15 Vesta *AT&T Prepa                                                     55.07
                                      866-6083007 OR S302135402315118 Card 2587
            5/16                      Recurring Payment authorized on 05/15 Yahoo *Plus Secur                                                      12.99            1,175.07
                                      800-577-4760 VA S462136134363161 Card 2587
            5/17                      Purchase authorized on 05/16 Costco Whse #1320 Henderson NV                                                  36.06            1,139.01
                                      P462137041506992 Card 2587
            5/18                      SSA Tress 310 Xxsoc Sec 051822 xxxxx2986A SSA Yousif H                             1,642.00
                                      Halloum
            5/18                      Purchase authorized on 05/18 The Home Depot #3306 Las Vegas                                                206.19
                                      NV P382139014199449 Card 2587
            5/18                      Cty of Henderson Utilities 0003013651 Yousif H Halloum                                                     104.46             2,470.36




                                                                             APPX0391
                                                                                                                                     444 of 457
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                                                                                                  Questions?

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                    110
   1111 -                     11*                                                                   1-800-TO-WELLS             (1-800-869-3557)
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 Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wells fargo.com or call the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                  Online Banking           Z Direct Deposit
                                                                                                  Online Bill Pay          •     Auto Transfer/Payment
                                                                                                  Online Statements        •     Overdraft Protection
                                                                                                  Mobile Banking           •     Debit Card
                                                                                                   My Spending Report      •     Overdraft Service




Other Wells Fargo Benefits

From Wells Fargo Home Mortgage

Is a home purchase in your future? Competitive rates and low down payment options make now a great time to buy a home. Plus, as a
Wells Fargo customer, you can count on personalized guidance and streamlined service every step of the way.

Get started with an online mortgage application that can pre-fill your Wells Fargo account information and save you time. Use your
Wells Fargo Online® username and password at the start of the application. Go to wellsfargo.com/homepurchase or contact your local
home mortgage consultant.



Statement period activity summary                                                                  Account number: 411011.111111
         Beginning balance on 6/1                                            $2,147.36             YOUSIF H HALLOUM
         Deposits/Additions                                                  10,024.42             Nevada account terms and conditions apply
         Withdrawals/Subtractions                                           - 10,149.24
                                                                                                   For Direct Deposit use
         Ending balance on 6/30                                              $2,022.54             Routing Number (RTN): 321270742




      (825)
                                                                    APPX0392
                                                                                                                                                        445 of 457
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           Overdraft Protection
           This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
           please call the number listed on your statement or visit your Wells Fargo branch.




           Interest summary
                  Interest paid this statement                                        $0.02
                  Average collected balance                                      $2,212.58
                  Annual percentage yield earned                                     0.01%
                  Interest earned this statement period                               $0.02
                  Interest paid this year                                             $0.11




           Transaction history


                                     Check                                                                                     Deposits/         Withdrawals/          Ending daily
                  Date
                  6/2
                                    Number Description
                                           Bill Pay Payment Return on 06-02
                                                                                                                               Additions
                                                                                                                                1,395.60
                                                                                                                                                 Subtractions              balance    g
                  6/2                      Purchase authorized on 06/02 Costco Gas #1010 Victorville CA                                                  94.69             3,448. 7
                                            P382153664517016 Card 2587
                  6/3                      Recurring Payment authorized on 06/02 Apple.Com/Bill                                                            3.99
                                            866-712-7753 CA S582153456225597 Card 2587
                  6/3                       Purchase authorized on 06/02 Kp Rx01239 Victorville CA                                                       35.50
                                            S382153635489602 Card 2587
       i„.._..,..› 6/3                     Bill Pay Fay Servicing LLD Recurring xx3410 on 06-03                                                       1,395.60             2,013.18 S
                   6/6                     Bill Pay Payment Return on 06-06                                                     1,395.60                                          ,  4,..
                   6/6                      Purchase authorized on 06/02 Al Express Smog Ch Bartsow CA                                                                            E
                                                                                                                                                         59.99             3,348.79
                                            S462153552153923 Card 2587
                  6/8                       Purchase authorized on 06/07 Lexisnexis Payment 800-227-9597                                                170.69             3,178.10
                                            OH S382158392875679 Card 2587
                  6/9                      Bill Pay Payment Return on 06-09                                                     2,791.20                                         /     R2,
                  6/9                       Cash eWithdrawal in Branch/Store 06/09/2022 12:01 Pm 900 N                                                1,200.00             4,769.38‘
                                            Green Valley Pkwy Henderson NV 2587
                  6/13                      Purchase authorized on 06/10 Apple.Com/Bill 866-712-7753 CA                                                  15.99
                                            S462161374918932 Card 2587
                  6/13                      Non-WF ATM Withdrawal authorized on 06/11 2300 Paseo Verde                                                  505.99
                                            Parkwa Henderson NV 382163217185889 ATM ID Nvgvrxl 1 Card
                                            2587
                  6/13                      Purchase authorized on 06/12 Smiths Fo 1000 N. Gree Henderson                                                24.26
                                            NV P000000430423827 Card 2587
                  6/13                      Purchase authorized on 06/12 Smiths Food #434 10616 E.                                                       10.77             4,212.29
                                            Henderson NV P582163735560719 Card 2587
2.-..f•^          6/14                     Bill Pay Fay Servicing LLC Mobile xx3410 on 06-14                                                          2,791.20
                  6/14                      Purchase authorized on 06/14 Costco Whse #1320 Henderson NV                                                  78.39             1,342.70
                                            P582165821899990 Card 2587
                  6/15                      SSA Treas 310 Xxsoc Sec 061522 xxxxx2986A SSA Yousif H                              1,642.00
                                            Halloum
                  6/15                      Purchase authorized on 06/13 Amzn Mktp US*3159R                                                              31.42
                                            Amzn.Com/Bill WA S302165091699592 Card 2587
                  6/15                     Recurring Payment authorized on 06/14 Vesta "AT&T Prepa                                                       55.07
                                            866-6083007 OR S462165405579122 Card 2587
                  6/15                      Purchase authorized on 06/15 Costco Whse #1320 Henderson NV                                                 428.95
                                            P462166705503028 Card 2587
                  6/15                      Cty of Henderson Utilities 0003044973 Yousif H Halloum                                                      117.04             2,352.22
                  6/16                      Purchase authorized on 06/14 Amzn Mktp US"9K1Rk                                                             195.06
                                            Amzn.Com/Bill WA S582165693254230 Card 2587
                  6/16                     Recurring Payment authorized on 06/15 Yahoo *Plus Secur                                                       12.99             2,144.17
                                            800-577-4760 VA S462167133542824 Card 2587




                                                                                    APPX0393
                                                                                                                                     446 of 457
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Wells Fargo® Preferred Checking
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                                                                                                   Questions?
YOUSIF H HALLOUM                                                                                   Available by phone 24 hours a day, 7 days a week:
          fl                                                                                       We accept all relay calls, including 711
             ____E_
                                                                                                    1-800-TO-WELLS (1-800-869-3557)
                                                                                                    En espatiol: 1-877-727-2932



                                                                                                   Online: wellsfargo.com

                                                                                                   Write: Wells Fargo Bank, N.A. (825)
                                                                                                          P.O. Box 6995
                                                                                                          Portland, OR 97228-6995




 You and Wells Fargo                                                                              Account options
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 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wellsfargo.com or call the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                  Online Banking          Z     Direct Deposit
                                                                                                  Online Bill Pay         111 Auto Transfer/Payment
                                                                                                   Online Statements            Overdraft Protection
                                                                                                   Mobile Banking               Debit Card
                                                                                                   My Spending Report           Overdraft Service




Other Wells Fargo Benefits

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Get started with an online mortgage application that can pre-fill your Wells Fargo account information and save you time. Use your
Wells Fargo Online® username and password at the start of the application. Go to wellsfargo.com/homepurchase or contact your local
home mortgage consultant.



Statement period activity summary                                                                  Account number: 41111111110
         Beginning balance on 7/1                                            $2,022.54             YOUSIF H HALLOUM
         Deposits/Additions                                                  10,424.41             Nevada account terms and conditions apply
         Withdrawals/Subtractions                                            - 9,670.40
                                                                                                   For Direct Deposit use
         Ending balance on 7/31                                              $2,776.55
                                                                                                   Routing Number (RTN): 321270742




      (825)

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                                                                                                                                             447 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                       $0.01
       Average collected balance                                      $2,151.86
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                              $0.01
       Interest paid this year                                            $0.12




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       7/5                       ATM Cash Deposit on 07/05 640 S Green Valley Pkwy Henderson                          300.00
                                 NV 0003657 ATM ID 9900Z Card 2587
       7/5                      Recurring Payment authorized on 07/02 Apple.Com/Bill                                                           3.99             2,318.55
                                 866-712-7753 CA S382183456408487 Card 2587
                                Bill Pay Fay Servicing LLC Recurring xx3410 on 07-06                                                       1,395.60
       7/6                       Purchase authorized on 07/06 WM Superc Wal-Mart Sup Las                                                      44.59
                                Vegas NV P000000389883717 Card 2587
       7/6                       Purchase authorized on 07/06 Bed Bath & Beyond #119 Las Vegas                                                10.84              867.52
                                 NV P000000082237828 Card 2587
       7/7                       Bill Pay Payment Return on 07-07                                                    1,395.60
       7/7                       Purchase authorized on 07/06 Lvac Southeast Las Vegas NV                                                     98.00             2,165. 2
                                 S302187756088289 Card 2587
       7/8                       Purchase authorized on 07/07 Lexisnexis Payment 800-227-9597                                                170.69             1,994.43
                                 OH S582188388427460 Card 2587
       7/11                      Bill Pay Payment Return on 07-11                                                    4,186.80
       7/11
                                                                                                                                                                   <r.
                                 Purchase authorized on 07/07 Amzn Mktp US"Uw1Dt                                                              53.10
                                 Amzn.Com/Bill WA S382188799440925 Card 2587
       7/11                      Purchase authorized on 07/07 Amzn Mktp US*1K0Q0                                                              53.10
                                 Amzn.Com/Bill WA S582188799485057 Card 2587
       7/11                      Purchase authorized on 07/07 Amazon.Com*3H1Xn20                                                             139.80
                                 Amzn.Com/Bill WA S462188803820343 Card 2587
       7/11                      Purchase authorized on 07/09 Costco Whse #1320 Henderson NV                                                  28.66
                                 P462190661564914 Card 2587
       7/11                      Purchase authorized on 07/09 Costco Gas #1320 Henderson NV                                                   98.64
                                 P582190668939738 Card 2587
       7/11                      Purchase authorized on 07/10 Apple.Com/Bill 866-712-7753 CA                                                  15.99
                                 S382191374825590 Card 2587
       7/11                      Purchase authorized on 07/10 Wal-Mart Super Center Las Vegas                                                 35.20             5,756.74
                                 NV P000000583024766 Card 2587
       7/14                      Purchase authorized on 07/12 Amzn Mktp US*Jm31Q                                                              30.33             5,726.41
                                 Amzn.Com/Bill WA S462193790078451 Card 2587
       7/15                      Recurring Payment authorized on 07/14 Vesta *AT&T Prepa                                                      55.08
                                 866-608-3007 OR S462195405455664 Card 2587
       7/15                      Bill Pay Fay Servicing LLC Mobile xx3410 on 07-15                                                         4,186.80             1,484.53
       7/18                      ATM Cash Deposit on 07/17 900 N Green Valley Pkwy Henderson                           200.00
                                 NV 0004414 ATM ID 5456P Card 2587
       7/18                      Purchase authorized on 07/12 Amzn Mktp US*3x30y                                                              42.20
                                 Amzn.Com/Bill WA S582193572817180 Card 2587
       7/18                      Purchase authorized on 07/14 Amzn Mktp US*TF7Jk                                                              28.11
                                 Amzn.Com/Bill WA S382195682924266 Card 2587




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                                                                                                                                     448 of 457
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Wells Fargo® Preferred Checking
August 31, 2022 III Page 1 of 7




                                                                                                   Questions?
YOUSIF H HALLOUM                                                                                   Available by phone 24 hours a day, 7 days a week:
41.11111011MMMft                                                                                   We accept all relay calls, including 711
                                                                                                    1-800-TO-WELLS             (1-800-869-3557)
                                                                                                    En espanol: 1-877-727-2932



                                                                                                   Online: wellsfargo.com

                                                                                                   Write: Wells Fargo Bank, N.A. (825)
                                                                                                          P.O. Box 6995
                                                                                                          Portland, OR 97228-6995




 You and Wells Fargo                                                                              Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                     A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                   convenient services with your account(s). Go to
                                                                                                  wellsfargo.com or call the number above if you have
                                                                                                  questions or if you would like to add new services.

                                                                                                   Online Banking               Direct Deposit
                                                                                                   Online Bill Pay        EI    Auto Transfer/Payment
                                                                                                   Online Statements            Overdraft Protection
                                                                                                   Mobile Banking               Debit Card
                                                                                                   My Spending Report Z         Overdraft Service




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Wells Fargo Online® username and password at the start of the application. Go to wellsfargo.com/homepurchase or contact your local
home mortgage consultant.



Statement period activity summary                                                                  Account number: 01.1111111.
        Beginning balance on 8/1                                             $2,776.55             YOUSIF H HALLOUM
        Deposits/Additions                                                   14,524.47             Nevada account terms and conditions apply
        Withdrawals/Subtractions                                            - 15,621.86
                                                                                                   For Direct Deposit use
        Ending balance on 8/31                                               $1,679.16
                                                                                                   Routing Number (RTN): 321270742




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                                                                    APPX0396
                                                                                                                                             449 of 457
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Interest summary
       Interest paid this statement                                        $0.02
       Average collected balance                                      $2,180.29
       Annual percentage yield earned                                     0.01%
       Interest earned this statement period                               $0.02
       Interest paid this year                                             $0.14




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions          Subtractions             balance
       8/1                      ATM Cash Deposit on 08/01 101 N Pecos Rd Henderson NV                                 600.00
                                 0003620 ATM ID 4494A Card 2587
       8/1                      ATM Withdrawal authorized on 08/01 101 N Pecos Rd Henderson                                                  100.00             3,276.55
                                 NV 0003619 ATM ID 4494A Card 2587
       8/2                       Purchase authorized on 08/01 Vons #2511 Henderson NV                                                        355.76             2,920.79
                                 P462214095758254 Card 2587
       8/3                       Bill Pay Payment Return on 08-03                                                    1,395.60                                       c-/
       8/3                       Purchase authorized on 08/01 Amazon.Com*Xs7J92W                                                             291.50
                                 Amzn.Com/Bill WA S382213670579775 Card 2587
       8/3                       Recurring Payment authorized on 08/02 Apple.Com/Bill                                                           3.99
                                 866-712-7753 CA S462214456133929 Card 2587
        8/3                      Bill Pay Fay Servicing LLC Recurring xx3410 on 08-03                                                      1,395.60             2,625.30
        8/8                      Purchase authorized on 08/04 Amzn Mktp US*Cb5S1                                                              71.48
                                 Amzn.Com/Bill WA S302217238093591 Card 2587
        8/8                      Purchase authorized on 08/07 Lexisnexis Payment 800-227-9597                                                175.81             2,378.01
                                 OH S462219383749705 Card 2587
        8/9                      Purchase authorized on 08/09 Costco Gas #1320 Henderson NV                                                   93.69             2,284.32
                                 P462221819838995 Card 2587
        8/10                     Non-WF ATM Balance Inquiry Fee 08/09 2000 Las Veg Las Vegas                                                    2.50
                                 NV ATM ID Nvscha04 Card 2587
        8/10                     Purchase authorized on 08/08 VVWW.Pacer.Gov 800-676-6856 TX                                                   34.00
                                 S462221250535446 Card 2587
        8/10                     Non-WF ATM Withdrawal authorized on 08/09 2000 Las Vegas                                                    508.50
                                 Blvd So Las Vegas NV 582222074988722 ATM ID Nvscha04 Card
                                 2587
        8/10                     Purchase authorized on 08/10 Costco Whse #1320 Henderson NV                                                   52.00            1,687.32
                                 P302222616281665 Card 2587
        8/11                     Purchase authorized on 08/10 Apple.Com/Bill 866-712-7753 CA                                                  15.99             1,671.33
                                 S382222374615047 Card 2587
        8/12                     Purchase authorized on 08/09 Amazon.Com*Vz4Av8G                                                               49.83
                                 Amzn.Com/Bill WA S302221829480021 Card 2587
        8/12                     Non-WF ATM Withdrawal authorized on 08/12 2000 Las Vegas                                                    508.50
                                 Blvd So Las Vegas NV 302224707810659 ATM ID Nvschx06 Card
                                 2587
        8/12                     Non-Wells Fargo ATM Transaction Fee                                                                            2.50            1,110.50
        8/15                     Non-WF ATM Balance Inquiry Fee 08/13 2300 Paseo V Henderson                                                    2.50
                                 NV ATM ID Nvgvrx06 Card 2587
        8/15                     Bill Pay Payment Return on 08-15                                                    4,186.85
        8/15                     Purchase authorized on 08/10 Apple Cash 877-233-8552 CA                                                       50.00
                                 S382223070960773 Card 2587




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                                                                                                                 450 of 457
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     Transaction history (continued)

                        Check                                                                  Deposits/   Withdrawals/   Ending daily
          Date         Number Description                                                      Additions   Subtractions       balance
          8/15                Recurring Payment authorized on 08/13 Vesta *AT&T Prepa                             55.08
                              866-608-3007 OR S302225398576480 Card 2587
          8/15                Non-WF ATM Withdrawal authorized on 08/132300 Paseo Verde                         305.99
                              Parkwa Henderson NV 582226206261133 ATM ID Nvgvrx06 Card
                              2587
          8/15                Non-Wells Fargo ATM Transaction Fee                                                 2.50
          8/15                Non-WF ATM Withdrawal authorized on 08/14 2300 Paseo Verde                        705.99
                              Parkwa Henderson NV 382226347545501 ATM ID Nvgvrx11 Card
                              2587
          8/15                Non-Wells Fargo ATM Transaction Fee                                                 2.50        4,172.79
          8/16                Purchase authorized on 08/14 Pizza Rock 408-3958772 NV                             24.51
                              3462227120454874 Card 2587
          8/16                Recurring Payment authorized on 08/15 Yahoo "Plus Secur                            12.99
                              800-577-4760 VA S582228137189555 Card 2587
          8/16                Purchase authorized on 08/16 Target T- 4155 S Grand Las Vegas                      26.53        4,108.76
                              NV P000000082030589 Card 2587
          8/17                SSA Treas 310 Xxsoc Sec 081722 xxxxx2986A SSA Yousif H           1,642.00
                              Halloum
          8/17                Purchase authorized on 08/17 The Home Depot #3306 Las Vegas                          5.39
                              NV P382229607841653 Card 2587
          8/17                Purchase authorized on 08/17 Costco Whse #1320 Henderson NV                       110.00
                              P462229798713971 Card 2587
          8/17                Purchase authorized on 08/17 Costco Gas #1320 Henderson NV                         91.26
                              P582229806084536 Card 2587
          8/17                Purchase authorized on 08/17 Smiths Fo 1000 N. Gree Henderson                      18.33
                              NV P000000785455272 Card 2587
t0        8/17                Cty of Henderson Utilities 0003112267 Yousif H Halloum                             125.18       5,400.60
          8/18                Bill Pay Fay Servicing LLC Mobile xx3410 on 08-18                                4,186.85
          8/18                Purchase authorized on 08/18 Centennial Toyota Las Vegas NV                        418.45
                              P000000289029853 Card 2587
          8/18                Purchase authorized on 08/18 Aladdin Market Las Vegas NV                           14.48         780.82
                              P000000187921109 Card 2587
          8/19                Recurring Payment authorized on 08/17 Adobe Acropro Subs                           14.99
                              408-536-6000 CA S382229601185028 Card 2587
          8/19                Purchase authorized on 08/18 Centennial Toyota Las Vegas NV                        32.50
                              S382230550520919 Card 2587
          8/19                Purchase authorized on 08/18 Solutions Specialt Las Vegas NV                      210.99         522.34
                               S582230633156254 Card 2587
          8/22                ATM Cash Deposit on 08/22 900 N Green Valley Pkwy Henderson      1,000.00                       1,522.34
                               NV 0003272 ATM ID 5456P Card 2587
          8/23                ATM Cash Deposit on 08/23 900 N Green Valley Pkwy Henderson      1,000.00
                               NV 0003470 ATM ID 5456P Card 2587
          8/23                 Edeposit IN Branch/Store 08/23/22 04:27:28 Pm 10010 S Eastern   3,000.00                       5,522.34
                              Ave Henderson NV 2587
          8/24                 Purchase authorized on 08/22 Apple Cash lInfiniteloop CA                          50.00
                               3582234666435801 Card 2587
          8/24                 Purchase authorized on 08/23 Amzn Mktp US*K50Uh                                  421.57
                              Amzn.Com/Bill WA S462235577469319 Card 2587
-2. p                         Bill Pay Fay Servicing LLC Mobile xx3410 on 08-24                                2,791.20       2,259.57
          8/25                Purchase authorized on 08/23 Apple Cash lInfiniteloop CA                            20.00
                              3382236050531981 Card 2587
          8/25                Recurring Payment authorized on 08/24 Apple.Com/Bill                                 0.99
                              408-974-1010 CA 3382236484592815 Card 2587
          8/25                Cox Comm Las Bankdraft 082522 476089320303001 'man                                212.69        2,025.89
                              Halloum
          8/26                 Purchase authorized on 08/25 Dental Insurance A 877-2804204                       39.75
                               CA 3462237404664232 Card 2587
          8/26                 CA Dept Tax Fee Cdtfa Epmt 220825 12289315 Flag City Arco                        500.00        1,486.14
                              Am/Pm
          8/29                ATM Cash Deposit on 08/27 900 N Green Valley Pkwy Henderson        200.00
                               NV 0004630 ATM ID 5456P Card 2587




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Transaction history (continued)

                            Check                                                                                        Deposits/         Withdrawals/           Ending daily
       Date                Number Description                                                                            Additions         Subtractions               balance
       8/29                       ATM Cash Deposit on 08/27 900 N Green Valley Pkwy Henderson                              200.00
                                   NV 0004727 ATM ID 5456P Card 2587
       8/29                       ATM Cash Deposit on 08/28 900 N Green Valley Pkwy Henderson                              300.00
                                   NV 0004861 ATM ID 5456P Card 2587
       8/29                       Purchase authorized on 08/25 Apple Cash lInfiniteloop CA                                                          50.00                2,136.14
                                  S582238237348534 Card 2587
       8/30                       ATM Cash Deposit on 08/30 2658 W Horizon Ridge Pkwy                                      600.00
                                  Henderson NV 0007868 ATM ID 1722E Card 2587
       8/30                       Purchase authorized on 08/29 Apria-Medical Equi 949-639-4217                                                      61.40
                                  CA S462241717774177 Card 2587
       8/30                       Bill Pay Fay Servicing LLC Mobile xx3410 on 08-30                                                             1,395.60                 1,279.14
       8/31                       ATM Cash Deposit on 08/31 900 N Green Valley Pkwy Henderson                              400.00
                                  NV 0005658 ATM ID 5456P Card 2587
       8/31                       Interest Payment                                                                            0.02                                       1,679.16
       Ending balance on 8/31                                                                                                                                        1,679.16

       Totals                                                                                                         $14,524.47             $15,621.86

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




 Summary of Overdraft and Returned Item Fees

                                                                                                      Total this statement period                       Total year-to-date
         Total Overdraft Fees                                                                                               $0.00                                    $8.75
         Total Returned Item Fees                                                                                           $0.00                                    $0.00

         Year-to-date totals reflect fees assessed or reversed since the first full statement period of the calendar year. Negative values indicate that fee reversals
         exceed fees assessed.




Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for
a link to these documents, and answers to common monthly service fee questions.


        Fee period 08/01/2022 - 08/31/2022                                                     Standard monthly service fee $15.00                     You paid $0.00

        How to avoid the monthly service fee                                                                       Minimum required                    This fee period
        Have any ONE of the following account requirements
          • Total amount of qualifying direct deposits                                                                       $1,000.00                       $1,642.00
                A linked Wells Fargo home mortgage                                                                                                                       0
                Combined balance in linked accounts, which may include                                                     $10,000.00                          $552.34
                - Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
                   FDIC-insured Retirement accounts
        JD/JD




         IMPORTANT ACCOUNT INFORMATION




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                                           EXHIBIT "N"



                  Loan Modification
                    In the form of:
       FORECLOSURE FORBEARANCE AGREEMENT.
          FIXED WITH PRINCIPAL DEFERMENT




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[Space Reserved for Recording Information]

          FORECLOSURE FORBEARANCE AGREEMENT • FIXED WITH PRINCIPAL DEFERMENT

To the Borrower: This Agreement contains changes in terms which affect your Loan secured by
the Property identified below. This is a legal obligation and you should read and understand the
terms of this Agreement before you sign it. In the event the referenced debt has been discharged
in Bankruptcy, this communication is not intended to collect, assess, or recover a debt, does not
alter or amend the terms of that discharge, and is not a "reaffirmation" of the debt.

This Agreement (the "Agreement") is dated as of 4/14/2016 but effective as of the Modification
Effective Date defined herein, by and between YOUSIF HALLOUM (collectively, the "Borrower")
and Caliber Home Loans, Inc., on behalf of the current investor (the "Servicer").

RECITALS:
     A.          Borrower has a mortgage loan, account number 00009804248517 (the "Loan"). This loan is
                 secured by property commonly referred to as 2428 DEVOTION RIDGE D, HENDERSON, NV
                 89052 (the "Property"). The legal description to the Property may be attached to this
                 Agreement by the Servicer if required.
     B.          Borrower signed the following documents in connection with the Loan:
                     • Note dated 5/17/2007 in the original amount of $388,000.00 (the "Note").
                     •     Mortgage or Deed of Trust on the Property, recorded in real property records of
                           CLARK County, NV (the "Mortgage").
                     •     The Note and the Mortgage, together with all documents signed at the same time as
                           the Note and Mortgage are called the "Loan Documents".

     C.          The following amounts are outstanding under the terms of the Note:

                     Unpaid Principal:             $361,210.84
                     Unpaid Interest:              $21,598.37
                     Other Unpaid Amounts:         $7,375.23
                     Total:                        $390,184.44

                     Included in the Other Unpaid Amounts is $0.00, the amount that Servicer has advanced
                     for real property taxes, insurance, water liens, or other amounts that may have become
                     due with respect to the Property. This is known as the "Ancillary Amount".
     D.          Borrower is in default for failure to make payments or has demonstrated imminent default
                 under the terms of the Note. Servicer has the right or may have the right to seek remedies
                 for default pursuant to the terms of the Mortgage in order to recover amounts that remain
                 outstanding under the terms of the Note.
     E.          Borrower has provided information to Servicer, and Borrower and Servicer want to modify the
                 terms of the Note and Mortgage.
     F.          Borrower was discharged in a Chapter 7 bankruptcy proceeding subsequent to the execution
                 of the Loan Documents. Based on this representation, Servicer agrees that Borrower will not
                 have personal liability on the debt pursuant to this Agreement.

 Borrower and Servicer (collectively, the "Parties"), agree as follows:
1.          Borrower's Representations. Borro�er certifies that each of these statements is true:
            A.        Borrower is experiencing a financial hardship and is either in default for failure to make
                     payments on the Note or will shortly be in default. Borrower does not have sufficient
                     income or access to sufficient liquid assets to make regular payments on the Note.
            B.           The Property has not been condemned or is not subject to condemnation proceedings.


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           There has been no change in theDocument
                                          ownership of11   Filed 11/03/22
                                                      the Property since the timePage   454 of 457
                                                                                  the Loan
              Documents were signed.
       D.     Borrower has given Servicer information, ail of which is true and accurate, regarding
              Borrower's income and/or liquid assets (with the exception of any information regarding
              Alimony and Child Support payments, unless the Borrower wants the Servicer to consider
              that to be income).
       E.     All documents and information Borrower has provided to Servicer in connection with this
              Agreement are true and correct.
       F.     Borrower will obtain credit counseling within 30 days of this agreement if the Servicer
              requires it. Borrower will provide proof of credit counseling if required by Servicer.

2.     Conditions to Effectiveness of Agreement.       This Agreement will only be effective after each
       of these events happen:
       A.
              before Q!::i.'
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              Borrower must gn an�return a signed original of this Agreement to Servicer on or
                                   O
                                     , .2olh .
       B.     Servicer, when it receives this Agreement, will verify the accuracy of Borrower
              representations.
       C.      If the Servicer (in its sole discretion) determines that Borrower's representations are
               accurate, then Servicer will execute this Agreement and it will become effective as of (the
               "Modification Effective Date"). If the Servicer determines that the Borrower's
               representations are not accurate, then the Servicer will notify the Borrower and this
               Agreement will not become effective.

3.     Modification of the Loan Documents. If all the conditions outlined above are met, then your
       Loan is modified as follows:
       Summary of Modification: We may reduce the balance on which interest is accruing and we may
       permanently lower the interest rate of your Note. Certain amounts are deferred, meaning that the
       amounts remain outstanding under the terms of the Note, but they will be collected by the
       Servicer at a later date.
       New Principal Balance:               $237,072.32
       New Interest Rate:                   4.250%
       New P&I Payment:                     $1,027.99
       Monthly Escrow Payment:              $247.27
       Ancillary Monthly Payment:           $0.00
       Total New Monthly Payment:           $1,275.26

       Deferred Amount:                     $153,051.79
       New Maturity Date (if applicable):   5/1/2056

       Modification Effective Date:         5/1/2016
       First Modification Payment Date:     6/1/2016

       These Definitions apply to the categories above:
               New Principal Balance: This is the principal balance Servicer has agreed to use for this
               modification and is used to calculate your payment. This is the principal balance upon
               which interest will continue to accrue.
               New Interest Rate: This is the interest rate that will be in effect under this Agreement.
               This rate is "fixed" and will not change. Any provision in the Loan Documents that allows
               for a change in your interest rate is cancelled.
                New P&I Payment: This is the monthly principal and interest payment for your Loan
                based upon the New Principal Balance, New Interest Rate and the number of months to
                the New Maturity Date. Because the interest rate is "fixed" and will not change, this
                amount will not change so long as this Agreement is in effect.



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           Monthly Escrow Payment: This Document     11payment
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             this amount is calculated in accordance with the Loan Documents and State and Federal
             law. This amount may change from time to time if escrow items (primarily taxes and
             insurance) increase or decrease.

             Ancillary Monthly Payment: This includes some or all amounts that Servicer has
             advanced for real property taxes, insurance, water liens, or other amounts that may have
             become due with respect torthe Property. Servicer has spread the repayment Ancillary
             Amounts over a period of L.) months.

             Total New Monthly Payment: This is the sum of the New PM Payment, Monthly
             Escrow Payment and Ancillary Monthly Payment.
             New Maturity Date: This is the date on which the Note matures.

             Modification Effective Date: This is the date that interest begins to accrue at the rate
             set forth in this Agreement.

             First Modification Payment Date: This is the date on which your first modified payment
             is due.

             Deferred Amount: The Deferred Amount consists of amounts that are outstanding
             under the terms of the Note and Loan Documents, but which Servicer has agreed to not
             collect until payment in full of the debt or the New Maturity Date, whichever happens first.
              The Deferred Amount may consist of some principal, and can consist of interest
             outstanding but not paid, outstanding Servicer fees or charges, and advances made by
             the Servicer.

      PLEASE NOTE: The Deferred Amounts will be collected by the Servicer at the earlier of
      payment in full of the Note or the New Maturity Date. If the Borrower sells the Property or
      refinances the Loan, the Borrower will be required to pay this Deferred Amount in addition
      to any other amounts due at that time. Otherwise, these amounts will remain outstanding
      on the New Maturity Date and are required to be paid at that time. This means that if the
      Borrower makes all the payments required by this Agreement the Deferred Amount will
      still be owed to Servicer.

4.    Events of Default. Borrower will be in default and Servicer may terminate this Agreement, if:

      A.      Borrower fails to make any payments required by this Agreement within 15 days of any
              due date for a payment, or

      B.      Borrower fails to comply with any other terms or conditions created by this Agreement or
              the Loan Documents.

5.    Additional Agreements. The Parties further agree to and acknowledge each of the following:

       A.     All persons who signed the Loan Documents must sign this document in person or by an
              authorized representative (unless an original signor is deceased). Borrower, by signing
              this Agreement, will be presumed to have read this Agreement and understand the terms
              of this Agreement.
       B.     This Agreement takes the place of any other agreement that Borrower may have or have
              had in the past with Servicer including any prior modification or forbearance agreements.
       C.     This Agreement constitutes notice that any waiver by the Lender, Noteholder or Servicer
              as to payment of taxes, insurance and other escrow items has been revoked. Where
              allowed under the Loan Documents, this Agreement established an escrow account for
              the Loan and Borrower will make monthly payments to an escrow account established by
              Servicer. These payments will be calculated as required by the Loan Documents.
              Servicer will not pay Borrower interest on the escrow deposit unless required by State or
              Federal law.
       D.     The Loan Documents are properly and duly executed by all parties who were required to
              execute them and are a valid, binding obligation of the parties to those documents, and
              each Loan Document is enforceable in accordance with its terms.


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           Except as specifically modified byDocument    11 the
                                              this Agreement, Filed
                                                                terms11/03/22     Page 456are
                                                                      of the Loan Documents of 457
              in full force and effect. This Agreement does not replace or release any of the Loan
              Documents, except as specifically modified by this Agreement.
      F.      If the Property is sold, transferred or conveyed to any person or entity without the consent
              of the Servicer, then if allowed by State or Federal law, Servicer may terminate this
              Agreement, and require that the balance of the Note together with any fees and other
              unpaid amounts be repaid in full (meaning that Servicer can accelerate the Note.) In this
              event, Servicer will give you thirty (30) days notice of Acceleration and if the Note has not
              been paid in full after that time, Servicer may pursue the remedies in the Mortgage,
              including foreclosure.
      G.      Borrower may not assign and no person other than the Borrower may assume Borrower's
              rights under this Agreement or the Loan Documents.
      H.      The Servicer may choose to waive a default under this Agreement or the Loan
              Documents, but a waiver of any event of default will not be understood to waive similar
              defaults in the future or other defaults that may occur.
              Borrower hereby confirms that this Agreement represents the entire agreement between
              Borrower and Servicer with respect to the subject matter herein, and that no other prior
              terms, obligations, covenants, representations, statements or conditions, oral or
              otherwise, of any kind whatsoever concerning the modification of the Loan Documents
              that are inconsistent with the terms of this Agreement shall affect the Loan Documents or
              negate the operation and effect of this Agreement.

       J.     Any expenses incurred in connection with the servicing of the Loan, but not yet charged
              to the Loan account as of the date of this Agreement, may be charged to the Loan and
              secured by the Mortgage after the Modification Effective Date.
       K.     If Servicer makes advances for payment of taxes or insurance, accrues interest, or posts
              late or other fees to the Loan, each of which is permissible under the Loan Documents to
              add to amounts outstanding under the Note, between the date Servicer generates this
              Agreement and the First Modification Payment Date, then these amounts will either
              become Deferred Amounts under the Loan Documents or will be offset with a portion of
              Good Faith funds, if applicable. Any addition of Deferred Amounts or offset of advances
              pursuant to this section will be reflected on Borrower's periodic statement.

       L.      Borrower will execute such other documents or papers as may be reasonably necessary
               or required by Servicer to effectuate the terms and conditions of this Agreement.
       M.      Borrower is advised that forgiveness of debt (if applicable) may have adverse credit and
               legal consequences and may result in taxable income to Borrower. Borrower is advised
               to seek advice from an attorney, certified public accountant or other expert regarding
               potential consequences of any principal reduction. Borrower hereby acknowledges that
               Servicer is giving Borrower no such advice.

NOTICES TO CONSUMERS PRESENTLY IN BANKRUPTCY OR WHO HAVE A BANKRUPTCY
DISCHARGE:

In the event you are subject to an "Automatic Stay" issued by a United States Bankruptcy Court,
this communication is not intended to collect, assess, or recover a debt.

In the event the referenced debt has been discharged in Bankruptcy, this communication is not
intended to collect, assess, or recover a debt, does not alter or amend the terms of that discharge,
and is not a "reaffirmation" of the debt. Nor does this communication constitute either a demand
for payment or a notice of personal liability.

Unless the Bankruptcy Court has ordered otherwise, please also note that despite any Bankruptcy
filing, whatever rights we hold in the Property that secures the obligation remain unimpaired.
This means that, unless otherwise ordered by the Bankruptcy Court, if the requirements of the
Loan Documents are not met and the "Automatic Stay" is no longer in effect, we can pursue
whatever in rem rights we hold in the Property pursuant to the Mortgage, such as the right to
foreclose.



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This, notice                                  Document
              not intended as legal advice. You           11 your
                                                should consult Filedlawyer
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                                                                           if you have   457
                                                                                       any    of 457
                                                                                           legal
questions about your rights.


                               BALLOON PAYMENT DISCLOSURE

This Modification Agreement defers certain amounts, which creates a balloon that will be
collected by the Servicer at the earlier of payment in full of the Note or the maturity date.
Because these amounts are not included in your regular scheduled payments, even if you make
all payments required by this agreement, the loan will not be paid in full at maturity. You
therefore may be required to pay the entire outstanding balance in a single payment at the loan
maturity date. Neither the Servicer nor Lender has any obligation to refinance or to offer you a
new loan at maturity. You may have to seek new third-party financing and incur other additional
financing costs at the time the balloon becomes due.



                 c r an • Borrower have executed this Agreement as of the dates indicated below.



 OU IF ALL*, M

Date:


Account Number: 00009804248517


Calibertfr1      Lns.mn         behalf of   current investor

By:

bat           JUN 0 6 2016




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